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                                 NO. 23-2265




                          EXPRESS MOBILE, INC.,

                                                  Plaintiff-Appellant,
                                      v.


                           GODADDY.COM, LLC,

                                               Defendant-Appellee.


     Appeal from the United States District Court for the District of Delaware
in C.A. No. 19-cv-01937, United States District Court Judge Matthew F. Kennelly

            PRINCIPAL BRIEF OF PLAINTIFF-APPELLANT


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November 13, 2023                         Express Mobile, Inc.
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   EXEMPLARY PATENT CLAIMS ILLUSTRATIVE OF THE ISSUES

                             U.S. Patent No. 6,546,397

1. A method to allow users to produce Internet websites on and for computers having
a browser and a virtual machine capable of generating displays, said method
comprising:

(a) presenting a viewable menu having a user selectable panel of settings describing
elements on a website, said panel of settings being presented through a browser on
a computer adapted to accept one or more of said selectable settings in said panel as
inputs therefrom, and where at least one of said user selectable settings in said panel
corresponds to commands to said virtual machine;

(b) generating a display in accordance with one or more user selected settings
substantially contemporaneously with the selection thereof;

(c) storing information representative of said one or more user selected settings in a
database;

(d) generating a website at least in part by retrieving said information representative
of said one or more user selected settings stored in said database; and

(e) building one or more web pages to generate said website from at least a portion
of said database and at least one run time file

(f) where said at least one run time file utilizes information stored in said database
to generate virtual machine commands for the display of at least a portion of said
one or more web pages.




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                             U.S. Patent No. 7,594,168

1. A system for assembling a web site comprising:

a server comprising a build engine configured to:

accept user input to create a web site, the web site comprising a plurality of web
pages, each web page comprising a plurality of objects,

accept user input to associate a style with objects of the plurality of web pages,

wherein each web page comprises at least one button object or at least one image
object,

and wherein the at least one button object or at least one image object is associated
with a style that includes values defining transformations and time lines for the at
least one button object or at least one image object;

and wherein each web page is defined entirely by each of the plurality of objects
comprising that web page and the style associated with the object,

produce a database with a multidimensional array comprising the objects that
comprise the web site including data defining, for each object, the object style, an
object number, and an indication of the web page that each object is part of, and

provide the database to a server accessible to web browser; wherein the database is
produced such that a web browser with access to a runtime engine is configured to
generate the web-site from the objects and style data extracted from the provided
database.




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                             U.S. Patent No. 9,063,755

1. A system for generating code to provide content on a display of a device,

said system comprising:

computer memory storing a registry of:

a) symbolic names required for evoking one or more web components each related
to a set of inputs and outputs of a web service obtainable over a network, where the
symbolic names are character strings that do not contain either a persistent address
or pointer to an output value accessible to the web service, and

b) the address of the web service;

an authoring tool configured to:

define a user interface (UI) object for presentation on the display, where said UI
object corresponds to the web component included in said registry selected from the
group consisting of an input of the web service and an output of the web service,

access said computer memory to select the symbolic name corresponding to the web
component of the defined UI object,

associate the selected symbolic name with the defined UI object,

produce an Application including the selected symbolic name of the defined UI
object, where said Application is a device-independent code, and

produce a Player, where said Player is a device-dependent code;

such that, when the Application and Player are provided to the device and executed
on the device, and when a user of the device provides one or more input values
associated with an input symbolic name to an input of defined UI object,

1) the device provides the user provided one or more input values and corresponding
input symbolic name to the web service,

2) the web service utilizes the input symbolic name and the user provided one or
more input values for generating one or more output values having an associated
output symbolic name,




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3) said Player receives the output symbolic name and corresponding one or more
output values and provides instructions for a display of the device to present an
output value in the defined UI object.




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                             U.S. Patent No. 9,471,287

1. A system for generating code to provide content on a display of a device, said
system comprising

computer memory storing a registry of:

a) symbolic names required for evoking one or more web components each related
to a set of inputs and outputs of a web service obtainable over a network,

where the symbolic names are character strings that do not contain either a persistent
address or pointer to an output value accessible to the web service,

where each symbolic name has an associated data format class type corresponding
to a subclass of User Interface (UI) objects that support the data

format type of the symbolic name, and has a preferred UI object, and

b) an address of the web service;

an authoring tool configured to:

define a (UI) object for presentation on the display, where said defined UI object
corresponds to a web component included in said registry selected from a group
consisting of an input of the web service and an output of the web service,

access said computer memory to select the symbolic name corresponding to the web
component of the defined UI object,

associate the selected symbolic name with the defined UI object,

where the selected symbolic name is only available to UI objects that support the
defined data format associated with that symbolic name, and

produce an Application including the selected symbolic name of the defined UI
object, where said Application is a device-independent code, and

produce a Player, where said Player is a device-dependent code;

such that, when the Application and Player are provided to the device and executed
on the device, and when a user of the device provides one or more input values
associated with an input symbolic name to an input of defined UI object,



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1) the device provides the user provided one or more input values and corresponding
input symbolic name to the web service,

2) the web service utilizes the input symbolic name and the user provided one or
more input values for generating one or more output values having an associated
output symbolic name,

3) said Player receives the output symbolic name and corresponding one or more
output values and provides instructions for a display of the device to present an
output value in the defined UI object.




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                             U.S. Patent No. 9,928,044

1. A system for generating code to provide content on a display of a device, said
system comprising:

computer memory storing:

a) symbolic names required for evoking one or more web components each related
to a set of inputs and outputs of a web service obtainable over a network, where the
symbolic

names are character strings that do not contain either a persistent address or pointer
to an output value accessible to the web service,

where each symbolic name has an associated data format class type corresponding
to a subclass of User Interface (UI) objects that support the data format type of the

symbolic name, and where each symbolic name has a preferred UI object, and

b) an address of the web service;

an authoring tool configured to:

define a UI object for presentation on the display, where said defined UI object
corresponds to a web component included in said computer memory selected from
a group consisting of an input of the web service and an output of the web service,

where each defined UI object is either: selected by a user of the authoring tool; or
automatically selected by the system as the preferred UI object corresponding to the
symbolic name of the web component selected by the user of the authoring tool,

access said computer memory to select the symbolic name corresponding to the web
component of the defined UI object,

associate the selected symbolic name with the defined UI object,

where the selected symbolic name is only available to UI objects that support the
defined data format associated with that symbolic name,

store information representative of said defined UI object and related settings in a
database;

retrieve said information representative of said one or more said UI object settings
stored in said database; and

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build an application consisting of one or more web page views from at least a portion
of said database utilizing at least one player,

where said player utilizes information stored in said database to generate for the
display of at least a portion of said one or more web pages,

wherein when the application and player are provided to the device and executed on
the device, and when the user of the device provides one or more input values
associated with an input symbolic name to an input of the defined UI object,

1) the device provides the user provided one or more input values and corresponding
input symbolic name to the web service,

2) the web service utilizes the input symbolic name and the user provided one or
more input values for generating one or more output values having an associated
output symbolic name,

3) said Player receives the output symbolic name and corresponding one or more
output values and provides instructions for a display of the device to present an
output value in the defined UI object.




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                      CERTIFICATE OF INTEREST FOR
                         EXPRESS MOBILE, INC.

     Pursuant to Federal Circuit Rules 28(a)(4) and 47.4, counsel for Plaintiff-
Appellant Express Mobile, Inc. certifies the following:

      1.     The full name of every party represented by me is:

      Express Mobile, Inc.

       2.     The name of the real party in interest (if the party named in the caption
is not the real party in interest) represented by me is:

      Not Applicable.

     3.    All parent corporations and any publically-held companies that own
10% or more of the stock of any party represented by me are:

      Not Applicable.

       4.     The names of all law firms and the partners or associates that appeared
for the party or amicus now represented by me in the trial court or agency or are
expected to appear in this court (and who have not or will not enter an appearance
in this case) are:

       Michael Dockterman                       John L. Abramic
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    5.     The title and number of any case known to counsel to be pending in this
    or any other court or agency that will directly affect or be directly affected by
    this court’s decision in the pending appeal:

    Express Mobile, Inc. v. Facebook, Inc., U.S. Court of Appeals for the Federal
    Circuit Case No. 2023-1645 , Patent Trial and Appeal Board IPR2021-01224;
    and Express Mobile, Inc. v. Facebook, Inc., U.S. Court of Appeals for the
    Federal Circuit Case No. 2023-1646, Patent Trial and Appeal Board IPR2021-
    01226.

    6.     Organizational Victims and Bankruptcy Cases. Provide any
    information required under Fed. R. App. P. 26.1(b) (organizational victims
    in criminal cases) and 26.1(c) (bankruptcy case debtors and trustees). Fed.
    Cir. R. 47.4(a)(6).

    Not Applicable.


Dated: November 13, 2023                    /s/ James R. Nuttall
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                      STATEMENT OF RELATED CASES

      Pursuant to Federal Circuit Rules 28(a)(4) and 47.5, counsel for Plaintiff-

Appellant Express Mobile, Inc. identifies the following related cases known to

counsel that will directly affect or be directly affected by this Court’s decision in the

present appeal:

      Express Mobile, Inc. v. Facebook, Inc., U.S. Court of Appeals for the Federal

Circuit Case No. 2023-1645, Patent Trial and Appeal Board IPR2021-01224; and

Express Mobile, Inc. v. Facebook, Inc., U.S. Court of Appeals for the Federal Circuit

Case No. 2023-1646, Patent Trial and Appeal Board IPR2021-01226.

                       STATEMENT OF JURISDICTION

      The district court had jurisdiction over this case under 28 U.S.C. §§ 1331,

1338, and 2201. On August 8, 2022, the district court issued its memorandum

opinion and order, granting Defendant-Appellee’s motion for summary judgment of

non-infringement as to two of five asserted patents, U.S. Patent Nos. 6,546,397

(“ʼ397 patent”) and 7,594,168 (“ʼ168 patent”). The district court held a five-day

jury trial, and on March 3, 2023, the jury returned a verdict of non-infringement as

to the other three of five asserted patents, U.S. Patent No. 9,063,755 (“ʼ755 patent”),

9,471,287 (“ʼ287 patent”), and 9,928,044 (“ʼ044 patent”). On March 6, 2023, the

district court entered final judgment after verdict of non-infringement as to the

asserted ʼ397, ʼ168, ʼ755, ʼ287, and ʼ044 patents. On April 3, 2023, Plaintiff-



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Appellant timely moved under FED. R. CIV. P. 50 for renewed judgment as a matter

of law or, in the alternative, for a new trial. On July 5, 2023, the district court denied

Plaintiff-Appellant’s motion for renewed judgment as a matter of law or, in the

alternative, for a new trial. On August 3, 2023, Plaintiff-Appellant timely filed its

notice of appeal. This Court has jurisdiction over this appeal under 28 U.S.C. §

1291.

                          STATEMENT OF THE ISSUES

        1.    Whether the district court erred in determining on summary judgment

that Defendant did not infringe the ’397 and ’168 patents, including the claim

construction of “runtime engine.”

        2.    Whether the district court erred in entering judgment after verdict of

non-infringement as to the ’755, ’287, and ’044 patents and denying Plaintiff’s

renewed motion for judgment as a matter of law and/or new trial.

                   STATEMENT OF THE CASE AND FACTS

        Plaintiff-Appellant Express Mobile, Inc. (“Express Mobile” or “XMO”) is a

leader in the business of developing mobile applications and website design and

development platforms, and has intellectual property including U.S. patents relating

to certain tools useful in the field. Appx509 at ¶ 44. Steve Rempell, the former CEO

and CTO of XMO, is an inventor on XMO’s patent portfolio. Id. Mr. Rempell has

over 50 years of experience in technology companies, with much of that work



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focused on web-based technologies and applications. Id. Over the past several

years, XMO has undertaken an initiative to safeguard its intellectual property

through a series of legal actions. Appx5181‒5184. XMO brought this lawsuit

against Defendant-Appellee GoDaddy.com LLC (“GoDaddy” or “GD”) for

infringement of five patents: ʼ397, ʼ168, ʼ755, ʼ287, and ʼ044 patents. Appx500 at

¶ 1; Appx1617 at ¶ 1. The first two patents (collectively, the “’397 Patent Family”)

are directed to an apparatus and a method for building websites. Appx1618‒1622 at

¶¶ 9‒25. The remaining three patents (collectively, the “’755 Patent Family”) are

directed to a system and a method for incorporating and displaying web services.

Appx1622‒1626 at ¶¶ 26‒43.

      ’397 PATENT FAMILY

            Technology of the ’397 Patent Family

      The ’397 Patent Family addresses the limitations of conventional web

construction tools, which required users to program directly in HTML or use a

desktop editor that output HTML-formatted files. Appx208 at 1:11‒49. The ’397

Patent Family introduces a browser-based build engine and interface, offering a

WYSIWYG (what you see is what you get) web development experience. Id. at

2:34‒37. This involves user selectable settings that are stored in a database and a

run time file. Appx240 at 65:58‒60. The system stores the user-selected settings

for the website, including content, layout, and other settings, into a database.



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Appx240 at 65:58‒59; Appx343 at 64:63‒67. The run time file “utilizes information

stored in [the] database” to generate specific commands, ensuring that the website is

displayed correctly. Id. at 65:67. The system uses a runtime engine to dynamically

generate the website, assembling web pages using the objects and style information

extracted from the database. Appx240 at 65:64‒66:2; Appx344 at 65:3‒7.

      Asserted claims 1, 2, 3, 11, and 37 of the ’397 patent each require a “run time

file,” and claims 1, 2, and 3 of the ’168 patent each require a “runtime engine.”

Appx050. The Parties agree that at least one run time file includes runtime engine.

Appx3079 at 60:1‒11 (GD’s expert); Appx4391 at 47:13‒19 (GD’s counsel).

             Accused Products

      GD offers subscription products referred to as Website Builder and Managed

WordPress, which are accused of infringement in this litigation. Appx031. Both

Website Builder and Managed WordPress build and generate websites by storing

user-selected settings in GD’s database and using certain files as the runtime engine

to utilize information from the database and create webpages. Appx5410–5412 at ¶

313, Appx5417 at ¶ 325, Appx5426‒5427 at ¶ 341, Appx5678–5683 at ¶¶ 784–790;

Appx5994–5995 at ¶ 200. Specifically, Run Time Engine Category 3 (“RTE3”)

includes JavaScript files sent to a user’s browser. Appx051.1 It is undisputed that



1
 Run Time Engine Categories 1, 2, and 4 are other types of Run Time Engines that
are not at issue on this Appeal. Appx053; Appx15191.

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these RTE3 JavaScript files are downloaded to a user’s web browser at runtime.

Appx052; Appx4796 at ¶ 39; Appx5410–5412 at ¶ 313, Appx5417 at ¶ 325. These

RTE3 JavaScript files utilize information from the database by making specific

function calls (i.e., by “fetching” information from the database). Appx5418‒5426

at ¶¶ 329‒339, Appx5434–5435 ¶¶ 350–354 (XMO’s expert); Appx5994–5995 at ¶

200, Appx6006 at ¶ 220; Appx10578 at ¶ 20 (XMO’s expert); Appx4795 at ¶ 35;

Appx11118 at 115:8–15; Appx11541 at 170:2–5. Specifically, the RTE3 JavaScript

files fetch user-selected settings from the database using the function call fetch(). Id.

GD’s database communicates with the RTE3 JavaScript files through an Application

Programming Interface (API), which is a part of the database itself and functions as

a translator. Id.

             Claim Construction

      The terms “runtime engine” and “run time file” have been construed

previously in several related cases involving the ’397 Patent Family: (1) Express

Mobile, Inc. v. eGroves Sys. Corp., No. 1:17-cv-00703 (D. Del.) (Andrews, J.)

(“eGroves”); (2) X.COMMERCE v. Express Mobile, Inc., No. 3:18-cv-03287 (N.D.

Cal.) (Seeborg, J.) (“X.COMMERCE”); and (3) Shopify Inc. v. Express Mobile, Inc.,

No. 1:19-cv-00439 (D. Del) (Andrews, J.) (“Shopify”).




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                     Judge Andrews’s Claim Construction in eGroves

         In eGroves, both XMO and eGroves proposed a construction of “runtime

engine” such that a file when executed at runtime “facilitates the retrieval of

information from the database.” Appx1841. Judge Andrews subsequently agreed

with this construction, holding that runtime engine is a file executed at runtime that

“facilitates the retrieval of information from the database and generates commands

to display a web page or website.” Appx1801.2

                     Judge Seeborg’s Claim Construction in X.COMMERCE

         In X.COMMERCE, XMO maintained a consistent construction of “runtime

engine” as in eGroves, proposing “runtime engine” such that a file when executed at

runtime “facilitates the retrieval of information from the database.” Appx1830.

However, X.COMMERCE proposed that a “runtime engine” is a file when executed

at runtime “reads information from the database.” Appx1830. Judge Seeborg

construed the term to mean “[a] file that is executed at runtime that reads

information from the database and generates commands to display a web page or

website.”      Appx21781.     Judge Seeborg stated that “facilitates retrieval of

information from the database” “introduce[d] unwarranted ambiguity not grounded

in anything expressly described in the specification.” Appx21780.




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    All emphasis added unless otherwise noted.

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                    Judge Andrews’s Claim Construction in Shopify

      In Shopify, XMO consistently maintained the same construction for the term

“runtime engine” as it did in eGroves and X.COMMERCE. Specifically, XMO

proposed that a “runtime engine” should be construed as a file that, when executed

at runtime, “facilitates the retrieval of information from the database.” Appx1850.

In contrast, Shopify suggested that the term should be construed as “[a] file that is

executed at runtime that reads information from the database.” Id.. Judge Andrews

acknowledged that a “reading” requirement “appear[ed] in descriptions of

embodiments,” and also noted that the prosecution history confirms that a runtime

engine “can utilize information from the database in a number of ways, including by

acting as a template shell that is combined with a database to generate the appropriate

commands.” Id. Ultimately, Judge Andrews adopted Shopify’s construction, citing

Judge Seeborg’s earlier inclination away from XMO’s proposed phrase “facilitates

retrieval of information from the database” as vague. Id.

                    Judge Andrews’s Claim Construction in This Litigation

      This case was initially assigned to Judge Andrews. Appx031. On June 1,

2021, Judge Andrews issued an order construing the disputed claim terms, including

a “runtime engine.” Appx031; Appx016. In light of the concerns expressed by both

Judge Seeborg and Judge Andrews regarding the vagueness of “facilitates retrieval

of information from the database,” and considering Judge Andrews’ own



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observation that intrinsic evidence supported the notion that a runtime engine “can

utilize information from the database,” XMO proposed an alternative construction.

Appx1756. XMO proposed that a “runtime engine” be construed as a file that, when

executed at runtime, “utilizes information from the database” Id.

      During the Markman hearing, XMO expressed concerns that “reads

information from the database” was too narrow. Appx4394 at 50:15‒21. XMO

argued that its construction is consistent with the claim language and intrinsic record

and, as such, the term should encompass a broader range of functions than simply

“reading.”     Appx4394 at 50:15‒21.      Specifically, XMO raised concerns that

“reading” might exclude other functions, such as “downloading” (Appx4388 at

44:7–12) or situations where “something else can read it or it could be combined”

(Appx4388 at 44:15–20). To address these concerns, Judge Andrews questioned

GD about whether “downloading information from the database” fell within the

scope of “reading information from the database,” to which GD responded that

“downloading” was equivalent to “reading” over a network. Appx4390 at 46:14–

24. In his order, Judge Andrews memorialized that concession and, without further

deliberation between “utilizing” and “reading,” accepted GD’s construction.

Appx017.




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             Summary Judgment

      On November 17, 2021, the Parties filed a summary judgment motion.

Appx031. The case was subsequently reassigned to Judge Matthew Kennelly. Id.

GD moved for summary judgment of non-infringement based on the “runtime

engine” limitations. Appx050‒051. Judge Kennelly granted summary judgment

with respect to the RTE3 JavaScript files, based on an alleged lack of evidence

establishing that the RTE3 JavaScript files read directly from the database.

Appx053‒055. Instead, Judge Kennelly found that: (1) these files solely interacted

with a Content Delivery Network (CDN), not with the alleged GD database; and (2)

depended on other files to facilitate access to the database. Appx053‒054.

             Motion for Reargument

      Following the court’s summary judgment ruling, XMO sought reargument on

the basis that the court had misunderstood the record in relation to GD’s RTE3

JavaScript files.   Appx15191.      XMO’s argument centered on the court’s

misapprehension that the RTE3 JavaScript files do in fact interact with and “read

information from” GD’s database. Id. However, the court denied XMO’s motion.

Appx21788.

      ’755 PATENT FAMILY

             Technology of the ’755 Patent Family

      The ’755 Patent Family relates to a system that allows the display of web

service content on a device platform. Appx345 at Abstract. An authoring tool is

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employed to define a user interface (UI) objects for display, each UI object

corresponding to a selected web component. Appx382 at 37:15‒20, 38:26‒31. The

invention includes generating software code, including an Application, which is a

device-independent code, and a Player, which is a device-dependent code. Id. at

37:26‒30, 38:36‒40. The system includes receiving inputs and the Player receiving

and displaying output values. Id. at 37:31‒46, 38:41‒56. Notably, the ’755 Patent

Family expressly claims embodiments of Player code that run within web browsers.

Appx366 at 5:27‒28. For example, dependent claim 13 of the ’287 patent in the

’755 Patent Family recites “[t]he system of claim 1, where said Player is activated

and runs in a web browser” Appx424 at 39:10‒11. GD’s Website Builder and

Managed WordPress products are also accused of infringing the ’755 Patent Family.

            Claim Construction and Summary Judgment

      The Parties agreed and the court entered a construction of “device-dependent

code,” as “code that is specific to the operating system, programming language, or

platform of a device.”    Appx010.     Judge Andrews’ construction of “device-

dependent code” in this case mirrors the same definition applied in Shopify.

Appx1859. Notably, in Shopify, Judge Andrews further recognized that the term

“platform” was not strictly limited to operating systems, and acknowledged that

“browsers could be the platform.” Appx6507; Appx6516. In both this case and

Shopify, browser platforms were not excluded from the construction of “device-



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dependent code.” Appx010; Appx1859. Additionally, the term “platform” was not

construed in either case. Id. In both cases, both Judge Andrews and Judge Kennelly

denied summary judgment because XMO identified files with conditionally

branched JavaScript code related to a device’s browser platform as the Player.

Appx056.

             Trial

                     Motion in Limine No. 6

      Prior to trial, XMO filed a motion in limine to preclude evidence and

arguments contrary to the court’s claim construction and summary judgment rulings.

Appx15237‒15240.       GD’s expert asserted that “device-dependent code” must

exclusively operate on a single type of device. Appx15238; Appx11398‒11399 at ¶

601‒603. XMO contended that GD was attempting to rewrite the construction of a

“Player.” Appx15238. XMO argued that GD was attempting to exclude Players

that incorporated conditionally branched JavaScript code, a type of code that is

specific to a device platform, from the court’s adopted construction. Id.

      During the pretrial conference, XMO reiterated its concern that GD might

advance the argument that “a separate player must be created for every single

possible device.” Appx17002 at 50:3‒7. In response to XMO’s apprehension, Judge

Kennelly swiftly granted the motion, characterizing it “as a no-brainer.” Appx17001

at 49:7‒14. GD then assured the court that “GoDaddy does not intend to argue that



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a separate player must be provided for every single device . . .” Appx17005 at 53:2‒

6. Furthermore, Judge Kennelly stressed: “it just needs to be clear . . . that witnesses

can’t opine about the proper construction of the claim. They have to adopt the

construction of the claim that’s been ordered or found, and they have to go with that,

so that’s kind of a truism.” Appx17007 at 55:12‒17.

                    Trial

      Despite the assurance made during the pretrial conference, GD and its expert

contradicted the court’s adopted construction by unilaterally narrowing the

construction. See, e.g., 17455 at 629:9–10 (GD’s expert insisting that every instance

of Player code must be coded to a specific operating system of a device), Appx17454

at 628:13 (“it’s the operating system”), Appx17454–17455 at 628:25–629:1 (“it was

the operating system”). GD explicitly contended that “device specific means code

designed for a particular device,” and that Player code “must be coded to account

for the device’s operating system” and “obviously by device, it means operating

system.” Appx17452 at 619:5–6 (GD’s counsel); Appx17467 at 679:12–14 (GD’s

expert).    GD disregarded the broader court-approved construction, which

encompasses operating systems, programming languages, and platforms.

Appx6506–6507; Appx010. Furthermore, GD’s arguments also incorrectly asserted

that Player code could not run in web browsers, despite explicit claim language to

the contrary. Appx17457 at 636:19, id. at 637:4–9. GD also suggested to the jury



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that browsers could not fulfill the role of the “platform” in the Court’s construction

of “device-dependent code.” Appx17472 at 698:18–699:1 (GD’s expert asserting

that “I don’t see how [web browser]” is part of the grouping relating to the device of

operating system, programming language, or platform related to that device).

             Judgment as a Matter of Law or New Trial

      XMO moved for judgment as a matter of law under FED. R. CIV. P. 50(a), and

renewed its Rule 50 motion and moved for new trial under FED. R. CIV. P. 59.

Appx120. At the heart of XMO’s argument was the contention that GD’s assertions

contradicted the court’s claim construction of “device-dependent code.”

Appx21682.     XMO maintained that GD’s position improperly narrowed the

definition to code exclusive to a device’s operating system, effectively excluding the

“programming language, or platform” aspects of the court’s construction.

Appx21689–21691. XMO further asserted that, based on the court’s construction, a

web browser should be regarded as a “platform,” thereby classifying its code as

device-dependent and, consequently, a Player. Appx21691–21692. However, the

court, in response to XMO’s arguments noted that it had not provided a specific

construction for the term “platform” and that the jury was “free to rely on the plain

and ordinary meaning.” Id.




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                           SUMMARY OF ARGUMENT

      The district court erred in its summary judgment decision as to the ’397 Patent

Family and in its post-trial JMOL and new trial decision as to the ’755 Patent Family.

      1.     The district court’s summary judgment of non-infringement for the

’397 Patent Family hinged on its construction, which required “reading information

from a database” for the claimed “runtime engine.”          However, the “reading”

construction was erroneous and the proper construction should have been “utilizing

information from a database.” The “reading” construction improperly imports

embodiments from the specification and ignores not only the actual language of the

claims—every claim bearing on this issue in the ’397 Patent Family recites “utilizing

information”—but also the fact that the “utilizing” claim language was added and

relied upon by the applicant in securing allowance of the claims. Moreover, even

applying the court’s construction of “reading information from the database,” the

district court failed to draw reasonable inferences in XMO’s favor. Specifically, the

accused RTE3 JavaScript files include the crucial “fetch()” function call, which

reads information from GD’s database. Reading information from the database

through an API is the interface that both parties’ experts admit is the typical, if not

the only, way to read from a database. Moreover, there was no basis for the district

court’s requirement that GD’s system directly read from the database when the claim

construction does not impose such a narrow requirement. Finally, the court erred in



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finding that the runtime engine obtained information only from a third-party CDN

database and not from any GD database, when information is indeed obtained from

GD’s database.

      2.     The district court’s denial of JMOL and a new trial as to the ’755 Patent

Family was based on a mistaken interpretation of GD’s trial arguments and evidence.

The court wrongly perceived GD’s arguments and evidence about the claim scope

as those of non-infringement. In particular, GD improperly and pervasively offered

evidence and argument that browsers cannot be platforms within the district court’s

construction of the claimed “Player.” By taking such positions regarding claim

scope, GD contradicted the court’s claim construction, effectively reading out part

of the scope of the court’s construction. The district court erred in condoning GD’s

contradictory claim construction at trial and failing to apply the full scope of its own

claim construction in making the JMOL ruling.

                                    ARGUMENT

      STANDARD OF REVIEW

      This Court reviews claim construction de novo. Teva Pharmaceuticals USA,

Inc. v. Sandoz, Inc., 574 U.S. 318, 331 (2015). The district court’s ultimate

construction of disputed terms, its findings based on intrinsic evidence, and the

application of subsidiary factual findings to its claim construction analysis are

reviewed de novo. Id.



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      This Court reviews the grant of summary judgment under regional circuit law.

Teva Pharm. Indus. Ltd. v. AstraZeneca Pharm. LP, 661 F.3d 1378, 1381 (Fed. Cir.

2011). Under Third Circuit law, summary judgment rulings are reviewed de novo.

Nicini v. Morra, 212 F.3d 798, 805 (3d Cir. 2000). The record is reviewed in the

light most favorable to and all reasonable inferences are drawn in favor of the non-

movant. Id. at 805–06. Ultimately, infringement is a question of fact. Absolute

Software, Inc. v. Stealth Signal, Inc., 659 F.3d 1121, 1129–30 (Fed. Cir. 2011). “On

appeal from a grant of summary judgment of non-infringement,” this Court

“determine[s] whether, after resolving reasonable factual inferences in favor of the

patentee, the district court correctly concluded that no reasonable jury could find

infringement.” 659 F.3d at 1130.

      This Court reviews an order denying “JMOL under the standard applied by

the regional circuit.” Apple Inc. v. Samsung Elecs. Co., 839 F.3d 1034, 1040 (Fed.

Cir. 2016). In the Third Circuit, JMOL is proper only if “viewing the evidence in

the light most favorable to the nonmovant and giving it the advantage of every fair

and reasonable inference, there is insufficient evidence from which a jury reasonably

could find” for the nonmovant. Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153,

1166 (3d Cir. 1993). “The question is not whether there is literally no evidence

supporting the party against whom the motion is directed but whether there is

evidence upon which the jury could properly find a verdict for that party.” Id. A



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party seeking to disturb the non-infringement judgment “must establish that [the

challenged jury] instructions were legally erroneous, and that the errors had

prejudicial effect.” Network-1 Techs., Inc. v. Hewlett-Packard Co., 981 F.3d 1015,

1022 (Fed. Cir. 2020) (citations omitted). “It is well established that when an

incorrect jury instruction—such as an incorrect claim construction—removes from

the jury a basis on which the jury could reasonably have reached a different verdict,

the verdict should not stand.” Cardiac Pacemakers, Inc. v. St. Jude Med., Inc., 381

F.3d 1371, 1383 (Fed. Cir. 2004); see also Avid Tech., Inc. v. Harmonic, Inc., 812

F.3d 1040, 1042 (Fed. Cir. 2016).

      Regional circuit law also governs the new trial standards of review. Power

Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 843 F.3d 1315, 1326 (Fed.

Cir. 2016). The Third Circuit reviews the denial of a new trial motion by applying

the “abuse of discretion” standard. Id.




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       ’397 PATENT FAMILY

              THE DISTRICT COURT ERRED IN ITS CONSTRUCTION OF
              RUNTIME ENGINE

                     “Runtime Engine” Should Be Construed With “Utilize
                     Information” Language.

       The district court construed the claimed “runtime engine” as a “run time file”3

with two requirements: (1) it must be “downloaded or created when a browser is

pointed to a web page or website” and (2) it must “read[] information from the

database.” Appx027. The second requirement was the basis for summary judgment

in this case. During claim construction as to that second requirement, XMO urged

the district court to construe the term to mean “facilitates [or facilitating] the retrieval

of information” instead of “reads [or reading] information.” Appx1756–1757. The

only basis for rejecting “facilitates the retrieval of information” in the district court

below and in prior proceedings was that the “facilitates” language was allegedly

vague and not grounded in anything.              Appx1831; Appx21780; Appx1850.

Accordingly, XMO offered “utilizes [or utilizing] information,” which is firmly

grounded in the explicit language of the claims, as an alternative to the “facilitates”

language in an effort to address the Court’s concerns. Appx1756–1757.



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 Claims 1, 2, 3, 11, and 37 of the ’397 patent recite a “runtime file.” Claims 1, 2,
and 3 of the ’168 Patent and claim 24 of the ’397 patent recite a “runtime engine.”
There is no dispute that “at least one run time file” is construed to mean “one or
more files, including a [runtime] engine, that are downloaded or created when a
browser is pointed to a web page or website.” Appx027.

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      The district court acknowledged XMO’s argument that “‘utilizes information’

could mean something more than simply reading information from the database.”

Appx016–017. However, the district court went on to dismiss the distinction

between utilizing and reading simply because, as the district court acknowledged,

GD had agreed at oral argument that “downloading is equivalent to reading over a

network.” See supra SOC § I.C.4.4 Ultimately, the district court did not explicitly

address the “utilizes information” issue, but it intended not to overly narrow the

term. Regardless, XMO asks this Court to reject the erroneous “reading” language

and construe the claimed “runtime engine” to require “utilizing information from the

database.”

      The intrinsic evidence supports the propriety of the “utilizing information”

construction. Indeed, the claims themselves provide overwhelming support. The

claims expressly recite that “run time files utilize information stored” in databases.

Appx240–242 at 65:66–67, 66:19–20, 69:1–2, 70:13–14 (claims 1, 2, 37, 39 of the

’397 patent); Appx4392 at 48:9–11 (GD agreeing “Yes, there is . . . the term utilizes

information from the database in the ’397 claims”). “Reading,” by contrast, is

nowhere to be found in the claims of the ’397 and ’168 patents. Specifically, each




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  Throughout this brief, cross-references to sections of the Statement of the Case
are identified with “SOC,” and cross-references to sections of the Argument are
identified with “Argument.”

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of the claims of the ’397 patent that bears on the interaction of the runtime engine

and the database uses the “utilizing” language:

      “building one or more web pages to generate said website from at least
      a portion of said database and at least one run time file, where said at
      least one run time file utilizes information stored in said database”
      Appx240 at 65:64–67 (’397 patent, claim 1)

      “a build tool having at least one run time file for generating one or more
      web pages, said run time file operating to utilize information stored
      in said database” Appx240 at 66:19–23 (’397 patent, claim 2)

      “an external database containing data corresponding to said information
      stored in said internal database, and one or more run time files, where
      said run time files utilize information stored in said external
      database” Appx241–242 at 68:65–69:2 (’397 patent, claim 37)

      “means for building one or more web pages for generating said website
      from at least a portion of said database and at least one run time file,
      where said at least one run time file utilizes information stored in
      said database” Appx242 at 70:10–14 (’397 patent, claim 39)

Claim 1 of the ’168 patent is the only claim bearing on this issue that does not recite

“utilizes information,” but its recitation is consistent with “utilizing” not “reading”:

      “wherein the database is produced such that a web browser with access
      to a runtime engine is configured to generate the web-site from the
      objects and style data extracted from the provided database”
      Appx344 at 65:3–6 (’168 patent, claim 1)

Thus, the claims, in addition to explicitly using the “utilizes information” language,

consistently focus on where the run time file obtains information from (i.e., the

database) not how the run time file obtains such information. There is no claim




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support for limiting how the claimed run time file obtains information from the

database (i.e., via reading from the database).

      While the specification—not the claims—does contain references to reading

information from the database in particular embodiments (e.g., Appx210 at 5:59–

62), the term “utilize information” aligns well with these exemplary uses. For

example, the specification discloses reading a database via downloading from a

server as an embodiment and as shown in Figure 29. Appx230 at 45:56–57 (“If not,

the [runtime] engine will read the ‘Websitename’.dta file directly from the server.”);

id. at 45:44–56. The specification also discloses the typical operation of reading

from a database through an API. Id.; see also Appx173 (“RUNTIME ENGINE

READS A PARAM VALUE WHICH POINTS TO THE DATABASE AND

INITIATES THE READ OPERATION.”); Express Mobile’s expert explained that

such reading over a network (including by “downloading from a server with access

to the database”) is reading information from a database and well-known. Appx5428

at ¶ 344; see also Appx5427 at ¶ 342 (XMO expert explaining that use of “database

access codes” is “read[ing] information from a database”); Appx5434 at ¶ 351 (use

of a Java Applet runtime engine is reading from a database). Accordingly, the

specification’s references to “reading” do not limit how the information is obtained,

and are instead consistent with utilizing information.




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      The prosecution history also overwhelmingly supports the “utilizes

information” construction. The claims were amended in January 2002 after a final

office action and the “utilize information” language was introduced at that time.

Appx629–631. In addition, the applicant emphasized that a runtime engine can

utilize information from the database in a number of ways, including by acting as a

template shell that is combined with a database to generate the appropriate

commands. Appx666. In distinguishing the invention over the prior art, the

prosecution emphasized that, consistent with the claim language as amended, “the

pending claims now recite that run time files utilize information stored in the

database,” and reference “the use of the [runtime] engine to use database

information.” Appx665. The applicant distinguished the present invention based on

its separation of a runtime engine from a database of user settings—“[i]n contrast,

the claimed invention generates web pages using two features: a [runtime] engine

and a database of user settings.” Id. How the settings from the database are made

available to the runtime engine was not necessary to distinguish the claimed

“runtime engine” over the prior art and secure allowance during prosecution.

      Prior to the introduction of the “utilizing” language to the claims, the applicant

argued that the claims were not anticipated by the prior art at issue because the

invention was “for the production of web pages.” Appx616. In making that

argument, the applicant stated that the “websites are generated by the runtime



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engine reading and interpreting the external database and then building the web

pages dynamically.” Id. After and despite that statement, the applicant chose to

amend the claims to recite the “utiliz[ing] information” language above, not

“reading.” Appx629–631. And thereafter, the claims were allowed as amended.

The examiner’s reasons for allowance confirm the propriety of the utilizing

construction: “[the prior art references] do not show a run time file utilizing user

selected setting stored in a database.” Appx4596.

                   The Limited Support For “Reading Information” Fails.

      Ultimately, any support for “reading information” is found in exemplary

embodiments of the specification and limited prosecution history statements taken

out of context. Such support falls far short of this Court’s exacting legal standards

for importing embodiments from the specification or surrendering claim scope

during prosecution.

      In construing a claim term, the Federal Circuit looks to the words of the claim

itself. Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996).

If the claim term has a plain and ordinary meaning, the inquiry ends.             Id.

Additionally, “a clear ordinary meaning is not properly overcome (and a relevant

reader would not reasonably think it overcome) by a few passing references that do

not amount to a redefinition[.]” Ancora Techs., Inc. v. Apple, Inc., 744 F.3d 732,

738 (Fed. Cir. 2014). The Federal Circuit has “repeatedly stated that while claims



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are to be construed in light of the specification, they are not necessarily limited by

the specification.” Enercon GmbH v. International Trade Com’n, 151 F.3d 1376,

1384 (Fed. Cir. 1998); see also GE Lighting Solutions, LLC v. AgiLight, Inc., 750

F.3d 1304, 1308‒10 (Fed. Cir. 2014). Disavowal requires that the specification or

prosecution history make clear that the invention does not include a particular

feature, or is clearly limited to a particular form of the invention. Hill-Rom Servs.,

Inc. v. Stryker Corp., 755 F.3d 1367, 1372 (Fed. Cir. 2014); Cordis Corp. v. Boston

Sci. Corp., 561 F.3d 1319, 1329 (Fed. Cir. 2009). A claim construction that excludes

preferred embodiments, however, is “rarely, if ever, correct.” See Vitronics Corp.,

90 F.3d at 1583 (Fed. Cir. 1996).

      Here, the “utiliz[ing] information” claim language is not unclear5 and the term

should be given its plain and ordinary meaning. Even if it was somehow unclear,

the specification’s references to “reading” in specific embodiments do not provide a

basis for narrowing the scope of the claims. As explained supra, the specification’s

references to “reading” consistently establish that reading can occur through an API

or through downloading through a server, both of which are consistent with the

explicitly recited “utilizing information” where there is no limit on how the



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  Appx2147‒2148 at ¶ 60‒61 (Express Mobile’s expert stating that “utilizes
information” is “clear, consistent with the intrinsic record.”); Appx3072 at 31:2–18
(GoDaddy’s expert, “Q. Now, what does it mean to utilize information stored in a
database? A. To use it.”)

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information is obtained. See supra Argument § II.A.1. That interpretation is entirely

consistent with the claim construction proceedings, where            Judge Andrews

acknowledged GD’s concession that “downloading” fell within the scope of

“reading.” See supra SOC § I.C.4.

      The prosecution history is also entirely consistent with “utilizing information”

as recited in the claims and provides no basis for placing a limitation on how the

runtime engine obtains information from the database. If anything, the amendment

to recite “utilizing information” and subsequent applicant and examiner statements,

which were made only after the very limited statement about “reading” (Appx616),

evidences a clear intent to maintain the scope afforded by “utilizing” rather than

limit the claim scope to “reading.” Appx629–631; Appx665; Appx4596. Thus,

similar to the “reading” statements in the specification, the prosecution history does

not rise to the level of limiting the claim scope to “reading information from a

database.”

      Ultimately, there is no basis for importing “reading information” from the

specification embodiments or prosecution history.        The district court erred in

adopting the “reading” claim construction in the absence of proper support in the

specification or prosecution history to stray from the “utilizing” claim language. See

GE Lighting Solutions, LLC, 750 F.3d at 1308‒10. Moreover, in ultimately finding

summary judgment of non-infringement here as addressed infra § II.B, the district



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court used its claim construction to exclude preferred embodiments. Specifically,

the district court held that GD’s accused RTE3 JavaScript files, which obtain

information from a database by downloading using an API, did not meet the “reading

information from a database” construction.           Appx053–055.        That claim

interpretation necessarily and improperly excludes preferred embodiments

indicating that reading can occur by downloading or through an API. See supra

Argument § II.A.1. (referencing Figure 29). The “reading information” construction

should be rejected for that additional reason. See Vitronics Corp., 90 F.3d at 1583.

                   Under The Correct “Utilizing” Construction, Summary
                   Judgment Should Be Reversed.

      Reversal is proper where, as here, the summary judgment of non-infringement

was based upon an erroneous claim construction. See Evolusion Concepts, Inc. v.

HOC Events, Inc., 22 F.4th 1361, 1367–68 (Fed. Cir. 2022) (reversing a summary

judgment of non-infringement for two independent claims after correcting the

district court’s claim construction); Accent Packaging, Inc. v. Leggett & Platt, Inc.,

707 F.3d 1318, 1326, (Fed. Cir. 2013) (reversing summary judgment of non-

infringement due to district court’s claim construction error). Here, the grant of

summary judgment was based upon the erroneous “reads information” construction.

Appx053–054. In addition, ample evidence establishes that GD’s accused RTE3

JavaScript files do in fact “utilize information” from GD’s database under the correct

construction. E.g., Appx5426‒5427 at ¶ 341, Appx5678–5683 at ¶¶ 784–790;


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Appx5236–5239; Appx15215 (GD agreeing that the accused RTE3 JavaScript files

do obtain data from the database); see also supra SOC § I.B. At a minimum, such

evidence creates a genuine issue of material fact. Thus, reversal of summary

judgment of non-infringement is appropriate.

             THE DISTRICT COURT ERRED IN GRANTING SUMMARY
             JUDGMENT OF NON-INFRINGEMENT APPLYING ITS
             CONSTRUCTION OF RUNTIME ENGINE

      Even if the construction “read information from a database” is applied, the

district court erred in granting summary judgment of non-infringement of GD’s

RTE3 JavaScript files. In particular, the district court found that GD’s RTE3

JavaScript files do not “read information from the database” because those files

instead rely on other files to call upon the database and “interact only with the [third-

party] CDN.” Appx053‒054. Those findings were in error. There is no dispute that

the accused RTE3 JavaScript files do obtain information from the database and, thus

do not interact only with the CDN. That error alone supports the relief now sought,

but the district court further erred in finding that the accused RTE3 JavaScript files

rely on non-existent intermediate files to obtain database information. Moreover,

there is a genuine dispute of material fact over whether use of the API that GD admits

performs the reading meets the “read information from a database” limitation, even

if the district court considered the API to be an intermediate file (which it is not).




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Lastly, regardless of the foregoing errors, “direct reading” is not required and

summary judgment was thus improper.

                   The RTE3 JavaScript Files Read Information From
                   GoDaddy’s Database And Do Not Rely On Intermediate
                   Files.

      The district court erroneously found that the accused RTE3 JavaScript files

interact only with the CDN and do not themselves read from GD’s database, instead

relying on intermediate files. Appx153. The court’s finding was based on GD’s

repeated attempts to confuse the court. GD argued that the RTE3 JavaScript files

never directly read any information from a GD database because the files are not

“themselves reading” but rather only the API can read GD’s database. Appx15207.

There is no dispute, however, that the RTE3 JavaScript files themselves, using their

aptly named “fetch()” function call, obtain information from the GD database. See

SOC § I.B. No intermediate files are involved.

      The accused RTE3 JavaScript files themselves read information from GD’s

database through the “fetch()” function call that does the fetching from GD’s

database. Id. Specifically, the “fetch()” function call of the RTE3 files, as its name

implies, reads from the GD database through an API. Id. There is no dispute that

the crucial “fetch()” function call is within the specifically accused RTE3 JavaScript

files. Id. What’s more, nowhere did the district court or GoDaddy identify what

those alleged intermediate files were.        Instead, all the evidence consistently



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establishes that the “fetch()” function call obtains information from the database. Id.

Thus, the district court erroneously found that the RTE3 JavaScript files do not

“actually read” information from the database because “those files instead rely on

other files to call upon the database.” Appx053.

      The district court likewise erred in finding that the accused RTE3 JavaScript

files instead interact only with the CDN. Id. The record reflects that GD’s RTE3

JavaScript files read user selectable settings from GD’s database, not “only with the

[third-party] CDN” as the Court found. Appx5410–5412 at ¶ 313, Appx5417 at ¶

325, Appx5426‒5427 at ¶ 341, Appx5678–5683 at ¶¶ 784–790; Appx5994–5995 at

¶ 200 (XMO’s expert citing script.js that utilizes information from the database).

For example, GD’s witness, Mr. Silvas, did not dispute that RTE3 JavaScript files

include function calls that fetch and ultimately download information from the

database. Appx4795 at ¶ 35. In fact, GD’s entire argument and the district court’s

findings discussed below regarding an API are only relevant to GD’s database and

are irrelevant to the third party CDN. See infra § II.B.2. Thus, GD’s arguments and

the court’s findings regarding reading a database through an API would be

completely meaningless if the accused RTE3 JavaScript files only obtained

information from a third party CDN. The court’s finding otherwise was an erroneous

finding and alone supports reversal of the court’s summary judgment decision.




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      In finding that the accused RTE3 JavaScript files relied on intermediate files

and interacted only with the CDN rather than reading from the database, the district

court analogized GD’s system to that at issue in Shopify. Appx053–054. But GD’s

system is not like that at issue in Shopify, and the court’s reliance on the facts in

Shopify to decide the GD case resulted in several erroneous findings and

conclusions. In Shopify, the district court found on summary judgment that “the

alleged runtime engine did not read the database directly but rather ‘triggering the

drop file to perform its data fetching function.’” Appx053 (quoting Shopify Inc. v.

Express Mobile, Inc., No. CV 19-439-RGA, 2021 WL 4288113, at *20 (D. Del. Sept.

21, 2021) (hereinafter “Shopify Summary Judgment” available at Appx6477)). Here,

the accused RTE3 JavaScript files themselves contain the “fetch()” function call.

E.g., Appx6006 at ¶ 220. In GD’s accused system, there is no second file that is

triggered to perform the fetching function. There were no direct “fetch()” or other

calls to the database in the accused RTE files in Shopify and there are no comparable

intermediate files that are called to perform reading in this case. Thus, the district

court erred in finding that XMO’s position in the present case is “similar to” that of

Shopify and that the “same logic applies here.” Appx053.

      The district court also relied on GD’s declarations from Mr. Jarret and Mr.

Silvas to support its conclusion that “the accused [runtime] engines ‘do not read from

or contain any references to the source of the data at all, whether through a database-



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access library or otherwise.’” Appx054 (citing Appx4811–4817, at ¶¶ 10-29 (Jarret)

and Appx4789–4796, at ¶¶ 14–17, 21–30, 34–40 (Silvas)). The district court’s

reliance on Mr. Jarret was entirely in error. His declaration related only to RTE 4

files, not the RTE3 JavaScript files at issue in that section of the district court’s

opinion and subject to this appeal. Appx4811–4817 at ¶¶ 10–29. And while Mr.

Silvas’ declaration initially suggested that GD’s RTE3 JavaScript files retrieve

information only from a third party CDN, he later admitted that these files do get

information from GD’s database. Appx4794–4795 at ¶¶ 31–35. Thus, those

declarations fall far short of establishing that there is no genuine dispute of fact

warranting summary judgment of non-infringement. The district court’s decision

was therefore improper for at least these reasons and should be reversed.

                   Use Of An API To Read From A Database Is A Genuine
                   Dispute Of Material Fact Precluding Summary Judgment.

      To the extent that the district court was referring to the use of an API as

“intermediary files” or as otherwise not meeting the “reading from a database”

limitation at issue, that is also in error because an API is part of the database—not

an intermediary file—and using an API to read a database is the typical way to read

a database and consistent with the specification. The API is not an intermediate

structure—it is part of the database itself. Appx15195 (including diagram of same).

As XMO’s expert explained: “Databases have APIs on them . . . it’s the mechanism

by which data from a database is read.” Appx5863 at 322:9–11. APIs are simply


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translators for the function call of GD’s RTE3 files (here, “fetch()”), that is recited

directly as code in the accused RTE3 files. Appx5413 at ¶ 314, Appx5443 at ¶ 376,

Appx5460–5461 at ¶ 406, Appx5469 at ¶ 429, Appx5470 at ¶ 431; Appx5994–5995

at ¶ 200; Appx10576 at ¶ 14. Thus, as Dr. Almeroth opined, an RTE file retrieving

information from a database through an API is “reading information from a

database.” Appx10576 at ¶ 14.

      GD’s experts admitted that the use of APIs is typical, if not the only way, to

read from a database.

 Witness             Evidence

 Technical           Q.    [] So is it your opinion that in order to infringe
 Expert,                   a runtime engine, must call to an API to look
 Mr. Kent                  up a database?

                     A.    Well, it has to hit something. It has to request
                           something from a database. So I suppose
                           typically would be done through an API.

                                               ***

                     Q.    [] So if a runtime engine calls a API to retrieve
                           information from a database, that would
                           satisfy the requirement of reading information
                           from that database, right?

                     A.    Yeah, I guess so. . . . I haven’t thought about
                           this. It has to call -- it has to call something from
                           the database. That’s the theory, and Dr.
                           Almeroth is saying these files are doing that.
                           What I’m saying is these [JavaScript render]
                           files are not doing that regardless of whatever
                           mechanism they might use the -- database.

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                    Appx11540–11541 at 169:8–13, 169:25–170:5.

 Technical          Q.     Now, is it your opinion that using an API to
 Expert,            access a database would allow one to read from the
 Dr. Greenspun      database?

                    A.    Yes . . . that’s the only way that – the only
                    practical way that a Java program has to either read
                    from or write to a database.

                    Appx11118 at 115:8–15.


      GD weakly attempted to sidestep these admissions as lacking context.

Appx15211–15212. But both GD experts admitted reading a database using an API

was “the only practical way,” “typical[],” and met the court’s claim construction of

reading. GD attempts to run from these admissions by arguing that Mr. Kent said

the GD RTE are not “doing that [using an API].” Id. But GD admits—in fact the

entire premise of its summary judgment motion—is that the accused RTE uses an

API. Appx053; Appx4795 at ¶ 35 (Mr. Silvas declaring that API is used). GD’s

argument with respect to Dr. Greenspun is even weaker, arguing that he was talking

about a different programming language (Java instead of JavaScript). Appx15211.

But regardless of the programming language, Dr. Greenspun admitted a function call

to a database using an API is reading from a database. Appx11540–11541 at 169:8–

13, 169:25–170:11; Appx11118 at 115:8–15.           Summary judgment of non-

infringement because an API is used, despite GD’s admissions that using an API is


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how reading from a database would “typically” be done, if not “the only practical

way” it would be done, is clearly improper and should be reversed. Appx11540–

11541 at 169:8–13, 169:25–170:11; Appx11118 at 115:8–15. And at the very least,

given GD’s admissions that the “fetch()” function interacts with the API the dispute

over whether the database encompasses the API and whether reading from a

database using an API presents a factual issue that precludes summary judgment.

      Summary judgment of non-infringement may only be granted if, after viewing

the alleged facts in the light most favorable to the nonmovant and drawing all

justifiable inferences in the nonmovant's favor, there is no genuine issue whether the

accused device is encompassed by the patent claims. Pitney Bowes, Inc. v. Hewlett–

Packard Co., 182 F.3d 1298, 1304, 51 USPQ2d 1161, 1165 (Fed. Cir.1999). Even

applying the reading construction, when reasonable inferences are drawn in XMO’s

favor, including whether use of an API is reading and whether GD’s API is a part of

the database, there is a dispute over whether the RTE3 JavaScript files read from the

database. See Wi-LAN USA, Inc. v. Ericsson, Inc., 675 F. App’x 984, 994 (Fed. Cir.

2017) (nonprecedential) (while affirming a narrow claim construction, vacating

summary judgment of non-infringement because the district court disregarded

conflicting evidence in the record and gave undue weight to the accused infringer’s

evidence). Here, in granting summary judgment the district court erroneously

overlooked XMO’s evidence indicating that the API is part of the database and



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reading is performed using an API, instead giving undue weight to GD’s expert

opinion.

                      Direct Reading Is Not Required.

         Under the “reading information” construction, summary judgment of non-

infringement was also in error because direct reading is not required. The district

court agreed with GD’s argument that the “fetch()” function does not meet the “read

information from the database” limitation because it “rel[ies] on intermediary files”

and does not read the database “directly” and granted summary judgment of non-

infringement on that basis. Appx053. As set forth above, no intermediary files are

invoked, and to the extent that reading through an API renders the reading “indirect,”

that is not a proper basis for summary judgment of non-infringement.

         The claim construction simply requires “reading.” It does not require “direct”

reading. The court improperly further narrowed this claim term and construction by

requiring “direct reading,” thereby improperly excluding reading a database using

an API, or the use of intermediary files (even if such intermediary files were at issue

here).     The intrinsic evidence, the claim construction proceedings, and expert

testimony all support the conclusion that direct reading is not required.          The

specification includes preferred embodiments indicating that reading can occur via

downloading or through an API. See supra Argument § II.A.1. (referencing Figure

29). There is certainly not “highly persuasive evidentiary support” for interpreting



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the claims to exclude those preferred embodiments. Vitronics at 90 F.3d at 1583.

And the broader intrinsic evidence, including the claims themselves and the

prosecution history, repeatedly supports that interaction between the RTE and the

database, whether the word “read” or “utilize” is considered, is such that the RTE

obtains certain information from the database without limitation as to how the RTE

obtains that information from the database. See supra Argument § II.A.1.

      During claim construction, GD agreed that “downloading is equivalent to

reading over a network” and the district court acknowledged that agreement in its

claim construction opinion. See supra SOC § I.C.4. That is precisely what the

“fetch()” function call is doing when it fetches through an API. See, e.g., Appx6006

at ¶ 220 (XMO expert opining that “using the fetch function call that returns the

information from the database” is “reading information from a database”); see also

supra Argument § II.B.1. At a minimum, the district court acknowledged that

“reading over a network” such as downloading, was within the scope of the

construction and, in so doing, acknowledged that direct reading is not required. See

supra SOC § I.C.4.6 Appx1757. Moreover, there are multiple admissions that




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  The lack of a requirement that reading from the database be direct is consistent
with the term “database” itself. The parties agreed that the term “database” is “an
electronic information storage system offering data storage and retrieval.”
Appx1745–1748. That “retrieval” aspect is consistent with XMO’s positions and
further supports the existence of a genuine dispute of material fact.

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“reading from a database” can occur through use of an API. See, e.g., Appx11118

at 115:8–15; see also supra Argument § II.B.1. And, more importantly, GD’s own

technical experts admit that an API is the “only practical way” to read information

from a database the file types at issue. See supra Argument § II.B.2.

      The district court’s rejection of reading through an API runs counter to all of

that overwhelming evidence. Any support that can be mustered to support the

“reading” construction must give effect to this overwhelming evidence, all of which

consistently do not require direct reading or exclude reading through an API.

Requiring that the claimed reading be “direct” improperly limits the scope of the

claims and must be rejected in view of that evidence.

      In Oracle Corp. v. Parallel Networks, LLC, this Court vacated a district

court’s summary judgment of non-infringement because the non-infringement basis

addressed only one aspect of the construed scope and not the other. 375 F. App’x

36, 39 (Fed. Cir. 2010) (district court construed “releasing said Web server to

process other requests” to mean “freeing the Web server to process other requests”

and the district court found non-infringement based on a lack of freeing certain

software, without addressing freeing hardware, which was within the scope of the

construction). This Court went on to reject the accused infringer’s “narrow reading”

of the claims because it was “not require[d]” by the claim construction and was not

supported by intrinsic evidence. Id. Likewise, here, even if the “reading” claim



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construction is applied, the construction does not require direct reading as evidenced

in GD expert admissions and acknowledgment that reading over a network and

downloading are within scope, and there is no support in the intrinsic evidence for

limiting the term to direct reading. Like Oracle Corp., a reasonable jury could find

that the accused RTE3 JavaScript files meet the “reading” limitation by reading

through an API.

      In Absolute Software, this Court also vacated summary judgment of non-

infringement because the district court failed to draw reasonable inferences in favor

of the patentee, specifically that the accused functionality “itself” provided the

claimed network communication link in view of undisputed facts. 659 F.3d at 1133.

Similarly, here, the question at summary judgment was whether GD’s RTE3

JavaScript files “reads information from the database.” Both XMO and GD disputed

whether the RTE3 JavaScript files actually read the database, and both sides

submitted expert declarations on this point. It is undisputed that (1) RTE3 JavaScript

files obtain user settings from GD’s database using the “fetch()” function call within

those files (e.g., Appx6006 at ¶ 220); (2) GD’s database communicates with the

RTE3 JavaScript files through an API (e.g., Appx15215); and (3) APIs are used to

read databases (e.g., Appx11118 at 115:8–15). Based on these undisputed facts, the

logical inference is that the RTE3 JavaScript files themselves read information from




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the database. Because a reasonable jury could find infringement on that basis,

summary judgment was improper. See Absolute Software, Inc., 659 F.3d at 1133.

      Caselaw addressing the plain meaning of the term “read” confirms that direct

reading is not required and supports the breadth of the term. See Ingenio, Filiale De

Loto-Quebec, Inc. v. Gamelogic, Inc., 445 F. Supp. 2d 443, 454–55 (D. Del. 2006)

(The “ordinary meaning of the term ‘read,’ in the context of a computer processor”

is “to input data from a storage device.”); Inventio AG v. ThyssenKrupp Elevator

Americas Corp., 5 F. Supp. 3d 665, 674 (D. Del. 2013) (agreeing that “reading” a

signal means that the device in question “receives (i.e., gets)” the signal);

LaserDynamics Inc. v. Acer Am. Corp., No. CIV.A. H-01-1745, 2003 WL

25782746, at *4 (S.D. Tex. June 12, 2003) (ordinary meaning of “read” is “to extract

data from memory or a storage medium . . . .”). Here, the use of “read” in the

specification,” the context of the claims reciting “utilizing information,” and the

overall intrinsic focus on where the information is obtained from not how the

information is obtained (see supra Argument § II.A.1.) is entirely consistent with

the plain and ordinary meaning set forth in those cases. The district court’s grant of

summary judgment based on a requirement of direct reading was erroneous for that

additional reason.




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      ’755 PATENT FAMILY

            THE DISTRICT COURT ERRED IN DENYING JUDGMENT AS
            A MATTER OF LAW AND A NEW TRIAL

      The claimed invention relates to generating displays with interactive web

services content and includes generating software code, including an Application,

which is a device-independent code, and a Player, which is a device-dependent code.

Appx382 at 37:26‒30, 38:36‒40. GD’s Website Builder and Managed WordPress

include a JavaScript Player that includes code specific to the device platform,

including the device browser platform. Appx17594 at 54:18‒55:11; Appx17458 at

642:3‒5; see also Appx17468 at 683:25‒684:18. This code contains conditionally

branched logic (i.e., JavaScript code) for the device browser platform that executes

certain code depending on the device platform and generates a display based on the

detected browser type. Appx17368‒17369 at 284:16‒286:3. Simply put, one set of

code is executed for one type of browser or device, while a different set of code is

executed for another type of browser or device. Appx17368 at 285:17‒23.

      At trial, GoDaddy contradicted the district court’s constructions of “Player”

and “device-dependent code” and JMOL of infringement and a new trial on that

basis was erroneously denied.

                   The District Court Erred In Finding That GoDaddy Did Not
                   Contradict The Court’s Claim Construction At Trial.

      As the district court below acknowledged, “[i]t is settled law that ‘[n]o party

may contradict the court’s construction to a jury.’” Appx128 (quoting Exergen

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Corp. v. Wal-Mart Stores, Inc., 575 F.3d 1312, 1321 (Fed. Cir. 2009). Where a jury

improperly imports its own limitations into the claim, a verdict based on the

erroneous claim construction generally cannot stand. Moba, B.V. v. Diamond

Automation, Inc., 325 F.3d 1306, 1313–14 (Fed. Cir. 2003) (reversing district court’s

denial of JMOL of infringement because “by allowing the jury to import an

additional limitation into the claims, the district court fundamentally altered the

verdict.”).

      Here, the district court erred in finding that GD did not contradict its claim

construction at trial. GD consistently argued and presented evidence that its browser

detection code was not Player code because browsers cannot be platforms and

because device-dependent code is limited to code specific to the operating system,

and does not include code specific to a platform. See supra SOC § II.C.2. In so

doing, GD effectively reargued claim construction during trial and read-out the term

“platform” from the claim construction. Any purported application of the actual

construction was merely generic, conclusory, and does not alter that repeated and

improper narrow application. And GD’s contradiction, contrary to the district

court’s finding, was very significant and warrants at least a new trial.




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                          There Can Be No Dispute That the District Court’s
                          Player and Device-Dependent Code Constructions
                          Include Browsers As A Platform.

      The district court’s claim construction makes clear that the claimed player as

construed includes browsers as a platform. The term “Player” appears in all asserted

claims of the ’755 Patent Family. “Player” was construed to mean “device-specific

code which contains instructions of a device and which is separate from the

Application.” Appx037; see also Shopify Inc. v. Express Mobile, Inc., CA No. 19-

439-RGA, 2020 WL 3432531, at *5–*6 (D. Del. June 23, 2020) (hereinafter

“Shopify Claim Construction” available at Appx1846). “Device-specific code,”

which was found to be interchangeable with “device-dependent code” was construed

to mean “code that is specific to the operating system, programming language, or

platform of a device.” Shopify Claim Construction at *7 (available at Appx1852).

The Shopify court selected that construction from the specification defining “device-

specific” routines as “codes that are specific to the operating system, programming

language, or platform of specific devices.” Id. (citing Appx365 at 3:58–62).

      On summary judgment, the Shopify court specifically addressed the question

of whether the term “player” includes browsers.          There, Shopify argued that

conditionally-branched code for different browser platforms did not meet the court’s

claim constructions of Player and device-dependent code. Judge Andrews rejected

those arguments. Shopify Summary Judgment,” at *33 available at Appx6477



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(“Shopify’s argument… fails…. It does not mean that conditional logic [for browser

platforms of a device] cannot be a form of device-dependent code.”). Moreover, the

Shopify court was well apprised of the precise scope issue for this Court’s

consideration on appeal. Judge Andrews acknowledged that XMO’s argument was

that “a browser is understood in the art as a ‘platform’ (and therefore meets my

construction for ‘device-dependent code’).” Id. at *32 (available at Appx6508). At

the summary judgment hearing, XMO made its understanding of the scope of the

court’s construction abundantly clear, stating that “[t]here is no dispute that a

browser is a device platform.” Appx21873 at 86:7–8. That statement was met with

no disagreement from the court or Shopify. In its summary judgment ruling, the

court did not take issue with the arguments repeatedly made by both parties that the

scope of the term included browsers. Id. (acknowledging arguments made by XMO

(regarding “platforms of a device (such as a browser)” and Shopify (regarding the

“scope of the term ‘Player’” encompassing “browser version and type” as a “device

platform.”). Appx4016–4017. At no point did the Shopify court waiver in its

interpretation of the scope of claim term as including browsers as the platform in the

claimed Player.

      GD, likewise, did not take issue with the Shopify court’s interpretation of the

scope of the claimed Player.       Instead, GD proposed and raised exactly the

constructions of “Player” and “device-dependent code” that the Shopify court



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provided. Appx1782 (specifically referring to the “same reasons” from the Shopify

court for the construction of “Player” and characterizing the Shopify court as having

“thoroughly analyzed” the issue). On summary judgment in the case below, XMO

specifically stated that “[a] browser is a type of device platform” and cited the

Shopify court’s acknowledgment of that scope. Appx9184 at n. 14. On reply, GD

did not respond at all, let alone refute the status of browsers as a platform.

Appx12202–12204. The district court in this case again denied summary judgment,

finding that files that contain conditionally-branched code for browser platforms

could be a Player and device-dependent code and, at the very least, created genuine

issues of material fact. Appx056.

      Thus, the scope of the claimed Player as previously construed includes

browsers as the platform. That scope was acknowledged by Judge Andrews, Judge

Kennelly, XMO, Shopify, and GD. Inconsistent with that repeatedly confirmed

scope, GD proceeded to present evidence and argument that was fundamentally

rooted in a narrower claim construction inconsistent with the already-decided and

repeatedly confirmed scope of the claimed “Player.”

                           GoDaddy Consistently Presented A Narrowed Claim
                           Construction At Trial.

      Despite acknowledging the impropriety of presenting contradictory claim

constructions to the jury, the district court erred in finding that GD did not violate

those well-settled legal principles. The district court concluded that it was “not


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persuaded that GD presented a modified or narrowed version of the Court’s claim

construction to the jury.” Appx128–129. The district court further held that in view

of the plain meaning of the terms “platform” and “database” the jury was free to

conclude that “a browser is not a platform under the Court’s construction of device-

dependent code (and therefore Player), and that a file is not a database under the

Court’s construction of registry.” Appx129–130. Both findings were in error.

      The district court fundamentally erred in recasting GD’s trial presentation

about the scope of the claim terms as factual evidence of non-infringement applying

the court’s claim construction. GD’s non-infringement position was not that its

accused JavaScript browser detection code is not device-dependent code under the

court’s claim construction; instead it contradicted the court’s claim constructions at

trial by arguing that: (i) the court’s claim construction of “device-dependent code”

is limited to only code specific to the operating system of a device (and therefore not

to programming languages or platforms of a device), and (ii) the accused Player

cannot relate to browsers at all, even though the claims of the patents expressly claim

embodiments of Player code that run within web browsers. In so doing, GD

presented a narrowed claim construction, not a non-infringement defense.

      GD’s expert erased any doubt that the issue was one of claim scope (as

opposed to a factual issue of infringement) when he agreed that he and Dr. Almeroth

were “applying different definitions of device-dependent.” Appx17468 at 684:19–



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23 (“I don’t agree with his definition.”). GD’s expert also argued that “device

specific means code designed for a particular device,” and “obviously by device, it

means operating system.” Appx17467 at 679:12–14, Appx17452 at 619:5–6. And

when asked if he “typically” refers to browsers as platforms, Mr. Kent clarified that

he had “never used that phrase in relation to browsers.” Appx17472 at 698:18–

699:6. This testimony was directly contradictory to the court’s claim construction

order and the order in Shopify adopted by the district court below, where the court

explained that an “argument that device-dependent code must be developed and

provided to specific devices … fails” and that such a requirement “is not a claim

limitation.” Appx056 (adopting the reasoning and citing to Shopify Summary

Judgment at *16–17 available at Appx6508–6510). GD nonetheless insisted that

every instance of Player code must be coded to a specific operating system of a

device. See supra SOC § II.D.2.

      Injecting a requirement that the device-dependent code to be particular to a

given operating system obviates the “or platform” language of the court’s

construction—which is exactly what GD did at trial. For example, in addition to its

expert’s improper testimony limiting device-dependent code only to operating

systems, GD’s closing argument repeatedly referred to the “operating system” and

“platform” interchangeably as though they were the same thing, and further

improperly argued that “device-dependent code” solely related to the “the device’s



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operating system [that] deal[t] with the device’s programming language and

platforms.”   Appx17611 at 1025:13–16; see also, e.g., Appx17611 at 1024:5,

1024:10, 1024:17, 1025:25 (using “operating systems” and “platforms”

interchangeably). In closing, GD’s counsel argued that no browser falls within the

scope of “platform” in the court’s claim construction and specifically acknowledged

that a claim construction dispute existed:

      Now, we have a little disagreement about platform because the Court's
      construction is clearly talking about it in the context of the device. It's
      the device, the programming language, operating system, or platform
      of the device. And we know they didn't invent or claim browsers, so
      we're talking about the platform of the device.

Appx17613 at 1035:12–20; see also Appx17615 at 1040:19–21.

      Thus, GD presented a narrowed claim construction argument at trial.

Specifically, GD limited the court’s construction of “device-dependent code” to

operating systems and to specific devices, and excluded platforms and other

language from the court’s construction to exclude browsers as a device platform.

Such contradiction warrants JMOL of infringement.            See Mannatech, Inc. v.

Glycoproducts Int’l, Inc., No. 3-06-CV-0471-BD, 2008 WL 2704425, at *2 (N.D.

Tex. July 9, 2008) (granting JMOL of infringement where the verdict was based on

a “finding [that] is contrary to the court’s claim construction”).




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         XMO previewed its concerns that GD would contradict the claim construction

during the pretrial conference. See supra SOC § II.D.1. During the conference,

Judge Kennelly took GD’s representation that it would not advance the argument

that a separate Player must be created for each and every possible device at face

value. Appx17005 at 53:2‒6. At trial, however, GD and its expert primarily

presented testimony that aligned precisely with XMO’s initial prediction, contrary

to their earlier assurance. Such misleading practices are a basis for vacating jury

verdicts. See Personal Audio, LLC v. Google LLC, No. CV-17-1751-CFC, 2023 WL

5723453, at *2–3, 13 (D. Del. Sept. 5, 2023) (vacating jury verdict and granting a

new trial because a party, through its expert and counsel, advanced an argument

contradictory to court’s claim construction despite representing that it would not do

so).

         Furthermore, the district court below itself characterized GD’s alleged factual

non-infringement defense as an issue of claim scope. The district court stated that

“Express Mobile is essentially raising a claim construction argument regarding the

meaning of the terms ‘platform’ and ‘database.’” Appx129. Thus, the district court

tacitly recognized that GD’s alleged factual defense rested upon a question of claim

scope.      It was an error to permit the jury’s verdict to stand where that verdict

necessarily depended on an issue of claim scope.




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      This Court has reversed denial of JMOL of infringement where the jury was

permitted to “import an additional limitation into the claims,” which “fundamentally

altered the verdict.” Moba, B.V., 325 F.3d at 1313–14. In Moba, B.V., the jury had

returned a non-infringement verdict to a method claim on the basis that the method

applied by the accused machine did not sequentially perform the recited guiding

steps, but rather simultaneously performed some of the steps, even though the district

court had not construed the claim as requiring a sequential performance of the steps.

Id. Here, GD similarly argued non-infringement on the basis that the accused

conditionally-branched code for browser platforms cannot meet the claimed

“platform” as construed, but, crucially, the court’s claim construction is not so

narrow and does not exclude browsers as platforms.

      Other decisions are in accord. In Eon Corp. IP Holdings LLC v. Silver Spring

Networks, Inc. this Court found error where, instead of resolving the claim

construction dispute, the district court essentially permitted the parties’ technical

experts to argue the claim construction to the jury. 815 F.3d 1314 (Fed. Cir. 2016);

see also NobelBiz, Inc. v. Global Connect, L.L.C., 701 F. App’x 994 (Fed. Cir. 2017)

(finding error where experts were permitted to argue to the jury what was the plain

and ordinary meaning of the terms). That is precisely what happened here. As Mr.

Kent explained, he and Dr. Almeroth disagreed on the “definitions.” Appx17468 at

684:19–23 (“I don’t agree with his definition.”). This Court and district courts have



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consistently rejected expert testimony based on incorrect claim interpretations. See

e.g., Cordis Corp. v. Boston Sci. Corp., 658 F.3d 1347, 1358 (Fed. Cir. 2011);

Graphic Packaging Intl., Inc. v. C.W. Zumbiel Co., No. 3:10-cv-891-J-37 JBT, Slip

Op. at 5 (M.D. Fla. July 16, 2012) (granting JMOL of infringement where expert

improperly relied on “an unduly narrow and incorrect claim interpretation);

Mannatech, 2008 WL 2704425 at *5 (granting JMOL of infringement where non-

infringement positions at trial were founded in a narrow interpretation contrary to

the court’s claim construction); Pers. Audio, LLC, 2023 WL 5723453, at *13

(vacating jury’s verdict because a party “effectively ignored the Court’s claim

construction”).

      GD’s alleged factual non-infringement positions at trial were, in reality, claim

construction arguments that the claims are narrower than they were construed to be.

The district court had already confirmed that “browsers could be the platform.” See

Shopify Summary Judgment at *19 (available at Appx6516). GD’s contradictory

and narrow expert testimony and arguments at trial that browsers cannot be

platforms fail accordingly.

                          The District Court Erred In Refusing Express
                          Mobile’s Request To Apply The Full And Inherent
                          Meaning Of The Constructions.

      The district court further erred in faulting XMO for raising a claim

construction argument on JMOL. Appx129. As explained in Argument § III.A.1.



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supra, the full scope of “device-dependent code” as already construed includes

browsers as platforms. Thus, XMO simply—and properly—seeks to enforce the full

meaning inherent in the court’s claim construction, as it consistently did throughout

the proceedings below.

      In Moba, B.V., this Court addressed arguments of waiver in a similar context.

There this Court rejected waiver arguments where the patent holder was “seek[ing]

enforcement of the trial court’s claim construction” not “to alter the district court’s

claim construction on appeal.” 325 F.3d at 1314. XMO’s actions before the district

court at trial and on JMOL were likewise proper. Likewise, a district court may not

“alter[ ] the scope of the original construction” after trial, Wi-LAN, Inc. v. Apple,

Inc., 811 F.3d 455, 466 (Fed. Cir. 2016), it may “adjust constructions post-trial if the

court merely elaborates on a meaning inherent in the previous construction.”

Mformation Techs, Inc. v. Research in Motion Ltd., 764 F.3d 1392, 1397-98 (Fed.

Cir. 2014) (citing Cordis, 658 F.3d at 1356). It is permissible at the JMOL stage to

“clarify[ ] a meaning inherent in the construction or mak[e] plain what should have

been obvious to the jury.” Wi-LAN, 811 F.3d at 466. XMO’s request in this case—

before, during, and after trial—was to apply the “meaning inherent in the previous

construction.” See Mformation, 764 F.3d at 1397. In addition to applying that

meaning throughout, the district court should have provided that necessary

clarification at the JMOL stage. See id. at 1397–98.



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      The district court cites three cases (ePlus, Rembrandt, and Eon) for the

proposition that in the absence of construction of a term, the jury was free to rely on

the plain and ordinary meaning of the term. Appx129 (referencing terms “platform”

and “database” as not construed). Those cases fail to provide a basis for the district

court’s refusal to enforce its prior construction and find GD contradicted that

construction. In ePlus, Inc. v. Lawson Software, Inc., 700 F.3d 509 (Fed. Cir. 2012),

the term with disputed plain and ordinary meaning was the claim limitation

“determining.” ePlus did not involve the disputed plain and ordinary meaning of a

term is part of the court’s construction of the claim limitation. Similarly, in

Rembrandt Wireless Techs., LP v. Samsung Elecs. Co., 853 F.3d 1370, 1376 (Fed.

Cir. 2017), the term with disputed plain and ordinary meaning was the claim

limitation “different types.” And, in Eon Corp., 815 F.3d at 1317, the term with

disputed plain and ordinary meaning was the explicit claim term.

      By contrast here, “platform,” is part of the court’s claim construction of

“device-dependent code” and the scope of that term was repeatedly confirmed in the

proceedings below and in Shopify. The district court below permitted GD to present

a narrow claim construction position contrary to its already confirmed scope under

the guise of a non-infringement defense. That is exactly what Eon prohibits. See

815 F.3d at 1319–1320 (holding that the district court erred in not resolving this

dispute but instead instructing the jury to apply the plain and ordinary meaning of



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the terms, and permitting the parties’ technical experts to essentially argue the claim

construction dispute to the jury).

                           GoDaddy’s     Narrowed        Claim          Construction
                           Presentation Was Significant.

      The district court further erred in finding that any “difference between the

allegedly incorrect constructions used by GoDaddy/Kent and the Court’s

constructions” was not “significant enough” to entitle XMO to JMOL. Appx130.

But here, the difference is crucial and effectively reads the word “platform” out of

the construction. That difference was GD’s basis for non-infringement.

      GD itself characterized the distinction as important at trial. For example,

GD’s counsel argued in closing that the “key” is “Express Mobile knows this

industry shift means it has to fit a square peg, its player, into a round hole, modern

web design with browsers.” Appx17615 at 1040:19–21; see also supra SOC §

II.D.2. GD’s counsel made the exact same statement during Opening, which only

underscores its significance: “Express Mobile knows this industry shift means it has

to fit a square peg, its device-specific player, into a round hole, modern website

design, with browsers.” Appx17325 at 114:17–19.

      The district court cites Finisar Corp. v. DirecTV Grp., Inc., 523 F.3d 1323

(Fed. Cir. 2008) in support of its finding that any contradiction in the present case

was not significant enough to warrant JMOL or a new trial. Appx130. But in

Finisar, the correct construction was markedly different than the construction used


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by the jury in, compelling the Federal Circuit to vacate the jury’s verdict. 523 F.3d

at 1333. Likewise, in the present case, there is a significant disparity between the

court’s construction and GD’s improper construction that excludes “platform” upon

which GD’s non-infringement argument relies.

      In addition, GD’s minimal testimony and slides that the district court

highlights as consistent with its claim construction do not save the otherwise

improper contradictions. Appx129. Specifically, at 618:12–19:23, 697:23–698:10,

and 699:24–700:8, Mr. Kent generically states that he “t[ook] into account” the

court’s claim constructions and recites the constructions. Appx17452; Appx17472.

Simply saying that he is applying the court’s claim constructions and parroting those

constructions on slides does not make it so. Mr. Kent clearly went on to testify that

the court’s construction was limited to operating systems and excluded platforms.

E.g., Appx17472 at 698:18–699:1 (confirming opinion that a “web browser” is not

within “definition” of claim construction). The district court also curiously cites a

passage where Mr. Kent is asked on cross to confirm his opinion that “the claimed

player in this case is limited to a device dependent player, one for each physical

device.” Appx17466 at 676:16–23. In the testimony that followed, which the

district court did not cite, Mr. Kent continued on to confirm that it was his opinion

that the claimed device-dependent Player was indeed limited to one for each device,




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which is not applying the proper construction. Appx17466–17467 at 676:24–

677:17.

                   The District Court Erred In Finding There Were Alternative
                   Bases For Non-Infringement.

      The district court further erred in dismissing GD’s improper claim

construction contradictions relating to “Player.” Appx131. At trial, GD presented

that the accused instrumentalities lacked “(1) ‘Player’ code, (2) ‘symbolic names,’

or (3) a ‘registry.’” Appx132. The district court, in entirely conclusory manner,

determined that it “presumes . . . that the jury credited” GD’s expert testimony over

XMO’s as to those three non-infringement bases. Id. That conclusory determination

was made in error and does not meet applicable JMOL standards. What the district

court failed to appreciate was that the issues with the claim construction of the

“symbolic names” and the “registry” were similar to those associated with the

“Player” term.

      The asserted claims of the ’755 and ’287 patents also recite a registry that

includes symbolic names, and the ’044 patent recites a “computer memory storing”

symbolic names. Appx382 at 37:7–13; Appx423 at 37:50–61; Appx463 at 37:48–

61.7 “Registry” was construed to mean “a database that is used for computing



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 Accordingly, the “registry” non-infringement position acknowledged by the district
court is not at issue for the ’044 patent, which thus presents a stronger basis for
reversal or vacatur.

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functionality.” Appx027. Yet again, XMO seeks to enforce the full scope of the

district court’s claim construction, whereas GD seeks to narrowly limit that

construction to only particular databases.

      As to “registry”, the district court summarized the dispute as GD seeking a

“structured database” whereas XMO was seeking a finding that “database . . . can

include a file and need not be structured.” Appx128. Ultimately, the district court

found, applying the same reasons as the Player term, that GD did not contradict its

construction and that any narrowed presentation was not significant enough to

warrant JMOL. Appx128–130. The district court erred for the same reasons it did

so with respect to the “Player” term.

      The district court’s own opinion as to the “registry” term, makes its error self-

evident: “On the ‘registry’ term, contrary to Express Mobile’s view, the Court’s

construction does not require it to include a simple, unstructured database.”

Appx129. Indeed, GD and its expert based their non-infringement positions on an

erroneously narrow claim scope inconsistent with the court’s actual construction,

testifying and arguing that the “database” must be a “structured database.”

Appx17460 at 650:2–651:4 (Mr. Kent testifying that “database . . . has to be

structured”); Appx17617 at 1050:17–20 (GD counsel arguing that accused

functionality is not “a structured database”). But the court’s construction is “a

database that is used for computing functionality.” Appx027. The district court had



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it the wrong way around. A database is a database. There was no basis for refusing

to apply the scope of the term as construed. Thus, the district court erred in denying

XMO’s attempt to enforce the full scope of the claimed registry, which is not limited

to any particular database, and in permitting GoDaddy’s contradictory claim

construction to withstand scrutiny.

      As to “symbolic names,” GD’s purported third and final basis for non-

infringement, the district court did not address XMO’s JMOL arguments in its order.

Specifically, GD’s “symbolic names” non-infringement positions were strawman

arguments addressing YouTube and other features that were not the “symbolic

names” accused by XMO at trial. Appx21696–21697. GD provided no response in

its opposition and the district court did not find that a proper non-infringement

defense on “symbolic names” was presented. Instead, GD exclusively argued that

YouTube functionalities were not symbolic names. Appx21740–21741. Moreover,

“symbolic names” is part of the “registry” term and is thus plagued with the same

error addressed supra. GD admitted as much in its JMOL opposition, stating that

“the existence of a ‘registry’ is required for the ‘symbolic name’ claim element to

be infringed, and vice versa.” Appx21739.

      Accordingly, the district court erred in finding that there were alternative

bases for non-infringement.




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                   The District Court Erred In Denying A New Trial.

      During the trial, the jury returned a general verdict that the accused products

did not infringe the asserted claims. However, in light of the erroneous and

contradictory claim construction arguments made by GD at trial concerning at least

the term “Player,” it remains impossible to discern which specific limitations the

jury found were not met by the accused product. In such instances, this Court has

consistently ordered a new trial.

      For example, in Network-1 Technologies, the district court correctly construed

one disputed claim limitation, “low level current,” but erred in its construction of

another term, “main power source.” 981 F.3d at 1025–26. This Court determined

that the general verdict of non-infringement made it impossible to ascertain which

specific limitations the jury found were not met by the accused product, and the

erroneous claim construction related to the “main power source” term prejudiced the

patentee’s case. Id. at 1025. As a result, the Federal Circuit concluded that a new

trial on the issue of infringement was necessary. Id. Similarly, here, XMO faces a

general verdict led by GD’s incorrect claim construction, making it impossible to

determine which specific limitations the jury found were not met by the accused

products.

      This Court has consistently ordered a new trial when unresolved claim

construction disputes had an effect on the verdict. See, e.g., Omega Patents, LLC v.



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CalAmp Corp., 920 F.3d 1337, 1347 (Fed. Cir. 2019) (ordering a new trial and

explaining that even if the specification defined the claim term and the parties had

agreed on a construction, the district court still had a duty to provide a construction

to the jury); Avid Tech., 812 F.3d at 1042 (remanding for a new trial on the issue of

infringement where accused infringer had not offered non-infringement under the

proper claim construction).

        Here, in denying XMO’s motion for a new trial, Judge Kennelly found that

arguments made by GD “as a whole” were not “so constantly and effectively

addressed to the prejudices of the jury that [the Court] must order a new trial.”

Appx132 (citing Draper v. Airco, Inc., 580 F.2d 91, 97 (3d Cir. 1978)). But as

established supra, GD’s counsel and experts consistently presented erroneous and

contradictory claim construction arguments that were constantly aimed at

misleading the jury. Those repeated and extreme statements throughout trial are

much more pervasive than those at issue in Draper, where prejudicial statements

were included during closing. See Draper, 580 F.2d at 97. This Court should order

a new trial to correct the error that pervaded the trial through GD’s contradictory

claim construction evidence and argument. See Network-1 Technologies, Inc., 981

F.3d at 1025–26; Omega Patents, LLC, 920 F.3d at 1347; Avid Tech., 812 F.3d at

1042.




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         CONCLUSION AND STATEMENT OF RELIEF SOUGHT

      The district court erred in granting summary judgment of non-infringement as

to the ’397 patent family, including an erroneous construction of “runtime engine”

and an erroneous application of that construction even if accepted.            XMO

respectfully requests reversal of summary judgment of non-infringement. The

district court also erred in denying JMOL and/or a new trial as to the ’755 patent

family, including an erroneous refusal to find that GD contradicted its construction

of “Player” and “device-dependent code.” XMO respectfully requests reversal or

vacatur of the denial of JMOL, and alternatively, a new trial.



November 13, 2023                           /s/ James R. Nuttall
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 EXPRESS MOBILE, INC.,

                Plaintiff,

        v.
                                                  Civil Action No. 19-1937-RGA
 GODADDY.COM, LLC,

                Defendant.




                              MEMORANDUM OPINION


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June 1, 2021




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/s/ Richard G. Andrews
ANDREWS, UNITED STATES DISTRICT JUDGE:

         Before me is the issue of claim construction of multiple terms in U.S. Patent Nos.

6,546,397 (the ’397 Patent), 7,594,168 (the ’168 Patent), 9,063,755 (the ’755 Patent), 9,471,287

(the ’287 Patent), and 9,928,044 (the ’044 Patent). I have considered the Parties’ Joint Claim

Construction Brief. (D.I. 64). I held remote oral argument on April 8, 2021. (D.I. 77). The parties

argued ten terms there. I asked for supplemental briefing on two of them, which is underway.

(D.I. 80). I now decide the other eight terms.

    I.      LEGAL STANDARD

         “It is a bedrock principle of patent law that the claims of a patent define the invention to

which the patentee is entitled the right to exclude.” Phillips v. AWH Corp., 415 F.3d 1303, 1312

(Fed. Cir. 2005) (en banc) (internal quotation marks omitted). “‘[T]here is no magic formula or

catechism for conducting claim construction.’ Instead, the court is free to attach the appropriate

weight to appropriate sources ‘in light of the statutes and policies that inform patent law.’”

SoftView LLC v. Apple Inc., 2013 WL 4758195, at *1 (D. Del. Sept. 4, 2013) (quoting Phillips,

415 F.3d at 1324) (alteration in original). When construing patent claims, a court considers the

literal language of the claim, the patent specification, and the prosecution history. Markman v.

Westview Instruments, Inc., 52 F.3d 967, 977–80 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370

(1996). Of these sources, “the specification is always highly relevant to the claim construction

analysis. Usually, it is dispositive; it is the single best guide to the meaning of a disputed term.”

Phillips, 415 F.3d at 1315 (internal quotation marks omitted).

         “[T]he words of a claim are generally given their ordinary and customary meaning. . . .

[Which is] the meaning that the term would have to a person of ordinary skill in the art in

question at the time of the invention, i.e., as of the effective filing date of the patent application.”

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Id. at 1312–13 (citations and internal quotation marks omitted). “[T]he ordinary meaning of a

claim term is its meaning to [an] ordinary artisan after reading the entire patent.” Id. at 1321

(internal quotation marks omitted). “In some cases, the ordinary meaning of claim language as

understood by a person of skill in the art may be readily apparent even to lay judges, and claim

construction in such cases involves little more than the application of the widely accepted

meaning of commonly understood words.” Id. at 1314.

       When a court relies solely upon the intrinsic evidence—the patent claims, the

specification, and the prosecution history—the court’s construction is a determination of law.

See Teva Pharm. USA, Inc. v. Sandoz, Inc., 574 U.S. 318, 331 (2015). The court may also make

factual findings based upon consideration of extrinsic evidence, which “consists of all evidence

external to the patent and prosecution history, including expert and inventor testimony,

dictionaries, and learned treatises.” Phillips, 415 F.3d at 1317–19 (internal quotation marks

omitted). Extrinsic evidence may assist the court in understanding the underlying technology,

the meaning of terms to one skilled in the art, and how the invention works. Id. Extrinsic

evidence, however, is less reliable and less useful in claim construction than the patent and its

prosecution history. Id.

       “A claim construction is persuasive, not because it follows a certain rule, but because it

defines terms in the context of the whole patent.” Renishaw PLC v. Marposs Societa’ per

Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998). It follows that “a claim interpretation that would

exclude the inventor’s device is rarely the correct interpretation.” Osram GMBH v. Int’l Trade

Comm’n, 505 F.3d 1351, 1358 (Fed. Cir. 2007) (citation and internal quotation marks omitted).




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   II.      BACKGROUND

         The specifications of the ’397 and ’168 patents are “substantively identical” (D.I. 71 at

6), as are, separately, the specifications of the ’755, ’287, and ’044 patents (id. at 14). The two

common specifications are different from each other; for claim construction purposes, the two

sets of patents are unrelated and therefore extrinsic evidence to each other. The inventions

display an in-work webpage in real time so a web developer can view the webpage during

editing as it would appear to an end user viewing the webpage through a browser. The following

claims are the most relevant for the purposes of this Markman:

Claim 1 of the ’397 Patent

         1. A method to allow users to produce Internet websites on and for computers having a
         browser and a virtual machine capable of generating displays, said method comprising:

         (a) presenting a viewable menu having a user selectable panel of settings describing
             elements on a website, said panel of settings being presented through a browser on a
             computer adapted to accept one or more of said selectable settings in said panel as
             inputs therefrom, and where at least one of said user selectable settings in said panel
             corresponds to commands to said virtual machine;

         (b) generating a display in accordance with one or more user selected settings
             substantially contemporaneously with the selection thereof;

         (c) storing information representative of said one or more user selected settings in a
             database;

         (d) generating a website at least in part by retrieving said information representative of
             said one or more user selected settings stored in said database; and

         (e) building one or more web pages to generate said website from at least a portion of
             said database and at least one run time file, where said at least one run time file
             utilizes information stored in said database to generate virtual machine commands for
             the display of at least a portion of said one or more web pages.

(D.I. 1-1, Ex. A (“the ’397 patent”), claim 1) (emphasis added).

Claim 2 of the ’397 Patent




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        2. An apparatus for producing Internet websites on and for computers having a browser
        and a virtual machine capable of generating displays, said apparatus comprising:

        (a) an interface to present a viewable menu of a user selectable panel of settings to
            describe elements on a website, said panel of settings being presented through a
            browser on a computer adapted to accept one or more of said selectable settings in
            said panel as inputs therefrom, and where at least one of said user selectable settings
            in said panel corresponds to commands to said virtual machine;

        (b) a browser to generate a display in accordance with one or more user selected settings
            substantially contemporaneously with the selection thereof;

        (c) a database for storing information representative of said one or more user selected
            settings; and

        (d) a build tool having at least one run time file for generating one or more web pages,
            said run time file operating to utilize information stored in said database to generate
            commands to said virtual machine for generating the display of at least a portion of
            said one or more web pages.

(Id., claim 2).

Claim 9 of the ’397 Patent

        9. The apparatus of claim 2, wherein said elements include a button or an images (sic),
        wherein said selectable settings includes the selection of an element style, and wherein
        said build engine includes means for storing information representative of selected style
        in said database.

(Id., claim 9) (emphasis added).

Claim 1 of the ’168 Patent

        1. A system for assembling a web site comprising:

        a server comprising a build engine configured to:

                  accept user input to create a web site, the web site comprising a plurality of web
                  pages, each web page comprising a plurality of objects.

                  accept user input to associate a style with objects of the plurality of web pages,
                  wherein each web page comprises at least one button object or at least one image
                  object, and wherein the at least one button object or at least one image object is
                  associated with a style that includes values defining transformations and time
                  lines for the at least one button object or at least one image object; and wherein



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               each web page is defined entirely by each of the plurality of objects comprising
               the web page and the style associated with the object,

               produce a database with a multidimensional array comprising the objects that
               comprise the web site including data defining, for each object, the object style, an
               object number, and an indication of the web page that each object is part of, and

               provide the database to a server accessible to web browser;

       wherein the database is produced such that a web browser with access to a runtime
       engine is configured to generate the web-site from the objects and style data extracted
       from the provided database.

(D.I. 1-2, Ex. B. (“the ’168 patent”), claim 1) (emphasis added).

Claim 1 of the ’755 Patent

       1. A system for generating code to provide content on a display of a device, said system
       comprising:

       computer memory storing a registry of:

               (a) symbolic names required for evoking one or more web components each
                   related to a set of inputs and outputs of a web service obtainable over a
                   network, where the symbolic names are character strings that do not contain
                   either a persistent address or pointer to an output value accessible to the web
                   service, and

               (b) the address of the web service;

       an authoring tool configured to:

       define a user interface (UI) object for presentation on the display, where said UI object
       corresponds to the web component included in said registry selected from the group
       consisting of an input of the web service and an output of the web service,

       access said computer memory to select the symbolic name corresponding to the web
       component of the defined UI object,

       associate the selected symbolic name with the defined UI object,

       produce an Application including the selected symbolic name of the defined UI object,
       where said Application is a device-independent code, and

       produce a Player, where said Player is a device-dependent code;



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       such that, when the Application and Player are provided to the device and executed on the
       device, and when a user of the device provides one or more input values associated with
       an input symbolic name to an input of the defined UI object,

       1) the device provides the user provided one or more input values and corresponding
          input symbolic name to the web service,

       2) the web service utilizes the input symbolic name and the user provided one or more
          input values for generating one or more output values having an associated output
          symbolic name,

       3) said Player receives the output symbolic name and corresponding one or more output
          values and provides instructions for a display of the device to present an output value
          in the defined UI object.

(D.I. 1-3, Ex. C (“the ’755 patent”), claim 1) (emphasis added).

Claim 1 of the ’287 Patent

       1. A system for generating code to provide content on a display of a device, said system
       comprising:

       computer memory storing a registry of:

               (c) symbolic names required for evoking one or more web components each
                   related to a set of inputs and outputs of a web service obtainable over a
                   network, where the symbolic names are character strings that do not contain
                   either a persistent address or pointer to an output value accessible to the web
                   service, where each symbolic name has an associated data format class type
                   corresponding to a subclass of User Interface (UI) objects that support the data
                   format type of the symbolic name, and has a preferred UI object, and

               (d) an address of the web service;

       an authoring tool configured to:

       define a (UI) object for presentation on the display, where said defined UI object
       corresponds to a web component included in said registry selected from a group
       consisting of an input of the web service and an output of the web service, where each
       defined UI object is either: 1) selected by a user of the authoring tool; or 2) automatically
       selected by the system as the preferred UI object corresponding to the symbolic name of
       the web component selected by the user of the authoring tool,

       access said computer memory to select the symbolic name corresponding to the web
       component of the defined UI object,



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                                             Appx007
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       associate the selected symbolic name with the defined UI object, where the selected
       symbolic name is only available to UI objects that support the defined data format
       associated with that symbolic name, and

       produce an Application including the selected symbolic name of the defined UI object,
       where said Application is a device-independent code; and

       a Player, where said Player is a device-dependent code, wherein, when the Application
       and Player are provided to the device and executed on the device, and when the user of
       the device provides one or more input values associated with an input symbolic name to
       an input of the defined UI object,

       1) the device provides the user provided one or more input values and corresponding
          input symbolic name to the web service,

       2) the web service utilizes the input symbolic name and the user provided one or more
          input values for generating one or more output values having an associated output
          symbolic name,

       3) said Player receives the output symbolic name and corresponding one or more output
          values and provides instructions for the display of the device to present an output
          value in the defined UI object.

(D.I. 1-4, Ex. D (“the ’287 patent”), claim 1) (emphasis added).

Claim 1 of the ’044 Patent

       1. A system for generating code to provide content on a display of a device, said system
       comprising:

       computer memory storing:

               (e) symbolic names required for evoking one or more web components each
                   related to a set of inputs and outputs of a web service obtainable over a
                   network, where the symbolic names are character strings that do not contain
                   either a persistent address or pointer to an output value accessible to the web
                   service, where each symbolic name has an associated data format class type
                   corresponding to a subclass of User Interface (UI) objects that support the data
                   format type of the symbolic name, and where each symbolic name has a
                   preferred UI object, and

               (f) an address of the web service;

       an authoring tool configured to:

       define a (UI) object for presentation on the display,

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                                             Appx008
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       where said defined UI object corresponds to a web component included in said computer
       memory selected from a group consisting of an input of the web service and an output of
       the web service, where each defined UI object is either:

               1) selected by a user of the authoring tool; or

               2) automatically selected by the system as the preferred UI object corresponding
               to the symbolic name of the web component selected by the user of the authoring
               tool,

       access said computer memory to select the symbolic name corresponding to the web
       component of the defined UI object,

       associate the selected symbolic name with the defined UI object, where the selected
       symbolic name is only available to UI objects that support the defined data format
       associated with that symbolic name,

       store information representative of said defined UI object and related settings in a
       database;

       retrieve said information representative of said one or more said UI object settings stored
       in said database; and

       build an application consisting of one or more web page views from at least a portion of
       said database utilizing at least one player, where said player utilizes information stored in
       said database to generate for the display of at least a portion of said one or more web
       pages,

       wherein when the application and player are provided to the device and executed on the
       device, and

       when the user of the device provides one or more input values associated with an input
       symbolic name to an input of the defined UI object, the device provides the user provided
       one or more input values and corresponding input symbolic name to the web service, the
       web service utilizes the input symbolic name and the user provided one or more input
       values for generating one or more output values having an associated output symbolic
       name,
       and the player receives the output symbolic name and corresponding one or more output
       values and provides instructions for the display of the device to present an output value in
       the defined UI object.

(D.I. 1-5, Ex. E (“the ’044 patent”), claim 1) (emphasis added).




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                                              Appx009
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        III.      CONSTRUCTION OF AGREED-UPON TERMS

               I adopt the following agreed-upon constructions:

                Claim Term                                            Construction

                multi-dimensional array(s) /                          “a uniquely identifiable indexed set of
                multidimensional array(s)                             related elements, wherein each element is
                                                                      addressed by a set of two or more indices,
                                                                      each index corresponding to a dimension
                                                                      of the array”
                storing information representative of said            “storing data in a database, which data
                one or more user selected setting in a                pertains to one or more attributes of an
                database                                              object available for selection by a user”
                Transformation                                        “the changing of an object from one state
                                                                      to another based on a timer control,
                                                                      subject to user settings”
                Settings                                              “attributes of an object available for
                                                                      selection”
                authoring tool / authoring tool configured            a system, with a graphical interface, for
                to                                                    generating code to display content on a
                                                                      device screen
                device-dependent code                                 code that is specific to the operating
                                                                      system, programming language, or
                                                                      platform of a device
                device-independent code                               code that is not specific to the operating
                                                                      system, programming language, or
                                                                      platform of a device
                where said application is device-                     where said Application is a device-
                dependent code                                        independent code 1
                for evoking one or more web components                for calling up one or more web
                                                                      components



        IV.       CONSTRUCTION OF DISPUTED TERMS

               I have construed below the terms the parties selected for oral argument. The parties may

 choose to argue claim construction issues for other terms as necessary to any summary judgment


 1
     I am not positive the parties meant to capitalize the “a” in Application. But since they did, I do too.

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 motions, but, especially given the sparse briefing on many of the disputed terms, I do not decide

 them here.


     1.   “at least one run time file / one or more run time files” (’397/1, 2, 37)

              a. Plaintiff’s proposed construction:
                     i. “one or more files, including a run time engine, that are downloaded or
                         created when a browser is pointed to a web page or website”
              b. Defendant’s proposed construction:
                     i. “one or more files, including a run time engine, that are downloaded or
                         created and executed by a browser when a browser is pointed to a web
                         page or website”
              c. Court’s construction:
                     i. “one or more files, including a run time engine, that are downloaded or
                         created when a browser is pointed to a web page or website”
          The parties dispute whether the “run time file(s)” must be executable by a browser.

          Plaintiff argues that though some “run time files” may be executable, other files

 downloaded by a browser to display web page content, such as image, audio, or video files, are

 not executable. (D.I. 64 at 31). Plaintiff further asserts that specifying “executable” is

 unnecessary because the run time engine file is by its nature executable. (Id.).

          Defendant agrees that the run time engine file is necessarily executable. (Id.). It argues

 that, because the “files” can, as Plaintiff asserts, include non-executable files, it is important to

 explicitly require that at least one file be executable. (Id. at 32).

          I agree with Plaintiff. The construction requires a run time engine file. If a run time

 engine file is executable, which both parties agree is the case, there is no meaningful difference

 between the two constructions other than that Defendant’s inclusion of “executed” is redundant. I

 therefore construe “at least one run time file / one or more run time files” as “one or more files,

 including a run time engine, that are downloaded or created when a browser is pointed to a web

 page or website.”



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    2. “build engine” (’397/9, 14, 19, 23; ’168/1, 2)

            a. Plaintiff’s proposed constructions:
                   i. no construction necessary; or
                  ii. “a software component for processing user input related to building a
                       website/webpage(s) for database storage”
            b. Defendant’s proposed constructions:
                   i. ’397 patent:
                           1. indefinite; or
                           2. same construction as for ’168 patent
                  ii. ’168 patent
                           1. “component that receives data or information regarding the
                               creation, editing and/or display of a web page and updates one or
                               more databases, including a database internal to the build engine,
                               in response to that information or data”
            c. Court’s construction:
                   i. not indefinite; “build engine” means “build tool” in the ‘397 patent; any
                       construction of “build engine” in the ‘168 patent is deferred
        Defendant argues that “build engine” in the ‘397 patent is indefinite because it lacks

 antecedent basis, so that a POSA would not understand what “build engine” refers to with

 reasonable certainty. (D.I. 64 at 23–24). Although Defendant acknowledges the USPTO’s

 Certificate of Correction (COC), issued to correct “build engine” to “build tool” in the ’397

 patent (D.I. 65-9, Ex. 1I at 2), it presents two arguments against the use of the COC for claim

 construction of this term. First, Defendant argues that because the COC was not issued until

 February 13, 2018 (id.), to the extent the COC is applicable, it does not apply before its date of

 issuance (D.I. 77 at 32). Second, Defendant argues that, in any case, the COC should be

 disregarded because the specification, when discussing Fig. 3A, illustrates that a “build engine”

 is a “build tool” component. (D.I. 64 at 24, 27). The two terms therefore cannot be equivalent,

 Defendant maintains. (Id. at 27).

        Plaintiff, on the other hand, argues that no construction is necessary because the COC

 makes clear that the antecedent basis for “build engine” is “build tool.” (Id. at 22–23). Plaintiff

 also argues that no construction is necessary because the specification equates the two terms

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                                              Appx012
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 when it states the phrase “build engine (i.e. build tool).” (Id. at 22) (citing ’397 patent at 2:1–4).

 For the same reason, Plaintiff maintains, the COC properly treats “build engine” and “build tool”

 as interchangeable terms. (Id. at 26).

         There are therefore two issues related to the COC. First, whether the COC’s corrections

 only apply after the COC’s date of issuance. Second, whether the COC’s correction is proper.

         The Federal Circuit has held that “for causes arising after the PTO issues a certificate of

 correction, the certificate of correction is to be treated as part of the original patent—i.e., as if the

 certificate had been issued along with the original patent.” Southwest Software, Inc. v. Harlequin,

 Inc., 226 F.3d 1280, 1295 (Fed. Cir. 2000). For causes of action that arise after the date of the

 COC’s issuance, therefore, the COC’s corrected claim language has effect dating back to the

 priority date of the patent because “the certificate is considered part of the original patent.” Id.

         The COC was issued on February 13, 2018. (D.I. 65-9, Ex. 1I at 2). Plaintiff alleges

 Defendant was made aware of its infringement as early as February 28, 2013 but does not

 specify the date of initial infringement. (D.I. 47 at 16, 25). Relevant to the issue here, Plaintiff

 alleges infringement before and after the date of the COC’s issuance. Because the COC’s

 corrected language is treated as “part of the original patent,” for any alleged infringement after

 the date of the COC’s issuance, February 13, 2018, the corrected claim language applies.

         The corrected claim language does not apply, on the other hand, to alleged infringement

 prior to February 13, 2018. If a COC were given effect as of the priority date of the patent for

 infringement prior to the date of the COC’s issuance, a party could be held liable for infringing a

 facially invalid patent. “In such a case, where the claim is invalid on its face without the

 certificate of correction, it strikes us as an illogical result to allow the patent holder, once the

 certificate of correction has issued, to sue an alleged infringer for activities that occurred before



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 the issuance of the certificate of correction.” Southwest Software, 226 F.3d at 1295–96. The

 corrected claim language therefore does not apply to any alleged infringement prior to February

 13, 2018, the date of COC issuance.

        The second issue relates to whether the COC’s issuance was proper.

        Certificates of correction may be issued for “a mistake of a clerical or typographical

 nature, or of minor character” at the discretion of the USPTO. 35 U.S.C. § 255. The Federal

 Circuit has held that although § 255 does “allow broadening corrections of clerical or

 typographical mistakes,” there is clear Congressional intent “to protect the public against the

 unanticipated broadening of a claim after the grant of the patent by the PTO.” Superior Fireplace

 Co. v. Majestic Products Co., 270 F.3d 1358, 1371 (Fed. Cir. 2001). “It would be inconsistent

 with that objective to interpret § 255 to allow a patentee to broaden a claim due to the correction

 of a clerical or typographical mistake that the public could not discern from the public file and

 for which the public therefore had no effective notice.” Id. The “public file” used to determine

 whether a correction is proper consists of “the specification, drawings, and prosecution history.”

 Id. at 1372. As for a mistake of “minor character”: “A mistake that, if corrected, would broaden

 the scope of a claim must thus be viewed as highly important and thus cannot be a mistake of

 ‘minor character.’” Id. at 1375.

        In the ’397 patent, the relevant claim recites, “The apparatus of claim 2, wherein said

 elements include a button or an images (sic), wherein said selectable settings includes the

 selection of an element style, and wherein said build engine includes means for storing

 information representative of selected style in said database.” (’397 patent at 66:48–49

 (uncorrected claim 9)). There is no grammatical error in the use of “build engine” that suggests a

 mistake on its face. Looking to independent claim 2, however, although dependent claim 9



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 references “said build engine,” claim 2 recites only “a build tool,” not a “build engine.” This

 raises the possibility of a clerical or typographical error in the use of “said build engine.”

         The specification teaches that a “build engine” is an example of a “build tool.” (’397

 patent at 9:1–29). Although Defendant argues that these two terms are distinguished in Fig. 3A,

 the relevant specification language stating that a “build engine” is an example of a “build tool”

 explicitly refers to Fig. 3A. (Id.). Looking at the claim language, claim 9 references “said build

 engine” while claim 2 recites a “build tool.” Because the specification states that a “build

 engine” is an example of a “build tool,” it is therefore reasonable to expect that a reader of the

 patent could discern that “build engine” in claim 9 of the ’397 patent is meant to refer to the

 “build tool” in claim 2.

         I therefore find that the COC’s correction of “build engine” to “build tool” in the ’397

 patent is a valid correction of a “clerical or typographical mistake” under § 255.

         For the construction of “build engine” in the ‘397 patent as it applies to infringement

 prior to the COC’s date of issuance, I analyze indefiniteness. “[A] patent is invalid for

 indefiniteness if its claims, read in light of the specification delineating the patent, and the

 prosecution history, fail to inform, with reasonable certainty, those skilled in the art about the

 scope of the invention.” Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 901 (2014). In

 order to prove a patent is invalid for indefiniteness, there must be clear and convincing evidence.

 Id. at 912 n.10 (citing Microsoft Corp. v. i4i Ltd. Partnership, 564 U.S. 91, 95 (2011)).

         I do not think Defendant has proven indefiniteness by clear and convincing evidence for

 many of the same reasons cited in the COC analysis. The specification states that a “build

 engine” is an example of a “build tool,” specifically in relation to Fig. 3A (’397 patent at 9:1–

 29), which Defendant argues distinguishes the two (D.I. 64 at 27). No other argument was



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                                                Appx015
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 presented in the briefing or at oral argument that a POSA would not have been able to determine,

 with reasonable certainty, that the “build engine” in claim 9 referred to the “build tool” in claim

 2. Because the specification notes that a “build engine” is an example of a “build tool,” I think a

 POSA would have understood with reasonable certainty that “said build engine” in claim 9

 referred to the “build tool” in claim 2.

         I therefore find for the ‘397 patent that “build engine” is not indefinite, and that “build

 engine” should be construed as “build tool.” Because the parties did not present “build tool” for

 construction at oral argument, I will not construe “build tool” here. The parties may present any

 claim construction disputes regarding “build tool” in their summary judgment briefing. 2


     3. “run time (runtime) engine” (’168/1)

              a. Plaintiff’s proposed constructions:
                     i. “file that is executed at runtime that utilizes information from the database
                         and generates commands to display a web page or website”; or
                    ii. “file that is executed at runtime that reads information from the database
                         and generates commands to display a web page or website”
              b. Defendant’s proposed construction:
                     i. “file that is executed at runtime that reads information from the database
                         and generates virtual machine commands to display a web page or
                         website”
              c. Court’s construction:
                     i. “file that is executed at runtime that reads information from the database
                         and generates commands to display a web page or website”

         I previously construed “runtime engine” to mean “file that is executed at runtime that

 reads information from the database and generates commands to display a web page or website.”

 (D.I. 65-6, Ex. 1E at 5). To the extent Plaintiff disagrees with this construction, it argues that

 “utilizes information” could mean something more than simply reading information from the



 2
  I also do not construe “build engine” in the ‘168 patent. The proposed construction was barely briefed (D.I. 64 at
 22-27) and was barely mentioned at the Markman hearing. (D.I. 77 at 36, 39-40).

                                                         16

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 database. (D.I. 64 at 38–39). At oral argument, Plaintiff focused its argument on concerns that

 Defendant may later argue that reading and downloading information should be construed

 differently. (D.I. 77 at 49:21–50:21). Defendant agreed that “downloading is equivalent to

 reading over a network.” (Id. at 46:14–47:3). I therefore focus my analysis on the difference

 between my prior construction, which Plaintiff accepted as an alternative construction, and

 Defendant’s construction, which construes “commands” as limited solely to “virtual machine

 commands.”

        Plaintiff argues that the claim language does not refer explicitly to virtual machine

 commands. (D.I. 64 at 40). Plaintiff also maintains that the specification “confirms that a run

 time engine can generate other types of commands to display a web page or website, such as

 commands for downloading image, audio and video files.” (Id.) (citing ’168 patent at 5:49–68).

 Defendant, on the other hand, argues that the runtime engine “generates the web-site” using

 information stored in the database, a process for which the specification describes issuing virtual

 machine commands. (Id. at 42).

        I agree with Plaintiff. The term “virtual machine” does not appear in the claim language.

 Defendant’s citation to the specification for the process of generating the web-site is only in

 reference to an embodiment; it does not indicate that the process must exclusively be done using

 virtual machine commands. (See ’168 patent at 35:8–12). The specification does not otherwise

 limit the commands involved in displaying the web page to virtual machine commands. I

 therefore construe “runtime engine” as “file that is executed at runtime that reads information

 from the database and generates commands to display a web page or website.”


    4. “registry” (’755/1, 12; ’287/1, 15)

            a. Plaintiff’s proposed constructions:
                   i. no construction necessary; or
                                                  17

                                              Appx017
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                  ii. “a database or lookup table that is used for computing functionality”
            b. Defendant’s proposed construction:
                   i. “a database, XML file, or Portable Description Language file that exists
                      on a computer”
            c. Court’s construction:
                   i. “a database that is used for computing functionality”
        The parties generally agree that “registry” is a term of art in the computer science and

 web design fields. (D.I. 64 at 45–46). They dispute whether Plaintiff acted as its own

 lexicographer to limit the definition of “registry” to that provided in the specification. (Id.).

        Plaintiff argues that “registry” should not be limited to “a database, XML file, or Portable

 Description Language” because that description, while in the specification, refers only to “one

 embodiment that references the ‘web component registry.’” (Id. at 45) (citing ’755 patent at

 8:19–22). Other embodiments, Plaintiff argues, disclose a web component registry that could be

 implemented in ways other than “database, XML file, or Portable Description Language,” such

 as by using a list with relevant information. (See id. at 46) (citing ’755 patent at 9:16–26, 22:26–

 29).

        Defendant, on the other hand, argues that the specification reference to “web component

 registry 230” is definitional because it does not contain language limiting the term to a single

 embodiment. (D.I. 64 at 45).

        I generally agree with Plaintiff. The language in the specification referring to “web

 component registry” is limited to the description of Fig. 2A, which is described as “an

 embodiment.” (’755 patent at 7:63–66). Nothing in the specification indicates the patentee’s

 desire to redefine or limit the term “registry” to only a “database, XML file, or Portable

 Description Language”; that description is merely used to describe one such manifestation of the

 element in an embodiment.




                                                   18

                                                Appx018
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         I do not, however, agree with Plaintiff’s inclusion of a “lookup table” in its construction.

 Plaintiff cites to the specification to support its assertion that “registry” can take a tabular format,

 but the cited portions only teach a list with information, not a table. (’755 patent at 9:16–26,

 22:26–29). The parties do at minimum agree, though, that the construction of “registry” requires

 a “database.”

         It might be helpful to a jury to have a construction. I will adopt Plaintiff’s alternative

 construction, except for “lookup table,” and I therefore construe “registry” as “a database that is

 used for computing functionality.”


     5. “web component” (’755/1, 3, 6, 7, 12, 14, 17, 18; ’287/1, 3, 6, 7, 15, 17, 20, 21; ’044/1,
        3, 6, 7, 15, 17, 20, 21)

             a. Plaintiff’s proposed construction:
                    i. “one or more functionalities associated with one or more web page
                        elements to be displayed on a device”
             b. Defendant’s proposed construction:
                    i. “software object, which has a clearly defined interface, conforms to a
                        prescribed behavior common to all components within an architecture, is
                        meant to interact with other components, and encapsulates certain
                        functionality or a set of functionalities”
             c. Court’s construction:
                    i. “software objects that provide functionalities of a web service”
         The parties partially agreed at oral argument to construe “web component” as “software

 objects that provide functionalities of a web service,” disputing only whether to include “certain”

 in front of “functionalities.” (D.I. 77 at 70:22–73:14).

         Neither party meaningfully argues why “certain” should or should not be included. The

 scope of “functionalities” provided by the “software objects” is already limited to the context of

 a “web service.” Further specifying only “certain” functionalities does not change the scope of

 the construction.




                                                   19

                                                Appx019
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         I therefore construe “web component” as “software objects that provide functionalities of

 a web service.”


     6. “web service” (’755/1, 5, 7, 12, 16, 18; ’287/1, 5, 7, 15, 19, 21; ’044/1, 5, 7, 15, 19, 21)

             a. Plaintiff’s proposed constructions:
                    i. no construction necessary; or
                   ii. “A software system that supports interaction between devices over a
                        network”
             b. Defendant’s proposed construction:
                    i. “A software system designed to support interoperable machine-to-machine
                        interaction over a network. It has an interface described in a machine-
                        processable format called “WSDL” (web service description language).
                        Other systems interact with the web service in a manner prescribed by its
                        description using Simple Object Access Protocol (“SOAP”) messages,
                        typically conveyed using HTTP with an XML serialization in conjunction
                        with other web-related standards.”
             c. Court’s construction:
                    i. “A software system that supports interaction between devices over a
                        network.”
         Plaintiff argues that no construction of “web service” is necessary because it is a well

 understood term of art for which definitions “abound in computer literature and technical

 dictionaries.” (D.I. 64 at 50). To the extent a construction is required, Plaintiff asserts, its

 alternative construction is supported by the specification description of a “web service” as “a

 plurality of services obtainable over the Internet.” (Id.) (citing ’755 patent at 8:18–19).

         Defendant instead asserts that “web service” should be construed and that, because

 during prosecution the application referenced the “World Wide Web” in conjunction with “web

 service,” the World Wide Web Consortium (W3C) definition should apply here. (D.I. 64 at 50–

 51). Defendant then asserted at oral argument—without having included any prior reference in

 its three paragraphs of briefing on this term—that the patentee used the W3C definition as part of

 an amendment to overcome the prior art McCain reference, which Defendant argued would

 constitute prosecution history disclaimer. (D.I. 77 at 60:4–24).

                                                    20

                                                 Appx020
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         Plaintiff replied that the reference to the prosecution history was just general background

 and not asserted by the patentee in a way that would constitute disclaimer. (Id. at 63:23–64:3).

 Plaintiff also argued that the W3C definition is overly limiting because it excludes web service

 interfaces, such as REST, that are specifically referenced in the specification. (Id. at 56:3–15; see

 ’755 patent at 28:14–18).

         I mostly agree with Plaintiff. The reference to the W3C definition in the prosecution

 history cited by Defendant appears in a section that generally describes the various components

 of the application, including a “web service.” (D.I. 42-15, Reply to Office Action of April 1,

 2012, 3 at 5–6). To the extent that the patentee used this information to overcome the combination

 of prior art references McCain and Sidman, the patentee did not delimit the type of components

 constituting the “web service” or use the latter, restrictive portion of the W3C definition in

 patentee’s assertions. (Id.).

         As for disclaimer, the parties have not provided sufficient argument for me to evaluate

 this issue. Defendant’s argument is essentially that the application, during prosecution,

 referenced the World Wide Web when referring to “web service,” and therefore I should adopt

 the W3C definition of the term. (D.I. 64 at 50–51). I have already noted that this definition

 appears in a background section and, consequently, does not constitute disclaimer without other

 indicia of disavowal. Defendant presents no additional arguments for disclaimer. In fact, the

 collective briefing on this term covers only two and a half pages, with only a few sentences

 dedicated to arguing about disclaimer. Prosecution history disclaimer “requires that the alleged

 disavowing actions or statements made during prosecution be both clear and unmistakable.”

 Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314, 1325–26 (Fed. Cir. 2003). Based on the


 3
  The patentee used “Reply to Office Action of April 1, 2012” in the header of the document, but in the text
 describes a response to an office action dated April 1, 2013 (D.I. 42-15 at 1), which I think is correct.

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                                                      Appx021
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 briefing, it is not apparent to me that the patentee’s statements arise to “clear and unmistakable”

 disclaimer.

        Plaintiff’s alternative construction better fits the description of “web service” in the

 specification as a “a plurality of services obtainable over the Internet.” (’755 patent at 8:18–19). I

 therefore construe “web services” as “A software system that supports interaction between

 devices over a network.”


    7. “symbolic name(s)” (’755/1, 12; ’287/1, 15; ’044/1, 15)

               a. Plaintiff’s proposed construction:
                      i. no construction necessary
               b. Defendant’s proposed construction:
                      i. “parameters specifying inputs and/or outputs associated with web
                          services”
               c. Court’s construction:
                      i. no construction necessary
        Plaintiff argues that no construction is necessary because the claim language itself defines

 “symbolic names” as “character strings that do not contain either a persistent address or pointer

 to an output value accessible to the web service.” (D.I. 64 at 52) (citing ’755 patent, claim 1).

 Defendant, on the other hand, argues that this definition merely describes what “symbolic

 names” cannot be and is therefore insufficient. (Id. at 54). Defendant also asserts that “symbolic

 names” should be limited to “parameters” that specify “inputs and/or outputs associated with

 web services,” consistent with patentee’s representations to overcome prior art references during

 prosecution. (Id. at 53) (citing D.I. 42-15, Reply to Office Action of April 1, 2012, at 5–6).

        I agree with Defendant that the patentee argued that “symbolic names” are parameters

 associated with inputs or outputs related to web services. But Defendant has not argued how or

 why this characterization of “symbolic names” subsumes or contradicts the definition set forth in

 claim 1 of the ’755 patent. Nor has Defendant explained why it thinks the definition of

                                                  22

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 “symbolic names” set forth in claim 1 is impermissibly broader than the characterization of

 “symbolic names” offered by the patentee during prosecution. Claim 1 affirmatively describes

 “symbolic names” as “character strings.” The claim further limits “symbolic names” to only

 those “character strings” that “do not contain either a persistent address or pointer to an output

 value accessible to the web service.” Not having a “persistent address” was, in fact, the exact

 characteristic of “symbolic name” asserted by the patentee to overcome prior art references

 McCain and Sidman during prosecution. (D.I. 42-15, Reply to Office Action of April 1, 2012, at

 5–6). Because the language of the claim expressly limits the scope of “symbolic name” in a

 manner consistent with patentee’s arguments during prosecution—and because Defendant has

 not otherwise provided reasonable basis for changing the scope based on the prosecution

 history—there is no need to further construe the term.

        No construction of “symbolic names” is necessary.


    8. “application” (’755/1, 12, 22; ’287/1, 15, 25; ’044/1, 15, 25)

            a. Plaintiff’s proposed construction:
                 i. “device-independent software code containing instructions for a device”
            b. Defendant’s proposed constructions:
                 i. “device-independent code which contains instructions for a device and
                    which is separate and independent from the Player”; or
                ii. “device-independent code which contains instruction for a device and which
                    is separate and distinct from the Player”
            c. Court’s construction:
                 i. “device-independent code containing instructions for a device and which is
                    separate from the Player”
        At oral argument, Plaintiff preserved its objection to incorporating “separate” in the

 construction, but otherwise agreed that the application is separate from the player. (D.I. 77 at

 74:17–75:3). Plaintiff also agreed that the word “software” could be taken out of its construction




                                                  23

                                               Appx023
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 without changing the meaning. (Id. at 74:12–15). I therefore focus my analysis on whether the

 construction should read “separate and independent” or just “separate.”

        Plaintiff argues that the specification and prosecution history do not use the “separate and

 independent” language to delimit the scope of “application.” (D.I. 77 at 75:17–20). Plaintiff also

 asserts that although I included “separate” in my prior construction of “application” (i.e. “device-

 independent code which contains instructions for a device and which is separate from the

 Player”), I rejected the requirement that the “application” be “partitioned” from the “Player.” (Id.

 at 75:21–76:2). Defendant’s requirement that the application be “independent” in addition to

 merely being “separate” is, Plaintiff maintains, an improper attempt to partition the “application”

 from the “Player,” especially in light of specification text that, referring to an embodiment,

 explains that the “application” can be extended “on the Player so that it is efficiently integrated

 into a comprehensive client/server Application.” (D.I. 64 at 56) (citing ’755 patent at 7:30–33).

        Defendant, on the other hand, argues that the code for the “application” and “Player” are

 “touted as being able to be maintained separately and distinctly,” so they must be not only

 separate lines of code but also separate files. (D.I. 77 at 80:20–82:18). Defendant also points to

 references in the prosecution history, including the McCain reference, to highlight that the

 patentee’s use of the separation of the “application” and “Player” to argue that the invention was

 novel supports construction of “application” to mean “separate and independent” from the

 “Player.” (D.I. 64 at 57).

        I agree with Plaintiff. Defendant’s argument here—based on the patentee’s assertion of

 novelty using the separation of the “application” and “Player”—is substantively identical to the

 argument it made when I issued my prior construction. (D.I. 65-6, Ex. 1E at 7). As I did there, I

 acknowledge that “separate” should be included in the construction of “application” because the



                                                  24

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 patentee’s assertion that the separation of the “application” and “Player” is novel constitutes

 prosecution history disclaimer. (Id.). In making this novelty argument, the patentee only asserted,

 however, that the bodies of code for the “application” and “Player” are separate, not that the

 “application” and “Player” need to be housed independently or distinctly from each other. (See

 id.). Moreover, including “independent” or “distinct” excludes embodiments such as the one

 highlighted by the specification in which the “Player” is “efficiently integrated” with the

 “Application.” (Id.; ’755 patent at 7:30–33).

         To be sure, the code for the “application” and “Player” are “separate” sets of code. To the

 extent “independent” or “distinct” are meant to mean something more than “separate,” however,

 the disclaimer does not support that conclusion. Patentee’s statements refer only to “partitioning

 the code” required for the Application and for the Player (i.e. maintaining a separate body of

 code for each). (D.I. 65-6, Ex. 1E at 7). This “partitioning” is already conveyed by “separate” in

 the construction. Adding “independent” or “distinct” would imply that there is some other

 difference between the code for the Application and the code for the Player that goes beyond

 there merely being “separate” bodies of code. No such additional difference is supported by the

 patentee’s statements during prosecution. Furthermore, since the code for “Application” and

 “Player” can be integrated on the same server (’755 patent at 7:30–33), adding “independent” or

 “distinct” to the construction would serve no purpose other than to confuse.

         I therefore construe “application” as “device-independent code containing instructions for

 a device and which is separate from the Player.”

    V.      CONCLUSION

         Within five days the parties shall submit a proposed order consistent with this

 Memorandum Opinion suitable for submission to the jury.



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                                                 Appx025
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                                            )
 EXPRESS MOBILE, INC.,                                      )
                                                            )
                           Plaintiff,                       )
                                                            )
                  v.                                        )   Civil Action No.1:19-cv-01937-RGA
                                                            )
 GODADDY.COM, LLC,                                          )
                                                            )
                           Defendant.                       )
                                                            )


                              ORDER ON CLAIM CONSTRUCTION

       The following terms and phrases of the patents shall have the following meanings for the

purposes of this action:

 Claim Term                                Patents               Construction


 multi-dimensional array(s) /              ’397 and ’168         a uniquely identifiable indexed set of
 multidimensional array(s)                                       related elements, wherein each element
                                                                 is addressed by a set of two or more
                                                                 indices, each index corresponding to a
                                                                 dimension of the array
 storing information representative ’397                         storing data in a database, which data
 of said one or more user selected                               pertains to one or more attributes of an
 setting in a database                                           object available for selection by a user

 transformation                            ’397 and ’168         the changing of an object from one
                                                                 state to another based on a timer
                                                                 control, subject to user settings
 settings                                  ’397                  attributes of an object available for
                                                                 selection
 authoring tool /                          ’755, ’287 and        a system, with a graphical interface,
 authoring tool configured to              ’044                  for generating code to display content
                                                                 on a device screen
 device-dependent code                     ’755 and ’287         code that is specific to the operating
                                                                 system, programming language, or
                                                                 platform of a device




                                                     1
                                                  Appx026
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 Claim Term                          Patents             Construction


 device-independent code             ’755 and ’287       code that is not specific to the
                                                         operating system, programming
                                                         language, or platform of a device
 where said application is device-   ‘755                where said Application is a device-
 dependent code                                          independent code
 for evoking one or more web         ’755, ’287 and      for calling up one or more web
 components                          ’044                components
 at least one run time file /        ’397                one or more files, including a run
 one or more run time files                              time engine, that are downloaded or
                                                         created when a browser is pointed to
                                                         a web page or website
 build engine                        ’397 and ’168       not indefinite; “build engine” means
                                                         “build tool” in the ‘397 patent; any
                                                         construction of “build engine” in the
                                                         ‘168 patent is deferred
 run time (runtime) engine           ’168                file that is executed at runtime that
                                                         reads information from the database
                                                         and generates commands to display a
                                                         web page or website
 registry                            ’755 and ’287       a database that is used for computing
                                                         functionality
 web component                       ’755, ’287 and      software objects that provide
                                     ’044                functionalities of a web service
 web service                         ’755, ’287 and      A software system that supports
                                     ’044                interaction between devices over a
                                                         network
 symbolic name(s)                    ’755, ’287 and      No construction necessary
                                     ’044
 application                         ’755, ’287 and      device-independent code containing
                                     ’044                instructions for a device and which is
                                                         separate from the Player




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                                            Appx027
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DATED: June 7, 2021

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                                          SO ORDERED this 8th day of June, 2021

                                          /s/ Richard G. Andrews
                                          United States District Judge


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                                        Appx028
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   EXPRESS MOBILE, INC.,                    )
                                            )
                Plaintiff,                  )
                                            )
                vs.                         )      Civil Action No. 1:19-cv-01937-MFK
                                            )
   GODADDY.COM, LLC,                        )
                                            )
                Defendant.                  )


                             MEMORANDUM OPINION AND ORDER

   MATTHEW F. KENNELLY, District Judge:

         Express Mobile, Inc. has sued GoDaddy.com, LLC for infringement of five

   patents: U.S. Patent No. 6,546,397 (the '397 patent); U.S. Patent No. 7,594,168 (the

   '168 patent); U.S. Patent No. 9,063,755 (the '755 patent); U.S. Patent No. 9,471,287

   (the '287 patent); and U.S. Patent No. 9,928,044 (the '044 patent). The first two patents

   (collectively, the "Web Design Patents") claim a browser-based tool for building

   websites. The remaining patents (collectively, the "Web Component Patents") are

   directed to tools for displaying content on mobile devices. Express Mobile contends

   that two of GoDaddy’s products—the Website Builder (WSB) and Managed WordPress

   (MWP)—infringe numerous claims of the asserted patents. 1

         GoDaddy has moved for summary judgment on all of Express Mobile’s claims

   and additionally seeks the exclusion of certain testimony by two of Express Mobile’s




   1 Express Mobile contends that GoDaddy infringes claims 1, 2, 3, 11, and 37 of the ‘397

   patent; claims 1, 2, and 3 of the ‘168 patent; claims 1, 3, 12, 16, and 22 of the ‘755
   patent; claims 1 and 13 of the ‘287 patent; and claims 1, 11, 13, 17, and 19 of the ‘044
   patent.
                                           Appx029
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   expert witnesses—Dr. Kevin Almeroth and Walter Bratic. Express Mobile has moved

   for partial summary judgment on certain issues and to exclude certain expert opinions of

   David Perry. While these motions were being briefed, the parties each filed an

   additional motion to strike regarding evidence submitted for the first time during

   summary judgment. In this opinion, the Court rules on all four of these motions and sets

   forth its construction of certain disputed claim terms.

                                          Background

   A.     The asserted patents

          There are two families of patents at issue in this case. The Web Design Patents

   claim a browser-based tool for building websites. The two patents share the same

   specification, which describes a method of website design where a web designer can

   make selections on various menus, and the system can preview what the page will look

   like. To do this, attributes of objects on a website (for example, fonts) are stored in an

   external database. When an end user browses on the website, the user's browser

   downloads a "run time engine" that reads the database and uses that data to generate

   the website.

          In contrast, the Web Component Patents are directed to displaying content on

   mobile devices, such as smartphones. The Web Component Patents relate to two

   concepts that allow web designers to integrate third-party web services into their

   websites. First, the patent family discloses an authoring tool that generates two sets of

   code, a device-independent Application and a device-specific Player. Second, the

   patents disclose an authoring tool that allows for integration of web services into the

   Application and Player.



                                                2

                                            Appx030
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   B.    The accused products

         Two GoDaddy products are at issue in this case. The WSB is a browser-based

   website creator, designed to allow users with little to no website design experience to

   quickly create and publish a website. The MWP, in contrast, targets more advanced

   users. It comprises a set of custom functionalities that GoDaddy has added to

   WordPress, an open-source (i.e. free) platform for creating websites. Both the WSB

   and MWP allow for incorporation of features, such as YouTube videos or embedded

   Twitter feeds, into a user's website. GoDaddy provides several free themes for use in

   designing the website, but users can also buy third-party themes for use with the MWP

   platform.

   C.    The instant suit

         Express Mobile filed this lawsuit against GoDaddy on October 11, 2019. The

   case was assigned to Judge Richard Andrews. On April 8, 2021, the Court held a

   Markman hearing to address several disputed terms of the asserted patents. At the

   hearing, the Court directed the parties to submit supplemental briefing on claim

   construction issues pertaining to the terms "virtual machine" and "Player." On June 1,

   2021, the Court issued an order construing the other disputed claim terms. Express

   Mobile, Inc. v. GoDaddy.com, LLC, No. 19-1937-RGA, 2021 WL 2209868 (D. Del. Jun.

   1, 2021).

         On November 17, 2021, both parties filed combined summary judgment and

   Daubert motions. During briefing, each party filed an additional motion to strike

   evidence that it contended was disclosed for the first time during summary judgment.

   The case was subsequently reassigned to the undersigned District Judge.



                                               3

                                           Appx031
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                                          Discussion

          This opinion concerns four motions and two disputed claim terms. The Court

   starts by construing the disputed claim terms. It then addresses the parties’ motions to

   strike. Lastly, the Court rules on the parties’ combined summary judgment/Daubert

   motions.

   A.     Claim construction

          "[T]he claims of a patent define the invention to which the patentee is entitled the

   right to exclude." Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d

   1111, 1115 (Fed. Cir. 2004). During claim construction, a court is to construe the words

   of a claim in accordance with their "ordinary and customary meaning," namely "the

   meaning that the term would have to a person of ordinary skill in the art in question at

   the time of the invention." Phillips v. AWH Corp., 415 F.3d 1303, 1312–13 (Fed. Cir.

   2005). Sometimes, the meaning of a term is not immediately apparent, and a court will

   need to look to other sources to determine "what a person of skill in the art would have

   understood disputed claim language to mean." Innova, 381 F.3d at 1116. These

   sources include "the words of the claims themselves, the remainder of the specification,

   the prosecution history, and extrinsic evidence concerning relevant scientific principles,

   the meaning of technical terms, and the state of the art." Id.

          1.      "Virtual Machine"

                  a.    Express Mobile's proposed constructions:

                        i.     "software that emulates a physical machine"; or

                        ii.    "software that emulates computing functionality"

                  b.    GoDaddy's proposed construction:



                                                4

                                           Appx032
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                         i.     "software that emulates a physical processor"

                  c.     The Court's construction:

                         i.     "software that emulates computing functionality"

            The parties dispute the meaning of the term "virtual machine" in the '397 patent.

   The '397 patent claims "[a] method to allow users to produce Internet websites on and

   for computers having a browser and a virtual machine capable of generating displays . .

   . ." '397 patent at 65:44–46. The invention discloses a "run time file," "where said at

   least one run time file utilizes information stored in said database to generate virtual

   machine commands for the display of at least a portion of said one or more web pages."

   Id. at 65:66–66:2.

            The construction the Court adopts—"software that emulates computing

   functionality"—is consistent with the patent's claim language and specification. The

   patent is directed toward software that emulates computing functionality, specifically,

   functionality related to the generation of website displays. See, e.g., id. at 65:44–46; id.

   at 65:66–66:2. As Express Mobile's experts Bhuvan Urgaonkar and Glenn Weadock

   explain, the claim language reflects the fact that the virtual machine is used to render

   and display websites within a browser. Dkt. no. 66-1, ex. 2 ¶ 26; dkt. no. 66-13, ex. 2L

   ¶¶ 38.

            GoDaddy's proposed construction is too narrow. The claims and shared

   specification indicate that the term "virtual machine" was meant to be interpreted

   broadly. For example, the specification confirms that virtual machines can support a

   variety of different programming languages, not just Java, as GoDaddy contends. See

   '397 patent at 11:5–8 (stating that the required functionality "wa[s] implemented entirely



                                                 5

                                             Appx033
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   in JAVA (or any other browser-based full featured programming language)") (emphasis

   added). And although the Java Virtual Machine is the only virtual machine listed in the

   specification, this merely provides an example of a virtual machine and does not limit

   the claim scope to only such a virtual machine. It is generally inappropriate to use the

   preferred embodiment outlined in the specification to limit the scope of a patent claim.

   Acumed LLC v. Stryker Corp., 483 F.3d 800, 805 (Fed. Cir. 2007) (noting that it is

   improper to "import a feature from a preferred embodiment into the claims").

          GoDaddy contends that "virtual machine" is limited to processor functions

   because the specification describes an interaction between the virtual machine, run time

   engine, and database where the virtual machine executes processor-like commands

   from the other two. But nothing in the claims indicates that this is the only function of a

   virtual machine. Instead, the claim language repeatedly refers to the virtual machine as

   being capable of generating displays. It would be inappropriate to use another term in

   the patent, namely "run time engine," to narrow the ordinary meaning of virtual machine.

          In addition to being supported by the language of the claims and specification,

   the Court's adopted construction is consistent with the prosecution history. Dr.

   Urgaonkar emphasizes that the term was meant to have a broad scope and that the

   patentability of the invention was not dependent on it possessing a particular kind of

   virtual machine. Dkt. no. 66-13, ex. 2L ¶ 43. GoDaddy disagrees, arguing that it was

   the specific processor-like interactions between the virtual machine and the run time

   engine that distinguished the patented invention from the prior art. The prosecution

   history suggests otherwise, however. The prior art also disclosed use of a virtual

   machine—specifically the Java Virtual Machine. As such, the addition of the term virtual



                                                6

                                             Appx034
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   machine could not have distinguished the patents from the prior art.

          The Court's construction is also supported by extrinsic evidence of what a person

   of ordinary skill in the field would have understood the term to mean. Express Mobile

   provides a variety of evidence to establish that, as of the priority date, the term virtual

   machine was understood to refer to several different kinds of software. See dkt. no. 120

   at 8–13. Express Mobile cites dictionary definitions, lecture notes, and textbook

   entries—all of which support a broad construction of the term that encompasses more

   than processor-like virtual machines. Id.

          GoDaddy makes several objections to Express Mobile's evidence. Some of

   these have merit. For example, the Court agrees that the lecture notes and any

   evidence drafted after the priority date are irrelevant to the claim construction analysis.

   It does not agree, however, that Express Mobile's evidence demonstrates that the

   meaning of "virtual machine" was "all over the map" and had no well-known meaning in

   1999. Id. at 28. Although the evidence does show that the definition was broad, it does

   not show that the term was unclear. Considering all of the relevant extrinsic evidence,

   the Court concludes that, in 1999, virtual machines were understood to come in many

   different types but were all understood to emulate computing functionality.

          GoDaddy makes three final arguments against Express Mobile's (and the

   Court's) construction. First, GoDaddy argues that the construction assumes that a

   virtual machine is the same as the separately claimed browser. Not so. As Express

   Mobile explains, the patent discloses a virtual machine that works with the browser to

   generate a display. Specifically, the virtual machine enhances browsers that do not

   support certain kinds of programming languages. So, although the two are related, the



                                                 7

                                            Appx035
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   construction does not assume they are the same.

          Next, GoDaddy argues that Express Mobile's construction inappropriately claims

   innovations that were developed after the patents were issued. This argument,

   however, misinterprets the adopted construction. Express Mobile's evidence shows

   that, at the priority date, there were many different kinds of virtual machines. Any of

   these virtual machines (and others developed after the priority date) could be used in

   the patented invention. But compatibility with newer-developed virtual machines does

   not amount to a patent of those virtual machines. As Express Mobile explains, if

   anything it "underscore[s] that the virtual machine in the '397 patent is nothing more

   than an off-the-shelf component that is used to properly display the claimed functionality

   within the browser." Dkt. no. 120 at 48.

          GoDaddy's final argument is also unpersuasive. It contends that the Court's

   construction renders "virtual machine" a so-called nonce word, and as such, the Court

   must limit the term to a specific kind of virtual machine, namely, the Java Virtual

   Machine. Under patent law, claims involving nonce words are means-plus-function

   claims that must meet the additional requirements in 35 U.S.C. § 112. See Williamson

   v. Citrix Online, LLC, 792 F.3d 1339, 1348 (Fed. Cir. 2015). When considering a

   means-plus-function claim, a court must identify both the claimed function and the

   corresponding structure in the written description for performing that function. Id.

   GoDaddy contends that there is no claimed structure in the construction "software that

   emulates computing functionality" and thus the claim must be confined to the Java

   Virtual Machine. The Court disagrees. Its adopted construction of "virtual machine"

   does not render it a nonce word. First, as previously explained, the term had a well-



                                                8

                                           Appx036
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   established meaning as of the priority date and would have been understood as such by

   a person of ordinary skill in the field. Additionally, the adopted construction provides

   sufficient structure through the use of the word "software" and also explains what the

   software does, namely "emulates computing functionality." See, e.g., WhitServe LLC v.

   GoDaddy.com, Inc., 65 F. Supp. 3d 317, 321 (D. Conn. 2014) (noting that "[software] is

   a noun with a specific structural meaning, defining the set of coded instructions and

   programs governing the operation of computer hardware").

          2.      "Player"

                  a.    Express Mobile's proposed construction:

                        i.     "software code that facilitates the execution of an application

                               on a device"

                  b.    GoDaddy's proposed constructions:

                        i.     "device-specific code which contains instructions of a device

                               and which is separate and independent from the Application"

                        ii.    "device-specific code which contains instructions for a device

                               and which is separate and distinct from the Application"

                  c.    The Court's construction:

                        i.     "device-specific code which contains instructions of a device

                               and which is separate from the Application"

          The parties dispute the meaning of the term "Player" as it appears in the '044

   patent. There are two points of disagreement. First, the parties dispute whether

   "Player" refers to device-specific code in the '044 patent. They agree that the term

   when used in the '755 and '287 patents refers to device-specific code, but Express



                                                9

                                            Appx037
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   Mobile contends that the term as used in the '044 patent is different and does not

   require device-specific code. Second, the parties' constructions differ in that GoDaddy's

   constructions state that the Player and Application are either "separate and

   independent" or "separate and distinct," whereas Express Mobile's construction does

   not require separation of the Player and Application.

          On the first issue, the Court concludes that "Player" in the '044 patent refers to

   device-specific code. The issue of whether "Player" necessarily refers to device-

   specific code previously came up in a related case, Shopify Inc. v. Express Mobile, Inc.,

   CA No. 19-439-RGA, 2020 WL 3432531 (D. Del. June 23, 2020). In adopting the same

   construction as it does here, the Court (Judge Andrews) concluded that "a person of

   ordinary skill in the art, looking at this intrinsic evidence as a whole, would understand

   the Player to be 'device-specific.'" Id. at *6. The Court noted that the shared

   specification of the Web Component Patents repeatedly recites a Player with device-

   specific instructions. Id. at *5 (citing the '755 patent at 5:8-24; 23:43-46; 33:12-15;

   33:26-28).

          Additionally, the Court in Shopify found that "the applicant made 'repeated and

   consistent remarks' indicating that the Player was device-specific" during patent

   prosecution. Id. at *6 (quoting Personalized Media Commc'ns, LLC v. Apple Inc., 952

   F.3d 1336, 1340 (Fed. Cir. 2020)). For example, the patentee stated:

          One embodiment is an authoring tool that generates files which together
          provide content over a network. The files include a Player (sometimes
          referred to herein as a "first code") specific to each device (that is, the
          code is "device-dependent") and an Application (sometimes referred to
          herein as a "second code") that is device-independent.

   Id. (citation omitted). The patentee's statement suggests that he believed the



                                                10

                                            Appx038
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   device-specific nature of the Player to be a central component of the invention's

   patentability. This further supports the Court's adopted construction. See

   Personalized Media, 952 F.3d at 1340 ("[A] applicant's repeated and consistent

   remarks during prosecution can define a claim term by demonstrating how the

   inventor understood the invention.").

          Express Mobile argues that the '044 patent specification supports its

   construction, citing two passages. The first passage, in its entirety, reads: "In one

   embodiment, one of the codes is a Player, which is a thin client architecture that

   operates in a language that manages resources efficiently, is extensible, supports a

   robust application model, and has no device specific dependencies." '044 patent at

   1:55–67 (emphasis added). Express Mobile contends that the phrase "has no device

   specific dependencies" refers to the Player, lending support to its contention that a

   Player need not be device specific. GoDaddy disagrees. It contends that "has no

   device specific dependencies" refers to "thin client architecture" and does not suggest

   that a Player can be device-independent. Both interpretations are plausible

   grammatically, and neither party provides the Court with a sufficiently persuasive reason

   to choose one interpretation over the other. As such, the Court gives this language little

   weight and looks instead to the other language in the claims and specification.

          The second passage that Express Mobile cites is "The Player may include code

   that is device-specific . . . ." '044 Patent at 6:14–16. The Court agrees with Express

   Mobile that the patent's use of the term "may" instead of "must" lends some support to

   Express Mobile's construction, but it is important not to overstate its significance. The

   drafter's intention behind the word "may" is less than clear. It could be the result of



                                                11

                                            Appx039
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   sloppy drafting; it could have no intended meaning at all. Either way, the Court finds

   that this "single reference . . . is not enough to override the repeated references in the

   prosecution history and the specification to the 'device-specific' or 'device-dependent'

   Player." Shopify, 2020 WL 3432531, at *6. On balance, the claims, specification, and

   prosecution history of the patents indicate that "Player" must be device specific.

          Express Mobile also makes several arguments contending that the claims,

   specifications, and prosecution history of the '755 and '287 patents should not be used

   to interpret the '044 patent. It identifies three distinctions between the first two patents

   and the third that it contends justify a different construction for the disputed term. First,

   Express Mobile points to the fact that the claims of the '044 patent do not recite "Player"

   as device-dependent code, whereas the claims of the '755 and '287 patents do. The

   prosecution history, however, shows that this omission was not meant to change the

   meaning of the patents. When the claims were amended to omit the "device-

   dependent" language, the patentee claimed that this was "[n]o new matter." Dkt. no.

   120, ex. 10D at XMO–GD00003351. Additionally, the ‘044 patent claims do not state

   that the Application is "device-independent" code, yet both parties agree that the

   Application is device-independent code. See '044 patent at 38:20–28. The Court thus

   concludes that the omission of "device-dependent code" is not meant to suggest that

   the Player can be device-independent.

          Second, Express Mobile argues that the patents should be interpreted differently

   because the '755 and '287 patents use the term "registry," whereas the '044 patent uses

   the term "database." This is not a significant difference. The function of a database

   and registry are the same, the information in each is the same, and Express Mobile



                                                12

                                            Appx040
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   concedes that a registry can be a database.

          Lastly, Express Mobile contends that the difference in capitalization use between

   the '755 and '287 patents and the '044 patent suggests that the terms should not be

   construed the same. Not so. As GoDaddy points out, the patentee used capital and

   lower-case letters interchangeably in the shared specification when referring to the

   Application and Player. There is no support for the proposition that the use of capital

   versus lower-case letters was intended to be significant. For these reasons, the Court

   concludes that Player must refer to device-specific code. 2

          On the second issue—whether to include the "separate and independent" or

   "separate and distinct" language—the Court finds that the construction should include

   the term "separate" but not "independent" or "distinct." As previously explained in

   Shopify, the patentee emphasized the separate nature of the Application and Player

   codes during patent prosecution. Shopify, 2020 WL 3432531, at *4. For example, the

   patentee stated: "[T]he claimed invention, in contrast, operates by partitioning the code

   required for functionality into device-independent code and device-dependent code." Id.

   (citation omitted). This partitioned code was described as an "advantage for

   maintaining websites." Id. (citation omitted). Because the separate nature of the Player

   and Application codes was critical to the novelty of the patent, it must be reflected in the

   construction.

          Express Mobile argues that incorporation of "separate" into the construction is




   2 GoDaddy further contends that Express Mobile is estopped from arguing that the term

   "Player" in the '044 patent is not device specific given the patentee's representations
   during the '755 patent prosecution. The Court notes that the argument is plausible but
   declines to address it, as it is not necessary for the resolution of the issue.
                                               13

                                            Appx041
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   inconsistent with the specification, which states that the Application can be integrated

   with the Player. The Court disagrees. Even if the Application is integrated with the

   Player, it still constitutes separate code from the player. The Court thus agrees with

   GoDaddy that the Application and Player codes must be "separate."

          The Court declines to adopt GoDaddy's "independent" or "distinct" language,

   however. As Express Mobile points out, the term "independent" is misleading because

   it incorrectly suggests that the Player and Application do not work together. See '755

   patent at 8:27–35, 13:46–49; id. at 5:32–41. Additionally, GoDaddy's proposed

   constructions could be potentially confusing to a jury. "Independent" and "distinct" seem

   to be synonyms of "separate," and GoDaddy does not explain what function adding

   these terms would serve that the word "separate" does not already provide. The Court

   thus declines to adopt this part of the proposed construction.

   B.     Motions to strike

          Both parties have filed motions to strike evidence that they contend was

   disclosed for the first time during summary judgment briefing. Express Mobile’s motion

   concerns declarations by GoDaddy engineers Franklin Jarrett and Aaron Silvas that

   were filed as exhibits to GoDaddy’s motion for summary judgment. GoDaddy’s motion

   concerns a supplemental report by Express Mobile’s expert Kevin Almeroth that was

   filed as an exhibit to Express Mobile’s response to GoDaddy’s summary judgment

   motion.

          Federal Rule of Civil Procedure 26 sets out the default guidelines for parties'

   pretrial disclosures. Fed. R. Civ. P. 26. It requires certain pretrial disclosures to be

   made at least 30 days before trial, "[u]nless the court orders otherwise." Fed. R. Civ. P.



                                                14

                                            Appx042
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   26(a)(3). It also sets out the rules concerning expert discovery. Under Rule

   26(a)(2)(B), the disclosure of an expert witness must be accompanied by a written

   report containing a statement of all opinions the witness will express at trial, as well as

   all of the facts and data underlying the witness's opinions. A party who fails to disclose

   a witness as required by Rule 26 can be precluded from relying on that evidence on a

   motion or at trial unless the failure to disclose was "substantially justified or harmless."

   Fed. R. Civ. P. 37(c)(1). Rule 37(c)(1) also permits a court to decline to exclude the

   evidence and instead impose "other appropriate sanctions." Id.

          In the Third Circuit, courts look to the so-called Pennypack factors to determine

   whether to exclude evidence as a sanction. Meyers v. Pennypack Woods Home

   Ownership Ass'n, 559 F.2d 894, 904 (3d Cir. 1977). These factors are: (1) prejudice or

   surprise to the other party; (2) the ability of the injured party to cure the prejudice; (3)

   the likelihood of disruption to the trial schedule; (4) any bad faith or willfulness involved

   in not complying with the disclosure rules; (5) the violating party’s explanation for

   noncompliance; and (6) the importance of the evidence to the party offering it. Id.

   Although the Third Circuit has stated that the last factor is the most important, it has

   advised that courts must look to the "overall balance" of the factors. ZF Meritor, LCC v.

   Eaton Corp., 696 F.3d 254, 299 (3d Cir. 2012); see also, e.g., Wyeth Holdings Corp. v.

   Sandoz, Inc., No. 09-955-RGA-CJB, 2012 WL 1669555, at *4 (D. Del. May 10, 2012).

          1.      Express Mobile’s motion to strike

          In support of its summary judgment motion, GoDaddy filed declarations from

   Silvas and Jarrett, two of its engineers who worked on the WSP and MWP, respectively.

   Express Mobile argues that this disclosure ran afoul of Rule 26, for two reasons. First, it



                                                 15

                                             Appx043
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   argues that GoDaddy failed to set forth the facts alleged in the declarations during fact

   or expert discovery, thus failing to comply with the deadlines in Rule 26(a), Rule 26(e),

   and the Court’s scheduling order. Second, Express Mobile contends that the

   declarations contain expert testimony that was not properly or timely disclosed.

          On the first point, the Court agrees with Express Mobile. The parties completed

   fact discovery on June 16, 2021, and expert discovery on November 3, 2021. During

   discovery, Express Mobile sought GoDaddy's bases for noninfringement. One of its

   interrogatories stated:

          For each claim of the patents in suit that you assert you do not infringe,
          describe in detail the factual and legal bases for your assertion, including
          providing a claim chart for each Accused Instrumentality showing on a
          limitation-by-limitation basis any limitations that you believe are not
          satisfied, and identifying all evidence upon which you rely and the persons
          with relevant knowledge.

   Pl's Int. No. 8. In response to this request, GoDaddy stated that it would respond

   through its expert disclosures and did not otherwise disclose any bases for

   noninfringement. None of the expert disclosures, however, disclosed the facts included

   in the disputed declarations. And it was not until November 17, 2021, long after the

   close of fact and expert discovery, that GoDaddy disclosed the disputed declarations.

   This violated the Court's scheduling order and GoDaddy's continuing disclosure

   obligations set out in Rule 26(e).

          GoDaddy’s attempts to justify this delay are unpersuasive. First, GoDaddy

   argues that the declarations are timely because they rely on evidence previously

   disclosed to Express Mobile. Although it is true that Silvas’s and Jarrett’s new

   testimony relies on evidence, such as source code, that was previously disclosed, the

   declarations still provide new facts and arguments derived from that evidence that

                                               16

                                           Appx044
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   cannot fairly be said to be restatements of that previously disclosed evidence.

          GoDaddy further argues that, even if the declarations were untimely, this delayed

   disclosure was substantially justified because of Express Mobile's actions. Specifically,

   GoDaddy contends that Express Mobile shifted infringement positions in its expert reply

   report and second amended infringement contentions. It contends that this change in

   positions was unforeseeable, so it could not have previously disclosed facts necessary

   to address the new position.

          The Court agrees that Express Mobile’s position in these later filings did differ

   from its position in its earlier expert reports. It appears that this shift in position was in

   response to the ruling in Shopify Inc. v. Express Mobile, Inc., No. 19-439-RGA, 2021

   WL 4288113 (D. Del. Sept. 21, 2021). Although Express Mobile’s expert discussed the

   instantiation theory in his opening report, his explanation was relatively cursory, and it

   was not until the reply expert report that any actual evidence was cited in support of this

   theory.

          This explanation does not get GoDaddy off the hook, however. The need to

   address Express Mobile’s new instantiation theory evidence is only a partial explanation

   for why GoDaddy proceeded with the declarations as it did. It explains why GoDaddy

   offered the new declarations but not why it waited until summary judgment to do so.

   Express Mobile’s second amended infringement contentions and expert reply report

   were disclosed on June 16, 2021 and October 1, 2021, respectively, well over one

   month before the end of expert discovery. GoDaddy thus had plenty of time to disclose

   these declarations or seek an extension of the discovery deadline. It did neither. For

   this reason, the Court finds that GoDaddy’s delayed disclosure of the Silvas and Jarrett



                                                 17

                                             Appx045
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   declarations was not substantially justified, and a sanction is warranted. 3

          Noncompliance with discovery deadlines does not automatically result in the

   striking of the untimely evidence. To determine whether an untimely declaration should

   be stricken, courts in the Third Circuit apply the above-listed Pennypack factors.

                  a.    Prejudice

          GoDaddy’s late disclosure of the Silvas and Jarret declarations caused prejudice

   to Express Mobile. Because the declarations were filed after the fact and expert

   discovery deadlines, Express Mobile was not able to depose the witnesses or conduct

   additional discovery to address the new testimony. The Court notes that Express

   Mobile asked to depose Silvas and Jarrett after the disclosure of their declarations, but

   GoDaddy refused. GoDaddy contends that Express Mobile was not prejudiced because

   it previously deposed the declarants. This argument is unpersuasive, however,

   because Express Mobile did not have the benefit of having the declarations prior to or

   during these depositions. At that time, Express Mobile did not know that the declarants

   would be used as support for the defendant’s non-infringement arguments and thus

   could not effectively question them on the issue.

          b.      Opportunity to cure and disruption to the trial schedule

          The trial is currently set for February 27, 2023, which gives the parties plenty of

   time to conduct additional discovery on the issue.

          c.      Explanation for failure to disclose

          GoDaddy’s explanation for its delayed disclosure is that Express Mobile changed



   3 Because the Court agrees that the declarations were not timely disclosed, it is

   unnecessary for it to analyze Express Mobile's second argument regarding whether the
   declarations contain expert testimony.
                                               18

                                            Appx046
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   its infringement position, creating the need for GoDaddy to respond with the disputed

   declarations. As previously explained, however, Express Mobile disclosed its new

   instantiation theory more than a month before the end of the discovery deadline.

   GoDaddy fails to explain why it waited until summary judgment to offer the evidence in

   question.

          d.      Willfulness or bad faith

          Aside from the violation itself, there is no evidence of willfulness or bad faith on

   the part of GoDaddy.

          e.      Importance of evidence

          This last factor is the most important in determining whether to strike untimely

   evidence. ZF Meritor, 696 F.3d at 299. The Court finds that the disputed declarations

   are critical to GoDaddy’s noninfringement contentions. Because Express Mobile did not

   fully flesh out its instantiation theory until its later disclosures, the Silvas and Jarrett

   declarations are the only evidence that directly addresses these new arguments.

                                           *       *       *

          Considering the factors together, the Court declines to strike the declarations.

   Although GoDaddy’s delayed disclosure resulted in prejudice to Express Mobile, this

   prejudice can be cured by allowing Express Mobile to depose the declarants on the

   points in their declarations. There is no evidence of bad faith, and the weightiest factor,

   the importance of the evidence, points in favor of keeping the declarations in. Instead of

   striking the evidence, the Court instead orders GoDaddy to make Silvas and Jarrett

   available for deposition within the next thirty days, with the depositions limited to 90

   minutes for each. GoDaddy will also be required to pay for three hours of Express



                                                  19

                                               Appx047
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   Mobile’s attorney’s fees, as well as the court reporter's appearance fees for the two

   depositions.

          2.      GoDaddy’s motion to strike

          In response to GoDaddy's summary judgment motion and accompanying

   declarations, Express Mobile filed a supplemental report by its expert witness Dr. Kevin

   Almeroth. GoDaddy seeks to strike this report, contending that it discloses yet another

   new theory of infringement. The Court agrees with GoDaddy that the supplemental

   report presents a new version of the instantiation theory that was not previously

   disclosed. After considering the Pennypack factors, however, it concludes that

   exclusion is not warranted.

                  a.    Prejudice

          GoDaddy is prejudiced by the late disclosure of a new theory of infringement

   because it was not able to address it with its own expert report and because it was not

   able to conduct additional discovery to respond to the point.

                  b.    Opportunity to cure and disruption to the trial schedule

          There is an opportunity to cure the prejudice before trial, which is scheduled for

   February 2023.

                  c.    Explanation for failure to disclose

          The Court finds Express Mobile's explanation for its late disclosure persuasive.

   Because GoDaddy filed the Silvas and Jarrett declarations during summary judgment,

   Express Mobile needed to submit the supplemental report to cure the prejudice caused

   by this late disclosure.




                                               20

                                           Appx048
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                 d.     Willfulness or bad faith

          The Court finds no evidence of willfulness or bad faith. It rejects GoDaddy's

   argument that the fact that Express Mobile is represented by competent counsel

   suggests willfulness. Just because a party is represented by competent counsel does

   not mean that a discovery violation is willful.

                 e.     Importance of evidence

          The parties agree that the evidence is important, but they disagree over the

   implication of this fact. Contrary to its statements in its other filings, GoDaddy now

   argues that the importance of a piece of evidence weighs in favor of exclusion.

   Compare dkt. no. 213 at 18 (stating that "[i]mportance here weighs against exclusion"),

   with dkt. no. 251 at 9 (arguing that Third Circuit precedent supports "excluding 'critical'

   evidence where disclosure deadlines have been flouted"). GoDaddy's new argument is

   unpersuasive. As previously stated, the law in the Third Circuit is that the importance of

   the evidence weighs against exclusion. See, e.g., ZF Meritor, 696 F.3d at 299. The

   importance of the report thus indicates that the Court should impose a remedy that

   addresses the prejudice without totally excluding the evidence.

                                          *      *      *

          Overall, the Court concludes that the factors weigh against striking the

   supplemental report. There is prejudice to GoDaddy, but this can be cured given the

   long amount of time before trial. Express Mobile's explanation for its failure to disclose

   is reasonable, and there is no evidence of bad faith. Lastly, the weightiest factor, the

   importance of the evidence, points in favor of keeping the report in. Instead of striking

   the report, the Court allows GoDaddy to depose Dr. Almeroth for no more than 90



                                                21

                                              Appx049
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   minutes on his new testimony. The parties are responsible for their own costs and fees,

   with Express Mobile covering Dr. Almeroth's expert fee relating to his appearance at the

   deposition (but not for preparation).

   C.     GoDaddy’s combined summary judgment/Daubert motion

          1.      Motion for summary judgment

          Summary judgment is appropriate if "the movant shows that there is no genuine

   dispute as to any material fact." Fed. R. Civ. P. 56(a). There is a genuine issue of

   material fact if "the evidence is such that a reasonable jury could return a verdict for the

   nonmoving party." Jutrowski v. Township of Riverdale, 904 F.3d 280, 288 (3d Cir.

   2018) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). In evaluating

   the summary judgment motion, courts must view all facts "in the light most favorable to

   the non-moving party, with all reasonable inferences drawn in that party's favor." Id.

   (citation omitted).

                  a.     Infringement of the '397 and '168 patents

          Claims 1, 2, 3, 11, and 37 of the '397 patent each require a "run time file," and

   claims 1, 2, and 3 of the '168 patent each require a "run time engine." According to this

   Court's claim constructions, a "run time engine" is a "run time file" that must meet two

   requirements: (1) it must be "downloaded or created when a browser is pointed to a

   web page or website" and (2) it must "read[] information from the database." Dkt. no.

   129 at 2. GoDaddy contends that it is entitled to summary judgment on the '397 and

   '168 patent claims because the accused products do not meet the "run time engine"

   limitations of these claims.

          Express Mobile contends that four categories of files in the accused products



                                                22

                                            Appx050
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   constitute run time engines: (1) preview render files; (2) DPS render files; (3)

   JavaScript sent to customers' browsers; and (4) PHP templates. Preview render files

   are files on the WSB server that are triggered when a GoDaddy customer presses the

   button to "preview" the website he is creating. DPS render files are files on GoDaddy's

   Dynamic Page Server (DPS) that handle dynamic content—for example, from Twitter or

   Yelp—that is embedded in a website. Category 3 includes the JavaScript in files sent to

   a visitor's browser to build the web display in the browser (a visitor is a person browsing

   the GoDaddy customer's published website). Lastly, PHP templates are files used to

   create themes for websites designed using the MWP.

          GoDaddy disputes that these four categories of files meet either requirement of a

   run time engine.

                        i.     Downloaded or created

          Express Mobile argues that the files in Categories 1, 2, and 4 meet the

   "downloaded or created" requirement because they are created at runtime. Specifically,

   it contends that, at runtime, an "instance" of the files is created in the RAM memory of

   GoDaddy's server from the static code files stored on GoDaddy's server disk and that

   this "instantiation" meets the "created" requirement. In support of its instantiation

   theory, Express Mobile cites testimony from its experts, documents, and source code.

          GoDaddy argues that Express Mobile's cited evidence is insufficient to support its

   instantiation theory. It contends that Express Mobile fails to cite evidence specific to its

   source code or products and instead cites evidence that talks only generally about

   instantiation. The Court agrees. Almeroth fails to identify any actual line of code that

   represents the "instantiated" version of the accused run time engine files. The other



                                                23

                                            Appx051
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   evidence that Express Mobile cites is either outdated, not specific to GoDaddy or the

   accused products, not specific to run time engine files, or a combination of the three.

          Although the files in Categories 1, 2, and 4 do not meet the "downloaded or

   created" requirement, the Court finds that those in Category 3 do. The parties agree

   that the files in Category 3 are downloaded from the Content Delivery Service (CDN) to

   the customer's browser. GoDaddy's only argument is that this does not meet the

   requirement because the code is not downloaded directly from the DPS database. But

   nowhere does GoDaddy point to language in the claim requiring the run time engine to

   be downloaded directly from its servers. In fact, the language of the claim states only

   that the run time engine must be downloaded to a visitor's browser when the browser

   requests a website. On this question, Express Mobile has adduced sufficient evidence

   to create a genuine factual dispute.

          GoDaddy also argues that the downloaded JavaScript code cannot constitute a

   run time engine because it also contains the "virtual machine commands." GoDaddy

   contends that Express Mobile's position here creates the same "tension" that the Court

   recognized in Express Mobile's position in Shopify. See Shopify, 2021 WL 4288113, at

   *9. Express Mobile disputes whether the JavaScript run time engine is the same file

   that contains the "virtual machine commands." It argues that the JavaScript run time

   engines, such as script.js, "are distinct JavaScript files that are downloaded to a visitor's

   browser and when executed in the browser's JavaScript engine generate virtual

   machine commands in the form of additional HTML, CSS, or JavaScript code that

   update the webpage display." Dkt. no. 191 at 7. This is supported by Dr. Almeroth's

   opening report, Almeroth Opening Report ¶¶ 345–46, and is sufficient to create a



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                                            Appx052
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   genuine factual dispute on the issue.

                        ii.    Reads information from the database

          The second requirement of a run time engine is that it "reads information from the

   database." Because the Court concludes that the files in Categories 1, 2, and 4 do not

   meet the first requirement of a run time engine, it need not determine if they meet the

   second requirement. With respect to Category 3, Express Mobile argues that the files

   "read information from a database by fetching information from the database over the

   network." Dkt. no. 191 at 10. It cites Dr. Almeroth's testimony identifying the function

   "fetch()" in GoDaddy's source code, which he contends causes information in the

   database to be downloaded to the browser at runtime. Almeroth Opening Report ¶¶

   344–46; Almeroth Reply Report ¶¶ 200, 220–21.

          GoDaddy argues that the fetch() function does not "read information from the

   database" because the files rely on several intermediary files to access the database

   rather than reading the database directly. The Court agrees. Express Mobile's position

   here is similar to its position in Shopify. There, Express Mobile conceded that the

   alleged run time engine did not read the database directly but rather "triggered the drop

   file to perform its data fetching function." See Shopify, 2021 WL 4288113, at *10.

   "Because Express Mobile agrees that the drop file is doing the actual reading and is

   separate from the claimed run time engine," the Court concluded, "Express Mobile has

   not shown that the accused Liquid template file is reading from the database." Id.

          The same logic applies here. Express Mobile provides no evidence that the files

   in Category 3 actually read the database. Instead, the evidence shows that these files

   interact only with the CDN and rely on other files to call upon the database. This is not



                                               25

                                           Appx053
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   enough. Any other interpretation would over-expand the requirement to encompass all

   of the numerous files in the "pipeline" of files. Dkt. no. 206 at 5. It would include the

   accused file, the file that the accused file invokes, the file that that file invokes, and so

   on.

          Lastly, Express Mobile attempts to argue that even if the accused run time

   engines do not literally read information from the database, it does the equivalent of

   reading information from the database. Not so. Under Federal Circuit precedent, there

   can be no infringement under the doctrine of equivalents if the "theory of equivalence

   would vitiate a claim limitation." Tronzo v. Biomet, Inc., 156 F.3d 1154, 1160 (Fed. Cir.

   1998). Here, Express Mobile's doctrine of equivalence argument vitiates the "reads

   from" requirement from the claim. Contrary to Express Mobile's contention, accessing a

   database by using an API or library is not the equivalent of reading a database. As

   GoDaddy's evidence demonstrates, the accused run time engines "do not read from or

   contain any references to the source of the data at all, whether through a database-

   access library or otherwise." Dkt. no. 163 at 16 (citing Jarrett Decl. ¶¶ 10–29; Silvas

   Decl. ¶¶ 14–17, 21–30, 34–40). And there is no support for the proposition that a file

   that is filled in by another program with information that comes from a database works in

   substantially the same way as a file that reads from a database. Express Mobile's

   theory seems to mimic its previously rejected claim construction argument that an

   accused run time engine need only "facilitate the retrieval of information" from the

   database instead of "read from" the database. Shopify, 2020 WL 3432531, at *3.

   Express Mobile cannot appropriately use the doctrine of equivalence to attempt to

   relitigate its unsuccessful claim construction positions. See Augme Techs., Inc. v.



                                                 26

                                             Appx054
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   Yahoo! Inc., 755 F.3d 1326, 1335 (Fed. Cir. 2014) ("The concept of equivalency cannot

   embrace a structure that is specifically excluded from the scope of the claims.") (citation

   omitted). For these reasons, the Court grants summary judgment in favor of GoDaddy

   with respect to infringement of the '397 and '168 patent claims.

                 b.     Infringement of the '755, '287, and '044 patents

          Each asserted independent claim in the '755, '287, and '044 patents requires the

   accused products to "produce a Player." As stated above, the Court has construed the

   term "Player" as "device-specific code which contains instructions of a device and which

   is separate from the Application." "Device-specific code," or "device-dependent code,"

   has been previously construed in this case to mean "code that is specific to the

   operating system, programming language, or platform of a device." Dkt. no. 129 at 1.

   Additionally, the accused Player must "receive[] the output symbolic name [generated

   by the web service] and corresponding one or more output values and provide[]

   instructions for a display of the device to present an output value in the defined UI [user

   interface] object." '755 patent, claim 1; '287 patent, claim 1; '044 patent, claim 1.

          Express Mobile contends that the accused products contain a "Javascript Player"

   that "spans multiple files . . . that work together to meet the claims as construed by the

   Court." Dkt. no. 191 at 15. GoDaddy makes two arguments in response: (1) the

   accused Javascript Player does not "receive[] the output symbolic name . . . to present

   an output value in the defined UI object" and (2) the output values are not displayed "via

   'device-dependent' code." Dkt. no. 163 at 22–23. Neither argument is persuasive.

          On the first point, GoDaddy contends that a Player must receive an output

   symbolic name and display that same output value to the end user. It concedes that the



                                                27

                                            Appx055
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   accused Player receives and displays output values, but it argues that the accused

   Player does not display the correct value because it is not the same value as the value

   received. But nothing in the language of the claim requires that the received and

   displayed output values be the same. See, e.g., '755 patent at 38:41–57. The claim

   states that the Player presents "an output value," not "the output value" or "said output

   value." The use of the indefinite article rather than these other alternatives indicates

   that the Player can display any output value. It is thus sufficient, as Express Mobile

   contends, that the output symbolic name results in a corresponding output value, even if

   the value is different.

          On the second point, GoDaddy argues that Express Mobile fails to identify any

   specific part of the JavaScript Player code that constitutes device-dependent code that

   results in output values being displayed to the end user. It does not dispute that the

   JavaScript Player code generally contains device-dependent code, but it argues that

   such code spans across several files and that Express Mobile does not show that the

   portions of the code that are device dependent are responsible for displaying output

   values to the end user.

          Again, this issue was addressed in Shopify, and the Court adopts the same

   reasoning as in that case. See Shopify, 2021 WL 4288113, at *17. Express Mobile has

   provided sufficient evidence to create a genuine factual dispute on the issue. It points

   to several files that perform output display functionality that work with other files that

   contain conditional branching. See dkt. no. 191 (discussing the www-embed-player.js

   and jquery.min.js files). For these reasons, summary judgment regarding infringement

   on these claims is inappropriate.



                                                 28

                                             Appx056
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                 c.      Willfulness

          Although patent infringement is a strict liability offense, enhanced damages are

   available if the defendant's infringement was "willful." See XY, LLC v. Trans Ova

   Genetics, L.C., 890 F.3d 1282, 1286 (Fed. Cir. 2018). A plaintiff shows willful

   infringement if it meets the following elements: "(1) [it] knew of the patent-in-suit; (2)

   after acquiring that knowledge, it infringed the patent; and (3) in doing so, it knew, or

   should have known, that its conduct amounted to infringement of the patent." Välinge

   Innovation AB v. Halstead New Eng. Corp., No. 16-1082-LPS-CJB, 2018 WL 2411218,

   at *13 (D. Del. May 29, 2018). GoDaddy contends that Express Mobile cannot meet

   these requirements.

          In support of its contention that GoDaddy willfully infringed, Express Mobile

   provides two categories of evidence: (1) testimony that someone representing

   GoDaddy admitted that GoDaddy infringed the asserted patents and (2) a string of e-

   mails sent in 2013 and a 2018 letter from Express Mobile to GoDaddy regarding the

   '397 and '168 patents. Regarding the first category, GoDaddy contends that the

   testimony alleging that a GoDaddy representative admitted infringement is inadmissible

   as hearsay. The Court agrees. Contrary to Express Mobile's contentions, the testimony

   does not meet the requirements of Federal Rule of Evidence 801(d)(2)(D) for agent-

   admissions. The deponent was unable to provide any information about the declarant.

   He merely states that the admission was made by someone who represented GoDaddy

   for a possible purchase acquisition and that the declarant might have been the CTO.

   Without more, this is not sufficient information to establish that the testimony falls within

   the Rule. See Carden v. Westinghouse Elec. Corp., 850 F.2d 996, 1001–02 (3d Cir.



                                                 29

                                             Appx057
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   1988).

            The cited e-mails and letter, however, are admissible and sufficient to create a

   genuine factual dispute with respect to the '397 and '168 patents. 4 The e-mail, sent to

   GoDaddy in 2013, notified GoDaddy of the asserted patents and contained claim charts

   of WordPress. Although the e-mail did not explicitly accuse GoDaddy of infringement,

   such an inference could be inferred from the exchange. Additionally, in 2018, Express

   Mobile sent GoDaddy a letter in which it stated that it "believed that GoDaddy, Inc. has

   infringed and is infringing one or more of the Express Mobile patents through its

   business of building web sites and web pages for customers." Dkt. no. 162-17 at ECF

   p. 3 of 3. It again informed GoDaddy of the '397 and '168 patents and referenced the

   2013 e-mails. Id. Considered together, these communications are sufficient to create a

   genuine factual dispute concerning willful infringement.

                  d.     Direct infringement

            Direct infringement occurs where all steps of a claimed method or all elements of

   a claimed system are performed by or attributable to a single entity. Akamai Techs.,

   Inc. v. Limelight Networks, Inc., 797 F.3d 1020, 1022–23 (Fed. Cir. 2015); Centillion

   Data Sys., LLC v. Qwest Communs. Int'l, 631 F.3d 1279, 1284 (Fed. Cir. 2011). For

   method claims, a single entity can be held liable for the infringement even where more

   than one actor is involved in practicing the steps if that "entity directs or controls others'

   performance." Akamai, 797 F.3d at 1022. For system claims, if the asserted claims

   encompass user conduct, then there is no direct infringement of the claims. See



   4 Express Mobile does not contend—and the evidence does not support—that this

   evidence informed GoDaddy of the possibility that it infringed the '755, '287, or '044
   patents.
                                                 30

                                             Appx058
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   Centillion, 631 F.3d at 1284.

          GoDaddy contends that the asserted claims encompass user conduct. If that is

   the case, it contends, then under Centillion the Court should grant summary judgment in

   its favor on the direct infringement system claims. Additionally, if the asserted claims

   encompass user conduct, GoDaddy reasons, the Court should grant summary judgment

   in its favor on the direct infringement method claims because Express Mobile cannot

   meet its burden under Akamai to show that GoDaddy "directs or controls" the conduct of

   the customers.

          The Court disagrees that the claims encompass user conduct. The claims are

   structured to focus on the actions of the program provider, not the customer. See

   Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1309 (Fed. Cir. 2011) ("A patentee

   can usually structure a claim to capture infringement by a single party, by focusing on

   one entity."). Although the claims contain descriptive language involving the end user,

   user conduct is not necessary for infringement. Rather, the user language merely

   describes the components of the patented product. This case is thus unlike Centillion,

   in which the plaintiff conceded that part of the claim included a "'front-end' system

   maintained by an end user." Centillion, 631 F.3d at 1281.

          Because the claims do not encompass user conduct, Centillion does not control,

   and the divided infringement test outlined in Akami does not apply. These two

   contentions underlie the entirety of GoDaddy's direct infringement summary judgment

   argument. Accordingly, GoDaddy is not entitled to summary judgment on Express

   Mobile's direct infringement claims.




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                 e.     Indirect infringement

          "To prevail under a theory of indirect infringement, [the plaintiff] must first prove

   that the defendants' actions led to direct infringement of the [asserted] Patent."

   Dynacore Holdings Corp. v. U.S. Philips Corp., 363 F.3d 1263, 1272 (Fed. Cir. 2004).

   35 U.S.C. 271 outlines two methods by which a defendant can indirectly infringe on a

   patent: (1) induced infringement and (2) contributory infringement. Id. at §271(b)–(c).

                        i.     Induced infringement

          Induced infringement under 35 U.S.C. § 271(b) requires that the plaintiff show

   "(1) direct infringement of the asserted patents; (2) [] the defendant knew of the patent;

   (3) [] the defendant knew or should have known that the induced acts constitute patent

   infringement, and (4) [] the defendant possessed specific intent to encourage another's

   infringement." Sanofi, LLC v. Watson Labs. Inc., 875 F.3d 636, 643–44 (Fed. Cir.

   2017). Specific intent means an "intent to encourage infringement." Takeda Pharms. v.

   West-Ward Pharm. Corp., 785 F.3d 625, 631 (Fed. Cir. 2015). GoDaddy contends that

   Express Mobile has failed to show that there is a genuine factual dispute on each of the

   above-listed elements. The Court disagrees.

          On the first element—proof of underlying direct infringement—GoDaddy simply

   references the arguments it makes with respect to the direct infringement claims. For

   the reasons explained above, the Court overrules these arguments.

          On the second and third elements—the knowledge elements—Express Mobile

   points to the e-mails and letters it sent to GoDaddy in 2013 and 2018. As discussed in

   the section concerning willfulness, these letters show a genuine dispute regarding

   whether GoDaddy (1) knew of the patents and (2) knew or should have known that the



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   induced acts constituted patent infringement. The 2013 e-mails informed GoDaddy of

   the existence of the asserted patents and contained claim charts related to WordPress,

   and the 2018 letter expressly accused GoDaddy of infringement.

          On the last element, specific intent, the Court likewise finds that there is a

   genuine factual dispute. Express Mobile cites numerous documents and guides created

   and distributed by GoDaddy to its customers instructing them on how to use the

   accused products. These guides suggest that GoDaddy wanted its customers to use

   the accused products, including in ways that would infringe upon the asserted patents.

   A reasonable jury could thus conclude that GoDaddy possessed the specific intent for

   its customers to infringe the asserted patents.

                        ii.    Contributory infringement

          "To establish contributory infringement, the patent owner must show the following

   elements . . . 1) [] there is direct infringement, 2) [] the accused infringer had knowledge

   of the patent, 3) [] the component has no substantial noninfringing uses, and 4) [] the

   component is a material part of the invention." Fujitsu Ltd. v. Netgear Inc., 620 F.3d

   1321, 1326 (Fed. Cir. 2010). The first two elements are identical to the first two

   elements of induced infringement. For the reasons provided above, the Court finds that

   a reasonable jury could find in favor of Express Mobile on these issues. GoDaddy does

   not dispute that there are genuine factual disputes regarding the last two elements.

   Accordingly, GoDaddy is not entitled to summary judgment.

          2.      Daubert motion

          GoDaddy requests that the Court exclude certain testimony from Dr. Kevin

   Almeroth concerning the technical importance of the claimed inventions and from Walter



                                                33

                                            Appx061
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   Bratic concerning damages. The Court takes each in turn.

                a.     Dr. Almeroth on the technical importance of the claimed

                inventions

         GoDaddy contends that the Court should exclude Dr. Almeroth's testimony

   regarding the technical importance of the claimed inventions for three reasons. None

   are persuasive. First, GoDaddy contends that the fact that Dr. Almeroth fails to use its

   non-infringing WSB V6 product as a baseline for comparison makes his opinions

   unreliable. Express Mobile disputes that WSB V6 is an acceptable non-infringing

   alternative that must be considered. The Court agrees. There are significant

   differences between the two products, meaning that it was not necessary for Dr.

   Almeroth to consider WSB V6. For example, WSB V6 is no longer being offered to new

   customers, and GoDaddy has made efforts to move customers off of the product.

   Additionally, testimony from Dr. Almeroth explains that WSB V6 lacks certain critical

   features of the accused product, including a WYSIWYG (what-you-see-is-what-you-get)

   website designer. Almeroth Opening Report ¶¶ 810–11; Almeroth Reply Report ¶ 526.

         GoDaddy's second argument is that Dr. Almeroth's opinions are unreliable

   because he fails to consider GoDaddy's customer survey data. This is inaccurate. Dr.

   Almeroth states in his reply report that he "considered surveys and marketing materials

   to the extent they exist." Almeroth Reply Report ¶ 104. He also considered and cited

   internal defendant documents that evaluated customer preferences. Almeroth Opening

   Report ¶¶ 102–09.

         Finally, GoDaddy argues that Dr. Almeroth fails to provide quantitative or

   mathematical support for his determinations. Again, this argument holds no water. Dr.



                                              34

                                          Appx062
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   Almeroth thoroughly explains the basis for his opinion: he states that he determined the

   relative weights of the features based on how technical the feature is, whether any

   technical aspects are standard or conventional, and the extent to which technical

   difficulty and/or creativity is involved. Almeroth Opening ¶¶ 825–34. For these reasons,

   the Court declines to exclude Dr. Almeroth's testimony concerning the technical

   importance of the claimed inventions.

                 b.     Bratic on damages

          GoDaddy asks the Court to exclude Walter Bratic's opinions concerning

   damages for three reasons. First, GoDaddy contends that Bratic improperly uses

   Almeroth’s technical weightings as the only basis for his royalty base calculations. This

   contention, however, is directly contradicted by Bratic's report, in which states that he

   looked at "the totality of evidence, including indicators of demand for the Website

   Builder as reflected in GoDaddy’s market surveys." Bratic Report ¶ 184.

          Second, GoDaddy contends that Bratic erred by using subscription count data

   rather than revenue data in his royalty calculations. Although it may be that GoDaddy's

   suggested calculation method is superior to Bratic's, this is not a basis for exclusion.

   GoDaddy presents numerous reasons to prefer calculations based on revenue data

   versus calculations based on subscription count data, but ultimately none suggest that a

   royalty calculation based on subscription count is so unreliable that it should be

   excluded. At trial, GoDaddy will have the opportunity to make its arguments to the jury,

   but for now, there is no basis to exclude the evidence.

          Third, GoDaddy contends that the Court must exclude Bratic's opinions because

   his calculated royalty would be financially catastrophic. The Court disagrees. The



                                               35

                                           Appx063
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   parties dispute GoDaddy's worldwide net revenue for the accused products and

   accordingly dispute whether Bratic's calculation royalty would be an unreasonable

   percentage of this amount. It is up to the jury to determine between these competing

   positions.

   D.     Express Mobile’s combined summary judgment/Daubert motion

          1.       Motion for summary judgment

          Express Mobile moves for summary judgment relating to certain invalidity and

   equitable defenses.

                   a.     Patent eligibility

          Express Mobile seeks summary judgment regarding whether the asserted

   patents are patent-eligible under the Alice/Mayo two-step framework. See Alice Corp.

   Pty. Ltd. v. CLS Bank Int'l, 573 U.S. 208 (2014); Mayo Collaborative Servs. v.

   Prometheus Labs., Inc., 566 U.S. 66 (2012). As an initial matter, GoDaddy does not

   contest eligibility regarding the '397 and '168 patents, so the Court grants Express

   Mobile's motion with respect to these patents. GoDaddy does, however, contest the

   eligibility of the '755, '287, and '044 patents.

          The first step of the Alice/Mayo two-step framework asks whether the asserted

   patent is directed to abstract ideas. Alice, 573 U.S. at 217. If it is not directed to

   abstract ideas, then the patent is valid. Id. If the patent is directed to abstract ideas, the

   court must ask if the patent claims inventive concepts. Id. If so, the patent is valid. Id.

   If not, the patent is invalid. Id.

                          i.     Step one

          Express Mobile contends the '755, '287, and '044 patents are not directed to



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   abstract ideas because they are directed to specific computing architecture that allows

   internet-connected devices to easily connect to and display the content of web services

   available on the internet. GoDaddy argues that the asserted patents are directed to the

   abstract idea of separating code into a device-independent aspect and a device-

   dependent aspect. The Court finds that the asserted patents are not directed to an

   abstract idea and thus that they are patent-eligible.

          GoDaddy's interpretation takes much too simplistic a view of the asserted claims.

   It asserts that the patents are directed to an abstract idea because the segregation of

   device-independent and device-dependent code is the only new feature disclosed in the

   patents. But the first step of the Alice/Mayo framework does not ask what inventive

   concepts the patent claims—that inquiry is reserved for step two. Id. Instead, step one

   requires the court to look at "the claims as an ordered combination, without ignoring the

   requirements of the individual steps." McRO, Inc. v. Bandai Namco Games Am. Inc.,

   837 F.3d 1299, 1313 (Fed. Cir. 2016). GoDaddy ignores certain parts of the claims

   because it contends they are "well known, routine, and conventional." Dkt. no. 189 at

   30. This is not the proper analysis. Looking at the claims as an ordered combination,

   the Court finds that the patents are directed to specific computing architecture and not

   an abstract idea. It thus grants summary judgment in favor of Express Mobile on the

   issue of patent eligibility.

                          ii.     Step two

          Even if the '755, '287, and '044 patents were directed to an abstract idea, the

   Court would still grant summary judgment in favor of Express Mobile on patent eligibility

   because the patents claim inventive concepts. Specifically, the Court finds that these



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   patents claim a particular architecture that allows for the efficient display of web service

   content on a device platform.

          GoDaddy argues that the patents do not claim inventive concepts because they

   merely claim implementation of an abstract idea (namely, separating code into a device-

   independent aspect and a device-dependent aspect) using generic computer

   components. In support of its contention, GoDaddy separates all of the individual

   aspects of the claim and concludes that all but one aspect was previously known in the

   art. The problem with this divide-and-conquer approach, however, is the patents'

   inventive concept is not each aspect of the claim individually. Rather, the inventive

   concept is the particular architecture of combining these components in a specific way

   to create an enhanced benefit. Summary judgment in favor of Express Mobile on patent

   eligibility is therefore warranted.

                         iii.   Utility argument

          Lastly, Express Mobile seeks summary judgment on GoDaddy's argument that

   certain claims of the '755 patent "fail the requirements of 35 U.S.C. § 101 because the

   term 'where said Application is a device-dependent code' lacks utility." Dkt. no. 162, ex.

   6 at 35. GoDaddy does not address this argument in its briefing and thus has waived or

   forfeited the point. See Freeman v. Pittsburgh Glass Works, LLC, 709 F.3d 240, 250

   (3d Cir. 2013). The Court accordingly grants summary judgment in favor of Express

   Mobile on the § 101 defense.

                 b.      Definiteness

          Section 112 requires that "a patent's claims, viewed in light of the specification

   and prosecution history, inform those skilled in the art about the scope of the invention



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                                            Appx066
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   with reasonable certainty." Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 910

   (2014). GoDaddy contends that certain of the asserted claims are indefinite in light of

   the language of the claims. The Court disagrees and grants summary judgment in favor

   of Express Mobile on this defense.

                        i.     "Data format type"

          GoDaddy asserted in its invalidity contentions that the claims of the '287 and '044

   patents are indefinite because of the language "data format type of the symbolic name."

   Dkt. no. 162, ex. 6 at 38, 43. In the summary judgment briefing, however, GoDaddy

   acknowledged that the Court in Shopify already decided the issue in favor of Express

   Mobile, and it declined to provide any new arguments in support of its position. See

   Shopify, 2021 WL 4288113, at *26. The Court thus grants summary judgment in favor

   of Express Mobile on the defense of indefiniteness regarding these patents.

                        ii.    "Data format class type"

          GoDaddy also asserts that the claim language "data format class type" that

   corresponds to a "subclass of User Interface (UI) objects" is indefinite. Dkt. no. 162, ex.

   6 at 38, 43. As with "data format type," however, GoDaddy declined to provide any new

   arguments in its summary judgment briefing and instead incorporated Shopify's

   arguments to preserve the record. Accordingly, summary judgment in favor of Express

   Mobile on indefiniteness is granted for the same reasons given in Shopify. See Shopify,

   2021 WL 4288113, at *26.

                        iii.   "Utilizes information"

          GoDaddy also asserts that the language of the '044 patent stating that the Player

   "utilized information stored in said database to generate for the display of at least a



                                                39

                                            Appx067
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   portion of said one or more web pages" is indefinite. Dkt. no. 162, ex. 6 at 42. Again,

   GoDaddy declined to make any new arguments in its summary judgment briefs in this

   case. Without additional argumentation, the Court finds it appropriate to decide the

   issue as Judge Andrews did in Shopify. See Shopify, 2021 WL 4288113, at *27.

   Summary judgment is granted in favor of Express Mobile.

                        iv.     "Symbolic names required for evoking one or more web

                        components each related to a set of inputs and outputs of a

                        web service obtainable over a network"

          With respect to the '755 patent, GoDaddy contends that the claim term "symbolic

   names required for evoking one or more web components each related to a set of

   inputs and outputs of a web service obtainable over a network" is indefinite. Dkt. no.

   162, ex. 6 at 33–34. Essentially, GoDaddy's argument is that "symbolic names" is

   unclear because the parties disagree over the scope of the claim: GoDaddy contends

   that the symbolic names relate only to UI components, whereas Express Mobile

   contends that symbolic names relate to web components generally. But GoDaddy

   provides no expert support for its interpretation. In its briefing, it merely cites to experts

   that criticize the terminology used by Express Mobile's expert. These experts, however,

   do not analyze the specific claim language or support GoDaddy's reading that "symbolic

   names" relate only to UI components. This is not enough to show a genuine dispute

   regarding whether a person of ordinary skill in the field would be able to understand

   what is claimed. Summary judgment in favor of Express Mobile is warranted.

                        v.      "UI Object corresponds to"

          GoDaddy contends that certain claims of the '755 and '287 patents are indefinite



                                                 40

                                             Appx068
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   based on the language "UI object corresponds to [the/a] web component included in

   said registry selected from the group consisting of an input of the web service and an

   output of the web service." Id. at 34, 38. Express Mobile disputes that the term is

   unintelligible and states that a person of ordinary skill in the field "would understand that

   this claim term . . . simply refers to UI objects on a display (such as text form fields,

   buttons, YouTube video controls, maps, etc.) that correspond to web components that

   relate to an input or output of a web service (such as a YouTube or Google Maps web

   service)." Dkt. no. 158 at 20. Again, GoDaddy's only support for its argument is its

   experts' testimony criticizing the terminology used by Express Mobile's expert. For the

   reasons given above, this is insufficient to create a genuine factual dispute, and thus the

   Court grants summary judgment in favor of Express Mobile.

                        vi.     "Authoring tool configured to"

          GoDaddy contends that the phrase "authoring tool configured to" in the '287

   patent is a nonce word that is subject to 35 U.S.C. § 112, ¶ 6. Dkt. no. 162, ex. 6 at 38–

   39. The Court disagrees. When a claim does not use the word "means," there is a

   presumption that the claim language does not invoke § 112, ¶ 6. Williamson, 792 F.3d

   at 1348. Only where the term does not "have a sufficiently definite meaning as the

   name for structure" is this presumption overcome. Id. This is not the case here.

   "Authoring tool" was previously construed by the Court to mean "a system, with a

   graphical interface, for generating code to display content on a device screen." Dkt. no.

   129 at 1. Contrary to GoDaddy's contention, the Court's construction references a

   sufficiently specific structure, so § 112, ¶ 6 does not apply.




                                                 41

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                        vii.   "Said code"

          GoDaddy's last argument is that claim 11 of the '287 patent is indefinite because

   the term "said code" fails to inform a person skilled in the field about the scope of the

   invention. Dkt. no. 162, ex. 6 at 39. Specifically, it contends that "said code" is unclear

   because it could refer to either the Application code, the Player code, or both. The

   Court disagrees. The most natural reading of the term "said code," in context, is that

   the term refers to both the Application and the Player code. This is supported by

   Express Mobile's experts. See, e.g., Almeroth Opening Report ¶ 692. GoDaddy, on the

   other hand, fails to cite any expert testimony supporting its contention that the term is

   unclear. For these reasons, the Court grants summary judgment in favor of Express

   Mobile on the defense of indefiniteness on this claim.

                 a.     Equitable defenses

          Express Mobile seeks summary judgment on several equitable affirmative

   defenses that GoDaddy asserts in its answer to the amended complaint.

                        i.     Laches, patent exhaustion, express license, and

                 disclaimer

          Express Mobile seeks summary judgment on GoDaddy's laches, patent

   exhaustion, express license, and disclaimer defenses. GoDaddy does not address

   these arguments in its response briefing and thus waives its response. See Freeman,

   LLC, 709 F.3d at 250. Express Mobile is entitled to summary judgment on these

   defenses.

                        ii.    Equitable estoppel, implied license, and acquiescence

          Express Mobile also seeks summary judgment on GoDaddy's equitable estoppel,



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                                            Appx070
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   implied license, and acquiescence defenses. As an initial matter, the Court grants

   summary judgment in favor of Express Mobile on the implied license defense.

   GoDaddy fails to make any argument specifically addressing this defense and instead

   relies on a single sentence in a footnote stating that summary judgment on implied

   license is improper where summary judgment on equitable estoppel is improper. See

   dkt. no. 189 at 6 n. 3. Given this lack of development, the Court finds that the argument

   is waived. See N.J. Media Grp. Inc. v. United States, 836 F.3d 421, 436 n. 20 (3d Cir.

   2016) (determining that an argument was waived based on its “utterly undeveloped

   character”).

          Under Federal Circuit precedent, a party raising a defense of equitable estoppel

   must prove the following three elements:

          (1) The patentee, who usually must have knowledge of the true facts,
          communicates something in a misleading way, either by words, conduct or
          silence. (2) The alleged infringer relies upon that communication. (3) And
          the accused infringer would be harmed materially if the patentee is later
          permitted to assert any claim inconsistent with his earlier conduct.

   Vanderlande Indus. Nederland BV v. I.T.C., 366 F.3d 1311, 1324 (Fed. Cir. 2004)

   (citation omitted). The Court finds that there are genuine disputes of fact regarding

   each element precluding summary judgment.

          On the first element, GoDaddy presents evidence relating to the 2013

   discussions between the parties regarding the potential sale of the '397 and '168

   patents. For example, when GoDaddy asked why Express Mobile thought it would be

   interested in the patents, Express Mobile responded that it thought GoDaddy would be

   interested because of the "general area in which the patents apply." Dkt. no. 165-10 at

   XMO_GD00129671. There was no suggestion that GoDaddy might be interested



                                              43

                                           Appx071
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   because its products infringed Express Mobile's patents. See generally id. Additionally,

   the claim charts that Express Mobile sent to GoDaddy involved the WordPress product,

   not either of the accused products in this case. Id. at XMO_GD00129668. And, even if

   GoDaddy should have suspected that Express Mobile believed that it had a claim for

   infringement, Express Mobile's delay in suing for five and one-half years reasonably

   suggested to GoDaddy that Express Mobile was not going to sue.

         On the second element, GoDaddy has shown that there is a genuine factual

   dispute regarding whether it relied on Express Mobile's conduct. A reasonable jury

   could conclude that, had GoDaddy known that it faced legal liability, it would not have

   continued to pour money and time into the accused products without seeking a license.

   GoDaddy provides evidence that it sought licenses in other contexts, which supports its

   contention that it would have sought a license here.

         The last element is whether the alleged infringer would be materially prejudiced if

   the patentee was allowed to proceed with its claim. Again, there is a genuine dispute of

   fact on this issue. GoDaddy presents evidence that it invested significant resources into

   the development of the WSB and MWP products, which is sufficient to permit a

   reasonable factfinder to find prejudice. For these reasons, Express Mobile is not

   entitled to summary judgment on GoDaddy's equitable estoppel defense.

         Next, the Court concludes that Express Mobile is entitled to summary judgment

   on the acquiescence defense because it is duplicative of the equitable estoppel

   defense. See State Contracting & Eng'g Corp. v. Condotte Am., Inc., 346 F.3d 1057,

   1065 (Fed. Cir. 2003) (noting that the trial judge dismissed the equitable estoppel

   defense because "he deemed that defense duplicative of the acquiescence and consent



                                              44

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   defense"). Acquiescence is a more general defense that includes defenses like

   equitable estoppel. See Applications in Internet Time, LLC v. RPX Corp., 897 F.3d

   1336, 1357 (Fed. Cir. 2018) ("Although acquiescence furnishes the most apt single label

   for these reasons, several distinctive principles can be identified [including equitable

   estoppel].") (internal citation and quotation marks omitted). Because the Court declines

   to grant summary judgment on the equitable estoppel defense, the acquiescence

   defense is superfluous.

                         iii.   Unclean hands

          An unclean hands defense requires a showing of five elements: "(1) a party

   seeking affirmative relief (2) is guilty of conduct involving fraud, deceit,

   unconscionability, or bad faith (3) directly related to the matter in issue (4) that injures

   the other party (5) and affects the balance of equities between the litigants." Sun

   Microsystems, Inc. v. Versata Enters., 630 F. Supp. 2d 395, 410 (D. Del. 2009). The

   parties dispute whether the second element requires a showing that the alleged conduct

   is "unconscionable" or that it would "shock the moral sensibilities of the judge." See

   Honeywell Int'l, Inc. v. Universal Avionics Sys. Corp., 498 F. Supp. 2d 305, 310 (D. Del.

   2005). The Court need not address this dispute, however, because it concludes that,

   even under GoDaddy's interpretation, no reasonable jury could find that Express Mobile

   acted with fraud, deceit, unconscionability, or bad faith.

          According to GoDaddy, Express Mobile acted with unclean hands because it

   intentionally misled GoDaddy into thinking that it was not going to sue for patent

   infringement. GoDaddy argues that Express Mobile delayed suing GoDaddy to

   encourage it to invest more money into its products and continue to grow its business,



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   thus increasing any potential award from litigation or settlement. The record does not

   support GoDaddy's assertions, however. Although it is true that Express Mobile waited

   to sue GoDaddy, there is no evidence suggesting that its motivation for waiting was to

   increase its potential recovery. The evidence GoDaddy cites suggests that Express

   Mobile had targeted GoDaddy for litigation in 2014 but needed to delay suit in order to

   organize its litigation strategy, seek funding, and retain counsel. Without more, it would

   be unreasonable for a jury to conclude that Express Mobile acted with fraud, deceit,

   unconscionability, or bad faith. For these reasons, the Court grants summary judgment

   in favor of Express Mobile on the unclean hands defense.

         2.      Daubert motion

         Express Mobile contends that certain of David Perry’s damages opinions should

   be excluded. First, Express Mobile argues that certain of Perry's opinions should be

   excluded because they are based on false circumstances that do not involve a willing

   licensor and licensee. Second, Express Mobile argues that certain of Perry's opinions

   rely on non-existent or misleading transactions. Lastly, Express Mobile argues that

   certain of Perry's opinions that rely on certain settlement agreements should be

   excluded. The Court disagrees with the first of these contentions but agrees with the

   other two.

                 a.    False circumstances

         Express Mobile argues that certain of Perry's opinions should be excluded

   because they are based on three false circumstances that do not involve a willing

   licensor and willing licensee: (1) the GE agreement; (2) the RPX offer; and (3) the

   gross revenues of unlicensed companies.



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                         i.     GE Agreement

          Express Mobile was represented by Green Espel for the patent auction.

   According to Steve Rempell, Express Mobile's CEO, under the agreement between

   Express Mobile and Green Espel (the "GE agreement"), "Express Mobile could walk

   away from any offer less than 5 million." Dkt. no. 190-17 at 286:12-14. GoDaddy

   contends that this means that Express Mobile was bound to accept any offer at or

   above $5 million, and some of Perry's damages opinions are based on this assumption.

   Express Mobile disputes that Rempell's testimony indicates that Express Mobile was

   required to accept an offer at or above $5 million. Accordingly, it contends that the parts

   of Perry's testimony that relies on this "false circumstance" are unreliable and should be

   excluded.

          The Court finds that the disputed testimony is ambiguous. Although Rempell

   stated that the GE Agreement authorized Express Mobile to walk away from any offer

   less than $5 million, he does not, as GoDaddy contends, address whether Express

   Mobile was obligated to accept an offer at or above $5 million. At the same time,

   Rempell does not state, as Express Mobile suggests, that $5 million was the floor of

   what Express Mobile would have accepted.

          Because the evidence is open to interpretation, both parties' positions are

   supportable, and Perry’s calculations are not automatically unreliable for having

   interpreted the GE Agreement in the way that he did. At trial, Express Mobile will have

   the opportunity to present its interpretation to the jury, and the jury will be able to

   determine whether Perry's opinions are credible in light of the assumptions on which

   they are based.



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                                             Appx075
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          Express Mobile makes one final argument with respect to the GE Agreement: it

   argues that "Mr. Perry's opinions as the Web Components should be excluded for the

   additional reason that those patents had not yet issued at the time of the patent

   auction." Dkt. no. 158 at 35 n. 8. GoDaddy does not address this argument, and the

   Court finds it persuasive. Any opinion by Perry regarding the Web Component Patents

   based on the GE Agreement is excluded.

                        ii.    RPX Offer

          RPX is a patent aggregator that buys patents as a defensive measure to protect

   its member organizations from suit. During the patent negotiations, RPX invited

   Express Mobile to make an offer at $3.5 million for the Web Design Patents and cross-

   licenses. Some of Perry's opinions are based on this offer (to make an offer).

          Express Mobile argues that it was improper for Perry to consider the RPX offer

   because it does not constitute an agreement and as such does not reflect an agreement

   between a willing licensor and willing licensee. Additionally, Express Mobile

   emphasizes that the offer was not just for the Web Design Patents: RPX suggested

   that it would only agree to a $3.5 million offer if cross-licenses were included. Thus,

   Express Mobile contends, the RPX offer cannot be reliably used to determine the value

   of the Web Design Patents alone.

          The Court overrules this argument. Even if an offer was never made and the

   agreement never finalized, the invitation to make an offer provides relevant information

   regarding the perceived value of the patents in question. Specifically, it suggests that

   the maximum value of the accused patents (as estimated by a third-party buyer) is

   around $3.5 million. Express Mobile's argument regarding the cross-licenses is similarly



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   not a reason to exclude Perry's testimony. These arguments go to the weight of this

   evidence, not its admissibility. At trial, Express Mobile may attempt to show that the

   RPX Offer should not be used to calculate a hypothetical license agreement between

   itself and GoDaddy. At this stage, however, there is no proper basis for the Court to

   exclude the evidence.

                        iii.   Gross revenues of unlicensed companies

          Express Mobile also argues that some of Perry's opinions should be excluded

   because they rely on the gross revenues of unlicensed companies and that this does

   not provide a value for the patented technology. GoDaddy contends that Perry relies on

   gross revenue, not to estimate the value of the patented technology, but instead to

   compare the relative sizes of different companies in accordance with Express Mobile's

   licensing program. Express Mobile's licensing program uses the comparative sizes of

   companies (based on total annual revenues) to determine how much each company

   should pay to license the patents.

          Express Mobile fails to address GoDaddy's argument, and the Court finds it a

   persuasive one. Because Perry is not using the gross revenues to directly calculate the

   value of a hypothetical license, it is irrelevant whether that gross revenue accounts for

   all the revenue derived from the patented technology. For this reason, the Court

   declines to exclude Perry's opinions on this basis.

                 b.     Non-existent or misleading transactions

          Express Mobile contends that certain of Perry's opinions that rely on non-existent

   or misleading transactions should be excluded. The Court agrees.




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                       i.     Bankruptcy filing evidence

         Perry discusses two pieces of evidence from Rempell’s bankruptcy. The first is

   an e-mail from Rempell's attorney stating that his Express Mobile stock was probably

   worthless. The second is a bankruptcy filing stating that Rempell’s sixty-five percent

   stake in Express Mobile was worth $6,852, thus suggesting an overall value of $10,541.

         Express Mobile contends that the bankruptcy evidence is not relevant because

   the value of the Express Mobile stock did not include the value of the patents. This is

   supported by Rempell’s deposition testimony, see dkt. no. 162-28 at 313-316, and

   GoDaddy does not address this point. The Court thus excludes Perry's opinions that

   are based on this evidence.

                       ii.    CY Digital license agreement

         Perry also considers an agreement between Express Mobile and CY Digital in his

   opinions. Express Mobile argues that Perry's reliance on the agreement is improper

   because the agreement was an agreement to invest in CY Digital, not a licensing

   agreement as GoDaddy so contends. Express Mobile concedes that it and CY Digital

   discussed the possibility of executing a licensing agreement, but that agreement was

   never finalized. As such, Express Mobile argues that the draft agreement cannot be the

   basis for Perry’s damages opinions.

         The Court agrees. Nothing in the record supports the existence of a licensing

   agreement. GoDaddy cites to language in a draft document, but in the final draft, that

   language was removed. Dkt. no. 162-30 at 145–47. Even Perry himself acknowledges

   that the draft license agreement was never executed: "CY Digital prepared a document

   marked draft stating that it had been granted rights to use the Patents-In-Suit. Express



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   Mobile states that the agreement with CY Digital was terminated on November 11,

   2019." Aug. 31, 2021 Perry Report at 30–31. Without a finalized agreement, it is

   difficult to draw meaning from the terms of the draft agreement. There is no evidence

   that the draft agreement actually represented either party's perceived value of a

   licensing agreement. In particular, it is unclear from the record whether either party

   offered the terms in the draft agreement to the other or how far along in the negotiating

   process the parties were when the potential deal was scrapped. Without more, it is

   unreasonable for Perry to rely on the draft agreement as a basis for his opinions. For

   this reason, the Court agrees that Perry’s opinions arising from this draft agreement

   should be excluded.

                 c.      Non-comparable settlement agreements

          Express Mobile entered into fifty-five settlement agreements with companies that

   it sued. See Perry Report at 22–28. In its decision in Shopify, the Court ruled that

   these settlement agreements may be relied on to support opinions regarding the

   appropriate form of royalties but not the appropriate amount of royalties. Shopify, 2021

   WL 4288113, at *28. Express Mobile argues that Perry’s opinions run afoul of this

   ruling by using the settlement agreements to support opinions regarding how much the

   royalty payment should be.

          The Court agrees. Although Perry does use the settlement agreements to argue

   for a lump sum form of royalty, he also uses the information to make opinions about the

   proper size of the royalty payment:

          Mr. Bratic opines that a hypothetical negotiation between Express Mobile
          and GoDaddy for a non-exclusive license to the Patents-In-Suit would
          have resulted in a running royalty structure involving total royalty
          payments of $346 million through April 2021. Mr. Bratic’s opinion of the

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          royalties due from one of many alleged infringers represents 1,978 times
          the largest single lump-sum amount of $175,000 that Express Mobile has
          received in any of the 55 agreements.

   Perry Report at 28. Settlement agreements used to determine the proper size of a

   royalty payment must be comparable to a hypothetical agreement between the parties.

   See LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 79 (Fed. Cir. 2012)

   ("When relying on licenses to prove a reasonable royalty, alleging a loose or vague

   comparability between different technologies or licenses does not suffice."). GoDaddy

   concedes that Perry did not perform a comparability analysis. The Court thus excludes

   this testimony.

                                          Conclusion

          The disputed claim terms are construed in accordance with the conclusions set

   forth in this Memorandum Opinion and Order. Additionally, the Court denies both

   parties' motions to strike [182] [209]. With respect to the parties' combined summary

   judgment/Daubert motions [156] [157], the Court grants the motions in part and denies

   the motions in part. The Court grants summary judgment in favor of GoDaddy on the

   issue of infringement regarding the '397 and '168 patent claims but otherwise denies

   GoDaddy's motion for summary judgment. The Court grants summary judgment in

   favor of Express Mobile on GoDaddy's defenses of patent eligibility, utility,

   indefiniteness, laches, patent exhaustion, express license, disclaimer, implied license,

   acquiescence, and unclean hands but otherwise denies Express Mobile's motion for

   summary judgment. Lastly, the Court excludes the portion of David Perry's testimony

   regarding the Web Component Patents that is based on the GE Agreement and the

   portion of his testimony that is based on the Rempell bankruptcy evidence, the CY



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   Digital Agreement, and the settlement agreements but otherwise denies the Daubert

   motions. The parties are directed to file by August 15, 2022 a joint status report

   addressing any scheduling issues going forward and reporting on the history and

   current status of any settlement discussions. The case is set for a telephonic status

   hearing on August 17, 2022 at 8:40 a.m. CT (9:40 a.m. ET), using call-in number 888-

   684-8852, access code 746-1053. The Court reserves the right to vacate the status

   hearing if it determines from the status report that a hearing is not needed.



                                                    ________________________________
                                                         MATTHEW F. KENNELLY
                                                         United States District Judge

   Date: August 8, 2022




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Subject: Activity in Case 1:19-cv-01937-MFK-JLH Express Mobile, Inc. v.
GoDaddy.com, LLC Oral Order

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                                           U.S. District Court

                                          District of Delaware

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Case Number:     1:19-cv-01937-MFK-JLH
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Document Number: 271(No document attached)

Docket Text:

ORAL ORDER: The Court denies plaintiff's motion for reargument [262]. Certain of the
points in the motion are made for the first time in seeking reconsideration and are thus
waived. Other points made in the motion are simply rehashes of points the Court
considered and rejected. This likewise is not an appropriate basis for reconsideration. All
of that aside the Court has considered the points made by plaintiff and finds them lacking
in merit. The Court is not persuaded that it made any clear or manifest errors in its August
8 decision. Ordered by Judge Matthew F Kennelly on 10/27/2022. (smg)

1:19-cv-01937-MFK-JLH Notice has been electronically mailed to:

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                                                 Appx082
         Case: 23-2265        Document: 14     Page: 162     Filed: 11/13/2023

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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


                                                 )
    EXPRESS MOBILE, INC.,                        )
                                                 )
                     Plaintiff,                  )
                                                 )
               v.                                )   Civil Action No.1:19-cv-01937-MFK
                                                 )
    GODADDY.COM, LLC,                            )
                                                 )
                     Defendant.                  )
                                                 )


                              FINAL JURY INSTRUCTIONS




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   1.     INTRODUCTION

          Members of the jury, it is time for me to instruct you about the law that you must follow in

   deciding this case.

          Each of you has been provided a copy of these instructions. If you prefer, you may read

   along as I deliver them. You will be able to take your copies with you into your deliberations and

   refer to them at any time, if necessary.

          It is your duty as jurors to follow the law as I will state it to you, and to apply that law to

   the facts as you find them from the evidence in the case. You may not single out one instruction

   alone as stating the law but must consider the instructions as a whole. The instructions as a whole

   include not only these instructions and the preliminary instructions, but also any instructions I gave

   at various points during trial. You should not be concerned with the wisdom of any rule that I state.

   Regardless of any opinion that you may have as to what the law may be-or should be-it would

   violate your sworn duty to base a verdict upon any view of the law other than that which I will

   now give you.

          In deciding what the facts are, you may have to decide what testimony you believe and

   what testimony you do not believe. The weight of the evidence to prove a fact does not necessarily

   depend on the number of witnesses who testify. What is more important is how believable the

   witnesses were, and how much weight you think their testimony deserves.




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   2.     THE PARTIES AND THEIR CONTENTIONS

          As I previously told you, Express Mobile alleges that certain GoDaddy products infringe

   the Asserted Claims of the Asserted Patents.

          GoDaddy denies that it has infringed the Asserted Claims of the Asserted Patents and also

   argues that the Asserted Claims are invalid.

          In this case, you must decide the issues according to the instructions I give you. In general,

   these issues are:

          Whether Express Mobile has proven by a preponderance of the evidence that GoDaddy has

   infringed any of the Asserted Claims of the Asserted Patents.

          Whether Express Mobile has proven by a preponderance of the evidence that GoDaddy has

   willfully infringed any of the Asserted Claims of the Asserted Patents.

          Whether GoDaddy has proven by clear and convincing evidence that any of the Asserted

   Claims of the Asserted Patents are invalid.

          If you find that any Asserted Claim of any of the Asserted Patents is infringed and is not

   invalid, then you must decide what damages has Express Mobile proven by a preponderance of

   the evidence that it is entitled to compensate Express Mobile for GoDaddy's infringement.

          Your decision will be recorded in a verdict form that I will provide to you.




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   3.     THE PATENT CLAIMS

          3.1.    THE ROLE OF CLAIMS IN THE PATENT

          Before you can decide the issues in this case, you will need to understand the role of patent

   "claims." Patent claims are the numbered sentences at the end of each patent. The claims are

   important because the words in those sentences define what a patent covers. The rest of the patent

   includes figures and text that provide a description and examples of the invention and context for

   the claims, but it is the claims that define the breadth of the patent's coverage. Therefore, what a

   patent covers depends, in turn, on what each of its claims cover.

          A claim states, in words, a set of requirements that describe what the claim covers. Each

   claim sets forth its requirements in a single sentence. The requirements of a claim are often referred

   to as "claim elements" or "claim limitations." The scope of a patent is assessed claim-by-claim.

   When a thing (such as a product or a method) meets all the requirements of a claim, the claim is

   said to "cover" that thing, and that thing is said to "fall" within the scope of that claim. In other

   words, a claim covers a product or method when each of the claim elements or limitations is present

   in that product or method.




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          3.2.    INDEPENDENT AND DEPENDENT CLAIMS

          This case involves two types of patent claims: independent claims and dependent claims.

          An "independent claim" describes all the requirements that must be met in order to be

   covered by that claim. Thus, it is not necessary to look at any other claim to determine what an

   independent claim covers. In this case, Asserted Claims 1 and 12 of the '755 patent, claim 1 of the

   '287 patent, and claim 1 of the '044 patent are independent claims. The remaining Asserted Claims,

   claims 3, 16, and 22 of the '755 patent, claim 13 of the '287 patent and claims 11, 13, 17 and 19 of

   the '044 patent, are "dependent claims."

          A "dependent claim" does not by itself describe all the requirements of the claim but refers

   to another claim for some of its requirements. In this way, the claim "depends" on another claim.

          A dependent claim incorporates all the requirements of the claim(s) that it depends on. The

   dependent claim then adds its own additional requirements. To determine what a dependent claim

   covers, it is necessary to look at both the dependent claim and any other claim that it depends on.

   Here, for example, claim 3 of the '755 patent depends on claim 1. A product must meet all the

   requirements of both dependent claim 3 and independent claim 1, in order for you to find that it is

   covered by dependent claim 3.




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          3.3.    CLAIM INTERPRETATION

          It is my job as the judge to determine the meaning of any claim language from these patents

   that needs interpretation. You must accept the meanings that I give you and use them when you

   decide whether any claim is infringed or invalid.

          In order to decide whether or not each claim is invalid and whether it has been infringed,

   you will first need to understand what each claim covers. The first step is to understand the

   meaning of the words used in the patent claim. Sometimes, the words in a patent claim are difficult

   to understand, and it is therefore difficult to understand what requirements these words impose.

   The law says that it is my role to define the terms of the claims, and it is your role to apply my

   definitions to the issues that you are asked to decide in this case. Therefore, as I explained to you

   at the start of the case, I have determined the meaning of certain claim terms and I will provide

   you with those definitions. You must accept my definitions of these words as correct.

          For any words in the claim for which I have not provided you with a definition, you should

   apply its ordinary and accustomed meaning as understood by a person of ordinary skill in the art.

   The parties agree that the definition of a person of ordinary skill in the art that you should apply in

   this case is someone who had a bachelors or graduate degree in computer science, mathematics,

   engineering, or a similar discipline, or equivalent practical experience, together with knowledge

   of software development and web design and development with graphical user interfaces and

   systems, together with approximately two or three years of experience in the field relating to web

   design and development. You should not take my definition of the language of the claims as an

   indication that I have a view regarding how you should decide the issues that you are being asked

   to decide, such as infringement or invalidity. These issues are yours to decide. I will now read you

   my interpretation of various claim terms and phrases:




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    Claim Term                     Patents                  Construction
    application                    '755, '287 and '044      device-independent code containing
                                   patents                  instructions for a device and which is
                                                            separate from the Player

    player                         '755, '287 and '044      device-specific code which contains
                                   patents                  instructions of a device and which is
                                                            separate from the Application
    device-dependent code          '755 and '287 patents    code that is specific to the operating
                                                            system, programming language, or
                                                            platform of a device

    device-independent code        '755 and '287 patents    code that is not specific to the
                                                            operating system, programming
                                                            language, or platform of a device

    authoring tool /               '755, '287 and '044      a system, with a graphical interface, for
    authoring tool configured to   patents                  generating code to display content on a
                                                            device screen

    where said application is a    '755 patent              where said Application is a device-
    device-dependent code                                   independent code


    for evoking one or more        '755, '287 and '044      for calling up one or more web
    web components                 patents                  components


    registry                       '755 and '287 patents    a database that is used for computing
                                                            functionality

    web component                  '755, '287 and '044      software objects that provide
                                   patents                  functionalities of a web service

    web service                    '755, '287 and '044      A software system that supports
                                   patents                  interaction between devices over a
                                                            network

    symbolic name(s)               '755, '287 and '044      No construction necessary
                                   patents




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                                                 Appx092
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   4.     INFRINGEMENT

          4.1.    INFRINGEMENT GENERALLY

          In this case, Express Mobile alleges that GoDaddy infringes claims 1, 3, 12, 16, and 22 of

   the ʼ755 patent, claims 1 and 13 of the ʼ287 patent, and claims 1, 11, 13, 17, and 19 of the '044

   patent. I will refer to these as the "Asserted Claims."

          You must determine the issue of infringement separately for each Asserted Claim.

   Infringement is assessed on a claim-by-claim basis. Therefore, there may be infringement of one

   claim but no infringement of another claim.

          I will now instruct you how to decide whether Express Mobile has proven that GoDaddy

   has infringed the Asserted Claims. Express Mobile must prove infringement by a "preponderance

   of the evidence." That means Express Mobile has to produce evidence which, when considered in

   the light of all the facts, leads you to believe that the particular proposition you are considering is

   more likely true than not.

          You have heard evidence about both Express Mobile's product development and

   GoDaddy's accused products. However, in deciding the issue of infringement you may not

   compare GoDaddy's accused products to Express Mobile's product development. Rather, you

   must compare the GoDaddy's accused product to the claims of the ʼ755, ʼ287, and ʼ044 patents

   when making your decision regarding infringement.




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                                                Appx093
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          4.2.    DIRECT INFRINGEMENT BY "LITERAL INFRINGEMENT"

          To prove infringement, Express Mobile must prove by a preponderance of the evidence

   that GoDaddy made, used, sold or offered for sale within the United States a product or method

   that meets all of the requirements of the particular patent claim you are considering.

          To determine infringement, you must compare the accused products with each Asserted

   Claim. In making that comparison, you must use my claim definitions, along with the ordinary

   meaning in the field of the patent for the other terms in the claims. You must compare the accused

   products with each and every one of the requirements of a claim to determine whether all of the

   requirements of that claim are met by one or more of the accused products. If the accused product

   does not literally contain one or more elements recited in a claim, then you must find that the

   accused product does not directly infringe that claim.




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                                               Appx094
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            4.3.   DIRECT INFRINGEMENT – ONE OR MORE SYSTEM COMPONENTS
                   LOCATED OUTSIDE THE UNITED STATES

            Direct infringement requires that the accused system include every element listed in the

   claim.

            Express Mobile claims that infringement occurred within the United States even though

   GoDaddy contends that some (but not all) of the elements of the claim were located outside of the

   United States. For infringement to occur within the United States, Express Mobile must prove, by

   a preponderance of the evidence, that the control of the system took place, and the benefit of the

   system was enjoyed, in the United States.




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           4.4.    WILLFUL INFRINGEMENT

           Express Mobile argues that GoDaddy willfully infringed Express Mobile's patents from

   October 22, 2019 through the present. If you have decided that GoDaddy has infringed, you must

   also address the additional issue of whether or not this infringement was willful. This requires you

   to determine whether Express Mobile proved that it is more likely than not that GoDaddy knew of

   Express Mobile's patents and infringed them deliberately or intentionally.

           To determine whether GoDaddy acted willfully, consider all of the facts and assess what

   knowledge GoDaddy had at the time of the challenged conduct. Facts that you may consider

   include, but are not limited, to:

           (1) Whether or not GoDaddy acted consistently with the standards of behavior for its

   industry;

           (2) Whether or not GoDaddy intentionally copied a product of Express Mobile that is

   covered by the Asserted Patents;

           (3) Whether or not GoDaddy reasonably believed it did not infringe or that the Asserted

   Patents were invalid;

           (4) Whether or not GoDaddy made a good-faith effort to avoid infringing the Asserted

   Patents, for example, whether GoDaddy attempted to design around the Asserted Patents; and

           (5) Whether or not GoDaddy tried to cover up its infringement.




                                                   10
                                               Appx096
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   5.     INVALIDITY

          I will now instruct you on the rules you must follow in deciding whether GoDaddy has

   proven that the Asserted Claims are invalid.

          The law presumes the Asserted Claims are valid. For this reason, GoDaddy has the burden

   of proving invalidity by clear and convincing evidence. Proof by clear and convincing evidence

   consists of proof that the truth of a factual contention is highly probable. This is a higher burden

   than proof by a preponderance of the evidence.

          GoDaddy contends that the Asserted Claims are invalid based on obviousness. The term

   "obviousness" has a special meaning under patent law, which I will explain to you in these

   instructions.

          In making your determination as to invalidity, you should consider each claim separately.




                                                    11
                                               Appx097
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           5.1.    PRIOR ART

           In addressing Defendant's invalidity defenses, you will have to consider what is disclosed

   in the "prior art." That which came before the invention of the patents is referred to as "prior art."

           The parties agree that the following references are prior art:

           BlackBerry MDS in combination with the knowledge and routine skill of one of ordinary

   skill in the art is prior art to the Asserted Patents.




                                                       12
                                                   Appx098
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              5.2.   OBVIOUSNESS

              Defendant contends that the Asserted Claims of the '755, '287, and '044 patents are invalid

   because they are obvious.

              In order to show that the claimed invention is obvious, Defendant must prove by clear and

   convincing evidence that a person of ordinary skill in the art of the invention, who knew about all

   the prior art existing at the time the invention was made would have conceived the invention at

   that time. Obviousness may be shown by considering one or more items of prior art in combination.

              In deciding obviousness, you should put yourself in the position of a person with ordinary

   skill in the field at the time the invention was made. You must not use hindsight; in other words,

   you may not consider what is known now or what was learned from Plaintiff's patent. In addition,

   you may not use Plaintiff's patent as a roadmap for selecting and combining items of prior art.

              In making your decision regarding obviousness, you are to consider each of the following

   factors:

              1. The scope and content of the prior art. You may consider prior art that was reasonably

   relevant to the problem the inventor faced that a person of ordinary skill would consider in

   attempting to solve the problem.

              2. Any differences between the prior art and the invention in the patent claim that you are

   considering.

              3. The level of ordinary skill in the field of the invention at the time the invention was

   made.

              4. Additional factors, if any, that indicate that the invention was obvious or not obvious. I

   will define them in the next instruction.




                                                       13
                                                  Appx099
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             5.3.   OBVIOUSNESS – ADDITIONAL FACTORS INDICATING
                    NONOBVIOUSNESS

             As I stated in the previous instruction, in deciding obviousness you should consider

   whether any of the following are true, which if so may indicate the invention was not obvious.

             1. Has the invention achieved commercial success? If so, is that success based on the

   invention itself, rather than on advertising, promotion, sales tactics, or features of the product other

   than those found in the claimed invention?

             2. Did others seek or obtain a license to the Patent(s)-in-Suit?

             Not all of these factors may be present. No single factor is more or less important than the

   others.




                                                      14
                                                 Appx100
             Case: 23-2265         Document: 14         Page: 180      Filed: 11/13/2023

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          5.4.      OBVIOUSNESS — COMBINING OF PRIOR ART REFERENCES

          The fact that each of the elements of the claim may be found in prior art references, if

   combined is not enough, by itself, to prove obviousness. In determining whether Defendant has

   proved obviousness, you may combine multiple items of prior art only if a person who has

   ordinary skill in the field would have been motivated to combine them when trying to solve the

   problem that is addressed by the claimed invention and would have had a reasonable expectation

   of success in doing so. In deciding this, you may consider, among other things, any of the

   following factors:

          1. What the prior art suggests about combining;

          2. The knowledge possessed by persons who have ordinary skill in the field of the

   invention; and

          3. The effects of market pressures and design needs that existed at the time, and the

   number of identified and predictable solutions for those demands.




                                                   15
                                              Appx101
              Case: 23-2265         Document: 14          Page: 181       Filed: 11/13/2023

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   6.     DAMAGES

          If you find that GoDaddy infringed any valid claim of the asserted patents, you must then

   consider what amount of damages to award to Express Mobile. If you find that GoDaddy has not

   infringed any valid claim of the asserted patents, then Express Mobile is not entitled to any damages.

          The fact that I am instructing you on damages does not mean that the I believe that one party

   or the other should win in this case. My instructions about damages are for your guidance only in the

   event you find in favor of Express Mobile.

          The damages you award must be adequate to compensate Express Mobile for any infringement.

   They are not meant to punish an infringer. Express Mobile has the burden to establish the amount of

   its damages by a preponderance of the evidence. While Express Mobile is not required to prove the

   amount of its damages with mathematical precision, it must prove them with reasonable certainty. You

   may not award damages that are speculative or based on guesswork.

          Express Mobile seeks to recover a "reasonable royalty." A reasonable royalty is defined as the

   dollar amount Express Mobile and GoDaddy would have agreed upon in a hypothetical negotiation,

   which I will explain below, as a fee for GoDaddy's use of the claimed invention at the time just prior

   to when the alleged infringement began.




                                                     16
                                                Appx102
             Case: 23-2265         Document: 14         Page: 182      Filed: 11/13/2023

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          6.1.    DATE OF COMMENCEMENT OF DAMAGES

          In determining the amount of damages, you must determine when the damages began. In

   this case, damages, if any, began on June 23, 2015 for the '755 patent; on October 18, 2016 for the

   '287 patent; and on March 27, 2018 for the '044 patent.




                                                   17
                                              Appx103
             Case: 23-2265         Document: 14         Page: 183       Filed: 11/13/2023

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          6.2.    REASONABLE ROYALTY—DEFINITION

          A royalty is a payment made to a patent holder in exchange for the right to make, use, or

   sell the claimed invention. A reasonable royalty is the amount of royalty payment that a patent

   holder and the alleged infringer would have agreed to in a hypothetical negotiation taking place at

   a time prior to when the infringement first began. In considering this hypothetical negotiation, you

   should focus on what the expectations of the patent holder and the alleged infringer would have

   been if they had entered into an agreement at that time, and if they had acted reasonably in their

   negotiations. In determining this, you must assume that both parties believed the patent was valid

   and infringed and that both parties were willing to enter into an agreement. The reasonable royalty

   you determine must be a royalty that would have resulted from the hypothetical negotiation, and

   not simply a royalty either party would have preferred. If evidence of things that happened after

   the infringement first began will aid you in assessing what royalty would have resulted from a

   hypothetical negotiation just prior to the first infringement, then you may consider such evidence.




                                                   18
                                               Appx104
              Case: 23-2265          Document: 14          Page: 184   Filed: 11/13/2023

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           6.3.    DAMAGES – LUMP SUM VS. RUNNING ROYALTY

           A reasonable royalty can be paid either in the form of a one-time lump sum payment or as

   a "running royalty." Either method is designed to compensate the patent holder based on the

   infringer's use of the patented technology. It is up to you to determine based on the evidence what

   type of royalty, if any, is appropriate in this case.




                                                      19
                                                 Appx105
               Case: 23-2265        Document: 14         Page: 185      Filed: 11/13/2023

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          6.4.     REASONABLE ROYALTY—RELEVANT FACTORS

          In determining the reasonable royalty, you should consider all the facts known and

   available to the parties at the time the infringement began. Some factors that you may consider

   are:

          (1) The royalties received by the patent holder for the licensing of the Asserted Patents,

   proving or tending to prove an established royalty.

          (2) The rates paid by the licensee for the use of other patents comparable to the Asserted

   Patents.

          (3) The nature and scope of the license (for example, as exclusive or nonexclusive, or as

   restricted or non-restricted in terms of territory or with respect to whom the manufactured product

   may be sold).

          (4) The licensor's established policy and marketing program to maintain his or her patent

   monopoly (for example, by not licensing others to use the invention, or by granting licenses under

   special conditions designed to preserve that monopoly).

          (5) The commercial relationship between the licensor and licensee, such as whether they

   are competitors in the same territory and line of business, or whether they are inventor and

   promoter.

          (6) The effect of derivative or convoyed sales (for example, the effect of selling the

   patented specialty in promoting sales of other products of the licensee, or the existing value of the

   invention to the licensor as a generator of sales of his non-patented items.

          (7) The duration of the patent and the term of the license.

          (8) The established profitability of the product made under the patents, its commercial

   success, and its current popularity.

          (9) The utility and advantages of the patented property over the prior art, if any, that had


                                                    20
                                               Appx106
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   been used to achieve similar results.

          (10) The nature of the patented invention, the character of commercial embodiments of it

   as owned and produced by the licensor, and the benefits to those who have used the invention.

          (11) The extent to which the infringer has made use of the invention and any evidence that

   substantiates the value of that use.

          (12) The portion of the profit, or of the selling price, that may be customary in the particular

   business or in comparable business to allow for the use of the invention or analogous inventions.

          (13) The portion of the realizable profits that are due to the patented invention as

   distinguished from non-patented elements, the manufacturing process, business risks, or

   significant features or improvements added by the alleged infringer.

          (14) The opinion testimony of qualified experts.

          (15) The amount that a prudent licensee—who desired, as a business proposition, to obtain

   a license to manufacture and sell a particular article embodying the patented invention—would

   have been willing to pay as a royalty and yet be able to make a reasonable profit and that would

   have been acceptable to a prudent patent holder who was willing to grant a license.

          No one factor is dispositive, and you can and should consider the evidence that has been

   presented to you in this case on each of these factors. You may also consider any other factors

   which in your mind would have increased or decreased the royalty the alleged infringer would

   have been willing to pay, and the patent holder would have been willing to accept, if they were

   acting as normally prudent business people.




                                                    21
                                                Appx107
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   7.     DELIBERATION AND VERDICT

          7.1.    INTRODUCTION

          That concludes the part of my instructions explaining the rules for considering some of the

   testimony and evidence. After you hear closing arguments of counsel, you will return to the jury

   room to begin your deliberations. Now, let me finish up by explaining some things about your

   deliberations in the jury room, and your possible verdicts.

          Once you are all in the jury room, the first thing you should do is choose a presiding

   juror. The presiding juror should see to it that your discussions are carried on in an organized

   way and that everyone has a fair chance to be heard. You may discuss the case only when all

   jurors are present.

          Once you start deliberating, do not talk to the jury officer, to me, or to anyone else except

   each other about the case. If you have any questions or messages, you must write them down on a

   piece of paper, sign them, and then give them to the jury officer. The officer will give them to me,

   and I will respond as soon as I can. I may have to talk to the lawyers about what you have asked,

   so it may take me some time to get back to you. You may continue to deliberate while you wait

   for me to answer. Any questions or messages normally should be sent to me through your

   foreperson.




                                                   22
                                               Appx108
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          7.2.    UNANIMOUS VERDICT

          Your verdict must represent the considered judgment of each juror. Your verdict must be

   unanimous.

          A verdict form has been prepared for you. The verdict form asks you a series of questions

   about the parties' claims and defenses.

          (Go over the verdict form.)

          You will take this form to the jury room. When you have reached unanimous agreement,

   your presiding juror will fill in and date the verdict form, and each of you will sign it. Unless

   you are directed otherwise in the verdict form, you must answer all of the questions asked, and

   you must all agree on each answer.

          Advise the jury officer once you have reached a verdict. When you come back to the

   courtroom, you will hand the verdict to the jury officer, and I will read the verdict aloud.




                                                    23
                                               Appx109
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          7.3.    DUTY TO DELIBERATE

          Now that all the evidence is in and the arguments are completed, you are free to talk about

   the case in the jury room. In fact, it is your duty to talk with each other about the evidence and to

   make every reasonable effort you can to reach a unanimous agreement. Talk with each other, listen

   carefully and respectfully to each other's views, and keep an open mind as you listen to what your

   fellow jurors have to say. Try your best to work out your differences. Do not hesitate to change

   your mind if you are convinced that other jurors are right and your original position was wrong.

   But do not ever change your mind just because other jurors see things differently, or just to get the

   case over with. In the end, your vote must be exactly that - your own vote. It is important for you

   to reach unanimous agreement, but only if you can do so honestly and in good conscience.

          No one will be allowed to hear your discussions in the jury room, and no record will be

   made of what you say. So you should all feel free to speak your minds.

          Listen carefully to what the other jurors have to say, and then decide for yourself.




                                                    24
                                               Appx110
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          7.4.    COURT HAS NO OPINION

          Let me finish up by repeating something that I said to you earlier. Nothing that I have said

   or done during this trial was meant to influence your decision in any way. You must decide the

   case yourselves based on the evidence presented.

          Finally, if I have read any of these instructions inconsistently with the written text, you are

   to rely on the written instructions in your deliberations.




                                                    25
                                                Appx111
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                                    Appx112
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                                    Appx113
         Case: 23-2265    Document: 14     Page: 193    Filed: 11/13/2023

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                                    Appx114
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                                    Appx115
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                                    Appx116
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                                    Appx117
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
   EXPRESS MOBILE, INC.,                                   )
                                                           )
                           Plaintiff,                      )
                                                           )
                    v.                                     )   Civil Action No.1:19-cv-01937-MFK
                                                           )
   GODADDY.COM, LLC,                                       )
                                                           )
                           Defendant.                      )
                                                           )

                                   JUDGMENT AFTER VERDICT

                   On August 8, 2022, the Court granted Defendant GoDaddy.com, LLC’s

  (“GoDaddy’s”) motion for summary judgment of non-infringement of the asserted claims of U.S.

  Patent No. 6,546,397, and U.S. Patent No. 7,594,168, and hereby enters judgment that GoDaddy

  does not infringe claims 1, 2, 3, 11 and 37 of U.S. Patent No. 6,546,397 or claims 1, 2, and 3 of

  U.S. Patent No. 7,594,168.

                   On February 27, 2023, the Court held a jury trial, and the jury returned its verdict

  on March 3, 2023. Pursuant to Federal Rule of Civil Procedure 58(b), the Court hereby enters

  judgment that:

                   1. GoDaddy does not infringe claims 1, 3, 12, 16, and 22 of U.S. Patent No.

  9,063,755; claims 1 and 13 of U.S. Patent No. 9,471,287; and claims 1, 11, 13, 17, and 19 of

  U.S. Patent No. 9,928,044; and

                   2. Claims 1, 3, 12, 16, and 22 of U.S. Patent No. 9,063,755; claims 1 and 13 of

  U.S. Patent No. 9,471,287; and claims 1, 11, 13, 17, and 19 of U.S. Patent No. 9,928,044 are not

  invalid.

                   The parties agree to the form of judgment set forth above and reserve all rights

  with respect to costs, post-trial motions, and appeal.


                                                     1
                                                Appx118
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   Dated: March 6, 2023

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  IT IS SO ORDERED this 6th day of March, 2023:


                                                  The Honorable Judge Matthew F. Kennelly




                                                  2
                                             Appx119
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

   EXPRESS MOBILE, INC.,                     )
                                             )
                 Plaintiff,                  )
                                             )
                 vs.                         )      Civil Action No. 1:19-cv-01937-MFK
                                             )
   GODADDY.COM, LLC,                         )
                                             )
                 Defendant.                  )

                              MEMORANDUM OPINION AND ORDER

   MATTHEW F. KENNELLY, District Judge:

          Express Mobile, Inc. sued GoDaddy.com, LLC alleging that two of GoDaddy's

   products—Website Builder (WSB) and Managed WordPress (MWP)—willfully infringe

   numerous claims of certain patents owned by Express Mobile that are directed to tools

   for displaying content on mobile devices. 1 Express Mobile's claims went to a jury trial in

   late February 2023. In addition to asserting a defense of non-infringement, GoDaddy

   contended that Express Mobile's patents were invalid. The jury found in GoDaddy's

   favor on the question of infringement and willfulness but found in favor of Express

   Mobile on the question of invalidity. Because it found in favor of GoDaddy on the

   question of infringement, the jury awarded Express Mobile no damages.

          After the close of GoDaddy's case in chief, Express Mobile moved for judgment

   as a matter of law under Federal Rule of Civil Procedure Rule 50(a). The Court took the

   motion under advisement. Express Mobile has now renewed its Rule 50 motion and



   1 Express Mobile contends that GoDaddy's WSB and MWP products infringe claims 1,

   3, 12, 16, and 22 of U.S. Patent No. 9,063,755 (the '755 patent); claims 1 and 13 of U.S.
   Patent No. 9,471,287 (the '287 patent); and claims 1, 11, 13, 17, and 19 of U.S. Patent
   No. 9,928,044 (the '044 patent).
                                           Appx120
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   has also moved for a new trial under Federal Rule of Civil Procedure 59(a). For the

   reasons set forth below, the Court denies both motions.

                                         Background

          The Court assumes familiarity with this case's factual and procedural

   background, which the Court has discussed in prior written opinions. The following

   background is relevant to the post-trial motions and largely is taken from the Court's

   summary judgment decision.

   A.     The asserted patents

          The asserted patents relate to two concepts that allow web designers to integrate

   third-party web services into their websites. The patents disclose an authoring tool that

   generates two sets of code, a device-independent application and a device-specific

   player. Second, the patents disclose an authoring tool that allows for integration of web

   services into the application and player.

   B.     The accused products

          Two GoDaddy products are at issue in this case. WSB is a browser-based

   website creator, designed to allow a user with little or no website design experience to

   quickly create and publish a website. MWP, in contrast, targets more advanced users.

   It comprises a set of custom functionalities that GoDaddy has added to WordPress, an

   open-source (i.e. free) platform for creating websites. Both WSB and MWP allow for

   incorporation of features into a user's website, such as YouTube videos or embedded

   Twitter feeds. GoDaddy provides several free themes for use in designing a website,

   but users can also buy third-party themes for use with the MWP platform.

   C.     Claim construction



                                               2

                                           Appx121
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          Two orders have previously been issued in this case construing certain disputed

   claim terms. Express Mobile, Inc. v. GoDaddy.com, LLC, No. 19-1937-RGA, 2021 WL

   2209868 (D. Del. Jun. 1, 2021), and Express Mobile, Inc. v. GoDaddy.com, LLC, No.

   19-1937-MFK, Mem. Op. and Order (dkt. no. 261) (D. Del. Aug. 8, 2022). The claim

   terms relevant to the issues decided at trial were construed as follows:

    registry                                          "a database that is used for computing
                                                      functionality"
    player                                            "device-specific code which contains
                                                      instructions of a device and which is
                                                      separate from the Application"
    device-dependent code                             code that is specific to the operating
                                                      system, programming language, or
                                                      platform of a device


   D.     Evidence at trial

          As relevant to the contentions Express Mobile has made in its motions, the

   following witnesses testified during the trial, either live or via deposition:

                  •   Dr. Kevin Almeroth, Express Mobile's infringement expert
                  •   Peter Kent, GoDaddy's infringement expert
                  •   Steven Rempell, CEO of Express Mobile
                  •   Ken Brown, Inventor of the asserted patents
                  •   Franklin Jarrett, GoDaddy engineer
                  •   Aaron Silvas, GoDaddy engineer

          On a high level, GoDaddy argued that Express Mobile made a bad bet when it

   filed its patent applications back in 2008, as the patents are directed to device-specific

   players that have since been rendered obsolete. GoDaddy argued that, by contrast, its

   WSB and MWP products operate not via players but on browsers and that they use

   programming language such as JavaScript that is completely device-independent,

   which GoDaddy argued is necessary in the ever-evolving technological space of

   smartphones.

                                                  3

                                             Appx122
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          The asserted patents recite nineteen claim elements. Kent testified, and

   GoDaddy argued based on his testimony, that neither WSB nor MWP infringe the

   asserted patents because they do not include three of the nineteen required claim

   elements: (1) "player" code that receives web service output; (2) "registry"; or (3)

   "symbolic names."

          Regarding the player limitation, Dr. Almeroth testified, and Express Mobile

   argued based on his testimony, that WSB and MWP include device-dependent

   JavaScript player code that branches and accounts for different browser platforms.

   Because the player is also required to "receive the output symbolic name and

   corresponding one or more output values and provide[] instructions for a display of the

   device to present an output value," JTX-001 at claim 1, and because GoDaddy's

   products are browser-based, Dr. Almeroth testified that WSP and MWP infringe

   because their JavaScript players contain browser detection code that work together with

   other code to receive inputs and display outputs.

          GoDaddy, for its part, argued that JavaScript—the primary programming

   language used in WSP and MWP—can work on all browsers and is thus not device-

   dependent-code. This argument was based in part on Kent's testimony that a browser

   cannot constitute a platform under the Court's construction of the "player" claim term.

   GoDaddy also argued that Dr. Almeroth confirmed on cross examination that the only

   specific code segments in each of the files that Express Mobile contends received the

   web service outputs were not, in fact, device-dependent code.

          Regarding symbolic names, Dr. Almeroth testified, and Express Mobile argued

   based on his testimony, that WSB and MWP use a registry that stores symbolic names,



                                                4

                                           Appx123
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   and that those symbolic names are incorporated into HTML code that is sent from

   GoDaddy's servers to its customers' web browsers. It further argued that the symbolic

   names stored in the registry were used for evoking web components.

          By contrast, Kent testified, and GoDaddy argued based on his testimony, that to

   be a symbolic name, the name must evoke one or more web components and must be

   stored in a registry—a claim term that the Court construed as "a database used for

   computing information." Thus, GoDaddy argued, because the existence of a registry is

   required for the symbolic name claim element to be infringed (and vice versa)—and

   because the accused symbolic name does not evoke one or more web components or

   is not stored in a database—then there is no infringement. Kent explained that what Dr.

   Almeroth pointed to as symbolic names were actually something called "div IDs," which

   are randomly generated and thus cannot be stored in a registry. Kent also explained

   that, to the extent symbolic names or registry exist in WSB or MWP at all, they are kept

   and stored by the external web services intended to be accessed—like YouTube—and

   not by GoDaddy.

                                          Discussion

   A.     Applicable law

          For issues that are not patent-law-specific, the Federal Circuit defers to the law of

   the regional circuit in which the district court sits—here, the United States Court of

   Appeals for the Third Circuit. Harris Corp. v. Ericsson Inc., 417 F.3d 1241, 1248

   (Fed. Cir. 2005); see also, In re Cambridge Biotech Corp., 186 F.3d 1356, 1367 (Fed.

   Cir. 1999) ("we apply our own law with respect to issues of substantive patent law and

   certain procedural issues pertaining to patent law, but as to nonpatent issues, we apply



                                                5

                                            Appx124
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   the law of the circuit in which the district court sits."). The Federal Circuit "review[s] the

   denial or grant of JMOL under regional circuit law." ActiveVideo Networks, Inc. v.

   Verizon Commc'ns, Inc., 694 F.3d 1312, 1319 (Fed. Cir. 2012).

   B.     Standard for JMOL

          Express Mobile has moved for judgment as a matter of law (JMOL) on all of its

   infringement claims, or in the alternative for a new trial. Under Federal Rule of Civil

   Procedure 50(b), JMOL is proper only if "viewing the evidence in the light most

   favorable to the nonmovant and giving it the advantage of every fair and reasonable

   inference, there is insufficient evidence from which a jury reasonably could find" for the

   nonmovant. Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1166 (3d Cir.

   1993) (citing Wittekamp v. Gulf & Western Inc., 991 F.2d 1137, 1141 (3d Cir.

   1993)). "The question is not whether there is literally no evidence supporting the party

   against whom the motion is directed but whether there is evidence upon which the jury

   could properly find a verdict for that party." Id. (quoting Patzig v. O'Neil, 577 F.2d 841,

   846 (3d Cir. 1978)).

          To grant JMOL on infringement in favor of Express Mobile, the party with the

   burden of proof, the Court "must be able to say not only that there is sufficient evidence

   to support the finding [sought by Express Mobile] . . . but additionally that there is

   insufficient evidence for permitting any different finding." Fireman's Fund Ins. Co. v.

   Videfreeze Corp., 540 F.2d 1171, 1177 (3d Cir. 1976) (emphasis added); see also,

   Smollett v. Skayting Dev. Corp., 793 F.2d 547, 548 (3d Cir. 1986) (motion for JMOL

   must be denied when "the record contains the minimum quantum of evidence from

   which a jury might reasonably afford relief").



                                                  6

                                             Appx125
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          In assessing Express Mobile's motion, the Court must also give GoDaddy, the

   non-movant, "the benefit of all logical inferences that could be drawn from the evidence

   presented" and "resolve all conflicts in the evidence in [GoDaddy's] favor and, in

   general, view the record in the light most favorable to [GoDaddy]." Williamson v.

   Consol. Rail Corp., 926 F.2d 1344, 1348 (3d Cir. 1991).

          The Third Circuit has held that motions for judgment as a matter of law under

   Rule 50(b) should be granted only sparingly. Marra v. Phila. Hous. Auth, 497 F.3d 286,

   300 (3d Cir. 2007) (citation omitted). This is particularly true when, as just discussed,

   the movant bears the burden of proof. Fireman's Fund Ins. Co., 540 F.2d at 1177 (entry

   of JMOL after a jury verdict "is rare[ ] [and] reserved for extreme circumstances.").

   C.     Standard for a new trial

          The Court has discretion to grant a new trial under Rule 59(a) "for any of the

   reasons for which new trials have heretofore been granted in actions at law in the courts

   of the United States." Fed. R. Civ. P. 59(a). Some reasons for granting a new trial are:

   (1) the jury's verdict is against the clear weight of the evidence and a new trial is

   necessary to prevent a miscarriage of justice; (2) improper conduct by an attorney or

   the Court unfairly influenced the verdict; or (3) the jury's verdict was facially inconsistent.

   See Ateliers de la Haute-Garonne v. Broetje Automation-USA Inc., 85 F. Supp. 3d 768,

   775 (D. Del. 2015).

   D.     Summary of Express Mobile's motion

          Express Mobile raises two grounds for JMOL or, in the alternative, a new trial. 2



   2 Express Mobile also appears to raise an amorphous third basis, namely that GoDaddy

   confused the jury with irrelevant "strawmen," Mot. for J. as a Matter of Law at 16, such


                                                 7

                                             Appx126
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   First, it contends that GoDaddy misled the jury by consistently misstating and

   contradicting the Court's claim constructions for player, device-dependent code, and

   registry. Express Mobile contends that, under the correct claim constructions adopted

   by the Court, no reasonable jury could have found that GoDaddy did not infringe the

   asserted patents. Second, Express Mobile contends that the jury's verdict was unfairly

   influenced by improper testimony from two witnesses that GoDaddy called as fact

   witnesses but who Express Mobile contends provided undisclosed expert testimony.

   The Court will address each of these arguments in turn.

   E.     Claim construction-related issues

          "[T]he claims of a patent define the invention to which the patentee is entitled the

   right to exclude." Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d

   1111, 1115 (Fed. Cir. 2004). "Literal infringement of a claim exists when every limitation

   recited in the claim is found in the accused device." Kahn v. Gen. Motors Corp., 135

   F.3d 1472, 1477 (Fed. Cir. 1998) (emphasis added).

          Express Mobile contends that it presented to the jury uncontradicted evidence

   that all of the asserted claims' limitations—including the three that GoDaddy argued

   were missing from its products—were met by WSB and MWP. Specifically, it contends

   that Dr. Almeroth "identif[ied] exemplary portions of source code and related evidence

   for each and every limitation of all Asserted Claims for both WSB and MWP, with a

   particular focus on contact form and add to cart web service implementations of the




   as: (1) its overuse of the YouTube web service example to illustrate some of its
   arguments regarding the symbolic names limitation; and (2) its arguments regarding div
   IDs. But it offers no authority for the proposition that "red herring"-type arguments—if
   that characterization is even accurate—would entitle it to either JMOL or a new trial. Id.
                                                8

                                           Appx127
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   respective products." Mot. for J. as a Matter of Law at 4. Thus, it contends that there is

   no evidentiary basis in the record on which the jury could have found non-infringement

   for any of the disputed claim elements.

          As for GoDaddy's evidence showing non-infringement, Express Mobile contends

   that it was premised upon constructions of claim terms that contradicted the Court's

   claim construction rulings. It is settled law that "[n]o party may contradict the court's

   construction to a jury." Exergen Corp. v. Wal-Mart Stores, Inc., 575 F.3d 1312, 1321

   (Fed. Cir. 2009).

          Regarding the player limitation, Express Mobile contends that GoDaddy

   argued—contrary to the Court's claim construction of device-dependent code as "code

   that is specific to the operating system, programming language, or platform of a device"

   —that its JavaScript player was not a device-dependent code because device-

   dependent code is limited to code specific to the operating system of a device. This,

   Express Mobile contends, obviates the "programming language, or platform" language

   in the Court's construction. This is significant, Express Mobile says, because it argued

   that the accused browser constitutes a "platform" under the Court's construction, which

   means the browser's code is device-dependent code and thus a player.

          Next is the registry limitation, construed by the Court as meaning "a database

   that is used for computing functionality." Express Mobile contends that GoDaddy

   improperly narrowed the term's construction to a structured database. Express Mobile

   contends that a "database," according to the Court's construction of the registry term,

   can include a file and need not be structured.

          There are multiple problems with Express Mobile's arguments. First, the Court is



                                                 9

                                             Appx128
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   not persuaded that GoDaddy presented a modified or narrowed version of the Court's

   claim construction to the jury. GoDaddy consistently included programming language or

   platforms in its arguments at trial regarding the "device-dependent code" term. See.

   e.g., Trial Tr. at 1024-26 (explaining during closing arguments how device specific code

   encompasses code specific to certain operating systems, programming languages, or

   platforms). And contrary to Express Mobile's contention, GoDaddy expert witness Kent

   also testified that, consistent with the Court's construction, device-dependent code could

   include dependency on the operating system, programming language, or platform, not

   merely on an operating system. Id. at 618:12-619:23, 676:16-23, 697:23-698:10, and

   699:24-700:8. On the "registry" term, contrary to Express Mobile's view, the Court's

   construction does not require it to include a simple, unstructured database. In addition,

   as GoDaddy points out, the slides it showed to the jury and used during Kent's

   testimony could not have more clearly spelled out each of the Court's claim

   constructions that Kent was using to render his opinions on infringement of those

   claims.

         Second, Express Mobile is essentially raising a claim construction argument

   regarding the meaning of the terms "platform" and "database" under the guise of a

   challenge to the sufficiency of the evidence of noninfringement. That is, Express

   Mobile's argument invites the Court to hold that a browser may constitute a platform,

   and vice versa, and that a simple file may constitute a database. But the Court did not

   construe the terms platform or database. "In the absence of such a construction . . . the

   jury was free to rely on the plain and ordinary meaning of the term[s] [platform and

   database] and conclude"—consistent with Kent's testimony—that a browser is not a



                                              10

                                           Appx129
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   platform under the Court's construction of device-dependent code (and therefore,

   player), and that a file is not a database under the Court's construction of registry.

   ePlus, Inc. v. Lawson Software, Inc., 700 F.3d 509, 520 (Fed. Cir. 2012). Moreover, "[a]

   sound claim construction need not always purge every shred of ambiguity, including

   potential ambiguity arising from the words a court uses to construe a claim term."

   Rembrandt Wireless Techs., LP v. Samsung Elecs. Co., 853 F.3d 1370, 1378–79 (Fed.

   Cir. 2017) (internal quotation marks omitted). "Such an endeavor could proceed ad

   infinitum." Eon Corp. IP Holdings v. Silver Spring Networks, 815 F.3d 1314, 1318 (Fed.

   Cir. 2016).

          Third, even assuming that Express Mobile is correct that GoDaddy misled the

   jury about the proper claim constructions, that would not automatically entitle Express

   Mobile to JMOL. "Where an [non]infringement verdict relies on incorrect construction of

   the disputed claim terms, this court may grant JMOL or order a new trial to correct the

   error, depending on the degree of difference between the incorrect construction and the

   correct construction." Finisar Corp. v. DirecTV Grp., Inc., 523 F.3d 1323, 1333 (Fed.

   Cir. 2008). Express Mobile has not persuaded the Court that the degree of difference

   between the allegedly incorrect constructions used by GoDaddy/Kent and the Court's

   constructions—if there is even a difference—is significant enough to entitle it to JMOL.

   To hold otherwise would "constitute a usurpation of the jury's province as factfinder."

   Garrison v. Mollers N. Am., Inc., 820 F. Supp. 814, 819 (D. Del. 1993).

          Express Mobile's other argument on this point is that "[u]nder the correct claim

   constructions, Express Mobile presented undisputed evidence that WSB and MWP"

   infringe the asserted patents, and that "no reasonable jury could have concluded



                                                11

                                            Appx130
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   otherwise." Mot. for J. as a Matter of Law at 2. But the evidence presented by Express

   Mobile was disputed, and "when there is conflicting testimony at trial, and the evidence

   overall does not make only one finding on the point reasonable, the jury is permitted to

   make credibility determinations and believe the witness it considers more trustworthy."

   MobileMedia Ideas LLC v. Apple Inc., 780 F.3d 1159, 1168 (Fed. Cir. 2015). When

   evaluating a motion for JMOL, "the court may not weigh the evidence, determine the

   credibility of witnesses, or substitute its version of the facts for the jury's version."

   Lightning Lube, Inc., 4 F.3d at 1166.

          Express Mobile cites Moba, B.V. v. Diamond Automation, Inc., 325 F.3d 1306,

   (Fed. Cir. 2003), and contends that, in that case, the Federal Circuit "revers[ed] denial

   of JMOL where 'the district court allowed the jury to add an additional limitation to the

   district court's construction' and this error altered the verdict because there was 'no

   alternative basis upon which a reasonable jury could find' noninfringement." Mot. for J.

   as a Matter of Law at 11 (quoting Moba, B.V., 325 F.3d at 1322). But even if GoDaddy

   did add additional limitations to the Court's construction—which, again, the Court is not

   persuaded it did—in this case there were alternative bases upon which a reasonable

   jury could find noninfringement. Again, GoDaddy argued that its products were missing

   three of the required claim elements taught by the patents, and a finding of

   noninfringement on any one of those claim elements would have entitled GoDaddy to

   the same verdict. It is not enough for Express Mobile to argue the jury should have

   found in its favor, it must establish "there is insufficient evidence for permitting any

   different finding" other than that of infringement. Fireman's Fund Ins. Co., 540 F.2d at

   1171 (emphasis added). Express Mobile has not made that showing.



                                                  12

                                              Appx131
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          In sum, the Court presumes, as it must at this stage, that the jury credited Kent's

   testimony over Dr. Almeroth's in finding that the accused instrumentalities did not

   infringe the asserted claims as construed by the Court—specifically that the WSB and

   MWP platforms did not include: (1) "player" code, (2) "symbolic names," or (3) a

   "registry." The trial record demonstrates that the jury received sufficient evidence from

   which it could reasonably find that GoDaddy's products do not infringe. The Court

   therefore denies Express Mobile's renewed motion for JMOL on this basis.

          The next question is whether the cited conduct entitles Express Mobile to a new

   trial. The Court is not persuaded that a new trial is warranted. As Express Mobile

   argues, "[a] court may grant a new trial when 'the jury's verdict is against the clear

   weight of the evidence, and a new trial must be granted to prevent a miscarriage of

   justice.'" Mot. for J. as a Matter of Law at 3 (quoting Genzyme Corp. v. Atrium Med.

   Corp., 315 F. Supp. 2d 552, 562 (D. Del. 2004)). Express Mobile also contends that "[a]

   court may . . . grant a new trial 'when improper conduct by an attorney or the court

   unfairly influenced the verdict.'" Id. (quoting Zarow-Smith v. New Jersey Transit Rail

   Operations, Inc., 953 F. Supp. 581, 584–85 (D.N.J. 1997)). Neither situation is present

   here. As just discussed, the clear weight of the evidence did not lean in favor of a

   verdict of infringement. Nor were the arguments made by GoDaddy, when considered

   "as a whole," "so constantly and effectively addressed to the prejudices of the jury that

   [the Court] must order a new trial." Draper v. Airco, Inc., 580 F.2d 91, 97 (3d Cir. 1978).

   F.     Undisclosed expert witness testimony

          Express Mobile next contends that it is entitled to JMOL or, in the alternative, a

   new trial because GoDaddy presented undisclosed expert rebuttal testimony through



                                                13

                                            Appx132
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   two of its fact witnesses that resulted in "jury confusion and error." Mot. for J. as a

   Matter of Law at 16. The Court sees—and Express Mobile presents—no viable

   argument for JMOL on this basis, so it will consider Express Mobile's contentions on this

   point only as support for its motion for a new trial. Express Mobile again contends that

   "a court may [] grant a new trial 'when improper conduct by an attorney or the court

   unfairly influenced the verdict,'" id. at 3 (quoting Zarow-Smith, 953 F. Supp. at 584–85),

   or based on "substantial errors in admission or rejection of evidence." Montgomery

   Ward & Co. v. Duncan, 311 U.S. 243, 251 (1940).

          Under Federal Rule of Civil Procedure 26(a)(2)(A), a party must disclose the

   identity of a witness who is going to present expert (i.e., non-lay person) testimony. 3

   Rule 26(a)(3)(B) requires that disclosure to be made at least thirty days before trial

   unless the court orders otherwise. A disclosure under Rule 26(a)(2)(A) must be

   accompanied by a statement of "the subject matter on which the witness is expected to

   present evidence under Federal Rule of Evidence 702, 703, or 705" and "a summary of

   the facts and opinions to which the witness is expected to testify." Fed. R. Civ. P.

   26(a)(2)(C). A party that fails to make a disclosure required by Rule 26(a) is precluded

   from relying on that evidence on a motion or at trial unless the failure to disclose was

   "substantially justified or harmless." Fed. R. Civ. P. 37(c)(1).

          During the trial, GoDaddy called as witnesses Aaron Silvas and Franklin Jarrett,

   two of its engineers who worked on WSP and MWP, respectively. Express Mobile

   contends that their testimony: (1) ran afoul of Rules 26(a)(2)(A) and 26(a)(2)(C)




   3 There are, of course, additional requirements for retained witnesses who will present

   expert testimony, see Fed. R. Civ. P. 26(a)(2)(B), but that is not what is at issue here.
                                                14

                                            Appx133
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   because it was not timely or properly disclosed; and (2) should have been barred

   because "it is an abuse of discretion to permit a witness to testify as an expert on the

   issue[] of noninfringement . . . unless that witness is qualified as an expert in the

   pertinent art . . . . [and this] prohibition of unqualified witness testimony extends to the

   ultimate conclusion[] of infringement . . . as well as to the underlying technical

   questions." HVLPO2, LLC v. Oxygen Frog, 949 F.3d 689, 689 (Fed. Cir. 2020).

          Both of these contentions lack merit, as they are based on the mistaken premise

   that the testimony of Silvas and Jarrett amounted to rebuttal expert testimony. But

   Express Mobile's argument regarding this testimony fails for an even more basic

   reason: Express Mobile failed to contemporaneously object to any of Silvas and Jarrett's

   testimony during the trial.

          As GoDaddy points out, this post trial motion is not the first time Express Mobile

   has asserted a challenge to the testimony of Silvas and Jarrett. During the final pretrial

   conference, the Court heard arguments regarding Express Mobile's motion in limine

   number seven, in which it sought to preclude Jarrett and Silvas from offering expert

   opinions on GoDaddy's source code. The Court concluded that it could not rule on this

   in vacuum and that Express Mobile would have to assert any such objections at trial.

   The Court stated, quite unambiguously, that it was "going to do this the way Judge

   Andrews did, and it's going to be based on objections that are made at the trial and

   everybody basically acts at their peril. It's just that simple." Pretrial Conf. Tr. at 27:8-24

   (emphasis added). The Court went on to say:

          So, you know, I'll determine when I get an objection whether -- if it
          concerns the dividing line between fact and opinion testimony, I'll
          determine based on whatever foundation's been laid, which side of the line
          it's on. And if I conclude it's on the opinion side of the line, and there's not

                                                 15

                                             Appx134
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          a sufficient disclosure under Rule 26(a), then it's probably going to get
          excluded. And if I conclude it's on the fact side of the line, then it's
          probably not going to get excluded. So -- but I just think it would be
          borderline reckless for me to try to define that line right now. I think that's
          best dealt with by, A, people being careful, and, B, objections and ruling
          on the objections. So that's what I'm going to do.

   Id. at 27:15–28:2 (emphasis added). The Court therefore denied Express Mobile's

   motion in limine "without prejudice to making objections at trial." Id. at 28:3-4 (emphasis

   added).

          On the morning of the third day of trial, before the jury entered the courtroom,

   Express Mobile again raised its concerns regarding Jarrett and Silvas's testimony.

   Specifically, counsel for Express Mobile stated that, because Jarrett and Silvas were

   going to be shown and asked about some of the same exhibits that Dr. Almeroth used

   to conduct his infringement analysis, it appeared that GoDaddy sought "to implicitly or

   explicitly, you know, engage in a rebuttal." Trial Tr. at 468:14-16. The Court overruled

   the objection, concluding that the mere fact that these witnesses would be shown

   exhibits that had been shown to an expert was not enough to make their testimony

   expert testimony. The Court further stated, "as it's characterized, I don't think it's expert

   testimony . . . . [and] the jury's basically told they're to evaluate expert testimony and

   fact testimony the same way." Id. at 470:9-13. The Court instructed GoDaddy,

   however, that it was not to refer to Dr. Almeroth when showing Jarrett or Silvas these

   exhibits or asking questions about them.

          According to Express Mobile, Jarrett and Silvas proceeded to charge ahead past

   the Court's directive and give what Express Mobile contends was undisclosed expert

   testimony rebutting that of Dr. Almeroth. But Express Mobile did not make a single

   contemporaneous objection to their testimony. Again, the Court had clearly instructed

                                                16

                                            Appx135
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   Express Mobile during the pretrial conference that if it believed that Jarrett or Silva were

   asked during the trial to render expert testimony during the trial, it would be incumbent

   upon Express Mobile to object at that time. And the Court provided more guidance

   about what the appropriate boundaries might be on the morning Jarrett and Silvas took

   the stand, when Express Mobile raised the issue for the second time. But Express

   Mobile still did not object to either witness's testimony as it was unfolding, as it was

   required to do.

          In fact, the only objection Express Mobile made contemporaneously concerned

   not the content of Jarrett or Silvas's testimony, but a single exhibit that was not timely

   disclosed as an exhibit that would be used during Jarrett's testimony. 4 But GoDaddy's

   failure to include that exhibit—PTX-550D—in Jarrett's exhibit binder is not a violation of

   the Federal Rules of Civil Procedure that could even conceivably entitle Express Mobile

   to a new trial. Instead, it was a mere violation of paragraph 47 of the parties' mutual

   agreement—as contained in the joint pretrial order—regarding advance notice of the

   exhibits to be used in connection with a direct examination of each witness. That aside,

   the arguably belated disclosure of this particular exhibit as one that would be used

   during the witness's testimony could not possibly have unfairly prejudiced Express

   Mobile. Among other things, the exhibit was on Express Mobile's own list of trial

   exhibits attached to the proposed pretrial order, thus making it clear that Express Mobile

   was aware of its possible significance.

          Even if Express Mobile had not waived this point by failing to object

   contemporaneously, the Court is not persuaded that Jarrett or Silvas provided anything



   4 GoDaddy has effectively conceded this.


                                                17

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   that constitutes expert testimony under Federal Rules of Evidence 702, 703, or 705. A

   lay witness may testify if he "has particularized knowledge by virtue of [his] experience .

   . . even if the subject matter is specialized or technical—because the testimony is based

   upon the layperson's personal knowledge rather than on specialized knowledge within

   the scope of FRE 702." Donlin v. Philips Lighting N. Am. Corp., 581 F.3d 73, 81 (3d Cir.

   2009) (emphasis added). That was the case here. Both witnesses repeatedly testified

   that they did not review the asserted patents or the Court's claim constructions. And

   neither voiced any opinion on infringement other than to say, in colloquial terms, that

   they did not steal or copy someone else's work when they helped develop the code

   behind WSB (Silvas) and MWP (Jarrett). The quotes that Express Mobile cherry picks

   from the record are nothing more than Silvas and Jarrett's descriptions, based on their

   own first-hand knowledge, of how their respective products work or do not work. The

   Court agrees with GoDaddy that Jarrett and Silvas's mere use of the same terms found

   in some of the claims at issue does not, by itself, transform their testimony into rebuttal

   expert testimony on the question of infringement of those claims.

          Express Mobile's only argument on this point that even approaches the

   plausibility threshold involves not Jarrett or Silvas's testimony itself but rather the closing

   argument by counsel for GoDaddy. Were one to read certain quotes from GoDaddy's

   closing argument out of context, they conceivably support a belief that GoDaddy

   characterized Jarrett and Silvas as experts who were called to rebut everything Dr.

   Almeroth had to say.

          Express Mobile's argument is precluded, however, due to its failure to object

   contemporaneously during GoDaddy's closing argument. It therefore waived this point.



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   And even if that were not the case, the argument is not supported by a reading of the

   closing arguments in context and as a whole and thus would not entitle Express Mobile

   to a new trial. See Genzyme Corp. v. Atrium Med. Corp., 315 F. Supp. 2d 552, 561-62

   (D. Del. 2004) (emphasis added) ("[S]tatements made about prior art and infringement

   in closings that accurately reflected evidence, which has been admitted without

   objection, are not improper."). The comments by counsel for GoDaddy during closing

   argument accurately reflected the evidence. In particular, there is nothing improper

   about an argument that a fact witness's testimony discredited the testimony of the

   opposing party's expert witness. See Fineman v. Armstrong World Indus., Inc., 980

   F.2d 171, 207 (3d Cir. 1992) ("not all improper remarks will engender sufficient

   prejudice to mandate the granting of a new trial" and "a combination of improper

   remarks are required to persuade [the Court] of prejudicial impact"); see also, Draper,

   580 F.2d at 97 (in determining whether a new trial must be granted "we do not rely on

   any of the individual instances or types of impropriety. Rather, we [] assess[] the

   argument as a whole"). There has been no "miscarriage of justice." Genzyme Corp.,

   315 F. Supp. 2d at 562.

          Express Mobile is not entitled to JMOL or a new trial on this basis.

                                           Conclusion

          For the reasons stated above, the Court denies plaintiff's renewed motion for

   judgment as a matter of law, or in the alternative, a new trial [dkt. no. 333].



                                                     ________________________________
                                                          MATTHEW F. KENNELLY
                                                          United States District Judge
   Date: July 5, 2023

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(12)   United States Patent                                                              (10) Patent No.:                     US 6,546,397 Bl
       Rempell                                                                           (45) Date of Patent:                              Apr. 8, 2003


(54)    BROWSER BASED WEB SITE GENERATION                                                  6,148,311 A * 11/2000 Wishnie et al. ............. 707/513
        TOOL AND RUN TIME ENGINE                                                           6,191,786 Bl * 2/2001 Eyzaguirre et al. ......... 345/853

                                                                                                         OTHER PUBLICATIONS
(76)    Inventor:     Steven H. Rempell, 38 Washington St.,
                      Novato, CA (US) 94947                                         Piero Fraternali, "Tools and Approaches for Developing
                                                                                    Data-Intensive Web Applications: A Survey", ACM Sep.
( *)    Notice:       Subject to any disclaimer, the term of this                   1999, pp. 226-263.*
                      patent is extended or adjusted under 35                       Balusubramanian et al A Large-Scale Hypermedia Applica-
                      U.S.C. 154(b) by O days.                                      tion using Document Management and Web Technologies,
                                                                                    ACM 1997, pp. 134-145.*
(21)    Appl. No.: 09/454,061
                                                                                    * cited by examiner
(22)    Filed:        Dec. 2, 1999
                                                                                   Primary Examiner-Safet Metjahic
(51)    Int. Cl.7 . ... ... .. ... ... ... ... .. ... G06F 17/00; G06T 13/00       Assistant Examiner-Dyen Le
(52)    U.S. Cl. ................. 707/102; 707/104.1; 707/501.1;                  (74) Attorney, Agent, or Firm----Coudert Brothers LLP
                                                            345/700; 345/473
                                                                                    (57)                          ABSTRACT
(58)    Field of Search ................................. 707/102, 103,
                  707/104, 501, 513, 517, 530, 104.1, 501.1;                        A method and apparatus for designing and building a web
                          345/333, 967, 326, 339, 348, 352, 700,                    page. The apparatus includes a browser based build engine
                                                                         473        including build tools and a user interface. The build tools are
                                                                                    operable to construct a single run time file and an associated
(56)                      References Cited                                          database that describe, and when executed, produce the web
                  U.S. PATENT DOCUMENTS                                             page. The user interface includes a build frame and a panel.
                                                                                    The build frame is operable to receive user input and present
       5,428,731 A     * 6/1995 Powers, III ................. 707/501               a WYSIWIG representation of the web page. The panel
       5,842,020 A     * 11/1998 Faustini ...................... 395/701            includes one or more menus for controlling the form of
       5,870,767 A     * 2/1999 Kraft, IV .................... 707/501              content to be placed on the web page.
       6,035,119 A     * 3/2000 Massena et al. ............ 717/100
       6,081,263 A     * 6/2000 LeGall et al. ......... ...... 345/327
       6,083,276 A     * 7/2000 Davidson et al. .............. 717/1                                  39 Claims, 68 Drawing Sheets


                                                                                 START




                                                                  6




                                                                       THE BROWSER BASED
                                                            7         BUILD TOOL CREATES AN
                                                                        OBJECT DATABASE




                                                                       HTML SHELL FILE AND
                                                      B                 CAB/JAR FILE WITH
                                                                      CUSTOMIZED RUN ENGINE
                                                                         AND DATA BASE




                                                            9               UPLOAD TO
                                                                          USER'S WEB SITE




                                                            10            BROWSER CALLS
                                                                          THE RUN ENGINE




                                                                        RUN ENGINE READS
                                                           11             DATABASE AND
                                                                       EXECUTES THE ENTIRE
                                                                            WEBSITE




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                              1                                                                   2
   BROWSER BASED WEB SITE GENERATION                                  In one aspect the invention includes a screen resolution
       TOOLAND RUN TIME ENGINE                                     sensing mechanism that causes a build engine (i.e. build
                                                                   tools) to adopt its interface to the web designer's screen
                                                                   resolution.
               FIELD OF THE INVENTION
                                                                      In one aspect, the invention includes a multi-dimensional
   The present application is directed to computing systems,       array structured database, that, in addition to storing the
and more particularly to methods and apparatus for building        numeric and string data found in conventional databases,
a web site using a browser-based build engine.                     also stores multi-dimensional arrays of various multimedia
                       BACKGROUND                                  objects. They include colors, fonts, images, audio clips,
                                                                10 video clips, text areas, URLs and thread objects. The inven-
   Conventional web site construction tools operate on tra-        tion includes a run time generation procedure that creates a
ditional operating system platforms and generate as output         compressed web site specific customized run time engine
HTML (hyper text mark-up language) and Script Code ( e.g.,         program file, with its associated database and a build engine
JavaScript). A browser draws a web page associated with the        generated HTML shell file.
web site by interpreting the HTML and JavaScript Code. 15
                                                                      The invention can include web page scaling technology,
However, conventional mark-up and scripting languages
                                                                   so that when the web site/web page is accessed on the
include numerous inherent limitations. Conventional mark-
                                                                   WWW, the web pages and all the objects within them can be
up and scripting languages have not been designed for
                                                                   scaled to the user's screen resolution and to the then current
serious multimedia applications. They have almost no file
                                                                   browser window size.
handling ability and very little computational power. In 20
                                                                      In one aspect, the invention includes a proprietary multi-
addition, they are remarkably slow and inefficient.
                                                                   level program animation model (threads) that responds to
   As such it is virtually impossible to write a web publish-      multiple user interactions and time sensitive operations
ing application in HTML and JavaScript. All conventional           simultaneous! y.
implementations must, and do, utilize a full-featured pro-
                                                                      In one aspect, the invention includes a mechanism for the
gramming language, such as C++ or Visual Basic. Since the 25
                                                                   dynamic resizing of the build engine's web page size during
current popular browsers do not support these languages, by
                                                                   various editing operations.
necessity, conventional web publishing applications run on
platforms other than the World Wide Web (WWW) and its                 In one aspect, the invention includes techniques for cre-
browsers. Therefore, at best, a conventional web publishing        ating browser based interface objects that visually and
application can offer only a crude preview capability of what 30 behaviorally are identical to those of the MS Window's
a real web page will look like.                                    standard.
                                                                      Aspects of the invention can include one or more of the
   Although C++ and Visual Basic are very capable
                                                                   following features. A browser based build engine is provided
languages, the conventional web publishing applications
                                                                   that includes a browser based interface. The entire web site
written in these languages are still necessarily limited by the
                                                                   build process is WYSIWYG (what you see is what you get),
limitations inherent in their form of output, which as 35
                                                                   with the web designer working directly on and with the final
described above is typically HTML and scripting code. As
                                                                   web page. The data produced by the build engine is pro-
such, a conventional web publishing application written in
                                                                   cessed and ultimately placed into a multi-dimensional array
one of these languages suffers from the severe performance
                                                                   structured database, and stored in an external file. A run time
problems inherent in these languages.
                                                                   generation procedure creates a compressed program custom-
   For example, HTML and JavaScript are incapable of 40
                                                                   ized run time engine file, with an associated database and a
reformatting text and scaling buttons or images dynamically.
                                                                   build engine generated HTML Shell File.
In addition, most conventional web publishing applications
                                                                      When the web site/web page is accessed on the WWW,
design a web page layout to fit into a 640 pixel wide screen.
                                                                   web page scaling technology can be accessed to generate
This means that the ability for higher resolution screens to
                                                                   web pages that are scaled to the user's screen resolution. A
display more data horizontally is lost. Since capability is 45
                                                                   technique is provided so that an applet' s size (height and
wasted on the horizontal plane, unnecessary vertical scroll-
                                                                   width) can be set in real time under the control of either the
ing may be required. Further, on higher output resolution
                                                                   interface or the build engine. At the same time a multi-level
devices (screens), unsightly extra white space or background
                                                                   program animation model (threads) is activated for user
may be prevalent.
                                                                50 interactions and time sensitive operations.
                         SUMMARY                                      The browser based interface technologies create a set of
   In one aspect the invention includes a Browser Based            interface objects with a look and feel that is identical to that
build engine that is written entirely in a web based full          of MS Windows, yet includes technologies that equal or
featured programming language (e.g., JAVA). A Browser              occasionally surpass those of high end word processors,
Based Interface (the "Interface") between the web designer 55 desk top publishers, and image processing software
and the build engine is included. The browser-based inter-         programs, particularly in the areas of interaction, animation,
face can be written in the World Wide Web's (WWW)                  and timeline technologies. The run time engine includes
Hypertext Markup Language (HTML) and its Extensions                multimedia capabilities often rivaling the digital processing
(Dynamic HTML, JavaScript and Cascading Style Sheets).             capabilities seen on television and in the movies.
The Interface includes a unique set of communication tech- 60         Because of the implementation of a variety of perfor-
niques. One technique allows for effective two-way com-            mance and file reduction techniques, the entire run time
munications between a JAVA engine and JavaScript.                  environment can range from as low as 12K, and no larger
Another technique allows for communications between a              than SOK. This depends upon the features selected by the
JAVA applet object inside a JavaScript window, with the            web designer. Although the compressed image, audio, and/
JAVA engine, which permits the implementation of 65 or video files must also be downloaded, with a reasonable
advanced intelligent interface objects, such as a "slider" or      web site design, web pages should load quickly. The initial
a "dial".                                                          run time environment is no larger than 25K, thus the initial




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web page should generally load in less than 2 seconds, and               FIG. 10 is a flow chart that shows a detailed view of the
subsequent web pages in less than 1 second with a 56K                 build time techniques for analyzing user input for error
modem, even with numerous image files.                                checking and data integrity.
   The present invention provides a real time, dynamic                   FIG. 11 is a flow chart, with its attendant screenshot
linkage between JAVA and HTML including two-way                    5 shown in FIGS. 38-41, that shows a detailed view of the
communications, in real time, between JAVA and JavaScript.            build time methods for direct text entry at an arbitrary cursor
                                                                      position and text editor implementation methods.
       BRIEF DESCRIPTION OF THE DRAWINGS                                 FIG 12 is a flow chart, with its attendant screenshot shown
   The foregoing aspects and many of the attendant advan- 10 in FIGS. 49-56, that shows a detailed view of the build time
tages of the invention will become more readily appreciated           techniques for reading external image files, creating them on
through the following drawings and their associated screen            a web page, and then manipulating them through either
shots, referred to throughout the detailed description,               direct mouse interaction or through the interface's panel/
wherein:                                                              windows.
   FIG. 1 is a flow chart depicting a prior art conceptual 15            FIG. 13 is a flow chart that shows a detailed view of the
overview of how a user and a web browser interface.                   build time implementation of text, button and image styles
                                                                      in accordance with one implementation of the present inven-
   FIG. 2 is flow chart depicting a conceptual overview of            tion.
how a user interfaces with a web browser when implement-
                                                                         FIG. 14 is a flow chart that shows a detailed view of the
ing the present invention to construct a web site.
                                                                   20
                                                                      video and audio processing in accordance with one imple-
   FIG. 3a is a schematic diagram showing the main com-               mentation of the present invention.
ponents of a build tool in accordance with one implemen-
                                                                         FIG. 15 is a flow chart that shows a detailed view of the
tation of the present invention.
                                                                      frame, table, forms, and draw objects processing and tech-
   FIG. 3b is a process flow diagram showing a build process          nology in accordance with one implementation of the
in accordance with one implementation of the present inven-           present invention.
~                                                                  ~
                                                                         FIG. 16 is a flow chart that shows a detailed view of the
   FIG. 4a is schematic diagram showing the main compo-               build time methods for supporting various user interactions
nents of a run generation tool in accordance with one                 at run time.
implementation of the present invention.                                 FIG. 17 is a flow chart, with its attendant screenshots
   FIG. 4b is process flow diagram showing a run time 30 shown in FIGS. 57-58, that shows a detailed view of the
process in accordance with one implementation of the                  build time methods for text button and image object anima-
present invention.                                                    tion.
   FIG. 5 is a flow chart, with its attendant screen shot shown          FIG. 18 is a flow chart, with its attendant screenshots
in FIG. 37, that depicts a detailed view of a build time              shown in FIGS. 59-60, that shows a detailed view of the
initialization procedure in accordance with one implemen- 35 build time methods for text button and image transforma-
tation of the present invention.                                      tions.
   FIG. 6 is a flow chart, with its attendant screenshots                FIG. 19 is a flow chart, with its attendant screenshots
shown in FIGS. 38-48, that depicts a detailed view of the             shown in FIGS. 61-62, that shows a detailed view of the
build time supported user input techniques and techniques             build time methods for text button and image time lines.
for communication of data and status between the build 40                FIG. 20 is a flow chart with its attendant screenshot shown
engine and the interface in accordance with one implemen-             in FIG. 63, that shows a detailed view of the build time web
tation of the present invention.                                      page transition animations and time lines.
   FIG. 7a is a flow chart that shows an overview of the build           FIG. 21a is a flow chart that shows a detailed view of file
time techniques for implementation of pop-up windows                  operations performed in accordance with one implementa-
(usually called "dialog boxes" in MS Windows), the panel 45 tion of the present invention.
interface, and interface for color selection.                            FIG. 21b is a flow chart that shows a detailed view of the
   FIG. 7b is a flow chart, with its attendant screenshots            view operations performed in accordance with one imple-
shown in FIGS. 37-38, that shows a detailed view of the               mentation of the present invention.
build time techniques for implementation of panel interface              FIG. 22 is a flow chart that shows a detailed view of a
                                                                   50
objects, including the menu bar, menus and sub-menus, the             dynamic web resizing process that is activated by the
tool bars, status fields, interactive fields, and interactive pull    "Open" and "Web Site" commands under the "File" menu
down lists, in accordance with one implementation of the              and the "Zoom" command under the "View" menu.
present invention.                                                       FIG. 23 is a screen shot showing a file selection window
   FIG. 7c is a flow chart, with its attendant screenshots 55 operation in accordance with one implementation of the
shown in FIG. 37 and FIG. 63, that shows a detailed view              present invention.
of the build time techniques for implementation of tabbed                FIG. 24 is a flow chart showing a detailed view of an
pop-up windows (also called "dialog boxes" in MS                      external database in accordance with one implementation of
Windows).                                                             the present invention and also shows the security and
   FIG. 8 is a flow chart that shows a detailed view of the 60 optimization techniques that can be employed.
build time techniques for updating the internal databases and            FIG. 25 is a flow chart showing a detailed view of a
the setting of feature flags for run time optimization pur-           method for creating a customized and optimized run time
poses.                                                                engine in accordance with one implementation of the present
   FIG. 9 is a flow chart, with its attendant screenshot shown        invention.
in FIG. 37, that shows a detailed view of the build time 65              FIG. 26 is a flow chart showing a detailed view of the
polling methods used to facilitate communication from the             methods for creating an HTML shell file in accordance with
JAVA build engine to the interface.                                   one implementation of the present invention.




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   FIG. 27 is a flow chart showing a detailed view of the          page scaling engine 364, time line engine 366 and installa-
methods for creating compressed CAB and JAR files in               tion Program 368. The operation and use of each of these
accordance with one implementation of the present inven-           components is described in greater detail below.
tion.                                                                 FIG. 3b is a flow of the build process executed by the
   FIG. 28 is a flow chart showing a detailed view of the 5 build tool to create a web page/web site. Referring to FIGS.
technology for dynamic web page size creation in accor-            3a and 3b, the process begins with an initialization (12) and
dance with one implementation of the present invention.            continues through to a point where a web site has been
   FIG. 29 is a flow chart showing a detailed view of the          defined and stored in the build engine's internal database
methods for reading the multimedia database and generating         (29).
the necessary objects in accordance with one implementa- 10           The build tool 350 includes plural individual tools that are
tion of the present invention.                                     created and initialized at (12). The processes for creating and
                                                                   initializing build tools are described in greater detail below
   FIG. 30 is a flow chart showing a detailed view of the          in association with FIG. 5. After the build tools are created
methods for dynamically scaling the web page object(s) to          and initialized at 12, the build tool 350 interacts with the
different screen resolutions and window sizes in accordance 15 user, receiving user commands (actions), for example, to
with one implementation of the present invention.                  build a web site. The build tool 350 processes user responses
   FIG. 31 is a flow chart showing a detailed view of the          and communicates the same and status information to both
methods for executing a multi-level web page and object            the build engine 352 and interface 354 at 13. The processes
thread architecture in accordance with one implementation          for interacting with the user are described in greater detail
of the present invention.                                       20 below in association with FIG. 6.
   FIG. 32 is a schematic diagram that shows a detailed view          In one implementation, the interface includes a panel (and
of the web page transition animation architecture in accor-        its objects, including a menu bar, menus and sub-menus, tool
dance with one implementation of the present invention.            bars, status fields, interactive fields and interactive pull
   FIG. 33 is a schematic diagram that shows a detailed view       down lists), pop-up windows (called "dialog boxes" in MS
of the parent object time line architecture in accordance with 25 Windows), color and alert message interface technologies,
one implementation of the present invention.                       built with HTML, Dynamic HTML (DHTML), JavaScript,
   FIG. 34 is a schematic diagram that shows a detailed view       and Cascading Style Sheets (CSS). Interface 354 responds to
of the child object time line architecture in accordance with      the user input and may display a pop-up window, update the
one implementation of the present invention.                       interface objects, or display alert messages, as shown at 15.
                                                                30 The operation of the interface 354 is described in greater
   FIG. 35 completes the flow chart begun at FIG. 31.
                                                                   detail below in association with FIG. 7a, FIG. 7b and FIG.
   FIG. 36 is a flow chart showing a detailed view of the          7c.
methods for responding to user interactions in accordance             As the build engine 352 receives data and status
with one implementation of the present invention.                  information, it updates an internal database (part of multi-
   FIGS. 37-63 are screen shots of the user interface pre- 35 dimensional array structured database 358) and sets feature
sented by the build process in accordance with one imple-          flags at 14. The processes for updating the internal database
mentation of the present invention.                                and setting flags are described in greater detail below in
                                                                   association with FIG. 8. To enable effective two-way com-
                 DETAILED DESCRIPTION
                                                                   munication between the interface and the build engine,
   Referring to FIG. 1, in a prior art process for creating and 40 polling technology is included as shown at 16. The details of
displaying a web site, the user either directly writes HTML        the polling process are described in greater detail below in
and Script Code providing user input at 1 or operates a            association with FIG. 9.
related prior art product at 2, which generates the HTML and          Whenever user input is received, the build tool 350
Script Code at 3. A separate file, with its attendant HTML         analyzes the input including error checking at 17. In one
and Script Code is uploaded for each separate web page in 45 implementation, the input is analyzed and then processed by
the web site at 4, which is then interpreted by a browser          object type (class). The process for analyzing input to
when accessed at 5.                                                determine type is described in greater detail below in
   FIG. 2 shows a process for creating and displaying a web        association with FIG. 10. In one implementation, the num-
site in accordance with one aspect of the invention in which,      ber of different object processing technology classes are
a user operates a build tool at 6, working directly with one 50 four, and include direct text entry (18), image processing
or more of the final web pages in a full WYSIWYG mode.             (19), video or audio files and links (21) and frames, tables,
The build tool accepts the user input and creates a multi-         forms and draw objects (22). The build tool 350 processes
dimensional embedded multimedia object database at 7. A            the user input based on class. The processes invoked for
run time generation process is then invoked to create the          direct text entry are described in greater detail below in
necessary run time files at 8 (including HTML shell, CAB/ 55 association with FIG. 11. The processes invoked for image
JAR files and a customized runtime engine) which are then          processing is described in greater detail below in association
loaded to a user's web site at 9. The web page(s), when            with FIG. 12. The processes invoked by the text button,
viewed by a web surfer, are activated by the browser calling       paragraph, and image style technologies are described in
the customized run time engine at 10. The run time engine          greater detail below in association with FIG. 13. The pro-
then begins to read the database and down load image, audio 60 cesses invoked for processing audio and video files and
and video files, while simultaneously drawing the first web        channels are described in greater detail below in association
page for viewing or user interaction at 11.                        with FIG. 14. The processes invoked for processing frames,
Build Tool and Process                                             tables, forms and draw objects are described in greater detail
   FIG. 3a shows a build tool 350 at the detailed component        below in association with FIG. 15. When an image, text
level. The build tool includes a build engine 352, interface 65 button or paragraph object is to be inserted in the web page,
354, screen sensing mechanism 356, multi-dimensional               the current style that is selected in the panel defines the
array structured database 358, interface's database 360, web       initial settings used when creating the object in the web




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page. As such, button, image and paragraph style setting and       run time engine executes a multi-level thread technology,
technology will be invoked at 20 depending on the user             which presents to the viewer web pages that can operate
input. The processes invoked by the paragraph style setting        under time lines that may include animated transitions.
and technology is described in greater detail below in             Associated with the web page time lines can be object time
association with FIG. 13.                                       5 lines that may define entrance, main and exit animations,
   After the input is processed as described above, a check        transformations, and synchronized time lines for child
is made to determine if one or more animation or transfor-         objects. Each object can have multiple object states, respon-
mation (interaction) techniques are to be invoked at 23. The       sive to various user interactions, which can result in numer-
run time engine provided in accordance with the teachings          ous types of visual and audio responses and actions.
                                                                      Referring now to FIGS. 4a and 4b, a run generation
of the present invention support various user interactions, 10
                                                                   process 360 begins by invoking the run generation proce-
including support for numerous animation and transforma-
                                                                   dure 377. The run generation procedure 371 begins by
tion techniques, and both web page and object time lines.          creating the external database (part of database 374) at 30.
Depending on the user selections, one or more technologies         The external database may include references to image,
may be invoked. In the implementation shown, the build tool        video and audio files, and video and audio channels. The
350 is configured to check to determine if the input data is 15 process for creating the external database is described in
related to plural technologies including: user interaction         greater detail below in association with FIG. 24. A custom-
technology (24), animation technology (25), transformation         ized and optimized run time engine (run time engine 377) is
technology (26), object time line technology (27) and web          created at 31. The customized and optimized run time engine
page transition animation technology (28). The processes           (run time engine 377) generates the web pages for the web
invoked for user interaction technology are described in 20 site and is activated from the user's server. The process for
greater detail below in association with FIG. 16. The pro-         creating the run time engine 377 is described in greater detail
cesses invoked for animation technologies are described in         below in association with FIG. 25. The HTML shell file is
greater detail below in association with FIG. 17. The pro-         created at 32, and then the CAB and JAR files are created at
cesses invoked for transformation technologies are                 33a. The HTML shell file includes JavaScript Code to
described in greater detail below in association with FIG. 18. 25 activate and interrogate the page size generation engine 376,
The processes invoked for object timeline technologies are         and to activate the entire runtime engine. The CAB and JAR
described in greater detail below in association with FIG. 19.     files both include the runtime engine and database in com-
The processes invoked for web page transition animation            pressed executable form. The CAB file(s) will be activated
technologies are described in greater detail below in asso-        by the HTML shell file if it senses the browser as being
ciation with FIG. 20.                                           30 Microsoft Explorer, otherwise it will activate the JAR file(s).
   After the build tool 350 has processed the user input, one      The processes for creating the HTML shell file and the CAB
or more file operations can be invoked at 29a. In one              and JAR files are described in greater detail below in
implementation, the file operations are "save", "save as",         association with FIG. 26 and FIG. 27, respectively. The run
"new", "close", "open", "apply" and "web site". If"open" or        generation process portion of the run processes is completed
"web site" are selected, the build tool 350 initiates the 35 as the HTML shell file and the CAB and JAR files are
dynamic web page resizing process at 29c (See FIG. 22). If         uploaded to the user's web site at 33b.
"save" or "save as" are selected, the build tool 350 initiates        After the upload, the run time process 365 portion begins
a run generation process (See FIG. 4 and FIG. 24). File            with the run time engine 377 invoking a web page size
operations "close", "open", and "new" can also initiate the        generation technology (engine) 376 at 34. The web page size
run generation process, based on the state of the build 40 generation technology can be used to determine the screen
process and user action.                                           resolution and the current browser window size. The process
   At any time during the processing of user input, one or         for invoking and initializing the web page size generation
more view operations can be invoked at 29b. In one                 technology is described in greater detail below in association
implementation, the view operations supported are                  with FIG. 28. The external database is read and the neces-
"normal", "preview", "play", and "zoom" (at various zoom 45 sary objects generated at 35 from their stored external
percentages). If any of the "zoom" levels are selected, the        references. These objects include image, audio, and video
build tool initiates the dynamic web page resizing process at      objects. The processes for generating the necessary objects
29c (See FIG. 22). If the "preview" or "play" view opera-          are described in greater detail below in association with FIG.
tions are selected they will initiate the run time process (See    29. A web page generation and scaling technology (web
FIGS. 28 through 36). FIG. 4a shows a run generation and 50 page scaling engine 372) is then invoked at 36. The web
runtime tool 370 at the detailed component level. The run          page scaling engine 372 can be used to reformat and scale
generation and runtime tool 370 includes a run generation          objects that had been placed in a web page during the build
procedure 371, web scaling engine 372, a database 374 and          process. The processes employed by the web page genera-
a (web) page size generation engine 376 and run time engine        tion and scaling technology are described in greater detail
377 including a runtime user interaction engine 378, a 55 below in association with FIG. 30. The run time engine then,
runtime timeline engine 380 and a runtime drawing,                 as necessary, executes a multilevel web page and object
animation, audio, and video engine 382. In one                     thread technology at 37 while the runtime user interaction
implementation, run time engine 377 includes plural                portion 378 of run time engine 371 responds to user inter-
engines, each of which may in themselves include plural            actions at 38. The processes invoked by the multilevel web
engines.                                                        60 page and object thread technology are described in greater
   FIG. 4b shows the run processes including methods for           detail below in association with FIGS. 31-35. The processes
creating the run time files, including the external database,      invoked by the run time engine to respond to user interac-
the web site specific customized run time engine, the HTML         tions are described in greater detail below in association
shell file, and the compressed CAB/JAR file. The run               with FIG. 36.
processes also include methods for scaling each web page to 65 Detailed Build Processes
the web surfer's then current screen resolution and web               Referring now to FIGS. 3a and 5 through FIG. 22 the
browser window size. After a web page has been scaled, a           build tool 350 and its associated build process are described.




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Referring first to FIGS. 3a and 5, initialization methods are         implementation, after entering a delay loop and waiting for
shown. At 39 the build tools are created as part of the               the IE to report it is fully loaded and initialized, the IBTF
execution of the installation program 368. They can include:          calls two IE methods, which return the width and height of
   1: Initial build tool HTML/JavaScript file (IBTF)                  the current screen and browser window. The IBTF then
                                                                    5 checks for the presence and value of a "mode cookie", to
   2: An initialization engine (IE).
                                                                      determine whether this is an initialization process, a web site
   3: A build engine.                                                 open command process, or a dynamic web page resizing
   4: The build engine parent HTML frame file. (PFF).                 process. If the mode cookie is set to initialize, or it doesn't
   5: A "Control Panel and Status Line" HTML/JavaScript               exist, the IBTF calls the IE to generate the build engine's
      File ("panel") for;                                          10 HTML definition file. At 43 the IE then asserts the required
      Controlling the JavaScript database.                            security permission and at 44 creates a build engine HTML
      Calling and initializing all pop-up windows.                    definition file and writes this file to the local disk ( as
      Reading all pop-up window values, and updating a                appropriate). At 45 the IBTF then turns control over to the
         JavaScript database                                          PFF for activating the "paner" and build engine and dis-
      Calling the build engine and passing all necessary data 15 playing the build engine user interface screen.
         and status information.                                         The build engine user interface screen includes a "panel"
      Polling the build engine for two-way JAVNJavaScript             portion and a build engine portion, each of which are loaded
         communication.                                               into their respective frames, after which the web site page(s)
         Displaying and updating the status of its interface          build process can begin. Screen shot FIG. 37 shows a
            objects.                                               20 representation of the user interface presented by the build
         Issuing alert messages.                                      tool. The user interface includes a panel 400 and build frame
      Processing direct user interactions with the panel's            500. Panel 400 includes a menu bar 410, menus 420 and
         interface objects.                                           sub-menus 430, tool bars 440, status fields 450, interactive
   6: Numerous HTML/JavaScript files, one for each pop-up             fields 460, interactive pull down lists 470 and operational
      window.                                                      25 pop-up windows 480. The menu bar 410 can be used for

   7: JAVA applets, embedded in HTML/JavaScript pop-up                selecting a menu command that will cause a menu to be
      window files.                                                   drawn. The menu ( one or menus 420) can be used to select
                                                                      a feature command that could cause an operational pop-up
   8: A build engine HTML definition file that is created and
                                                                      window to be drawn, a direct user input technique or object
      modified dynamically.
                                                                   30 manipulation technique to be activated, or a sub-menu 430
The initialization and build engines can be placed in a JAVA
                                                                      to be drawn. A sub-menu ( one of sub-menu 430) can cause
wrapper so that JavaScript code may receive and process
                                                                      the same type of events as that of a menu. The tool bars 440
return values from JAVA methods. The initialization and
                                                                      include various icons that are shortcuts to feature commands
build engines are also created in a "Signed" CAB file, and
                                                                      that are also available through the menu bar and its menus.
assigned the necessary security rights, so that the engines
                                                                   35 In addition, the tool bar 440 can be used to show the current
can assert the necessary permissions, if permitted by a given
                                                                      state of a feature. Status fields 450 show the current value of
browser's security manager, when read or write operations
                                                                      a certain setting. Interactive fields 460 also show the current
are required. In one implementation, an installation program
                                                                      value of a setting, but can also be directly changed by the
is run prior to the first use of the build tools. After installing
                                                                      user by typing into the field, with the result immediately
all of the files, the installation program can install the
                                                                   40 processed by the build engine 352 and displayed in the build
necessary class libraries required by the run generation
                                                                      frame 500. Interactive pull-down lists 470 also show the
process in which the customized and optimized run time
                                                                      current value of a setting, but, if selected with a mouse click,
engine is created (See FIG. 25). The installation program can
                                                                      will drop down a selection list, which may have an elevator
also set the necessary environmental variables and installa-
                                                                      attached. The user can click on an item in the selection list,
tinn ~~m.                                                          ~
                                                                      which will become the current setting with the result imme-
   At 40 the web surfer points a browser at (i.e. calls) an
                                                                      diately processed by the build engine 352 and displayed in
initial build tool HTML/JavaScript file (IBTF). At 41 the
                                                                      the build frame. Operational pop-up windows 480 can have
IBTF identifies the current browser type and version num-
                                                                      tabs assigned if the number of choices within the pop-up
ber. Presently, each browser has different security manager
                                                                      window is large. One or more settings can be changed
implementations. In one implementation, the invention sup-
                                                                   50 through a pop-up window, with the results immediately
ports the following three categories:
                                                                      processed by the build engine 352 and displayed in the build
   1: With appropriate signing and time stamping, and with            frame 500. These interface techniques are described in
      appropriate assertions of permissions, the browser will         greater detail below in the build process.
      permit local read/write operations.                                The build frame 500 is used to present the actual web page
   2: With appropriate signing and time stamping, and with 55 as constructed by a user. The user can directly enter text,
      appropriate assertions of permissions, the browser will         import images, video and audio for display/playback and
      permit local read operations, but write is only legal if        create animations and transformations that can be viewed in
      sent to a server.                                               the build frame. FIG. 6, with its attendant screen shots FIG.
   3: Local read/write operations are illegal, but are permit-        38 through 48, shows the user input techniques supported in
      ted on the server. The IBTF can include a flag that can 60 one implementation of the invention. In one implementation,
      be set to indicate which security implementation is             the user inputs supported include: selection from a JAVA
      supported, so that all subsequent read/write operations         window object (48); selection from a JavaScript window
      will comply with the current browser's security man-            (49) including selection with dual spin control ( 50a) or
      ager.                                                           selection from a JavaScript child window object (50b);
   At 42, the IBTF causes the browser to execute the IE so 65 direct text entry (51); page resizing (52); direct object
as to sense the screen resolution and for adapting the                manipulation (53); and, selection from a JavaScript panel
interface to the user's screen resolution. In one                     (54).




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    In the implementation shown, of the six user input tech-        making a selection from a dialog box under MS Windows,
niques sensed at 13, the code for supporting selections from        including the use of tabbed JavaScript pop-up windows. In
a JavaScript pop-up window at 49 and selections from the            one implementation when a selection from a JavaScript
"panel" at 54 were implemented entirely in HTML/                    pop-up window is detected, the panel's (panel 400) JavaS-
JavaScript Code, while support for direct text entry at 51 and 5 cript opens a pop-up window. The pop-up window's initial
direct web page object manipulation at 53 were imple-               values are set from a JavaScript database defined in the panel
mented entirely in JAVA (or any other browser-based full            or by the panel calling the engine for the current values and
featured programming language). In one implementation,              then setting the initial values. In a tabbed JavaScript
code for supporting selections from a JAVA Window object            window, clicking on a tab will call the pop-up window's
at 48 and dynamic web page resizing at 52 are implemented
                                                                 10 JavaScript in order to change the state and appearance of the
using both HTML/JavaScript and JAVA Those of ordinary
                                                                    tabbed JavaScript window in the expected way. The pop-up
skill will recognize that, JAVA could have been used more
                                                                    window's JavaScript calls the panel's JavaScript when a
extensively to implement the methods described at 48, 49
and 54. However, in order to achieve the most intuitive and         completion event occurs. The panel's JavaScript reads or the
MS Windows like interface, and because effective two-way            pop-up window's JavaScript writes the pop-up window's
communication between JavaScript and JAVA had been 15 field values, causing the panel's database to be updated, and
achieved (See FIG. 9), the languages proposed appear to             the panel then calls the appropriate build engine 352 method,
best support the particular user input technique.                   passing as arguments the necessary data and status condi-
    For example, FIG. 23 shows an actual file selection             tions. Initializing the pop-up window's values and updating
window 2300, implemented by the invention. This type of             the panel's database upon completion can alternatively be
file selection window is available in JavaScript/HTML, but 20 implemented by JavaScript functions executed within the
not supported by JAVA for applets. File selection window            pop-up window's HTML file.
2300 greatly enhances the interface for the user, as the               In addition, there are interface extensions that can extend
image, sound clip, or video clip names need not be memo-            beyond the usual MS Windows implementations. One is
rized. File selection window 2300 further eliminates pos-           support for a selection from a dual spin control at 50A.
sible operator error when typing in a pathname or filename. 25 Screen shots FIGS. 42-45 show a visualization of an imple-
The present invention utilized the strengths of JavaScript/         mentation of this interface technique. Screen shot FIG. 42
HTML with the power of JAVA to create a unique browser              shows the mouse placed over an upper spin control. Screen
based interface solution. In one implementation, the HTML           shot FIG. 43 shows the result after the user clicked once on
form element "INPUT type=file" was embedded in a Java-              the upper spin control. Notice that the value has been
Script pop-up window to create the file selection window. 30 incremented by 1, and the text button object is now at a
The file selection window returns a string value of the image       larger point size. Screen shot FIG. 44 shows a combo box
( or other file type) pathname to the pop-up window. The            list selected by the mouse with the user about to select a
pop-up window's JavaScript then could be used to call a             significantly larger point size. Screen shot FIG. 45 shows the
JavaScript function in the panel (panel 400) which:                 result of that selection, including the effect on the text button
    1: Reads the pathname value in the pop-up window.            35 object.
    2: Creates a string version of a valid URL by adding the           In one implementation, dual spin controls are supported
       correct URL protocol to the string.                          as follows. Each spin control has three visual states, so that
    3: Updates the panel's database (interface's database           when the user places the mouse over the control it appears
       360).                                                        to light up, and when the mouse button is depressed (pressed
    4: Calls a JAVA method in the build engine, which casts 40 down), the spin control is modified to give the appearance of
       the string value of the URL into a URL object, creates       being pressed. JavaScript methods are called in the panel
       an image object which is then drawn on the screen, and       (panel 400) to:
       updates its internal database.                                  1: process each mouse click event over either spin control,
    User inputs that are a selection from a JAVA window                2: range check as necessary,
object ( 48) permit the implementation of a vast array of 45
intelligent user input interface objects, from sliders to dials,       3: update the value in the HTML frame object residing in
which are extremely intuitive and significantly enhance the               the pop-up window,
user's ergonomic experience. In one implementation, user               4: update the JavaScript (panel 400) database,
input interface objects are supported as follows. When a               5: call the build engine 352, if necessary, passing the
selection from a JAVA window is detected, a pop-up window 50              necessary value and status.
( applet) is presented ( associated with the feature being          If the mouse is clicked on a combo box, the selection
manipulated, e.g., color, volume) and an engine method is           window opens in the usual way. If a mouse click in that
called to begin two-way communication (for passing as               window is detected, another JavaScript method in the panel
arguments any necessary status information). The engine             400 is called to update the JavaScript database, and call the
begins polling a JAVA abstract object waiting for a static 55 build engine 352, if necessary, passing the necessary value
variable's value to change. The pop-up applet processes the         and status as function call arguments.
value as defined by a user interaction event, and updates the          Another interface extension is selection from a JavaScript
static variable in that same JAVA abstract object with the          child window at SOB. This technique helps simplify the
new value. Upon detecting a change in the polled static             number of choices given to the user in a complex pop-up
variable, the engine calls the necessary methods to process 60 window operation. A selection from a JavaScript child
that new value. These methods include can include a bright-         window can be supported as follows. The panel's (panel
ness filter that is applied to the image bitmap utilizing           400) JavaScript opens the pop-up window. The pop-up
techniques very similar to that of that employed by the "fade       window and its child pop-up windows' initial values are set
in" and "fade out" animations, described in association with        from the JavaScript database defined in the panel 400. The
FIG. 33                                                          65 pop-up window's JavaScript opens the child pop-up window
    User inputs for a selection from a JavaScript pop-up            and sets its initial values. The child pop-up window's
window (49) can be made in a manner identical to that of            JavaScript calls the pop-up window's JavaScript when a




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completion event occurs. The pop-up window's JavaScript             over a special hot zone (for example, just to the left of a
reads the child pop-up window's values, sets those values to        paragraph line), then an integral number of words are
its own internally defined variables, and calls the panel's         selected. Appropriate four-dimensional variables are set, and
JavaScript. The panel's JavaScript reads the pop-up win-            a draw system is called. The draw system paints the selected
dow's values (which include the settings for its own fields as 5 line segment in the marked text background and text color.
well as those of its child windows), updates its database, and      The build engine 352 then sets a return flag to be read by the
calls the appropriate build engine 352 method, passing as           polling technology (FIG. 9). A panel JavaScript poller (FIG.
arguments the necessary data and status conditions. Screen          9) detects this flag and redraws the panel's "Text" menu
shots FIGS. 46-47 show a visualization of an implementa-            object showing the choices available when text is selected.
tion of a JavaScript child window. Screen shot FIG. 46 show 10 In one implementation, the "Text" menu includes choices of
a change text button style pop-up window. Screen shot FIG.          "Text Style", "Hot Link", "Preferences", and "Format". The
47 shows the result after the user selected the "Define the         states for the tool bar icon objects of "Bold", "Italic" and
Mouse Down Text Button Style" child pop-up window.                  "Underline" are set appropriately as is the setting for the
    Direct text entry is supported at any arbitrary cursor          point size interactive drop-down list. The panel's JavaScript
location. In one implementation, "text areas" are utilized in 15 then calls an appropriate build engine method that resets the
an unconventional way, in order to support full text entry,         flag. If the panel's JavaScript detects the user selecting the
text editing, text button and paragraph styles, and reformat.       "Text Style", "Hot Link", "Preferences" or "Format"
Direct text entry can be defined at any arbitrary cursor            choices, it creates the appropriate pop-up window. Upon
location, and then text can be dragged to any other arbitrary       detecting a user completion event, the panel's JavaScript
location.                                                        20 reads the data settings in the pop-up window, closes that
    Text areas are objects that are utilized by JAVA primarily      pop-up window, and sends this data to an appropriate build
as an interface object for the implementation of a form and         engine method for processing (See FIG. 11). Dynamic web
are generally "added" to the screen at the initialization time      page resizing at 52 is invoked when the build engine 352
of a JAVA applet. Text areas are decidedly not WYSIWYG.             detects a user initiated web page resize event. This could be
The present invention creates text areas dynamically. Screen 25 caused by the "Open" or "Web Site" commands from the
shots FIG. 38 through FIG. 41 show a visualization for an           "File" menu, or from a "Zoom" command from the "View"
implementation of this technique. Screen shot FIG. 38               menu. This technology is explained in detail below in
shows the user selecting a text object from the create text         association with FIG. 22.
icon object from a tool bar of the panel (panel 400). When             Direct object manipulation at 53 includes dragging of any
the text icon object is selected, the cursor shape is changed 30 object, resizing of non-text objects, rotation and other image
to indicate the selection while the text icon object is in the      manipulation functions, as required. The processing for
select state. Screen Shot FIG. 39 shows that the cursor has         direct object manipulation begins by analyzing the type of
changed shape and that the user has placed the cursor at an         object selected and the state of the object, as set by the
arbitrary location on the web page. Screen shot FIG. 40             interface based on a user's panel selection. The build engine
shows the result after the user has clicked the mouse. A text 35 352 then changes the mouse cursor's appearance, and the
insertion point and a selection rectangle are drawn at the          type of selection rectangle, including which attachment
arbitrary web page location. Screen shot FIG. 41 shows the          points, if any, should be drawn and activated. (See FIG. 10
result after the user has pressed the letter "W" on the             for the mouse event processing technology and FIG. 12 for
keyboard. As can be seen in screen shot FIG. 41, a draw             image processing technology). In one implementation, the
method associated with the build process immediately hides 40 same direct object manipulation polling technology is used
the text area. However, text editor methods associated with         as described above with regard to direct text entry.
the build process continue to utilize the text area as a hidden,       If a selection of an interactive field, interactive drop-down
dynamically resizing frame, whose size is subject to text           list object, or a toll bar icon object from the JavaScript panel
button or paragraph style settings, by the amount of text, by       is detected at 54, then the following steps can be invoked,
the text's orientation (vertical or horizontal) and by the 45 depending on the selection. The point size of a paragraph, a
text's font style(s) and font size(s). As the build engine 352      marked text range inside a paragraph or text button object
detects a relevant mouse event or keyboard event, the build         can be changed. The state of an object's 3D frame can be
engine 352 updates the necessary variables that are defined         changed. In one implementation, three states for an object
as return values in specified build engine methods. Polling         frame are supported. The 3D frame can be drawn as a
technology (see FIG. 9) retrieves the relevant values and 50 "raised" 3D object, as a "depressed" 3D object, or as a
calls the necessary JavaScript method for processing. In one        "raised" 3D object that turns into a "depressed" 3D object if
implementation, these same techniques (text area                    a mouse down event is detected over the object to which the
techniques) are used in the scaling technology (See FIG. 30).       3D frame is assigned. An object's style can be changed. The
Since the direct text entry and editing processes bypass            current web page can be changed. Finally, any other opera-
completely the interface and the JavaScript code, the polling 55 tion that has been defined by a tool bar icon object in the
technology (See FIG. 9) is used to pass the text string values      panel can be invoked. This includes the "file" menu choices
back to the JavaScript database, in order for the interface's       of new, open and save, the "edit" menu choices of cut, copy
pop-up windows to be correctly initialized for subsequent           and paste, inserting a text, button or image object onto the
text operations.                                                    web page, applying or removing the bold, italic, and under-
    Direct text processing at 51 begins with the build engine 60 line text attributes for a text or button object, centering or
352 detecting a "Mouse Drag" or a "Mouse Double Click"              uncentering any web page object, setting the animation for
event. In one implementation of the present invention, if a         a button or image object, changing the zoom level of the web
mouse drag event is detected, the entire initial anchor word        page, or previewing the web site.
( assuming the "mouse down" event placed the text insertion            As each new user input is received and processed in
point within a word) is selected as well as the entire closing 65 accordance with the steps shown in FIG. 6, at all times the
anchor word. If a double click event occurs over a word, the        internal databases of the JavaScript panel and the build
entire word is selected. If a double click event is detected        engine 352 are maintained completely in synchronization.




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                              15                                                                   16
Synchronization is maintained so that: all status information           One methodology for this feature requires that all key-
displayed by the panel is current and correct; all data and          board events be monitored, at all times. When the scan code
status information passed to the build engine 352 from the           for the enter key is detected, the appropriate JavaScript
interface are consistent with the build engine's state at any        function is called to close a pop-up window and to call the
given time; the values in all pop-up windows are correctly 5 appropriate JavaScript function for processing of the rel-
initialized. In order to meet these requirements, all of the         evant data (updated in the window) and communicating, as
variables in the JavaScript panel database are explicitly            necessary, with the build engine 352. In another
"typed", to be compliant with the strict variable typing             implementation, rather than the panel going into a wait loop
methodology generally imposed in all full featured program-          awaiting notification from the pop-up window for data
ming languages such as Java. As JavaScript does not explic-
                                                                  10 initialization purposes the pop-up window, when loaded,
itly type anything, where using JavaScript herein, all string,       executes the onLoad JavaScript method, and reads the
Boolean, and integer variables are typed. Full two-way real          required data values directly from the panel's database,
time communication support between the JavaScript/HTML               utilizing the JavaScript "opener.fieldname.value" technique.
interface and the JAVA build engine 352 is provided as               Similarly, the pop-up window, when detecting its comple-
described below in association with FIG. 9.                       15 tion event, updates the panel's database with the revised
   FIG. 7a shows four tools utilized for an implementation
                                                                     values from its own fields and then calls the appropriate
of the pop-up window and panel interface technology (15 of
                                                                     JavaScript function in the panel for further processing. Both
FIG. 3). The panel and pop-up windows make extensive use
of JavaScript mouse events, including onMouseDown,                   implementations, and any combinations, assure that the
onMouseUp, onMouseOver, onMouseOut, onClick and                      pop-up windows are correctly initialized, the panel's data-
onchange methods (56). The pop-up windows make exten- 20 base is correctly updated, and the data is successfully sent to
sive use of the JavaScript onLoad and onUnLoad methods.              the build engine 352 for processing.
In one implementation, when a pop-up window is loaded by                Extensive use of JavaScript technology is employed to
the panel, the panel goes into a wait loop, set for 5 times a        enhance the user interface and for communication between
second using the JavaScript setTimeout method, interrogat-           the various HTML frames and/or files, within a given HTML
ing in each loop whether the pop-up window's status flag has 25 frame or file, between an HTML frame and the JAVA engine,
been set. Meanwhile the pop-up window, when loaded by                and as a bridge between two different JAVA applets (57).
the browser, executes the onLoad method in order to set a            Extensive use is made of JavaScript arrays to store the
flag in the panel informing the panel that the pop-up window         values of all page and object attributes, to initialize the
is now loaded. Upon detecting the load event completion,             correct values in all pop-up windows, and to pass data and
the panel then proceeds to initialize the fields in the pop-up 30 status to the engine. Various JavaScript techniques are
window. The panel will always close a pop-up window after            employed to "type" all variables (JavaScript does not explic-
detecting its completion event. However, if the user has             itly type anything as described above) as a prerequisite for
closed the pop-up window in a non-standard way, the pop-up           passing values to the build engine 352. Variables that should
window executes the onUnLoad JavaScript method, which                be typed as strings, integers and Booleans are typed through
sets a flag in the panel notifying it that the pop-up window 35 the use of "Eval" and "New" JavaScript functions. The
has been closed.                                                     choice of color, found in most pop-up windows to define one
   The JavaScript code in the panel and in all pop-up                or more color elements, can be implemented utilizing sev-
windows make extensive use of JavaScript method onKey-               eral innovative JavaScript techniques. They include:
Down for the following operations:                                      1: Defining a complex image map through a JavaScript
   1: When the focus is on the icon representing completion 40             function utilizing arrays. Screen shot FIG. 48 shows a
      ("OK" is used in many MS Windows applications)                       visualization of an image map. A JavaScript computa-
      causing the enter key to initiate a pop-up window/panel              tional loop utilizing arrays can be used to define each
      completion event.                                                    individual rectangle in this color palette with its appro-
   2: When the focus is on the icon representing cancellation              priate RGB value and a function call to the appropriate
      ("cancel" is used in many MS Windows applications) 45                JavaScript method.
      causing the Esc key to initiate a pop-up window/panel             2: Limiting the color choices from the image map to only
      cancellation event.                                                  those colors that are designated as safe colors. Safe
   3: When the focus is on any pop-up window or panel                      Colors are the subset of all colors that are browser
      object, such as a data entry field, a check box, a radio             independent, assuring a consistent color look across all
      button, a drop-down and scrollable list, a scrollable list, 50       browsers.
      an icon, or a DHTML tab object (discussed below), the             3: Supporting a dual color selection technology. The user
      navigation keys are captured by the onKeyDown                        can be presented with a color palette and can click on
      method, a JavaScript function is called, and the appro-              a particular color in the color palette. Image map
      priate change is made. For all pop-up window and                     technology can call a JavaScript function, which con-
      panel objects, when the Tab key or the combination of 55             verts that choice into a RGB numeric definition. This
      the Tab key with the Shift key are detected, the onFocus             definition updates the RGB values shown in screen shot
      JavaScript method is employed and the focus moves to                 FIG. 48, as well as passing those values, though an
      the appropriate pop-up window object. If the pop-up                  appropriate function call, to a build engine JAVA
      window or panel object is a data entry field, drop-down              method. The build engine 352 will then draw the actual
      list or a scrollable list, all cursor key operations are 60          color immediately on the web page. Alternatively, the
      detected and the insertion point is adjusted accordingly.            user can select a value from Red, Green or Blue
      If the pop-up window or panel object is a check box,                 selection lists, which can be implemented using an
      radio button a icon, or a DHTML tab object, and a                    HTML drop-down list form object. The value selected
      cursor key (up, down, left, right, home and end keys,                is then processed by an appropriate JavaScript function
      with or without the Ctrl or Shift keys) is detected, the 65          call to a build engine method, which converts the RGB
      onFocus JavaScript method is employed and the focus                  to a JAVA compliant value, and then draws the actual
      moves to the appropriate pop-up window object.                       color on the web page.




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   4: Supporting True Transparency. For appropriate color            Mouse Down user interaction event is detected over an
      elements, such as the background for a text button             active menu DHTML object at 279, a menu command
      object, the user can choose, either from the color palette     specific JavaScript function is called. This function sets the
      by clicking on a "transparency" rectangle, as described        DHTML object for the Mouse Down state to the "visible"
      above, or by selecting "TIR" from a Red, Green or Blue 5 style attribute, calls a generalized JavaScript function to
      selection list. This choice is then processed by an            reset the visibility states all the other appropriate DHTML
      appropriate JavaScript function call to a build engine         objects, set certain status variables, and set the DHTML
      method, that in turn sets a particular flag for the draw       object which defines the menu associated with that menu
      system ( of the Build Tool) to not draw a background           command to the "visible" style attribute. Screen shot FIG.
      color for that object.                                      10 37 shows a visualization of the "Image" menu command
   Innovative techniques are used to enable JavaScript to            after having received a mouse down event, with its associ-
dynamically create HTML code based on real time condi-               ated menu 420 having been set to the "visible" style
tions. Cookies can be used for data communication between            attribute. If a mouse up user interaction event is detected
HTML frames and HTML files, some of which were created               over an active menu DHTML object at 281, a generalized
in real time. Many unique combinations of HTML elements, 15 JavaScript function is called in which the DHTML object
including frames, forms, and tables, enhanced by JavaScript          defining the mouse over state is passed as a function call
code, are utilized to create a extensions beyond that of the         argument. This function sets the DHTML object defining the
MS Windows interface (58). For example, a dual combo                 mouse over state to the "hidden" style attribute thus result-
box/spin control for both small and large numeric incremen-          ing in the appearance as shown for the image menu com-
tal jumps can be implemented by a combination of form and 20 mand in screen shot FIG. 37, even when the mouse has been
table elements, mouse events, and JavaScript methods.                moved off the menu object. If a mouse over user interaction
   Extensive use of Cascading Style Sheets (CSS) was                 event is detected over an active menu DHTML object at 278,
employed to create a consistent look for all pop-up windows,         a generalized JavaScript function is called in which three
and for precision placement of various HTML elements                 DHTML objects are passed as function call arguments as
(59).                                                             25 well as a menu command name. These DHTML objects are
   FIG. 7b shows a detailed view of the build-time tech-             the ones defining the mouse over state, the mouse down
niques for implementation of panel interface objects, includ-        state, and the associated menu. This JavaScript function first
ing the menu bar, menus and sub-menus, the tool bars, status         tests to see if a menu has been activated by a previous mouse
fields, interactive fields, and interactive pull down lists, in      down event and is still visible. If so, a generalized "reset
accordance with one implementation of the present inven- 30 visiblity states" function is called, then both the mouse down
tion (15 of FIG. 3). These techniques create panel interface         and associated menu objects are set to visible. Finally the
objects that have the same look and feel of those which are          same menu specific function is called as with the mouse
implemented under the various MicroSoft Windows Oper-                down event. If no menu is visible, then the object associated
ating Systems. In one implementation of the present                  with mouse over state is set to visible. If a mouse off user
invention, the status fields, interactive fields, and interactive 35 interaction event is detected over an active menu DHTML
drop-down lists are defined as HTML form objects (text               object at 281, a generalized JavaScript function is called in
boxes and lists) embedded within DHTML objects. The                  which the mouse over DHTML object and the menu com-
menu bar, menus and sub-menus, and the tool bars can be              mand name are sent as arguments. Logic tests are made to
defined as pure DHTML objects. However, Cascading Style              determine which menu command object has been left, as
Sheets can be used for all panel interface objects; although 40 well as whether any menus are currently visible. Depending
more extensively with DHTML objects as will be described             upon the results, the mouse over DHTML object may be set
below. In an alternative implementation of the present               to hidden.
invention, the status fields and interactive drop-down lists            In one implementation of the present invention the menus
are defined as pure DHTML objects.                                   and sub-menus at 271 are defined as a set of DHTML
   In one implementation of the present invention the menu 45 objects, one for each menu choice, nested inside an DHTML
bar at 270 is defined as sets of DHTML objects, each set             object that defines the entire menu. Each menu object is
corresponding to a menu command. Each set consists of four           given absolute positioning, while the menu items are given
DHTML objects with absolute screen positioning, one defin-           absolute positioning relative the menu objects origin. Both
ing the DHTML object in the Mouse Over state at 278, the             the entire menu and each choice are assigned CSS styles to
second for the Mouse Down state at 279, the third for the 50 define their visual appearances. For each menu choice the
Active state, and the fourth for the Inactive state. Each state      JavaScript functions for "onClick", "onMouseOver" and
has a different CSS style assigned, which defines the visual         "onMouseOut" are implemented. If a mouse click event is
appearance of that state. When the build tool is initialized at      detected at 280 and no sub-menu is defined, a feature
FIG. 5, the appropriate menu commands are initialized as             specific JavaScript function is called. First the menu bar and
active or inactive at 277. If the menu command is defined to 55 the menus are set to their appropriate visibility states. Then
be inactive, that DHTML inactive object is assigned by a             setting their visibility attribute style to "visible" activates the
JavaScript function to the "visible" style attribute, while the      appropriate tool bar icon DHTML objects. Finally the fea-
other three DHTML objects are assigned the "hidden" style            ture specific JavaScript code is executed as discussed
attribute. Screen shot FIG. 38 shows a visualization of the          herewithin, which may cause a pop-up window to be
"Interactions" menu command in the inactive state. In the 60 displayed, the Panel's database to be updated, and/or the
inactive state all user interactions are ignored. If the menu        build engine 352 to be called. If a mouse over event is
command is defined to be active, that DHTML active object            detected at 278 and no, sub-menu is defined, a generalized
is assigned by a JavaScript function to the "visible" style          JavaScript function is called in which the menu choice
attribute, while the other three DHTML objects are assigned          object is passed as an argument. This function first calls a
the "hidden" style attribute. While in the active state, the 65 generalized JavaScript function to close any pop-up
JavaScript functions for "onMouseDown", "onMouseUp",                 windows, then set a status variable and finally executes
"onMouseOver" and "onMouseOut" are implemented. If a                 DHTML commands to set the correct text and background




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colors for the object. If a mouse off event is detected at 282       sets the tool icon's mouse over object to the "hidden" state.
and no sub-menu is defined for a menu choice either                  Screen shot FIG. 37 shows a visualization of the button tool
immediately above or below, a generalized JavaScript func-           icon with both its associated the mouse down and active
tion is called in which the menu choice object is passed as          objects set to "visible". Screen shot FIG. 38 shows a
an argument. A status variable is set and DHTMLcommands 5 visualization of the text tool icon with both its associated the
are executed to set the correct text and background colors for       mouse over and active objects set to "visible".
the object. If a sub-menu is defined for a menu choice object,          In one implementation of the present invention, the status
then the same sub-menu specific JavaScript function are              fields at 273 and the interactive fields at 274 are defined as
called for both mouse click or mouse over events. This               HTML text boxes. In an alternative implementation status
                                                                     fields are defined as DHTML objects. For both of these panel
function performs the same steps as that of the generalized 10
                                                                     interface object types, under certain conditions, the panel
function that was called for a mouse over event, as well as
                                                                     draws status information into these panel interface objects.
setting the sub-menu object and its menu choice objects to           This information can result from user input as discussed in
the visible state. Screen shot FIG. 37 shows a visualization         FIG. 6, or through the polling and two-way communication
of the menu bar's "Image" command having been activated,             technology between the interface and the build engine 352
the drawing of its associated menu 420, the selection of the 15 as discussed below. In one implementation of the present
"Enhance" menu choice, and the drawing of the "Enhance"              invention the status fields are:
sub-menu 430. In the event that the cursor is moved to an               1: The color of the selected web page object, in which the
adjacent menu choice under the "Image" menu, such as                       red, green and blue settings are shown.
"Animation ... " or "Rotate", then a specific JavaScript                2: The animation state of the selected button or image
function is called which, in addition to the functions 20                  object.
executed by the generalized JavaScript mouse over function,             3: The zoom level for the current web page.
also hides the "Enhance" sub-menu.
                                                                        4: The point size for the selected text or button object.
   In one implementation of the present invention, the tool
                                                                        5: The horizontal position, in pixels, of the mouse cursor.
bars at 272 are defined as a DHTML objects, and a set of
DHTML objects are defined for a tool icon. The tool is given 25
                                                                        6: The vertical position, in pixels, of the mouse cursor.
absolute positioning and is assigned a CSS style in order to            7: The type of web page object (text, button, image, table,
define is visual appearance. Each tool icon is assigned a set              form object, draw object, etc.,) if selected. The type of
of three DHTML objects all with absolute screen position-                  object that the mouse is over, if no object is selected.
ing. The first DHTML object defines the mouse over state at             8: The width, in pixels, of web page object (text, button,
278, the second for the mouse down state at 279, and the 30                image, table, form object, draw object, etc.,) if selected.
third for the active state. Each state has a different CSS style           The width of the object that the mouse is over, if no
assigned, which defines the visual appearance of that state.               object is selected.
For each tool icon active state object the JavaScript func-             9: The height, in pixels, of web page object (text, button,
tions for "onClick", "onMouseDown", "onMouseUp",                           image, table, form object, draw object, etc.,) if selected.
"onMouseOver" and "onMouseOut" are implemented. GIF 35                     The height of the object that the mouse is over, if no
images are defined for the tool bar DHTML objects, and may                 object is selected.
be always visible. The inactive "grayed out" representations            Screen shot FIG. 38 shows a visualization of the status
for each toll icon can be drawn on this image. When the              fields in one implementation of the invention 450. In an
build tool is initialized at FIG. 5, the appropriate tool icon       alternate implementation using DHTML objects, the status
objects are defined as active or inactive at 277. The inactive 40 fields will appear two-dimensional rather than the three-
state for an tool icon is represented when all three of its          dimensional look currently shown.
associated objects are assigned the visibility style of "hid-           There is one interactive field defined in one implementa-
den". Screen shot FIG. 38 shows a visualization for several          tion of the present invention. Screen shot FIG. 37 at 460
inactive tool icons including the icon commands for bold,            shows a visualization of the page number interactive field. In
italic, underline, left and centered. All user interaction events 45 addition to the current web page being displayed, either as
are ignored in the inactive state. If the tool icon, based on the    a number in one implementation or as a user defined name
state of the build engine and based on the polling technology        in an alternative implementation, the user can place the
described below, is set to an active state, then the tool icon's     cursor into this field and enter the desired page to go to. A
active state object is set to the visibility style of "visible". If  click at 280 or Enter Key event will execute this function.
a mouse click event is then detected at 280, a feature specific 50      In one implementation of the present invention, the inter-
JavaScript function is called in a manner identical to that for      active drop-down lists at 275 are defined as HTML form
a mouse click event over a menu choice object as described           lists. In an alternative implementation, status fields are
above. If mouse down or mouse up events are detected at              defined as DHTML objects. For both of these panel interface
279 or 281, then respective generalized JavaScript functions         object types, under certain conditions, the panel draws status
are called, in which the DHTML object defining the mouse 55 information into these panel interface objects. The interac-
down state is passed as a function call argument. If a mouse         tive drop-down lists behave in a manner very similar to that
down event was detected, then the generalized function sets          of interactive fields, except that when selected, a selection
the tool icon's mouse down object to the "visible" state. If         list drops down for selection. Depending upon the number of
a mouse up event was detected, then the generalized func-            entries in the list, an elevator object may be drawn. The
tion sets the tool icon's mouse down object to the "hidden" 60 operations of selecting the interactive pull down list, the
state. If mouse over or mouse out events are detected at 278         selecting of a list item, or the operation of the elevator is
or 282, then respective generalized JavaScript functions are         identical to that of comparable MS Windows objects. In one
called, in which the DHTML object defining the mouse over            implementation of the present invention the interactive pull
state is passed as a function call argument. If a mouse over         down list are:
event was detected, then the generalized function sets the 65           1: Zoom. This interface object has dual spin controls as
tool icon's mouse over object to the "visible" state. If a                 described above and is always selectable except when
mouse off event was detected, then the generalized function                in a preview mode. It shows the current zoom level.




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   2: Button Style. This interface object is always selectable          The interface technology of the invention, in addition to
      except when in preview. It shows the button style of the       its utilization as part of a web-based web site generation
      currently selected button, if any. Changing the button         tool, can be used to provide a general purpose interface for
      style will change the style of the currently selected          all web-based applications that want a MS Windows com-
      button, and/or define the style of the next button to be 5 pliant interface.
      created.                                                          A process for updating the internal database of the build
   3: Point Size. This interface object has dual spin controls       engine 352 is shown schematically in FIG. 8. The database
      as described above and is selectable when a text or            is compact and efficient in order to meet the performance
      button object is selected. It shows the point size of the      requirements for the run time process. The database handles
      currently selected text or button object, if any. Chang- 10 a wide selection of data objects, including multi media
      ing the point size will change the point size of the           objects such as colors, fonts, images, sound clips, URLs,
      currently selected text or button object.
                                                                     threads, and video. The database supports a multi level
   4: Paragraph Style. This interface object is always select-       animation, transformation, and time line model ( discussed in
      able except when in preview. It shows the paragraph
                                                                     greater detail below). The database complies with the dif-
      style of the currently selected paragraph, if any. Chang-
                                                                  15 fering rules imposed by the various popular browser security
      ing the paragraph style will change the style of the
      currently selected paragraph, and/or define the style of       managers.
      the next paragraph to be created.                                 The process begins by determining the type of data to be
   5: Frame State: The state of the 3D frame (none, raised,          updated at 60. Data that defines generic web site settings
      pressed or live) of the currently selected text, button, or    (See FIG. 21a), screen resolution values (See FIG. 21a and
      image object.                                               20 FIG. 24), and the web page high watermark setting (See
   6: Image Style. This interface object is always selectable        FIG. 24) can be stored in a header record as boolean and
      except when in preview. It shows the image style of the        integer variables and URL and color objects at 62 and 63.
      currently selected image, if any. Changing the image           Data that defines web page, paragraph, text button, and
      style will change the style of the currently selected          image style and text button, image and paragraph high
      image, and/or define the style of the next image to be 25 watermark settings can be stored in one-dimensional arrays
      created.                                                       as boolean, integer and string variables and URL, font,
   Screen shot FIG. 37 shows a visualization of interactive          image or thread objects at 61 and 64. The URL, color, font,
drop-down lists 470. In an alternate implementation using            image and thread objects can also be created as required at
DHTML objects, the interactive drop-down lists will appear           64.
two-dimensional rather than the three dimensional look 30               Data that defines text button, image, paragraph, or other
currently shown.                                                     parent objects and paragraph line high watermark settings
   Tool bar icon objects, status fields, interactive fields, and     can be stored in two-dimensional arrays (by web page and
interactive pull down lists all show feedback of the current         by object number) as boolean, integer, string, floating point
build engine state. The technology utilized by one imple-            variables and URLs at 65 and 66. Again, the URL, color,
mentation of the invention is described below.                    35 font, image, audio clip, video clip, text area and thread
   FIG. 7c shows a detailed view of the of the build time            objects can also be created as required at 66. Data that
techniques for implementation of tabbed pop-up windows
                                                                     defines a paragraph line and paragraph line segment high
(15 of FIG. 3). These techniques create a pop-up window
                                                                     watermarks can be stored in three-dimensional arrays (by
interface that visually and behaviorally is identical to that
which is implemented as dialog boxes under the various               web page, by paragraph number, and by line number) as
MicroSoft Windows Operating Systems. Pop-up windows 40 Boolean, integer or string variables at 67 and 68. Again, the
can be non-tabbed as described in FIG. 7a, or can have from          URL, color or font objects can be created as required at 68.
two to as many as 10 or more tabs, depending upon the                Data that defines a paragraph line segment can be stored into
complexity of the choices available to the user for a given          four-dimensional arrays (by web page, by paragraph
feature. In one implementation of the present invention each         number, by line number and by line number segment) as
tab at 283 is defined as a DHTML object at 284. The tab is 45 Boolean, integer or string variables or URL, color and font
given absolute positioning and is assigned a CSS style at 286        objects at 67 and 68. As a data field is added, changed or
in order to define is visual appearance. When a click is             deleted, a determination is made at 69 on whether a value for
detected through the JavaScript "onClick" function, a tab            a given high watermark needs to be changed. If so, it is
specific JavaScript function at 285 is called within the             updated. As a specific method in the build engine is called,
pop-up window's HTML file. This function sets the display 50 a determination is made at 70 on whether a feature flag needs
style attribute for the DHTML objects that define the settings       to be set. For example, if a particular JAVA method is called,
for all the non-selected tabs to the display style attribute of      which requires an instance of a certain JAVA Class to be
"none". The DHTML objects that define the GIF image of               executed by the run time engine, then that JAVA Class is
the non-selected tab file representations are also set to the        flagged, as well as any supporting methods, variables and/or
display style attribute of "none". The display style attribute 55 object definitions. The use of these flags is described in
for the DHTML objects that define the settings of the                greater detail below in association with FIG. 25 and FIG. 27
currently selected tab and the GIF image that depicts the            to create a compact and efficient customized run time
selected tab file representation is set to the display style         environment.
attribute of "". If there is to a change of the focus of the            In one implementation, the header record, the style record,
selected field within the now to be visible tab specific 60 the web page record, and the object records, are carefully
choices, the focus attribute for that object is executed.            defined in a specific order, written in that order, and explic-
Screen shot FIG. 37 shows a visualization of a tabbed                itly cast by object type when read by the run time engine.
pop-up window, and screen shot FIG. 63 shows a collage of            Exception handling can be implemented to recover from any
four views of a tabbed pop-up window with four tabs. Notice          errors. This helps assure that data integrity is maintained
that each state of the tabbed pop-up window has a different 65 throughout the build and run time processes.
tab file representation, showing the selected tab as being in           FIG. 9 details the polling process (16 of FIG. 3). The
the forefront.                                                       polling technology is essential for creating the necessary




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two-way real time communication between the JavaScript/             (FIG. 37 at 410) as appropriate, making the appropriate
HTML interface and the JAVA build engine. Since there is            menu commands either active or inactive. The poller also
no particular difficulty for JavaScript to be able to call and      sets the necessary status variables, and, depending upon
pass values directly to JAVA methods, the technological             whether the newly selected object is a text button object, a
challenge is to find a reasonable technique to enable JAVA 5 text object, image object, etc., at 74, begins polling their
to communicate back to JavaScript. The polling technology           unique values. The poller also activates the appropriate
is generic, and workable across all the current browsers. The       menu choice objects inside the "Edit" menu, the "Text"
polling technology is flexible, as there are no real constraints    menu, the "Button" menu, the "Image" menu, and the
as to what data could be communicated from the build                "Interactions" menu objects (FIG. 37 at 420 and 430),
engine to the interface, and this communication can occur at 10 depending upon whether an web page object is selected or
any time. The polling technology is reasonably efficient, so        not, which type of web page object is selected, or, if the
that the performance of the build process is not significantly      selected web page object is a text object, whether text is
affected.                                                           marked through a drag or double click event. In a similar
    In one implementation, two different techniques were            manner, the poller also sets the values for the interactive
utilized to implement this capability. The first was to place 15 field objects (FIG. 37 at 460) and the interactive drop-down
the build engine inside a JAVA wrapper. The JAVA wrapper            list objects (FIG. 37 at 470). More specifically, JavaScript
accepts direct communication from JavaScript function               can poll the web page object number. The value of the web
calls, interrogates a particular JAVA build engine method,          page object number can be used to initialize pop-up win-
and returns that method's return value back to the calling          dows with that object's web page current values, either from
JavaScript function. The second technique was more uncon- 20 the panel's database or, if necessary, by interrogating the
ventional. A polling loop is defined in the panel's (panel          build engine's database.
400) JavaScript that creates a near continuous, at least from          The poller can infer that a double click or mouse drag
a human perception point of view, dynamic real time link, in        operation has occurred if the flag indicating a double click
order to monitor events occurring inside the build engine.          or mouse drag operation is detected at 75. The poller calls a
The result is a real time retrieval (from an ergonomic 25 panel JavaScript function that, in turn, calls the build engine
perception point of view) of necessary data and status              to reset the flag. The poller then calls a panel JavaScript
settings from the build engine back to the interface.               function to display the appropriate panel menu choices. For
    Upon the loading of the panel HTML file, a JavaScript           example, if the double click or mouse drag event occurs
function at 71 (the poller) is immediately called which             within a text object, then the "Text Style and "Hot Link"
initiates a polling loop. In one implementation, the polling 30 menu choice objects become active under the panel's "Text"
loop is set at a poll rate of once every 100 milliseconds or        menu object.
less. The polling routine, operating through the JAVA                   Depending on the object type (76), the polling technology
wrapper, calls the build engine in order to read the current        performs various functions. If the object is a text object at
horizontal and vertical coordinates of the mouse cursor, and        77, the values for the paragraph style, point size, object
displays them in the panel's status fields (FIG. 37 at 450). 35 height and width, text color, and the 3D frame status are
The polling routine also polls the build engine in order to         polled and displayed. The panel's menu objects and the
detect whether the mouse has moved over a valid object or,          menu choice objects within that are active for a text object
by inference, whether a mouse single click, or double click         are set to the active state, and the non-text menu choice
event has occurred. The poller is also constantly requesting        objects are set to the inactive state, which visually means
the JAVA wrapper to return the status of an error flag in order 40 they are unavailable and are "grayed out". In addition,
to inform the user, if necessary, of an unrecoverable error         polling can be initiated for the creation of a hot link. If the
condition, and the reason for it. (See FIG. 10). The poller         object is a text button object at 78, the values for the text
then calls a panel JavaScript function that, in turn, calls the     button style, point size, object height, width, text color,
build engine to reset the flag. The poller constantly requests      animation state, and 3D frame status are polled and dis-
that the JAVA Wrapper return the status of whether the 45 played. The menu choice objects inside the panel's menu
mouse cursor is over a valid object, and, if so, that object's      objects that are active for a text button object are set to the
number, type, height and width. The poller also constantly          active state, and the non-text button menu choice objects are
requests the JAVA wrapper to return the status of whether an        set to the inactive state, which visually means they are
object is selected, and, if so, the type and number of that         unavailable and are "grayed out". The value of the text
selected object, as well as the objects height, width, and 3D 50 button object string is also polled and saved in the panel's
frame state ( and the point size of the object's current font if    database for use when initializing relevant pop-up windows.
the object is a text button or paragraph object). In addition,      If the object is an image object at 79, the values for the image
if the object is a paragraph, the poller constantly requests the    style, object height, width, frame color, animation state, and
JAVA wrapper to return a flag if a double click or drag mouse       3D frame status are polled and displayed. Again, the menu
event has occurred.                                              55 choice objects inside the panel's menu objects that are active
    At 72 the polling routine detects a mouse event based on        for a image object are set to the active state and the non-text
analyzing the return values received. The poller can infer          button menu choice objects are set to the inactive state. In
that the mouse has either moved off or moved on to a valid          addition, the results of any relevant direct object manipula-
object at 73 if the mouse over object state has changed or the      tion are polled and displayed.
mouse over object number has changed. If so, the poller 60              FIG. 10 describes a two level error correction technology
updates the relevant interface objects of the panel as appro-       (17 of FIG. 3) employed by the build process. Initial error
priate and displays them as necessary, and, depending upon          checking occurs during the interactions between the user and
whether the object is a text button object, a paragraph, image      the interface with the JavaScript error checking code at 80.
object, etc., at 75, begins polling their unique values.            Any file name, selected by the user through the file selection
    The poller can infer that a single click mouse event has 65 window or typed in a file pathname (See FIG. 6 at 49) is
occurred at 74 if the selection state has changed, or the           checked by the panel's JavaScript to assure that it has the
selected object changed. The poller updates the menu bar            correct file type suffix (gif, jpg, au, etc.) at 81.




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   The panel's JavaScript Code performs range checking at             The build engine-creates a dynamically resizable frame
82 to prevent user error or to prevent the breaking of any         utilizing JAVA's "Text Area" object class, whose coordi-
internal limits imposed by the build engine. These can             nates and size coincide with that of the draw system for the
include: going to a non-existent web page; exceeding any           object as defined below. Other full-featured programming
limit with the dual spin control (i.e. attempting to increment 5 languages, if used by the invention, also possess similar
or decrement a point size outside of the legal range, or trying    object types. The text area is immediately overdrawn by the
to illegally decrement a value to zero or a minus number;          draw system's background paint routine. The build engine,
typing in a numeric value that is outside a legal range; and,      utilizing the font metrics as defined by the selected text
implicitly creating an object that exceeds a limit imposed by      button or paragraph style, and utilizing the crosshair cursor's
the build engine).                                              10 coordinates, calls the draw system. The draw system paints
   The panel's JavaScript code also checks the file pathname       the background and then paints an insertion point and a
to make sure it contains a valid address, and makes neces-         selection rectangle, in the appropriate colors, and with the
sary additions or conversions, if necessary, at 83. For            appropriate height and width, into the appropriate web page
example, if the user selected a file from the local disk, the      location at 89. If the text button or paragraph style has a 3D
correct URL protocol is appended to the file name in order 15 frame selected, this intelligent ornamental object would also
to make it a valid string representation of a URL address.         be drawn, in the appropriate color, dimensions, and thick-
Any illegal characters for a pathname or a null file pathname      ness. Screen shot FIG. 41 shows a visualization of this
entry are also caught at 83. In addition to file pathname          process. The text insert point is in black, surrounded by a red
validity checking there are other validity checking functions      selection rectangle, and surrounded by a blue 3D frame, as
that can be employed by the JavaScript at 83. They include 20 defined by the selected style. The text editor is then initial-
the attempt by the user to enter a non-numeric character into      ized by setting the necessary status variables.
a numeric field, or leaving an essential fill-in field empty.         The build engine waits until a keyboard keystroke is
   The panel's JavaScript then passes these values to the          detected. The scan code is interpreted, and if it is a text entry
build engine though the arguments of a JAVA method                 key, the text editor's methods are called at 90. The text editor
function call at 84. The build engine can utilize the extensive 25 processes the key event at 91. The build engine employs
exception handling capability of JAVA at 85 (or that of any        frame (Text Area) processing methods and draw methods to
other full featured programming language used) to attempt          implement the text entry and text processing functions. As a
to recover from any processing error. If recovery is not           keyboard key for a text character is pressed, the build engine
possible, the build engine sets an error flag, utilizing the       passes this value to the editor's text entry method, which
polling technology (See FIG. 9 at 71). The poller, upon 30 updates both the text area's frame definition, and the draw
detecting this flag, informs the user, for example, through an     system's database. The width of the text area is dynamically
alert JavaScript pop-up message, what non-recoverable error        resized as necessary. If the object was a paragraph, a check
has occurred, from which operation, and what actions, if any,      is made on whether a reformat event should occur, based on
the user should take. For example, if the user had selected a      the paragraph style's definition and the width of the current
corrupted image file, the exception handling technology can 35 line's text string. If so, the appropriate text editor reformat
inform the user of this fact so that user corrective action can    method is called, which may cause the text area's vertical
resolve this very common problem. In one implementation,           dimension to also be resized. A high watermark variable may
error handling and exception recovery support is provided          also be set, for optimization purposes. After the final state of
for a malformed URL, an input or output error, a security          the text area is determined for the text entry keyboard event,
manager violation, and a null pointer error.                    40 the internal database for the text area, and for the paragraph
   FIG. 11 shows a process for text entry and text processing      or text button object, are updated. The draw system is called,
(18 of FIG. 3). The process begins when the panel's Java-          and the results of the text entry event are drawn on the web
Script detects the user selecting either "Button" or "Text"        page at 94.
icon objects from the panel's tool bar or from their equvalent        In one implementation, the build engine also supports the
menu choices under the "Button" or "Text" menus, and calls 45 usual text processing functions found in MS Windows or
the appropriate JavaScript function at 86. The JavaScript          Macintosh based Word Processors or Desktop Publishers at
function, after performing a range check to assure that no         92 and 93. For example, if the user single clicks the mouse
internal limits of the build engine are being broken, updates      when over an unselected paragraph or text button object, that
its database, and sets the necessary status variables. The         object is selected, a selection rectangle is drawn, the mouse
panel's JavaScript then calls the appropriate build engine 50 cursor shape is changed to a crosshair, and the poller reports
method, passing the necessary arguments, including the             the necessary information to the panel's JavaScript. If a
current board number, the internal number to be assigned to        mouse click occurs over a selected paragraph or text button
the object, the object type, and the current text button or        object, the editor's "Set Text Insertion Point" method is
paragraph style at 87. The build engine then updates its           called. Based on the coordinates of the mouse cursor, and
internal database and sets the necessary status variables. The 55 based on a calculation by the build engine as to the nearest
build engine also changes the mouse cursor shape to that of        line, and the nearest character on that line, the text insertion
a text entry symbol. In one implementation, the mouse              point can be drawn appropriately, and the necessary status
cursor is shaped like a crosshair, and can be moved onto the       variables are updated. Text entry is then processed as dis-
web page (the build frame 402) at an arbitrary location.           cussed at 91.
   The build engine detects a mouse click event through its 60        If a double click or mouse drag mouse event is detected
"mouseDown" method at 88. This method reports to the               over a paragraph, an appropriate "text string selection"
build engine the exact horizontal and vertical coordinates of      method is called (See FIG. 6). Based on the coordinates of
the crosshair mouse cursor at the moment the mouse button          the mouse cursor, and based on a calculation by the build
is pressed. The build engine places these values into its          engine as to what text string should be selected, the internal
internal database. The polling process is also supported, as 65 database in updated, appropriate status variables are set, and
discussed in FIG. 9, by placing the necessary return values        the draw system is called for marking the text string at 94.
in the appropriate poll enabled methods.                           The polling technology is activated as discussed in FIG. 9.




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The build engine's reformat methods for paragraphs can               panel's JavaScript database is updated and a call is made to
utilize a "Clean Text Stream" model for calculating line             an appropriate build engine method, with the necessary data
breaks and for updating four-dimensional variables utilized          and status information passed as function call arguments.
by the draw system in order to draw each paragraph, each             The build engine updates its internal database and calls the
paragraph line, and each paragraph line segment in the 5 reformat method if necessary. The draw system utilizes these
correct location, with the correct font type, font style, font       four-dimensional variables in order to paint the paragraph
size, font effect, and background and text string color. Font        line segment style override.
style refers to a font format such as Normal, Bold, Italic, or          The calculation for the creation or updating of a soft line
Bold Italic. Font effect refers to style overrides such as           break begins with the maximum paragraph width, which is
Underline, Double Underline, Small Caps, Cross Out, 10 set at a percentage of the browser screen width. This
Superscript, Subscript, etc. The "Clean Text Stream Model"           percentage is converted to an absolute pixel number based
implemented by the build engine maintains multi-                     on the web designer's screen resolution. When any text entry
dimensional array pointers and records for every paragraph           or text editing and processing event occurs, a build engine
line and line segment external to the text string defined            method is called which calculates the width, in pixels, for the
within the text area. Three-dimensional and four- 15 current paragraph line, based on the character string in the
dimensional variables are updated after each text entry or           text area that exists between the previous line end pointer
text editing and processing event in order to assure that the        and the current line end pointer. The font definition(s) that
pointers into the paragraph text stream, defined in the text         are related to this character string are applied, and a string
area, are current. The three-dimensional variables that the          width is calculated. If the string width exceeds that of the
build engine has implemented can include soft and hard line 20 maximum paragraph width, an "OverFlow" reformat
end pointers for each paragraph line. Their values can be the        method is called. The overflow reformat method calls a
absolute character positions within the text area text string        method to determine the settings for the last word on that
for that line end. Hard line breaks can be created by the user       line, and that word overflows to the following paragraph
pressing the enter key. Soft line breaks can be created by a         line. All pointers for the current line, and subsequent lines
reformat method based on a calculation defined below.             25 are updated as necessary, as are all pointers and records to
   The four-dimensional variables can be absolute pointers           paragraph line segments. If the string width is less than that
into the text area text string for the beginning and end of          of the maximum paragraph width, and the text processing
every style override, associated with each paragraph line            operation was not text entry, then an "UnderFlow" Reformat
segment. These style overrides can include hot links, font           method is called. The underflow reformat method calls a
type, font style, font size, numerous font effects, and text and 30 method to determine the width, in pixels, for the first word
background colors. For each style override there is an               on the next line. If that word will fit on the current line it is
associated style override record that maintains all the font         placed there. As before, all pointers for the current line, and
and color settings for that paragraph line segment. Also             subsequent lines are updated as necessary, as are all pointers
positional and size data such as start and end pointers into         and records to paragraph line segments. The word oriented
the paragraph text stream, a left offset relative to the 35 selection technique, and the reformat, database, and draw
paragraph's left origin, a top offset relative to the para-          technologies that support it, greatly simplify the text editor
graph's top origin, and the line height. The style override          and produce a run time engine that is smaller, faster and
record is created when the build engine detects a mouse drag         more reliable.
or mouse double click event within a selected paragraph.                FIG. 12 shows the operation of the image processing
When the mouse button is initially pressed, the current 40 technology utilized by the build engine (19 at FIG. 3). The
paragraph line and current word on that line are calculated          process begins when the panel's JavaScript detects the user
in a manner identical to that for calculating the location of        selecting the "Image" icon from the panel's tool bar or the
the text insertion point on a mouse click operation. The             comparable menu choice under the "hnage" menu. The
entire word becomes one anchor for the paragraph line                appropriate JavaScript function is called at 95, which draws
segment, while the word defined by the mouse coordinates 45 the define image pop-up window. The user then selects an
when the mouse button is released becomes the other anchor.          image from the file selection window with the browser, types
Up to two other paragraph line segments can be implicitly            in the image pathname for the image file on the local disk,
created by the word oriented selection method. If there is           or types in the URL for the image that exists on a server. The
text to the left of the first anchor word, and that paragraph        user could also define a 3D frame for the selected image at
line had not previously had a style override defined in it, the 50 this time. Screen shot FIG. 49 shows a visualization of a
text string from the beginning of the paragraph line to the          collage for the define image pop-up window and the user's
first anchor point has a style override record created for it.       selection choices under each tab setting. The user can
The values are set to that of the underlying paragraph.              complete the selection process by either pressing the Enter
   If style overrides had already been created on that para-         Key or clicking on the "Create Image" icbn in the pop-up
graph line, and the anchor word is inside one of them, then 55 window. If the Enter Key is pressed, the pop-up window's
that style override's end pointer is adjusted to the start of the    JavaScript Code utilizes the onKeyDown function, or if a
anchor word. All other style overrides, if any, to the right of      mouse click, the onClick function, as described in FIG. 7, to
the anchor word are deleted, as overlapping style overrides          recognize the completion event. An appropriate error check-
are not permitted. In a similar manner, the text string, if any,     ing JavaScript function is called, which performs a file name
to the right of the last anchor point, up to the line or 60 error check, a filename validity check, and a range check to
paragraph end, can also be defined as a style override. If a         assure that no internal limits of the build engine are being
mouse click occurs before a "text style" operation, then             broken. If the error checking tests are successful another
these pointers will be reset. If the panel's JavaScript detects      JavaScript function is called to update the panel's database,
a user selection of "text style" from the "Text" menu, the           and set the necessary status variables.
appropriate pop-up window is drawn and its values initial- 65           The panel's JavaScript then calls the appropriate build
ized from the JavaScript database. Upon detecting a user             engine method, passing the necessary arguments, including
completion event (i.e., the depressing of the enter key), the        the current internal web page number, the internal number to




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be assigned to the image object, the object type, and the            from the panel's "Image" menu. The appropriate JavaScript
current image style at 96. The build engine then updates its         function is called, which sets the necessary status variables,
internal database and sets the necessary status variables. It        and then calls the appropriate JAVA method, passing the
also changes the mouse cursor shape to that of an "Image             necessary values as arguments. The JAVA method then sets
Create" symbol. In one implementation, the mouse cursor is 5 its necessary status variables, changes the mouse cursor
shaped like an arrow. The build engine detects a mouse click         shape as appropriate, depending upon the type of direct
event through its "mouseDQwn" Method at 97. This method              image operation, and awaits a direct mouse operation on the
reports to the build engine the exact horizontal and vertical        image object. Image rotation is an example of this type of
coordinates of the arrow mouse cursor at the time the mouse          direct image interaction. In one implementation, direct
button was pressed, and places these values into its internal 10 image object rotation is realized by utilizing the image
database. The polling process is also handled, as discussed          rotation technology described in association with FIG. 33
in FIG. 9. The build engine then asserts the necessary               below. Screen shots FIG. 55 and FIG. 56 show a visualiza-
security permission for reading from the local disk, if              tion of an image rotation for a normal image. Screen shot
necessary, and attempts to create the necessary image object         FIG. 55 shows the user selecting the rotate command from
at the current mouse coordinates at 98, while checking for 15 the "Image" menu. Immediately the cursor's shape changes
any exception conditions as described in FIG. 10. If no              to the rotate (a dual left/right arrow) cursor, and the selected
unrecoverable exceptions are reported, the internal database         image's attachment points disappear. Placing the cursor on
is updated and the draw system is called.                            the image and dragging will cause the image to rotate on an
   The image processing technology supports direct web               east/west and/or north south axis. Screen shot FIG. 56 shows
page image object interactions at 99, utilizing the commu- 20 the result after the mouse was dragged on an east/west plane.
nication technology described in FIG. 6. The build engine                Image object interactions are invoked by selecting from
first processes the mouse event as described in FIG. 7, and          the JavaScript panel, selecting from a JavaScript pop-up
places the appropriate values into a poll enabled JAVA               window, and by selecting from a JAVA window object at
method as described in FIG. 9. There are two types of direct         101, as described in FIG. 6. The initial values in the pop-up
web page image object interactions. s The first occurs by 25 window are set from JavaScript's database. After any user
simply selecting the image object with a single mouse click.         interaction, JavaScript' s database is updated and the appro-
A red selection rectangle is drawn around the image, as are          priate method in the build engine is called with the necessary
eight attachment points. When the user has pressed the               settings. The build engine, after updating its internal
mouse cursor, the mouse cursor's shape changes to that of an         database, calls the appropriate image processing method.
anchor, which is a symbol that can be used when dragging 30 The image processing routine then calls the required image
or moving an object. The mouse's location will jump to the           filter(s), which then perform the necessary processing on the
origin for the image. In an alternative implementation, the          image bitmap at 102.
anchor can be defined by the mouse location at the time of               An image filter is a body of code, usually consisting of
the mouse drag operation. In either case, while the mouse is         one or more digital image processing algorithms, which
being dragged, the build engine updates its internal database. 35 operate on an image bitmap, and create a transformed image
The build engine also updates its poll-enabled methods for           bitmap. An image observer can be invoked by the image
communication with the interface's polling technology at             filter, which then reports when the image bitmap processing
100. The JavaScript poller reads these values, updates the           has been completed. An image observer is a independent
panel JavaScript database, and updates the panel's interface         process that monitor's a particular image processing event,
objects. In a similar way, placing the mouse cursor over an 40 such as the execution of an image filter or the reading in of
attachment point and dragging will result in an image                an image file, and reports the status of that process when
resizing operation. Screen shots FIG. 50 through FIG. 52             queried. When the image observer reports a successful
show a visualization of an image dragging operation. Screen          completion, the image filter can call the build engine's draw
shot FIG. 50 shows the cursor over an unselected image.              system to display the transformed image bitmap. This inter-
Screen shot FIG. 51 shows the screen state after the left 45 action between the build engine's image processing method,
mouse button has been pressed. Notice that the image is now          the image filter(s), the image observer, and the draw system
selected and the cursor shape has changed to the drag state.         can occur many times, depending upon the image processing
Screen shot FIG. 52 shows the screen state after the mouse           operation chosen. Image animations and image
has been dragged to the northwest. Notice that the image             transformations, which are technologies that rely heavily on
stayed selected and moved with the mouse. Screen shots 50 image filters, and the image observer are discussed in greater
FIG. 53 and FIG. 54 show a visualization of an image                 detail below in association with FIG. 16 and FIG. 17.
resizing operation for a normal image. Notice that all                   FIG. 13 shows a process for implementing text button,
eight-attachment points are drawn and active for the selected        image and paragraph style settings (20 of FIG. 3). The initial
image. Screen shot FIG. 53 shows the cursor over the upper           values for all the settings inside a parent pop-up window and
left attachment point. Notice that the cursor shape has 55 associated child pop-up windows, for a particular style, can
changed to a northwest to southeast resize cursor shape.             be set from the JavaScript database at 103. The settings can
Screen shot FIG. 54 shows the result after the left mouse            include: image object styles, text button object styles and
button has been pressed over the upper left attachment point         paragraph object styles.
and dragged to the northwest. Notice that the image's upper              The following settings can be initialized and changed for
left corner is still under the cursor, the image has resized, and 60 image object styles. The following settings are initialized for
the cursor shape remained unchanged. For image resizing              all image object states (Normal, mouse Over, mouse Down)
operations with the mouse over and mouse down objects,               and can be changed:
only the east, southeast, and south attachment points are                   ( 1) resize factor.
drawn and active.                                                           (2) rotation factor.
   The second type of direct web page image object inter- 65                (3) main animation type, speed, number of animation
action occurs when the panel's JavaScript code detects that                     steps (resolution) and number of cycles.
the user has selected an image object interaction feature                   (4) image processing factors. (brightness, contrast, etc.)




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   (5) 3d effects and their color values.                           h) The time line settings are the same as those defined for
   (6) web page centering attribute.                                   image objects. They also are initialized and can be
   (7) web page scaling attribute.                                     changed.
b) The following actions are initialized and can be                 The following settings can be initialized and changed for
   changed.                                                    5 paragraph styles.
   (1) sound effects and audio channels.                            The following attributes are and can be changed:
   (2) video files and video channels                               i) all font specifications.
   (3) text button and image pop ups and their attributes
       (See 1.a above and 2.a below.)                               j) all color specifications.
   (4) click events.                                          10
                                                                    k) 3d effects and their color values.
c) The following transformation settings are initialized            1) web page centering attribute.
   and can be changed.                                              m) the look of hot links, including the text and back-
   (1) the initial delay                                               ground colors when the link is active and when the
   (2) up to three transformations can be defined with the
                                                                       mouse is over the link.
       following settings:
                                                              15    The reference to JAVA 2 under text button object styles
       (a) which image states should the transformation be
          from and into.                                         refer to the most recent version of JAVA released by Sun
       (b) the speed of the transformation.                      Microsystems. This version supports a far more robust
       (c) any delay before the next transformation.             two-dimensional processing capability than JAVA 1.6,
   (3) whether the transformation(s) should occur simul-         including significant font processing capabilities and the
       taneously with the enter and exit time line animation 20 scaling, shearing, and rotation of objects. Currently, most
       or after the enter and before the exit animations.        conventional browsers only support JAVA 1.6. Provisions
d) The following time line settings are initialized and can      are made in the invention so that as the then popular
   be changed.                                                   browsers support more robust versions of programming
   (1) the initial delay before the image object's appear-       languages, those new capabilities can be employed to further
       ance.                                                  25 enhance the capability of the invention.
   (2) the enter animation type, speed, and animation               Referring again to FIG. 13, upon detecting the completion
       resolution.                                               of editing an image, text button or paragraph style, the
   (3) the delay after the enter animation and the main          panel's JavaScript calls a build engine method and passes
       animation.                                                the required values. The build engine updates its internal
   (4) the exit animation type, speed, and animation 30 database and sets any necessary feature flags at 104. When
       resolution.                                               an image, text button or paragraph object is created, all the
   (5) the initial delay, after the entrance of the parent       style settings for the currently selected style are applied by
       object, before the child text button and image            the build engine as part of the definition for the newly
       object's appearance(s).                                   created object at 105.
   (6) the child object(s) enter animation type, speed, and 35      If a style is changed, all objects on all internal web pages
       animation resolution.                                     that are utilizing that style are candidates for being changed
   (7) the delay after the child object(s) enter animation.      to those new values at 106. Flags are kept for every possible
   (8) the child object(s) exit animation type, speed, and       style setting for each object. If a given object is edited
       animation resolution. The following settings can be       through the text button, image, or interaction menus or other
       initialized and changed for text button object styles. 40 interface objects of the panel 400, the flags are set for any
e) The following attributes are initialized for all text         setting that are changed. If that style is subsequently
   button object states (normal, mouse over, mouse down)         changed, only those settings that have not had their flags set
   and can be changed:                                           will be changed for any given object.
   (1) all font specifications.                                     FIG. 14 describes the video and audio file and video and
   (2) vertical state.                                        45 audio channel processing techniques employed by the build
   (3) all color specifications.                                 engine (21 of FIG. 3). A user can select a video or audio
   (4) 3d effects and their color values.                        special effect (i.e. user input is provided at 107 that indicates
   (5) web page centering attribute.                             a video or audio special effect). The method for activating a
   ( 6) font processing attributes ( available in j ava 2)       video file or video channel is defined in the text button and
   (7) scale, shear, and rotate (available in java 2)         50 image object "mouse over" interactive pop-up windows
t) The following actions are initialized and can be              described later at FIG. 16. Methods for defining a video
   changed.                                                      object as a pop-up, or a frozen object, are described with
   (1) sound effects and audio channels.                         reference to the text button and image object "mouse down"
   (2) video files and video channels                            interactive pop-up window also described at FIG. 16. Audio
   (3) text button and image pop ups                          55 files and audio channels can be defined in both the "mouse
   (4) click events.                                             over" and "mouse down" interactive pop-up windows also
g) The following transformation settings are initialized         described at FIG. 16. The pop-up or a frozen object settings
   and can be changed.                                           for audio are also set in the object "mouse down" interactive
   (1) the initial delay                                         pop-up windows discussed therein.
   (2) up to three transformations can be defined with the 60       As before, the panel JavaScript code initializes any pop-
       following settings:                                       up windows (where the initial values are set from the
       (a) which image states should the transformation be       JavaScript database), captures a file or channel name (from
          from and into.                                         the user input) and performs file and validity error checking
       (b) the delay before the next transformation.             upon detecting a user completion action at 108. The build
   (3) whether the transformation(s) should occur simul- 65 engine is then called, receiving the necessary data and status
       taneously with the enter and exit time line animation     as function call arguments. The build engine determines if
       or after the enter and before the exit animations.        the audio and video definition is a file pathname or the URL




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of a live channel at 109, and thereafter initiates its exception  a reformat method, updates its internal database, and sets the
handling. If the video or audio definition is a file, the build   necessary four-dimensional variables for communication
engine performs the relevant file exception handling checks,      with the draw system.
and asserts the necessary security permissions. If there were        The normal and "mouse over" foreground and back-
no errors, or the exception handling error was recoverable, s ground colors for the hot link, which were defined in a link
the build engine reads and links the video/audio file to the      look pop-up window ( available under the "Text" menu of the
database, and plays the file for user verification at 110. If the panel), are utilized by the build engine to draw the hot link.
video or audio definition was a channel, the necessary            The build engine performs the necessary exception
pointers are updated in the database, and methods are             handling, and then updates its internal database.
assigned for efficient transmission, at run time by the run 10       Based on the panel's JavaScript Code detecting whether
time engine, at 111. The ability of the run time engine to play   the user chose the "mouse over" or "mouse down" choice
multiple synchronized audio and video files and channels          under the "Interactions" menu at 120, as well as based on
simultaneously will be described at FIGS. 31-35.                  whether an image or text button object is currently selected,
   FIG. 15 describes the frames, tables, forms and draw           the panel's JavaScript code draws the appropriate pop-up
objects technologies employed by the build engine (22 of 15 window. Initial values for the pop-up windows are set from
FIG. 3) in one implementation of the invention. When the          the panel's database at 121 and 122. In one implementation,
panel JavaScript code detects a user action to create a           the following user interaction's for the "mouse over" and
"frame", "table", "form" or "draw object" from an appro-          "mouse down" states for text button and image objects are
priate panel interface object, it draws and initializes the       supported:
appropriate pop-up window at 112. Upon detecting a user 20           1: 3D Frame, in a specified color, and selected for a
completion action by the pop-up window's JavaScript code,               specified 3D appearance, can be defined for text button
a panel JavaScript function is called to perform the neces-             and image object's "mouse over" and "mouse down"
sary error checking and updating of the panel's database.               states, as well as for their text, image and video
Panel JavaScript thereafter calls the appropriate build engine          pop-ups.
method(s) passing the necessary data and status values as 25         2: The font typeface, font style, font size, font effect(s),
function call arguments at 113.                                         text color, and text background color can be defined for
   The build engine updates its internal database, sets the             a text button object's "mouse over" and "mouse down"
necessary status values, and initializes, as necessary, appro-          states, as well as for the text pop-ups associated from
priate methods for run time processing. In one                          both text button and image objects.
implementation, the build engine includes definitions to map 30
                                                                     3: Text, image, and video pop-ups can be defined for the
a given object into a relational database. Also available are
                                                                        text button and image object's "mouse over" state.
a full array of database operations. Support for popular
databases (such as Oracle, Informix, Sybase and DB2) are             4: A sound track (file) can be defined for the text button
                                                                        and image object's "mouse over" state with the fol-
available on a real time interactive basis.
   The run generation technologies, as described later in 35            lowing choices:
                                                                        a. play once when a "mouse over" event occurs.
FIGS. 24-27, are also implemented for a given frames,
table, form and draw object at 114. The run time                        b. play until a click event while on the object.
technologies, as described later in FIGS. 28-36, are also               c. play until the mouse moves off the object.
implemented for a given frame, table, form and draw object           5: A sound track (file) can be defined for the text button
at 115. FIG. 16 describes the user interaction settings and 40          and image object's "mouse down" state with the fol-
technology employed by the build engine (24 of FIG. 3).                 lowing choices:
Depending upon the type of object currently selected at 116             a. play once when a mouse click event occurs when
(if no object is selected no user interaction choices will be              over the object.
available) the panel JavaScript Code draws an appropriate               b. play until a second click event while on the object.
pop-up window. If the selected object was a text buttoh 45              c. play until the mouse moves off the object.
object at 117, or an image object at 119, both "mouse over"          6: Both video and sounds can be defined as channels as
and "mouse down" choices will be available from the                     well as files.
panel's "Interactions" menu. If the selected object is a             7: The text, image, and video pop-ups can be frozen (i.e.
paragraph, user interaction definitions can be activated by a           not disappear when the mouse moves off the object
double click or a mouse drag event being detected by the so             after a mouse click event, for both text button and
build engine at 118.                                                    image objects).
   More specifically, appropriate values are set in a poll-          8: Text button and image objects can have one of the
enabled JAVA routine. The JavaScript poller reads the                   following click events defined:
values, and draws the appropriate panel menu choices. The               a. go to a specific internal web page.
"Text Style", "Hot Link", "Preferences" and "Format" pop- ss            b. go to the next internal web page.
up windows can be chosen. If the hot link choice under the              c. return to the parent (calling) web page.
panel's "Text" menu is selected and executed, the hot link              d. go to an external web age. That web page will replace
definition for internal or external web pages is captured by               the current web page.
an appropriate JavaScript function and file pathname error              e. go to an external web page. That web page will be
and validity checking is performed. If either the "Text 60                 launched into a new window so that both web pages
Style", "Hot Link", Preferences" or "Format" choices under                 will be visible and accessible.
the panel's "Text" menu are selected, the panel's JavaScript         After a user completion action is detected, the panel
draws the appropriate pop-up window. Upon detecting a user        JavaScript code performs the necessary file error and valid-
completion event, the panel's JavaScript reads the values in      ity checking, updates its database and sets necessary status
the pop-up window and passes the font specification param- 65 values, and then calls the appropriate build engine method,
eters to an appropriate build engine method as function call      passing the necessary data values and status as function call
parameters. The build engine then processes this data, calls      arguments at 123. The build engine updates its internal




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database, sets the necessary status variables, then draws the       dow and the transformation settings available to the user.
appropriate "mouse over" or mouse down" text button or              Screen shot FIG. 60 shows a visualization of one imple-
image object states. The build engine also plays the sound or       mentation of a "define the transformation for the image
video file for user verification. The run time technology           object" pop-up window and the transformation settings
behind the user interactions will be described in greater 5 available to the user. When a user completion event is
detail in association with FIG. 36.                                 detected, the panel's JavaScript Code captures the values
    FIG. 17 describes the image and text button object ani-         from the pop-up window based on the object type.
mation settings and technology employed by the build                   In one implementation, the following settings for text
engine (25 of FIG. 3). The panel's JavaScript code deter-           button objects can be specified:
mines which type of object, and which object number, from 10           1. The initial delay.
the currently selected object, as reported by the poller at 124.       2. Up to three transformations can be defined with the
When the panel's JavaScript detects a user selection of                   following settings:
"Define Image" or "Animate" from the panel's "Image"                      a. Which image states should the transformation be
menu, or a user selection of "Define Button" or "Animate"
                                                                             from and into.
from the panel's "Button" menu, it draws the appropriate 15               b. The delay before the next transformation.
pop-up window and initializes the pop-up window's values
                                                                       3. Whether the transformation(s) should occur simulta-
from its database at 125 and 126. Screen shot FIG. 57 shows
                                                                          neously with the enter and exit time line animation or
a visualization of one implementation of the "Text Button
                                                                          after the enter and before the exit animations.
Animation Specifications" pop-up window and the anima-
                                                                       In one implementation, the following settings for image
tion settings available to the user. Screen shot FIG. 58 shows 20
                                                                    objects can be specified:
a visualization of one implementation of the "image anima-
tion specifications" pop-up window and the animation set-              1. The initial delay.
tings available to the user.                                           2. Up to three transformations can be defined with the
    When a user completion event is detected, the panel's                 following settings:
JavaScript code captures the values from the pop-up window 25             a. Which image states should the transformation be
for the animation type, speed, resolution, and number of                     from and into.
animation cycles at 125 and 126, respectively, and updates                b. The speed of the transformation.
its database at 127. The panel's JavaScript then calls the                c. The resolution of the transformation.
appropriate build engine method, passing the necessary data               d. Any delay before the next transformation.
and status values as function call arguments. The build 30             3. Whether the transformation(s) should occur simulta-
engine updates its internal database and sets the necessary               neously with the enter and exit time line animation or
feature flags (See FIG. 8.) Linkage to the appropriate                    after the enter and before the exit animations.
animation method(s) is also set.                                       The panel's JavaScript updates its database at 131. The
    A thread object ( a thread is an independent asynchronous       panel's JavaScript then calls the appropriate build engine
program that is multiprogrammed with other threads, are 35 method, passing the necessary data and status values as
defined and executed by the invention, by a JAVA Virtual            function call arguments. The build engine updates its inter-
Machine and by the browser) is created and executed for             nal database and sets the necessary feature flags (See FIG.
user verification at 128. Values are set to integrate the given     8.) Linkage to the appropriate transformation method(s) is
animation thread with the object time line technology (See          also set.
FIG. 19). Values are set at 129 so that when the thread object 40      A thread object is created and executed for user verifica-
is invoked by the run time engine, the appropriate image            tion at 132. Values are set to integrate this transformation
filter(s) and animation methods are called. The run time            thread with the object time line technology (See FIG. 19).
technology behind image and text button object animations           Values are set at 133 so that when the run time engine
is described in greater detail in association with FIG. 31          invokes the thread object, the appropriate image filter(s) and
through FIG. 35.                                                 45 transformation methods are called. The run time technology
    FIG. 18 describes the transformation settings and tech-         behind image and text button object transformations is
nology utilized by the build engine (26 of FIG. 3). A               described in greater detail below in association with FIG. 31
transformation is defined as the changing of an object from         through FIG. 35. FIG. 19 describes the text button and image
one state to another based on a timer control, subject to user      time lines and technology utilized by the build engine (27 of
settings. In one implementation, the available states for text 50 FIG 3). A time line is an independent asynchronous process
button and image objects are their "normal", "mouse over",          that defines the existence of a given text button or image
"mouse down" and "pop-up" definitions. For text button              object. An object's time line begins at the time a given web
objects, a transformation is implemented as the instanta-           page makes its appearance, either through an immediate
neous drawing of one object state while erasing the previous        draw or through a transition animation. In one
object state. For images, a transformation is the gradual 55 implementation, an object time line can be created as an
fading out of the previous object state, while,                     instance of a class, which has a threadable interface. This
simultaneously, fading into the next object state.                  instance has its own data structures, which define the
    Prior to any user menu selection, the panel's JavaScript        animations, and transitions associated with the time line
code already knows the status of any selected object through        definition. An image or text button object time line can
the poller mechanism (124 of FIG. 17). This includes what 60 spawn child time lines, at a designated moment. A complete
type of object and the object's internal identifying number.        description of time line technology, and how they integrate
When the panel's JavaScript detects a user selection of             the animation and transformation technologies, will be
"Transform" from the panel's "Interactions" menu, it draws          described below in association with FIG. 31 through FIG.
an appropriate pop-up window and initializes the pop-up             35.
window's values from its database at 130. Screen shot FIG. 65          The build process begins the time line definition process
59 shows a visualization of one implementation of a "define         by having the panel's JavaScript determine what is the
the transformation for the text button object" pop-up win-          currently selected object, utilizing the polling technology at




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134. That is, values for the object' appearance time, anima-                web page when it is loaded and to the previous web
tion type, speed and resolution are captured. When the                      page as it departs.
panel's JavaScript detects a user selection of "time line"               3: The number of animation frames per second, which
from the panel's "Interactions" menu, it draws the appro-                   effectively is the resolution of the transition animation.
priate pop-up window and initializes the pop-up window's 5               4: The number of animation frames, which effectively
values from its database. Screen shot FIG. 61 shows a                       defines the time expected for the transition animation to
visualization of a collage of one implementation of a "define               complete.
the time line for the text button object" tabbed pop-up
                                                                         5: The web page's background color. This setting will
window and the time line settings available to the user under
                                                                            override the generic setting for the web site, defined in
each tab. Screen shot FIG. 62 shows a visualization of a 10
                                                                            FIG. 21a.
collage of one implementation of a "define the time line for
the image object" pop-up window and the time line settings               6: A web page boarder. This boarder, if selected, will also
available to the user under each tab. When a user completion                override the setting for the web site, defined in FIG.
event is detected, the panel's JavaScript captures the values               21a. The boarder can be drawn with a 3D effect, taking
from the pop-up window based on the object type. The 15                     the background color, and applying a transformation so
currently available settings, for both text button and image                that, to the human eye, a lighter and darker shade of that
objects, are:                                                               color will be drawn appropriately to create a 3D effect.
                                                                         7: The web page's background pattern. This setting will
    1: The initial delay before the image object's appearance.
                                                                            override the generic setting for the web site, defined in
    2: The enter animation type, speed, and animation reso-                 FIG. 21a.
                                                                   20
       lution.                                                           The panel's JavaScript updates its database at 139. The
    3: The delay after the enter animation and the main               panel's JavaScript code then calls the appropriate build
       animation.                                                     engine method, passing the necessary data and status values
    4: The exit animation type, speed, and animation resolu-          as function call arguments. The build engine updates its
       tion.                                                       25 internal database and sets the necessary feature flags (See
    5: The initial delay, after the entrance of the parent object,    FIG. 8.). The web page time line is synchronized with its
       before the child text button and image object's                object time lines by an appropriate build engine method at
       appearance(s).                                                 140. The web page's appearance delay and transition set-
                                                                      tings are integrated into the web page time line. Thereafter,
    6: The child object(s) enter animation type, speed, and
       animation resolution.                                       30 a single-level object thread definition is created. Values are
                                                                      set at 141 so that when the thread object is invoked by the
    7: The delay after the child object(s) enter animation.           run time engine, the appropriate animation methods and
    8: The child object(s) exit animation type, speed, and            object time line threads are called. Again, the run time
       animation resolution.                                          technology behind web page transition animations and web
    The panel's JavaScript updates its database at 135. The 35 page time lines is described in greater detail below in
panel's JavaScript then calls the appropriate build engine            association with FIG. 31 through FIG. 35.
method, passing the necessary data and status values as                  FIG. 21a describes the file operations supported by the
function call arguments. The build engine updates its inter-          build engine (29a of FIG. 3). In one implementation, the file
nal database and sets the necessary feature flags (See FIG.           operations supported include:
8.) A build engine method then processes all the data related 40         1: "Save" at 142 or "Save As" at 143. If the selection from
to this object. The object's animation settings, if any, are                the panel's "File" menu is to "Save" as a web page, the
integrated into the timeline at 136. The object's transforma-               current browser screen height percentage value is sent
tion settings, if any, are also integrated into the timeline. If            to the build engine. The build engine updates its
an image object, any transformation animation may be                        internal database and the build process is completed.
executed simultaneously with the appearance and/or exit 45                  Thereafter, the run generation process is executed. (See
animations, depending upon the settings. Finally, a multi-                  FIG. 24 through FIG. 27.) If the selection is to "Save
level object thread definition is created and executed for user             As" a template for the run generation process is also
verification. Values are set at 137 so that when the run time               executed but the generated files are placed in the
engine invokes the thread object, the appropriate image                     template directory. If the selection is to save as a banner
filter(s), animation methods, and transformation methods are                or custom application, those absolute screen dimen-
                                                                   50
called.                                                                     sions are sent to the build engine and its internal
    FIG. 20 describes the web page transition animations,                   database is updated and the run generation process is
time line settings and technology utilized by the build engine              executed.
(28 of FIG. 3). When the panel's JavaScript detects a user               2: "New" at 144. A test is made by the panel's JavaScript
selection of "Define" from the panel's "Webpage" menu, it                   code to see if any user input has been processed and not
                                                                   55
draws the appropriate pop-up window and initializes the                     saved. If so, the user is asked whether this data should
pop-up window's values for the current web page from its                    be saved. If so, and if the selection is to "Save" as a web
database at 138. Screen shot FIG. 63 shows a visualization                  page, the build process is completed and the run
of one implementation of the "define the current web page                   generation process is executed as described above. If
settings" pop-up window and the web page settings avail- 60                 the selection is to "Save" as a template the run gen-
able to the user. In the implementation shown, the choices                  eration process is executed but the generated files are
supported include:                                                          placed in the template directory as described above.
    1: The web page delay time (which is the delay, after the               The panel's JavaScript code then reinitializes its data-
       completion of the last object time line, to the loading of           base and calls a build engine method that reinitializes
       the next web Page).                                         65       the build engine database.
    2: The transition animation, which can include a random              3: "Close" at 145. A test is made by the panel's JavaScript
       animation choice. This is the animation applied to the               to see if any user input has been processed and not




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     saved. If so, the user is asked whether this data should      the "Open" command from the "File" menu is detected by
     be saved. If so, and if the selection is to "Save As" a       the panel at 500, the panel calls an engine method to read
     web page, the build process is completed and the run          selected contents from that web site's external database file.
     generation process is executed. If the selection is to            In one implementation of the invention at 506, the engine
     "Save As" a template the run generation process is 5 reads the web page width and length fields, as well as the
     executed but the generated files are placed in the            background color or background image definition for the
     template directory. The panel's JavaScript then termi-        first web page of the Web Site. The engine then creates a
     nates the build process.                                      build engine HTML definition file based on these
                                                                   specifications, and writes this file either to the local disk or
  4: "Open" at 146. A test is made by the panel's JavaScript       the server, depending upon the origination of the build tool.
     to see if any user input has been processed and not        10
                                                                      At 502, if a user completion event occurs inside the web
     saved. If so, the user is asked whether this data should      site JavaScript pop-up window, which had been activated
     be saved. If so, and if the selection is to "Save As" a       when the user selected the "Web Site" command from the
     web Page, the build process is completed and the run          "File" menu, the panel determines if the web site page size
     generation process is executed. If the selection is to        has been changed. If so, the panel calls an engine method for
     "Save As" a template the run generation process is 15 processing.
     executed but the generated files are placed in the                Similarly, at 504, if a user selection of a "Zoom" com-
     template directory. The panel then initiates the dynamic      mand from the "View" menu is detected by the panel at 504,
     web page resizing technology as described in FIG. 22          the panel also calls an engine for processing.
     below for the open re-initialization mode.                        In both the cases at 502 or 504, in one implementation of
  5: "Apply" at 147. A template is applied to the existing 20 the invention, the engine writes out a checkpoint record at
     web site that is being processed by the build engine.         508 that is similar to that of a "Website name" .dta "database
     The web page and style record definitions of the              file (See FIG. 24). But is given the temporary checkpoint
                                                                   Websitename. The engine then creates a build engine HTML
     template replace those of the existing web site. The web
                                                                   definition file based on these specifications, and writes this
     page objects of the template are added to the web page
     objects of the existing web site.                          25 file either to the local disk or the server, depending upon the
                                                                   origination of the build tool.
  6: "Web Site at 148. The web designer can define settings            In one implementation of the invention at 510 the engine
     that will be applied to all web pages in the web site. In     terminates itself, by stopping all of its threads. Meanwhile
     one implementation, the web site applications sup-            the interface writes out four cookies onto the local disk
     ported include:                                               which define the following:
                                                                30
     a: web page. The web page height can be set, as a                 1: The re-initialization mode. (Either Open or
        percentage, larger than the browser window for long               Checkpoint).
        vertically scrolled web pages.                                 2: The current web page number when the resizing event
     b: Standard banner sizes.                                            occurred.
     c: Custom. (The user can define any arbitrary web page
                                                                35     3: The Web Site Name. (The checkpoint name if in
        size and resolution) Screen shot FIG. 63 shows the
                                                                          checkpoint mode)
        generic web site setting choices presented to the user
                                                                       4: The zoom level.
        in one implementation of the invention.
                                                                       The interface then terminates itself by executing the
  FIG. 21b describes the view operations supported by the
                                                                   JavaScript "parent.location.href' command, which causes
build engine (29a of FIG. 3). In one implementation, the file
                                                                40 the build engine parent HTML frame file (PFF) to be
operations supported include:
                                                                   reloaded (See FIG. 5).
  1: "Normal" at 149a. This is the default file mode in
                                                                       In one implementation of the invention at 512 the
     which the interface and the build engine are processing       re-initialization process begins. The PFF cause both the
     user input as described in FIG. 5 through FIG. 23             panel and the build engine to be reloaded and activated. The
     above.                                                     45 panel then reads the mode cookie. If the mode is either open
  2: "Preview" at 149b. The build engine runs the web site         or checkpoint, the interface reads the web site name, page
     off its internal database. The web site will perform in an    number and zoom level cookies, then resets the mode cookie
     identical manner as if it had gone through the entire run     to the initialize state for subsequent operations. The interface
     generation and run time process, but it is being              then calls an engine method to read the external database,
     executed on the web designer's computer.                   50 and then to return the necessary values from that database in
  3: "Play" at 149c. The build engine runs the web site off        order to update the interface's database. Finally the engine
     an external database in a separate browser window. The        calls two engine methods in order for the engine to go to the
     web site will perform in an identical manner as if it had     correct current web page and draw that page at the now
     gone through the entire run generation and run time           current zoom level. Normal processing can then resume.
     process, but it is being executed on the web designer's 55 Run Generation Process
     computer.                                                         FIG. 24 through FIG. 27 describe the run generation
  4: "Zoom" at 149d. The dynamic web page resizing                 process. This process starts when the build process detects
     technology (see FIG. 22 below) is first executed. When        that the user is finished defining the web site (user has saved
     the engine is fully reinitialized, and the engine has gone    the web site and invokes the run generation process), and
     to the current web page, the page and all its objects are 60 concludes with the actual uploading of all the necessary web
     drawn to the scale as defined by the zoom level. All          site run time files to the user's server.
     object coordinates and sizes are automatically scaled             FIG. 24 describes the techniques employed by the build
     appropriately because they are always defined with            engine for the creation of the external database, and the
     virtual screen values, even when the web page is being        security and optimization techniques that support this pro-
     draw in the "normal" view.                                 65 cess (30 of FIG. 4).
  FIG. 22 describes the dynamic web page resizing tech-               When the panel's JavaScript Code detects a user selection
nology supported by the build engine. If a user selection of       of "Save" or "Save As" from the panel's "File" menu, it




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draws the appropriate pop-up window and initializes the                The settings for all paragraph, text button and image
pop-up window's values for the current web page size as had         styles are then written as a style record at 155 based on their
been defined at FIG. 5 and passed to the build engine. The          high watermark. This data includes Boolean and integer
panel's JavaScript in the "save the web page/template"              variables, and font and color objects, written as a one-
pop-up window detects a user completion event at 150 (i.e., s dimensional array, based on the high watermark values for
the designation of a user's web site name followed by the           the number of styles that exist. The font and color objects are
enter key), and calls the appropriate panel JavaScript func-        serialized as is discussed in greater detail below (See 159
tion. More specifically, after completing the appropriate           below).
validity checks, the function calls the appropriate JAVA               The body of the external database is then written at 156.
build engine method, passing as a function call argument the        All Boolean values are written inside a four-dimensional
                                                                 10
user defined "Website name". The build engine method                loop at 157. The outside loop contains the Boolean values
checks for the existence of a "Website name" .dta file, and, if     used to define web pages (i.e. a one-dimensional array
so, posts that result into a poll-enabled method return value.      definition) as well as the high watermarks for the number of
The poller checks that value, and if set to true, calls a           text button, image, paragraph or other objects per web page,
JavaScript function which draws a pop-up window asking              with the loop set at the high watermark which defines the
                                                                 15 number of existing web pages for this web site structure. The
the user to confirm whether the existing web site definition
should be overwritten or not. This JavaScript function also         second level consists of three or more two dimensional loops
calls an appropriate build engine method to reset the return        with the loops set to the high watermarks defining the actual
value to false in order to be initialized for the next possible     number of text button, image, and paragraph or other objects
"Save" operation.                                                   that appear on any given web page and contains the values
   Once this verification process is completed the build 20 used to define web page objects ((i.e. a two-dimensional
                                                                    array definition; web page number by object number).
engine begins the external database creation process at 151,
                                                                    Included within the loop for paragraph objects are the high
which will vary depending upon the security manager of a
                                                                    watermarks for the number of lines for each paragraph
given browser at 152. See FIG. 5 for a detailed description         object. The third loop is set by the high watermark defining
of the browser security manager alternatives. If the brows-         the actual number of paragraph lines that for all paragraphs
er's security manager allows for local disk file creation, the 25 on any web page and contains the values used to define
build engine calls a method, which asserts the necessary            paragraph lines (i.e. a three-dimensional array definition;
security policy permissions to create and write a file. If not,     web page number by object number by paragraph line.)
the build engine calls the necessary method to create and           Included within the loop for paragraph lines are the high
write a file on the user's server.                                  watermarks for the number of line segments for each para-
                                                                 30
   The external database contains, as its first record, a           graph line. The inner most loop is set by the high watermarks
"Header" record, which contains can include the following           defining the number of line segments per paragraph line and
information:                                                        contains the values used to define paragraph line segments
   1: A file format version number, used for upgrading              (i.e. a four-dimensional array definition; web page number
      database in future releases.                                  by object number by paragraph line by paragraph line
                                                                 35 segment.).
   2: The default screen resolution, in virtual pixels, for both
                                                                       All integer values are written inside a four-dimensional
      the screen width and height. This is usually set to the
                                                                    loop at 158. Their four loops are controlled by the same high
      web designer's screen resolution, unless overwritten by
                                                                    watermark settings as used for the Boolean records, and they
      the user at FIG. 5.                                           describe the same logical entities.
   3: Whether the application is a web site.                     40    Multimedia objects are written inside a two-dimensional
   4: Virtual web page size settings. A calculation is per-         loop at 159. They include URL, color, and font objects, and
      formed by the build engine method, in order to calcu-         can include other types of objects. A URL object is the
      late what the maximum web page length is, after               encoded form of a URL Address, used by a browser or a
      reformatting all paragraphs on all internal web pages,        JAVA method to access files and web addresses. All multi-
      based on the default screen resolution.                    45 media objects must be serialized before they can be written.
   5: Web page and styles high watermarks.                          This means that the objects are converted into a common
   6: The Websitename.                                              external definition format that can be understood by the
   The header records are written at step 153.                      appropriate deserialization technique when they are read
   During the build process, as new web pages or new                back in and cast into their original object structure. The
objects are created by the user, or as text is added to or so outside loop contains web page related objects, and the inner
deleted from a paragraph, or as new styles are created or           loop contains image, text button, paragraph, etc. related
deleted, appropriate high watermarks are set, in order to           URL, color, and font objects. The outer loop is defined by
show the current number of each of these entities. Thus, at         the web page high watermark and the inner loops by the high
154, the values for the number of active web pages and the          watermarks for the actual number of text button, image,
number of text button, image, paragraph or other styles are ss paragraph or other objects on a web page.
written as high watermarks in the header. The high water-              String records are written inside a four-dimensional loop
marks for the number of text button, image, paragraph or            at 160. The outer loop may be empty. The second loop can
other objects that exist for each web page, the number of           include the string values for text button objects, audio and
lines for each paragraph object, and the number of line             video filenames, and audio and video channel names. The
segments for each paragraph line are written within the body 60 third loop contains values for paragraph line related data,
of the external database as described at 156, and used as           and the innermost loop contains the values for paragraph
settings for each of the loops in the four-dimensional data         line segment definitions. The string records are controlled by
structure. Because no structural limits are set on the number       the same high watermarks as those used for Boolean and
of web pages, objects per web page, styles, or paragraph            integer records. String records are stored utilizing an appro-
size, these high watermarks greatly reduce the external 65 priate field delimiter technology. In one implementation, a
database file size, and the time it takes for the run time          UTF encoding technology that is supported by JAVA is
engine to process the data stored in its database.                  utilized.




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                             43                                                                 44
   Single and double floating-point, and long integer records       one implementation, the code is generated by performing the
are written inside a two-dimensional loop at 161. The outer         following functions:
loop may be empty. The inner loop contains mathematical                1: Determine the current browser type.
values required for certain animations and image processing            2: Load the SRS from either a JAR or CAB File, based on
algorithms. The single and double floating-point, and long 5               browser type.
integer records are controlled by the same high watermarks             3: Enter a timing loop, interrogating when the SRS is
as those used for Boolean and integer records.                             loaded.
   FIG. 25 describes the techniques used to create a custom-
                                                                       4: When the SRS returns an "available" status, interrogate
ized and optimized run time engine by the build engine (31
                                                                           the SRS, which will return the current screen and
of FIG. 4). A versionizing program analyzes the feature 10
                                                                           window's actual height and width.
flags, and only those variable definitions, defined in the
"Main" object class, relating to the object classes and                5: Convert the virtual screen resolution settings into
methods that will be executed at run time, are extracted at                appropriate absolute screen width and height values.
162. All references to object classes that will be called at run       Strings defining additional JavaScript code are generated
time are extracted, creating the source code for the run 15 at 173 that perform the following steps at the time the HSF
engine "Main" object class that is ready for compilation at         is initialized by the browser:
163.                                                                   1: Generate HTML compliant strings that set the run time
   All external image, video and audio files are resolved at               engine's applet size to the appropriate values.
164. The external references can be copied to designated               2: Generate an HTML complaint string that contains a
directories at 164, either on the user's local disk or file 20             "param" definition for linking the run time engine to
server. The file Pathnames can be changed to reflect these                 the External Database created at FIG 24.
new locations. During the installation of the build tools, the         3: Generate an HTML complaint string, dependent upon
necessary class libraries from Sun, Microsoft and Netscape                 the type of browser, which causes the current browser
are either installed on the local system (See FIG. 5) or made              to load either the JAR or the CAB File(s).
available on the server where the build tools can be option- 25        4: Generate JavaScript Code compliant strings that create
ally located. The necessary environmental variables are set                and dynamically write the applet size defining HTML
to permit normal access to the required class libraries.                   strings utilizing the JavaScript "document.write" func-
   The customized run engine and a library of the referenced               tion. This dynamically created code causes the browser
run time classes are compiled and converted into byte code                 to execute the run time engine, in the correctly sized
at 165. Finally, the run time engine for the web site is created 30        window, from the correct JAR or CAB file, and linked
at 166. The required set of class objects required at run time             to the external database.
is flagged for inclusion into the CAB/JAR file (See FIG. 27).          At 174, writing out the above-generated HTML and
   FIG. 26 shows the techniques used to create the HTML             JavaScript compliant strings creates the HSF. The necessary
Shell File (HSF) (32 of FIG. 4). The first step of the process      security policy permissions are asserted, and a "Website-
at 167 is to determine whether the dynamic web page and 35 name" .html file is created.
object resizing is desired by testing the application setting,         FIG. 27 describes the processes for creating the CAB and
set by the user at FIG. 21a, or possibly reset at FIG. 24. If       JAR Files (33a of FIG. 4). The image objects, if any, which
the application was a web page, and thus requiring dynamic          were defined on the first internal web page are analyzed at
web page and object resizing, virtual screen resolution             175. If they are set to draw immediately upon the loading of
settings, calculated at FIG. 24 at 153, are placed in an 40 the first web page, then they are flagged for compression and
appropriate HTML compliant string at 168. If the applica-           inclusion in the CAB and JAR Files. The feature flags are
tion is a banner or other customized application, the absolute      analyzed at 176 to determine which JAVA classes have been
values for the run time object (applet size) height and width       compiled (See FIG. 25). These class files are flagged for
are placed in an appropriate HTML compliant string as               compression and inclusion in the library CAB and JAR
absolute width and height values at 169.                         45 Files. Strings that are BAT compliant definitions are created
   An analysis is made for the background definition for the        at 177 that will, when executed in DOS, create compressed
first internal web page at 170. If a background pattern is          CAB and JAR Files. These CAB and JAR Files contain the
defined, an appropriate HTML compliant string for setting           compressed versions of all necessary JAVA class files, image
the HTML "background" to the same background image is               files, the "Websitename".class, customized run time engine
generated. If the first web page definition is a color instead, 50 file, and the "Websitename".dta database file. In one imple-
then the RGB values from those colors are converted to              mentation of the invention, two BAT files are created. The
hexadecimal and an appropriate HTML compliant String is             first, when executed, will create a CAB/JAR file with the
generated setting the "bgcolor" to the required hexadecimal         "Websitename" .dta database file and the customized "main"
value. This process synchronizes the web page background            run time engine, excluding all the image and button object
with the background that will be drawn by the browser when 55 animation, transformation, and image processing code. The
it first interprets the HSF.                                        second BAT file, when executed, will create a CAB/JAR file
   Thereafter, a JAVA method generates HTML and JavaS-              with all the library of all the referenced image and button
cript compliant strings, that when executed by a browser,           object animation, transformation, and image processing
generate additional sets of HTML and JavaScript compliant           code.
strings that are again executed by the browser. More 60                The necessary security policy permissions for file creation
specifically, if the application required dynamic web page          are then asserted, and "Websitename" .bat and "Website-
and object resizing (See 167) then JavaScript and HTML              namelib" .bat files are written at 178. The "Websitename".bat
compliant strings are generated at 171 so that, when inter-         and "Websitename".bat files are then executed under DOS,
preted by the browser at the time the HTML Shell File is            creating compressed "Websitename".cab and "Website-
initialized, the screen resolution sensing JAVA applet (SRS) 65 namelib".cab files and compressed "Websitename".jar and
will be executed. JavaScript code is generated at 172 in            "Websitenamelib".jar files at 179. The HTML Shell File and
order to enable JavaScript to SRS applet communication. In          the JAR and CAB files are then, either as an automatic




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process, or manually, uploaded to the user's web site. This       button, image or other styles are read and stored for subse-
completes the run generation processes.                           quent initialization and processing of all paragraph, text
Run Time Process                                                  button, image or other objects. The data representing the
   The run time process is shown in FIG. 28 through FIG. 36.      values for the first web page and all its objects is read at 189.
   FIG. 28 shows the web page size generation technology 5 The Boolean, integer, string and floating point fields for the
utilized by the run time engine. A web surfer points a            first web page are initialized. The serialized multimedia
browser at the HTML shell file (HSF) at 180. The browser          objects for the first web page are read and cast into their final
begins to interpret the HTML and JavaScript code in the           form. (See FIG. 24)
HSF that was created (See FIG. 26). The browser draws                If external files, such as image, audio and video files, must
either the background color or background image pattern, as
                                                               10 be read as part of the first web page's generation, exception
defined by the HTML complaint code (See FIG. 26) at 170.
The browser then executes the HSF's JavaScript initializa-        handling routines are executed at 190, as necessary, in the
tion code, which "sniffs" the current browser at 181 to           event of any processing errors. In one implementation, error
determine its type, and then generates the appropriate            recovery at this stage places the highest priority on a
HTML code for that particular browser to interpret. This          graceful operation cancellation, rather than a web page
code defines whether the executable files and database will 15 crash. In the worst case, a particular image, sound or video
be extracted from inside a compressed CAB file or a               file may not be available to the web surfer. All other aspects
compressed JAR file and its location.                             of the web page will likely be available even in this error
   Based on the user application (defined at FIG. 21a, or         scenano.
possibly reset at FIG. 24), the HSF at 182 will then execute          Process step 191 is executed simultaneously with the
an appropriate JavaScript function (as created in FIG. 26 at 20 generation of all the other web pages at 192 by means of
167). If the application required dynamic resizing of the web     multiprogramming utilizing thread technology. Thus the first
page's dimensions, JavaScript code is called which gener-         web page will be drawn and active for user viewing and user
ates HTML code using the JavaScript "document.write"              interaction long before the data for all the other web pages
function, which causes the SRS applet to be immediately           have been read, processed, and initialized. The data repre-
executed by the browser at 183. The JavaScript code then 25 senting the values for the subsequent web pages and all their
goes into a timer loop, checking on when the SRS applet is        objects are read at 192. The Boolean, integer, string and
alive before initiating any communication. After detecting        floating point fields for these web pages are initialized. The
that the SRS has been initialized, a JavaScript function calls    serialized multimedia objects for these web pages are read
the appropriate SRS applet methods at 185, which return the       and cast into their final form. (See FIG. 24)
width and height, in pixels, of the current browser window. 30        FIG. 30 shows the scaling techniques employed by the run
JavaScript Code is then called which converts the screen          time engine for web page generation (36 of FIG. 4). The first
resolution independent window width and height values into        step in the scaling process is to calculate the coordinates that
absolute pixel values. A JavaScript function is then called       define the origin for the placement of each object for a given
which use the JavaScript "document.write" function to gen-        web page. (This is usually the upper left corner of the object,
erate HTML code that define the run time engine 35 defined in actual screen pixels.) A test is made at 193 to
specifications, etc. (see FIG. 26) and cause the browser to       determine if the centering attribute is set for the object. If
immediately execute the run time engine. If the application       not, the left and top coordinates are converted from the
had not required dynamic resizing of the web page's               virtual screen values to the local screen values, based on the
dimensions, then a JavaScript function is called which            local screen window resolution at 194. In one
generates HTML code using the JavaScript "document- 40 implementation, multiplying the virtual coordinate by the
.write" function that defines the fixed dimensions for the        local screen window resolution and dividing by the virtual
web page size and cause the browser to immediately execute        screen resolution determine the conversion.
the run time engine at 184.                                          If the centering attribute is on, then a calculation for the
   FIG. 29 shows the techniques employed by the run time          object's width is performed. See processes 197, 198, and
engine to read the external database and to generate the 45 199 below for a description of this calculation. Based on this
necessary web page objects (35 of FIG. 4). The run time           calculated width, and based on the local screen window
engine reads a "PARAM" value at 186, from HTML Code               resolution, the left coordinate is calculated at 195. One
that was generated above (see FIG. 26), which points to the       algorithm that can be used is to subtract the screen width, as
"Websitename" .dta external database that is compressed           calculated in 197-199 below, from the local screen window
into the JAR or CAB File (that was loaded and accessed in 50 resolution, and divide that result by 2. The top coordinate is
FIG. 28). The run time engine then initiates the read opera-      calculated the same as in process 194 above.
tion. In one implementation, the read technique is always             Based on the object type, determined at 196, a different
non-privileged. If permitted by the current browser as a          scaling technology is employed. If the object is a text button
non-privileged operation, the "Websitename".dta file will be      object at 197, the text button object itself, including its
extracted and read from the CAB/JAR file residing in 55 background, is not scaled. The virtual width and the local
temporary local storage. If not, the run time engine will read    screen width remain the same. However, if a 3D Frame
the "Websitename". dta file directly from the server. The         effect is defined, it is scaled based on the following algo-
header record is read at 187. Any objects, such as fonts and      rithm: if the text string's orientation is Left to Right, the
colors, are cast into their original form. The high watermark     inner width of the 3D Frame, and its placement relative to
values, as they are encountered in the header and in the body 60 the text string, is calculated as the length of the text string,
of the database, are immediately used for setting the limits      plus 1/s of an "n" space on each side, plus an additional offset
for the subsequent multilevel read loops for reading in the       appended to the right of the inner width to compensate for
style record and the web page(s) and object(s) definitions.       the italic font style, if defined for the font of that text string.
The virtual screen resolution values are read for the subse-      The italic offset can be defined as the font size for the text
quent dynamic resizing of the web page objects.                65 string, divided by 10, plus 1. The inner height of the 3D
   The style record is read based on its high watermarks, and     Frame can be defined as the font height plus 2 pixels. The
processed at 188. The definitions for all paragraph, text         font height equals the font's leading plus its ascent plus its




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descent specifications. The inner height origin can equal the         rotated, then the virtual width and height of the image would
text string origin. The style of the 3D effect (i.e., either a 3D     differ from that of that of the original image. If a 3D frame
raised look or a 3D depressed look), plus the inner width and         is defined for the image, it can be scaled based on the
height, is sent to a 3D frame build method for the construc-          following algorithm:
tion of the 3D frame. The width of the 3D frame in pixels can 5          The inner width and the inner height of the 3D frame will
be calculated as the inner width divided by 10 plus 3.                coincide exactly with the outer edges of the image, after the
   If the text string's orientation is vertical, the inner width      image had been scaled. Adding the scaled image height to
of the 3D Frame is an "m" space. The inner height of the 3D           the scaled image width and dividing the result by 40 and
Frame can be calculated as the font height times the number           adding 3 can calculate the width in pixels of the 3D frame.
                                                                         If an animation is assigned to the image, then the anima-
of characters in the text string. Both the left and top 10
                                                                      tion's initialization values for the image's width and height
placement of the 3D frame can be set to the left and top
                                                                      can be used to calculate and draw the initial 3D frame. The
origin of the text string. The width of the 3D Frame can then         coordinates and sizes for the backgrounds for text button,
be calculated as the inner height divided by 10, plus 3.              image and paragraph objects can be calculated using the
   If an animation is assigned to the text string, the font size      same algorithms as was employed for the calculation and
used for the initial calculation of the 3D frame is the same 15 placement of the inner width and inner height for the 3d
as that used to define the animation's initialization value. If       frame for each object.
the object is a paragraph at 198, and the scaling attribute is           FIG. 31 through FIG. 35 shows the multilevel web page
on, the maximum width for the paragraph can be defined by             and object thread technology employed by the run time
the attached paragraph style ( or paragraph override) as a            engine. The description includes all the animation
percentage of the screen width. This screen width percentage 20 technologies, transformation technologies, time line tech-
can be converted into an actual width in pixels, based on the         nologies and drawing technologies that support this multi-
local screen's window resolution. If the current screen               level architecture.
resolution is the same as that used by the web designer, then            FIG. 31 describes the initial processes for the invention's
the paragraph line end values Gust read from the external             multilevel web page and object thread technology employed
database) are used without adjustment, bypassing the entire 25 by the run time engine (37 of FIG. 4). Upon the completion
paragraph reformat process. If the current screen resolution          of the processing of all the data definitions for the first
is different than that of the virtual screen resolution, then a       internal web page (FIG. 30), the main web page thread is
very compact method of reformat is called (relative to the            created and executed. This causes the run method for the
build engine reformat methods at FIG. 6 and at FIG. 18), and          main run time engine class to be executed simultaneously
the text for the paragraph is reformatted based on this width. 30 with the reading, processing, and scaling of the data for the
   The run time engine's reformat technology begins by                subsequent web pages (See FIG. 29). In addition, the reading
creating one paragraph line for the entire text string assigned       of any image files defined for the first web page is also
to the paragraph text area. All the style overrides are               performed simultaneously, under the control of an image
renumbered sequentially with the style records or the non-            observer (See FIG. 12). The main run method enters a web
marked text strings ignored. A simplified "Overflow" refor- 35 page counter loop at 200, the loop being defined from the
mat method can be called, which chops up the single                   first internal web page to the high watermark that was set to
paragraph line first into paragraph line segments, where each         the number of existing internal web pages for the web site.
word is defined as a line segment. Because of the word                   A check is made at 201 to see if the current web page
oriented style override architecture, the style overrides have        exists. If the web page does not exist, and the current web
a one-for-one correspondence with the line segments. Each 40 page number is less than that of the high watermark, then the
paragraph line break can be calculated by relying on the              web page counter is incremented by one and the web page
simplified word oriented style override technology                    counter loop is reentered. If the current web page number
described above. The paragraph line can be built inside a             equals the high watermark at 202, then the web page counter
tight word-by-word loop, with a simple logic check for a              is reinitialized to the first web page, so that the web page
style override or hard line break. The paragraph width is then 45 loop may repeat itself, from the first internal web page,
derived as the width of the longest line of the reformatted           depending upon the delay setting for the last web page.
paragraph, while the paragraph height is defined as the font             A test is then made on all objects defined for this web page
height times the number of lines. If a 3D frame was defined           at 203, utilizing a loop whose range is defined by the number
for the paragraph, it can be scaled based on the following            of objects per web page high watermarks. More specifically,
algorithm:                                                         50 within this universe of possible objects, if the object exists,
   The inner width is defined as the same as that of a text           and it is defined by a time line in which there is a delayed
string, but the width of the text string for the longest line is      entrance, then a boolean flag is set for those objects that
used. The same "n" space and italic offset calculations are           causes the draw system to suppress drawing these objects
used. The inner height is calculated as the font height times         during the web page transition as defined below.
the number of lines plus 2 pixels.                                 55    A test is then made to determine if the web page has a
   If the object is a paragraph, and the scaling attribute is off,    transition animation defined at 204. If not, the draw system
then the paragraph is treated the same as a text button object,       is called for the first time. The draw system for a given web
with the only exceptions that there is no vertical orientation,       page utilizes a loop whose range is defined by the number of
and the height and width of the 3D frame, if defined, is              objects per web page high watermarks. The draw system can
calculated using the same algorithm as was used for the 60 also employ technology so that the draw process generates
scaled paragraph above.                                               a screen image in one or more off-screen buffers, only
   If the object is an image at 199, and the scaling attribute        drawing to the screen when the screen image, or the clipping
is on, the image width can be calculated as the virtual width         area for the screen, has been fully generated. This greatly
times the local screen window width divided by the virtual            reduces, if not totally eliminates, any screen flicker, and
screen width. The image height can be calculated as the 65 creates visually smooth animation effects.
virtual height times the local screen widow height divided               The first draw function is to draw the web page back-
by the virtual screen height. If the image had been resized or        ground into the primary off-screen buffer. The web page




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background color is drawn, as defined initially at FIG. 21a,              For all web page trans1t10n animations, the X and Y
or modified for that particular web page at FIG. 20. A test is         animation increment values are calculated by dividing the
then made to determine if the web page has a background                current browser's screen width and height by the user
image pattern, as defined initially at FIG. 21a, or modified           defined animation resolution at 215. In all animation and
for that particular web page at FIG. 20. If it does, and the 5 draw loops, the number of loops can equal the number of
image observer reports that the image is ready to be drawn,            animation frames as set at FIG. 20. The timer delay for all
a background image draw loop is executed, defined by the               animations, in milliseconds, can be calculated by dividing
height and width of the background image, and the screen               the number of frames per second (See FIG. 20) into 1,000.
resolution of the current browser window. In the unlikely                 For a description of "Fade In" Technology see FIG. 33. A
event that the background image pattern is not yet available, 10 "Zoom In" algorithm sets the initial scaled width and height
there is a delay until the image observer reports the comple-          for the current web page image to zero and the prior web
tion of the image processing operation. The tiled background           page image to its full size. In each animation and draw loop
image pattern is also drawn into the primary off-screen                the previous web page's final image state is drawn into a
buffer, completely overdrawing the background color. The               secondary off-screen buffer at 216. (If this is the first
backgrounds for all non-suppressed (See 203) parent web 15 occurrence of the first web page, then the secondary off-
page text button and paragraph objects are then drawn into             screen buffer is set to the background of the first web page.)
the primary off-screen buffer, unless a background transpar-           The upper left hand corner (origin) of the current web page
ency flag has been set (See FIG. 7).                                   can be calculated based on the following formula: browser
   The text strings for non-suppressed parent web page text            screen width minus the scaled width divided by two.
button and paragraph objects are then drawn into the pri- 20              The scaled image of the current web page is then drawn
mary off-screen buffer. These text strings are drawn based on          into the secondary off-screen buffer at the calculated origin,
their font name, style, size, effect(s), and color. If a para-         using the current scaled width and height for the web page
graph line string, the string may have multiple string                 image. This merged image of the prior and scaled version of
segments, each with their own font name, style, etc. If the            the current web page is then drawn to the screen. A timer
text button object has its vertical attribute set to true, then the 25 delay then occurs as defined at 215, after which the X and
draw system executes a loop defined by the number of                   Y animation increment values are added to the scaled width
characters defined in the text button object. The top and left         and height for the current web page image. The animation
origin coordinates were set in the usual way (See FIG. 30),            loop is then repeated to its conclusion at 218.
but the top coordinate is adjusted by the font height for each            The other eleven web page transition animations follow a
iteration of this draw loop. The intelligent 3D Frame, if 30 similar methodology, but have quite different calculations,
defined, is then drawn into the primary off-screen buffer for          which are based on the following variables:
the paragraph and text button objects (See FIG. 30). The                  1: Order of drawing of the prior and current web pages.
primary image objects for the web page are then processed                 2: Initialization values for the X and Y origin coordinates
by the draw system. If the image observer reports that the                   for the current and prior web pages.
image is ready to be drawn, it is drawn into the primary 35               3: The initial values for the scaled width and height for the
off-screen buffer, based on the coordinates and size as                      current and prior web pages.
defined in FIG. 30. If not ready, there is a delay until the              4: Whether X and Y origin coordinates for the current and
image observer reports the completion of the image pro-                      prior web pages increment, decrement, or remain the
cessing operation. The Intelligent 3D frame, if defined, is                  same.
then drawn into the primary off-screen buffer for the image 40            5: Whether the values for the scaled width and height for
objects (See FIG. 30).                                                       the current and prior web pages increment, decrement,
   The draw system is responsive to two other technologies                   or remain the same.
at this stage. The first is user interaction based on the                 For the "Zoom Out" animation, the current page is drawn
location of the mouse cursor and any user initiated mouse              first and always drawn at 100%. The prior web page is
event. This subject will be described in greater detail below 45 initialized also at 100%, but its X and Y origin coordinates
in association with FIG. 36. The second is object animation            are incremented and its scaled width and height values are
for non-delayed web page objects. This subject will be                 decremented, by the appropriate values, for each animation
described in greater detail below in association with FIG. 33.         iteration.
   If the web page transition test at 204 was true, then the run          For the "Zoom to Upper Left", "Zoom to Lower Right",
time engine's main run method executes the web page 50 "Rotate to the Left", "Rotate to the Right", "Rotate Bottom
transition animation technology at 205.                                to Top" and "Rotate Top to Bottom" animations, a common
   FIG. 32 describes the web page transition animation                 data initialization and data increment strategy is imple-
technology. First a lock is placed on this method at 212, as           mented.
a safety precaution to prevent any interference from other
                                                                          1: The X and Y variables for page image one is set to zero.
threads during the animation. A test is then made on whether 55
the transition animation setting (See FIG. 20) for the web                2: The X and Y variables for page image two is set to the
page is random at 213. If so, a random transition number is                  right and bottom edges of the browser window.
generated at 214. The web page thread then begins a                       3: The scaled width and height variables for page image
particular animation loop at 215, depending upon the ran-                    one is set to 100% of the browser window's resolution.
dom number that was generated at 214 or by the transition 60              4: The scaled width and height variables for page image
animation that was set previously (at FIG. 20). In one                       two is set to zero.
implementation, 13 different transition animations plus ran-              5: For each loop iteration, the scaled width and height
dom are supported including. They are: Fade In, Zoom In,                     variables for page image one are decremented by the X
Zoom Out, Zoom to Upper Left, Zoom to Lower Right,                           and Y animation increment values defined at 215.
Rotate to the Left, Rotate to the Right, Rotate Bottom to Top, 65         6: For each loop iteration, the scaled width and height
Rotate Top to Bottom, Slide to the Left, Slide to the Right,                 variables for page image two are incremented by the X
Slide Bottom to Top, and Slide Top to Bottom.                                and Y Animation increment values defined at 215.




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   For the "Zoom to Upper Left" animation, the prior web               4: For each loop iteration, the X and Y variables for page
page is drawn first; with its X and Y origin coordinates                  image two are decremented by the X and Y animation
always set to zero. (upper left corner of the browser window)             increment values defined at 215.
Its scaled width and height values are always set to the               5: The scaled width and height values always remain at
current values for scaled width and height variables for page 5           100% of the browser windows width and height.
image one. The X and Y origin coordinates for the current              For the "Slide to the Left" animation, the prior web page
web page can be calculated by subtracting the current values        is drawn first; with its X and Y origin coordinates always set
of image two's scaled width and height variables from the           to zero. The current web page's X origin coordinate is set to
initial values of the X and Y variables for page image two.         the current value of page image two's X variable. Its Y
The scaled width and height values for the current web page 10 origin coordinate is always set to zero. For the "Slide to the
can be set to the current values for the scaled width and           Right" Animation, the current web page is drawn first, with
height variables for page image two.                                its X and Y origin coordinates always set to zero. The prior
   For the "Zoom to Lower Right" animation, the current             web page's X origin coordinate is set to the current value of
web page is drawn first; with its X and Y origin coordinates        page image one's X variable. Its Y origin coordinate is
always set to zero. Its scaled width and height values are 15 always set to zero.
always set to the current values for scaled width and height           For the "Slide Bottom to Top" animation, the prior web
variables for page image two. The X and Y origin coordi-            page is drawn first; with its X and Y origin coordinates
nates for the prior web page are set to current values of           always set to zero. The current web page's Y origin coor-
image two's scaled width and height variables. The scaled           dinate is set to the current value of page image two's Y
width and height values for the prior web page are set to the 20 variable. Its X origin coordinate is always set to zero.
current values for the scaled width and height variables for           For the "Slide Top to Bottom" animation, the current web
page image one.                                                     page is drawn first; with its X and Y origin coordinates
   For the "Rotate to the Left" animation, the prior web page       always set to zero. The prior web page's Y origin coordinate
is drawn first; with its X and Y origin coordinates always set      is set to the current value of page image one's Yvariable. Its
to zero. Its scaled width value is set to current value of image 25 X origin coordinate is always set to zero.
one's scaled width variable. Its scaled height value is always         After the last animation cycle is completed for any of the
set to the bottom of the browser's window. The X origin             transition animations at 218, the animation process is
coordinate for the current web page can be calculated by            unlocked, and process step 206 shown in FIG. 31 is then
subtracting the current value for image two's scaled width          executed.
variable from the initial value for image two's X origin 30            Returning to FIG. 31, the main web page thread's run
coordinate. The Y origin coordinate for the current web page        method then executes a text button and image object time
is always set to zero. Its scaled width value is set to current     line, transformation and animation loop at 206. This range
value of image two's scaled width variable. Its scaled height       loop is defined from the first object on the given web page
value is always set to the bottom of the browser's window.          to the high watermark for the number of those objects on a
   For the "Rotate Bottom to Top" animation, the prior web 35 web page for this web site. A test is made on each object on
page is drawn first; with its X and Y origin coordinates            whether an animation, transformation and/or time line has
always set to zero. Its scaled width value is set to the width      been assigned at 208.
of the browser window. Its scaled height value is set to               If so an "instance" of the time line class for that particular
current value of image one's scaled height variable. The            object ~ype is created at 209. An "instance" of a class is a
current web page's X origin coordinate is always set to zero. 40 fundamental aspect of object oriented programming (OOP).
The Y origin coordinate is calculated by subtracting the            Each time, the line class is implemented with a "runnable"
current value of image two's scaled height variable from the        interface, so that they can be executed as independent
initial value for image two's Y origin coordinate. Its scaled       threads. Communication of data, between the "instance" of
width value is always set to the right edge of the browser's        a class and the main run engine class can be accomplished
window. Its scaled height value is set to current value of 45 in OOP using several different techniques. In one
image two's scaled height variable.                                 implementation, this construction, passed as an argument, is
   For the "Rotate Top to Bottom" animation, the current            used to permit different objects to address each other's
web page is drawn first; with its X and Y origin coordinates        variables and databases. A thread is then created, utilizing a
always set to zero. Its scaled width value is set to the width      two-dimensional object internal database architecture (web
of the browser window. Its scaled height value is set to 50 page number by internal object number). This methodology
current value of image two's scaled height variable. The            is convenient for permitting all object time lines for a given
prior web page's X origin coordinate is always set to zero.         web page to be managed and synchronized. The object's
The Y origin coordinate is set to the current value of image        thread is then "started".
two's scaled height. Its scaled width value is always set to           The result of this process at 209 is that an independent
the right edge of the browser's window. Its scaled height 55 thread has been created for each appropriate object on a
value is set to current value of image one's scaled height          given web page, all executing simultaneously with each
variable.                                                           other and with the main run time engine web page thread,
   For the "Slide to the Left", "Slide to the Right", "Slide        subject to the definitions of their independent time lines at
Bottom to Top" and "Slide Top to Bottom" transition                 210. See FIG. 33 for a description of the time line technol-
animations a common data initialization and data increment 60 ogy. When the main web page thread has finished the text
strategy is 'implemented. The strategy includes                     and image loop at 207, the draw system is activated; the run
   1: The X and Y variables for page image one is set to zero.      time engine can now respond to user interactions, and the
   2: The X and Y variables for page image two is set to the        main web page thread transitions into a "Join" loop at 211.
      right and bottom edges of the browser window.                 See FIG. 35 for a description of this process.
   3: For each loop iteration, the X and Y variables for page 65       FIG. 33 shows the time line technology used by the run
      image one are incremented by the X and Y animation            time engine. The techniques and algorithms employed to
      increment values defined at 215.                              create this technology permit each web page object to have




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an independent yet synchronized existence with each other,          "Shrink NW", and "Shrink NE". Group Three includes
with the main web page thread, and with child objects that          "Enter N", "Enter NE", "Enter E", "Enter SE", "Enter SW",
each main or parent object may spawn. Furthermore, each             "Enter W", "Enter NW", "Exit N", "Exit NE", "Exit E",
object and each of their child objects are capable of per-          "Exit SE", "Exit S", "Exit SW", "Exit W" and "Exit NW".
forming multiple animations and transformations, either 5              For Group One text button animations, the animation font
serially or simultaneously. Database initialization is first        size is initialized at a very small value, and in one imple-
accomplished for each object thread. This assures that the          mentation is set at 4 Points. The animation point size
object thread's database is set to the correct initial values as    increment can be derived by dividing the resolution (number
required for that particular object, and that the references to     of animation frames) into the font size for that text button
the main web page thread's database are established.             10 object. The run method then executes a secondary animation
   A test is then made to determine if the object has a time        loop, which will terminate when the animation font size
line definition assigned to it at 219. If not, a test is made at    equals the text button object point size. For each secondary
220 on certain two-dimensional object definition variables in       animation loop, the length of the current animated text string
order to determine which of the following four states have          is calculated, a new font object is created for the current
been defined for the object: animation without a transfor- 15 animation point size, and the font metrics for that new font
mation; transformation without animation; animation, with           are created. If the text button object has a vertical
the transformation occurring simultaneously with the ani-           orientation, the animated text button object's width is cal-
mation; and animation and transformations occurring in a            culated to be the width of an "m" space, in the current
serial manner.                                                      animated font. The animated text button object's height is
   If the test shows that the object has an animation defined, 20 calculated to be current animated font height times the
but no transformation, then certain two-dimensional status          number of characters in the text string. If the text had a
variables are set, and an "instance" of the "animation class"       horizontal orientation, the animated text button object's
for that particular object type is created at 229. Each             width is calculated to be the width of the text string in the
"animation class" is also implemented with a "runnable"             current animated font. The animated text button object's
interface. An object animation thread is then created, utiliz- 25 height can be calculated to be the font height of the current
ing the two-dimensional object internal database architec-          animated font. The calculations for X and Y coordinates for
ture (See FIG. 8). This object animation thread is then             the animated text button object depend upon which anima-
"started". Communication between the object animation               tion was defined within the Group One-text button anima-
thread, the parent time line thread, and its parent, and the        tions. The X and Y animation increments can be calculated
main web page thread, are accomplished as discussed in 30 utilizing the height and width, in pixels, of the text button
process 209. The object time line thread then executes a            object scaled to the current browser's window, utilizing the
"Join" method. This puts the object time line thread in a           text button animation resolution, and considering whether
"wait state". When the thread it is waiting for is completed,       the animating text button object is being centered during the
this child thread "joins" the parent object time line thread,       animation ("Zoom Out") or not. These calculations are
and the object time line thread then continues its process. 35 similar to those for the web page transition animations
Other forms of synchronization between two independent              discussed with regard to FIG. 32.
threads could have been implemented as is known in the art.            The draw system is then called. Based on the values of the
   The techniques employed at 229 to implement object               two-dimensional status variables that had been set initially,
animation vary by object type. In one implementation, for           the draw system executes the appropriate animation draw
text button object animations, 26 different animations are 40 routine utilizing, through the data communication tech-
supported including: Zoom In, Zoom Out, Grow NW, Grow               niques already discussed, the current animation font point
NE, Grow SE, Grow SW, Shrink SE, Shrink SW, Shrink                  size, and the current animation X and Y coordinates. If a text
NW, Shrink NE, Enter N, Enter NE, Enter E, Enter SE, Enter          background is to be drawn, the same algorithm as defined in
S, Enter SW, Enter W, Enter NW, Exit N, Exit NE, Exit E,            FIG. 31 is used. If a 3D Frame is assigned, the current
Exit SE, Exit S, Exit SW, Exit W and Exit NW. In one 45 animated string width and height are passed to the appro-
implementation, for image object animations, 29 different           priate 3D frame generation method, and the frame is drawn
animations are supported including: Fade In, Fade out,              with the same algorithm as defined in FIG. 31, but utilizing
Rotate, Zoom In, Zoom Out, Grow NW, Grow NE, Grow                   the current animation X and Y coordinates. The text button
SE, Grow SW, Shrink SE, Shrink SW, Shrink NW, Shrink                object's orientation is also handled by the draw system with
NE, Enter N, Enter NE, Enter E, Enter SE, Enter S, Enter 50 the same algorithms as defined in FIG. 31.
SW, Enter W, Enter NW, Exit N, Exit NE, Exit E, Exit SE,               The text button animation thread then executes a timer
Exit S, Exit SW, Exit W and Exit NW.                                delay, whose value had been defined in FIG. 17. When the
   As discussed above with regard to FIG. 17 each animation         timer reactivates the text button animation thread after the
type has a defined speed, resolution, and number of anima-          appropriate delay, an animation cycle completion test is
tion cycles. These settings are stored in the main web page 55 made to see if the text button object's point size minus the
class, and are passed to the particular animation thread            animation point size is less than the animation point size
through a two-dimensional object internal database archi-           increment. This type of testing methodology permits the
tecture as discussed in process step 209 above during the           invention to utilize integer values, as opposed to floating
animation thread's initialization process. The animation            point values, for the text button animation. This improves
thread then executes, in its run method, a main animation 60 the execution of the animation considerably.
loop that has the number of iterations set to the end number           If the above test is true, the animation point size is set
of animation cycles, as assigned to that particular text button     equal to the object point size and a final call is made to the
object.                                                             draw system for that animation cycle. A test is then made to
   Text button animations are currently implemented in three        see if the current animation cycle equals the total number of
logical groups. Group One includes "Zoom In", "Grow 65 animation cycles as defined in FIG. 17. If not, a new
NW", "Grow NE", "Grow SE", and "Grow SW". Group                     animation cycle is initiated, with the animation values
Two includes "Zoom Out", "Shrink SF", "Shrink SW",                  reinitialized. If this was the last animation cycle the text




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button animation thread calls its "stop" method, which sets          The run method then executes a secondary animation
the required status variables as appropriate, then terminates     loop, which will terminate when the animation width equals
itself This causes the parent text button time line thread to     the image object's width. The algorithms employed by the
be reactivated through the "join" mechanism.                      invention to change the animating object's height, width, X
   If the results of animation cycle completion test are false, 5 coordinate, and Y coordinate are very similar to those
the current animation point size is increased by the anima-       employed for Group One text button animations, and will
tion point size increment. A new font object is created for the   not be repeated here. The techniques to utilize the draw
now current animation point size, and new font metrics for        system for drawing the image animation, the time delay
that new font are created. If the text button object has a        technique, and the post draw logic tests and actions are also
vertical orientation, the animated text button object's width 10 very similar.
is calculated to be the width of an "m" space, in the now            The algorithms for Group Two image animations are very
current animated font. The animated text button object's          similar to those of Group One. The differences are just in
height is calculated to be the now current animated font          what are the initial animation values, and whether the
height times the number of characters in the text string. If the  animation width and height increments and the animation X
text has a horizontal orientation, the animated text button 15 and Y coordinate increments are added or subtracted from
object's width is calculated to be the width of the text string   the then current animation width and height and the then
in the now current animated font. The animated text button        current X and Y coordinates for the animating image object.
object's height is calculated to be the font height of the now       For Group Three image animations, the algorithms are
current animated font. The calculations for the new X and Y       identical to those of Group Three text button animations. For
coordinates for the animated text button object are then 20 Group Four image animations, the "alpha" value of a given
completed, as appropriate, and the draw system is called          image object is utilized in order to implement "Fade In" and
again.                                                            "fade Out" animations. The alpha value can range from O to
   The algorithms for Group Two text button animations are        255, depending upon the image strength desired. The value
very similar to those of Group One. The differences are just      for an alpha animation increment variable can be calculated
in what are the initial animation values, and whether the 25 by dividing the resolution of the animation into 255, after
animation point size increments and the animation X and Y         making the necessary adjustments to keep the data in integer
coordinate increments are added or subtracted from the then       form, without losing resolution due to integer rounding
current animation point size and the then current X and Y         errors. For a "Fade In" animation the value of an alpha
coordinates for the animating text button object.                 animation variable is set to zero. The run method then
   For Group Three text button animations, the distance that 30 executes a secondary animation loop, which will not termi-
the text button animation will move is calculated in pixels       nate until 255 minus the then current value of the alpha
from its initial location to its final location in (he curren~    animation variable is less than the value alpha animation
browser window. The X and Y animation increments are              increment variable. A "Fade In" image filter can be created
calculated by dividing that distance by the resolution of the     for each iteration of the animation loop, using the current
text button animation. All the other algorithms for Group 35 setting of the alpha animation variable. An image producer
Three text button animations are generally a subset of those      can also be created with pointers to the last image bitmap
for Group One, and similar to the web page slide transition       produced for the image object in the last animation loop and
animations defined with reference to FIG. 31.                     to the image filter that has just been created. The image
   Referring again to FIG. 33, image animations at process        producer, under the control of a media tracker then creates
step 229 can currently be grouped into five logical classes. 40 a new image bitmap. The animation thread then "waits" for
As with text button animations, Group One includes "Zoom          the completion of this image-processing event using the
In", "Grow NW", "Grow NE", "Grow SE", and "Grow                   media tracker. Upon completion, the draw system is called
SW". Group Two includes "Zoom Out", "Shrink SE",                  which draws the then current state of the image object. The
"Shrink SW", "Shrink NW", and "Shrink NE". Group Three            image animation thread goes into a timer delay of some
includes "Enter N", "Enter NE", "Enter E", "Enter SE", 45 preset value (in one implementation 500 milliseconds), to
"Enter S", "Enter SW", "Enter W", "Enter NW", "Exit N",           permit a smooth visual animation effect. The value for the
"Exit NE", "Exit E", "Exit SE", "Exit S", "Exit SW", "Exit        alpha animation increment is added to alpha animation
W" and "Exit NW". In addition, image animations have a            variable and the loop is then repeated until the loop condi-
Group Four, which includes "Fade In" and "Fade Out".              tion is met. Then the "stop" method is called, certain status
Group 5 image animations include the "Rotate" Animation. 50 variables are set, and the image animation thread terminates
   For Group One mage animations, the animation width and         itself This causes the parent image time line thread to be
height increments are calculated by dividing the image            reactivated through the "Join" mechanism.
object's width and height by the resolution (number of               The "Fade Out" animation employs very similar
animation frames) as set in FIG. 17. The initial animation        technology, except that:
width and animation height values are set to a very small 55         1: the alpha animation variable is set to zero,
number, currently equal to the animation width and height            2: the value for the alpha animation increment is
increment values just calculated. The calculations for X and            subtracted, and
Y coordinates for the animated image object depends upon             3: the loop termination test is when the value for the alpha
which animation was defined within the Group One text                   animation variable is less than the value for the alpha
button animations. The X and Y animation increments are 60              animation increment.
calculated utilizing the height and width, in pixels, of the         For the Group Five image rotate animation, a different
image object scaled to the current browser's window, uti-         bitmap for the image object is created for each animation
lizing the image animation resolution, and considering            frame through the use of a progression of standard geometri-
whether the animating image object is being centered during       cal transformations on the original image bitmap. A second-
the animation ("Zoom Out") or not. These calculations are 65 ary animation loop is then executed as defined by the
similar to those for the web page Transition Animations           number of animation frames. In each loop iteration, an
discussed above with regard to FIG. 32.                           image object is created from an appropriate image bitmap




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selected from among the set just created, the necessary            integers, as opposed to floating point, thus speeding up the
two-dimensional variables are set to communicate with the          transformation process.
draw system, and the draw system is then called. The image            Two "Fade In" image filters are created for each iteration
animation thread then executes a timer delay method based          of the transformation loop. The first uses an alpha value
on the delay setting as defined above with reference to FIG 5 calculated at the current setting of the alpha transformation
17. When the timer reactivates the image animation thread          variable. The second uses an alpha value calculated at 255
after the appropriate delay, the next iteration of the second-     minus the current setting of the alpha transformation vari-
ary animation loop is repeated until the loop condition is         able. Two image producers are also created with pointers to
met. Then the "stop" method is called, certain status vari-        the last image bitmap produced for each image object state
ables are set, and the image animation thread terminates 10 in the last transformation loop and to the two image filters
itself. This causes the parent image time line thread to be        that had just been created. The two image producers under
reactivated through the "join" mechanism.                          the control of two media trackers then create two new image
   Returning to process step 220 shown in FIG. 33, if the          bitmaps. The transformation thread then "waits" for the
object had a transformation, but not an animation, then            completion of these two image processing events using the
certain two-dimensional status variables are set, and an 15 media trackers. Upon completion, the draw system is called
"instance" of the "transformation class" for that particular       which draws the then current state of the two image object
object type is created at 228. Each "transformation class" is      states, in the correct order, and in the correct location. The
also implemented with a "runnable" interface. An object            image transformation thread goes into a timer delay of some
transformation thread is then created, utilizing the inven-        preset value (500 milliseconds in one implementation), to
tion's two-dimensional object internal database architecture. 20 permit a smooth visual transformation effect. The loop is
This object transformation thread is then "started". The           then repeated until the loop condition is met. Then the "stop"
inter-thread communication technology and the "join" tech-         method is called, certain status variables are set, and the
nology employed for object transformations is the same as          image transformation thread terminates itself. This causes
for object animations.                                             the parent image time line thread to be reactivated through
   If the transformation is being applied to a text button 25 the "join" mechanism.
object at 228, then a timer delay method is executed based            Returning to process step 220 in FIG. 33, if the object was
on the delay setting as described in association with FIG. 18.     defined with an animation and transformation that would
When the timer reactivates the text button transformation          execute in a serial manner, then certain two-dimensional
thread after the appropriate delay, the appropriate two-           status variables are set, and an "instance" of the "transfor-
dimensional status variables are set to inform the draw 30 mation" class for that particular object type is created at 230.
system which state of the current text button object to draw.      An object transformation thread is then created, utilizing the
The draw system is called and,-based on the settings for the       two-dimensional object internal database architecture. This
above mentioned two-dimensional status variables, either           object transformation thread is then "started" and the parent
the "normal", mouse over", mouse down" or "pop-up" states          object time line thread "waits" to be "joined".
of the text button object's background, if any, the text button 35    If a text button object, then a primary loop is executed,
object's string, and the 3D frame, if any, are drawn. If           with the number of iterations set to the number of transfor-
additional transformations are defined (FIG. 18), the above        mations. After the execution and return from a timer delay
process is repeated, based on the timer delay and object           event, if any, an "instance" of the text button animation class
states defined for the subsequent transformations. When the        is created, and then a text button animation thread is created
last transformation is completed, the "stop" method is 40 and "started". The parent text button transformation thread
called, which sets the required status variables as appropri-      then waits to be "joined". This causes the text button
ate. This causes the parent text button time line thread to be     animation thread to be executed, in the manner described at
reactivated through the "join" mechanism.                          229. When the text button animation thread completes its
   If the transformation is being applied to an image object       execution, it calls its "stop" method, which sets the neces-
at 228, then a timer delay method is executed based on the 45 sary status variables and then terminates itself. This causes
delay setting (as defined in FIG. 18). When the timer              the text button animation thread to "join" the parent text
reactivates the image transformation thread after the appro-       button animation thread, causing that thread to resume
priate delay, image transformation technology is executed.         processing. The first text button transformation is then
In one implementation, the image transformation technology         executed, in the manner described at 228. After the execu-
utilizes the " alpha" value of a given image object state in 50 tion and return from another timer delay event, if any,
order to fade in and fade out images. The alpha value can          another "instance" of the text button animation class is
range from 0 to 255, depending upon the image strength             created, and then another text button animation thread is
desired. The value for an alpha transformation increment           created and "started". The parent text button transformation
variable is calculated by dividing the resolution of the           thread again waits to be "joined". This causes the text button
transformation into 255, after making the necessary adjust- 55 animation thread to be executed again with the animation
ments to keep the data in integer form, without losing             being executed, based on the definition set at FIG. 18, on a
resolution due to integer rounding errors. The value of an         different text button object state. The loop is then repeated
alpha transformation variable is set to zero. Depending upon       until the last text button transformation is completed. Then
the settings as defined in FIG. 18, the bitmap for one image       the text button transformation thread calls its "stop" method,
object state is initialized to an alpha value of zero, while 60 certain status variables are set, and the text button transfor-
another is initialized to an alpha value of 255. The appro-        mation thread terminates itself This causes the parent text
priate two-dimensional status variables are set for commu-         button time line thread to be reactivated through the "join"
nication with the draw system.                                     mechanism.
   A transformation loop is then executed, until 255 minus            If an image object, the mechanism of the image transfor-
the then current value of the alpha transformation variable is 65 mation thread spawns image animation threads, before each
less than the value alpha transformation increment variable.       transformation, and is the same as that of a text button
This methodology again keeps all calculations in the form of       object. The actual image transformation process is identical




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to that described at 228. When completed the "stop" method         system for the next animation frame, so that the correct
is called, certain status variables are set, and the image         image states, in the correct size and with the correct
transformation thread terminates itself. This causes the par-      coordinates, are utilized by the draw system. This entire
ent image time line thread to be reactivated through the           animation/transformation process will be repeated by the
"join" mechanism.                                               5 number of image animation cycles. When the super trans-
   Returning to process step 220 in FIG. 33, if the object was     formation process is completed the "stop" method is called,
defined with a simultaneous animation and transformation,          certain status variables are set, and the text button super
then certain two-dimensional status variables are set, and an      transformation thread terminates itself. This causes the par-
"instance" of the "super transformation class" for that par-       ent text button time line thread to be reactivated through the
ticular object type is created at 231. In one implementation, 10 "join" mechanism.
the animation, transformation, and super transformation               Returning to process step 219 in FIG. 33, if the object had
classes are integrated into one structure in order to reduce       a time line, then a test is made at 221 on whether an
code size and increase execution speed. Each "super trans-         appearance delay had been defined in FIG. 19. If so, a timer
formation class" is also implemented with a "runnable"             event is set at 222. When the timer reactivates the object
interface. An object super transformation thread is then 15 time line thread after the appropriate delay, a test is made on
created, utilizing the two-dimensional object internal data-       whether an entry animation/transformation has been defined
base architecture. This object super transformation thread is      for this object time line at 224, as described FIG. 19. If so,
then "started". The inter-thread communication technology          based which animation/transformation process was defined,
and the "join" technology employed for object super trans-         it is created and executed at 228, 229, 230, or 231. In one
formations is the same as for object transformations.           20 implementation, 13 entry animations are supported for both
   If a text button object, a calculation is made in order to      text button and image objects, and an additional "Fade In"
prorate the text button animation process across the defined       entry animation is supported for image objects. The 13
text button transformation process. The calculation is driven      common entry animations supported include Zoom In, Grow
by the number of text button animation frames, and prorates        NW, Grow NE, Grow SE, Grow SW, Enter N, Enter NE,
from that total the number of frames that should be assigned 25 Enter E, Enter SE, Enter S, Enter SW, Enter W and Enter
to each transformation state. This can be done by dividing         NW.
the sum of all the transformation times by each individual            If no entry animation/transformation is defined, or when
transformation time, and multiplying that result by the            the entry animation/transformation has "joined" the object
number of frames, making necessary adjustments to prevent          time line thread, a test is made to determine if any child time
integer rounding error. After these calculations are 30 lines have been defined at 225, as described in FIG. 19, for
completed, the text button animation is executed in a similar      this parent object time line. If so, an "instance" of the "child
manner as was defined at 229. However, when the appro-             time line class" for that particular object type is created at
priate number of animation frames had been drawn, certain          226. Each "child time line class" is also implemented with
two-dimensional status variables are set prior to calling the      a "runnable" interface. An object child time line thread is
draw system for the next animation frame, so that the correct 35 then created, utilizing the two-dimensional object internal
text button object state is drawn, in the correct size and with    database architecture. This object child time line thread is
the correct coordinates, by the draw system. When the super        then "started". The inter-thread communication technology
transformation process is completed the "stop" method is           and the "join" technology employed for object child time
called, certain status variables are set, and the text button      lines is the same as for object time lines. Either a text button
super transformation thread terminates itself. This causes the 40 child time line thread or an image child time line thread, or
parent text button time line thread to be reactivated through      both, can be spawned at this time. Simultaneous with the
the "join" mechanism.                                              execution of any spawned text button child time line threads,
   If an image object, a calculation is made in order to           the parent object thread then executes the defined main
prorate the image animation process across the defined             animation and or transformation. As with non-time line
image transformation process. The calculation is driven by 45 object threads, a test is made on certain two-dimensional
the number of image transformation events that would occur         object definition variables in order to determine which of the
(where each one can be set at approximately 500                    following four states have been defined for the object at 227:
milliseconds) over the entire animation event. A calculation       animation without a transformation; transformation without
is performed in order to calculate how many image trans-           animation; animation, with the transformation occurring
formation events should be assigned to each transformation 50 simultaneously with the animation; and, animation and
state. This is done by dividing the sum of all the transfor-       transformations occurring in a serial manner.
mation times by each individual transformation time, and              Based on the results of this test, an appropriate "instance"
multiplying that result by the total number of transformation      of an appropriate animation, transformation, or super trans-
events, making necessary adjustments to prevent integer            formation class is created, and an appropriate animation,
rounding error. A calculation is then made to allocate the 55 transformation, or super transformation thread is created and
number of animation frames to each image transformation            "started". This results in the execution of process steps 228,
event. After these calculations are completed, the image           229, 230, or 231, as defined above.
animation is executed in a similar manner as was defined at           The parent object time line thread then executes a "join"
229. However, when the appropriate number of animation             method. This again puts the object time line thread in a "wait
frames had been drawn, the image transformation technol- 60 state". When the thread it is waiting for is completed, the
ogy is called to perform the next transformation event. The        child thread "joins" the parent object time line thread, and
alpha transformation increment can be defined by dividing          the object time line thread then continues its process. The
255 by the number of transformation events assigned to that        object time line thread then checks to see if there is a
transformation. The draw system is then called. When the           departure delay defined at 232. If so, it sets a timer event at
number of image transformation events assigned to a given 65 233. When the timer reactivates the object time line thread
image transformation is reached, then certain two-                 after the appropriate delay, a test is made at 234 on whether
dimensional status variables are set prior to calling the draw     an exit animation/transformation has been defined for this




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object time line, as described in FIG. 19. If so, it is created    threads. Because each parent object time line thread waited
at 235, and performed as discussed with reference to pro-          for their child object time line threads to be "joined", as well
cesses 228,229,230, or 231. In one implementation, 13 exit         as any other spawned animation threads, transformation
animations supported for both text button and image objects,       threads, and/or super transformation threads, the effect of
and an additional "Fade Out" exit animation is supported for 5 this "join" loop at 246 is that the web page thread will not
image objects. The 13 common exit animations include:              resume processing until all parent time line threads have
Zoom Out, Shrink NW, Shrink NE, Shrink SE, Shrink SW,              completed and that of all of their spawned threads.
Exit N, Exit NE, Exit E, Exit SE, Exit S, Exit SW, Exit W             Upon resuming its processing after the "join" process at
and Exit NW.                                                       246 has been completed, the main web page thread checks
                                                                   at 247 to see whether the current web page has an automatic
   If no exit animation/transformation is defined, or when 10
                                                                   termination, based on a timer delay, or whether the web page
the exit animation/transformation has "joined" the object
                                                                   will wait for a user interaction before terminating. If the web
time line thread, the parent object time line thread then          page has a time delay based termination setting, then a timer
executes a "join" method if it had spawned any child time          method is called at 249, and the web page goes to "sleep"
lines. This again puts the object time line thread in a "wait      awaiting the completion of the timer event.
state". Finally, when then the child time line threads, if any, 15    When the timer event occurs, the web page thread
"join" the parent object time line, the "stop" method for the      resumes processing by incrementing the web page counter
parent time line is called. Certain status variables are set, and  by one, and the entire web page process, which began at
the parent object time line thread terminates itself This          process step 200 in FIG. 31, is repeated. If the current web
causes the main web page time line that had been in a "join"       page termination setting was to set to wait until user
loop at 211 of FIG. 31, since the invocation of the object 20 interaction, then web page thread is placed in a "pause"
time lines, to be "joined" by this particular object time line     state, and the run time engine waits to respond to any mouse,
thread.                                                            keyboard or other user initiated event.
   FIG. 34 shows the technology employed by the run time              FIG. 36 describes the technology employed by the run
engine for implementing child time lines for text button and       time engine for responding to user interactions. As men-
image objects. Child text button object time lines and child 25 tioned in association with process step 204 of FIG. 31, as
image object time lines are subsets of their parent object         soon as the draw system has been activated, the run time
time lines. First a test is made at 237 on whether an              engine will respond to any user interactions that have been
appearance delay had been defined (See FIG. 19). If so, a          defined (See FIG. 16). This is also true during any object
timer event is set at 238. When the timer reactivates the child    time line events, as with respect to process step 207 of FIG.
object time line thread after the appropriate delay, a test is 30 31. The run time engine currently responds to "mouse over"
                                                                   and "mouse down" events for text button, image, and
made on whether an entry animation has been defined for
this child object time line at 239 (as described FIG. 19). If      paragraph   objects. For form objects, the run time engine will
so, it is created and executed at 240 in a manner identical to     also respond to keyboard events. As the full-featured pro-
that described at process step 229 in FIG. 33. The same 13         gramming languages supported by browsers evolve, the run
entry animations supported for parent object time lines are 35 time engine may be configured to respond to other user
also supported for both child text button and image objects,       interactions, including but not limited to single and double
and the additional "Fade In" entry animation is supported for      clicks   from both the left and right mouse button, voice
child image objects. The "join" mechanism described in             commands, eye focusing technologies, touch screen
FIG. 33 is employed in an identical manner at 240 to               technologies, and push technologies originating from a
synchronize the child time line thread with its entry anima- 40 server.
tion thread.                                                          The run time engine invokes a "dynamic mouse to object
   After being "joined" and reactivated, the child object time     recognition" technology at 251 in order to be responsive to
line performs a test at 241 on whether an exit delay had been      the following elements:
defined (See FIG. 19). If so, a timer event is set at 242. When       1: The location of objects will vary based on the viewer's
the timer reactivates the child object time line thread after 45         screen resolution and browser window size as dis-
the appropriate delay, a test is made on whether an exit                 cussed above with regard to FIG. 27.
animation has been defined for this child object time line at         2: Objects may move or resize themselves based on time
243, as described in association with FIG. 19. If so, it is              lines and animations.
created and executed at 244 in a manner identical to that             3: Objects may have different sizes based on the state they
described above at process step 229 in FIG. 33. The same 13 50           are being displayed in based on time lines and trans-
exit animations supported for parent object time lines are               formations.
also supported for both child text button and image objects,          4: More than one object can occupy the same screen
and the additional "Fade Out" exit animation is supported                location, and which objects occupy that location may
for child image objects. The "join" mechanism described                  change over time based on time lines, animations, and
above in association with FIG. 33 is employed in an iden- 55             transformations.
tical manner at 245 to synchronize the child time line thread         The run time engine maintains, in its internal database, the
with its parent object time line thread. As discussed at           object's current X and Y origin coordinates, and the object's
process step 236 in FIG. 35, the parent object time lines          current width and height, in pixels, based on the current
"wait" until all their child time lines have terminated, before    viewer's screen and browser window size. This can be
they in turn terminate and "join" the main web page time 60 accomplished by first converting all coordinates and sizes to
line at FIG. 35.                                                   the current viewer environment with the scaling technology
   FIG. 35 describes technology employed by the run time           as discussed above with regard to FIG. 27. Every time line,
engine for the web page and object thread loop. As noted in        animation, and transformation thread updates, in real time,
FIG. 31 at process step 211, after all the text button and         the run time engine's internal database positional and size
image time line threads for the current web page had been 65 variables of the objects they define, utilizing the data com-
launched, the main web page thread executed a "join" loop,         munication techniques described above with reference to
waiting for the completion of all the parent object time line      FIG. 33.




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   The run time engine employs mouseEnter, mouseMove,             link text string, and the color for the hot link text string in
mouseDown, mouseDrag, mouseUp, and mouseExit meth-                the hot link "mouse over" or the hot link normal colors. The
ods to constantly monitor the state of the mouse at all times.    text string may be underlined or in a bold font, depending on
The onClick method (to detect a single click) and a special-      the settings.
ized method to detect a double click event are also 5                If the viewer presses a mouse button at 257, the mouse-
employed. The onKeyDown method, with processing the               down method informs the run time engine immediately of
returned scan code, permits the run time engine to process        this event and the current mouse cursor coordinates. If the
all keyboard events. The mouseEnter, mouseMove,                   viewer releases the mouse at 259, the mouse-up method
mouseDown, mouseDrag, mouseUp, and mouseExit meth-                informs the run time engine immediately of this event.
ods return to the run time engine the exact X and Y 10 Either way, if the original "mouse down" event had occurred
coordinates of the mouse cursor at the instant that particular    inside one or more bounding rectangles of any text button or
mouse event occurred. Thus for each supported mouse based         image object(s) at 258, then appropriate two-dimensional
user interaction technique supported by the run time engine,      status variables are set and the draw system is called. The
a two-dimensional loop exists (web page number by object          "mouse up" event will cause the run time engine to reset
number) in which the current bounding rectangle for every 15 those appropriate two-dimensional status variables, and then
object on a given web page is being compared to the current       call the draw system. If the mouse was inside of the
mouse cursor location at all times. The bounding rectangle        bounding rectangles of any image and/or text button object
is simply the current X and Y origin coordinates of an object,    that had a defined text button, image and/or video pop-up
extended by its current width and height. In this way, the run    object (See FIG. 16) with the freeze attribute, the appropri-
time engine is informed if the current mouse cursor location 20 ate two-dimensional status variables are set so that the draw
falls within one or more bounding rectangles.                     system will not erase these pop-up objects when the mouse
Parenthetically, the run time engine also knows when the          moves outside the bounding rectangle(s) of the parent text
current mouse cursor falls outside the bounding rectangle of      button or image objects. The draw system interprets the
a given object.                                                   relevant two-dimensional variables for the existing text
   Based on the type of mouse user interaction at 252, the run 25 button and image object(s) on the current web page in its
time engine employs different techniques and executes dif-        draw loop described above with reference to FIG. 16, and
ferent methods. If the viewer moves the mouse at 253, the         draws the correct backgrounds, text strings, images, and 3D
mouseMove method informs the run time engine immedi-              frames based on the state of each object, as just set by the
ately of this event and the current mouse cursor coordinates.     "mouseDown" computational two-dimensional loop.
   If this user mouse move action caused the mouse to move 30        If the 3D frame had been previously defined (See FIG.16)
into one or more bounding rectangles of any text button or        to have the "live" setting, then the 3D effect is changed from
image object(s) at 254, or out of one or more bounding            a "raised" effect to a "depressed" effect. If the location of
rectangles of any text button or image object(s) at 255, then     any of these text button and image objects or child pop-up
appropriate two-dimensional status variables are set and the      objects is changing over time because of time line,
draw system is called. The draw system interprets the 35 animation, or transformation threads, the draw system, as
relevant two-dimensional variables for the existing text          described in association with FIG. 33 and FIG. 34, is aware
button and image object(s) on the current web page in its         of these dynamics, and redraws the screen as these real time
draw loop as described above with reference to FIG. 16, and       events occur, but does not recognize any new "mouse down"
draws the correct backgrounds, text strings, images, and 3D       or "mouse up" Events. In one implementation, only "mouse
frames based on the state of each object, as just set by the 40 over" events are recognized dynamically by the draw sys-
"mouseMove" computational two-dimensional loop. If the            tem.
mouse has entered into or out of the bounding rectangles of          If any sound or video events were defined (See FIG. 16)
any image and/or text button object that has a defined text       for any text button or image objects, then the run time engine
button, image and/or video pop-up object (See FIG. 16),           plays those sound and/or video files or channels as defined.
then the draw system paints or effectively erases the appro- 45 As multiple objects can be defined that each have associated
priate background, text string, images and/or 3D frame for        sound (and even video) files, and these objects can be
these pop-up objects. If the location of any of these text        overlaid on each other, either completely or partially, very
button and image objects or child pop-up objects is changing      interesting synchronized multiple sound tracks can be
over time because of time line, animation, or transformation      constructed, in which certain designated sounds are played,
threads, the draw system, as described in association with 50 or stopped, based purely on the user pressing a mouse
FIG. 33 and FIG. 34, is aware of these dynamics, and              button.
redraws the screen as these real time events occur. If any           If a mouse down event as described previously in asso-
sound or video events were defined (See FIG. 16) for any          ciation with FIG. 16 was defined for one or more effected
text button or image objects, then the run time engine plays      text button or image objects, only the object that was drawn
those sound and/or video files or channels as defined. As 55 last will have its event processed. If the event was to go to
multiple objects can be defined that each have associated         a different internal web page, then the run time engine sets
sound (and even video) files, and these objects can be            the web page counter described in association with FIG. 31
overlaid on each other, either completely or partially, very      for the "current" page to be one less than that of the desired
interesting synchronized multiple sound tracks can be             web page. The current web page's object time lines, if any,
constructed, in which certain designated sounds are played, 60 complete normally, and the desired web page is then
or stopped, based purely on user mouse movement.                  executed. If the "mouse down" event was to go to an
   If the viewer moves the mouse into or out of the bounding      external web page in a different window, then the run time
rectangle for a paragraph hot link at 256, then appropriate       engine creates a new browser window. In JAVA this can be
four-dimensional status variables (web page by paragraph          accomplished with the "getAppletContext(
number, by paragraph line number by paragraph line seg- 65 ).showDocument(theURL, "_blank")" method, where
ment number) are set or reset and the draw system is called.      "the URL" is the URL address for the external web page. The
The draw system paints the background color behind the hot        run time engine, however, continues executing.




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   If the mouse down event was to go to an external web                    generate virtual machine commands for the display of
page in the same browser window, then the run time engine                  at least a portion of said one or more web pages.
terminates by turning control over to the designated external          2. An apparatus for producing Internet websites on and for
web page. In JAVA this can be accomplished with the                 computers having a browser and a virtual machine capable
"getAppletContext( ).showDocument(theURL)" method, 5 of generating displays, said apparatus comprising:
where "theURL" is the URL address for the external web                 (a) an interface to present a viewable menu of a user
page.                                                                      selectable panel of settings to describe elements on a
   If the viewer presses a mouse button while inside the                   website, said panel of settings being presented through
bounding rectangle for a paragraph hot link at 260, then                   a browser on a computer adapted to accept one or more
appropriate four-dimensional status variables (web page by 10              of said selectable settings in said panel as inputs
paragraph number, by paragraph line number, by paragraph                   therefrom, and where at least one of said user selectable
                                                                           settings in said panel corresponds to commands to said
line segment number) are set. If the hot link setting at FIG.
                                                                           virtual machine;
16 was to go to a different internal web page, then the run
                                                                       (b) a browser to generate a display in accordance with one
time engine sets the web page counter described previously
                                                                           or more user selected settings substantially contempo-
in association with FIG. 31 for the "current" page to be one 15
                                                                           raneously with the selection thereof;
less than that of the desired web page. The current web
                                                                       ( c) a database for storing information representative of
page's object time lines, if any, complete normally, and the
                                                                           said one or more user selected settings; and
desired web page is then executed. If the hot link setting was
                                                                       ( d) a build tool having at least one run time file for
to go to an external web page in a different window, then the
                                                                           generating one or more web pages, said run time file
run time engine creates a new browser window and loads the 20              operating to utilize information stored in said database
external web page. The run time engine, however, continues                 to generate commands to said virtual machine for
executing. If the hot link setting was to go to an external web            generating the display of at least a portion of said one
page in the same browser window, then the run time engine                  or more web pages.
terminates by turning control over to the designated external          3. The apparatus of claim 2, wherein said database is a
web page. This completes the detailed description of the run 25 multi-dimensional array structured database.
time process at 261.                                                   4. The apparatus of claim 3, wherein said representative
   As is obvious from the descriptions of the various features      information is Boolean data, numeric data, string data or
and processes described above, it will be apparent to one           multi-dimensional arrays of various multimedia objects.
skilled in the art that variations in form and detail may be           5. The apparatus of claim 4, wherein said elements
made in the preferred implementation and methods without 30 include multimedia objects selected from the group consist-
varying from the spirit and scope of the invention as defined       ing of a color, a font, an image, an audio clip, a video clip,
in the claims or as interpreted under the doctrine of equiva-       a text area and a URL.
lents. It should also be clear that terms such as "browser",           6. The apparatus of claim 2, wherein said elements are
"mouse", "server", "web", etc., while adequate to describe          selected from the group consisting of a button, an image, a
the current state of interactive systems such as the World 35 paragraph, a frame, a table, a form and a vector object.
Wide Web, may evolve into new and more powerful entities.              7. The apparatus of claim 2, wherein said one or more web
This evolution of terminology and technology is indepen-            pages of a website is two or more web pages of a website,
dent of the preferred implementation and methods of the             wherein said elements include web pages, and wherein said
invention as defined in the claims or as interpreted under the      description of elements is a transition or an animation
doctrine of equivalents. The preferred implementation and 40 between two of said two or more web pages.
methods are thus provided for purposes of explanation and              8. The apparatus of claim 2, wherein said elements
illustration, but not limitation.                                   include one or more objects on a web page, and wherein said
   I claim:                                                         description of elements are a transition or an animation of at
   1. A method to allow users to produce Internet websites on       least one of said elements on a web page.
and for computers having a browser and a virtual machine 45            9. The apparatus of claim 2, wherein said elements
capable of generating displays, said method comprising:             include a button or an images, wherein said selectable
   (a) presenting a viewable menu having a user selectable          settings includes the selection of an element style, and
      panel of settings describing elements on a website, said      wherein said build engine includes means for storing infor-
      panel of settings being presented through a browser on        mation representative of selected style in said database.
      a computer adapted to accept one or more of said 50              10. The apparatus of claim 9, wherein said elements are
      selectable settings in said panel as inputs therefrom,        described by multiple object states.
      and where at least one of said user selectable settings in       11. The apparatus of claim 9, wherein said elements are
      said panel corresponds to commands to said virtual            described by a transformation or a timelines of said selected
      machine;                                                      styles.
   (b) generating a display in accordance with one or more 55          12. The apparatus of claim 9, wherein at least one of said
      user selected settings substantially contemporaneously        elements is a child element, and wherein said element style
      with the selection thereof;                                   is a child element style.
                                                                       13. The apparatus of claim 12, wherein at least one of said
   (c) storing information representative of said one or more       element is described by timelines of said child elements.
      user selected settings in a database;                      60    14. The apparatus of claim 2, wherein said elements
   (d) generating a website at least in part by retrieving said     include buttons or images, wherein said description of
      information representative of said one or more user           elements is a transition or a timeline which is selected
      selected settings stored in said database; and                according to input from a mouse, and wherein said build
   (e) building one or more web pages to generate said              engine includes means for storing information representa-
      website from at least a portion of said database and at 65 tive of said selected description of elements in said database.
      least one run time file, where said at least one run time        15. The apparatus of claim 14, wherein at least one of said
      file utilizes information stored in said database to          description of elements is a timeline or an animation.




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  16. The apparatus of claim 2, wherein said elements                  28. The apparatus of claim 2, wherein at least one of said
include one or more objects on two or more web page,              elements includes individual ones of multiple audio tracks,
wherein at least one of said description of elements is a         and wherein said build engine includes means for associat-
transition or a timeline, and wherein said build engine           ing at least one of said individual audio tracks with a web
includes means to synchronize said description of said one 5 page or an object on a web page and means for synchro-
or more objects on one web page between said two or more          nizing multiple audio tracks.
web pages.                                                           29. The apparatus of claim 2, further including file size
   17. The apparatus of claim 2, wherein one or more of said      reduction means for reducing the total size of said run time
elements is a button or an image, wherein said description of     files to less than approximately SOK and for reducing the
elements is a transition, an animation or a timeline, and         total size of said the run time file of the first web page of said
                                                               10
wherein said build engine includes means to synchronize           website to less than 2SK.
said description of said one or more elements.                       30. The apparatus of claim 29, wherein said total size of
   18. The apparatus of claim 2, wherein at least one of said     said run time files is from approximately 12K to approxi-
elements is an object elements selected from the group            mately SOK.
consisting of a button and an image, and web pages as                31. The apparatus of claim 29, wherein said elements
elements of a website, wherein said description of said        15 include a web page, an object, a paragraph, or combinations
object elements is a transition, an animation or a timeline,      thereof, and wherein said file size reduction means includes
wherein said description of said web pages is a transition or     means for tracking multiple high water marks for said
a timeline, and wherein said build engine includes means to       elements to minimize the size of said at least a portion of
synchronize said description of said object elements and said     said database generated by said build tool.
description of said web pages.                                 20    32. The apparatus of claim 29, wherein said file size
   19. The apparatus of claim 2, wherein said elements            reduction means includes means for identify website specific
include an object and a child object, wherein said description    run time files.
of said elements is a timeline or an animation, and wherein          33. The apparatus of claim 2, wherein said website has a
said build engine activates said description of said elements     first web page, wherein said run time files includes a main
according to input from a mouse.                               25 run time file and main database information corresponding
   20. The apparatus of claim 2, wherein at least one of said     to said first web page, and further includes a run time routine
elements is a child button or a child object, wherein said        for simultaneously obtaining from the Internet and display-
description of said elements is a timeline, a transition or an    ing said first web page and processing said database corre-
animation, and wherein said build engine includes means for       sponding to others of said web pages.
defining said description of said element.                     30    34. The apparatus of claim 33, wherein at least one of said
   21. The apparatus of claim 17, wherein said elements           elements includes one or more images, and wherein the run
further includes at least two child object elements, and said     time files includes an image observer operable to permit said
means to synchronize includes means for synchronizing said        one or more images of said website to be downloaded
description of at least two of said at least two child object     simultaneously with the execution of said run time files.
elements.                                                      35    35. The apparatus of claim 2, wherein the build engine
   22. The apparatus of claim 18, wherein said elements           includes dynamic resizing means operable to redefine a size
further includes a child object element, and said means to        of a web page upon being display.
synchronize includes means for synchronizing said descrip-           36. The apparatus of claim 35, wherein the dynamic
tion of said child elements.                                      resizing apparatus can be invoked in real time during the
   23. The apparatus of claim 19, wherein said description of 40 build process when a new web site file is opened, when the
elements is a transition or a timeline which is selected          web page size of the existing web site is changed, or when
according to input from a mouse, and wherein said build           the web page is zoomed to a different size.
engine includes means for storing information representa-            37. An apparatus for producing Internet websites having
tive of said selected description in said database.               one or more web pages on and for a computer having a
   24. The apparatus of claim 2, wherein said run time files 45 browser and a virtual machine capable of generating a
include one compressed website specific, customized run           display, said apparatus comprising:
time engine program file and one compressed website                  (a) an interface configured for building a website through
specific, customized run time engine library file.                       control of website elements, said interface being oper-
   25. The apparatus of claim 24, wherein said run time files            able through the browser on the computer to:
include a dynamic web page scaling mechanism, whereby 50                 present a viewable menu of a user selectable panel of
each of said one or more generated web pages is scaled for                  settings, accept a plurality of settings from said user
viewing on said display.                                                    selectable panel of settings to form an assembly of
   26. The apparatus of claim 2, wherein said run time files                settings, and
includes one compressed website specific, customized run                 generate the display in accordance with said assembly
time engine program file and one compressed website 55                      of settings contemporaneously with the acceptance
specific, customized run time engine library file, wherein                  thereof, at least one of said user selectable settings of
said run time files include a dynamic web page scaling                      said panel of settings being operable to generate said
mechanism, and wherein the build engine generates an                        display through commands to said virtual machine;
HTML shell file for each set of one or more run time files           (b) an internal database associated with said interface for
which instructs said browser to display a background in said 60          storing information representative of one or more of
browser window identical to that which the run time engine               said assembly of settings for controlling elements of the
will draw, invokes said dynamic web page scaling                         website; and
mechanism, and invokes said run time engine.                         ( c) a build tool to construct one or more web pages of said
   27. The apparatus of claim 2, wherein said run time files             website having:
include a multi-level program animation model that presents 65           an external database containing data corresponding to
multiple user interactions and time sensitive operations                    said information stored in said internal database, and
simultaneously.                                                          one or more run time files,




                                                       Appx241
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                                                  US 6,546,397 Bl
                            69                                                                 70
where said run time files utilize information stored in said           therefrom, and where at least one of said user selectable
external database to generate virtual machine commands for             settings in said panel corresponds to commands to said
the display of at least a portion of said one or more web              virtual machine;
pages.                                                             (b) means for generating a display in accordance with one
   38. The apparatus of claim 37, wherein said user select-
                                                              5        or more user selected settings substantially contempo-
                                                                       raneously with the selection thereof;
able panel of settings arc selected from the group consisting
of construction, manipulation, animation and transition of         (c) means for storing information in a database, said
                                                                       information being representative of a plurality of said
elements.
                                                                       one or more user selected settings; and
   39. An apparatus to allow users to produce Internet 10          ( d) means for building one or more web pages for
websites on and for computers having a browser and a                   generating said website from at least a portion of said
virtual machine capable of generating displays, said appa-             database and at least one run time file, where said at
ratus comprising:                                                      least one run time file utilizes information stored in said
  (a) means for presenting a viewable menu of a user                   database to generate virtual machine commands for the
     selectable panel of settings to describe elements on a 15         display of at least a portion of said one or more web
     website, said panel of settings being presented through           pages.
     a browser on a computer adapted to accept one or more
     of said selectable settings in said panel as inputs                                * * * * *




                                                   Appx242
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                                                                                                  US007594168B2


(12) United States Patent                                                         (10) Patent No.:               US 7,594,168 B2
       Rempell                                                                    (45) Date of Patent:                     Sep. 22, 2009
(54) BROWSER BASED WEBSITE GENERATION                                              6,262,729 B1* 7/2001 Marcos et al. .............. 715,744
        TOOL AND RUN TIME ENGINE                                                   6,313,835 B1 * 1 1/2001 Gever et al. .......         ... 715,846
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(75) Inventor: Steven H. Rempell, Novato, CA (US)                                  6,585,779 B1* 7/2003       Becker ...                ... 715,237
                                                                                   6,675,382 B1* 1/2004       Foster ..............     ... 717/177
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(73) Assignee: Akira Technologies, Inc.                                            7,127,501 B1 * 10/2006     Beir et al. ............. ... 709,219
(*) Notice:          Subject to any disclaimer, the term of this                   7,152.207 B1 * 12/2006     Underwood et al. .. ... 715/2O7
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                     patent is extended or adjusted under 35                 2001/0042083 A1* 11/2001         Saito et al. ............ ... 707/517
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(21) Appl. No.: 10/351,182                                                   2005/0223320 A1* 10/2005         Brintzenhofe et al. ....... 71.5/517
                                                                             2009/0094327 A1* 4/2009          Shuster et al. .............. TO9,203
(22) Filed:          Jan. 24, 2003                                                             OTHER PUBLICATIONS
(65)                    Prior Publication Data                             Tyler, Denise, Microsoft Frontpage 98, Nov. 1997, pp. 276-281,
        US 2004/O 1483O7 A1          Jul. 29, 2004                         321-327,558-561.*
                                                                           “Photo Album AppletInstallation and Customization Instructions” (C)
            Related U.S. Application Data                                  1997 AgenX Corp. http://pages.prodigy.net/larzman applets/
                                                                           phalbum.html.*
(63) Continuation of application No. 09/454.061, filed on                  * cited by examiner
        Dec. 2, 1999, now Pat. No. 6,546,397.
                                                                           Primary Examiner Adam M. Queler
(51) Int. Cl.                                                              (74) Attorney, Agent, or Firm—Steven R. Vosen
        G06F 7700               (2006.01)
(52) U.S. Cl. ........................ 715/234; 715/238; 715/762            (57)                      ABSTRACT
(58) Field of Classification Search ................. 715/234,
                                                    715/238, 762           A method and apparatus for designing and building a web
        See application file for complete search history.                  page. The apparatus includes a browser based build engine
(56)                    References Cited
                                                                           including build tools and a user interface. The build tools are
                                                                           operable to construct a single run time file and an associated
                U.S. PATENT DOCUMENTS                                      database that describe, and when executed, produce the web
                                                                           page. The user interface includes a build frame and a panel.
       5,428,731 A       6/1995 Powers, III                                The build frame is operable to receive user input and present
       5,842,020 A      11/1998 Faustini                                   a WYSIWIG representation of the web page. The panel
       5,870,767 A       2/1999 Kraft, IV                                  includes one or more menus for controlling the form of con
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                                                                 The srowser sased
                                                                Build ToolcREATES AN
                                                                       scoATAsAs


                                                                 HT SHE FEAN
                                                                  CA3ARFEWTH
                                                                CUSOzrun NGIN
                                                                   AND DATABASE




                                                                        UPoActs
                                                                   User's Wesst




                                                                   BROWSER CALLS
                                                                   The ruinean



                                                                  RNENGINE READS
                                                                    OAASASEAN
                                                                 executs the NLR
                                                                        Website




                                                              Appx243
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                                    START




                        NON-BROWSER BASED
                           HTMLISCRIP
                              CODE
                            GENERATOR




                            HTML FES
                     WITH IMBEDDED SCRIPTAND
                           AVA. APPLES
                       (AS SOLATED ENTITES)
                            PER WEB PAGE




                            UPLOAD EACH
                            WEB PAGE TO
                           USER'S WEBSITE




                             EXECUTED BY
                              BROWSER




           Fig. 1                                 PRIOR ART

                                    Appx244
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                                         START




                               THE BROWSER BASED
                              BUILD TOO CREATES AN
                                OBJECT DATABASE



                                HTML. SHELL FILE AND
              8                     CABIJAR FILE WITH
                              CUSTOMZED RUN ENGINE
                                 AND DATA BASE




                                      UPLOAD TO
                                    USERS WEBSITE




                                    BROWSER CALLS
                                    THE RUN ENGINE



                                 RUN ENGINE READS
                                   DATABASE AND
                                EXECUTES HE ENTIRE
                                        WEBSITE




                                    Appx245
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                                NSTALLATION
                                 PROGRAM




                                     SCREEN
                                     SENSING
                                    MECHANISM



         WEB PAGE
                                                        INTERFACE'S
          SCALNG                    INTERFACE
                                                         DATA BASE
           ENGINE




         TIME LINE                                     BUILD ENGINE'S
                                BUILD ENGINE
          ENGINE                                           MULT
                                                       DIMENSIONAL
                                                         ARRAY
                                                       STRUCTURED
                                                         DATA BASE




                               Fig. 3a
        BUILD TOOL COMPONENTS


                                    Appx246
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                                                                       STAR


                                                        12
           15                                                         INTAZE                13                                            14
                                                                      (FIGURE 5)

   ACTIVATEPANE, POPUP WINDOW,                          COMMUNICATION OF USER INPUT                         UPDATE INTERNALDATABASE
     COLORANDALERT MESSAGE                              DATA AND STATUSBETWEEN THE                            AND STFEATURE FLAGS
          INTERFACE TECHNOLOGY                               ENGINE AND THE INTERFACE              -
            (FIGURES 7a, 7b, & 7c)                                    (FIGURE 6)                                        (FIGURE 8)

                                            POLLING TECHNOLOGY. INTERFACE TO THE BUILD ENGINE
                                                                      (FIGURE 9)


                                                                  ANALYZE INPUT:
                                                                 ERROR CHECKING

                                                                     (FIGURE 10)



  AUDIO AND WIDEO                DIRECTWEBPAGE                  BUTTON, IMAGE AND                 IMAGE PROCESSING               FRAMES, TABLES,
    FiLEICHANNEL                 TeXT NTRY AND                   PARAGRAPHSTYLE                                                  FORMS AND DRAW
    PROCESSING                  TEXTPROCESSING                     SETINGS AND                                                      OBJECTS
                                                                   TECHNOLOGY
        (FIGURE 14)                  (FIGURE 11)                      (FIGURE 13)                      (FIGURE 12)                    (FIGURE 15)



   21                                8          23                                   20                            19                              22

                                                                 ANMATION AND/OR
                                                                    INTERACTION
                                                                   TECHNOLOGY?

    24                               25                         26                                           27                             28


        USER INTERACTION                  ANIMATON               TRANSFORMATION                        OBEC                          WEB PAGE
           SETTINGS AND                  SETTINGSAND                 SETTINGS AND                TIMELINESTINGS             TRANSiTIONANIMATIONS,
           TECHNOLOGY                    TECHNOLOGY                  TECHNOLOGY                  AND TECHNOLOGY               TIMELINE SENGS
                                                                                                                               AND TECHNOLOGY

            (FIGURE 16)                   (FIGURE 17)                 (FIGURE 18)                  (FIGURE 19)                       (FIGURE 20)
                                                                                          29C
  29A                                                                                                                                               29b)


                FILE OPERATIONS (FROM FIG. 6)                               DYNAMC WEB PAGE                       VIEW OPERATIONS (FROM FIG. 6)
                                                                            RESIZNG PROCESS
   NEW, APPLY AND CLOSE. OPEN AND WEBSITE ACTIVATE                                                                NorMAL PREVIEW, AND PLAY.
        THE DYNAMICWEBPAGE RESIZINGPROCESS,                                                                   ZOOMNG AT WARIOUS ZOOM LEVELS
  SAVE AND SAVE AS BEGINTHERUNGENERATION AND THE                                   (TO FIG. 5)                ACTIVATE THE DYNAMICWEBPAGE
            RUNTIME PROCESS (SEE FIGS 4AND 23)                                                                          RSIZINGPROCESS.
                       (FIGURE 21a)                                             (FIGURE 22)                                (FIGURE 21b)

   Fig. 3b                      THE BUILD TOOL & BUILD PROCESS




                                                                 Appx247
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                                    370




                                   RUN
                                GENERATION
                                PROCEDURE
                                    374


        WEB PAGE                                             PAGE SIZE
         SCALING                    DATABASE                GENERATION
          ENGINE                                              ENGINE

           377




        RUNTIME USER                RUNTIME                 RUNTIME
         INTERACTION                TIMELINE                DRAWING,
           ENGINE                    ENGINE                ANIMATION,
                                                           AUDIO AND
         RUNTIME ENGINE                                   VIDEO ENGINE




                                     Fig. 4a
       RUN GENERATION AND RUNTIME
              COMPONENTS



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                                          SAVE WEBSITE.
                                       BEGINRUNGENERATION

        30
                EXTERNADATA BASE CREATION: SECURITY AND OMIZATION ECHNOUES

                                            (FIGURE 24)

                           CREATE CUSTOMIZED AND OPTIMIZEDRUNME ENGINE

                                            (FIGURE 25)
                    32
                                    CREATE THE HTMSHELL FLE

                                            (FIGURE 26)                                      360

                                     CREATE THE CABEAR FILES
                                            (FIGURE 27)
              33B
                           UPLOAD THE HTMSHELLFILE ANOTHE JARICABFILES
                                       TO THE USERS WEBSITE.


                               WEBPAGE SIZE GENERATION TECHNOOGY

                                            (FIGURE 28)

                          READ DATABASE AND GENERATE NECESSARY OBJECTS.
                                            (FIGURE 29)

                           WEBPAGE GENERAONWITH SCALING TECHNOLOGY.
                                            (FIGURE 30)                                      365


                         HE MUTELEVE WEBPAGE AND OBJECTHREAD ECHNOLOGY

                                    (FIGURE 31 THROUGH FIGURE35)

                                   RESPOND TO USER INTERACTIONS.

                                            (FIGURE 36)




                                          Fig. 4b
 RUN GENERATION & THE RUNTIME PROCESS



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      1
 39
                                          BUILD TOOLS CREATED.
        INTIALIZATION AND BUD ENGINES ARESIGNED AND TIME STAMPED AND PLACED IN A JAVAWRAPPER.



                                              NTIAL BUILD
                                              TOCFES
                                              ACTIVATED




                                      BROWSERTYPESSENSED TO
                                     DETERMINE RECURED SECURITY
                                           AUTHORIZATIONS.




                     42        THE INTAZATON ENGINES CALLED WHCH
                                   RETURNS THE SCREEN RESOUTION.
                                  HENTIALZATIONMODES CONFERMED.
                              THE NITIALIZATION ENGLNES CALLED TO ADAPT
                                  HE INTERFACE TO THE CURRENSCREEN
                                              RESOLUTION.



                                  THE INITIALIZATION ENGINE ASSERTS, IF
                                   NECESSARY, THE RECURED SECURITY
                              AUTHORIZATION FOR READ/WRITE ONUSERDISK

                     44

                               THE INTALIZATION ENGINE CREATES ABO
                                      ENGINE HTML DEFINITION FLE




                     45             GENERATE BUD ENGINESCREEN
                             THE INTIAL BUILD TOOL FILE URNS CONTROL OVER
                              TO THE BUILD ENGINE PARENHTML FRAME FILE.
                             THE INTERFACEHROUGHEPANEL FLE AND THE
                              BUILD ENGINE THROUGH THE BUILD ENGINE HTML
                                      DEFINITION FILEARELOADED.




                                               TO FIGURE 6




                   Fig. 5                                INITIALIZATION

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                                                                     CECATION OF USER
                                                                      NTA STATUS
                                                                     BEEE THE ENGINEAN
                                                                        THE ERFACE.




   4.                           S                         s

                                                              E
        SELEC                   SELECTC                       CIRECTEXT                  C-Alice     IRECT       CT    SELSCON
    FREAAA                       FR                               ERYA                   PAERESF     MANPAON           FRHE
                                ASCIFT               -              CESS                                               ASCRIPT
         OC                     WNOCW                                                    RSEEN        SHB-SH2,          PANE
         SHB-SH)            ;SH 19, ETC)             tr
                                                                  (SH2-SH5)                 EECE     S38, SH4D         (SH13-18)



                                                                                     w      Fig 22
                    SELECTION             SELECTION
                        THUAL                    A
                   So      RL             JAVASCRIPT
                                      CHILD WINDOW
                                         CBEC
                    SH19-SH22              SH23-7.




                                                                           taCFGS.8. ano)
                                                                                       is
                                                                           N--



                                                                              Fig. 6
          COMMUNICATION OF USER INPUT DATA AND
                STATUS BETWEEN THE ENGINE AND THE
                           INTERFACE.




                                                                           Appx251
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                                                FROM
                                              FIGS. 6 & 9




                                 POPUPWINDOW AND PANELINTERFACE
                                          TECHNOLOGY


   56                                                                                                  59




                                                            HTML FRAME, TABLE AND
   MOUSE AND KEYBOARD   JAVASCRIPTECHNOLOGY                 FORM TECHNOLOGIES, AND
         EVENTS                                             THEIR NTERACTIONS WITH   CASCADINGSTYLE SHETS.
                                                                  JAVASCRIPT.




                                                EXT TO
                                              FIGS. 9 & 0




                                        Fig. 7a

         POPUP WINDOW AND PANEL INTERFACE
              AND COLOR TECHNOLOGY




                                         Appx252
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              SEZ




                                                                       SLEOTN-IVER.|IH\e/OJLNdIE



                                    Appx253
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                                                FROM
                                              FIGS. 6 & 9




                                         TABBED POPUP WINDOW
                                         INTERFACE TECHNOLOGY




                                   283      CLICKONATAB
                                             INSIDE POPUP
                                              WINDOWS
                                               DETECTED




  284                                           USE OF                   USE OF
              USE OF
            DYNAMIC HTML                      JAVASCRIPT               CASCADING
                                                                      STYLE SHEETS




                                                EXT TO
                                               FIGS. 68, 9




                                         Fig. 7c

              IMPLEMENTATION OF
            TABBED POPUP WINDOWS

                                           Appx254
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 63



 62




 61
            WEBPAGE, PARAGRAPH                  TEXT BUTTON, IMAGE OR
             STYLE. TEXT BUTTON                   PARAGRAPH OBJECT
                                                                                      PARAGRAPHLINE
            STYLE, OR IMAGE STYLE                                                        RELATED
                  RELATED
                                                      RELATED

64


                                               CREATE URL, COLOR, FONT,    CREATE URL, COLOR OR FONT OBJECTS, if
      CREATE URL, COLOR, FONT, IMAGE OR         IMAGE, AUDIO CLIP, VIDEO                NECESSARY.
        ThreAD OBJECTS, FNECESSARY.           CLIP, TEXT AREA, OR THREAD      UPDATE 3d PARAGRAPHLINEARRAY
                                                OBJECTS. IF NECESSARY.        ELEMENTS BASED ON CURRENTLINE
     UPDATED ARRAYELEMENSBASED ON              UPDATE2D OBJECTARRAY         UPDATE 4) PARAGRAPHINE SEGMENT
     CURRENT WEBPAGE. PARAGRAPH STYLE,            ELEMENTS BASED ON         ARRAYELEMENTS, BASED ON CURRENT
         TEXT STYLE, OR IMAGE STYLE                 CURREN OBJECT                        SEGMENT.




                                                 SET WEB PAGE, OBJECT,
                                             PARAGRAPHLINE, OR PARAGRAPH
                                               LINE SEGMENT HIGH WATER
                                                  MARKS, FRECUIRE).




                                                 SET FEATURE FLAG, IF
                                                      RECURED




                                                       TOFGS.
                                                       9 AND 10




                                                    Fig. 8
      UPDATE INTERNAL DATA BASE AND SET FEATURE FLAGS




                                                     Appx255
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                       * N.                            FROM
                                                   FIGS. 7 AND 8


                           JAVASCRIPT POLLS THE JAVA BUILD ENGINE EVERY 100 (ORLESS) MILLISECONDS.
               THE WALUES, AS REPORTED IN REALTIME BY THE BUILD ENGINE, FOR THE CURSOR'S HORIZONTA &
  7                                WERTCA POSTON'S ARE POLED AND DISPLAYED.
             AS THE BUILD ENGINE DETECTSA MOUSE OVERAN OBJECT, OR A SINGLE OR DOUBLE CLICK WHEN OVER
                        AVALID OBJECT, IT UPDATESWALUES THAT ARE BEING POLLED BY JAVASCRIPT.
              F HEBUDENGINEETECT ANON-RECOVERABLE ERRORINTS EXCEPTION HANDLING ROUTINES, IT
                          SETA ANERRORFAG AS BEING POLED BY AWASCRIP.




                                                   MOUSEEVENT
                                                    POSTED AND
                                                      POLE




                                             MOUSE OVER OBJECT EVENT               DOUBECLCKMOUSEEVENT
      SNGE CCKMOUSEEVEN
      AWASCRIPTPOS WHCH                    JAVASCRIPT POLS WHCYPE                  JAVASCRIPT DISPLAY'S THE
                                           OF OBJECT AND SHEG-TAND               APPROPRIATEWNOOWBASED ON
  OBJECT NUMBER THIS WALUES                 WDTAND DISPLAYS HOSE                    THE SELECTED OBJECT.
    USED TONTALZEWINOOWS                             WALUES.
   WITH THA CECTS CURRENT
            VALUES.
                                                    (SH28-SH31)                           (SH32-SH33)




                                                      OJECT
                                                      TYPE
      77



             TEXT OBJECT                        TEXT BUTTON OBJEC                         MAGE OBJEC
  HEWALUES FOR THE PARAGRAPH              THE WALUES FORTETEXT BUTTON              THE WALUES FOR THE MAGE
  STYLE, TEXT LOOK, POINT SIZE,         STYLE,TEXT LOOK, POIN. SIZE OBJECT       STYLE, OBJECT SIZE, ANIMATION,
  OBJECT SIZE, COLOR, LOCATION           SIZE, COLOR, ANIMATION, LOCATION         LOCATION AND FRAME STATUS
  AND FRAME STATUS ARE POLEO            AND FRAME STATUSAREPOLLEAN                 ARE POLLED AND DISPLAYE)
           AND DISPLAY.                               SPLAYE)
      POLLING INATED OR HE                 THE WALUE OF THE STRING ARE                HE RESULTS OF DIRECT
       CREATION OF A HOLINK.                POLE) ARE USED FOR POPUP              MANIPULATONAREPOLLED AND
                                              WNDOWNTAZATION.                              DISPLAYED



                                                      TO FIGS.
                                                      7 AND 8




                           Fig. 9                     POLLING METHODS



                                                   Appx256
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                     17 N
                                             FROM
                                         FIGS. 7 AND 8




                                        THE JAVASCRIPT
                                           NTERFACE
                                        ERROR CHECKING




 81
         FILE NAME                                                       VALIDITY
                                             RANGE
           ERROR                           CHECKING                   CHECKING AND
         CHECKENG                                                      CORRECTION




                              WALUES PASSED TO THE BUILD ENGINE




                               BUILD ENGINE EXCEPTION HANDING




                                           TO FIGS. 11,
                                         12, 13, 14 AND 15



                                     Fig. 10
      ANALYZE INPUT: ERROR CHECKING



                                         Appx257
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                 "-N
                                 86           USER SELECTS EXT
                                             BUTTONOR PARAGRAPH
                                             FROM THEPANE CONS
                                                     (SH2)


                                87
                                         JAVASCRIPT CALSBUILD ENGINE
                                          WITH BOARD, OBJECT TYPE, AND
                                            OBJECT NUMBER SETTINGS.
                                                     (SH3)

                                             USER CLICKSMOUSE ON
                                                   WEBPAGE
                                                     (SH4)


                89
                       CURRENTLYSECTED PARAGRAPHITEX STYLESWALUES ARE USED.
                           DYNAMICHIDDEN FRAME IS CREATED ATCURSORLOCATION.
                            INSERTION POENT AND SELECTION RECTANGLE ARE DRAWN.
                                          Text EDITOR IS ACTIVATED.




     90        USER PRESSESARELEVENT                                  USER CLICKS, DOUBLE CLICKS, OR
                    KEYBOARDKEY.                                            DRAGS THE MOUSE.
                        (SH5)                                                  (SH32-SH33)

91               EdTOR PROCESSESKEY                                                                    93
           HIDDEN FRAMERSZEd IF NECESSARY.                        EDITOR PROCESSES THE MOUSEEVENT.
            REFORMAT CALLED, IF NECESSARY.
          FRAME AND PARAGRAPHITEX DATABASE                                SETSNECESSARY FAGS.
                      UPDATED.



                         94
                                     TEXT AND PARAGRAPH SEGMENT STRINGS ARE
                                              UPDATED, IF NECESSARY.
                                        BASED ON FLAGS, THE DRAW SYSTEMIS
                                                     CALLED.


                                                      TO
                                                   DECSON 23



                                                 Fig. 11
      DIRECT WEB PAGE DATA ENTRY AND TEXT PROCESSING




                                                     Appx258
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                1-N
                                       USER SELECTS iMAGE FROM THE CREATEMENU.
                                         JAVASCRIPT CALLS IMAGE CREATE WINDOW.
                                       IMAGENAME AND OTHER USER DEFINed Set TNGS
                                              ARE CAPTURED AND CHECKED.
                                                       (SH34-SH35)


                                             JAVASCRPT CALLSBUILD ENGINE
                                              WITH IMAGE OBJECTSETTINGS.

                                                         (SH36)


                                                 USER CLICKSMOUSE ON
                                                         PAGE
                                                         (SH37)


                                       BUDENGINASSERTS THENECESSARY SECURITY
                                           POLICY FORREADING THE LOCAL DISK.
                                       THE IMAGE IS READ, EXCEPTIONS ARE HANDLED F
                                           NECESSARY AND THE IMAGE ISDRAWN.
                                              THE IMAGE DATABASE UPDATED.
   99                                                                                                             101


           DIRECTWEBPAGE IMAGE INTERACTION.                          JAVASCRIPT PANELIWINDOWS INTERACTION FOR IMAGE
                                                                                       OPERATION.
       The BUILD ENGINE PROCESSES MOUSEVENT.
  APPROPRIATEVALUES PLACED IN POLABLE JAVA ROUTINE.                  INTIAL VALUES ARE SET FROMJAVASCRIPTSDATABASE.
  THEAPPROPRIATE IMAGE PROCESSING ROUTINES CALLED.                            JAVASCRIPTSDATABASE IS UPDATED.
   MOUSECURSOR SHAPES CHANGED BASED ONFUNCTION.                       BUILD ENGINE IS CALLED WITH NECESSARY SETTINGS.
                                                                      APPROPRIATE IMAGE PROCESSING ROUTINES CALLED.
                       (SH39-SH41)                                                      (SH42-SH43)


                                 100                                                                  102
        AWASCRPTPOLLING                           NECESSARY IMAGE FILTER(S) ARE CALLED
    ROUTINE READS VALUES,                     IMAGE OBSERVER SACTIVATED TO REPORT STATUS.
  UPDATES ITS DATA BASE, AND                 (IFANIMATION ORTRANSFORMATION SEE FIGS. 17 8, 18)
      DISPLAYS VALUES, IF                       DRAW SYSTEMISCALED BY MAGE OBSERVOR.
      REQUIRED, INPANEL


                                                                     TO
                                                                  OECISION 23




                 Fig. 12                                  IMAGE PROCESSING




                                                     Appx259
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       20 y                                        FROM
                                                  F.G. 10



                    The NTIAL VALUES FOR THE POPUP WINDOWSARE SET FROMJAVASCRPS
                                                 DATABASE
     103          THE VALUES FOR THE TEXT BUTTON AND IMAGE STYLE'S LOOKFOR NORMAL MOUSE
                                OVER, AND MOUSE DOWN OBJECTS ARE CAPTURED,
                    THE WALUES FOR THE TEXT BUTTON AND IMAGE STYLE'S OBJECT ANIMATIONS,
                               TRANSFORMATIONS, AND TIME LINES ARE CAPTURED.
                 THE WALUES FOR PARAGRAPH STYLES, AND THE LOOKFOR HOT LINKS ARE CAPTURED.
                                                (SH24-SH27).


           104                       JAVASCRIPTSDATA BASE IS UPDATED.
                         JAVASCRIPT CALLSBULD ENGINE AND PASSES REQURED WALUES.
                      BUILD ENGINEUPDATES INTERNALDATA BASE AND SETS FEATURE FLAGS
                                                (SEE FIG. 8).



           105              IMAGE,TEXT BUTTON AND PARAGRAPH OBJECT CREATION.
                      ALL THE SETTINGS FROM THE TEXT, IMAGE AND PARAGRAPH STYLES ARE
                     APPLIED TO TEXT, IMAGE AND PARAGRAPH OBJECTS AS THEY ARE CREATED.




           106                        EDITING STYLES AND ENHERITANCE
                      WHEN A STYLE ARE CHANGED, ALL OBJECTS ON ALL INTERNAL WEB PAGES
                            WhCHUTILIZED THAPARTICULAR STYLE MAYBE CHANGED.
                     WHETHER THE STYLE CHANGE WILAFFECAN OBJECTHATUTIZED HAT
                             STYLES DEPENDENT ON THE RULES OF INHERTANCE.



                                                  TO FIGS.
                                                 11 AND 2




                                            Fig. 13
   BUTTON, IMAGE AND PARAGRAPH STYLE SETTINGS
                                   AND TECHNOLOGY




                                               Appx260
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                           107
                                       USER SELECTS WIDEO OR AUDIO SPECIAL EFFECT
                                             FROMA USERINTERACTION PANEL
                                  \                   (SEE FIG 16)

                         108          NTIAL VALUES SET FROMAWASCRIPTS DATABASE.
                                      FILE ORCHANNELNAMES CAPTURED AND CHECKED.
                                           JAVASCRIPTS DATABASE IS UPDATED.
                                    BUILD ENGINE IS CALLED WITH NECESSARY SETTINGS.


                                             109




  110               VIDEO OR AUDO FILE                      111                VIDEO OR AUDIO CHANNEL
          BUILDENGINE ASSRTSNCSSARY SECURITY
           POLICY FOR READING THE LOCAL DISK AND
                 EXCEPTIONS ARE HANDLED.
            VIDEOAUDIO FILESLINKED AND PLAYED.                           NECESSARYPOINTERS ARE UPDATED AND
                    DATA BASE IS UPDAED.                             METHODSASSIGNED FOREFFICENT TRANSMISSION




                                                           TO
                                                       DECSON 23




                                                     Fig. 14

  VIDEO AND AUDIO FILEICHANNEL PROCESSING




                                                    Appx261
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                     *-
                          112
                                    BUILD PROCESS INTERFACE
                                         TECHNOLOGfES
                                RAW AND BUILD POPUPWINDOW



                          13
                                    BUILD ENGINE TECHNOLOGIES
                                CALL BUILD ENGINE METHOD TO
                                 BUILD THE FRAME, TABLE.ETC.



                          114

                                RUNGENERAON TECHNOLOGLES




                          115

                                     RUNENGINE TECHNOLOGIES




                                               TO
                                           DECSION 23




                                         Fig. 15

 FRAMES, TABLES, FORMS AND DRAW OBJECTS




                                      Appx262
         Case: 23-2265              Document: 14                 Page: 342          Filed: 11/13/2023




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                                                       FROM
                                                   DECSON23




   117



                                                   PARAGRAPH
                     ACTIVATE BY DOUBECLCK ORMOUSEDRAG. APPROPRIATEWALUES ARESENA
                                         PO-ENABEDAWA ROUTINE.
  TEYEON             THE JAVASCRIPTPOLLER READS THE VALUES, AND DRAWS APPROPRIATE WINDOW.           IMAGE OBJECT
                             HONKS CAPTURE FORNTERNA OR EXTERNAL WEBPAGE.
                                   The BULDENGINUPDATESS INTERNALDATABASE
                                                   (SH32-SH33)



                                         120


 121                                                                                                          122



                  MOUSE OVERSATE                                               MOUSE DOWN STATE
      INTIAL VALUES FOR THE POPUPWINDOWAR SET.
 CONTENAND LOOKFORMOUSE OVER OBJECTISCAPURED.                       NTIA VALUES FORTH POPUP WINDOWARE SET.
 TEXT BUTTONANO IMAGE POPUP SETINGS ARE CAPTURED F            CONEN AND LOOKFORMOUSE DOWN OBJECTS CAPTURED,
                        OEFINE).                               freeze STATES AND MOUSE CLICKEVENT DEFENTIONS, AND
  HE SOUND AND WIDEO SETTENGS ARE CAPTURED FOEFINED.              SOUND/VIDEO SETTINGS ARE CAPTURED, IF DEFINED.
                     (SH44-SH45)                                                  (SH46-SH47)



                           123           JAVASCRIPTS DATABASE IS UPDATE).
                                     JAVASCRIPT CALSBUILD ENGINE AND PASSES
                                                 RECURED WALUES.
                                    BUILD ENGINEUPDATES INTERNADATABASEAND
                                         SETS FEATURE FLAGS (SEE FIG. 8).




                                               Fig. 16
           USER INTERACTION SETTINGS AND TECHNOLOGY




                                                  Appx263
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                    25 N                                 FROM
                                                      OECISION 23




   125                                                                                                           126


                  TEXT BUTTON OBJECT                                                  IMAGE OBJECT
     THE INA WAUES OF THE POPUPWINDOWARE SET.                         THENTIAL VALUES OF THE POPUP WINDOWARE SET.
  The ANIMATION TYPE, SPEED, RESOLUTION AND NUMBER OF              THE ANIMATION TYPE, SPEED, RESOLUTION AND NUMBER OF
                 CYCLES ARE CAPTURED.                                             CYCLES ARE CAPTURED.
                         (SH48)                                                          (SH49)



                            127           JAVASCRIPTSDATABASE IS UPDATED.
                                    JAVASCRIPT CALS THE BUILD ENGINE AND PASSES
                                                THE RECUREDVALUES.
                                        THEBUILD ENGINEUPDATES ITS INTERNAL
                                    DATABASE AND SETS FEATURE FLAGS (SEE FIG. 8).
                                       THE LINKAGETO THEAPPROPRIATEMETHODSS
                                                          SET.


                            128
                                       ATHREAD OBJECTS CREATED AND EXECUTED.
                                       VALUES ARE SET TO INTEGRATE THE ANIMATION
                                             NOTHE TIMELINE TECHNOLOGY.
                                                    (SEE FIGURE 19)

                            129
                                     THE THREAD OBJECT, WHENINVOKED WILL CALL
                                    THE APPROPRIATE IMAGE FILTER(S) AND ANIMATION
                                                        METHODS.



                                                         TO
                                                      PROCESS 29




                                                   Fig. 17
         ANIMATION SETTINGS AND TECHNOLOGY




                                                    Appx264
    Case: 23-2265         Document: 14            Page: 344         Filed: 11/13/2023




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          26 y
                                         FROM
                                       DECSION 23




                                      DATA CAPTRE

    130                NITIAL VALUES FOR THE POPUPWINDOWARE SET.
          WHECHTRANSFORMATIONS BETWEEN WHICH OBJECTS (NORMAL MOUSE OVER,
                                MOUSE DOWN) ARE CAPTURED.
          THE TIME DELAY, PER TRANSFORM, AND RELATIONSHIP WITH ANY ANIMATION, IS
                                    ASO CAPTUREO.
              FOR MAGES THE SPEED OF EACHTRANSFORMATIONS ALSO CAPTURED,
                                       (SH50-SH51)



              131                  UPDAEOAA BASES
                       AWASCRIPTS DATABASE IS UPDATE). AWASCRIP
                         CALLSBUILD ENGINE AND PASSES RECURED
                                         WALES.
                       BUILD ENGINE UPDATES INTERNAL DAABASE AND
                             SETS FEATURE FLAGS (SEE FIG. 8).



                        ATHREAD object is creatED AND Executed.
                            WAUES ARE SE ONEGRATE THE
                            RANSFORMATION INTO THE MENE
                                     ECHNOLOGY.
                                     (SEE FIGURE 19)


              133
                       THREAD OBJECT, WHENINVOKED WILL CALL THE
                             APPROPRIATE IMAGE FILTER(S) AND
                                 RANSFORMATION METHODS.




                                          TO
                                       PROCESS 29




                                   Fig. 18

  TRANSFORMATION SETTINGS AND TECHNOLOGY



                                       Appx265
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                            27 y
                                                            FROM
                                                           CSION23



                         the NIAL VALUES FOR THE POPP WINDOWARE SET FROMJAVASCRPSDAABASE
            He wall.JES FOR THE OBJECTS APPEARANCETME, ANMATON type, Speed AND reSOLUTION Are CAPURED.
 THE VALUES FOR THE OBJECTS CHILD POPUP OBJECT(s) APPEARANCE TIME, ANIMATION TYPE, SPEED AND RESOLUTION ARE CAPTURED,
                The VALUES FOR THE OBJECTS EXIT TIME, ANIMATIONYUPE, SPEED AND RESOLUTIONARE CAPTURED.
     THE WALUES FOR THE OBJECTS CHILD POPUP OBJECT(s) EXIT TIME, ANIMATION TYPE. SPEED AND RESOLUTIONARE CAPTURED.
                                                         (SH52-SH-53)


                  135                        AWASCRPS DATABASE SUPDATED,
                                AWASCRPT CALS THE BUILD NGINEAN PASSES RECUREDVALUES.
                               HEBUD ENGINE UPOASTSNERNAL DATABASEAN SESFEATURE
                                                      FLAGS (SEE FIG. 8).


                          THE OBJECTS ANIMATON SETINGS, FANY, ARE INTEGRATED INTO THE MENE.
          136           The OBJECTS TRANSFORMATIONSTTINGS, F ANY, ARENTEGRATED Nto HE TIMELINE.
                   IF ANIMAGE OBJECT, ANY TRANSFORMATION ANIMATION MAYBE EXECUTED SIMULTANEOUSLY
                        WITH THEAPPEARANCE AND/OR EXITANEMATONS, DEPENDING UPONTHE SETINGS.
                          A MULT-LEVEL OBJECT TREAD      FNTIONS CREATED AND EXECUTE FOR USER
                                                        WRFCATION.


                                37
                                        THE THREAD OBJECT. When NWOKED WILL CALL
                                        THEAPPROPRIATE IMAGE FILTER(S). ANIMATION
                                         METHODSANRANSFORMATION METHODS.




                                                            TO
                                                         PROCESS 29




                                                  Fig. 19

                        OBJECT TIME LINES AND TECHNOLOGY




                                                       Appx266
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                as N.                      FROM
                                         DECSON 23



                INTIAL VALUES FOR THE POPUR WINDOWARE SE FROMJAWASCRIPTS
      138                                 DATABASE

                 THE WALUES FOR THE WEB PAGES APPEARANCE DELAY TRANSiTION
                  ANIMATION ANIMATION SPEED AND RESOLUTIONARE CAPTURED.
                                        (SH54-SH55)


      139                     AWASCRIPTSDATABASE IS UPDATED
               AWASCRPT CAS THE BUD ENGINE AND PASSES THE RECURED WALUES.
               THE BUILD ENGINEE UPDAESS NTERNADATABASE AND SES FEATURE
                                     FLAGS (SEE FIG. 8).


      140     TE WEB PAGE TIME LINESSYNCHRONIZEW           THE S CBEC    MENES.
                THE WEBPAGES APPEARANCEDELAY AND TRANSON SETTINGS ARE
                           INTEGRATED INTO THE WEB PAGE TIMELINE.
                     ASNGLE-LEVELOBEC THREADEFINITION IS CREATEC,



                        THE WEB PAGE THREAD OBJECT, WHENINVOKED.
                         WILL CALL THE APPROPRIATE IMAGE FILTER(S),
                       ANMATON ROUTINES AND CREATE THENECESSARY
                               OBJECTIME LINE THREADS.




                                     Fig. 20

   WEB PAGE TRANSiTION ANIMATIONS, TIME LINE
                 SETTINGS AND TECHNOLOGY




                                      Appx267
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                                             FROM
                                           FGS. 16-20


                                   29 y
                                              FILE
                                           OPERATION
                                           SELECTED


   144




         NEW    OPEN            WEBSITE                   SAVE AS




                                                                                 TO FIGS.
     TO FIGS.            TO                                                      4 AND 24
     4 AND 5            FG.22




                                          fig. 21a




                                          Appx268
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                                      FROM
                                    FIGS. 16-20

                    29 N
                                      VIEW
                                    OPERATION
                                    SELECTED.


  149a               149)                                149C                 149d




                                                                          ZOOM
    NORMAL              PREVIEW                   PLAY                  50%, 200%,
                                                                           EC.




      TO                    O                       TO                      O
     F.G. 5              F.G. 28                  F.G. 28                 FG.22




                          fig. 21b

                                    Appx269
       Case: 23-2265                      Document: 14                Page: 349          Filed: 11/13/2023




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                                                                                                FROM
                                                                                               FIG 21


          500             USER                         USERCHANGES THE                                       SO4
                         SELECS                          WEBPAGESIE                         USERSELECTS
                        OPEN FROM                      UNDER HE WEBSITE                      ZOOM UNER
                            THE FILE                   COMMAND FROMHE                      THE WIEWMENU
                             MEN                           FILEMENU




 506    HEAER AND WEBPAGE SETINGS ARE                            A EXTERNAL TEMPORARY DATABASE SWRTEN         508
            READ FROMTSDATABASE.                                     BASED ON THE CURREN WEBSITE OEFINION,
        A BUDENGINE HTMLDEFINITION FES                          Asu   NGINE HTML EFINITIONFILE IS CREATED
         CREATED BASED ON THESE WEBPAGE                          BASE ON THE NEW WEB PAGE SPECIFICATION.
                 SPECIFICAONS.




                                                    TERMINATION PROCESS
                      510                     ThEBUILD ENGINEERMINAESITSELF.
                                 THE INTERFACE WRITES OUT AS COOKIES.THE INTIALIZATION MODE,
                                  CURRENT WEBPAGENUMBER, WE SITE NAME AND ZOOMLEVE,
                                  THE INTERFACETERMINATESITSELF BYRENTALEZING THE BULD
                                               ENGINE PARENT HTML FRAME FE.

                                                  RENAZATION PROCESS.
                                PANE READS MOBE COOKEANO DETERMINES NTAZATION STATUS.
                512         PANEL REASCURRENT WEBPAGENUMBER, ZOOMEVEL AND WEBSITE NAME
                                                          COOKES,

                                  PANE CALLSBUILD ENGINE TO READIN THE EXTERNALDATABASE,
                               PANE CAS HE BUD ENGINE TO REURNE NECESSARY WALUES EN
                                            ORDERO UPDAE THE PANE'S DATABASE,

                               PANELCALSBUILONGINE TO GO TO THE CORREN WEBPAGE AT THE
                                                    CURRENZOOMEWEL.


                                                             TO
                                                            F.G. 6



                                                       Fig. 22
        DYNAMIC WEB PAGE RESIZING PROCESS




                                                       Appx270
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                                    Fig. 23




                                    Appx271
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                         se-N
                                                                                  150
                                                ACCEPT USERS WEBSITENAME.
                                                CREATE WEBSITENAMEDTAFE.
   52


                                                                                   51
  SECURRGHTS HAD BEEN ESABESE              ASSERTNECESSARY SCURYPOLICY
  DURING THE BUDiggs
              (SEE FIG 5) INITIALIZATION - PERMISSIONSEELE
                                                   RGS CREATION

        G WAER MARKECHNOOGY.                                                      -53
    NMBEESSNs                               WRITE HEADER RECOROSENCLUDING
                                            DEFAULT SCREENRESOLUTION, WEB
  PARAGRAPH, ETC. OBJECTS PER WEBPAGE,     PAGE AND STYLE GWATER MARKS
 NUMBER OF NES AND NESEGMENTS FOR           AND USER WEBPAGE sizE SETTINGs.
         AmiY PARAGRAPH OBC.
                                  l                                                               155
   54                     WRITE OUT STYLE RECORDS FOR PARAGRAPH, EXTBUTTONANO IMAGE STYLES.
   5                                                                                                         1S6
                                                            !
                     WRITE ARRAY STRUCTURES BASED ONHGhWATER MARKS. OBJECTYPE, AND TYPE OF DATA



   BOOLEAN RECORDS          NGR RECORDS             MUL.MEA OBECS             STRING RECORDS        SINGLE AND OUBLE
                                                                                                   FOATNG POINT AND
                                                   SERIALIZED FORMFOR         IMAGES, ADIO AND          LONGINTEGER
    WAES FORWE              WALUES FORWB           UR, COLORAND FONT          WIDECFENAMES                RECORS
  PAGES, OBJECTS AND      PAGES, OBJECTS, AND        OJECTS, TC. FOR     | ENCODED FORM FOR
  OBECT COMPONENTS        OBJECT COMPONENS           WEBPAGES AND             EXPARAGRAPH          FOR ANIMATION AND
      IN a FOR                 In A FOR             OBJECTSNAWO             OBECSNAFOR             IMAGE PROCESSING
   OMENSONAARRAY           OMENSIONAARRAY           OMENSIONAL ARRAY        DIMENSIONAL ARRAY      NATWOMENSIONAL
     STRUCTURE.               STRUCTURE.               SRCURE                  SRUCTURE             ARRAYSTRUCTURE



  1st                       158                            TO                               SO                     16
                                                          FG25




                                                    Fig. 24
                  EXTERNAL DATA BASE CREATION:
        SECURITY AND OPTIMIZATION TECHNICRUES




                                                      Appx272
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                          FEATURE FLAGS AREANALYZED

                          EXTRACT REQUIRED WARIABLE
                          DEFINITIONS AND METHODS OF
                         "MAN" OBJECT CLASS OF THE RUN
                             ENGINE SOURCE CODE.



                           OBJECT CLASS REFERENCES
                            EXTRACT ONLY RECURED
                           REFERENCES TO ALL OTHER
                            RUNTIME OBJECT CLASSES


                           EXTERNAL FILE REFERENCES
                           IMAGE, WIDEO AND AUDIO FILE
                              REFERENCES AND FELE
                                  PROCESSING


                         SOURCE CODES COMPLED WITH
                            THE NECESSARY CLASS
                                    LBRARIES

                               (EG. SUN, NETSCAPE,
                                    MICROSOFT)


                          RUNTIME ENGINE FOR THE WEB
                               SITE IS CREATED.




                                Fig. 25
CREATE CUSTOMIZED AND OPTIMIZED
         RUNTIME ENGINE


                                     Appx273
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                        * N.
                                                         WEBPAGE
                                                         OR CUSOM
                                                         APPLICATION
           168                                                                                         169



           WEBPAGE SCREEN RESOLUTION PROCESSENG.                               CUSTOMAFPLICATION.
           WBPAGE WINDOWSWIRTUALWLDHAN HEGH
          ARESTORE NSCRENRESOLUTION INDEPENDENT                      APPETWINDOWS WITH AND HEGHT STORED AS
                                UNITS.                                          ABSOLUTEWALUES.




                  170                              EFINITION OF BACKGROUND
                                   WEBPAGE BACKGROUND COLORWALUES CONVERTED TO
                                    HEXADECIMAL ANY BACKGROUND IMAGES PROCESSE.

                               HTM CODES GENERATED TOSYNCONIZE THE RUNTIME ENGINES
                                   BACKGROUND WITH THAT OF THEWSB PAGE WINDOW.

                        171
                                             SCREEN RESOLUTION PREPROCESSING.
                                   JAWASCRIPTAND HTML CODES GENERATE TO CALLEHE
                                         SCREEN RESOLUTION SENSING (SRS) JAWA APPLET

                  172
                                           AWASCRIPT TO SRSAPPET COMMUNICAON

  17.3                        JAVASCRPT CODES GENERATED TONTERROGATE THE SRS APPLET
                              FOR THE SCREENRESOLONVALUES. THE AWASCRPT CODEASO
                                            NCUESNECESSARYTMECUS.


                               AWASCRPT GENERATION OF RINTAE ENGENEHMSPECIFICATION.
  JAWASCRIPT CODES GENERATED TO CREATE THENECESSARY HTML CODEFOR THE RUNTIME ENGINESIZE SPECIFICATIONS,
  PARAM FIELDS TO LINK TO THE DATA BASE (SEE FIG.23), THE NECESSARY HTML cooE TO LOAD THE JAR OR THE CAB FILE, AND
                              HTML CODE FOR HAVING THE BROWSERINVOKETHERUNME ENGINE.

                  14
                                                              y
                                               WRTE EXERNAHTMLSHELL FLE.

                              THENECESSARY SECURITYPOLICYPERMISSIONS FOR FIE CREATION
                                  RGHTS ARE ASSERTED A"WEESTENAME.HMS WRITEN.


                                                            GOO
                                                           F.G. 27




                                                      Fig. 26
                   CREATE THE HTML SHELL FILE



                                                        Appx274
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            sia                               FROM
                                              FIG. 26




                             ANALYZE FIRST WEBPAGE IMAGE OBJECTS
                               IF FIRST WEB PAGE HAS NON-TIME LINE
                              DELAYED IMAGE OBJECTS, FLAG FOR CAB
                                           AN ARFE.



                  176               ANALYZE JAVA CLASS FILES
                             BASED ONFEATURE FLAGS MARK ALL THE
                           NECESSARY JAVA CLASS FILES FOR INCLUSION
                              INTO THE CAB AND JARFILES. (SEE FIG 25)


       77                              BAT FILE DEFINITIONS
                  GENERAE THE BAT FILESTATEMENS TO INCLUDE ALL NECESSARY
                    MAGE FILES, THE "WEBSENAME CLASS CUSTOMAED RUNTIME
                   ENGINE, AND THE WEBSITENAME", TA DATA BASE FLE INTO THE
              MAN COMPRESSED CABAND AR FLES ANDAVA, CLASS FILES INTO
                        A COMPRESSED CABIJAR LIBRARY FILE.


                                    WRITE EXTERNAL BAT FILES
                          THE NECESSARY SECURITY POLCY PERMISSIONS
                               FOR FILE CREATION ARE ASSERED. A
                         "WEESTENAME" BAT FILE AND A"WEBSITENAMELEB".
                                      BAT FILE ARE WRITEN.



            179                       CREATE CABAR FES
                        THE "WEBSITENAME", BAT AND "WEBSITENAMELIB". BAT
                           FILES ARE EXECUTED, CREATING COMPRESSED
                           "WEBSITENAME". CAB, WEBSITENAMELIB"CAB.
                        "WEBSITENAMEAR AND WEBSITENAMEB JAR FILES.




                                         Fig. 27
            CREATE THE CABIJAR FLES

                                           Appx275
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                                           80          USERPONS
                                                       A BROWSER
                                                       AT THE HTML
                                                        SHELL FLE


                                               JAVASCRIPTINITALIZATION CODE
  1B1
              AVASCRIPT CODE DETERMINES THE TYPE OF BROWSER AND CASHTML CODEFORTHE BROWSERTO
                                                    NTERPR.
             THIS CODEDEFINES WHETHER THE EXECUTEBLE FLES ANDATABASEWELL BE EXTRACTED FROMINSIDE
                         A COMPRESSE CABFLE ORACOMPRESSED UARFILE ANDTSOCATION,
             82
                                                  WEBAPPLICATION TYPE.
                         EXECUTE APPROPRIATE JAVASCRIPT CODE (BY APPLICATION TYPE). FIXED (EG.
   183                                          BANNER) OR DYNAMC,                                                     B4


   !                                            El E
         DYNAMIc weBPAGE AvascRIPTSRs APPLET syNCHRONIZATION TECHNOLOGY.                         FIXED size wNDow
 CALJAWASCRIP CODEWHC CAUSES HESRSAPPET TO EMMEDIATELY EXECUTE                    Y
                           THE BROWSER.                                                      JAVASCRPT GENERATES THE
  THE JAVASCRIPT CODE GOES INTO A TIMERLOOP, CHECKING ONWHeNTHE SRS APPLETIS                HTMLCODEFOR THE RUNTIME
                       ALIVE BEFORE INITIATING ANY COMMUNICATION.                          ENGINE SPECS, ETC. (SEE. F.G.25)
                                           J                                                 THE BROWSERMMEDIATEY
                          AWASCRIPTSRSAPPLE COMMUNECATION                                  EXECUTES THE RUNME ENGINE.

   JAVASCRIPT CALLS SRS APPLET METHODS WHICH RETURN THE WIDTH AND HEIGHT, IN
                     PXELS, OFHE CURRENT BROWERWINDOW.
  AWASCRIPT THENCONVERS THE SCREENRESOLUTION INDEPENDEN WINDOW WITHAN
                  HEIGHT WALUES NOABSOUEXEWALUES

   JAVASCRIPT THEN GENERATES THE HTML CODE FOR THE RUNTIME ENGINE SPECS, ETC.
                                  (SEE FIG.26)
                  THE BROWSERIMMEATELY EXECUTES THE RUNTIME ENGINE.


   185




                                                     Fig. 28
   WEB PAGE SIZE GENERATION TECHNOLOGY




                                                         Appx276
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                               35
                                     N                            FROM
                                                                  FG.28


                  186                           RUNTIME ENGINE TODATA BASE LINKAGE

                               RUNTIME ENGINE READSA PARAMVALUE WHICH POINTS TO THE DATABASe AND
                                                  INTATES THE READ OPERATION.
                                               THE READ TECHNICUEIS NON-PRIVLEGED.


                         187                        HEADER RECORD INTIALIZATION


                                     THE HEADER RECORDS ARE READ AND THEVALUES PROCESSED.

                               188
                                       PARAGRAPH, Text BUTTON, And IMAGE Style PrOCESSING.
                                         THE STYLES RECORDS ARE READ, AND THE WALUES ARE
                                        STORED FOR SUBSEQUENT PARAGRAPH, TeXT. AND IMAGE         189
          190                                            OBJECT GENERATION.


       EXCEPTION                                     FIRSTWEBPAGE GNRATION.
       HANDLING
                                THE BOOLEAN, INTEGER, STRING AND FOATNG PolNTFIELDS FOR THE FIRST
    ERROR RECOVERY                          WEB PAGE ARE READ AND INITIALIZED. (SEE FIG.24)
    ANDFOR GRACEFUL
       OPERATION                 THE SERALIZEDMULTIMEDIA OBJECTS FOR THE FIRSTWEBPAGE ARE READ
     CANCELLATION                            AND CAST INTO THEIR FINAL FORM. (SEE FIG.24)
                                                                                                                 19


        MULTTHREADFIRST PAGE PROCESSING WITH THE GENERATION OF DATA FOR ALL THE OTHER PAGES.
                                                   (SEE FIG.31)


                        GeNERATION OF DATA FOR ALL THE OTHER WEBPAGES.
          THE BOOLEAN, INTEGER, STRING AND FLOATING POINTFIELDS FOR THE Other WEB                        TO
                          PAGES ARE READ AND INITIALIZED. (SEE FIG.24)                                 F.G. 30
          THE SERALIZED MULTIMEDIA OBJECTS FOR THEOTHER WEBPAGES AREREAD AND
                                CAST INTO THEIR FINALFORM. (SEE FIG.24)


            192
                                                           Fig. 29
                   READ DATA BASE AND GENERATE
                       NECESSARY OBJECTS.




                                                     Appx277
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                                              CNRE




           94     NON-CENTEREOPLACEMENT                           CENTEREOPLACEEN              95

                    FAND TO COORONAS                           OJEC. With CONVERTED INTO
                  CONFERED TOCA SCREEN                          OCA-SCRENAUES. RTAND
                     WINDOW RESCLUTION.                        TOP COORONATES CACULA,



                                     96
                                                           -
                                                  BJC TY

  197                 98.                         Y                                                           19



   TXUTTON                        PRAGRAPH                                             AGE OBJECT.                  -
    OBJECT.
                     THE PARAGristorTED INTO                            F SCALED WASCLOSEN, WITH AND HEGHTAR
  3CEFFECTS, IF                                                        CONVEReD INTO LOCAL SCREEN WALUES, AND THE
   CHOSENARE                                 a.                                  MAGESRANTO SALE.
  SCALEDEYANY       3 EFFECTS, F CHOSEN, AR SALED BY STRING
  ANIMATIO. AND          SIZE, FONTSIZE, ANDFONT STYLE.                  3D EFFECTS, IF CHOSEN, ARESCALEB'YANY
   YSTRING SEE,      REFORMATIS CALLETH TEXT IS RFORMATED               AN-MATION AND BYMAGE WITHAND HEIGHT.
  FONT SIZE AND     BASED ON THE CURRENTPRAGRAPH PIXEDTH.
   FON St.                                                              iF DON'T SCALS WAS CHOSEN, THE HEIGHT AND
                                                                       WHARE NOTADJUSTED TO THE LOCAL SCREEN
                     IF ON SCALE WAS CHOSEN, THE HEIGHT AND                         WALUES.
                    WOT; ARE NOTAUSE TO THE LOCAL SCREN
                                     AES.




                                            Fig. 30
         WEB PAGE GENERATION WITH SCALING
                   TECHNOLOGY




                                                  Appx278
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                   37 N
                                                          FROM
                                          200             FIG.30


                                                WEBPAGE COUNTERLOOP
                                           INCREMENT FROM FIRSTWEBPAGE.
                                         CHECKBOOLEAN PAGE EXISTENCE WALUE.



                                             DOES                    END OF WEBPAGE
                                           WEBPAGE                     LOOP TEST.
                                             EXIST?                  RESET COUNTERP   203


                                    20
                                                         SUPPRESS DRAW FORAL DELAYED
                                                             TEXTAND, IMAGE OBJECTS


                                                                   TRANSITION AND                           205
                  TXT BUTTONANO IMAGE OBJECT                        ORAWSYSTEM         WEBPAGE TRANSiTION
              TIME INE, TRANSFORMANdANIMATION                              St.              ANMATION
                             LOOP
                                                                   DRAWSYSTEM
              NCREMENT FroM FIRST PAGE OBJECT                       CALEDF NO               TO FIG. 32
                                                                     RANSiTION.


        END OF EXT
     BUTTON AND IMAGE                     ANOFOR
      TIMELINE LOOP                      TIME LINE?
        Yes                                             208
                                                                                                            209

                       CREATEANINSTANCE OF A TEXT OR IMAGE TIME LINE THREAD AND START THE THREAD.


                              211
 COMPLETE WEB PAGELOOP                                OBJECT TIMELINE TECHNOLOGY
       TOFG. 35                                                TO FIG.33




                                                      Fig. 31
    THE MULTILEVEL WEB PAGE AND OBJECT
            THREAD TECHNOLOGY




                                                        Appx279
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                                              FROM
                                              FIG 31

                          212
                                       OCK THE ANIMATON
                                             PROCESS


                                213
                                              RANDOM
                                            TRANSiTION?

           215
                                      No                  Yes


         NITALIZE: EXECUTE AN ANIMATON LOOP                       CREATE           214
                                                                 RANDOM
           INCREMENT BY TEME AND NUMBER OF                      TRANSITION
          ANIMATIONSBASED ONUSER DEFINED                        ANMATION
                      SETINGS                                    NUMBER


                                           ORAWANIMATION                                          216
       GENERATE AN OFF-SCREEN MAGE FOR NEXT WEB PAGE WHILE PRESERVING THE OFF SCREEN
                                  iMAGE OF THE PROR WEB PAGE.
         ALIGN, SCALE, AND MERGE TOGETHER AS NECESSARY INTO ASECONDARY OFF-SCREEN
                                BUFFER AND DRAW TO THE SCREEN


                    INCREMENTX, Y, WEDTH AND HEIGHT VALUES FOR PRIOR AND
                         NEXT WEB PAGE, BASED ON ANIMATION TYPE AND
                                        RESOLUTION.
                                       CADRAW MEHOD

                                                                  218
                                           LAST ANIMATION
                                               CYCE?


                    No                                  Yes



                                                                 At FIG. 31




                                      Fig. 32

 WEB PAGE TRANSiTION ANIMATION


                                           Appx280
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                                                                       FROM
                                                                       F.G. 31

                   37
                           y                         219
                                                                        IMELINE
                                                                       EXISTS?

               220
                                                           No                     Yes
                               -                                                              221

                     NON-TIME LINEANIMATION AND/OR                                      /6 N                                        222
                           TRANSFORMATION TEST                                            DELAY                 SETA TIMER
               -                                                                        APPEARANCE                EVEN
                                                                                                   1      Yes
              ENTRY ANIMATIONAND/ORTRANSFORMATION                                             -1
                              TeST                                                       No         223
                                                                            eS
                                                           224
                     225                                                                  ENTRY
                                                                                        ANIMATION
                                    CHLD                         No                 TRANSFORMATION
                                   MELNESP
                                          1.

                     No                                    Yes                                                                                     226


            CREATE INSTANCE(S) OF CHILD TEXT AND/OR IMAGE POPUPTIME LINE THREAD(S) AND START THE THREAD(S). TO FIG. 31 -

                                                                                                                           227
                                   PARENT OBJECTIME LINEMAINANIMATIONTRANSFORMATION TEST


  r                                229                                                                               230                       r
   RANSFORMATION ONLY                MAN ANIMATION ONLY                          TRANSFORMATION THENANMATION                     TRANSFORMATION WITH
                                                                                                                                      ANIMATION
                                    CREATEANINSTANCE OF                    CREATE AND STARTA TRANSFORMATION
 CREATE AN INSTANCE OF A             AN ANMATON THREAD                   THREAD. SET THE JONMETHOD TO WAIT THE                     CREATE AND STARTA
  RANSFORMATION THREAD               AND START THE READ.                   COMPLETION OF THE TRANSFORMATION.                             SUPER
  And START THE THREA).                                                                                                             TRANSFORMATION
                                     Set THE JONMETHOD                     THE TRANSFORMAION THREA) CREATES                       THREAD. SETHE JOIN
  SET THE JOINMETHOD TO                TOWAT FOR THE                       AND STARTS ANANIMATION THREAD. THE                      METHOD TOWAT FOR
 WAT FOR THE COMPLETION               COMPLETON OF THE                      JOINMETHODS ST TO WAIT FOR THE                       THE COMPLETION OF THE
 OF THE TRANSFORMAON.                     ANIMATION.                           COMPLETON OF THE ANIMATION.                              THREAD.



                                                                             EXECUTE THE DEPAREURE ANIMATIONFTRANSFORMATION
                                               EXT                     CREATE AN INSTANCE OF AN ANIMATION/TRANSFORMATION THREAD AND
      DEPARTURE2                     ANIMATION?                                               START THE TrAd.
                                                                      SET THE JOINMETHOD TOWAT FOR THE COMPLETION OF THE ANIMATION.


                                      TERMINATE
      SETATIMER                      POS TOJOIN                                                                                              235
        EVENT                            GO FCG. 35


      233                                2

              Fig. 33 OBJECT TIME LINE TECHNOLOGY


                                                                         Appx281
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                                        FIG. 33


                        237                                                238
                                                            SETA MER
                                  APPEARANCE                  EVENT.



                         239
                                        ENTRY
                                      ANIMATION?


                         No                  Yes

                             EXECUTE ENTRY ANIMATION
                                                                   240
                      CREATE AN INSTANCE OF AN ANIMATION
                         THREAD AND START THE TREAD.
                      SE THE ON METHOD TOWAT FOR THE
                         COMPLETON OF THE ANIMATION.
                                241
                                                                            242
                                                      Yes   SET A TIMER
                                      DEPARTURE.              EVENT

                                        No
                         243
                                         EXIT
                                      ANIMATION?


                        No                   Yes

                       EXECUTE THE DEPARTURE ANMAFION               244
                       CREATE AN INSTANCE OF AN ANIMATION
                          THREAD AND START THE TREAD.
                       SET THE JOIN METHOD TO WAIT FOR THE
                          COMPLETON OF THE ANIMATION.



                                       TERMINATE
                                      POST TOJOIN
                                        TO FIG. 33



                                 Fig. 34
       CHILD TIME LINES FORTEXT
       BUTTON AND IMAGE OBJECTS

                                        Appx282
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                                        FROM
                                       FIG. 31,
                                      FG.33 AND
                                        FIG. 34



                  246           JOIN WITH ALL WEB PAGE
                                       OBJECTS
                              WAIT FOR THE COMPLETION OF
                               ALL PARENT AND CHILD TME
                                LINES FORTEXT AND IMAGE
                                        OBJECTS.




                                       STAY ON
                                      WEB PAGEP




  248                                                    WEB PAGE DELAY            249
        RESPOND TO USER INTERACTIONS
           AND/OR TIMER CONTROLS
                                                  SET TIMEREVENT FOR WEB PAGE
                                                  DELAY BEFORE CONTINUING WITH
                 TO FIG. 36                            THE WEB PAGE LOOP.




                                                           END OF WEB
                                                         PAGE COUNTER
                                                             LOOP




                                 Fig. 35
        COMPLETE WEB PAGE AND
          OBJECT THREAD LOOP

                                     Appx283
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          251                          MOUSE TO OBJECTRECOGNITION TECHNICUE
                  SCALING TECHNOLOGY (SEE FIG. 27) SETS SCREEN COORDINATE VALUES FOR ALL OBJECTS AND
                                                 THEIR SUBCOMPONENTS.
                              MOUSE POSITION DETERMINES WHICH OBJECT(S) ARE SELECTED.


                                                       TYPE OF USER
                                                        NTERACTION




                   MOUSE MOVED OVER OBJECT(S)                             MOUSE DOWN OVER OBJECT(S)
                                                                                                                 260


  PARAGRAPH       TEXT BUTTON AND/OR IMAGE OBJECT(s)           TEXT BUTTON AND/OR IMAGE OBJECTS)        PARAGRAPH
                  OJECS MOUSE OVER STATESDRAWN.                   OBJECTS CLICK STATE IS ORAWN.
                                                                SOUND, VIDEO, ORTEXTIIMAGE POPUP       OVER HOT LINK
                  TEXTAND/OR IMAGE POPUP OBJECTS ARE                                                   CREATES ACALL
 MOUSE OVER               DRAWN, IF DEFINED.                     EVENTS ARE EXECUTED, IF DEFINED-           TO
 COLORS ARE      SOUND AND WIdEO EVENTS ARE EXECUTED,                                                  APPROPRIATE
   DRAWN                      IF DEFINED,                       GOTO EVENTIS EXECUTED, IF DEFINED.       METHOD,



                  MOUSE MOVED OFF OBJECT(s)                                        MoUSEUP
 255                                                                                                             259
                OBJECTS NORMAL STATE ISDRAWN.
                                                                      OBJECTSNORMAL ORMOUSE OVER STATES
          TEXT BUTTON AND/OR IMAGE POPUP OBJECTS ARE              DRAWN, DEPENDING UPON MOUSE COORDINATES.
          RASED, IFNOT FROZEN BYA CLICKDEFINEDEVENT.
                                                                 SOUND AND WIDEO EVENTS MAYBE TERMINATED, IF
         SOUND AND WIDEO EVENTS MAYBE TERMINATED, IF                          DEFENED THAT WAY.
                      DEFINED THAT WAY.




                                                  Fig. 36
                RESPOND TO USER INTERACTIONS




                                                  Appx284
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                                    03




                                            *




                                    Fig. 37



                                         Appx285
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        o




                                    Appx286
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                                    Fig. 39



                                    Appx287
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                                    Fig. 40



                                    Appx288
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                                    Appx289
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                                     Fig. 42




                                    Appx290
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                                    Fig. 43




                                    Appx291
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                                    Appx292
    Case: 23-2265      Document: 14       Page: 372    Filed: 11/13/2023




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                                    Fig. 45




                                    Appx293
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                                    Fig. 46




                                    Appx294
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                                    Fig. 47




                                    Appx295
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                                    Fig. 48




                                    Appx296
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                                     Fig. 49




                                    Appx297
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                                    Fig. 5O




                                    Appx298
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                                    Appx299
    Case: 23-2265      Document: 14       Page: 379    Filed: 11/13/2023




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                                    Fig. 52




                                    Appx300
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                                    Fig. 53



                                    Appx301
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                                    Fig. 54




                                    Appx302
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                                    Appx303
    Case: 23-2265      Document: 14       Page: 383    Filed: 11/13/2023




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                                     Fig. 56



                                    Appx304
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                                     i?angoriadjue
                                                            § §„Sputoa$2



                                    Fig. 57




                                    Appx305
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                                    Fig. 58




                                    Appx306
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                                                 Espudoes3]


                                    Fig. 59




                                    Appx307
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                                     Fig. 6O




                                    Appx308
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       $$$




                                    Appx309
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                                    Fig. 62




                                    Appx310
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                                    Fig. 63




                                    Appx311
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                                                      US 7,594,168 B2
                               1.                                                                 2
     BROWSER BASED WEBSITE GENERATION                              JavaScript and Cascading Style Sheets). The Interface
         TOOL AND RUN TIME ENGINE                                  includes a unique set of communication techniques. One
                                                                   technique allows for effective two-way communications
            CROSS-REFERENCE TO RELATED                             between a JAVA engine and JavaScript. Another technique
                        APPLICATIONS                               allows for communications between a JAVA applet object
                                                                   inside a JavaScript window, with the JAVA engine, which
   This application is a continuation of U.S. patent applica permits the implementation of advanced intelligent interface
tion Ser. No. 09/454,061, filed Dec. 2, 1999 now U.S. Pat. No.     objects, such as a “slider” or a “dial”.
6,546,397.                                                            In one aspect the invention includes a screen resolution
                                                                10 sensing mechanism that causes a build engine (i.e. build
                FIELD OF THE INVENTION                             tools) to adopt its interface to the web designer's screen
                                                                   resolution.
   The present application is directed to computing systems,          In one aspect, the invention includes a multi-dimensional
and more particularly to methods and apparatus for building array structured database, that, in addition to storing the
a web site using a browser-based build engine.                  15 numeric and string data found in conventional databases, also
                                                                   stores multi-dimensional arrays of various multimedia
                        BACKGROUND                                 objects. They include colors, fonts, images, audio clips, video
                                                                   clips, text areas, URLs and thread objects. The invention
   Conventional web site construction tools operate on tradi includes a run time generation procedure that creates a com
tional operating system platforms and generate as output pressed web site specific customized run time engine pro
HTML (hyper text mark-up language) and Script Code (e.g., gram file, with its associated database and a build engine
JavaScript). A browser draws a web page associated with the generated HTML shell file.
web site by interpreting the HTML and JavaScript Code.                The invention can include web page Scaling technology, so
However, conventional mark-up and Scripting languages that when the web site/web page is accessed on the WWW, the
include numerous inherent limitations. Conventional mark 25 web pages and all the objects within them can be scaled to the
up and Scripting languages have not been designed for serious user's screen resolution and to the then current browser win
multimedia applications. They have almost no file handling dow size.
ability and very little computational power. In addition, they        In one aspect, the invention includes a proprietary multi
are remarkably slow and inefficient.                               level program animation model (threads) that responds to
   As such it is virtually impossible to write a web publishing 30 multiple user interactions and time sensitive operations
application in HTML and JavaScript. All conventional imple simultaneously.
mentations must, and do, utilize a full-featured programming          In one aspect, the invention includes a mechanism for the
language. Such as C++ or Visual Basic. Since the current dynamic resizing of the build engine's web page size during
popular browsers do not support these languages, by neces various editing operations.
sity, conventional web publishing applications run on plat 35 In one aspect, the invention includes techniques for creat
forms other than the WorldWideWeb (WWW) and its brows ing browser based interface objects that visually and behav
ers. Therefore, at best, a conventional web publishing iorally are identical to those of the MS Windows standard.
application can offer only a crude preview capability of what         Aspects of the invention can include one or more of the
a real web page will look like.                                    following features. A browser based build engine is provided
   Although C++ and Visual Basic are very capable lan 40 that includes a browser based interface. The entire web site
guages, the conventional web publishing applications written build process is WYSIWYG (what you see is what you get),
in these languages are still necessarily limited by the limita with the web designer working directly on and with the final
tions inherent in their form of output, which as described web page. The data produced by the build engine is processed
above is typically HTML and scripting code. As such, a and ultimately placed into a multi-dimensional array struc
conventional web publishing application written in one of 45 tured database, and stored in an external file. A run time
these languages Suffers from the severe performance prob generation procedure creates a compressed program custom
lems inherent in these languages.                                  ized run time engine file, with an associated database and a
   For example, HTML and JavaScript are incapable of refor build engine generated HTML Shell File.
matting text and Scaling buttons or images dynamically. In            When the web site/web page is accessed on the WWW,
addition, most conventional web publishing applications 50 web page scaling technology can be accessed to generate web
design a web page layout to fit into a 640 pixel wide screen. pages that are scaled to the user's screen resolution. A tech
This means that the ability for higher resolution screens to nique is provided so that an applet’s size (height and width)
display more data horizontally is lost. Since capability is can be set in real time under the control of either the interface
wasted on the horizontal plane, unnecessary vertical scrolling or the build engine. At the same time a multi-level program
may be required. Further, on higher output resolution devices 55 animation model (threads) is activated for user interactions
(screens), unsightly extra white space or background may be and time sensitive operations.
prevalent.                                                            The browser based interface technologies create a set of
                                                                   interface objects with a look and feel that is identical to that of
                           SUMMARY                                 MS Windows, yet includes technologies that equal or occa
                                                                60 sionally surpass those of high end word processors, desktop
   In one aspect the invention includes a Browser Based build publishers, and image processing software programs, particu
engine that is written entirely in a web based full featured larly in the areas of interaction, animation, and timeline tech
programming language (e.g., JAVA). A Browser Based Inter nologies. The run time engine includes multimedia capabili
face (the Interface') between the web designer and the build ties often rivaling the digital processing capabilities seen on
engine is included. The browser-based interface can be writ 65 television and in the movies.
ten in the World Wide Web’s (WWW) Hypertext Markup                    Because of the implementation of a variety of performance
Language (HTML) and its Extensions (Dynamic HTML, and file reduction techniques, the entire run time environment



                                                           Appx312
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                                                    US 7,594,168 B2
                                3                                                                4
can range from as low as 12K, and no larger than 50K. This          FIG. 9 is a flow chart, with its attendant screenshot shown
depends upon the features selected by the web designer. in FIG.37, that shows a detailed view of the build time polling
Although the compressed image, audio, and/or video files         methods used to facilitate communication from the JAVA
must also be downloaded, with a reasonable web site design, build engine to the interface.
web pages should load quickly. The initial run time environ- 5 FIG. 10 is a flow chart that shows a detailed view of the
ment is no larger than 25K, thus the initial web page should build time techniques for analyzing user input for error check
generally load in less than 2 seconds, and Subsequent web ing and data integrity.
pages in less than 1 second with a 56K modem, even with             FIG.11 is a flow chart, with its attendant screenshot shown
numerous image files.                                            in FIGS. 38-41, that shows a detailed view of the build time
   The present invention provides a real time, dynamic link- 10 methods for direct text entry at an arbitrary cursor position
age between JAVA and HTML including two-way communi and text editor implementation methods.
cations, in real time, between JAVA and JavaScript.                 FIG. 12 is a flow chart, with its attendant screenshot shown
                                                                 in FIGS. 49-56, that shows a detailed view of the build time
       BRIEF DESCRIPTION OF THE DRAWINGS                         techniques for reading external image files, creating them on
                                                              15 a web page, and then manipulating them through either direct
   The foregoing aspects and many of the attendant advan mouse interaction or through the interface's panel/windows.
tages of the invention will become more readily appreciated         FIG. 13 is a flow chart that shows a detailed view of the
through the following drawings and their associated Screen build time implementation of text, button and image styles in
shots, referred to throughout the detailed description, accordance with one implementation of the present invention.
wherein:                                                      2O    FIG. 14 is a flow chart that shows a detailed view of the
   FIG. 1 is a flow chart depicting a prior art conceptual       Video  and audio processing in accordance with one imple
overview of how a user and a web browser interface.              mentation of the present invention.
                                                                    FIG. 15 is a flow chart that shows a detailed view of the
   FIG. 2 is flow chart depicting a conceptual overview of how frame, table, forms, and draw objects processing and technol
a user interfaces with a web browser when implementing the 25 ogy in accordance with one implementation of the present
present invention to construct a web site.                       invention.
   FIG. 3a is a schematic diagram showing the main compo            FIG. 16 is a flow chart that shows a detailed view of the
nents of a build tool in accordance with one implementation build time methods for Supporting various user interactions at
of the present invention.                                        run time.
   FIG.3b is a process flow diagram showing a build process 30 FIG. 17 is a flow chart, with its attendant screenshots
in accordance with one implementation of the present inven       shown in FIGS. 57-58, that shows a detailed view of the build
tion.                                                            time methods for text button and image object animation.
   FIG. 4a is schematic diagram showing the main compo              FIG. 18 is a flow chart, with its attendant screenshots
nents of a run generation tool in accordance with one imple shown in FIGS. 59-60, that shows a detailed view of the build
mentation of the present invention.                           35 time methods for text button and image transformations.
   FIG.4b is process flow diagram showing a run time process        FIG. 19 is a flow chart, with its attendant screenshots
in accordance with one implementation of the present inven shown in FIGS. 61-62, that shows a detailed view of the build
tion.                                                            time methods for text button and image time lines.
  FIG. 5 is a flow chart, with its attendant screen shot shown        FIG. 20 is a flow chart with its attendant screenshot shown
in FIG. 37, that depicts a detailed view of a build time initial- 0 in FIG. 63, that shows a detailed view of the build time web
ization procedure in accordance with one implementation of         page transition animations and time lines.
the present invention.                                                FIG. 21a is a flow chart that shows a detailed view of file
  FIG. 6 is a flow chart, with its attendant screenshots shown     operations performed in accordance with one implementation
                                                                   of the present invention.
in FIGS. 38-48, that depicts a detailed view of the build time 45 FIG. 21b is a flow chart that shows a detailed view of the
Supported user input techniques and techniques for commu
nication of data and status between the build engine and the view          operations performed in accordance with one imple
                                                                     mentation  of the present invention.
interface in accordance with one implementation of the                  FIG. 22 is a flow chart that shows a detailed view of a
present invention.
   FIG. 7a is a flow chart that shows an overview of the build 50 dynamic     web resizing process that is activated by the “Open”
                                                                     and “Web Site” commands under the "File' menu and the
time techniques for implementation of pop-up windows (usu “Zoom’ command under the “View' menu.
ally called “dialog boxes” in MS Windows), the panel inter              FIG. 23 is a screen shot showing a file selection window
face, and interface for color selection.                             operation in accordance with one implementation of the
   FIG. 7b is a flow chart, with its attendant screenshots           present invention.
shown in FIGS. 37-38, that shows a detailed view of the build 55 FIG. 24 is a flow chart showing a detailed view of an
time techniques for implementation of panel interface external database in accordance with one implementation of
objects, including the menu bar, menus and Sub-menus, the the present invention and also shows the Security and optimi
tool bars, status fields, interactive fields, and interactive pull Zation techniques that can be employed.
down lists, in accordance with one implementation of the                FIG.25 is a flow chart showing a detailed view of a method
present invention.                                                60 for creating a customized and optimized run time engine in
   FIG. 7c is a flow chart, with its attendant screenshots shown     accordance with one implementation of the present invention.
in FIG.37 and FIG. 63, that shows a detailed view of the build          FIG. 26 is a flow chart showing a detailed view of the
time techniques for implementation of tabbed pop-up win methods for creating an HTML shell file in accordance with
dows (also called “dialog boxes” in MS Windows).                     one implementation of the present invention.
   FIG. 8 is a flow chart that shows a detailed view of the build 65    FIG. 27 is a flow chart showing a detailed view of the
time techniques for updating the internal databases and the methods for creating compressed CAB and JAR files inaccor
setting of feature flags for run time optimization purposes.         dance with one implementation of the present invention.



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   FIG. 28 is a flow chart showing a detailed view of the             FIG.3b is a flow of the build process executed by the build
technology for dynamic web page size creation in accordance        tool to create a web page/web site. Referring to FIGS. 3a and
with one implementation of the present invention.                  3b, the process begins with an initialization (12) and contin
   FIG. 29 is a flow chart showing a detailed view of the          ues through to a point where a web site has been defined and
methods for reading the multimedia database and generating         stored in the build engine's internal database (29).
the necessary objects in accordance with one implementation           The build tool 350 includes plural individual tools that are
of the present invention.                                          created and initialized at (12). The processes for creating and
   FIG. 30 is a flow chart showing a detailed view of the          initializing build tools are described in greater detail below in
methods for dynamically scaling the web page object(s) to      association with FIG. 5. After the build tools are created and
different Screen resolutions and window sizes in accordance 10 initialized at 12, the build tool 350 interacts with the user,
with one implementation of the present invention.                 receiving user commands (actions), for example, to build a
   FIG. 31 is a flow chart showing a detailed view of the web site. The build tool 350 processes user responses and
methods for executing a multi-level web page and object communicates the same and status information to both the
thread architecture in accordance with one implementation of 15 build engine 352 and interface 354 at 13. The processes for
the present invention.                                            interacting with the user are described in greater detail below
   FIG. 32 is a schematic diagram that shows a detailed view in association with FIG. 6.
of the web page transition animation architecture in accor           In one implementation, the interface includes a panel (and
dance with one implementation of the present invention.           its objects, including a menu bar, menus and Sub-menus, tool
   FIG.33 is a schematic diagram that shows a detailed view bars, status fields, interactive fields and interactive pull down
of the parent object time line architecture in accordance with lists), pop-up windows (called “dialog boxes” in MS Win
one implementation of the present invention.                      dows), color and alert message interface technologies, built
   FIG. 34 is a schematic diagram that shows a detailed view with HTML, Dynamic HTML (DHTML), JavaScript, and
of the child object time line architecture in accordance with Cascading Style Sheets (CSS). Interface 354 responds to the
one implementation of the present invention.                   25 user input and may display a pop-up window, update the
   FIG. 35 completes the flow chart begun at FIG. 31.             interface objects, or display alert messages, as shown at 15.
   FIG. 36 is a flow chart showing a detailed view of the The operation of the interface 354 is described in greater
methods for responding to user interactions in accordance detail below in association with FIG.7a, FIG.7b and FIG. 7c.
with one implementation of the present invention.                    As the build engine 352 receives data and status informa
   FIGS.37-63 are screen shots of the user interface presented 30 tion, it updates an internal database (part of multi-dimen
by the build process in accordance with one implementation sional array structured database 358) and sets feature flags at
of the present invention.                                         14. The processes for updating the internal database and
                                                                  setting flags are described in greater detail below in associa
                 DETAILED DESCRIPTION                             tion with FIG.8. To enable effective two-way communication
                                                               35 between the interface and the build engine, polling technol
   Referring to FIG. 1, in a prior art process for creating and ogy is included as shown at 16. The details of the polling
displaying a web site, the user either directly writes HTML process are described in greater detail below in association
and Script Code providing user input at 1 or operates a related with FIG. 9.
prior art product at 2, which generates the HTML and Script          Whenever user input is received, the build tool 350 ana
Code at 3. A separate file, with its attendant HTML and Script 40 lyzes the input including error checking at 17. In one imple
Code is uploaded for each separate web page in the web site mentation, the input is analyzed and then processed by object
at 4, which is then interpreted by a browser when accessed at type (class). The process for analyzing input to determine
5.                                                                type is described in greater detail below in association with
   FIG. 2 shows a process for creating and displaying a web FIG. 10. In one implementation, the number of different
site in accordance with one aspect of the invention in which, 45 object processing technology classes are four, and include
a user operates a build tool at 6, working directly with one or direct text entry (18), image processing (19), video or audio
more of the final web pages in a full WYSIWYG mode. The files and links (21) and frames, tables, forms and draw objects
build tool accepts the user input and creates a multi-dimen (22). The build tool 350 processes the user input based on
sional embedded multimedia object database at 7. A run time class. The processes invoked for direct text entry are
generation process is then invoked to create the necessary run 50 described in greater detail below in association with FIG. 11.
time files at 8 (including HTML shell, CAB/JAR files and a The processes invoked for image processing is described in
customized runtime engine) which are then loaded to a user's greater detail below in association with FIG. 12. The pro
web site at 9. The web page(s), when viewed by a web surfer, cesses invoked by the text button, paragraph, and image style
are activated by the browser calling the customized run time technologies are described in greater detail below in associa
engine at 10. The run time engine then begins to read the 55 tion with FIG. 13. The processes invoked for processing audio
database and down load image, audio and video files, while and video files and channels are described in greater detail
simultaneously drawing the first web page for viewing or user below in association with FIG. 14. The processes invoked for
interaction at 11.                                                processing frames, tables, forms and draw objects are
                                                                  described in greater detail below in association with FIG. 15.
Build Tool and Process                                         60 When an image, text button or paragraph object is to be
   FIG. 3a shows a build tool 350 at the detailed component inserted in the web page, the current style that is selected in
level. The build tool includes a build engine 352, interface the panel defines the initial settings used when creating the
354, screen sensing mechanism 356, multi-dimensional array object in the web page. As such, button, image and paragraph
structured database 358, interface's database 360, web page style setting and technology will be invoked at 20 depending
Scaling engine 364, time line engine 366 and installation 65 on the user input. The processes invoked by the paragraph
Program 368. The operation and use of each of these compo style setting and technology is described in greater detail
nents is described in greater detail below.                       below in association with FIG. 13.




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  After the input is processed as described above, a check is       multiple object states, responsive to various user interactions,
made to determineifone or more animation or transformation          which can result in numerous types of visual and audio
(interaction) techniques are to be invoked at 23. The run time responses and actions.
engine provided in accordance with the teachings of the                Referring now to FIGS. 4a and 4b, a run generation pro
present invention Support various user interactions, including cess 360 begins by invoking the run generation procedure
Support for numerous animation and transformation tech 377. The run generation procedure 371 begins by creating the
niques, and both web page and object time lines. Depending external database (part of database 374) at 30. The external
on the user selections, one or more technologies may be database may include references to image, video and audio
invoked. In the implementation shown, the build tool 350 is 10 files, and video and audio channels. The process for creating
configured to check to determine if the input data is related to the external database is described in greater detail below in
plural technologies including: user interaction technology association with FIG. 24. A customized and optimized run
(24), animation technology (25), transformation technology time           engine (run time engine 377) is created at 31. The cus
(26), object time line technology (27) and web page transition tomized       and optimized run time engine (run time engine 377)
                                                                    generates the web pages for the web site and is activated from
animation technology (28). The processes invoked for user 15 the        user's server. The process for creating the run time engine
interaction technology are described in greater detail below in 377 is described in greater detail below in association with
association with FIG. 16. The processes invoked for anima FIG. 25. The HTML shell file is created at 32, and then the
tion technologies are described in greater detail below in CAB and JAR files are created at 33a . The HTML Shell file
association with FIG. 17. The processes invoked for transfor includes JavaScript Code to activate and interrogate the page
mation technologies are described in greater detail below in size generation engine 376, and to activate the entire runtime
association with FIG. 18. The processes invoked for object engine. The CAB and JAR files both include the runtime
timeline technologies are described in greater detail below in engine and database in compressed executable form. The
association with FIG. 19. The processes invoked for web page CAB file(s) will be activated by the HTML shell file if it
transition animation technologies are described in greater senses the browser as being Microsoft Explorer, otherwise it
detail below in association with FIG. 20.                        25 will activate the JAR file(s). The processes for creating the

   After the build tool 350 has processed the user input, one or HTML Shell file and the CAB and JAR files are described in
more file operations can be invoked at 29a. In one implemen greater         detail below in association with FIG. 26 and FIG. 27.
                                                                    respectively. The run generation process portion of the run
tation, the file operations are “save”, “save as”, “new”.
“close”, “open”, “apply” and “web site'. If “open” or “web 30 processes is completed as the HTML shell file and the CAB
site' are selected, the build tool 350 initiates the dynamic web and JAR files are uploaded to the users web site at 33b.
page resizing process at 29c (See FIG.22). If “save' or “save          After the upload, the run time process 365 portion begins
as are selected, the build tool 350 initiates a run generation with the run time engine 377 invoking a web page size gen
process (See FIG. 4 and FIG. 24). File operations “close'.          eration technology (engine) 376 at 34. The web page size
“open”, and “new” can also initiate the run generation pro 35 generation technology can be used to determine the screen
cess, based on the State of the build process and user action.      resolution and the current browser window size. The process
                                                                    for invoking and initializing the web page size generation
   At any time during the processing of user input, one or technology
more view operations can be invoked at 29b. In one imple with FIG. 28.is The       described in greater detail below in association
                                                                                        external database is read and the necessary
mentation, the view operations Supported are “normal”, “pre objects generated at
view”, “play', and "Zoom' (at various Zoom percentages). If 40 These objects include35image, from their stored external references.
                                                                                                    audio, and video objects. The
any of the "Zoom’ levels are selected, the build tool initiates processes for generating the necessary        objects are described
the dynamic web page resizing process at 29c (See FIG. 22). in greater detail below in association with            FIG. 29. A web
If the “preview’ or “play' view operations are selected they
will initiate the run time process (See FIGS. 28 through 36). page        generation and Scaling technology (web page scaling
                                                                    engine 372) is then invoked at 36. The web page scaling
   FIG. 4a shows a run generation and runtime tool 370 at the 45 engine 372 can be used to reformat and scale objects that had
detailed component level. The run generation and runtime been placed in a web page during the build process. The
tool 370 includes a run generation procedure 371, web scaling processes employed by the web page generation and Scaling
engine 372, a database 374 and a (web) page size generation technology are described in greater detail below in associa
engine 376 and run time engine 377 including a runtime user tion with FIG. 30. The run time engine then, as necessary,
interaction engine 378, a runtime timeline engine 380 and a 50 executes a multilevel web page and object thread technology
runtime drawing, animation, audio, and video engine 382. In at 37 while the runtime user interaction portion 378 of run
one implementation, run time engine 377 includes plural time engine 371 responds to user interactions at 38. The
engines, each of which may in themselves include plural processes invoked by the multilevel web page and object
engines.                                                            thread technology are described in greater detail below in
   FIG. 4b shows the run processes including methods for 55 association with FIGS. 31-35. The processes invoked by the
creating the run time files, including the external database, the run time engine to respond to user interactions are described
web site specific customized run time engine, the HTML shell in greater detail below in association with FIG. 36.
file, and the compressed CAB/JAR file. The run processes
also include methods for Scaling each web page to the web           Detailed build processes
surfers then current screen resolution and web browser win 60          Referring now to FIGS.3a and 5 through FIG.22 the build
dow size. After a web page has been scaled, a run time engine tool 350 and its associated build process are described. Refer
executes a multi-level thread technology, which presents to ring first to FIGS. 3a and 5, initialization methods are shown.
the viewer web pages that can operate under time lines that At 39 the build tools are created as part of the execution of the
may include animated transitions. Associated with the web installation program 368. They can include:
page time lines can be object time lines that may define 65 1: Initial build tool HTML/JavaScript file (IBTF)
entrance, main and exit animations, transformations, and Syn           2: An initialization engine (IE).
chronized time lines for child objects. Each object can have           3: A build engine.



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  4: The build engine parent HTML frame file. (PFF).           engine's HTML definition file. At 43 the IE then asserts the
  5: A “Control Panel and Status Line” HTML/JavaScript         required security permission and at 44 creates a build engine
     File (“panel”) for:                                       HTML definition file and writes this file to the local disk (as
     Controlling the JavaScript database.                      appropriate). At 45 the IBTF then turns control over to the
     Calling and initializing all pop-up windows.              PFF for activating the “panel and build engine and display
     Reading all pop-up window values, and updating a Java     ing the build engine user interface screen.
        Script database                                           The build engine user interface screen includes a “panel
     Calling the build engine and passing all necessary data   portion and a build engine portion, each of which are loaded
        and status information.                                into their respective frames, after which the web site page(s)
      Polling the build engine for two-way JAVA/JavaScript 10 build process can begin. Screen shot FIG. 37 shows a repre
        communication.                                         sentation of the user interface presented by the build tool. The
      Displaying and updating the status of its interface user interface includes a panel 400 and build frame 500. Panel
        objects.                                               400 includes a menu bar 410, menus 420 and sub-menus 430,
      Issuing alert messages.                                  tool bars 440, status fields 450, interactive fields 460, inter
      Processing direct user interactions with the panels 15 active pull down lists 470 and operational pop-up windows
        interface objects.                                     480. The menu bar 410 can be used for selecting a menu
   6: Numerous HTML/JavaScript files, one for each pop-up command that will cause a menu to be drawn. The menu (one
      window.                                                  or menus 420) can be used to select a feature command that
   7: JAVA applets, embedded in HTML/JavaScript pop-up could cause an operational pop-up window to be drawn, a
      window files.                                            direct user input technique or object manipulation technique
   8: A build engine HTML definition file that is created and to be activated, or a sub-menu 430 to be drawn. A sub-menu
      modified dynamically.                                    (one of Sub-menu 430) can cause the same type of events as
                                                               that of a menu. The toolbars 440 include various icons that are
d The initialization and build engines can be placed in a JAVA shortcuts to feature commands that are also available through
wrapper so that JavaScript code may receive and process 25 the menu bar and its menus. In addition, the tool bar 440 can
return values from JAVA methods. The initialization and build
engines are also created in a "Signed’ CAB file, and assigned be         used to show the current state of a feature. Status fields 450
                                                                      show the current value of a certain setting. Interactive fields
the necessary security rights, so that the engines can assert the 460      also show the current value of a setting, but can also be
necessary permissions, if permitted by a given browser's directly               changed by the user by typing into the field, with the
security manager, when read or write operations are required. 30 result immediately          processed by the build engine 352 and
In one implementation, an installation program is run prior to displayed in the build           frame 500. Interactive pull-down lists
the first use of the build tools. After installing all of the files, 470 also show the current
the installation program can install the necessary class librar with a mouse click, will dropvalue         of a setting, but, if selected
ies required by the run generation process in which the cus have an elevator attached. Thedown              a selection list, which may
                                                                                                        user can click on an item in the
tomized and optimized run time engine is created (See FIG. 35 selection list, which will become the current setting with the
25). The installation program can also set the necessary envi result immediately processed by the build engine 352 and
ronmental variables and installation options.
   At 40 the web surfer points a browser at (i.e. calls) an initial displayed
                                                                      480  can
                                                                                  in the build frame. Operational pop-up windows
                                                                                have tabs assigned if the number of choices within the
build tool HTML/JavaScript file (IBTF). At 41 the IBTF pop-up window
identifies the current browser type and version number. Pres 40 through a pop-upis window, large. One or more settings can be changed
ently, each browser has different security manager implemen cessed by the build enginewith                the results immediately pro
tations. In one implementation, the invention Supports the frame 500. These interface352techniques         and displayed in the build
                                                                                                                      are described in
following three categories:
   1: With appropriate signing and time stamping, and with greater             detail below in the build process.
      appropriate assertions of permissions, the browser will 45 as The       build frame 500 is used to present the actual web page
                                                                          constructed by a user. The user can directly enter text,
      permit local read/write operations.
   2: With appropriate signing and time stamping, and with import              images, video and audio for display/playback and
                                                                      create animations and transformations that can be viewed in
      appropriate assertions of permissions, the browser will the build frame. FIG. 6, with its attendant screen shots FIGS.
      permit local read operations, but write is only legal if 38 through 48, shows the user input techniques supported in
      Sent to a Server.
                                                                      one implementation of the invention. In one implementation,
   3: Local read/write operations are illegal, but are permitted 50 the
      on the server.                                                       user inputs supported include: selection from a JAVA
                                                                      window object (48); selection from a JavaScript window (49)
The IBTF can include a flag that can be set to indicate which including selection with dual spin control (50a) or selection
security implementation is Supported, so that all Subsequent from a JavaScript child window object (50b); direct text entry
read/write operations will comply with the current browser's 55 (51); page resizing (52); direct object manipulation (53); and,
Security manager.                                                     selection from a JavaScript panel (54).
   At 42, the IBTF causes the browser to execute the IE so as            In the implementation shown, of the six user input tech
to sense the screen resolution and for adapting the interface to niques sensed at 13, the code for Supporting selections from a
the user's screen resolution. In one implementation, after JavaScript pop-up window at 49 and selections from the
entering a delay loop and waiting for the IE to report it is fully 60 “panel at 54 were implemented entirely in HTML/JavaS
loaded and initialized, the IBTF calls two IE methods, which          cript Code, while support for direct text entry at 51 and direct
return the width and height of the current screen and browser web page object manipulation at 53 were implemented
window. The IBTF then checks for the presence and value of entirely in JAVA (or any other browser-based full featured
a “mode cookie', to determine whether this is an initialization       programming language). In one implementation, code for
process, a web site open command process, or a dynamic web 65 supporting selections from a JAVA Window object at 48 and
page resizing process. If the mode cookie is set to initialize, or dynamic web page resizing at 52 are implemented using both
it doesn't exist, the IBTF calls the IE to generate the build HTML/JavaScript and JAVA. Those of ordinary skill will



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recognize that, JAVA could have been used more extensively          JavaScript reads or the pop-up windows JavaScript writes
to implement the methods described at 48, 49 and 54. How            the pop-up window's field values, causing the panels data
ever, in order to achieve the most intuitive and MS Windows         base to be updated, and the panel then calls the appropriate
like interface, and because effective two-way communication         build engine 352 method, passing as arguments the necessary
between JavaScript and JAVA had been achieved (See FIG.             data and status conditions. Initializing the pop-up windows
9), the languages proposed appear to best Support the particu       values and updating the panels database upon completion
lar user input technique.                                           can alternatively be implemented by JavaScript functions
   For example, FIG. 23 shows an actual file selection win          executed within the pop-up windows HTML file.
dow 2300, implemented by the invention. This type of file               In addition, there are interface extensions that can extend
selection window is available in JavaScript/HTML, but not 10 beyond the usual MS Windows implementations. One is sup
supported by JAVA for applets. File selection window 2300 port for a selection from a dual spin control at 50A. Screen
greatly enhances the interface for the user, as the image,           shots FIGS. 42-45 show a visualization of an implementation
Sound clip, or video clip names need not be memorized. File of this interface technique. Screen shot FIG. 42 shows the
selection window 2300 further eliminates possible operator mouse placed over an upper spin control. Screen shot FIG. 43
error when typing in a pathname or filename. The present 15 shows the result after the user clicked once on the upper spin
invention utilized the strengths of JavaScript/HTML with the control. Notice that the value has been incremented by 1, and
power of JAVA to create a unique browser based interface the text button object is now at a larger point size. Screen shot
solution. In one implementation, the HTML form element FIG. 44 shows a combo box list selected by the mouse with
“INPUT type=file' was embedded in a JavaScript pop-up the user about to select a significantly larger point size. Screen
window to create the file selection window. The file selection       shot FIG. 45 shows the result of that selection, including the
window returns a string value of the image (or other file type) effect on the text button object.
pathname to the pop-up window. The pop-up windows Java                  In one implementation, dual spin controls are Supported as
Script then could be used to call a JavaScript function in the follows. Each spin control has three visual states, so that when
panel (panel 400) which:                                             the user places the mouse over the control it appears to light
    1: Reads the pathname value in the pop-up window.             25
                                                                     up, and when the mouse button is depressed (pressed down),
   2: Creates a string version of a valid URL by adding the the spin control is modified to give the appearance of being
       correct URL protocol to the string.                           pressed. JavaScript methods are called in the panel (panel
   3: Updates the panels database (interface's database 360).        400) to:
   4: Calls a JAVA method in the build engine, which casts the
       string value of the URL into a URL object, creates an 30 2:1: process
                                                                           range
                                                                                   each mouse click event over either spin control,
                                                                                 check  as necessary,
       image object which is then drawn on the screen, and
       updates its internal database.                                   3: update the  value in the HTML frame object residing in
   User inputs that area selection from a JAVA window object               the pop-up window,
(48) permit the implementation of a vast array of intelligent           4: update the JavaScript (panel 400) database,
user input interface objects, from sliders to dials, which are 35 5: call the build engine 352, if necessary, passing the nec
extremely intuitive and significantly enhance the user's ergo              essary value and status.
nomic experience. In one implementation, user input inter
face objects are supported as follows. When a selection from If the mouse is clicked on a combo box, the selection window
a JAVA window is detected, a pop-up window (applet) is opens in the usual way. If a mouse click in that window is
presented (associated with the feature being manipulated, 40 detected, another JavaScript method in the panel 400 is called
e.g., color, Volume) and an engine method is called to begin to update the JavaScript database, and call the build engine
two-way communication (for passing as arguments any nec 352, if necessary, passing the necessary value and status as
essary status information). The engine begins polling a JAVA function call arguments.
abstract object waiting for a static variable's value to change.        Another interface extension is selection from a JavaScript
The pop-up applet processes the value as defined by a user 45 child window at 50B. This technique helps simplify the num
interaction event, and updates the static variable in that same ber of choices given to the user in a complex pop-up window
JAVA abstract object with the new value. Upon detecting a operation. A selection from a JavaScript child window can be
change in the polled Static variable, the engine calls the nec       supported as follows. The panels (panel 400) JavaScript
essary methods to process that new value. These methods opens the pop-up window. The pop-up window and its child
include can include a brightness filter that is applied to the 50 pop-up windows initial values are set from the JavaScript
image bitmap utilizing techniques very similar to that of that database defined in the panel 400. The pop-up windows
employed by the “fade in and “fade out animations,                   JavaScript opens the child pop-up window and sets its initial
described in association with FIG. 33                                values. The child pop-up windows JavaScript calls the pop
   User inputs for a selection from a JavaScript pop-up win up windows JavaScript when a completion event occurs. The
dow (49) can be made in a manner identical to that of making 55 pop-up windows JavaScript reads the child pop-up win
a selection from a dialog box under MS Windows, including dows values, sets those values to its own internally defined
the use of tabbed JavaScript pop-up windows. In one imple variables, and calls the panel's JavaScript. The panel's Java
mentation when a selection from a JavaScript pop-up window           Script reads the pop-up windows values (which include the
is detected, the panels (panel 400) JavaScript opens a pop-up        settings for its own fields as well as those of its child win
window. The pop-up windows initial values are set from a 60 dows), updates its database, and calls the appropriate build
JavaScript database defined in the panel or by the panel call engine 352 method, passing as arguments the necessary data
ing the engine for the current values and then setting the initial and status conditions. Screen shots FIGS. 46-47 show a visu
values. In a tabbed JavaScript window, clicking on a tab will alization of an implementation of a JavaScript child window.
call the pop-up window's JavaScript in order to change the Screen shot FIG. 46 show a change text button style pop-up
state and appearance of the tabbed JavaScript window in the 65 window. Screen shot FIG. 47 shows the result after the user
expected way. The pop-up windows JavaScript calls the pan            selected the “Define the Mouse Down Text Button Style”
els JavaScript when a completion event occurs. The panels child pop-up window.



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   Direct text entry is Supported at any arbitrary cursor loca JavaScript detects the user selecting the “Text Style”, “Hot
tion. In one implementation, "text areas are utilized in an Link”, “Preferences' or “Format' choices, it creates the
unconventional way, in order to Support full text entry, text appropriate pop-up window. Upon detecting a user comple
editing, text button and paragraph styles, and reformat. Direct tion event, the panels JavaScript reads the data settings in the
text entry can be defined at any arbitrary cursor location, and 5 pop-up window, closes that pop-up window, and sends this
then text can be dragged to any other arbitrary location.          data to an appropriate build engine method for processing
   Text areas are objects that are utilized by JAVA primarily as   (See FIG. 11).
an interface object for the implementation of a form and are          Dynamic web page resizing at 52 is invoked when the build
generally “added to the screen at the initialization time of a engine 352 detects a user initiated web page resize event. This
JAVA applet. Text areas are decidedly not WYSIWYG. The 10 could be caused by the “Open” or “Web Site” commands
present invention creates text areas dynamically. Screen shots from       the "File' menu, or from a "Zoom’ command from the
FIG. 38 through FIG. 41 show a visualization for an imple “View'              menu. This technology is explained in detail below in
mentation of this technique. Screen shot FIG. 38 shows the association with FIG. 22.
user selecting a text object from the create text icon object
from a tool bar of the panel (panel 400). When the text icon 15 Directresizing object manipulation at 53 includes dragging of any
object is selected, the cursor shape is changed to indicate the object,
                                                                   manipulation
                                                                                      of non-text objects, rotation and other image
                                                                                   functions,  as required. The processing for direct
selection while the text icon object is in the select state.
Screen Shot FIG. 39 shows that the cursor has changed shape object          manipulation begins by analyzing the type of object
                                                                   selected and the state of the object, as set by the interface
and that the user has placed the cursor at an arbitrary location based     on a user's panel selection. The build engine 352 then
on the web page. Screen shot FIG. 40 shows the result after changes           the mouse cursors appearance, and the type of selec
the user has clicked the mouse. A text insertion point and a tion        rectangle, including which attachment points, if any,
selection rectangle are drawn at the arbitrary web page loca
tion. Screen shot FIG. 41 shows the result after the user has      should be drawn and activated. (See FIG. 10 for the mouse
pressed the letter “W on the keyboard. As can be seen in event             processing technology and FIG. 12 for image process
                                                                   ing technology). In one implementation, the same direct
screen shot FIG. 41, a draw method associated with the build 25 object      manipulation polling technology is used as described
process immediately hides the text area. However, text editor above with         regard to direct text entry.
methods associated with the build process continue to utilize
the text area as a hidden, dynamically resizing frame, whose          If a  selection of an interactive field, interactive drop-down
size is subject to text button or paragraph style settings, by the list object, or a toll bar icon object from the JavaScript panel
amount of text, by the texts orientation (vertical or horizon 30 is detected at 54, then the following steps can be invoked,
tal) and by the texts font style(s) and fontsize(s). As the build depending on the selection. The point size of a paragraph, a
engine 352 detects a relevant mouse event or keyboard event, marked text range inside a paragraph or text button object can
the build engine 352 updates the necessary variables that are be changed. The state of an object’s 3D frame can be changed.
defined as return values in specified build engine methods.        In one implementation, three States for an object frame are
Polling technology (see FIG.9) retrieves the relevant values 35 supported. The 3D frame can be drawn as a “raised 3D
and calls the necessary JavaScript method for processing. In object, as a “depressed 3D object, or as a “raised 3D object
one implementation, these same techniques (text area tech that turns into a “depressed 3D object if a mouse down event
niques) are used in the scaling technology (See FIG. 30). is detected over the object to which the 3D frame is assigned.
Since the direct text entry and editing processes bypass com An objects style can be changed. The current web page can
pletely the interface and the JavaScript code, the polling 40 be changed. Finally, any other operation that has been defined
technology (See FIG.9) is used to pass the text string values by a tool bar icon object in the panel can be invoked. This
back to the JavaScript database, in order for the interface's includes the “file” menu choices of new, open and save, the
pop-up windows to be correctly initialized for Subsequent text 'edit’ menu choices of cut, copy and paste, inserting a text,
operations.                                                        button or image object onto the web page, applying or remov
   Direct text processing at 51 begins with the build engine 45 ing the bold, italic, and underline text attributes for a text or
352 detecting a “Mouse Drag” or a “Mouse Double Click” button object, centering or uncentering any web page object,
event. In one implementation of the present invention, if a setting the animation for a button or image object, changing
mouse drag event is detected, the entire initial anchor word the Zoom level of the web page, or previewing the web site.
(assuming the “mouse down” event placed the text insertion            As each new user input is received and processed in accor
point within a word) is selected as well as the entire closing 50 dance with the steps shown in FIG. 6, at all times the internal
anchor word. If a double click event occurs over a word, the       databases of the JavaScript panel and the build engine 352 are
entire word is selected. If a double click event is detected over  maintained completely in Synchronization. Synchronization
a special hot Zone (for example, just to the left of a paragraph is maintained so that: all status information displayed by the
line), then an integral number of words are selected. Appro panel is current and correct; all data and status information
priate four-dimensional variables are set, and a draw system is 55 passed to the build engine 352 from the interface are consis
called. The draw system paints the selected line segment in tent with the build engine's state at any given time; the values
the marked text background and text color. The build engine in all pop-up windows are correctly initialized. In order to
352 then sets a return flag to be read by the polling technology meet these requirements, all of the variables in the JavaScript
(FIG. 9). A panel JavaScript poller (FIG. 9) detects this flag panel database are explicitly “typed, to be compliant with
and redraws the panel’s “Text menu object showing the 60 the strict variable typing methodology generally imposed in
choices available when text is selected. In one implementa all full featured programming languages Such as Java. As
tion, the “Text” menu includes choices of “Text Style”, “Hot JavaScript does not explicitly type anything, where using
Link”, “Preferences', and “Format. The states for the tool         JavaScript herein, all String, Boolean, and integer variables
bar icon objects of “Bold”, “Italic' and “Underline” are set are typed. Full two-way real time communication Support
appropriately as is the setting for the point size interactive 65 between the JavaScript/HTML interface and the JAVA build
drop-down list. The panels JavaScript then calls an appro engine 352 is provided as described below in association with
priate build engine method that resets the flag. If the panels FIG. 9.



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   FIG. 7a shows four tools utilized for an implementation of with the revised values from its own fields and then calls the
the pop-up window and panel interface technology (15 of appropriate JavaScript function in the panel for further pro
FIG. 3). The panel and pop-up windows make extensive use cessing. Both implementations, and any combinations, assure
of JavaScript mouse events, including onMouse own, that the pop-up windows are correctly initialized, the panels
onMouseUp, onMouseOver, onMouseOut, onClick and database is correctly updated, and the data is successfully sent
onchange methods (56). The pop-up windows make exten to the build engine 352 for processing.
sive use of the JavaScript onload and onlJnLoad methods. In           Extensive use of JavaScript technology is employed to
one implementation, when a pop-up window is loaded by the enhance the user interface and for communication between
panel, the panel goes into a wait loop, set for 5 times a second the various HTML frames and/or files, within a given HTML
using the JavaScript setTimeout method, interrogating in 10 frame or file, between an HTML frame and the JAVA engine,
each loop whether the pop-up windows status flag has been and as a bridge between two different JAVA applets (57).
set. Meanwhile the pop-up window, when loaded by the Extensive use is made of JavaScript arrays to store the values
browser, executes the onload method in order to set a flag in ofall page and object attributes, to initialize the correct values
the panel informing the panel that the pop-up window is now in all pop-up windows, and to pass data and status to the
loaded. Upon detecting the load event completion, the panel 15 engine. Various JavaScript techniques are employed to “type
then proceeds to initialize the fields in the pop-up window.       all variables (JavaScript does not explicitly type anything as
The panel will always close a pop-up window after detecting described above) as a prerequisite for passing values to the
its completion event. However, if the user has closed the build engine 352. Variables that should be typed as strings,
pop-up window in a non-standard way, the pop-up window integers and Booleans are typed through the use of "Eval' and
executes the on Jnload JavaScript method, which sets a flag “New JavaScript functions. The choice of color, found in
in the panel notifying it that the pop-up window has been most pop-up windows to define one or more color elements,
closed.                                                            can be implemented utilizing several innovative JavaScript
   The JavaScript code in the panel and in all pop-up windows techniques. They include:
make extensive use of JavaScript method onKeyDown for the             1: Defining a complex image map through a JavaScript
following operations:                                           25       function utilizing arrays. Screen shot FIG. 48 shows a
   1: When the focus is on the icon representing completion              visualization of an image map. A JavaScript computa
      (“OK” is used in many MS Windows applications) caus                tional loop utilizing arrays can be used to define each
      ing the enter key to initiate a pop-up window/panel                individual rectangle in this color palette with its appro
      completion event.                                                  priate RGB value and a function call to the appropriate
   2: When the focus is on the icon representing cancellation 30         JavaScript method.
       “cancel is used in many MS Windows applications)               2: Limiting the color choices from the image map to only
      causing the Esc key to initiate a pop-up window/panel              those colors that are designated as safe colors. Safe
     cancellation event.                                                Colors are the subset of all colors that are browser inde
  3: When the focus is on any pop-up window or panel object, 35         pendent, assuring a consistent color look across all
                                                                        browsers.
     Such as a data entry field, a check box, a radio button, a
     drop-down and Scrollable list, a scrollable list, an icon,       3: Supporting a dual color selection technology. The user
     or a DHTML tab object (discussed below), the naviga                 can be presented with a color palette and can click on a
     tion keys are captured by the onKeyDown method, a                   particular color in the color palette. Image map technol
     JavaScript function is called, and the appropriate change 40        ogy can call a JavaScript function, which converts that
     is made.                                                           choice into a RGB numeric definition. This definition
                                                                        updates the RGB values shown in screen shot FIG. 48, as
For all pop-up window and panel objects, when the Tab key or            well as passing those values, though an appropriate
the combination of the Tab key with the Shift key are detected,         function call, to a build engine JAVA method. The build
the onFocus JavaScript method is employed and the focus                 engine 352 will then draw the actual color immediately
moves to the appropriate pop-up window object. If the pop-up 45         on the web page. Alternatively, the user can select a
window or panel object is a data entry field, drop-down list or         value from Red, Green or Blue selection lists, which can
a scrollable list, all cursor key operations are detected and the   be implemented using an HTML drop-down list form
insertion point is adjusted accordingly. If the pop-up window       object. The value selected is then processed by an appro
or panel object is a check box, radio button a icon, or a           priate JavaScript function call to a build engine method,
DHTML tab object, and a cursor key (up, down, left, right, 50       which converts the RGB to a JAVA compliant value, and
home and end keys, with or without the Ctrl or Shift keys) is       then draws the actual color on the web page.
detected, the onFocus JavaScript method is employed and the      4: Supporting True Transparency. For appropriate color
focus moves to the appropriate pop-up window object.                elements, such as the background for a text button
   One methodology for this feature requires that all keyboard      object, the user can choose, either from the color palette
events be monitored, at all times. When the scan code for the 55    by clicking on a “transparency” rectangle, as described
enter key is detected, the appropriate JavaScript function is       above, or by selecting “TR from a Red, Green or Blue
called to close a pop-up window and to call the appropriate         Selection list. This choice is then processed by an appro
JavaScript function for processing of the relevant data (up         priate JavaScript function call to a build engine method,
dated in the window) and communicating, as necessary, with          that in turn sets a particular flag for the draw system (of
the build engine 352. In another implementation, rather than 60     the Build Tool) to not draw a background color for that
the panel going into a wait loop awaiting notification from the     object.
pop-up window for data initialization purposes, the pop-up       Innovative techniques are used to enable JavaScript to
window, when loaded, executes the onload JavaScript dynamically create HTML code based on real time condi
method, and reads the required data values directly from the tions. Cookies can be used for data communication between
panels database, utilizing the JavaScript “openerfieldname 65 HTML frames and HTML files, some of which were created
.value” technique. Similarly, the pop-up window, when in real time. Many unique combinations of HTML elements,
detecting its completion event, updates the panels database including frames, forms, and tables, enhanced by JavaScript



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code, are utilized to create a extensions beyond that of the MS    style attribute thus resulting in the appearance as shown for
Windows interface (58). For example, a dual combo box/spin the image menu command in screen shot FIG. 37, even when
control for both Small and large numeric incremental jumps the mouse has been moved off the menu object. If a mouse
can be implemented by a combination of form and table over user interaction event is detected over an active menu
elements, mouse events, and JavaScript methods.                    DHTML object at 278, a generalized JavaScript function is
   Extensive use of Cascading Style Sheets (CSS) was called in which three DHTML objects are passed as function
employed to create a consistent look for all pop-up windows, call arguments as well as a menu command name. These
and for precision placement of various HTML elements (59).         DHTML objects are the ones defining the mouse over state,
   FIG.7b shows a detailed view of the build time techniques the mouse down state, and the associated menu. This JavaS
for implementation of panel interface objects, including the 10 cript function first tests to see if a menu has been activated by
menu bar, menus and Sub-menus, the tool bars, status fields,       a previous mouse down event and is still visible. If so, a
interactive fields, and interactive pull down lists, in accor generalized “reset visiblity states’ function is called, then
dance with one implementation of the present invention (15 both the mouse down and associated menu objects are set to
of FIG. 3). These techniques create panel interface objects visible. Finally the same menu specific function is called as
that have the same look and feel of those which are imple 15 with the mouse down event. If no menu is visible, then the
mented under the various MicroSoft Windows Operating object associated with mouse over state is set to visible. If a
Systems. In one implementation of the present invention, the mouse off user interaction event is detected over an active
status fields, interactive fields, and interactive drop-down lists menu DHTML object at 281, a generalized JavaScript func
are defined as HTML form objects (text boxes and lists) tion is called in which the mouse over DHTML object and the
embedded within DHTML objects. The menu bar, menus and menu command name are sent as arguments. Logic tests are
sub-menus, and the tool bars can be defined as pure DHTML made to determine which menu command object has been
objects. However, Cascading Style Sheets can be used for all left, as well as whether any menus are currently visible.
panel interface objects; although more extensively with Depending upon the results, the mouse over DHTML object
DHTML objects as will be described below. In an alternative may be set to hidden.
implementation of the present invention, the status fields and 25 In one implementation of the present invention the menus
interactive drop-down lists are defined as pure DHTML and sub-menus at 271 are defined as a set of DHTML objects,
objects.                                                           one for each menu choice, nested inside an DHTML object
   In one implementation of the present invention the menu that defines the entire menu. Each menu object is given abso
bar at 270 is defined as sets of DHTML objects, each set lute positioning, while the menu items are given absolute
corresponding to a menu command. Each set consists of four 30 positioning relative the menu objects origin. Both the entire
DHTML objects with absolute screen positioning, one defin menu and each choice are assigned CSS styles to define their
ing the DHTML object in the Mouse Over state at 278, the visual appearances. For each menu choice the JavaScript
second for the Mouse Down state at 279, the third for the           functions for "onClick”, “onMouseOver and "onMouse
Active state, and the fourth for the Inactive state. Each state      Out' are implemented. If a mouse click event is detected at
has a different CSS style assigned, which defines the visual 35 280 and no sub-menu is defined, a feature specific JavaScript
appearance of that state. When the build tool is initialized at function is called. First the menu bar and the menus are set to
FIG. 5, the appropriate menu commands are initialized as their appropriate visibility states. Then setting their visibility
active or inactive at 277. If the menu command is defined to be      attribute style to “visible' activates the appropriate tool bar
inactive, that DHTML inactive object is assigned by a Java icon DHTML objects. Finally the feature specific JavaScript
Script function to the “visible' style attribute, while the other 40 code is executed as discussed herewithin, which may cause a
three DHTML objects are assigned the “hidden' style pop-up window to be displayed, the Panels database to be
attribute. Screen shot FIG. 38 shows a visualization of the          updated, and/or the build engine 352 to be called. If a mouse
“Interactions' menu command in the inactive state. In the           over event is detected at 278 and no sub-menu is defined, a
inactive state all user interactions are ignored. If the menu generalized JavaScript function is called in which the menu
command is defined to be active, that DHTML active object is 45 choice object is passed as an argument. This function first
assigned by a JavaScript function to the “visible” style calls a generalized JavaScript function to close any pop-up
attribute, while the other three DHTML objects are assigned windows, then set a status variable and finally executes
the “hidden' style attribute. While in the active state, the DHTML commands to set the correct text and background
JavaScript functions for “onMouse Down”, “onMouseOp'. colors for the object. If a mouse off event is detected at 282
“onMouseOver and “onMouseOut' are implemented. If a 50 and no Sub-menu is defined for a menu choice either imme
Mouse Down user interaction event is detected over an active       diately above or below, a generalized JavaScript function is
menu DHTML object at 279, a menu command specific Java called in which the menu choice object is passed as an argu
Script function is called. This function sets the DHTML            ment. A status variable is set and DHTML commands are
object for the Mouse Down state to the “visible” style executed to set the correct text and background colors for the
attribute, calls a generalized JavaScript function to reset the 55 object. If a sub-menu is defined for a menu choice object, then
visibility states all the other appropriate DHTML objects, set the same sub-menu specific JavaScript function are called for
certain status variables, and set the DHTML object which both mouse click or mouse over events. This function per
defines the menu associated with that menu command to the          forms the same steps as that of the generalized function that
“visible” style attribute. Screen shot FIG. 37 shows a visual was called for a mouse over event, as well as setting the
ization of the “Image' menu command after having received 60 sub-menu object and its menu choice objects to the visible
a mouse down event, with its associated menu 420 having state. Screen shot FIG. 37 shows a visualization of the menu
been set to the “visible” style attribute. If a mouse up user bar’s “Image' command having been activated, the drawing
interaction event is detected over an active menu DHTML             of its associated menu 420, the selection of the “Enhance'
object at 281, a generalized JavaScript function is called in menu choice, and the drawing of the “Enhance' sub-menu
which the DHTML object defining the mouse over state is 65 430. In the event that the cursor is moved to an adjacent menu
passed as a function call argument. This function sets the choice under the “Image' menu, Such as "Animation” or
DHTML object defining the mouse over state to the “hidden' “Rotate', then a specific JavaScript function is called which,



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in addition to the functions executed by the generalized Java            2: The animation state of the selected button or image
Script mouse over function, also hides the “Enhance' sub                     object.
  C.                                                                       : The Zoom level for the current web page.
   In one implementation of the present invention, the tool                : The point size for the selected text or button object.
bars at 272 are defined as a DHTML objects, and a set of 5                 : The horizontal position, in pixels, of the mouse cursor.
DHTML objects are defined for a tool icon. The tool is given               : The Vertical position, in pixels, of the mouse cursor.
absolute positioning and is assigned a CSS style in order to               : The type of web page object (text, button, image, table,
define is visual appearance. Each tool icon is assigned a set of             form object, draw object, etc.) if selected. The type of
three DHTML objects all with absolute screen positioning.                    object that the mouse is over, if no object is selected.
The first DHTML object defines the mouse over state at 278,              8: The width, in pixels, of web page object (text, button,
the second for the mouse down state at 279, and the third for                image, table, form object, draw object, etc.) if selected.
the active state. Each state has a different CSS style assigned,             The width of the object that the mouse is over, if no
which defines the visual appearance of that state. For each                  object is selected.
tool icon active state object the JavaScript functions for 15            9: The height, in pixels, of web page object (text, button,
“onClick”, “onMouse|Down”, “onMouseUp”, “onMou                               image, table, form object, draw object, etc.) if selected.
seCover and “onMouseOut' are implemented. GIF images                         The height of the object that the mouse is over, if no
are defined for the tool bar DHTML objects, and may be                       object is selected.
always visible. The inactive “grayed out” representations for             Screen shot FIG. 38 shows a visualization of the status
each toll icon can be drawn on this image. When the build tool fields in one implementation of the invention 450. In an
is initialized at FIG. 5, the appropriate tool icon objects are alternate implementation using DHTML objects, the status
defined as active or inactive at 277. The inactive state for an        fields will appear two-dimensional rather than the three-di
tool icon is represented when all three of its associated objects mensional look currently shown.
are assigned the visibility style of “hidden'. Screen shot FIG.           There is one interactive field defined in one implementa
38 shows a visualization for several inactive tool icons includ 25 tion of the present invention. Screen shot FIG. 37 at 460
ing the icon commands for bold, italic, underline, left and shows a visualization of the page number interactive field. In
centered. All user interaction events are ignored in the inac addition to the current web page being displayed, either as a
tive state. If the tool icon, based on the state of the build engine number in one implementation or as a user defined name in an
and based on the polling technology described below, is set to alternative implementation, the user can place the cursor into
an active state, then the tool icon's active state object is set to 30 this field and enter the desired page to go to. A click at 280 or
the visibility style of “visible'. If a mouse click event is then Enter Key event will execute this function.
detected at 280, a feature specific JavaScript functionis called          In one implementation of the present invention, the inter
in a manner identical to that for a mouse click event over a           active drop-down lists at 275 are defined as HTML form lists.
menu choice object as described above. If mouse down or In an alternative implementation, status fields are defined as
mouse up events are detected at 279 or 281, then respective 35 DHTML objects. For both of these panel interface object
generalized JavaScript functions are called, in which the types, under certain conditions, the panel draws status infor
DHTML object defining the mouse down state is passed as a mation into these panel interface objects. The interactive
function call argument. If a mouse down event was detected, drop-down lists behave in a manner very similar to that of
then the generalized function sets the tool icon's mouse down interactive fields, except that when selected, a selection list
object to the “visible” state. If a mouse up event was detected, 40 drops down for selection. Depending upon the number of
then the generalized function sets the tool icon's mouse down entries in the list, an elevator object may be drawn. The
object to the “hidden state. If mouse over or mouse out operations of selecting the interactive pull down list, the
events are detected at 278 or 282, then respective generalized selecting of a list item, or the operation of the elevator is
JavaScript functions are called, in which the DHTML object identical to that of comparable MS Windows objects. In one
defining the mouse over state is passed as a function call 45 implementation of the present invention the interactive pull
argument. If a mouse over event was detected, then the gen down list are:
eralized function sets the tool icon's mouse over object to the           1: Zoom. This interface object has dual spin controls as
“visible” state. If a mouse off event was detected, then the                 described above and is always selectable except when in
generalized function sets the tool icon's mouse over object to               a preview mode. It shows the current Zoom level.
the "hidden' state. Screen shot FIG. 37 shows a visualization 50          2: Button Style. This interface object is always selectable
of the button tool icon with both its associated the mouse                   except when in preview. It shows the button style of the
down and active objects set to “visible'. Screen shot FIG.38                 currently selected button, if any. Changing the button
shows a visualization of the text tool icon with both its asso               style will change the style of the currently selected but
ciated the mouse over and active objects set to “visible'.                   ton, and/or define the style of the next button to be
   In one implementation of the present invention, the status 55             created.
fields at 273 and the interactive fields at 274 are defined as            3: Point Size. This interface object has dual spin controls as
HTML text boxes. In an alternative implementation status                     described above and is selectable when a text or button
fields are defined as DHTML objects. For both of these panel                 object is selected. It shows the point size of the currently
interface object types, under certain conditions, the panel                  Selected text or button object, if any. Changing the point
draws status information into these panel interface objects. 60              size will change the point size of the currently selected
This information can result from user input as discussed in                  text or button object.
FIG. 6, or through the polling and two-way communication                  4: Paragraph Style. This interface object is always select
technology between the interface and the build engine 352 as                 able except when in preview. It shows the paragraph
discussed below. In one implementation of the present inven                  style of the currently selected paragraph, if any. Chang
tion the status fields are:                                         65       ing the paragraph style will change the style of the cur
   1: The color of the selected web page object, in which the                rently selected paragraph, and/or define the style of the
      red, green and blue settings are shown.                                next paragraph to be created.



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   5: Frame State: The state of the 3D frame (none, raised,           FIG. 21a), screen resolution values (See FIG. 21a and FIG.
      pressed or live) of the currently selected text, button, or 24), and the web page high watermark setting (See FIG. 24)
      image object.                                                   can be stored in a header record as boolean and integer vari
   6: Image Style. This interface object is always selectable ables and URL and color objects at 62 and 63. Data that
      except when in preview. It shows the image style of the 5 defines web page, paragraph, text button, and image style and
      currently selected image, if any. Changing the image text button, image and paragraph high watermark settings can
      style will change the style of the currently selected be stored in one-dimensional arrays as boolean, integer and
      image, and/or define the style of the next image to be string variables and URL, font, image or thread objects at 61
      created.                                                        and 64. The URL, color, font, image and thread objects can
   Screen shot FIG. 37 shows a visualization of interactive 10 also be created as required at 64.
drop-down lists 470. In an alternate implementation using                Data that defines text button, image, paragraph, or other
DHTML objects, the interactive drop-down lists will appear parent objects and paragraph line high watermark settings can
two-dimensional rather than the three dimensional look cur            be stored in two-dimensional arrays (by web page and by
rently shown.                                                         object number) as boolean, integer, String, floating point vari
   Tool bar icon objects, status fields, interactive fields, and 15 ables and URLs at 65 and 66. Again, the URL, color, font,
interactive pull down lists all show feedback of the current image, audio clip, video clip, text area and thread objects can
build engine state. The technology utilized by one implemen also be created as required at 66. Data that defines a paragraph
tation of the invention is described below.                           line and paragraph line segment high watermarks can be
   FIG. 7c shows a detailed view of the of the build time             stored in three-dimensional arrays (by web page, by para
techniques for implementation of tabbed pop-up windows 20 graph number, and by line number) as Boolean, integer or
(15 of FIG. 3). These techniques create a pop-up window               string variables at 67 and 68. Again, the URL, color or font
interface that visually and behaviorally is identical to that objects can be created as required at 68. Data that defines a
which is implemented as dialog boxes under the various paragraph line segment can be stored into four-dimensional
MicroSoft Windows Operating Systems. Pop-up windows arrays (by web page, by paragraph number, by line number
can be non-tabbed as described in FIG.7a, or can have from 25 and by line number segment) as Boolean, integer or string
two to as many as 10 or more tabs, depending upon the variables or URL, color and font objects at 67 and 68.
complexity of the choices available to the user for a given              As a data field is added, changed or deleted, a determina
feature. In one implementation of the present invention each tion is made at 69 on whether a value for a given high water
tab at 283 is defined as a DHTML object at 284. The tab is mark needs to be changed. If so, it is updated. As a specific
given absolute positioning and is assigned a CSS style at 286 30 method in the build engine is called, a determination is made
in order to define is visual appearance. When a click is at 70 on whether a feature flag needs to be set. For example,
detected through the JavaScript “onClick” function, a tab if a particular JAVA method is called, which requires an
specific JavaScript function at 285 is called within the pop-up instance of a certain JAVA Class to be executed by the run
window’s HTML file. This function sets the display style time engine, then that JAVA Class is flagged, as well as any
attribute for the DHTML objects that define the settings for all 35 Supporting methods, variables and/or object definitions. The
the non-selected tabs to the display style attribute of “none'. use of these flags is described in greater detail below in
The DHTML objects that define the GIF image of the non association with FIG.25 and FIG. 27 to create a compact and
selected tab file representations are also set to the display style efficient customized run time environment.
attribute of “none'. The display style attribute for the                 In one implementation, the header record, the style record,
DHTML objects that define the settings of the currently 40 the web page record, and the object records, are carefully
selected tab and the GIF image that depicts the selected tab defined in a specific order, written in that order, and explicitly
file representation is set to the display style attribute of “”. If cast by object type when read by the run time engine. Excep
there is to a change of the focus of the selected field within the tion handling can be implemented to recover from any errors.
now to be visible tab specific choices, the focus attribute for This helps assure that data integrity is maintained throughout
that object is executed. Screen shot FIG. 37 shows a visual- 45 the build and run time processes.
ization of a tabbed pop-up window, and screen shot FIG. 63               FIG. 9 details the polling process (16 of FIG. 3). The
shows a collage of four views of a tabbed pop-up window polling technology is essential for creating the necessary
with four tabs. Notice that each state of the tabbed pop-up two-way real time communication between the JavaScript/
window has a different tab file representation, showing the HTML interface and the JAVA build engine. Since there is no
selected tab as being in the forefront.                            50 particular difficulty for JavaScript to be able to call and pass
   The interface technology of the invention, in addition to its values directly to JAVA methods, the technological challenge
utilization as part of a web-based web site generation tool, can is to find a reasonable technique to enable JAVA to commu
be used to provide a general purpose interface for all web nicate back to JavaScript. The polling technology is generic,
based applications that want a MS Windows compliant inter and workable across all the current browsers. The polling
face.                                                              55 technology is flexible, as there are no real constraints as to
   A process for updating the internal database of the build what data could be communicated from the build engine to
engine 352 is shown schematically in FIG.8. The database is the interface, and this communication can occur at any time.
compact and efficient in order to meet the performance The polling technology is reasonably efficient, so that the
requirements for the run time process. The database handles a performance of the build process is not significantly affected.
wide selection of data objects, including multi media objects 60 In one implementation, two different techniques were uti
Such as colors, fonts, images, Sound clips, URLs, threads, and lized to implement this capability. The first was to place the
Video. The database Supports a multi level animation, trans build engine inside a JAVA wrapper. The JAVA wrapper
formation, and time line model (discussed in greater detail accepts direct communication from JavaScript function calls,
below). The database complies with the differing rules interrogates a particular JAVA build engine method, and
imposed by the various popular browser security managers. 65 returns that methods return value back to the calling JavaS
   The process begins by determining the type of data to be cript function. The second technique was more unconven
updated at 60. Data that defines generic web site settings (See tional. A polling loop is defined in the panels (panel 400)



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JavaScript that creates a near continuous, at least from a              The poller can infer that a double click or mouse drag
human perception point of view, dynamic real time link, in operation has occurred if the flag indicating a double click or
order to monitor events occurring inside the build engine. The mouse drag operation is detected at 75. The poller calls a
result is a real time retrieval (from an ergonomic perception panel JavaScript function that, in turn, calls the build engine
point of view) of necessary data and status settings from the to reset the flag. The poller then calls a panel JavaScript
build engine back to the interface.                                  function to display the appropriate panel menu choices. For
   Upon the loading of the panel HTML file, a JavaScript example, if the double click or mouse drag event occurs
function at 71 (the poller) is immediately called which ini within a text object, then the “Text Style and “Hot Link' menu
tiates a polling loop. In one implementation, the polling loop 10 choice     objects become active under the panel’s “Text menu
is set at a poll rate of once every 100 milliseconds or less. The object.
                                                                        Depending on the object type (76), the polling technology
polling routine, operating through the JAVA wrapper, calls the
build engine in order to read the current horizontal and ver the     performs various functions. If the object is a text object at 77.
tical coordinates of the mouse cursor, and displays them in the and values       for the paragraph style, point size, object height
                                                                          width, text color, and the 3D frame status are polled and
panels status fields (FIG.37 at 450). The polling routine also 15 displayed.     The panel's menu objects and the menu choice
polls the build engine in order to detect whether the mouse has objects within
moved over a valid object or, by inference, whether a mouse active state, andthat       the
                                                                                           are active for a text object are set to the
                                                                                            non-text menu choice objects are set to
single click, or double click event has occurred. The poller is
also constantly requesting the JAVA wrapper to return the the inactive state, which visually means they are unavailable
                                                                     and are “grayed out'. In addition, polling can be initiated for
status of an error flag in order to inform the user, if necessary, the
of an unrecoverable error condition, and the reason for it. (See 78, creation     of a hot link. If the object is a text button object at
                                                                          the values for the text button style, point size, object
FIG. 10). The poller then calls a panel JavaScript function
that, in turn, calls the build engine to reset the flag. The poller height,  width, textcolor, animation state, and 3D frame status
constantly requests that the JAVA Wrapper return the status of are polled and displayed. The menu choice objects inside the
whether the mouse cursor is over a valid object, and, if so, that 25 panel's  menu objects that are active for a text button object are
object's number, type, height and width. The poller also con set to the active state, and the non-text button menu choice
stantly requests the JAVA wrapper to return the status of objects are set to the inactive state, which visually means they
whether an object is selected, and, if so, the type and number buttonare unavailable and are “grayed out'. The value of the text
of that selected object, as well as the objects height, width, databaseobject        string is also polled and saved in the panels
                                                                               for use when initializing relevant pop-up windows.
and 3D frame state (and the point size of the object’s current 30 If the object   is an image object at 79, the values for the image
font if the object is a text button or paragraph object). In
addition, if the object is a paragraph, the poller constantly style, object height, width, frame color, animation state, and
                                                                     3D frame status are polled and displayed. Again, the menu
requests the JAVA wrapper to return a flag if a double click or choice
drag mouse event has occurred.                                               objects inside the panel's menu objects that are active
   At 72 the polling routine detects a mouse event based on 35 button menuobject
                                                                     for a image
                                                                                    choice
                                                                                          are set to the active state and the non-text
                                                                                            objects are set to the inactive state. In
analyzing the return values received.                                addition, the results of any relevant direct object manipulation
   The poller can infer that the mouse has either moved offor are polled and displayed.
moved on to a valid object at 73 if the mouse over object state         FIG. 10 describes a two level error correction technology
has changed or the mouse over object number has changed. If (17 of FIG. 3) employed by the build process. Initial error
so, the poller updates the relevant interface objects of the 40 checking occurs during the interactions between the user and
panel as appropriate and displays them as necessary, and, the interface with the JavaScript error checking code at 80.
depending upon whether the object is a text button object, a Any file name, selected by the user through the file selection
paragraph, image object, etc., at 75, begins polling their window or typed in a file pathname (See FIG. 6 at 49) is
unique values.                                                       checked by the panel's JavaScript to assure that it has the
   The poller can infer that a single click mouse event has 45 correct file type suffix (gif, jpg, au, etc.) at 81.
occurred at 74 if the selection state has changed, or the               The panels JavaScript Code performs range checking at
selected object changed. The poller updates the menu bar 82 to prevent user error or to prevent the breaking of any
(FIG.37 at 410) as appropriate, making the appropriate menu internal limits imposed by the build engine. These can
commands either active or inactive. The poller also sets the include: going to a non-existent web page; exceeding any
necessary status variables, and, depending upon whether the 50 limit with the dual spin control (i.e. attempting to increment
newly selected object is a text button object, a text object, or decrement a point size outside of the legal range, or trying
image object, etc., at 74, begins polling their unique values. to illegally decrement a value to Zero or a minus number;
The poller also activates the appropriate menu choice objects typing in a numeric value that is outside a legal range; and,
inside the “Edit” menu, the “Text menu, the "Button' menu,           implicitly creating an object that exceeds a limit imposed by
the “Image' menu, and the “Interactions’ menu objects (FIG. 55 the build engine).
37 at 420 and 430), depending upon whether an web page                  The panels JavaScript code also checks the file pathname
object is selected or not, which type of web page object is to make Sure it contains a valid address, and makes necessary
selected, or, if the selected web page object is a text object, additions or conversions, if necessary, at 83. For example, if
whether text is marked through a drag or double click event. the user selected a file from the local disk, the correct URL
In a similar manner, the poller also sets the values for the 60 protocol is appended to the file name in order to make it a
interactive field objects (FIG. 37 at 460) and the interactive valid string representation of a URL address. Any illegal
drop-down list objects (FIG. 37 at 470). More specifically, characters for a pathname or a null file pathname entry are
JavaScript can poll the web page object number. The value of also caught at 83. In addition to file pathname validity check
the web page object number can be used to initialize pop-up ing there are other validity checking functions that can be
windows with that objects web page current values, either 65 employed by the JavaScript at 83. They include the attempt by
from the panels database or, if necessary, by interrogating the the user to entera non-numeric character into a numeric field,
build engine's database.                                             or leaving an essential fill-in field empty.



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   The panels JavaScript then passes these values to the build        The build engine waits until a keyboard keystroke is
engine though the arguments of a JAVA method function call detected. The scan code is interpreted, and if it is a text entry
at 84. The build engine can utilize the extensive exception key, the text editor's methods are called at 90. The text editor
handling capability of JAVA at 85 (or that of any other full processes the key event at 91. The build engine employs
featured programming language used) to attempt to recover frame (TextArea) processing methods and draw methods to
from any processing error. If recovery is not possible, the implement the text entry and text processing functions. As a
build engine sets an error flag, utilizing the polling technol keyboard key for a text character is pressed, the build engine
ogy (See FIG. 9 at 71). The poller, upon detecting this flag, passes this value to the editor's text entry method, which
informs the user, for example, through an alert JavaScript 10 updates both the text area’s frame definition, and the draw
pop-up message, what non-recoverable error has occurred, resized   system's database. The width of the text area is dynamically
from which operation, and what actions, if any, the user made onaswhether      necessary. If the object was a paragraph, a check is
should take. For example, if the user had selected a corrupted paragraph style's adefinition
                                                                                         reformat event should occur, based on the
                                                                                                   and the width of the current line's
image file, the exception handling technology can inform the
user of this fact so that user corrective action can resolve this  text string. If so, the appropriate text editor reformat method
very common problem. In one implementation, error han 15 is called, which may cause the text area’s vertical dimension
dling and exception recovery Support is provided for a mal to also be resized. A high watermark variable may also be set,
formed URL, an input or output error, a security manager for optimization purposes. After the final state of the text area
violation, and a null pointer error.                               is determined for the text entry keyboard event, the internal
   FIG. 11 shows a process for text entry and text processing database
                                                                   object, are
                                                                              for the text area, and for the paragraph or text button
                                                                                updated. The draw system is called, and the results
(18 of FIG. 3). The process begins when the panels JavaS
cript detects the user selecting either “Button” or “Text' icon of In the text entry event are drawn on the web page at 94.
                                                                         one implementation, the build engine also supports the
objects from the panels toolbar or from their equvalent menu usual text processing functions found in MS Windows or
choices under the "Button' or “Text menus, and calls the
appropriate JavaScript function at 86. The JavaScript func 25 Macintosh          based Word Processors or Desktop Publishers at
                                                                   92 and 93. For example, if the user single clicks the mouse
tion, after performing a range check to assure that no internal when
limits of the build engine are being broken, updates its data objectover   is
                                                                                an unselected paragraph or text button object, that
                                                                              selected,  a selection rectangle is drawn, the mouse
base, and sets the necessary status variables. The panels cursor shape is changed              to a crosshair, and the poller reports
JavaScript then calls the appropriate build engine method, the necessary information                to the panel's JavaScript. If a
passing the necessary arguments, including the current board 30 mouse click occurs over a selected          paragraph or text button
number, the internal number to be assigned to the object, the object, the editor’s “Set Text Insertion            Point’ method is
object type, and the current text button or paragraph style at called. Based on the coordinates of the mouse
87. The build engine then updates its internal database and based on a calculation by the build engine as to cursor,              and
sets the necessary status variables. The build engine also line, and the nearest character on that line, the texttheinsertion nearest
changes the mouse cursor shape to that of a text entry symbol. 35 point can be drawn appropriately, and the necessary status
In one implementation, the mouse cursor is shaped like a variables are updated. Text entry is then processed as dis
crosshair, and can be moved onto the web page (the build cussed at 91.
frame 402) at an arbitrary location.                                  If a double click or mouse drag mouse event is detected
   The build engine detects a mouse click event through its over a paragraph, an appropriate "text string selection”
“mouse Down' method at 88. This method reports to the build 40 method is called (See FIG. 6). Based on the coordinates of the
engine the exact horizontal and vertical coordinates of the mouse cursor, and based on a calculation by the build engine
crosshair mouse cursor at the moment the mouse button is           as to what text string should be selected, the internal database
pressed. The build engine places these values into its internal in updated, appropriate status variables are set, and the draw
database. The polling process is also supported, as discussed system is called for marking the text string at 94. The polling
in FIG.9, by placing the necessary return values in the appro 45 technology is activated as discussed in FIG. 9. The build
priate poll enabled methods.                                       engine's reformat methods for paragraphs can utilize a
   The build engine creates a dynamically resizable frame “CleanText Stream” model for calculating line breaks and for
utilizing JAVA’s “TextArea’’ object class, whose coordinates updating four-dimensional variables utilized by the draw sys
and size coincide with that of the draw system for the object tem in order to draw each paragraph, each paragraph line, and
as defined below. Other full-featured programming lan 50 each paragraph line segment in the correct location, with the
guages, if used by the invention, also possess similar object correct font type, font style, font size, font effect, and back
types. The text area is immediately overdrawn by the draw ground and text string color. Font style refers to a font format
system's background paint routine. The build engine, utiliz such as Normal, Bold, Italic, or Bold Italic. Font effect refers
ing the font metrics as defined by the selected text button or to style overrides such as Underline, Double Underline, Small
paragraph style, and utilizing the crosshair cursors coordi 55 Caps, Cross Out, Superscript, Subscript, etc. The “Clean Text
nates, calls the draw system. The draw system paints the Stream Model' implemented by the build engine maintains
background and then paints an insertion point and a selection multi-dimensional array pointers and records for every para
rectangle, in the appropriate colors, and with the appropriate graph line and line segment external to the text string defined
height and width, into the appropriate web page location at within the text area. Three-dimensional and four-dimensional
89. If the text button or paragraph style has a 3D frame 60 variables are updated after each text entry or text editing and
selected, this intelligent ornamental object would also be processing event in order to assure that the pointers into the
drawn, in the appropriate color, dimensions, and thickness. paragraph text stream, defined in the text area, are current.
Screen shot FIG. 41 shows a visualization of this process. The The three-dimensional variables that the build engine has
text insert point is in black, Surrounded by a red selection implemented can include soft and hard line end pointers for
rectangle, and surrounded by a blue 3D frame, as defined by 65 each paragraph line. Their values can be the absolute charac
the selected style. The text editor is then initialized by setting ter positions within the text area text string for that line end.
the necessary status variables.                                    Hard line breaks can be created by the user pressing the enter



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key. Soft line breaks can be created by a reformat method            are all pointers and records to paragraph line segments. If the
based on a calculation defined below.                                string width is less than that of the maximum paragraph
    The four-dimensional variables can be absolute pointers          width, and the text processing operation was not text entry,
into the text area text string for the beginning and end of every then an “UnderFlow” Reformat method is called. The under
style override, associated with each paragraph line segment. flow reformat method calls a method to determine the width,
These style overrides can include hot links, font type, font in pixels, for the first word on the next line. If that word will
style, font size, numerous font effects, and text and back fit on the current line it is placed there. As before, all pointers
ground colors. For each style override there is an associated for the current line, and Subsequent lines are updated as
style override record that maintains all the font and color necessary, as are all pointers and records to paragraph line
settings for that paragraph line segment. Also positional and 10 segments. The word oriented selection technique, and the
size data such as start and endpointers into the paragraph text reformat, database, and draw technologies that Support it,
stream, a left offset relative to the paragraph’s left origin, a top greatly simplify the text editor and produce a run time engine
offset relative to the paragraphs top origin, and the line that is smaller, faster and more reliable.
height. The style override record is created when the build               FIG. 12 shows the operation of the image processing tech
engine detects a mouse drag or mouse double click event 15 nology utilized by the build engine (19 at FIG.3). The process
within a selected paragraph. When the mouse button is ini begins when the panels JavaScript detects the user selecting
tially pressed, the current paragraph line and current word on the “Image' icon from the panels tool bar or the comparable
that line are calculated in a manner identical to that for cal         menu choice under the "Image' menu. The appropriate Java
culating the location of the text insertion point on a mouse Script function is called at 95, which draws the define image
click operation. The entire word becomes one anchor for the pop-up window. The user then selects an image from the file
paragraph line segment, while the word defined by the mouse selection window with the browser, types in the image path
coordinates when the mouse button is released becomes the              name for the image file on the local disk, or types in the URL
otheranchor. Up to two other paragraph line segments can be for the image that exists on a server. The user could also define
implicitly created by the word oriented selection method. If a 3D frame for the selected image at this time. Screen shot
there is text to the left of the first anchor word, and that 25 FIG. 49 shows a visualization of a collage for the define image
paragraph line had not previously had a style override defined pop-up window and the user's selection choices under each
in it, the text string from the beginning of the paragraph line tab setting. The user can complete the selection process by
to the first anchor point has a style override record created for either pressing the Enter Key or clicking on the “Create
it. The values are set to that of the underlying paragraph.            Image icon in the pop-up window. If the Enter Key is
    If style overrides had already been created on that para 30 pressed, the pop-up window's JavaScript Code utilizes the
graph line, and the anchor word is inside one of them, then onKeyDown function, or if a mouse click, the onClick func
that style override's end pointer is adjusted to the start of the tion, as described in FIG. 7, to recognize the completion
anchor word. All other style overrides, if any, to the right of event. An appropriate error checking JavaScript function is
the anchor word are deleted, as overlapping style overrides called, which performs a file name error check, a filename
are not permitted. In a similar manner, the text string, if any, 35 validity check, and a range check to assure that no internal
to the right of the last anchor point, up to the line or paragraph limits of the build engine are being broken. If the error check
end, can also be defined as a style override. If a mouse click ing tests are Successful another JavaScript function is called
occurs before a “textstyle” operation, then these pointers will to update the panel's database, and set the necessary status
be reset. If the panels JavaScript detects a user selection of variables.
“text style” from the “Text menu, the appropriate pop-up 40 The panel's JavaScript then calls the appropriate build
window is drawn and its values initialized from the JavaScript engine method, passing the necessary arguments, including
database. Upon detecting a user completion event (i.e., the the current internal web page number, the internal number to
depressing of the enter key), the panel's JavaScript database be assigned to the image object, the object type, and the
is updated and a call is made to an appropriate build engine current image style at 96. The build engine then updates its
method, with the necessary data and status information 45 internal database and sets the necessary status variables. It
passed as function call arguments. The build engine updates also changes the mouse cursor shape to that of an "Image
its internal database and calls the reformat method if neces           Create” symbol. In one implementation, the mouse cursor is
sary. The draw system utilizes these four-dimensional vari shaped like an arrow. The build engine detects a mouse click
ables in order to paint the paragraph line segment style over event through its “mouse Down' Method at 97. This method
ride.                                                               50 reports to the build engine the exact horizontal and vertical
    The calculation for the creation or updating of a soft line coordinates of the arrow mouse cursor at the time the mouse
break begins with the maximum paragraph width, which is set button was pressed, and places these values into its internal
at a percentage of the browser screen width. This percentage database. The polling process is also handled, as discussed in
is converted to an absolute pixel number based on the web FIG. 9. The build engine then asserts the necessary security
designer's screen resolution. When any text entry or text 55 permission for reading from the local disk, if necessary, and
editing and processing event occurs, a build engine method is attempts to create the necessary image object at the current
called which calculates the width, in pixels, for the current mouse coordinates at 98, while checking for any exception
paragraph line, based on the character string in the text area conditions as described in FIG. 10. If no unrecoverable
that exists between the previous line end pointer and the exceptions are reported, the internal database is updated and
current line endpointer. The font definition(s) that are related 60 the draw system is called.
to this character string are applied, and a string width is               The image processing technology Supports direct web page
calculated. If the string width exceeds that of the maximum image object interactions at 99, utilizing the communication
paragraph width, an “OverFlow” reformat method is called. technology described in FIG. 6. The build engine first pro
The overflow reformat method calls a method to determine               cesses the mouse event as described in FIG. 7, and places the
the settings for the last word on that line, and that word 65 appropriate values into a poll enabled JAVA method as
overflows to the following paragraph line. All pointers for the described in FIG. 9. There are two types of direct web page
current line, and Subsequent lines are updated as necessary, as image object interactions.



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   The first occurs by simply selecting the image object with in the build engine is called with the necessary settings. The
a single mouse click. A red selection rectangle is drawn build engine, after updating its internal database, calls the
around the image, as are eight attachment points. When the appropriate image processing method. The image processing
user has pressed the mouse cursor, the mouse cursors shape routine then calls the required image filter(s), which then
changes to that of an anchor, which is a symbol that can be perform the necessary processing on the image bitmap at 102.
used when dragging or moving an object. The mouse's loca               An image filter is a body of code, usually consisting of one
tion will jump to the origin for the image. In an alternative or more digital image processing algorithms, which operate
implementation, the anchor can be defined by the mouse on an image bitmap, and create a transformed image bitmap.
location at the time of the mouse drag operation. In either An image observer can be invoked by the image filter, which
case, while the mouse is being dragged, the build engine 10 then reports when the image bitmap processing has been
updates its internal database. The build engine also updates its completed. An image observer is a independent process that
poll-enabled methods for communication with the interface's monitors a particular image processing event, such as the
polling technology at 100. The JavaScript poller reads these execution of an image filter or the reading in of an image file,
values, updates the panel JavaScript database, and updates the and reports the status of that process when queried. When the
panels interface objects. In a similar way, placing the mouse 15 image observer reports a successful completion, the image
cursor over an attachment point and dragging will result in an filter can call the build engine's draw system to display the
image resizing operation. Screen shots FIG.50 through FIG. transformed image bitmap. This interaction between the build
52 show a visualization of an image dragging operation. engine's image processing method, the image filter(s), the
Screen shot FIG. 50 shows the cursor over an unselected              image observer, and the draw system can occur many times,
image. Screen shot FIG. 51 shows the screen state after the depending upon the image processing operation chosen.
left mouse button has been pressed. Notice that the image is Inage animations and image transformations, which are tech
now selected and the cursor shape has changed to the drag nologies that rely heavily on image filters, and the image
state. Screen shot FIG. 52 shows the screen state after the          observer are discussed in greater detail below in association
mouse has been dragged to the northwest. Notice that the with FIG. 16 and FIG. 17.
image stayed selected and moved with the mouse. Screen 25 FIG. 13 shows a process for implementing text button,
shots FIG. 53 and FIG. 54 show a visualization of an image image and paragraph style settings (20 of FIG.3). The initial
resizing operation for a normal image. Notice that all eight values for all the settings inside a parent pop-up window and
attachment points are drawn and active for the selected image. associated child pop-up windows, for a particular style, can
Screen shot FIG. 53 shows the cursor over the upper left be set from the JavaScript database at 103. The settings can
attachment point. Notice that the cursorshape has changed to 30 include: image object styles, text button object styles and
a northwest to southeast resize cursor shape. Screen shot FIG. paragraph object styles.
54 shows the result after the left mouse button has been               The following settings can be initialized and changed for
pressed over the upper left attachment point and dragged to image object styles.
the northwest. Notice that the image's upper left corner is still      a) The following settings are initialized for all image object
under the cursor, the image has resized, and the cursor shape 35          states (Normal, mouse Over, mouse Down) and can be
remained unchanged. For image resizing operations with the                changed:
mouse over and mouse down objects, only the east, Southeast,              (1) resize factor.
and South attachment points are drawn and active.                         (2) rotation factor.
   The second type of direct web page image object interac                (3) main animation type, speed, number of animation
tion occurs when the panel's JavaScript code detects that the 40             steps (resolution) and number of cycles.
user has selected an image object interaction feature from the            (4) image processing factors. (brightness, contrast, etc.)
panel’s “Image' menu. The appropriate JavaScript function                 (5) 3d effects and their color values.
is called, which sets the necessary status variables, and then            (6) web page centering attribute.
calls the appropriate JAVA method, passing the necessary                  (7) web page scaling attribute.
values as arguments. The JAVA method then sets its necessary 45 b) The following actions are initialized and can be changed.
status variables, changes the mouse cursor shape as appropri              (1) Sound effects and audio channels.
ate, depending upon the type of direct image operation, and               (2) video files and video channels
awaits a direct mouse operation on the image object. Image                (3) text button and image pop ups and their attributes
rotation is an example of this type of direct image interaction.             (See 1.a above and 2.a below.)
In one implementation, direct image object rotation is real       50
ized by utilizing the image rotation technology described in              (4) click events.
association with FIG. 33 below. Screen shots FIG. 55 and               c) The following transformation settings are initialized and
FIG. 56 show a visualization of an image rotation for a normal            can be changed.
image. Screen shot FIG.55 shows the user selecting the rotate             (1) the initial delay
command from the "Image' menu. Immediately the cursors 55                 (2) up to three transformations can be defined with the
shape changes to the rotate (a dual left/right arrow) cursor,                following settings:
and the selected images attachment points disappear. Placing                 (a) which image states should the transformation be
the cursor on the image and dragging will cause the image to                    from and into.
rotate on an east/west and/or north South axis. Screen shot                  (b) the speed of the transformation.
FIG. 56 shows the result after the mouse was dragged on an 60                (c) any delay before the next transformation.
east/west plane.                                                          (3) whether the transformation(s) should occur simulta
   Image object interactions are invoked by selecting from the               neously with the enter and exit time line animation or
JavaScript panel, selecting from a JavaScript pop-up window,                 after the enter and before the exit animations.
and by selecting from a JAVA window object at 101, as                  d) The following time line settings are initialized and can
described in FIG. 6. The initial values in the pop-up window 65           be changed.
are set from JavaScript's database. After any user interaction,           (1) the initial delay before the image object’s appear
JavaScript's database is updated and the appropriate method                  aCC.




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     (2) the enter animation type, speed, and animation reso            Referring again to FIG. 13, upon detecting the completion
          lution.                                                    of editing an image, text button or paragraph style, the panels
       (3) the delay after the enter animation and the main JavaScript calls a build engine method and passes the required
          animation.                                                 values. The build engine updates its internal database and sets
       (4) the exit animation type, speed, and animation reso any necessary feature flags at 104.
          lution.                                                       When an image, text button or paragraph object is created,
       (5) the initial delay, after the entrance of the parent all the style settings for the currently selected style are applied
          object, before the child text button and image objects by the build engine as part of the definition for the newly
          appearance(s).                                             created object at 105.
       (6) the child object(s) enter animation type, speed, and 10 If a style is changed, all objects on all internal web pages
          animation resolution.                                      that are utilizing that style are candidates for being changed to
       (7) the delay after the child object(s) enter animation.      those new values at 106. Flags are kept for every possible
       (8) the child object(s) exit animation type, speed, and style setting for each object. If a given object is edited through
          animation resolution.                                      the text button, image, or interaction menus or other interface
   The following settings can be initialized and changed for 15 objects of the panel 400, the flags are set for any setting that
text button object styles.                                           are changed. If that style is Subsequently changed, only those
   e) The following attributes are initialized for all text button settings that have not had their flags set will be changed for
      object states (normal, mouse over, mouse down) and can any given object.
      be changed:                                                       FIG. 14 describes the video and audio file and video and
       (1) all font specifications.                                  audio channel processing techniques employed by the build
       (2) vertical state.                                           engine (21 of FIG. 3). A user can select a video or audio
       (3) all color specifications.                                 special effect (i.e. user input is provided at 107 that indicates
       (4) 3d effects and their color values.                        a video or audio special effect). The method for activating a
       (5) web page centering attribute.                             video file or video channel is defined in the text button and
       (6) font processing attributes (available in java 2)       25
                                                                     image object “mouse over interactive pop-up windows
       (7) scale, shear, and rotate (available in java 2)            described later at FIG.16. Methods for defining a video object
   f) The following actions are initialized and can be changed. as a pop-up, or a frozen object, are described with reference to
       (1) Sound effects and audio channels.                         the text button and image object “mouse down” interactive
       (2) video files and video channels                         30
                                                                     pop-up window also described at FIG. 16. Audio files and
       (3) text button and image pop ups                             audio channels can be defined in both the “mouse over” and
       (4) click events.                                             “mouse down” interactive pop-up windows also described at
   g) The following transformation settings are initialized and FIG. 16. The pop-up or a frozen object settings for audio are
      can be changed.                                                also set in the object “mouse down interactive pop-up win
       (1) the initial delay                                      35
                                                                     dows discussed therein.
       (2) up to three transformations can be defined with the          AS before, the panel JavaScript code initializes any pop-up
          following settings:                                        windows (where the initial values are set from the JavaScript
          a) which image States should the transformation be database), captures a file or channel name (from the user
             from and into.                                          input) and performs file and validity error checking upon
         b) the delay before the next transformation.             40 detecting a user completion action at 108. The build engine is
       (3) whether the transformation(s) should occur simulta then called, receiving the necessary data and status as func
          neously with the enter and exit time line animation or tion call arguments.
          after the enter and before the exit animations.               The build engine determines if the audio and video defini
   h) The time line settings are the same as those defined for tion is a file pathname or the URL of a live channel at 109, and
      image objects. They also are initialized and can be 45 thereafter initiates its exception handling. If the video or
      changed.                                                       audio definition is a file, the build engine performs the rel
   The following settings can be initialized and changed for evant file exception handling checks, and asserts the neces
paragraph styles. The following attributes are and can be sary security permissions. If there were no errors, or the
changed:                                                             exception handling error was recoverable, the build engine
   i) all font specifications.                                    50 reads and links the video/audio file to the database, and plays
   j) all color specifications.                                      the file for user verification at 110. If the video or audio
   k) 3d effects and their color values.                             definition was a channel, the necessary pointers are updated
   l) web page centering attribute.                                  in the database, and methods are assigned for efficient trans
   m) the look of hot links, including the text and background mission, at run time by the run time engine, at 111. The ability
      colors when the link is active and when the mouse is over 55 of the run time engine to play multiple synchronized audio
      the link.                                                      and video files and channels simultaneously will be described
   The reference to JAVA 2 under text button object styles at FIGS. 31-35.
refer to the most recent version of JAVA released by Sun                FIG. 15 describes the frames, tables, forms and draw
Microsystems. This version supports a far more robust two objects technologies employed by the build engine (22 of
dimensional processing capability than JAVA 1.6, including 60 FIG. 3) in one implementation of the invention. When the
significant font processing capabilities and the Scaling, shear panel JavaScript code detects a user action to create a
ing, and rotation of objects. Currently, most conventional “frame', “table”, “form” or “draw object” from an appropri
browsers only support JAVA 1.6. Provisions are made in the ate panel interface object, it draws and initializes the appro
invention so that as the then popular browsers Support more priate pop-up window at 112. Upon detecting a user comple
robust versions of programming languages, those new capa 65 tion action by the pop-up windows JavaScript code, a panel
bilities can be employed to further enhance the capability of JavaScript function is called to perform the necessary error
the invention.                                                       checking and updating of the panels database. Panel JavaS



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cript thereafter calls the appropriate build engine method(s)         2: The font typeface, font style, fontsize, font effect(s), text
passing the necessary data and status values as function call            color, and text background color can be defined for a text
arguments at 113.                                                        button object’s “mouse over and “mouse down” states,
   The build engine updates its internal database, sets the              as well as for the text pop-ups associated from both text
necessary status values, and initializes, as necessary, appro            button and image objects.
priate methods for run time processing. In one implementa             3: Text, image, and video pop-ups can be defined for the
tion, the build engine includes definitions to map a given               text button and image object’s “mouse over state.
object into a relational database. Also available are a full array    4: A soundtrack (file) can be defined for the text button and
of database operations. Support for popular databases (such              image object’s “mouse over state with the following
as Oracle, Informix, Sybase and DB2) are available on a real 10         choices:
time interactive basis.                                                  a. play once when a “mouse over” event occurs.
   The run generation technologies, as described later in                b. play until a click event while on the object.
FIGS. 24-27, are also implemented for a given frames, table,             c. play until the mouse moves off the object.
form and draw object at 114. The run time technologies, as            5: A soundtrack (file) can be defined for the text button and
described later in FIGS. 28-36, are also implemented for a 15            image object’s “mouse down” state with the following
given frame, table, form and draw object at 115.                        choices:
   FIG.16 describes the user interaction settings and technol           a. play once when a mouse click event occurs when over
ogy employed by the build engine (24 of FIG.3). Depending                  the object.
upon the type of object currently selected at 116 (if no object         b. play until a second click event while on the object.
is selected no user interaction choices will be available) the          c. play until the mouse moves off the object.
panel JavaScript Code draws an appropriate pop-up window.             6: Both video and sounds can be defined as channels as well
If the selected object was a text button object at 117, or an            as files.
image object at 119, both “mouse over and “mouse down”                7: The text, image, and video pop-ups can be frozen (i.e. not
choices will be available from the panel’s “Interactions'                disappear when the mouse moves off the object after a
menu. If the selected object is a paragraph, user interaction 25         mouse click event, for both text button and image
definitions can be activated by a double click or a mouse drag           objects).
event being detected by the build engine at 118.                      8: Text button and image objects can have one of the fol
   More specifically, appropriate values are set in a poll               lowing click events defined:
enabled JAVA routine. The JavaScript poller reads the values, 30         a.go to a specific internal web page.
and draws the appropriate panel menu choices. The “Text                  b. go to the next internal web page.
Style”, “Hot Link”, “Preferences” and “Format” pop-up win                c. return to the parent (calling) web page.
dows can be chosen. If the hot link choice under the panels              d. go to an external web age. That web page will replace
“Text menu is selected and executed, the hot link definition                the current web page.
for internal or external web pages is captured by an appropri 35         e.go to an external web page. That web page will be
ate JavaScript function and file pathname error and validity                launched into a new window so that both web pages
                                                                           will be visible and accessible.
checking is performed. If either the “Text Style”, “Hot Link',
Preferences” or “ForTnat” choices under the panel’s “Text” Script    After a user completion action is detected, the panel Java
menu are selected, the panels JavaScript draws the appropri checking,      code performs the necessary file error and validity
ate pop-up window. Upon detecting a user completion event, 40                 updates its database and sets necessary status Val
the panel's JavaScript reads the values in the pop-up window ues, and then calls the appropriate build engine method, pass
and passes the font specification parameters to an appropriate ing the necessary data values and status as function call argu
build engine method as function call parameters. The build ments  sets the
                                                                          at 123. The build engine updates its internal database,
                                                                            necessary status variables, then draws the appropriate
engine then processes this data, calls a reformat method,
updates its internal database, and sets the necessary four 45 “mouse over” or mouse down text button or image object
dimensional variables for communication with the draw sys user    states. The build engine also plays the sound or video file for
tem.                                                                    verification. The run time technology behind the user
   The normal and “mouse over” foreground and background with     interactions will be described in greater detail in association
                                                                        FIG. 36.
colors for the hot link, which were defined in a link look           FIG.   17 describes the image and text button object anima
pop-up window (available under the “Text menu of the 50 tion settings            and technology employed by the build engine
panel), are utilized by the build engine to draw the hot link.
The build engine performs the necessary exception handling, type of object,The
                                                                  (25 of  FIG.3).      panels JavaScript code determines which
                                                                                   and which object number, from the currently
and then updates its internal database.                           selected object, as reported by the poller at 124. When the
   Based on the panel's JavaScript Code detecting whether panel's JavaScript detects a user selection of “Define Image'
the user chose the “mouse over” or “mouse down” choice 55 or Animate” from the panel’s “Image' menu, or a user selec
under the “Interactions' menu) at 120, as well as based on tion of “Define Button” or “Animate” from the panel’s “But
whether an image or text button object is currently selected, ton’ menu, it draws the appropriate pop-up window and ini
the panels JavaScript code draws the appropriate pop-up tializes the pop-up window’s values from its database at 125
window. Initial values for the pop-up windows are set from and 126. Screen shot FIG. 57 shows a visualization of one
the panels database at 121 and 122.                            60 implementation of the “Text Button Animation Specifica
   In one implementation, the following user interactions for tions' pop-up window and the animation settings available to
the “mouse over and “mouse down” states for text button and       the user. Screen shot FIG. 58 shows a visualization of one
image objects are Supported:                                      implementation of the “image animation specifications' pop
   1: 3D Frame, in a specified color, and selected for a speci up window and the animation settings available to the user.
      fied 3D appearance, can be defined for text button and 65 When a user completion event is detected, the panels
      image object’s “mouse over and “mouse down” states, JavaScript code captures the values from the pop-up window
      as well as for their text, image and video pop-ups.         for the animation type, speed, resolution, and number of



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animation cycles at 125 and 126, respectively, and updates its            d. Any delay before the next transformation.
database at 127. The panels JavaScript then calls the appro            3. Whether the transformation(s) should occur simulta
priate build engine method, passing the necessary data and                neously with the enter and exit time line animation or
status values as function call arguments. The build engine                after the enter and before the exit animations.
updates its internal database and sets the necessary feature 5 The panel's JavaScript updates its database at 131. The
flags (See FIG. 8.) Linkage to the appropriate animation panel's JavaScript then calls the appropriate build engine
method(s) is also set.                                              method, passing the necessary data and status values as func
   A thread object (a thread is an independent asynchronous tion call arguments. The build engine updates its internal
program that is multiprogrammed with other threads, are database and sets the necessary feature flags (See FIG. 8.)
defined and executed by the invention, by a JAVA Virtual 10 Linkage to the appropriate transformation method(s) is also
Machine and by the browser) is created and executed for user Set.
verification at 128. Values are set to integrate the given ani         A thread object is created and executed for user verification
mation thread with the object time line technology (See FIG. at 132. Values are set to integrate this transformation thread
19). Values are set at 129 so that when the thread object is with the object time line technology (See FIG. 19). Values are
invoked by the run time engine, the appropriate image filter(s) 15 set at 133 so that when the run time engine invokes the thread
and animation methods are called. The run time technology object, the appropriate image filter(s) and transformation
behind image and text button object animations is described methods are called. The run time technology behind image
in greater detail in association with FIG. 31 through FIG. 35. and text button object transformations is described in greater
   FIG. 18 describes the transformation settings and technol detail below in association with FIG. 31 through FIG. 35.
ogy utilized by the build engine (26 of FIG. 3). A transfor            FIG. 19 describes the text button and image time lines and
mation is defined as the changing of an object from one state technology utilized by the build engine (27 of FIG.3). A time
to another based on a timer control, Subject to user settings. In line is an independent asynchronous process that defines the
one implementation, the available states for text button and existence of a given text button or image object. An objects
image objects are their “normal. “mouse over”, “mouse time line begins at the time a given web page makes its
down” and “pop-up' definitions. For text button objects, a 25 appearance, either through an immediate draw or through a
transformation is implemented as the instantaneous drawing transition animation. In one implementation, an object time
of one object state while erasing the previous object state. For line can be created as an instance of a class, which has a
images, a transformation is the gradual fading out of the threadable interface. This instance has its own data structures,
previous object state, while, simultaneously, fading into the which define the animations, and transitions associated with
next object state.                                               30 the time line definition. An image or text button object time
   Prior to any user menu selection, the panel's JavaScript line can spawn child time lines, at a designated moment. A
code already knows the status of any selected object through complete description of time line technology, and how they
the poller mechanism (124 of FIG. 17). This includes what integrate the animation and transformation technologies, will
type of object and the objects internal identifying number. be described below in association with FIG. 31 through FIG.
When the panel's JavaScript detects a user selection of 35 35.
“Transform” from the panel’s “Interactions’ menu, it draws             The build process begins the time line definition process by
an appropriate pop-up window and initializes the pop-up having the panels JavaScript determine what is the currently
windows values from its database at 130. Screen shot FIG.59         selected object, utilizing the polling technology at 134.
shows a visualization of one implementation of a “define the           That is, values for the object appearance time, animation
transformation for the text button object' pop-up window and 40 type, speed and resolution are captured. When the panels
the transformation settings available to the user. Screen shot JavaScript detects a user selection of “time line' from the
FIG. 60 shows a visualization of one implementation of a panel’s “Interactions' menu, it draws the appropriate pop-up
“define the transformation for the image object' pop-up win window and initializes the pop-up windows values from its
dow and the transformation settings available to the user. database. Screen shot FIG. 61 shows a visualization of a
When a user completion event is detected, the panel's Java 45 collage of one implementation of a “define the time line for
Script Code captures the values from the pop-up window the text button object” tabbed pop-up window and the time
based on the object type.                                           line settings available to the user under each tab. Screen shot
   In one implementation, the following settings for text but FIG. 62 shows a visualization of a collage of one implemen
ton objects can be specified:                                       tation of a “define the time line for the image object' pop-up
   1. The initial delay.                                         50 window and the time line settings available to the user under
   2. Up to three transformations can be defined with the each tab'. When a user completion event is detected, the
      following settings:                                           panel's JavaScript captures the values from the pop-up win
      a. Which image states should the transformation be from dow based on the object type. The currently available settings,
         and into.                                                  for both text button and image objects, are:
      b. The delay before the next transformation.               55    1: The initial delay before the image object’s appearance.
   3. Whether the transformation(s) should occur simulta               2: The enter animation type, speed, and animation resolu
      neously with the enter and exit time line animation or              tion.
      after the enter and before the exit animations.                  3: The delay after the enter animation and the main anima
   In one implementation, the following settings for image                tion.
objects can be specified:                                        60    4: The exit animation type, speed, and animation resolu
   1. The initial delay.                                                  tion.
   2. Up to three transformations can be defined with the              5: The initial delay, after the entrance of the parent object,
      following settings:                                                 before the child text button and image object’s appear
      a. Which image states should the transformation be from             ance(s).
         and into.                                               65    6: The child object(s) enter animation type, speed, and
      b. The speed of the transformation.                                 animation resolution.
      c. The resolution of the transformation.                         7: The delay after the child object(s) enter animation.



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  8: The child object(s) exit animation type, speed, and ani        transition animations and web page time lines is described in
     mation resolution.                                             greater detail below in association with FIG. 31 through FIG.
    The panel's JavaScript updates its database at 135. The 35.
panels JavaScript then calls the appropriate build engine             FIG. 21a describes the file operations supported by the
method, passing the necessary data and status values as func 5 build engine (29a of FIG. 3). In one implementation, the file
tion call arguments. The build engine updates its internal operations Supported include:
database and sets the necessary feature flags (See FIG. 8.) A         1 : “Save” at 142 or “Save As at 143. If the selection from
build engine method then processes all the data related to this           the panel’s “File” menu is to “Save” as a web page, the
object. The objects animation settings, if any, are integrated            current browserscreen height percentage value is sent to
into the timeline at 136. The object’s transformation settings, 10        the build engine. The build engine updates its internal
if any, are also integrated into the timeline. If an image object,        database and the build process is completed. Thereafter,
any transformation animation may be executed simulta                      the run generation process is executed. (See FIG. 24
neously with the appearance and/or exit animations, depend                through FIG. 27.) If the selection is to “Save As a
ing upon the settings. Finally, a multi-level object thread               template for the run generation process is also executed
definition is created and executed for user verification. Values 15       but the generated files are placed in the template direc
are set at 137 so that when the run time engine invokes the               tory. If the selection is to save as a banner or custom
thread object, the appropriate image filter(s), animation meth            application, those absolute screen dimensions are sent to
ods, and transformation methods are called.                               the build engine and its internal database is updated and
    FIG. 20 describes the web page transition animations, time            the run generation process is executed.
line settings and technology utilized by the build engine (28         2: “New' at 144. A test is made by the panels JavaScript
of FIG. 3). When the panel's JavaScript detects a user selec              code to see if any user input has been processed and not
tion of “Define” from the panel’s “Webpage' menu, it draws                saved. If so, the user is asked whether this data should be
the appropriate pop-up window and initializes the pop-up                  saved. If so, and if the selection is to “Save” as a web
window’s values for the current web page from its database at 25          page,  the build process is completed and the run genera
138. Screen shot FIG. 63 shows a visualization of one imple               tion process   is executed as described above. If the selec
mentation of the "define the current web page settings' pop               tion is to "Save” as a template the run generation process
up window and the web page settings available to the user. In             is executed but the generated files are placed in the
the implementation shown, the choices Supported include:                  template   directory as described above. The panels Java
    1: The web page delay time (which is the delay, after the 30          Script code then reinitializes its database and calls a
       completion of the last object time line, to the loading of         build engine method that reinitializes the build engine
                                                                          database.
       the next web Page).                                            3: "Close” at 145. A test is made by the panel's JavaScript
    2: The transition animation, which can include a random               to see if any user input has been processed and not saved.
       animation choice. This is the animation applied to the             If so, the user is asked whether this data should be saved.
       web page when it is loaded and to the previous web page 35         If so, and if the selection is to “Save As a web page, the
       as it departs.                                                     build process is completed and the run generation pro
    3: The number of animation frames per second, which                   cess is executed. If the selection is to “Save As a tem
       effectively is the resolution of the transition animation.         plate the run generation process is executed but the gen
    4: The number of animation frames, which effectively                  erated files are placed in the template directory. The
       defines the time expected for the transition animation to 40       panel's JavaScript then terminates the build process.
       complete.                                                      4: “Open' at 146. A test is made by the panels JavaScript
    5: The web page's background color. This setting will                 to see if any user input has been processed and not saved.
       override the generic setting for the web site, defined in          If so, the user is asked whether this data should be saved.
       FIG. 21a.                                                          If so, and if the selection is to “Save As a web Page, the
                                                                   45     build process is completed and the run generation pro
    6: A web page boarder. This boarder, if selected, will also           cess is executed. If the selection is to “Save As a tem
       override the setting for the web site, defined in FIG. 21a.        plate the run generation process is executed but the gen
       The boarder can be drawn with a 3D effect, taking the              erated files are placed in the template directory. The
       backgroundcolor, and applying a transformation so that,            panel then initiates the dynamic web page resizing tech
       to the human eye, a lighter and darker shade of that color 50      nology as described in FIG. 22 below for the open re
       will be drawn appropriately to create a 3D effect.                 initialization mode.
    7: The web page's background pattern. This setting will           5: "Apply’ at 147. A template is applied to the existing web
       override the generic setting for the web site, defined in          site that is being processed by the build engine. The web
       FIG. 21a.                                                          page and style record definitions of the template replace
    The panel's JavaScript updates its database at 139. The 55            those of the existing web site. The web page objects of
panels JavaScript code then calls the appropriate build                   the template are added to the web page objects of the
engine method, passing the necessary data and status values               existing web site.
as function call arguments. The build engine updates its inter        6: “Web Site at 148. The web designer can define settings
nal database and sets the necessary-feature flags (See FIG.               that will be applied to all web pages in the web site. In
8.). The web page time line is synchronized with its object 60            one implementation, the web site applications Supported
time lines by an appropriate build engine method at 140. The              include:
web page's appearance delay and transition settings are inte              a: web page. The web page height can be set, as a
grated into the web page time line. Thereafter, a single-level               percentage, larger than the browser window for long
object thread definition is created. Values are set at 141 so that           Vertically scrolled web pages.
when the thread object is invoked by the run time engine, the 65          b: Standard banner sizes.
appropriate animation methods and object time line threads                c: Custom. (The user can define any arbitrary web page
are called. Again, the run time technology behind web page                   size and resolution)



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  Screen shot FIG. 63 shows the generic web site setting                4: The Zoom level.
choices presented to the user in one implementation of the            The interface then terminates itself by executing the Java
invention.                                                         Script “parent.location.href command, which causes the
   FIG. 21b describes the view operations supported by the build engine parent HTML frame file (PFF) to be reloaded
build engine (29a of FIG. 3). In one implementation, the file (See FIG. 5).
operations Supported include:                                         In one implementation of the invention at 512 the re-ini
   1: “Normal at 149a. This is the default file mode in which      tialization process begins. The PFF cause both the panel and
      the interface and the build engine are processing user the build engine to be reloaded and activated. The panel then
      input as described in FIG. 5 through FIG. 23 above.          reads the mode cookie. If the mode is either open or check
   2: “Preview” at 149b. The buildengine runs the web site off 10 point, the interface reads the web site name, page number and
      its internal database. The web site will perform in an Zoom level cookies, then resets the mode cookie to the ini
      identical manner as if it had gone through the entire run tialize state for Subsequent operations. The interface then
      generation and run time process, but it is being executed calls an engine method to read the external database, and then
      on the web designer's computer.                              to return the necessary values from that database in order to
   3: “Play” at 149c. The build engine runs the web site off an 15 update the interface's database. Finally the engine calls two
      external database in a separate browser window. The engine methods in order for the engine to go to the correct
      web site will perform in an identical manner as if it had current web page and draw that page at the now current Zoom
      gone through the entire run generation and run time level. Normal processing can then resume.
      process, but it is being executed on the web designer's
     computer.                                                        Run Generation Process
   4: “Zoom’ at 149d. The dynamic web page resizing tech               FIG. 24 through FIG. 27 describe the run generation pro
      nology (see FIG. 22 below) is first executed. When the cess. This process starts when the build process detects that
      engine is fully reinitialized, and the engine has gone to the user is finished defining the web site (user has saved the
      the current web page, the page and all its objects are web site and invokes the run generation process), and con
      drawn to the scale as defined by the Zoom level. All 25 cludes with the actual uploading of all the necessary web site
      object coordinates and sizes are automatically scaled run time files to the user's server.
      appropriately because they are always defined with Vir           FIG. 24 describes the techniques employed by the build
      tual screen values, even when the web page is being draw engine for the creation of the external database, and the Secu
      in the “normal” view.                                         rity and optimization techniques that Support this process (30
   FIG.22 describes the dynamic web page resizing technol 30 of FIG. 4).
ogy Supported by the build engine. If a user selection of the          When the panel's JavaScript Code detects a user selection
“Open” command from the “File” menu is detected by the of "Save” or “Save As” from the panel’s “File” menu, it draws
panel at 500, the panel calls an engine method to read selected the appropriate pop-up window and initializes the pop-up
contents from that web site's external database file.
   In one implementation of the invention at 506, the engine 35 window’s        values for the current web page size as had been
                                                                    defined at FIG. 5 and passed to the build engine. The panels
reads the web page width and length fields, as well as the
background color or background image definition for the first JavaScript        in the “save the web page/template pop-up win
                                                                    dow detects a user completion event at 150 (i.e., the designa
web page of the Web Site. The engine then creates a build tion of a users web site name followed by the enter key), and
engine HTML definition file based on these specifications, calls the appropriate panel JavaScript function. More specifi
and writes this file either to the local disk or the server, 40 cally, after completing the appropriate validity checks, the
depending upon the origination of the build tool.                   function calls the appropriate JAVA build engine method,
   At 502, if a user completion event occurs inside the web passing as a function call argument the user defined “Web
site JavaScript pop-up window, which had been activated sitename'. The build engine method checks for the existence
when the user selected the “Web Site” command from the
“File' menu, the panel determines if the web site page size has 45 of  a “Websitename.dta file, and, if so, posts that result into a
been changed. If so, the panel calls an engine method for value, and if method
                                                                    poll-enabled
                                                                                   set  to
                                                                                             return value. The poller checks that
                                                                                           true, calls a JavaScript function which
processing.                                                         draws a pop-up window asking the user to confirm whether
   Similarly, at 504, if a user selection of a "Zoom’ command
from the “View' menu is detected by the panel at 504, the the           existing web site definition should be overwritten or not.
                                                                    This JavaScript function also calls an appropriate build
panel also calls an engine for processing.                       50
                                                                    engine method to reset the return value to false in order to be
   In both the cases at 502 or 504, in one implementation of initialized        for the next possible “Save” operation.
the invention, the engine writes out a checkpoint record at 508        Once this verification process is completed the build
that is similar to that of a “Websitename'.dta “database file
(See FIG. 24). But is given the temporary checkpoint Web engine will        begins the external database creation process at 151,
sitename. The engine then creates a build engine HTML 55 which                   vary depending upon the security manager of a
                                                                    given browser at 152. See FIG.5 for a detailed description of
definition file based on these specifications, and writes this the       browser security manager alternatives. If the browser's
file either to the local disk or the server, depending upon the security     manager allows for local disk file creation, the build
origination of the build tool.
   In one implementation of the invention at 510 the engine engine          calls a method, which asserts the necessary security
terminates itself, by stopping all of its threads. Meanwhile the 60 policy permissions to create and write a file. If not, the build
                                                                    engine calls the necessary method to create and write a file on
interface writes out four cookies onto the local disk which
                                                                      the user's server.
define the following:
   1: The re-initialization mode. (Either Open or Checkpoint).          The external database contains, as its first record, a
  2: The current web page number when the resizing event              “Header record, which contains can include the following
     occurred.                                                   65   information:
  3: The Web Site Name. (The checkpoint name if in check                1: A file format version number, used for upgrading data
     point mode)                                                           base in future releases.




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  2: The default screen resolution, in virtual pixels, for both           All integer values are written inside a four-dimensional
     the screen width and height. This is usually set to the web        loop at 158. Their four loops are controlled by the same high
     designer's screen resolution, unless overwritten by the            watermark settings as used for the Boolean records, and they
     user at FIG. 5.                                                    describe the same logical entities.
  3: Whether the application is a web site.                               Multimedia objects are written inside a two-dimensional
  4: Virtual web page size settings. A calculation is per               loop at 159. They include URL, color, and font objects, and
     formed by the build engine method, in order to calculate           can include other types of objects. A URL object is the
     what the maximum web page length is, after reformat                encoded form of a URL Address, used by a browser or a JAVA
     ting all paragraphs on all internal web pages, based on            method to access files and web addresses. All multimedia
     the default screen resolution.                                 objects must be serialized before they can be written. This
                                                                   10
   5: Web page and styles high watermarks.                          means that the objects are converted into a common external
   6: The Websitename.                                              definition format that can be understood by the appropriate
   The header records are written at step 153.                      deserialization  technique when they are read back in and cast
                                                                    into their original object structure. The outside loop contains
   During the build process, as new web pages or new objects 15 web page related objects, and the inner loop contains image,
are created by the user, or as text is added to or deleted from text button, paragraph, etc. related URL, color, and font
a paragraph, or as new styles are created or deleted, appro objects. The outer loop is defined by the web page high
priate high watermarks are set, in order to show the current watermark and the inner loops by the high watermarks for the
number of each of these entities. Thus, at 154, the values for      actual number of text button, image, paragraph or other
the number of active web pages and the number of text button, objects on a web page.
image, paragraph or other styles are written as high water             String records are written inside a four-dimensional loop at
marks in the header. The high watermarks for the number of 160. The outer loop may be empty. The second loop can
text button, image, paragraph or other objects that exist for include the string values for text button objects, audio and
each web page, the number of lines for each paragraph object, Video filenames, and audio and video channel names. The
and the number of line segments for each paragraph line are 25 third loop contains values for paragraph line related data, and
written within the body of the external database as described the innermost loop contains the values for paragraph line
at 156, and used as settings for each of the loops in the segment definitions. The string records are controlled by the
four-dimensional data structure. Because no structural limits       same high watermarks as those used for Boolean and integer
are set on the number of web pages, objects per web page, records. String records are stored utilizing an appropriate
styles, or paragraph size, these high watermarks greatly 30 field delimiter technology. In one implementation, a UTF
reduce the external database file size, and the time it takes for   encoding technology that is Supported by JAVA is utilized.
the run time engine to process the data stored in its database.        Single and double floating-point, and long integer records
   The settings for all paragraph, text button and image styles are written inside a two-dimensional loop at 161. The outer
are then written as a style record at 155 based on their high loop may be empty. The inner loop contains mathematical
watermark. This data includes Boolean and integer variables, 35 values required for certain animations and image processing
and font and color objects, written as a one-dimensional array, algorithms. The single and double floating-point, and long
based on the high watermark values for the number of styles integer records are controlled by the same high watermarks as
that exist. The font and color objects are serialized as is those used for Boolean and integer records.
discussed in greater detail below (See 159 below).                     FIG. 25 describes the techniques used to create a custom
   The body of the external database is then written at 156. All 40 ized and optimized run time engine by the build engine (31 of
Boolean values are written inside a four-dimensional loop at FIG. 4). A versionizing program analyzes the feature flags,
157. The outside loop contains the Boolean values used to and only those variable definitions, defined in the “Main’
define web pages (i.e. a one-dimensional array definition) as object class, relating to the object classes and methods that
well as the high watermarks for the number of text button, will be executed at run time, are extracted at 162. All refer
image, paragraph or other objects per web page, with the loop 45 ences to object classes that will be called at run time are
set at the high watermark which defines the number of exist extracted, creating the source code for the run engine “Main’
ing web pages for this web site structure. The second level object class that is ready for compilation at 163.
consists of three or more two dimensional loops with the               All external image, video and audio files are resolved at
loops set to the high watermarks defining the actual number of 164. The external references can be copied to designated
text button, image, and paragraph or other objects that appear 50 directories at 164, either on the user's local disk or file server.
on any given web page and contains the values used to define The file Pathnames can be changed to reflect these new loca
web page objects (i.e. a two-dimensional array definition; tions. During the installation of the build tools, the necessary
web page number by object number). Included within the class libraries from Sun, Microsoft and Netscape are either
loop for paragraph objects are the high watermarks for the installed on the local system (See FIG. 5) or made available
number of lines for each paragraph object. The third loop is 55 on the server where the build tools can be optionally located.
set by the high watermark defining the actual number of The necessary environmental variables are set to permit nor
paragraph lines that for all paragraphs on any web page and mal access to the required class libraries.
contains the values used to define paragraph lines (i.e. a             The customized run engine and a library of the referenced
three-dimensional array definition; web page number by run time classes are compiled and converted into byte code at
object number by paragraph line.) Included within the loop 60 165. Finally, the run time engine for the web site is created at
for paragraph lines are the high watermarks for the number of 166. The required set of class objects required at run time is
line segments for each paragraph line. The inner most loop is flagged for inclusion into the CAB/JAR file (See FIG. 27).
set by the high watermarks defining the number of line seg             FIG. 26 shows the techniques used to create the HTML
ments per paragraph line and contains the values used to Shell File (HSF) (32 of FIG. 4).
define paragraph line segments (i.e. a four-dimensional array 65 The first step of the process at 167 is to determine whether
definition; web page number by object number by paragraph the dynamic web page and object resizing is desired by testing
line by paragraph line segment.).                                   the application setting, set by the user at FIG. 21a, or possibly



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reset at FIG. 24. If the application was a web page, and thus    175. If they are set to draw immediately upon the loading of
requiring dynamic web page and object resizing, virtual the first web page, then they are flagged for compression and
screen resolution settings, calculated at FIG. 24 at 153, are inclusion in the CAB and JAR Files. The feature flags are
placed in an appropriate HTML compliant string at 168. If the analyzed at 176 to determine which JAVA classes have been
application is a banner or other customized application, the compiled (See FIG. 25). These class files are flagged for
absolute values for the run time object (applet size) height and compression and inclusion in the library CAB and JAR Files.
width are placed in an appropriate HTML compliant string as Strings that are BAT compliant definitions are created at 177
absolute width and height values at 169.                         that will, when executed in DOS, create compressed CAB and
   An analysis is made for the background definition for the JAR Files. These CAB and JAR Files contain the compressed
first internal web page at 170. If a background pattern is 10 versions of all necessary JAVA class files, image files, the
defined, an appropriate HTML compliant string for setting “Websitename'.class, customized run time engine file, and
the HTML “background to the same background image is the “Websitename'.dta database file. In one implementation
generated. If the first web page definition is a color instead, of the invention, two BAT files are created. The first, when
then the RGB values from those colors are converted to hexa        executed, will create a CAB/JAR file with the “Website
decimal and an appropriate HTML compliant String is gen 15 name'.dta database file and the customized “main run time
erated setting the “bgcolor” to the required hexadecimal engine, excluding all the image and button object animation,
value. This process synchronizes the web page background transformation, and image processing code. The second BAT
with the background that will be drawn by the browser when file, when executed, will create a CABFJAR file with all the
it first interprets the HSF.                                       library of all the referenced image and button object anima
    Thereafter, a JAVA method generates HTML and JavaS tion, transformation, and image processing code.
cript compliant strings, that when executed by a browser,             The necessary security policy permissions for file creation
generate additional sets of HTML and JavaScript compliant are then asserted, and “Websitename'.bat and “Website
strings that are again executed by the browser. More specifi       namelib.bat files are written at 178. The “Websitename.bat
cally, if the application required dynamic web page and object and “Websitename'.bat files are then executed under DOS,
resizing (See 167) then JavaScript and HTML compliant 25 creating compressed “Websitename'.cab and “Website
strings are generated at 171 so that, when interpreted by the namelib'.cab files and compressed “Websitename'' jar and
browser at the time the HTML Shell File is initialized, the        “Websitenamelib' jar files at 179. The HTML Shell File and
screen resolution sensing JAVA applet (SRS) will be the JAR and CAB files are then, either as an automatic pro
executed. JavaScript code is generated at 172 in order to cess, or manually, uploaded to the users web site. This com
enable JavaScript to SRS applet communication. In one 30 pletes the run generation processes.
implementation, the code is generated by performing the Run Time Process
following functions:
    1: Determine the current browser type.                            The run time process is shown in FIG. 28 through FIG. 36.
    2: Load the SRS from either a JAR or CAB File, based on           FIG. 28 shows the web page size generation technology
       browser type.                                            35 utilized by the run time engine. A web surfer points a browser
    3: Enter a timing loop, interrogating when the SRS is at the HTML shell file (HSF) at 180. The browser begins to
       loaded.                                                     interpret the HTML and JavaScript code in the HSF that was
    4: When the SRS returns an “available' status, interrogate created (See FIG. 26). The browser draws either the back
       the SRS, which will return the current screen and win       ground color or background image pattern, as defined by the
       dows actual height and width.                            40 HTML complaint code (See FIG. 26) at 170. The browser
    5: Convert the virtual screen resolution settings into appro then executes the HSF's JavaScript initialization code, which
       priate absolute screen width and height values.             "sniffs’ the current browser at 181 to determine its type, and
    Strings defining additional JavaScript code are generated at then generates the appropriate HTML code for that particular
173 that perform the following steps at the time the HSF is browser to interpret. This code defines whether the executable
initialized by the browser:                                     45 files and database will be extracted from inside a compressed
    1: Generate HTML compliant strings that set the run time CAB file or a compressed JAR file and its location.
       engine's applet size to the appropriate values.                Based on the user application (defined at FIG. 21a, or
    2: Generate an HTML complaint string that contains a possibly reset at FIG. 24), the HSF at 182 will then execute an
       “param' definition for linking the run time engine to the appropriate JavaScript function (as created in FIG. 26 at 167).
       External Database created at FIG. 24.                    50 If the application required dynamic resizing of the web page's
    3: Generate an HTML complaint string, dependent upon dimensions, JavaScript code is called which generates HTML
       the type of browser, which causes the current browser to code using the JavaScript “document.write” function, which
       load either the JAR or the CAB File(s).                     causes the SRS applet to be immediately executed by the
    4: Generate JavaScript Code compliant strings that create browser at 183. The JavaScript code then goes into a timer
       and dynamically write the applet size defining HTML 55 loop, checking on when the SRS applet is alive before initi
       strings utilizing the JavaScript “document.write func ating any communication.
       tion. This dynamically created code causes the browser         After detecting that the SRS has been initialized, a JavaS
       to execute the run time engine, in the correctly sized cript function calls the appropriate SRS applet methods at
       window, from the correct JAR or CAB file, and linked to     185, which return the width and height, in pixels, of the
       the external database.                                   60 current browser window. JavaScript Code is then called
    At 174, writing out the above-generated HTML and Java which converts the screen resolution independent window
Script compliant strings creates the HSF. The necessary secu width and height values into absolute pixel values. A JavaS
rity policy permissions are asserted, and a “Websitename cript function is then called which use the JavaScript “docu
'.html file is created.                                            ment.write' function to generate HTML code that define the
    FIG. 27 describes the processes for creating the CAB and 65 run time engine specifications, etc. (see FIG. 26) and cause
JAR Files (33a of FIG. 4). The image objects, if any, which the browser to immediately execute the run time engine. If the
were defined on the first internal web page are analyzed at application had not required dynamic resizing of the web



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page's dimensions, then a JavaScript function is called which        multiplying the virtual coordinate by the local screen window
generates HTML code using the JavaScript “document                   resolution and dividing by the virtual screen resolution deter
write” function that defines the fixed dimensions for the web        mine the conversion.
page size and cause the browser to immediately execute the             If the centering attribute is on, then a calculation for the
run time engine at 184.                                              objects width is performed. See processes 197, 198, and 199
   FIG. 29 shows the techniques employed by the run time             below for a description of this calculation. Based on this
engine to read the external database and to generate the nec         calculated width, and based on the local screenwindow reso
essary web page objects (35 of FIG. 4). The run time engine          lution, the left coordinate is calculated at 195. One algorithm
reads a “PARAM value at 186, from HTML Code that was                 that can be used is to subtract the screen width, as calculated
generated above (see FIG. 26), which points to the “Website 10 in 197-199 below, from the local screen window resolution,
name'.dta external database that is compressed into the JAR and divide that result by 2. The top coordinate is calculated
or CAB File (that was loaded and accessed in FIG. 28). The the same as in process 194 above.
run time engine then initiates the read operation. In one              Based on the object type, determined at 196, a different
implementation, the read technique is always non-privileged.        Scaling technology is employed.
If permitted by the current browser as a non-privileged opera 15 If the object is a text button object at 197, the text button
tion, the “Websitename'.dta file will be extracted and read         object itself, including its background, is not scaled. The
from the CAB/JAR file residing in temporary local storage. If virtual width and the local screen width remain the same.
not, the run time engine A will read the “Websitename'.dta However, if a 3D Frame effect is defined, it is scaled based on
file directly from the server. The header record is read at 187. the following algorithm: if the text string's orientation is Left
Any objects, such as fonts and colors, are cast into their to Right, the inner width of the 3D Frame, and its placement
original form. The highwatermark values, as they are encoun relative to the text string, is calculated as the length of the text
tered in the header and in the body of the database, are string, plus /8 of an “n” space on each side, plus an additional
immediately used for setting the limits for the Subsequent offset appended to the right of the inner width to compensate
multi-level read loops for reading in the style record and the for the italic font style, if defined for the font of that text string.
web page(s) and object(s) definitions. The virtual screen reso 25 The italic offset can be defined as the font size for the text
lution values are read for the Subsequent dynamic resizing of string, divided by 10, plus 1. The inner height of the 3D Frame
the web page objects.                                               can be defined as the font height plus 2 pixels. The font height
   The style record is read based on its high watermarks, and equals the fonts leading plus its ascent plus its descent speci
processed at 188. The definitions for all paragraph, text but fications. The inner height origin can equal the text string
ton, image or other styles are read and stored for Subsequent 30 origin. The style of the 3D effect (i.e., either a 3D raised look
initialization and processing of all paragraph, text button,        or a 3D depressed look), plus the inner width and height, is
image or other objects. The data representing the values for sent to a 3D frame build method for the construction of the 3D
the first web page and all its objects is read at 189. The frame. The width of the 3D frame in pixels can be calculated
Boolean, integer, String and floating point fields for the first as the inner width divided by 10 plus 3.
web page are initialized. The serialized multimedia objects 35 If the text strings orientation is vertical, the inner width of
for the first web page are read and cast into their final form. the 3D Frame is an “m’ space. The inner height of the 3D
(See FIG. 24)                                                       Frame can be calculated as the font height times the number
   If external files, such as image, audio and video files, must of characters in the text string. Both the left and top placement
be read as part of the first web page's generation, exception of the 3D frame can be set to the left and top origin of the text
handling routines are executed at 190, as necessary, in the 40 string. The width of the 3D Frame can then be calculated as
event of any processing errors. In one implementation, error the inner height divided by 10, plus 3.
recovery at this stage places the highest priority on a gracefull      If an animation is assigned to the text string, the font size
operation cancellation, rather than a web page crash. In the used for the initial calculation of the 3D frame is the same as
worst case, a particular image, Sound or video file may not be that used to define the animations initialization value. If the
available to the web surfer. All other aspects of the web page 45 object is a paragraph at 198, and the scaling attribute is on, the
will likely be available even in this error scenario.               maximum width for the paragraph can be defined by the
   Process step 191 is executed simultaneously with the gen attached paragraph style (or paragraph override) as a percent
eration of all the other web pages at 192 by means of multi age of the screen width. This screen width percentage can be
programming utilizing thread technology. Thus the first web converted into an actual width in pixels, based on the local
page will be drawn and active for user viewing and user 50 screen's window resolution. If the current screen resolution is
interaction long before the data for all the other web pages the same as that used by the web designer, then the paragraph
have been read, processed, and initialized. The data represent line end values (just read from the external database) are used
ing the values for the Subsequent web pages and all their without adjustment, bypassing the entire paragraph reformat
objects are read at 192. The Boolean, integer, string and process. If the current screen resolution is different than that
floating point fields for these web pages are initialized. The 55 of the virtual screen resolution, then a very compact method
serialized multimedia objects for these web pages are read of reformat is called (relative to the build engine reformat
and cast into their final form. (See FIG. 24)                       methods at FIG. 6 and at FIG. 18), and the text for the
   FIG. 30 shows the scaling techniques employed by the run paragraph is reformatted based on this width.
time engine for web page generation (36 of FIG. 4). The first          The run time engine's reformat technology begins by cre
step in the scaling process is to calculate the coordinates that 60 ating one paragraph line for the entire text string assigned to
define the origin for the placement of each object for a given the paragraph text area. All the style overrides are renumbered
web page. (This is usually the upper left corner of the object,     sequentially with the style records or the non-marked text
defined in actual screen pixels.) A test is made at 193 to strings ignored. A simplified “Overflow” reformat method
determine if the centering attribute is set for the object. If not, can be called, which chops up the single paragraph line first
the left and top coordinates are converted from the virtual 65 into paragraph line segments, where each word is defined as
screen values to the local Screen values, based on the local        a line segment. Because of the word oriented style override
screen window resolution at 194. In one implementation, architecture, the style overrides have a one-for-one corre



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spondence with the line segments. Each paragraph line break number is less than that of the high watermark, then the web
can be calculated by relying on the simplified word oriented page counter is incremented by one and the web page counter
style override technology described above. The paragraph loop is reentered. If the current web page number equals the
line can be built inside a tight word-by-word loop, with a high watermark at 202, then the web page counter is reinitial
simple logic check for a style override or hard line break. The ized to the first web page, so that the web page loop may
paragraph width is then derived as the width of the longest repeat itself, from the first internal web page, depending upon
line of the reformatted paragraph, while the paragraph height the delay setting for the last web page.
is defined as the font height times the number of lines. If a 3D        A test is then made on all objects defined for this web page
frame was defined for the paragraph, it can be scaled based on at 203,        utilizing a loop whose range is defined by the number
the following algorithm:                                          10
                                                                     of objects  per web page high watermarks. More specifically,
   The inner width is defined as the same as that of a text
string, but the width of the text string for the longest line is within      this universe of possible objects, if the object exists,
                                                                     and it is defined by a time line in which there is a delayed
used. The same “n” space and italic offset calculations are entrance, then a boolean flag is set for those objects that
used. The inner height is calculated as the font height times causes the draw system to Suppress drawing these objects
the number of lines plus 2 pixels.                                15
                                                                     during the web page transition as defined below.
   If the object is a paragraph, and the scaling attribute is off
then the paragraph is treated the same as a text button object,         A test is then made to determine if the web page has a
with the only exceptions that there is no vertical orientation, transition       animation defined at 204. If not, the draw system is
                                                                     called for the first time. The draw system for a given web page
and the height and width of the 3D frame, if defined, is utilizes              a loop whose range is defined by the number of
calculated using the same algorithm as was used for the scaled objects per         web page high watermarks. The draw system can
paragraph above.
   If the object is an image at 199, and the scaling attribute is also    employ technology so that the draw process generates a
                                                                     screen image in one or more off-screen buffers, only drawing
on, the image width can be calculated as the virtual width to
times the local screen window width divided by the virtual thethe           screen when the screen image, or the clipping area for
screen width. The image height can be calculated as the 25 not screen,             has been fully generated. This greatly reduces, if
                                                                         totally eliminates, any screen flicker, and creates visually
virtual height times the local screen widow height divided by Smooth           animation effects.
the virtual screen height. If the image had been resized or
rotated, then the virtual width and height of the image would           The  first draw function is to draw the web page background
differ from that of that of the original image. If a 3D frame is into the primary off-screen buffer. The web page background
defined for the image, it can be scaled based on the following 30 color is drawn, as defined initially at FIG. 21a, or modified for
algorithm:                                                           that particular web page at FIG. 20. A test is then made to
   The inner width and the inner height of the 3D frame will determine if the Web page has a background image pattern, as
coincide exactly with the outer edges of the image, after the defined initially at FIG. 21a, or modified for that particular
image had been scaled. Adding the scaled image height to the web page at FIG.20. If it does, and the image observer reports
scaled image width and dividing the result by 40 and adding 35 that the image is ready to be drawn, a background image draw
3 can calculate the width in pixels of the 3D frame.                 loop is executed, defined by the height and width of the
   If an animation is assigned to the image, then the anima background image, and the screen resolution of the current
tions initialization values for the image's width and height browser window. In the unlikely event that the background
can be used to calculate and draw the initial 3D frame. The          image pattern is not yet available, there is a delay until the
coordinates and sizes for the backgrounds for text button, 40 image observer reports the completion of the image process
image and paragraph objects can be calculated using the same ing operation. The tiled background image pattern is also
algorithms as was employed for the calculation and place drawn into the primary off-screen buffer, completely over
ment of the inner width and inner height for the 3d frame for drawing the background color. The backgrounds for all non
each object.                                                         suppressed (See 203) parent web page text button and para
   FIG. 31 through FIG. 35 shows the multilevel web page 45 graph objects are then drawn into the primary off-screen
and object thread technology employed by the run time buffer, unless a background transparency flag has been set
engine. The description includes all the animation technolo (See FIG. 7).
gies, transformation technologies, time line technologies and           The text strings for non-Suppressed parent web page text
drawing technologies that Support this multilevel architec button and paragraph objects are then drawn into the primary
ture.                                                             50 off-screen buffer. These text strings are drawn based on their
   FIG. 31 describes the initial processes for the inventions font name, style, size, effect(s), and color. If a paragraph line
multilevel web page and object thread technology employed string, the string may have multiple string segments, each
by the run time engine (37 of FIG. 4). Upon the completion of with their own font name, style, etc. If the text button object
the processing of all the data definitions for the first internal has its vertical attribute set to true, then the draw system
web page (FIG. 30), the main web page thread is created and 55 executes a loop defined by the number of characters defined in
executed. This causes the run method for the main run time           the text button object. The top and left origin coordinates were
engine class to be executed simultaneously with the reading,         set in the usual way (See FIG. 30), but the top coordinate is
processing, and Scaling of the data for the Subsequent web adjusted by the font height for each iteration of this draw loop.
pages (See FIG. 29). In addition, the reading of any image The intelligent 3D Frame, if defined, is then drawn into the
files defined for the first web page is also performed simulta 60 primary off-screen buffer for the paragraph and text button
neously, under the control of an image observer (See FIG. 12). objects (See FIG. 30). The primary image objects for the web
The main run method enters a web page counter loop at 200, page are then processed by the draw system. If the image
the loop being defined from the first internal web page to the observer reports that the image is ready to be drawn, it is
high watermark that was set to the number of existing internal drawn into the primary off-screen buffer, based on the coor
web pages for the web site.                                       65 dinates and size as defined in FIG. 30. If not ready, there is a
   A check is made at 201 to see if the current web page exists. delay until the image observer reports the completion of the
If the web page does not exist, and the current web page image processing operation. The Intelligent 3D frame, if



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defined, is then drawn into the primary off-screen buffer for       5: Whether the values for the scaled width and height for
the image objects (See FIG. 30).                                       the current and prior web pages increment, decrement,
   The draw system is responsive to two other technologies at          or remain the same.
this stage. The first is user interaction based on the location of  For the "Zoom Out' animation, the current page is drawn
the mouse cursor and any user initiated mouse event. This 5 first and always drawn at 100%. The prior web page is ini
subject will be described in greater detail below in association tialized also at 100%, but its X and Y origin coordinates are
with FIG. 36. The second is object animation for non-delayed incremented and its scaled width and height values are dec
web page objects. This subject will be described in greater remented, by the appropriate values, for each animation itera
detail below in association with FIG. 33.                          tion.
   If the web page transition test at 204 was true, then the run 10 For the “Zoom to Upper Left”, “Zoom to Lower Right',
time engine's main run method executes the web page tran “Rotate to the Left”, “Rotate to the Right”, “Rotate Bottom to
sition animation technology at 205.                                Top' and “Rotate Top to Bottom' animations, a common data
   FIG. 32 describes the web page transition animation tech initialization and data increment strategy is implemented.
nology. First a lock is placed on this method at 212, as a safety     1: The X and Y variables for page image one is set to zero.
precaution to prevent any interference from other threads 15 2: The X and Y variables for page image two is set to the
during the animation. A test is then made on whether the                 right and bottom edges of the browser window.
transition animation setting (See FIG. 20) for the web page is        3: The scaled width and height variables for page image
random at 213. If so, a random transition number is generated            one is set to 100% of the browser window's resolution.
at 214. The web page thread then begins a particular anima            4: The scaled width and height variables for page image
tion loop at 215, depending upon the random number that was              two is set to Zero.
generated at 214 or by the transition animation that was set          5: For each loop iteration, the scaled width and height
previously (at FIG. 20). In one implementation, 13 different             variables for page image one are decremented by the X
transition animations plus random are Supported including.               and Y animation increment values defined at 215.
They are: Fade In, Zoom In, Zoom Out, Zoom to Upper Left,             6: For each loop iteration, the scaled width and height
Zoom to Lower Right, Rotate to the Left, Rotate to the Right, 25         variables for page image two are incremented by the X
Rotate Bottom to Top, Rotate Top to Bottom, Slide to the Left,           and Y Animation increment values defined at 215.
Slide to the Right, Slide Bottom to Top, and Slide Top to             For the "Zoom to Upper Left' animation, the prior web
Bottom.                                                            page is drawn first; with its X and Y origin coordinates always
   For all web page transition animations, the X and Y ani set to zero. (upper left corner of the browser window) Its
mation increment values are calculated by dividing the cur 30 scaled width and height values are always set to the current
rent browser's screen width and height by the user defined values for scaled width and height variables for page image
animation resolution at 215. In all animation and draw loops, one. The X and Y origin coordinates for the current web page
the number of loops can equal the number of animation can be calculated by Subtracting the current values of image
frames as set at FIG. 20. The timer delay for all animations, in two's scaled width and height variables from the initial values
milliseconds, can be calculated by dividing the number of 35 of the X and Y variables for page image two. The scaled width
frames per second (See FIG. 20) into 1,000.                        and height values for the current web page can be set to the
   For a description of "Fade In' Technology see FIG. 33. A current values for the scaled width and height variables for
“Zoom. In algorithm sets the initial scaled width and height page image two.
for the current web page image to Zero and the prior web page         For the "Zoom to Lower Right' animation, the current web
image to its full size. In each animation and draw loop the 40 page is drawn first; with its X and Y origin coordinates always
previous web page's final image state is drawn into a second set to Zero. Its scaled width and height values are always set to
ary off-screen buffer at 216. (If this is the first occurrence of the current values for scaled width and height variables for
the first web page, then the secondary off-screen buffer is set page image two. The X and Y origin coordinates for the prior
to the background of the first web page.) The upper left hand web page are set to current values of image two’s scaled width
corner (origin) of the current web page can be calculated 45 and height variables. The scaled width and height values for
based on the following formula: browser screen width minus the prior web page are set to the current values for the scaled
the scaled width divided by two.                                   width and height variables for page image one.
   The scaled image of the current web page is then drawn             For the “Rotate to the Left' animation, the prior web page
into the secondary off-screen buffer at the calculated origin,     is drawn first; with its X and Y origin coordinates always set
using the current scaled width and height for the web page 50 to Zero. Its scaled width value is set to current value of image
image. This merged image of the prior and Scaled version of one’s scaled width variable. Its scaled height value is always
the current web page is then drawn to the screen.                  set to the bottom of the browser's window. The X origin
   A timer delay then occurs as defined at 215, after which the coordinate for the current web page can be calculated by
X and Y animation increment values are added to the scaled         Subtracting the current value for image two’s scaled width
width and height for the current web page image. The anima 55 variable from the initial value for image two’s X origin coor
tion loop is then repeated to its conclusion at 218.               dinate. The Y origin coordinate for the current web page is
   The other eleven web page transition animations follow a always set to Zero. Its scaled width value is set to current value
similar methodology, but have quite different calculations, of image two’s scaled width variable. Its scaled height value
which are based on the following variables:                        is always set to the bottom of the browser's window.
   1: Order of drawing of the prior and current web pages. 60 For the “Rotate Bottom to Top' animation, the prior web
   2: Initialization values for the X and Y origin coordinates page is drawn first; with its X and Y origin coordinates always
      for the current and prior web pages.                         set to zero. Its scaled width value is set to the width of the
   3: The initial values for the scaled width and height for the browser window. Its scaled height value is set to current value
      current and prior web pages.                                 of image one's scaled height variable.
   4: Whether X and Y origin coordinates for the current and 65 The current web page's X origin coordinate is always set to
      prior web pages increment, decrement, or remain the Zero. The Y origin coordinate is calculated by subtracting the
      SaC.                                                         current value of image two’s scaled height variable from the



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initial value for image two’s Y origin coordinate. Its scaled        Communication of data, between the “instance' of a class and
width value is always set to the right edge of the browser's         the main run engine class can be accomplished in OOP using
window. Its scaled height value is set to current value of image     several different techniques. In one implementation, this con
two's scaled height variable.                                        struction, passed as an argument, is used to permit different
   For the “Rotate Top to Bottom' animation, the current web         objects to address each other's variables and databases. A
page is drawn first; with its X and Y origin coordinates always      thread is then created, utilizing a two-dimensional object
set to zero. Its scaled width value is set to the width of the       internal database architecture (web page number by internal
browser window. Its scaled height value is set to current value object number). This methodology is convenient for permit
of image two’s Scaled height variable.                               ting all object time lines for a given web page to be managed
   The prior web page's X origin coordinate is always set to 10 and synchronized. The objects thread is then “started.
Zero. The Y origin coordinate is set to the current value of            The result of this process at 209 is that an independent
image two’s Scaled height. Its scaled width value is always set thread has been created for each appropriate object on a given
to the right edge of the browser's window. Its scaled height web page, all executing simultaneously with each other and
value is set to current value of image one’s Scaled height with the main run time engine web page thread, Subject to the
variable.                                                         15 definitions of their independent time lines at 210. See FIG.33
   For the “Slide to the Left”, “Slide to the Right”, “Slide for a description of the time line technology. When the main
Bottom to Top' and "Slide Top to Bottom' transition anima web page thread has finished the text and image loop at 207,
tions, a common data initialization and data increment strat         the draw system is activated; the run time engine can now
egy is implemented. The strategy includes:                           respond to user interactions, and the main web page thread
   1: The X and Y variables for page image one is set to zero. transitions into a “Join' loop at 211. See FIG.35 for a descrip
   2: The X and Y variables for page image two is set to the tion of this process.
      right and bottom edges of the browser window.                     FIG. 33 shows the time line technology used by the run
   3: For each loop iteration, the X and Y variables for page time engine. The techniques and algorithms employed to
      image one are incremented by the X and Y animation create this technology permit each web page object to have an
      increment values defined at 215.                            25 independent yet synchronized existence with each other, with
   4: For each loop iteration, the X and Y variables for page the main web page thread, and with child objects that each
      image two are decremented by the X and Y animation main or parent object may spawn. Furthermore, each object
      increment values defined at 215.                               and each of their child objects are capable of performing
   5: The scaled width and height values always remain at multiple animations and transformations, either serially or
       100% of the browser windows width and height.              30 simultaneously. Database initialization is first accomplished
   For the “Slide to the Left' animation, the prior web page is for each object thread. This assures that the object threads
drawn first; with its X and Y origin coordinates always set to database is set to the correct initial values as required for that
Zero. The current web page's X origin coordinate is set to the particular object, and that the references to the main web page
current value of page image two’s X variable. Its Y origin thread's database are established.
coordinate is always set to Zero.                                 35    A test is then made to determine if the object has a time line
   For the “Slide to the Right' Animation, the current web definition assigned to it at 219.
page is drawn first, with its X and Y origin coordinates always         If not, a test is made at 220 on certain two-dimensional
set to Zero. The prior web page's X origin coordinate is set to object definition variables in order to determine which of the
the current value of page image one's X variable. Its Y origin following four states have been defined for the object: anima
coordinate is always set to Zero.                                 40 tion without a transformation; transformation without anima
   For the “Slide Bottom to Top' animation, the prior web tion; animation, with the transformation occurring simulta
page is drawn first; with its X and Y origin coordinates always neously with the animation; and animation and
set to Zero. The current web page's Y origin coordinate is set transformations occurring in a serial manner.
to the current value of page image two’s Y variable. Its X              If the test shows that the object has an animation defined,
origin coordinate is always set to Zero.                          45 but no transformation, then certain two-dimensional status
   For the "Slide Top to Bottom' animation, the current web variables are set, and an “instance' of the “animation class'
page is drawn first; with its X and Y origin coordinates always for that particular object type is created at 229. Each “anima
set to Zero. The prior web page's Y origin coordinate is set to tion class” is also implemented with a “runnable' interface.
the current value of page image one’s Y variable. Its X origin An object animation thread is then created, utilizing the two
coordinate is always set to Zero.                                 50 dimensional object internal database architecture (See FIG.
   After the last animation cycle is completed for any of the 8). This object animation thread is then “started”. Communi
transition animations at 218, the animation process is cation between the object animation thread, the parent time
unlocked, and process step 206 shown in FIG. 31 is then line thread, and its parent, and the main web page thread, are
executed.                                                            accomplished as discussed in process 209. The object time
   Returning to FIG. 31, the main web page threads run 55 line thread then executes a “Join' method. This puts the object
method then executes a text button and image object time line, time line thread in a “wait state'. When the thread it is waiting
transformation and animation loop at 206. This range loop is for is completed, this child thread joins the parent object
defined from the first object on the given web page to the high timeline thread, and the object time line thread then continues
watermark for the number of those objects on a web page for its process. Other forms of synchronization between two
this web site. A test is made on each object on whether an 60 independent threads could have been implemented as is
animation, transformation and/or time line has been assigned known in the art.
at 208.                                                                 The techniques employed at 229 to implement object ani
   If so, an “instance' of the time line class for that particular mation vary by object type. In one implementation, for text
object type is created at 209. An “instance' of a class is a button object animations, 26 different animations are Sup
fundamental aspect of object oriented programming (OOP). 65 ported including: Zoom In, Zoom Out, Grow NW. Grow NE,
Each time, the line class is implemented with a “runnable' Grow SE, Grow SW, Shrink SE, Shrink SW, Shrink NW,
interface, so that they can be executed as independent threads.      Shrink NE, Enter N, Enter NE, Enter E. Enter SE, Enter S,



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Enter SW, Enter W. Enter NW, Exit N, Exit NE, Exit E, Exit            generation method, and the frame is drawn with the same
SE, Exit S, Exit SW, Exit W and Exit NW. In one implemen              algorithm as defined in FIG. 31, but utilizing the current
tation, for image object animations, 29 different animations          animation X and Y coordinates. The text button objects ori
are Supported including: Fade In, Fade out, Rotate, Zoom In,          entation is also handled by the draw system with the same
Zoom Out, Grow NW, Grow NE, Grow SE, Grow SW, Shrink                  algorithms as defined in FIG. 31.
SE, Shrink SW, Shrink NW, Shrink NE, Enter N, Enter NE,                  The text button animation thread then executes a timer
Enter E. Enter SE, Enter S. Enter SW, Enter W. Enter NW,              delay, whose value had been defined in FIG. 17. When the
Exit N, Exit NE, Exit E, Exit SE, Exit S, Exit SW, Exit W and         timer reactivates the text button animation thread after the
Exit NW.                                                             appropriate delay, an animation cycle completion test is made
   As discussed above with regard to FIG. 17, each animation 10 to see if the text button objects point size minus the animation
type has a defined speed, resolution, and number of animation point size is less than the animation point size increment. This
cycles. These settings are stored in the main web page class, type of testing methodology permits the invention to utilize
and are passed to the particular animation thread through a integer values, as opposed to floating point values, for the text
two-dimensional object internal database architecture as dis button animation. This improves the execution of the anima
cussed in process step 209 above during the animation 15 tion considerably.
threads initialization process. The animation thread then               If the above test is true, the animation point size is set equal
executes, in its run method, a main animation loop that has the to the object point size and a final call is made to the draw
number of iterations set to the end number of animation              system for that animation cycle. A test is then made to see if
cycles, as assigned to that particular text button object.           the current animation cycle equals the total number of ani
   Text button animations are currently implemented in three mation cycles as defined in FIG. 17. If not, a new animation
logical groups. Group One includes “Zoom In”, “Grow NW, cycle is initiated, with the animation values reinitialized. If
“Grow NE”, “Grow SE, and “Grow SW. Group Two this was the last animation cycle the text button animation
includes “Zoom Out”, “Shrink SE’, “Shrink SW, “Shrink thread calls its “stop' method, which sets the required status
NW, and “Shrink NE. Group Three includes “Enter N”, variables as appropriate, then terminates itselfThis causes the
“Enter NE”, “Enter E”, “Enter SE”, “Enter S, “Enter SW, 25 parent text button time line thread to be reactivated through
“Enter W, “Enter NW, “Exit N”, “Exit NE”, “Exit E, “Exit             the join' mechanism.
SE”, “Exit S, “Exit SW, “Exit W and “Exit NW.                          If the results of animation cycle completion test are false,
   For Group One text button animations, the animation font the current animation point size is increased by the animation
size is initialized at a very small value, and in one implemen point size increment. A new font object is created for the now
tation is set at 4 Points. The animation point size increment 30 current animation point size, and new font metrics for that
can be derived by dividing the resolution (number of anima new font are created. If the text button object has a vertical
tion frames) into the fontsize for that text button object. The orientation, the animated text button objects width is calcu
run method then executes a secondary animation loop, which lated to be the width of an “m’ space, in the now current
will terminate when the animation font size equals the text animated font. The animated text button objects height is
button object point size. For each secondary animation loop, 35 calculated to be the now current animated font height times
the length of the current animated text string is calculated, a the number of characters in the text string. If the text has a
new font object is created for the current animation point size, horizontal orientation, the animated text button objects
and the font metrics for that new font are created. If the text      width is calculated to be the width of the text string in the now
button object has a vertical orientation, the animated text current animated font. The animated text button objects
button objects width is calculated to be the width of an “m 40 height is calculated to be the font height of the now current
space, in the current animated font. The animated text button animated font. The calculations for the new X and Y coordi
objects height is calculated to be current animated font nates for the animated text button object are then completed,
height times the number of characters in the text string. If the as appropriate, and the draw system is called again.
text had a horizontal orientation, the animated text button            The algorithms for Group Two text button animations are
objects width is calculated to be the width of the text string in 45 very similar to those of Group One. The differences are just in
the current animated font. The animated text button objects what are the initial animation values, and whether the anima
height can be calculated to be the font height of the current tion point size increments and the animation X and Y coor
animated font. The calculations for X and Y coordinates for           dinate increments are added or subtracted from the then cur
the animated text button object depend upon which animation rent animation point size and the then current X and Y
was defined within the Group One-text button animations. 50 coordinates for the animating text button object.
The XandYanimation increments can be calculated utilizing           For Group Three text button animations, the distance that
the height and width, in pixels, of the text button object scaled the text button animation will move is calculated, in pixels,
to the current browser's window, utilizing the text button from its initial location to its final location in the current
animation resolution, and considering whether the animating browser window. The X and Y animation increments are
text button object is being centered during the animation 55 calculated by dividing that distance by the resolution of the
(“Zoom Out”) or not. These calculations are similar to those text button animation. All the other algorithms for Group
for the web page transition animations discussed with regard Three text button animations are generally a Subset of those
to FIG. 32.                                                       for Group One, and similar to the web page slide transition
   The draw system is then called. Based on the values of the animations defined with reference to FIG. 31.
two-dimensional status variables that had been set initially, 60 Referring again to FIG. 33, image animations at process
the draw system executes the appropriate animation draw step 229 can currently be grouped into five logical classes. As
routine utilizing, through the data communication techniques with text button animations, Group One includes "Zoom In’.
already discussed, the current animation font point size, and “Grow NW, “Grow NE”, “Grow SE’, and “Grow SW.
the current animation X and Y coordinates. If a text back         Group Two includes “Zoom Out”, “Shrink SE”, “Shrink
ground is to be drawn, the same algorithm as defined in FIG. 65 SW, “Shrink NW, and “Shrink NE. Group Three includes
31 is used. If a 3D Frame is assigned, the current animated “Enter N”, “Enter NE”, “Enter E”, “Enter SE”, “Enter S,
string width and height are passed to the appropriate 3D frame “Enter SW, “Enter W, “Enter NW, “Exit N”, “Exit NE,



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“Exit E”, “Exit SE”, “Exit S, “Exit SW, “Exit W and “Exit          repeated until the loop condition is met. Then the “stop'
NW. In addition, image animations have a Group Four,               method is called, certain status variables are set, and the
which includes "Fade In' and "Fade Out”. Group 5 image             image animation thread terminates itself. This causes the
animations include the “Rotate' Animation.                         parent image time line thread to be reactivated through the
   For Group One mage animations, the animation width and "Join' mechanism.
height increments are calculated by dividing the image              The “Fade Out' animation employs very similar technol
objects width and height by the resolution (number of ani ogy, except that:
mation frames) as set in FIG. 17. The initial animation width       1: the alpha animation variable is set to Zero,
and animation height values are set to a very Small number,         2: the value for the alpha animation increment is Sub
currently equal to the animation width and height increment 10         tracted, and
values just calculated. The calculations for X and Y coordi         3: the loop termination test is when the value for the alpha
nates for the animated image object depends upon which                 animation variable is less than the value for the alpha
animation was defined within the Group One text button                 animation increment.
animations. The XandYanimation increments are calculated            For the Group Five image rotate animation, a different
utilizing the height and width, in pixels, of the image object 15 bitmap for the image object is created for each animation
scaled to the current browsers window, utilizing the image frame through the use of a progression of standard geometri
animation resolution, and considering whether the animating cal transformations on the original image bitmap. A second
image object is being centered during the animation ("Zoom ary animation loop is then executed as defined by the number
Out”) or not. These calculations are similar to those for the ofanimation frames. In each loop iteration, an image object is
web page Transition Animations discussed above with regard created from an appropriate image bitmap selected from
to FIG. 32.                                                       among the set just created, the necessary two-dimensional
   The run method then executes a secondary animation loop, variables are set to communicate with the draw system, and
which will terminate when the animation width equals the the draw system is then called. The image animation thread
image objects width. The algorithms employed by the inven then executes a timer delay method based on the delay setting
tion to change the animating objects height, width, X coor 25 as defined above with reference to FIG. 17. When the timer
dinate, and Y coordinate are very similar to those employed reactivates the image animation thread after the appropriate
for Group One text button animations, and will not be delay, the next iteration of the secondary animation loop is
repeated here. The techniques to utilize the draw system for repeated until the loop condition is met. Then the “stop'
drawing the image animation, the time delay technique, and method is called, certain status variables are set, and the
the post draw logic tests and actions are also very similar. 30 image animation thread terminates itself. This causes the
   The algorithms for Group Two image animations are very parent image time line thread to be reactivated through the
similar to those of Group One. The differences are justin what “join' mechanism.
are the initial animation values, and whether the animation         Returning to process step 220 shown in FIG. 33, if the
width and height increments and the animation X and Y object had a transformation, but not an animation, then certain
coordinate increments are added or subtracted from the then 35 two-dimensional status variables are set, and an “instance' of
current animation width and height and the then current Xand the “transformation class' for that particular object type is
Y coordinates for the animating image object.                   created at 228. Each “transformation class” is also imple
   For Group Three image animations, the algorithms are mented with a “runnable' interface. An object transformation
identical to those of Group Three text button animations. For thread is then created, utilizing the invention's two-dimen
Group Four image animations, the “alpha' value of a given 40 sional object internal database architecture. This object trans
image object is utilized in order to implement "Fade In' and formation thread is then “started'. The inter-thread commu
“fade Out' animations. The alpha value can range from 0 to nication technology and the join' technology employed for
255, depending upon the image strength desired. The value object transformations is the same as for object animations.
for an alpha animation increment variable can be calculated        If the transformation is being applied to a text button object
by dividing the resolution of the animation into 255, after 45 at 228, then a timer delay method is executed based on the
making the necessary adjustments to keep the data in integer delay setting as described in association with FIG. 18. When
form, without losing resolution due to integer rounding the timer reactivates the text button transformation thread
errors. For a "Fade In' animation the value of an alpha ani after the appropriate delay, the appropriate two-dimensional
mation variable is set to zero. The run method then executes a  status variables are set to inform the draw system which state
secondary animation loop, which will not terminate until 255 50 of the current text button object to draw. The draw system is
minus the then current value of the alpha animation variable called and, based on the settings for the above mentioned
is less than the value alpha animation increment variable. A two-dimensional status variables, either the “normal, mouse
"Fade In' image filter can be created for each iteration of the over, mouse down” or “pop-up' states of the text button
animation loop, using the current setting of the alpha anima object's background, if any, the text button object's String,
tion variable. An image producer can also be created with 55 and the 3D frame, if any, are drawn. If additional transforma
pointers to the last image bitmap produced for the image tions are defined (FIG. 18), the above process is repeated,
object in the last animation loop and to the image filter that based on the timer delay and object states defined for the
has just been created. The image producer, under the control    Subsequent transformations. When the last transformation is
of a media tracker then creates a new image bitmap. The completed, the “stop' method is called, which sets the
animation thread then “waits” for the completion of this 60 required status variables as appropriate. This causes the par
image-processing event using the media tracker. Upon ent text button time line thread to be reactivated through the
completion, the draw system is called which draws the then       join' mechanism.
current state of the image object. The image animation thread      If the transformation is being applied to an image object at
goes into a timer delay of some preset value (in one imple 228, then a timer delay method is executed based on the delay
mentation 500 milliseconds), to permit a smooth visual ani 65 setting (as defined in FIG. 18). When the timer reactivates the
mation effect. The value for the alpha animation increment is image transformation thread after the appropriate delay,
added to alpha animation variable and the loop is then image transformation technology is executed. In one imple



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mentation, the image transformation technology utilizes the class is created, and then another text button animation thread
“alpha value of a given image object state in order to fade in is created and “started. The parent text button transformation
and fade out images. The alpha value can range from 0 to 255, thread again waits to be joined'. This causes the text button
depending upon the image strength desired. The value for an animation thread to be executed again with the animation
alpha transformation increment variable is calculated by being executed, based on the definition set at FIG. 18, on a
dividing the resolution of the transformation into 255, after different text button object state. The loop is then repeated
making the necessary adjustments to keep the data in integer until the last text button transformation is completed. Then
form, without losing resolution due to integer rounding the text button transformation thread calls its “stop' method,
errors. The value of an alpha transformation variable is set to certain status variables are set, and the text button transfor
Zero. Depending upon the settings as defined in FIG. 18, the 10 mation thread terminates itself. This causes the parent text
bitmap for one image object state is initialized to an alpha button time line thread to be reactivated through the join'
value of Zero, while another is initialized to an alpha value of mechanism.
255. The appropriate two-dimensional status variables are set          If an image object, the mechanism of the image transfor
for communication with the draw system.                             mation thread spawns image animation threads, before each
   A transformation loop is then executed, until 255 minus the 15 transformation, and is the same as that of a text button object.
then current value of the alpha transformation variable is less The actual image transformation process is identical to that
than the value alpha transformation increment variable. This described at 228. When completed the “stop' method is
methodology again keeps all calculations in the form of inte called, certain status variables are set, and the image trans
gers, as opposed to floating point, thus speeding up the trans formation thread terminates itself. This causes the parent
formation process.                                                  image time line thread to be reactivated through the join'
   Two "Fade In' image filters are created for each iteration of mechanism.
the transformation loop. The first uses an alpha value calcu           Returning to process step 220 in FIG. 33, if the object was
lated at the current setting of the alpha transformation vari defined with a simultaneous animation and transformation,
able. The second uses an alpha value calculated at 255 minus then certain two-dimensional status variables are set, and an
the current setting of the alpha transformation variable. Two 25 “instance' of the “super transformation class' for that par
image producers are also created with pointers to the last ticular object type is created at 231. In one implementation,
image bitmap produced for each image object state in the last the animation, transformation, and Super transformation
transformation loop and to the two image filters that had just classes are integrated into one structure in order to reduce
been created. The two image producers under the control of code size and increase execution speed. Each “Super trans
two media trackers then create two new image bitmaps. The 30 formation class” is also implemented with a “runnable' inter
transformation thread then “waits” for the completion of face. An object Super transformation thread is then created,
these two image processing events using the media trackers. utilizing the two-dimensional object internal database archi
Upon completion, the draw system is called which draws the tecture. This object super transformation thread is then
then current state of the two image object states, in the correct “started”. The inter-thread communication technology and
order, and in the correct location. The image transformation 35 the join' technology employed for object Super transforma
thread goes into a timer delay of some preset value (500 tions is the same as for object transformations.
milliseconds in one implementation), to permit a smooth                If a text button object, a calculation is made in order to
visual transformation effect. The loop is then repeated until prorate the text button animation process across the defined
the loop condition is met. Then the “stop' method is called, text button transformation process. The calculation is driven
certain status variables are set, and the image transformation 40 by the number of text button animation frames, and prorates
thread terminates itself. This causes the parent image time from that total the number of frames that should be assigned
line thread to be reactivated through the join' mechanism.          to each transformation state. This can be done by dividing the
   Returning to process step 220 in FIG.33, if the object was sum of all the transformation times by each individual trans
defined with an animation and transformation that would             formation time, and multiplying that result by the number of
execute in a serial manner, then certain two-dimensional sta 45 frames, making necessary adjustments to prevent integer
tus variables are set, and an “instance' of the “transforma         rounding error. After these calculations are completed, the
tion' class for that particular object type is created at 230. An text button animation is executed in a similar manner as was
object transformation thread is then created, utilizing the defined at 229. However, when the appropriate number of
two-dimensional object internal database architecture. This animation frames had been drawn, certain two-dimensional
object transformation thread is then “started and the parent 50 status variables are set prior to calling the draw system for the
object time line thread “waits' to be joined'.                      next animation frame, so that the correct text button object
   If a text button object, then a primary loop is executed, with state is drawn, in the correct size and with the correct coor
the number of iterations set to the number of transformations.      dinates, by the draw system. When the super transformation
After the execution and return from a timer delay event, ifany, process is completed the “stop' method is called, certain
an “instance' of the text button animation class is created, and 55 status variables are set, and the text button Super transforma
then a text button animation thread is created and “started'.       tion threadterminates itself. This causes the parent text button
The parent text button transformation thread then waits to be time line thread to be reactivated through the join' mecha
 joined. This causes the text button animation thread to be nism.
executed, in the manner described at 229. When the text                If an image object, a calculation is made in order to prorate
button animation thread completes its execution, it calls its 60 the image animation process across the defined image trans
“stop' method, which sets the necessary status variables and formation process. The calculation is driven by the number of
then terminates itself. This causes the text button animation       image transformation events that would occur (where each
thread to join the parent text button animation thread, caus one can be set at approximately 500 milliseconds) over the
ing that thread to resume processing. The first text button entire animation event. A calculation is performed in order to
transformation is then executed, in the manner described at 65 calculate how many image transformation events should be
228. After the execution and return from another timer delay assigned to each transformation state. This is done by divid
event, if any, another “instance' of the text button animation ing the sum of all the transformation times by each individual



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transformation time, and multiplying that result by the total        formation class is created, and an appropriate animation,
number of transformation events, making necessary adjust             transformation, or Super transformation thread is created and
ments to prevent integer rounding error. A calculation is then       “started”. This results in the execution of process steps 228,
made to allocate the number of animation frames to each              229, 230, or 231, as defined above.
image transformation event. After these calculations are com            The parent object time line thread then executes a join'
pleted, the image animation is executed in a similar manner as method. This again puts the object time line thread in a “wait
was defined at 229. However, when the appropriate number of state'. When the thread it is waiting for is completed, the child
animation frames had been drawn, the image transformation thread joins the parent object time line thread, and the
technology is called to perform the next transformation event. object time line thread then continues its process.
The alpha transformation increment can be defined by divid 10 The object time line thread then checks to see if there is a
ing 255 by the number of transformation events assigned to departure delay defined at 232. If so, it sets a timer event at
that transformation. The draw system is then called. When the 233. When the timer reactivates the object time line thread
number of image transformation events assigned to a given after the appropriate delay, a test is made at 234 on whetheran
image transformation is reached, then certain two-dimen exit animation/transformation has been defined for this object
sional status variables are set prior to calling the draw system 15 time line, as described in FIG. 19. If so, it is created at 235,
for the next animation frame, so that the correct image states,      and performed as discussed with reference to processes 228,
in the correct size and with the correct coordinates, are uti        229, 230, or 231. In one implementation, 13 exit animations
lized by the draw system. This entire animation/transforma Supported for both text button and image objects, and an
tion process will be repeated by the number of image anima additional “Fade Out’ exit animation is supported for image
tion cycles. When the Super transformation process is objects. The 13 common exit animations include: Zoom Out,
completed the “stop' method is called, certain status vari Shrink NW, Shrink NE, Shrink SE, Shrink SW, Exit N, Exit
ables are set, and the text button Super transformation thread NE, Exit E, Exit SE, Exit S, Exit SW, Exit W and Exit NW.
terminates itself. This causes the parent text button time line         If no exit animation/transformation is defined, or when the
thread to be reactivated through the join' mechanism.                exit animation/transformation has joined the object time
   Returning to process step 219 in FIG.33, if the object had 25 line thread, the parent object time line thread then executes a
a time line, then a test is made at 221 on whether an appear          join' method if it had spawned any child time lines. This
ance delay had been defined in FIG. 19. If so, a timer event is again puts the object time line thread in a “wait state'. Finally,
set at 222.                                                          when then the child time line threads, if any, join the parent
   When the timer reactivates the object time line thread after object time line, the “stop' method for the parent time line is
the appropriate delay, a test is made on whether an entry 30 called. Certain status variables are set, and the parent object
animation/transformation has been defined for this object time line thread terminates itself. This causes the main web
time line at 224, as described FIG. 19. If so, based which page timeline that had been in a "join” loop at 211 of FIG.31,
animation/transformation process was defined, it is created since the invocation of the object time lines, to be joined by
and executed at 228, 229, 230, or 231. In one implementation, this particular object time line thread.
13 entry animations are supported for both text button and 35 FIG. 34 shows the technology employed by the run time
image objects, and an additional "Fade In' entry animation is engine for implementing child time lines for text button and
Supported for image objects. The 13 common entry anima image objects. Child text button object time lines and child
tions supported include Zoom In, Grow NW. Grow NE, Grow image object time lines are subsets of their parent object time
SE, Grow SW, EnterN, EnterNE, Enter E, Enter SE, Enter S,            lines. First a test is made at 237 on whether an appearance
Enter SW, Enter W and Enter NW                                    40 delay had been defined (See FIG. 19). If so, a timer event is set
   If no entry animation/transformation is defined, or when at 238. When the timer reactivates the child object time line
the entry animation/transformation has joined the object thread after the appropriate delay, a test is made on whetheran
time line thread, a test is made to determine if any child time entry animation has been defined for this child object time
lines have been defined at 225, as described in FIG. 19, for         line at 239 (as described FIG. 19). If so, it is created and
this parent object time line. If so, an “instance' of the “child 45 executed at 240 in a manner identical to that described at
timeline class' for that particular object type is created at 226. process step 229 in FIG. 33. The same 13 entry animations
Each "child time line class” is also implemented with a “run Supported for parent object time lines are also supported for
nable' interface. An object child time line thread is then both child text button and image objects, and the additional
created, utilizing the two-dimensional object internal data "Fade In' entry animation is supported for child image
base architecture. This object child time line thread is then 50 objects. The join' mechanism described in FIG. 33 is
“started”. The inter-thread communication technology and employed in an identical manner at 240 to synchronize the
the join' technology employed for object child time lines is child time line thread with its entry animation thread.
the same as for object time lines. Either a text button child           After being joined and reactivated, the child object time
time line thread or an image child time line thread, or both,        line performs a test at 241 on whether an exit delay had been
can be spawned at this time.                                      55 defined (See FIG. 19). If so, a timer event is set at 242. When
   Simultaneous with the execution of any spawned text but the timer reactivates the child object timeline thread after the
ton child time line threads, the parent object thread then appropriate delay, a test is made on whether an exit animation
executes the defined main animation and or transformation.           has been defined for this child object time line at 243, as
As with non-time line object threads, a test is made on certain described in association with FIG. 19. If so, it is created and
two-dimensional object definition variables in order to deter 60 executed at 244 in a manner identical to that described above
mine which of the following four states have been defined for at process step 229 in FIG. 33. The same 13 exit animations
the object at 227: animation without a transformation; trans Supported for parent object time lines are also supported for
formation without animation; animation, with the transfor            both child text button and image objects, and the additional
mation occurring simultaneously with the animation; and, "Fade Out’ exit animation is supported for child image
animation and transformations occurring in a serial manner. 65 objects. The join' mechanism described above in associa
   Based on the results of this test, an appropriate “instance' tion with FIG.33 is employed in an identical manner at 245 to
of an appropriate animation, transformation, or Super trans synchronize the child time line thread with its parent object



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time line thread. As discussed at process step 236 in FIG. 35. current width and height, in pixels, based on the current
the parent object time lines “wait until all their child time viewer's screen and browser window size. This can be accom
lines have terminated, before they in turn terminate and join' plished by first converting all coordinates and sizes to the
the main web page time line at FIG. 35.                             current viewer environment with the Scaling technology as
   FIG. 35 describes technology employed by the run time discussed above with regard to FIG. 27. Every time line,
engine for the web page and object thread loop. As noted in animation, and transformation thread updates, in real time,
FIG.31 at process step 211, after all the text button and image the run time engine's internal database positional and size
time line threads for the current web page had been launched, variables of the objects they define, utilizing the data com
the main web page thread executed a join' loop, waiting for munication techniques described above with reference to
the completion of all the parent object time line threads. 10 FIG. 33.
Because each parent object time line thread waited for their           The run time engine employs mouseRnter, mouseMove,
child object time line threads to be joined, as well as any mouse own, mouseCrag, mouseUp, and mouseRxit meth
other spawned animation threads, transformation threads, ods to constantly monitor the state of the mouse at all times.
and/or super transformation threads, the effect of this join' The onClick method (to detect a single click) and a special
loop at 246 is that the web page thread will not resume 15 ized method to detect a double click event are also employed.
processing until all parent time line threads have completed The on KeyDown method, with processing the returned scan
and that of all of their spawned threads.                           code, permits the run time engine to process all keyboard
   Upon resuming its processing after the join' process at events. The mouseBnter, mouseMove, mouse own, mouse
246 has been completed, the main web page thread checks at Drag, mouseUp, and mouseBXit methods return to the run
247 to see whether the current web page has an automatic time engine the exactX and Y coordinates of the mouse cursor
termination, based on a timer delay, or whether the web page at the instant that particular mouse event occurred. Thus for
will wait for a user interaction before terminating.                each Supported mouse based user interaction technique Sup
   If the web page has a time delay based termination setting,      ported by the run time engine, a two-dimensional loop exists
then a timer method is called at 249, and the web page goes to (web page number by object number) in which the current
“sleep' awaiting the completion of the timer event.              25 bounding rectangle for every object on a given web page is
   When the timer event occurs, the web page thread resumes being compared to the current mouse cursor location at all
processing by incrementing the web page counter by one, and times. The bounding rectangle is simply the current X and Y
the entire web page process, which began at process step 200 origin coordinates of an object, extended by its current width
in FIG. 31, is repeated. If the current web page termination and height. In this way, the run time engine is informed if the
setting was to set to wait until user interaction, then Web page 30 current mouse cursor location falls within one or more bound
thread is placed in a “pause state, and the run time engine ing rectangles. Parenthetically, the run time engine also
waits to respond to any mouse, keyboard or other user initi knows when the current mouse cursor falls outside the bound
ated event.                                                         ing rectangle of a given object.
   FIG. 36 describes the technology employed by the run time           Based on the type of mouse user interaction at 252, the run
engine for responding to user interactions. As mentioned in 35 time engine employs different techniques and executes dif
association with process step 204 of FIG. 31, as soon as the ferent methods. If the viewer moves the mouse at 253, the
draw system has been activated, the run time engine will mouseMove method informs the run time engine immedi
respond to any user interactions that have been defined (See ately of this event and the current mouse cursor coordinates.
FIG. 16). This is also true during any object time line events,        If this user mouse move action caused the mouse to move
as with respect to process step 207 of FIG. 31. The run time 40 into one or more bounding rectangles of any text button or
engine currently responds to “mouse over and “mouse image object(s) at 254, or out of one or more bounding rect
down” events for text button, image, and paragraph objects. angles of any text button or image object(s) at 255, then
For form objects, the run time engine will also respond to appropriate two-dimensional status variables are set and the
keyboard events. As the full-featured programming lan draw system is called. The draw system interprets the relevant
guages Supported by browsers evolve, the run time engine 45 two-dimensional variables for the existing text button and
may be configured to respond to other user interactions, image object(s) on the current web page in its draw loop as
including but not limited to single and double clicks from described above with reference to FIG. 16, and draws the
both the left and right mouse button, Voice commands, eye correct backgrounds, text strings, images, and 3D frames
focusing technologies, touch screen technologies, and push based on the state of each object, as just set by the “mouse
technologies originating from a server.                          50 Move' computational two-dimensional loop. If the mouse
   The run time engine invokes a “dynamic mouse to object has entered into or out of the bounding rectangles of any
recognition” technology at 251 in order to be responsive to image and/or text button object that has a defined text button,
the following elements:                                             image and/or video pop-up object (See FIG. 16), then the
   1: The location of objects will vary based on the viewer's draw system paints or effectively erases the appropriate back
      Screen resolution and browser window size as discussed 55 ground, text string, images and/or 3D frame for these pop-up
      above with regard to FIG. 27.                                 objects. If the location of any of these text button and image
   2: Objects may move or resize themselves based on time objects or child pop-up objects is changing over time because
     lines and animations.                                         of time line, animation, or transformation threads, the draw
  3: Objects may have different sizes based on the state they system, as described in association with FIG.33 and FIG.34,
     are being displayed in based on time lines and transfor 60 is aware of these dynamics, and redraws the screen as these
     mations.                                                    real time events occur. If any sound or video events were
  4: More than one object can occupy the same screen loca defined (See FIG. 16) for any text button or image objects,
     tion, and which objects occupy that location may change then the run time engine plays those Sound and/or video files
     over time based on time lines, animations, and transfor     or channels as defined. As multiple objects can be defined that
     mations.                                                 65 each have associated Sound (and even video) files, and these
  The run time engine maintains, in its internal database, the objects can be overlaid on each other, either completely or
objects current X and Y origin coordinates, and the objects partially, very interesting synchronized multiple Soundtracks



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(12) United States Patent                                                      (10) Patent No.:                       US 9,063,755 B2
       Rempell et al.                                                          (45) Date of Patent:                               Jun. 23, 2015
(54) SYSTEMS AND METHODS FOR                                                (52) U.S. Cl.
       PRESENTING INFORMATION ON MOBILE                                            CPC .................................... G06F 9/4443 (2013.01)
       DEVICES                                                              (58) Field of Classification Search
                                                                                   CPC ....................................................... GO6F 3/048
(75) Inventors: Steven H. Rempell, Novato, CA (US);                                USPC .......................................................... 71.5/738
               David Chrobak, Clayton, CA (US); Ken                                See application file for complete search history.
               Brown, San Martin, CA (US)
                                                                            (56)                          References Cited
(73) Assignee: Express Mobile, inc., Novato, CA (US)
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(*) Notice:        Subject to any disclaimer, the term of this
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(21) Appl. No.:          12/936,395                                          2006/0063518 A1    3/2006 Paddon et al. ................ 455,418

(22) PCT Filed:          Apr. 6, 2009                                                                  OTHER PUBLICATIONS

(86). PCT No.:           PCT/US2009/039695                                  Stina Nylander etal. “The Ubiquitous Interactor-Device Independent
                                                                            Access to MobileServices” (Computer-Aided Design for User Inter
       S371 (c)(1),                                                         faces IV, Proceedings of the Fifth International Conference on Com
       (2), (4) Date:    Nov. 3, 2010                                       puter-Aided Design of User Interfaces CADUI 2004, Jan. 2004, pp.
                                                                            271-282).*
(87) PCT Pub. No.: WO2009/126591
       PCT Pub. Date: Oct. 15, 2009                                         * cited by examiner
(65)                    Prior Publication Data                              Primary Examiner — Jennifer To
                                                                            Assistant Examiner — Xuyang Xia
       US 2011 FO1 O7227A1        May 5, 2011                               (74) Attorney, Agent, or Firm — Steven R. Vosen
             Related U.S. Application Data                                  (57)                           ABSTRACT
(60) Provisional application No. 61/166.651, filed on Apr.                  Embodiments of a system and method are described for gen
     3, 2009, provisional application No. 61/113,471, filed                 erating and distributing programming to mobile devices over
     on Nov. 11, 2008, provisional application No.                          a network. Devices are provided with Players specific to each
     61/123,438, filed on Apr. 7, 2008.                                     device and Applications that are device independent.
                                                                            Embodiments include a full-featured WYSIWYG authoring
(51) Int. Cl.                                                               environment, including the ability to bind web components to
       G06F 3/048              (2013.01)                                    objects.
       G06F 9/44               (2006.01)
       G06F 9/45               (2006.01)                                                         28 Claims, 18 Drawing Sheets
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                                             12 Auerns                                 123 Memory
                                             114 Devi                                   25 Processor
                                              "s. Routines


                                             13 Processor


                                             17 input
                                                 Device

                                                                                       131 Network
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                                                  Content
                                            140 Server                                 133 Memory
                                             14 Network
                                                   terface                                 Processor

                                             143 Memory                                137 Screen
                                             145 Processor                             139 input
                                                                                             device




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      112 Authoring
                 Too

      114 Device
             Routines


          3 Processor

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                                                              interface




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                                             Appx348
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            Object Selected: Text Field


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                            SMS Server      "



                           805
                           Content Server




                                            Promo Code



              805
           Content Server




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                             1.                                                                 2
         SYSTEMS AND METHODS FOR                                    In another embodiment, one of the codes is an Application
     PRESENTING INFORMATION ON MOBILE                            that is a device independent code that interpreted by the
                  DEVICES                                        Player.
                                                                    These features together with the various ancillary provi
                   TECHNICAL FIELD                               sions and features which will become apparent to those
                                                                 skilled in the art from the following detailed description, are
  The present invention generally relates to providing soft      attained by the system and method of the present invention,
ware for mobile devices, and more particularly to a method       preferred embodiments thereof being shown with reference
and system for authoring Applications for devices.               to the accompanying drawings, by way of example only,
                                                            10   wherein:
                  BACKGROUND ART
                                                                            BRIEF DESCRIPTION OF DRAWINGS
   Internet-connected mobile devices are becoming ever               FIG. 1A is an illustrative schematic of one embodiment of
more popular. While these devices provide portability to the 15 a system
Internet, they generally do not have the capabilities of non providing including       an authoring platform and a server for
                                                                             programming    instructions to a device over a net
mobile devices including computing, input and output capa work;
bilities.
   In addition, the mobility of the user while using such forFIG.1B           is schematic of an alternative embodiment system
                                                                      providing  programming instructions to device over a net
devices provides challenges and opportunities for the use of work;
the Internet. Further, unlike non-mobile devices, there are a        FIG. 2A is a schematic of an embodiment of system illus
large number of types of devices and they tend to have a trating the communications between different system com
shorter lifetime in the marketplace. The programming of the ponents;
myriad of mobile devices is a time-consuming and expensive           FIG. 2B is a schematic of one embodiment of a device
proposition, thus limiting the ability of service providers to 25 illustrating an embodiment of the programming generated by
update the capabilities of mobile devices.                        authoring platform;
   Thus there is a need in the art for a method and apparatus        FIGS. 3A and 3B illustrate one embodiment of a publisher
that permits for the efficient programming of mobile devices. interface as it appears, for example and without limitation, on
Such a method and apparatus should be easy to use and a screen while executing an authoring tool;
provide output for a variety of devices.                       30    FIG. 3C illustrates an embodiment of the Events Tab'
                                                                    FIG. 3D illustrates one embodiment of an Animation Tab:
             DISCLOSURE OF INVENTION                               FIG.3E illustrates one embodiment of Bindings Tab:
                                                                   FIG.3F illustrates one embodiment of a pop-up menu for
   In certain embodiments, a system is provided to generate adding web components;
code to provide content on a display of a platform. The system 35 FIG. 4A shows a publisher interface having a layout on a
includes a database of web services obtainable over a network    canvas; and FIG. 4B shows a device having the resulting
and an authoring tool. The authoring tool is configured to layout on a device Screen;
define an object for presentation on the display, select a com     FIG. 5 shows a display of launch strips:
ponent of a web service included in said database, associate       FIG. 6A is a display of a Channel Selection List:
said object with said selected component, and produce code 40 FIG. 6B is a display of a Widget Selection List;
that, when executed on the platform, provides said selected        FIG. 6C is a display of a Phone List:
component on the display of the platform.                          FIG. 7 shows a display of a mash-up:
   In certain other embodiments, a method is provided for          FIG. 8 is a schematic of an embodiment of a push capable
providing information to platforms on a network. The method system;
includes accepting a first code over the network, where said 45 FIG. 9 is a schematic of an alternative embodiment of a
first code is platform-dependent; providing a second code push capable system;
over the network, where said second code is platform-inde          FIG. 10 is a schematic of one embodiment of a feed col
pendent; and executing said first code and said second code lector;
on the platform to provide web components obtained over the        FIG. 11 is a schematic of an embodiment of a Mobile
network.                                                        50 Content Gateway;
   In certain embodiments, a method for displaying content            FIG. 12 is a schematic of one embodiment of a system that
on a platform utilizing a database of web services obtainable includes a response director, a user agent database, an IP
over a network is provided. The method includes: defining an address database, and a file database; and
object for presentation on the display; selecting a component         FIG. 13 is a schematic of another embodiment of a system
of a web service included in said database; associating said 55 that includes a response director, a user agent database, an IP
object with said selected component; and producing code address database, and a file database.
that, when executed on the platform, provides said selected           Reference symbols are used in the Figures to indicate cer
component on the display of the platform.                          tain components, aspects or features shown therein, with
   In one embodiment, one of the codes is a Player, which is reference symbols common to more than one Figure indicat
a thin client architecture that operates in a language that 60 ing like components, aspects or features shown therein.
manages resources efficiently, is extensible, Supports a robust
application model, and has no device specific dependencies.                  MODE(S) FORCARRYING OUT THE
In another embodiment, Player P is light weight and extends                                INVENTION
the operating system and/or virtual machine of the device to:
Manage all applications and application upgrades, and 65 FIG. 1A is an illustrative schematic of one embodiment of
resolve device, operating system, VM and language fragmen a system 100 including an authoring platform 110 and a
tation.                                                            server 120 for providing programming instructions to a



                                                        Appx364
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device 130 over a network N. In one embodiment, device 130           114 may include Java APIs and an authoring tool System
is a wireless device, and network N includes wireless com            Development Kit (SDK) for specific devices 130.
munication to the device. Alternatively, system 100 may pro             Server 120 is a computer or computer system that includes
vide access over network N to other information, data, or            a network interface 121, a memory 123. and a processor 125.
content, such as obtainable as a web service over the Internet. 5 Is to be understood that network interface 121, memory 123,
In general, a user of authoring platform 110 may produce and processor 125 are configured such that a program stored
programming instructions or files that may be transmitted in the memory may be executed by the processor to: accept
over network N to operate device 130, including instructions input and/or provide output to authoring platform 110; accept
or files that are sent to device 130 and/or server 120. The result   input and/or provide output through network interface 121
of the authoring process is also referred to herein, and without 10 over network N to network interface 131; or store information
limitation, as publishing an Application.                            from authoring platform 110 or from device 130 for transmis
    Embodiments include one or more databases that store             sion to another device or system at a later time.
information related to one or more devices 130 and/or the               In one embodiment, authoring platform 110 permits a user
content provided to the devices. It is understood that such to design desired displays for screen 137 and actions of device
databases may reside on any computer or computer system on 15 130. In other words, authoring platform 110 is used to pro
networkN, and that, in particular, the location is not limited to gram the operation of device 130. In another embodiment,
any particular server, for example.                                  authoring platform 110 allows a user to provide input for the
   Device 130 may be, for example and without limitation, a design of one or more device displays and may further allow
cellular telephone or a portable digital assistant, includes a the user to save the designs as device specific Applications.
network interface 131, a memory 133, a processor 135, a The Applications may be stored in memory 123 and may then
screen 137, and an input device 139. Network interface 131 is be sent, when requested by device 130 or when the device is
used by device 130 to communication over a wireless net otherwise accessible, over network N, through network inter
work, such as a cellular telephone network, a WiFi network or face 130 for storage in memory 133.
a WiMax network, and then to other telephones through a                 In an alternative embodiment, analytics information from
public switched telephone network (PSTN) or to a satellite, or 25 devices 130 may be returned from device 130, through net
over the Internet. Memory 133 includes programming work N and server 120, back to authoring platform 110, as
required to operate device 130 (such as an operating system or indicated by line B, for later analysis. Analytics information
virtual machine instructions), and may include portions that includes, but is not limited to, user demographics, time of day,
store information or programming instructions obtained over and location. The type of analytic content is only limited by
network interface 131, or that are input by the user (such as 30 which listeners have been activated for which objects and for
telephone numbers or images from a device camera (not which pages. Analytic content may include, but is not limited
shown). In one embodiment screen 137 is a touch screen, to, player-side page view, player-side forms-based content,
providing the functions of the screen and input device 139.          player-side user interactions, and player-side object status.
   Authoring platform 110 includes a computer or computer               Content server 140 is a computer or computer system that
system having a memory 111, a processor 113, a screen 115, 35 includes a network interface 141, a memory 143. and a pro
and an input device 117. It is to be understood that memory cessor 145. It is to be understood that network interface 141,
111, processor 113, screen 115, and input device 117 are memory 143, and processor 145 are configured such that a
configured such a program stored in the memory may be stored program in the memory may be executed by the pro
executed by the processor to accept input from the input cessor to accepts requests R from device 130 and provide
device and display information on the screen. Further, the 40 content C over a network, such as web server content the
program stored in memory 111 may also instruct authoring Internet, to device 130.
platform 110 to provide programming or information, as indi             FIG.1B is schematic of an alternative embodiment system
cated by the line labeled “A” and to receive information, as         100 for providing programming instructions to device 130
indicated by the line labeled “B”                                    over a network N that is generally similar to the system of
   Memory 111 is shown schematically as including a stored 45 FIG. 1A. The embodiment of FIG. 1B illustrates that system
program referred to herein, and without limitation, as an 100 may include multiple servers 120 and/or multiple devices
authoring tool 112. In one embodiment, authoring tool 112 is 130.
a graphical system for designing the layout of features as a            In the embodiment of FIG. 1B, system 100 is shown as
display that is to appear on screen 137. One example of including two or more servers 120, shown illustratively and
authoring tool 112 is the CDERTM publishing platform (Ex 50 without limitation as servers 120a and 120b. Thus some of the
press Mobile, Inc., Novato, Calif.).                                 programming or information between authoring platform
   In another embodiment, which is not meant to limit the            110 and one or more devices 130 may be stored, routed,
scope of the present invention, device 130 may include an updated, or controlled by more than one server 120. In par
operating system having a platform that can interpret certain ticular, the systems and methods described herein may be
routines. Memory 111 may optionally include programming 55 executed on one or more server 120.
referred to herein, and without limitation, as routines 114 that        Also shown in FIG. 1B are a plurality of devices 130,
are executable on device 130.                                        shown illustratively and without limitation as device 130-1,
   Routines 114 may include device-specific routines—that 130-1,... 130-N. System 100 may thus direct communication
is, codes that are specific to the operating system, program between individual server(s) 120 and specific device(s) 130.
ming language, or platform of specific devices 130, and may 60 As described subsequently, individual devices 130 may be
include, but are not limited to, Java, Windows Mobile, Brew,         provided with program instructions which may be stored in
Symbian OS, or Open Handset Alliance (OHA). Several each device's memory 133 and where the instructions are
examples and embodiments herein are described with refer executed by each device's processor 135. Thus, for example,
ence to the use of Java. It is to be understood that the invention   server(s) 120 may provide device(s) 130 with programming
is not so limited, except as provided in the claims, and that one 65 in response to the input of the uses of the individual devices.
skilled in the art could provide Players for devices using Further, different devices 130 may be operable using different
routines provided on a platform. Thus as an example, routines sets of instructions, that is having one of a variety of different



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“device platforms. Differing device platforms may result,         for interacting with a user of device 130, and/or instructions
for example and without limitation, to different operating        for otherwise operating the device. Such as to place a tele
systems, different versions of an operating system, or differ     phone call.
ent versions of virtual machines on the same operating sys          The Application is preferably code in a device-independent
tem. In some embodiments, devices 130 are provided with           format, referred to herein and without limitation as a Portable
Some programming from authoring system 100 that is par             Description Language (PDL). The device's Player interprets
ticular to the device.                                             or executes the Application to generate one or more pages'
   In one embodiment, system 100 provides permits a user of (Applications Pages') on a display as defined by the PDL.
authoring platform 110 to provide instructions to each of the 10 The Player may include code that is device-specific—that it,
plurality of devices 130 in the form of a device- or device each device is provided with a Player that is used in the
platform specific instructions for processor 135 of the device, interpretation and execution of Applications. Authoring tool
referred to herein and without limitation as a “Player, and a 112 may thus be used to design one or more device-indepen
device-independent program, referred to herein and without dent Applications and may also include information on one or
limitation as an "Application' Thus, for example, authoring 15 more different devices 130 that can be used to generate a
platform 110 may be used to generate programming for a Player that specific devices may use to generate displays from
plurality of devices 130 having one of several different device the Application.
platforms. The programming is parsed into instructions used           In one embodiment, system 100 provides Players and
by different device platforms and instructions that are inde Applications to one server 120, as in FIG. 1A. In another
pendent of device platform. Thus in one embodiment, device embodiment, system 100 provides Players to a first server
130 utilizes a Player and an Application to execute program        120a and Applications to a second server 120b, as in FIG. 1B.
ming from authoring platform 110. A device having the cor             In one embodiment, authoring tool 112 may be used to
rect Player is then able to interpret and be programmed program a plurality of different devices 130, and routines 114
according to the Application.                                      may include device-specific routines. In another embodi
   In one alternative embodiment, the Player is executed the 25 ment, the Player is of the type that is commonly referred to as
first time by device 130 (“activated') through an Application a “thin client’ that is, software for running on the device as
directory. In another alternative embodiment, the Player is a client in client-server architecture with a device network
activated by a web browser or other software on device 130. which depends primarily on a central server for processing
In yet another alternative embodiment, Player is activated activities, and mainly focuses on conveying input and output
through a signal to device 130 by a special telephone num 30 between the user and the server.
bers, such as a short code.                                           In one embodiment, authoring platform 110 allows user to
   When the Application and the Player are provided to arrange objects for display on screen. A graphical user inter
memory 133, the functioning of device 130 may occur in face (“GUI. or “UI) is particularly well suited to arranging
accordance with the desired programming. Thus in one objects, but is not necessary. The objects may correspond to
embodiment, the Application and Player includes program 35 one or more of an input object, an output object, an action
ming instructions which may be stored in memory 133 and object, or may be a decorative display, Such as a logo, or
which, when executed by processor 135, generate the background color or pattern, such as a solid or gradient fill. In
designed displays on screen 137. The Application and Player another embodiment, authoring platform 110 also permits a
may also include programming instructions which may be user to assign actions to one or more of an input object, an
stored in memory 133 and which provide instructions to 40 output object, oran action object. In yet another embodiment,
processor 135 to accept input from input device 139.               authoring platform 110 also permits a user to bind one or
   Authoring tool 112 may, for example, produce and store more of an input object, an output object, or an action object
within memory 111a plurality of Players (for different with web services or web components, or permits a user to
devices 130) and a plurality of Applications for displaying provide instructions to processor 135 to store or modify infor
pages on all devices. The Players and Applications are then 45 mation in memory 133, to navigate to another display or
stored on one or more servers 120 and then provided to             service, or to perform other actions, such as dialing a tele
individual devices 130. In general, Applications are provided phone number.
to device 130 for each page of display or a some number of            In certain embodiments, the applicant model used in devel
pages. A Player need be provided once or updated as neces oping and providing Applications is a PDL. The PDL can be
sary, and thus may be used to display a large number of 50 conceptually viewed as a device, operating system and virtual
Applications. This is advantageous for the authoring process,      machine agnostic representation of Java serialized objects. In
since all of the device-dependent programming is provided to certain embodiments, the PDL is the common language for
a device only once (or possibly for Some Small number of authoring tool 112, the Application, and Player. Thus while
upgrades), permitting a smaller Application, which is the either designing the Application with the authoring tool 112,
same for each device 130.                                       55 or programming with the SDK, the internal representation of
   Thus, for example and without limitation, in one embodi the programming logic is in Java. In one embodiment the
ment, the Player transforms device-independent instructions        SDK is used within a multi-language Software development
of the Application into device-specific instructions that are platform comprising an IDE and a plug-in system to extend it,
executable by device 130. Thus, by way of example and such as the Eclipse Integrated Development Environment
without limitation, the Application may include Java pro 60 (see, for example, http://www.eclipse.org/). At publish time
gramming for generating a display on Screen 137, and the the Java code is translated into a PDL. This translation may
Player may interpret the Java and instruct processor 135 to also occur in real-time during the execution of any Web Ser
produce the display according to the Application for execu vices or backend business logic that interacts with the user.
tion on a specific device 130 according to the device platform.       One embodiment for compacting data that may be used is
The Application may in general include, without limitation, 65 described in U.S. Pat. No. 6,546,397 to Rempell (“Rempell”),
instructions for generating a display on Screen 137, instruc the contents of which are incorporated herein by reference. In
tions for accepting input from input device 139, instructions that patent the compressed data is described as being a data



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base. The terminology used here is a PDL, that is the “internal     120, device 130 and content server 140 are which are gener
database' of Rempell is equivalent to the PDL of the present ally similar to those of the embodiments of FIGS. 1A and 1B,
Application.                                                        except as explicitly noted.
   The use of a PDL, as described in Rempell, permits for              Response director 210 is a computer or computer system
efficient code and data compaction. Code, as well as vector, 5 that may be generally similar to server 120 including the
integer and Boolean data may be compacted and then com ability to communicate with authoring platform 110 and one
pressed resulting in a size reduction of 40 to 80 times that of or more devices 130. In particular, authoring platform 110
the original Java serialized objects. This is important not only generates one or more Players (each usable by certain devices
for performance over the network but for utilizing the virtual 10 130)    which are provided to response director 210. Devices
                                                                    130 may be operated to provide response director 210 with a
memory manager of the Player more efficiently. As an request                 for a Player and to receive and install the Player. In
example, the reassembled primitives of the Java objects may one embodiment,            device 130 provides response director 210
first undergo logical compression, followed by LZ encoding. with          device-specific information including but not limited to
   The use of a PDL also provides virtual machine and oper
ating system independence. Since the reassembled primitives 15 make,       model, and/or software version of the device. Response
                                                                    director 210 then determines the appropriate Player for the
of the Application no longer have any dependencies from the device, and provides the device with the Player over the
original programming language (Java) that they were defined network.
in. The PDL architecture takes full advantage of this by               Web service 230 is a plurality of services obtainable over
abstracting all the virtual machine and/or operating system the Internet. Each web service is identified and/or defined as
interfaces from the code that processes the PDL.                    an entry in web component registry 230, which is a database,
   In one embodiment, the PDL is defined by the means of XML file, or PDL that exists on a computer that may be a
nested arrays of primitives. Accordingly, the use of a PDL server previously described or another server 120. Web com
provides extensibility and compatibility, with a minimal ponent registry 230 is provided through server 120 to author
amount of constraints in extending the Player seamlessly as ing platform 110 So that a user of the authoring platform may
market demands and device capabilities continue to grow. 25 bind web services 230 to elements to be displayed on device
Compatibility with other languages is inherent based on the 130, as described subsequently.
various Player abstraction implementations, which may be,              In one embodiment, authoring platform 110 is used in
for example and without limitation, Java CDC, J2SE or conjunction with a display that provides a WYSIWYG envi
MIDP2 implementations.                                              ronment in which a user of the authoring platform can pro
   In one embodiment, the architecture of Player P includes 30 duce an Application and Player that produces the same dis
an abstraction interface that separates all device, operating play and the desired programming on device 130. Thus, for
system and virtual machine dependencies from the Player's example, authoring tool 112 provides a display on screen 115
Application model business logic (that is, the logic of the that corresponds to the finished page that will be displayed on
server-side facilities) that extend the Application on the screen 137 when an Application is intercepted, via a Player,
Player so that it is efficiently integrated into a comprehensive 35 on processor 135 of device 130.
client/server Application. The use of an abstraction interface         Authoring platform 110 further permits a user of the
permits the more efficient porting to other operating systems authoring platform to associate objects, such as objects for
and virtual machines and adding of extensions to the Appli presenting on screen 137, with components of one or more
cation model so that a PDL can be implemented once and then web services 230 that are registered in web component reg
seamlessly propagated across all platform implementations. 40 istry 220. In one embodiment, information is provided in an
The Application model includes all the currently supported XML file to web component registry 220 for each registered
UI objects and their attributes and well as all of the various components of each web service 230. Web component regis
events that are supported in the default Player. Further, less try 220 may contain consumer inputs related to each web
robust platforms can be augmented by extending higher end service 230, environmental data such as PIM, time or location
capabilities inside that platforms abstraction interface imple 45 values, persistent variable data, outputs related to the web
mentation.                                                          service, and/or optional hinting for improving the user's pro
   In one embodiment, authoring platform 110 provides one ductivity.
or more pages, which may be provided in one Application, or            A user of authoring platform 110 of system 200 may define
a plurality of Applications, which are stored in memory 123 associations with web services as WebComponent Bindings.
and subsequently provided to memory 133. In certain 50 In one embodiment, authoring platform 110 allows a user to
embodiments, the Application includes instructions R to associate certain objects for display that provide input or
request content or web services C from content server 140. output to components of web service 230. The associated
Thus, for example and without limitation, the request is for bindings are saved as a PDL in server 120.
information over the network via a web service, and the                In one embodiment, an XML web component registry 220
request R is responded to with the appropriate information for 55 for each registered web service 230 is loaded into authoring
display on device 130. Thus, for example, a user may request platform 110. The user of system 200 can then assign com
a news report. The Application may include the layout of the ponents of any web service 230 to an Application without any
display, including a space for the news, which is downloaded need to write code. In one embodiment, a component of web
form content server 140 for inclusion on the display. Other service 230 is selected from authoring platform 110 which
information that may be provided by content server 140 may 60 presents the user with WYSIWYG dialog boxes that enable
include, but is not limited to, pages, Applications, multime the binding of all the inputs and outputs of component of web
dia, and audio.                                                     service 230 to a GUI component of the Application as will be
   FIG. 2A is a schematic of a system 200 of an embodiment displayed on screen 137. In addition, multiple components of
of system 100 illustrating the communications between dif one or more web service 230 can be assigned to any Object or
ferent system components. System includes a response direc 65 Event in order to facilitate mashups. These Object and/or
tor 210, a web component registry 220, and a web service 230.       Event bindings, for each instance of a component of any web
System 200 further includes authoring platform 110, server service 230, are stored in the PDL. The content server 140



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handles all communication between device 130 and the web           element within a graphical list; any icon within a launch strip;
service 230 and can be automatically deployed as a web any feature within any geographical view of a GIS service
application archive to any content server.                         object; and/or any virtual room within a virtual tour.
   Device 130, upon detecting an event in which a component           As an example of third-party web services 230 that may be
of a web service 230 has been defined, assembles and sends         provided using system 200, a user of authoring platform 110
all related inputs to content server 240, which proxies the can place, for example, Yahoo maps into device 130 by bind
request to web service 230 and returns the requested infor ing the required component of the Yahoo Maps Web Service,
                                                                   Such as Yahoo Map’s Inputs and/or Outputs to appropriate
mation to device 130. The Player on device 130 then takes the Objects
outputs of web service 230 and binds the data to the UI                     of authoring platform 110. System 200 also provides
components in the Application, as displayed on screen 137. 10 binding to web services for text, image and video searching
   In one embodiment, the mechanism for binding the outputs by binding to components of those web services.
of the web service to the UI components is through symbolic           In one embodiment, an Application for displaying on
references that matches each output to the symbolic name of device 130 includes one or more Applications Pages, each
the UI component. The outputs, in one embodiment, may referred to herein as an “XSP that provides functionality that
include meta-data which could become part of the inputs for 15 extends beyond traditional web browsers. The XSP is defined
subsequent interactions with the web service.                      as a PDL, in a similar manner as any Application, although it
   For example, if a user of authoring platform 110 wants to defines a single page view, and is downloaded to the Player
present an ATOM feed on device 130, they would search dynamically as required by the PDL definition of the Appli
through a list of UI Components available in the authoring cation. Thus, for example, while JSPs and ASPs, are restricted
platform, select the feed they want to use, and bind the output to the functionality supported by the web browser, the func
of the feed summary to a textbox. The bindings would be tionality of XSPs can be extended through authoring platform
saved into the PDL on server 120 and processed by device 130       110 having access to platform dependent routines 114, such
at runtime. If the ATOM feed does not exist a new one can be       as Java APIs. Combined with dynamic binding functionality,
added to the web component registry that contains all the an XSP, a page can be saved as a page object in an author's
configuration data required, such as the actual feed URL, the 'pages' library, and then can be dynamically populated with
web component manager URL, and what output fields are 25 real-time content simultaneously as the page is downloaded
available for binding.                                             to a given handset Player based on a newly expanded API.
   In another embodiment, components of web services 230 XSP Server Pages can also be produced programmatically,
are available either to the user of authoring platform 110 or but in most cases authoring platform 110 will be a much more
otherwise accessible through the SDK and Java APIs of rou efficient way to generate and maintain libraries of dynami
tines 114. System 200 permits an expanding set of compo 30 cally changing XSPs.
nents of web services 230 including, but not limited to: server       With XSPs, Applications Pages that have dynamic content
pages from content server 120; third-party web services associated with them can be sent directly to device 130, much
including, but not limited to: Searching (such through Google like how a web browser downloads an HTML page through a
or Yahoo), maps (such as through MapQuest and Yahoo), external reference. Without XSPs, content authors would
storefronts (such as through ThumbPlay), SMS share (such as 35 have to define each page in the Application. With XSPs, no
through clickatel), Stock quotes, social networking (such as pages need to be defined. Thus, for example, in a World Cup
through FaceBook), Stock quotes, weather (Such as through Application, one page could represent real-time scores that
Accuweather) and/or movie trailers. Other components change continuously on demand. With polling (for example,
include web services for communication and sharing through a prompt to the users asking who they predict will win a
chats and forums and rich messaging alerts, where message 40 game), a back-end database would tabulate the information
alerts are set-up that in turn could have components of Web and then send the results dynamically to the handsets. With a
Services 230 defined within them, including the capture of bar chart, the Application would use dynamic PDL with scal
consumer generated and Web Service supplied rich media ing on the fly. For example, the server would recalibrate the
and textual content.                                               bar chart for every ten numbers.
   System 200 also permits dynamic binding of real-time               Other combinations of components of web services 230
content, where the inputs and outputs of XML web services 45 include, but are not limited to, simultaneous video chat ses
are bound to GUI components provided on screen 137. Thus,          sions, inside an integrated page view, with a video or televi
for example, a user of authoring platform 110 may bind sion station; multiple simultaneous chat sessions, each with a
attributes of UI Objects to a particular data base field on a designated individual and/or group, with each of the chat
Server. When running the Application, the current value in the threads visible inside an integrated page view.
referenced database will be immediately applied. During the 50 Another extension of an XSP is a widget object. Widgets
Application session, any other real time changes to these can be developed from numerous sources including, but not
values in the referenced database will again be immediately limited to, authoring platform 110, a Consumer Publishing
displayed.                                                         Tool, and an XML to Widget Conversion Tool where the SDK
   As an example of dynamic binding of real-time content, an Widget Libraries are automatically populated and managed,
RSS feeds and other forms of dynamic content may be 55 or Widget Selection Lists that are available and can be popu
inserted into mobile Applications, such as device 130, using lated with author defined Icons.
system 200. Authoring platform 110 may include a “RSS Applications, Players, and Processing in a Device
display” list which permits a user to select RSS channels and         FIG. 2B is a schematic of one embodiment of a device 130
feeds from an extensible list of available dynamic content. illustrating an embodiment of the programming generated by
Metadata, such as titles, abstracts and Images can be revealed authoring platform 110. Memory 133 may include several
immediately by the user as they traverse this RSS display list, 60 different logical portions, such as a heap 133a, a record store
bringing the PC experience completely and conveniently to          133b and a filesystem (not shown).
mobile devices 130. In addition, Authoring platform 110 may           As shown in FIG. 2B, heap 133a and record store 133b
include a dialog box that dynamically links objects to data and include programming and/or content. In general, heap 133a is
feeds determined by RSS and chat databases. Any relevant readily accessible by processor 135 and includes, but is not
attribute for a page view and/or object can be dynamically 65 limited to portions that include the following programming: a
bound to a value in a server-side database. This includes          portion 133a1 for virtual machine compliant objects repre
elements within complex objects Such as: any icon or text senting a single Page View for screen 137; a portion 133a2 for



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a Player; a portion 133a3 for a virtual machine; and a portion 110. In certain embodiments, authoring platform 110 is, for
133.a4 for an operating system.                                     example and without limitation, a PC-compatible or a Macin
   Record store 133b (or alternatively the filesystem) tosh computer.
includes, but is not limited to, portions 133b1 for Applications       Authoring platform 110 produces an Application having
and non-streaming content, which may include portions one or more Applications Pages, which are similar to web
133a2 for images, portions 133.a4 for audio, and/or portions pages. That is, each Applications Page, when executed on
133a5 for video. and portions 133b2 for non-Application device 130 may, according to its contents, modify what is
PDLs, such as a Master Page PDL for presenting repeating displayed on Screen 137 or cause programming on the device
objects, and Alerts, which are overlayed on the current page 10 to     change in a manner similar to how web pages are displayed
view. Other content, such as streaming content may be pro andInnavigated            through on a website.
vided from network interface 131 directly to the Media Codec place one         embodiment, authoring tool 112 allows a user to
of device 130 with instructions from Player on how to present objectsone        or more objects on canvas 305 and associate the
                                                                             with an Applications Pages. Authoring platform 110
the audio or video.
                                                                    maintains a database of object data in memory 111, including
   In one embodiment, the Player includes a Threading Model 15 but not limited to type of object, location on which page, and
and a Virtual Memory Manager. The Threading Model first object attributes. The user may add settings, events, anima
manages a queue of actions that can be populated based on tions or binding to the object, from authoring tool 112, which
Input/Output events, Server-side events, time-based events, are also maintained in memory 111. Authoring tool 112 also
or events initiated by user interactions. The Threading Model allows a user to define more than one Applications Page.
further manages the simultaneous execution of actions occur            In another embodiment, authoring tool 112, provides Java
ring at the same time. The Virtual Memory Manager includes programming functions of the Java API for specific devices
a Logical Virtual Page controller that provides instructions        130 as pull-down menus, dialog boxes, or buttons. This per
from the record store to the heap, one page at time. Specifi mits a user of authoring platform 110 to position objects that,
cally, the Virtual Memory Manager controls the transfer of after being provided as an Application to device 130, activate
one of the Application Pages and its virtual machine compli 25 Such Java functions on the device.
ant objects into portion 133a1 as instructions readable by the         In certain embodiments, authoring platform 110, as part of
Player or Virtual Machine. When the Player determines that a system 100, permits designers to include features of advanced
new set of instructions is required, the information (such as web and web services Applications for access by users of
one Application Page is retrieve from the Record store, con device 130. Some of the features of advanced web and web
Verted into virtual machine compliant objects (by processor 30 services include, but are not limited to: slide shows, images,
135 and according to operation by the Player, Virtual Video, audio, animated transitions, multiple chats, and mouse
Machine, etc). and stored in heap 133a. Alternatively, the interaction; full 2-D vector graphics; GIS (advanced LBS),
Player may augment virtual machine compliant objects with including multiple raster and vector layers, feature sensitive
its own libraries for managing user interactions, events, interactions, location awareness, streaming and embedded
memory, etc.                                                     35 audio/video, Virtual tours, image processing and enhance
   The connection of portions 133a1, 133a2, 133a3, 133.a4, ment, and widgets. In other embodiments the features are
record store 133b and processor 135 are illustrative of the provided for selection in authoring platform 110 through
logical connection between the different types of program interactive object libraries.
ming stored in Heap 133a and record store 133b, that is, how           In certain embodiments, authoring platform 110, as part of
data is processed by processor 135.                              40 system 100, allows the inclusion of child objects which may
   The Player determines which of the plurality of Applica eventually be activated on device 130 by the user of the device
tion Pages in portion 133b1 is required next. This may be or by time. The uses of the child objects on device 130
determined by input actions from the Input Device 139, or include, but are not limited to: mouse over (object selection),
from instructions from the current Application Page. The hover and fire events and launching of object-specific, rich
Player instructs processor 135 to extract the PDF from that 45 media experiences.
Applications Page and store it in portion 133a1. The Player            In certain other embodiments, authoring platform 110, as
then interprets the Application Page extracted from PDL part of system 100, provides advanced interactive event mod
which in turn defines all of the virtual machine compliant els on device 130, including but not limited to: user-, time
Objects, some of which could have attributes that refer to and/or location-initiated events, which allow content devel
images, audio, and/or video stored in portions 133a3, 133a4, 50 opers to base interactivity on specific user interactions and/or
133a5, respectively.                                                instances in time and space; timelines, which are critical for
   The Virtual Machine in portion 133a3 processes the Player timing of multiple events and for animations when entering,
output, the Operating System in portion 133a3 processes the on, or exiting pages of the Application; waypoints, which act
Virtual Machine output which results in machine code that is similar to key frames, to allow Smooth movement of objects
processed by the Operating System in portion 133.a4.             55 within pages of the Application. Waypoints define positions
   In another embodiment, the Player is a native program that on a page objects animation trajectory. When an object
interacts directly with the operating system.                       reaches a specific waypoint other object timelines can be
Embodiments of a Publishing Environment                             initiated, creating location-sensitive multiple object interac
   In one embodiment, authoring platform 110 includes a tion, and/or audio can be defined to play until the object
full-featured authoring tool 112 that provides a what-you 60 reaches the next waypoint.
see-is-what-you-get (WYSIWYG) full featured editor. Thus,              Authoring platform 110 may also define a Master Page,
for example, authoring tool 112 permits a user to design an which acts as a template for an Applications Page, and may
Application by placing objects on canvas 305 and optionally also define Alert Pages, which provide user alerts to a user of
assigning actions to the objects and save the Application.          device 130.
System 100 then provides the Application and Player to a 65 In certain embodiments, authoring platform 110, as part of
device 130. The Application as it runs on device 130 has the system 100, provides full style inheritance on device 130.
same look and operation as designed on authoring platform Thus, for example and without limitation, both master page



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inheritance (for structural layout inheritance and repeating provides the user with a choice of further defining properties,
objects) and object styles (for both look and feel attribute actions, events, or bindings that may be assigned to each
inheritance) are supported. After a style has been defined for particular object, and continues to store the information in
an object, the object will inherit the style. Style attributes memory 111.
include both the look and the feel of an object, including 5 interface In one embodiment, publisher interface 300 is a graphical
mouse interaction, animations, and timelines. Each page may objects in that    a
                                                                                    permits the placement and association of
                                                                                 manner   typical of for example, vector graphics
include objects that may be a parent object or a child object. editing programs (such        as Adobe Illustrator). Objects located
A child object is one that was created by first selecting a on canvas 305 placed and manipulated by the various com
parent object, and then creating a child object. Child objects mands within publisher interface 300 or inputs such as an
are always part of the same drawing layer as its parent object, 10 input device 117 which may be a keyboard or mouse. As
but are drawn first, and are not directly selectable when run described herein, the contents of canvas 305 may be saved as
ning the Application. A parent object is any object that is not an Application that, through system 100, provide the same or
a child object, and can be selected when running the Appli a similar placement of objects on screen 137 and have actions
cation.                                                             defined within publisher interface 300. Objects placed on
   As an example, the user of authoring tool 112 may create 15 canvas 305 are intended for interaction with user of device
various text objects on canvas 305 using a style that sets the 130 and are referred to herein, without limitation, as objects
font to red, the fonts of these objects will be red. Suppose user or UI (user interface) objects. In addition, the user of interface
of authoring tool 112 changes the font color of a specific
button to green. If later, the user of authoring tool 112 changes 300    may assign or associate actions or web bindings to UI
                                                                    objects placed on canvas 305 with result in the programming
the style to blue; all other text objects that were created with 20 device 130  that cause it to respond accordingly.
that style will become blue except for the button that had been        Objects include, but are not limited to input UI objects,
specifically set to green.
   In certain other embodiments, authoring platform 110 pro response UI objects. Input UI objects include but are not
vides page view, style, object, widget and Application tem limited to: text fields (including but not limited to alpha,
plate libraries. Authoring platform 110 may provide tem- 25 numeric, phone number, or SMS number); text areas; choice
plates in private libraries (available to certain users of the objects (including but not limited to returning the selected
authoring platform) and public libraries (available to all users visible string or returning a numeric hidden attribute); single
of the authoring platform). Templates may be used to within item selection lists (including but not limited to returning the
authoring platform 110 to define the look and feel of the entire selected visible string or returning a numeric hidden
Application, specific pages, or specific slide shows and Vir 30 attribute); multi item selection lists (including but not limited
tual tours a seen on device 130.                                    to returning all selected items (visible text string or hidden
   FIGS. 3A and 3B illustrate one embodiment of a publisher attribute) or cluster item selection lists (returning the hidden
interface 300 as it appears, for example and without limita attributes for all items).
tion, on screen 115 while executing authoring tool 112. In one         Other input UI objects include but are not limited to: check
embodiment, publisher interface 300 includes a Menu bar boxes; slide show (including but not limited to returning a
301, a Tool bar 303, a Canvas 305, a Layer Inspector 307 35 numeric hidden attribute, returning a string hidden attribute,
having Subcomponents of a page/object panel 307a, an object or         returning the hidden attributes for all slides); and submit
style panel 307b, and a pagealert panel 307c, and a Resource function        (which can be assigned to any object including Sub
Inspector 309.                                                      mit buttons, vectors, etc.).
   In general, publisher interface 300 permits a user of author        Response UI Objects may include, but are not limited to:
ing platform 110 to place objects on canvas 305 and then 40 single
associate properties and/or actions to the object, which are but notline       text objects, which include: a text Field (including
                                                                            limited to a URL, audio URL, or purchase URL), a
stored in the Application. As described Subsequently, pub
lisher interface 300 permits a user to program a graphical text button, a submit button, or a clear button. Another
interface for the screen 137 of device 130 on Screen 115 of         response UI objects include: a multiple line text object, which
authoring platform 110, save an Application having the pro- 45 may include a text area or a paragraph; a checkbox; an image:
gramming instructions, and save a Player for the device. The a video; a slide show (with either video or image slides, or
intended programming is carried out on device 130 when the both); choice objects; list objects; or control lists, which
device, having the appropriate device platform Player, control all the subordinate output UI objects for that web
receives and executes the device-independent Application.           component. Controllist objects include, but are not limited to:
   Thus, for example, authoring tool 112 maintains, in 50 list type or a choice type, each of which may include a search
memory 111, a list of every type of object and any properties, response list or RSS display list.
actions, events, or bindings that may be assigned to that              As a further example of objects that may be used with
object. As objects are selected for an Application, authoring authoring tool 112, Table I lists Data Types, Preferred Input,
tool 112 further maintains, in memory 111, a listing of the Input Candidates, Preferred Output and Output Candidates
objects. As the user selects objects, publisher interface 300 for one embodiment of an authoring tool.
                                                                                 TABLE I
                                                                   One embodiment of supported objects
                           Data Types            Preferred Input        Input Candidates       Preferred Output     Output Candidates
                           boolean               Check Box              Check Box              Check Box            Check Box
                           Int                   Text Field (integer)   Text Field (integer) Text Field (integer)   Text Field (integer)
                                                                        Text Field (Phone #)                        Text Field (Phone #)
                                                                        Text Field (SMS #)                          Text Field (SMS #)
                                                                        Choice                                      Choice
                                                                        List (single select)                        List (single select)
                                                                                                                    TextButton




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                                                    TABLE I-continued
                                               One embodiment of Supported objects
Data Types                 Preferred Input         Input Candidates     Preferred Output         Output Candidates
String                     Text Field (Alpha)      Any                  Text Field (Alpha)       Any
multilineString            TextArea                TextArea             TextArea                 TextArea
                                                                                                 Paragraph
ImageORL                   NA                      NA                   Image                    Image
                                                                                                 Slide Show
VideoURL                   NA                      NA                   Video                    Video
                                                                                                 Slide Show
List                       Single Item List        Single Item List     Single Item List         Any List Type
                                                   Multi-Select List                             Any ChoiceType
                                                   Complex List                                  (see Complex
                                                   Choice                                        List Specification)
                                                   Slide Show
ComplexList                Complex List            Single Item List     Single Item List         Any List Type
                                                   Multi-Select List                             (see Complex List
                                                   Complex List                                  Specification)
Slideshow                  Slide Show              Slide Show           Slide Show               Slide Show
SearchResponseList         NA                      NA                   Search Response List     Search Response List
                                                                                                 Control List
                                                                                                 Complex List
                                                                                                 Choice
RSSList                    NA                      NA                   RSS Display List         RSS Display List
                                                                                                 Control List
                                                                                                 Complex List
                                                                                                 Choice
SingleSelectionList        Choice                  Choice               Choice                   Choice
                                                   Complex List                                  Complex List
MultiSelectionList         Multi-Selection List Multi-Selection List Multi-Selection List        Multi-Selection List
Service Activation         Submit Button        Any                  NA                          NA
ChannelImageURL            NA                      NA                   Image                    Image
                                                                                                 Video
                                                                                                 Slide Show
ChannelDescription         NA                      NA                   TextArea                 TextArea
                                                                                                 Paragraph
                                                                                                 Text Field
                                                                                                 TextButton
                                                                                                 List
                                                                                                 Choice
ChannelTitle               NA                      NA                   Text Field               Text Field
                                                                                                 TextButton
                                                                                                 Paragraph
                                                                                                 TextArea
                                                                                                 List
                                                                                                 Choice
URL                                                                     Text Field               Text Field
                                                                        (URL request)            (URL request)
Audio URL                                                               Text Field               Text Field
                                                                        (Audio URL request)      (Audio URL request)
Purchase URL                                                            Text Field               Text Field
                                                                        (Purchase URL request)   (Purchase URL request)
mage Data                                                               Image                    Image
                                                                                                 Slide Show
mage List Data                                                          Slide Show               Slide Show
                                                                                                 Image
Persistent Variable        NA                      NA                   NA                       NA
Pipeline Multiple Select   Multi-select List       Multi-selectList     NA                       NA
                                                   Complex List
                                                   Slide Show
PhoneNumber                Text Field              Text Field           Text Field               Text Field
                           (numeric type)          TextButton           (numeric type)           TextButton
Hidden Attribute           Complex List            Complex List         Complex List             Complex List
                                                   Slide Show                                    Slide Show
Collection List            NA                      NA                   Slide Show               Complex List
                                                                                                 Slide Show



   In general, publisher interface 300 permits a user to define   Authoring platform 110 also stores information for each UI
an Application as one or more Applications Pages, select UI 60 object on each Application Page of an Application. Layer
objects from Menu bar 301 or Toolbar 303 and arrange them Inspector 307 provides lists of Applications Pages, UI objects
on an Applications Page by placing the objects canvas 305. An on each mayApplications Page, and Styles, including templates.
Application Page is a page that is available to be visited Objects             be selected from canvas 305 or Layer Inspector
                                                                307 causing Resource Inspector 309 to provide lists of vari
through any navigation event. Application Pages inherit all 65 ous UI objects attributes which may be selected from within
the attributes of the Master Page, unless that attribute is spe the Resource Inspector. Publisher interface 300 also permits a
cifically changed during an editing session.                    user to save their work as an Application for layer transfer and



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operation of device 130. Publisher interface 300 thus pro             Application. Server APIs and Player APIs logically extend
vides an integrated platform for designing the look and opera         the Player with Server-side or device-side Application spe
tion of device 130.                                                   cific logic.
   The information stored for each UI object depends, in part,           Objects menu 3.01e includes selections for placing various
on actions which occur as the result of a user of device 130          objects on canvas 305 including, but not limited to: navigation
selecting the UI object from the device. UI objects include, UI objects, including but not limited to widget or channel
but are not limited to: navigational objects, such as widget or launch strips or selection lists; message-related UI objects,
channel launch Strips or selection lists; message objects for including but not limited to multiple chat, video chat, phone
communicating, such as a multiple chat, video chat, phone 10 and/or           SMS lists or fields, or a pop-up alert; shapes, which
                                                                      provides for drawing tools; forms-related objects, including
and/or SMS lists or fields or a pop-up alert; text fields or areas: but    not limited to text fields; scrolling text box, check box,
check boxes; pull down menus; selection lists and buttons;            drop-down     menu, list menu, Submit button or clear button;
pictures; slide shows; video or LBS maps: shapes or text media-related                UI objects such as pictures, slide shows, video
defined by a variety of tools; a search response; or an RSS           or LBS maps; text-related UI objects such as buttons or para
display.                                                           15 graphs; and variables, including but not limited to time, date
   In certain embodiments, publisher interface 300 permits a and audio mute control.
user to assign action to UI objects, including but not limited           Events menu 3.01f includes selections for defining child
to, programming of the device 130 or a request for informa objects, mouse events, animations or timelines.
tion over network N. In one embodiment, for example and                  Pages menu 3.01g includes selection for handling multi
without limitation, publisher interface 300 has a selection to page Applications, and may include selections to set a master
bind a UI object to a web service that is, associate the UI page, delete, copy, add or go to Applications Pages.
object or a manipulation or selection of UI object with web              Styles menu 3.01h includes selections to handle styles,
services. Publisher interface 300 may also include many which are the underlying set of default appearance attributes
drawing and text input functions for generating displays that or behaviors that define any object that is attached to a style.
may be, in some ways, similar to drawing and/or word pro 25 Styles are a convenient way for quickly creating complex
cessing programs, as well as toolbars and for Zooming and objects, and for changing a whole collection of objects by just
scrolling of a workspace.                                             modifying their common style. Selections of Styles menu
   Each UI object has some form, color, and display location 301h include, but not limited to, define, import, or modify a
                                                                      style, or apply a template. Help menu 301 i includes access a
associate with it. Further, for example and without limitation, 30 variety
UI objects may have navigational actions (such as return to                    of help topics.
home page), communications actions (such as to call the featuresbar      Tool      303 provides more direct access to some of the
                                                                                of publisher interface 300 through a series of pull
number in a phone number field), or web services (such as to down menus.
provide and/or retrieve certain information from a web ser selections to: Selections under tool bar 303 may include
vice). Each of the these actions requires authoring platform 35 control the look of publisher interface 300, such as a Panel
110 to store the appropriate information for each action. In                Selection to control the for hiding or viewing various
addition, UI objects may have associated patent or child                    panels on publisher interface 300:
objects, default settings, attributes (such as being a password          control the layout being designed, such as an Insert Page
or a phone number), whether a field is editable, animation of selection to permit a user to insert and name pages;
the object, all of which may be stored by authoring platform 40 control the functionality of publisherinterface 300, such as
110, as appropriate.                                                  a Palettes selection to choose from a variety of specialized
   Menu bar 301 provides access features of publisher inter palettes, such as a View Palette for Zooming and controlling
face 300 through a series of pull-down menus that may the display of canvas 305, a Command Palette of common
include, but are not limited to, the following pull-down commands, and Color and Shape Palettes;
menus: a File menu 301a, an Edit menu 301b, a View menu 45 place objects on canvas 305, which may include selections
301c, a Project menu 3.01d, an Objects menu 3.01e, an Events Such as: a Navigation selection to place navigational objects,
menu 3.01f a Pages menu 3.01g, a Styles menu 3.01 h, and a Such as widget or channel launch strips or selection lists), a
Help menu 301 i.                                                      Messages selection to place objects for communicating. Such
   File menu 3.01 a provides access to files on authoring plat as a multiple chat, video chat, phone and/or SMS lists or
form 110 and may include, for example and without limita 50 fields, or a pop-up alert, a Forms selection to place objects
tion, selections to open a new Application or master page,            Such as text fields or areas, check boxes, pull down menus,
open a saved Application, Application template, or style tem selection lists, and buttons, a Media selection to place pic
plate, import a page, alert, or widget, open library objects tures, slide shows, video or LBS maps, and a Shapes selection
including but not limited to an image, video, slide show, having a variety of drawing tools, a Text selection for placing
vector or list, and copying an Application to a user or to Server 55 text, a search response, or an RSS display, and Palettes.
120.                                                                   In one embodiment, Tool bar 303 includes a series of
   Edit menu 3.01b may include, but is not limited to, selec pull-down menus that may include, but are not limited to,
tions for select, cut, copy, paste, and edit functions.           items from Menu bar 301 organized in the following pull
   View menu 301C may include, but is not limited to, selec down menus: a Panel menu 3.03a, an Insert Page menu 3.03b,
tions for Zooming in and out, previewing, canvas 305 grid 60 a Navigation menu 3.03c, a Messages menu 303d, a Forms
display, and various palette display selections.                  menu 3.03e, a Media menu 3.03f a Shapes menu 3.03.g., a Text
   Project menu 3.01d may include, but is not limited to, menu 3.03.h, and a Palettes menu 301 i.
selections related to the Application and Player, such as selec     Panel menu 3.03a permits a user of authoring platform 110
tions that require a log in, generate a universal Player, gener to change the appearance of interface 300 by, controlling
ate server pages, activate server APIs and extend Player APIs. 65 which tools are on the interface or the size of canvas 305.
A Universal Player will include all the code libraries for the Insert Page menu 303b permits a user of authoring platform
Player, including those that are not referenced by the current 110 to open a new Application Page. Navigation menu 3.03c



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displays a drop down menu of navigational-related objects            Examples of operations provided by of page/objects panel
Such as a widget or channel launch strip or selection list. 307a on objects, which may be user interface (UI) objects,
Messages menu 303d displays a drop down menu of messag include but are not limited to: changing the drawing order
ing-related objects such as multiple chat, video chat, phone or layer to: bring to the front, send to the back, bring to the front
SMS lists or fields, and pop-up alerts. Forms menu 3.03e one layer, or send to the back one layer, hiding (and then
displays a drop down menu of forms-related objects includ reshowing) selected objects to show UI objects obstructed by
ing, but not limited to, a text field, a text area, a checkbox, a othertheUIcurrently
                                                                             Objects, delete a selected UI Page Object, and edit
drop down menu, a selection list, a Submit button, and a clear ingDialog    Box.
                                                                                      selected page, by working with a Edit Page
button. Media menu 3.03f displays a drop down menu of 10 Object styles panel 307b of layer inspector 307 displays all
media-related objects including, but not limited to, a picture,   styles on the Applications Page and permits operations to be
slide show, video or LBS map. Shapes menu 3.03g displays a performed           on objects, and is similar to panel 307a. Examples
drop down menu of draw tools, basic shapes, different types ofoperations          provided by object style panel 307b include, but
of lines and arrows and access to a shape library. Text menu are not limited to: importing from either a user's private
303j displays a drop down menu of text-related objects, 15 object library or a public object library; inserting a new object
including but not limited to a text button, paragraph, search style, which can be inherited from a currently selected object,
response, RSS display and variables such as time and date.        or from a previously defined style object; and editing a cur
   Palettes menu 3.01i includes a selection of different palettes rently selected object style by working with an Edit Style
that can be moved about publisher interface 300, where each Dialog Box.
palette has specialized commands for making adjustments or           Style attributes can be assigned many attributes, including
associations to objects easier. Palettes include, but are not the look, and behavior of any object that inherits these
limited to: a page view palette, to permit easy movement objects. In addition, List Layout Styles can be created or
between Applications Pages; a view palette, to execute an changed as required. A layout style can define a unbounded
Application or Zoom or otherwise control the viewing of an set of Complex List Layouts, including but not limited to: the
Application; a commands palette having editing commands; 25 number of lines per iteminalist, the number of text and image
a color palette for selection of object colors; and a shapes elements and their location for each line for each item in the
palette to facilitate drawing objects.                            last, the color and font for each text element, and the vertical
   Layer inspector 307 permits a user of publisher interface and horizontal offset for each image and text element.
300 to navigate, select and manipulate UI objects on Appli           Alerts Panel 307c provides a way of providing alert pages,
cations Pages. Thus, for example, a Page/objects panel 307a 30 which can have many of the attributes of Application Pages,
of layer inspector 307 has a listing that may be selected to but they are only activated through an Event such as a user
choose an Applications Pages within and Application, and UI interaction, a network event, a timer event, or a system vari
objects and styles within an Applications Page. An Object able setting, and will be Superimposed onto whatever is cur
styles panel 307b of layer inspector 307 displays all styles on rently being displayed. Alert Pages all have transparent back
the Applications Page and permits selection of UI objects for 35 grounds, and they function as a template overlay, and can also
operations to be performed on the objects.                        have dynamic binding to real time content.
   Thus, for example, when objects from Menu bar 301 or              Resource inspector 309 is the primary panel for interac
Toolbar 303 are placed on canvas 305, the name of the object tively working with UI objects that have been placed on the
appears in Page/objects panel 307a. Page/objects panel 307a Canvas 305. When a UI object is selected on Canvas 305, a
includes a page display 307a 1 and an objects display 307a2. 40 user of authoring platform 110 may associate properties of
Page display 307a 1 includes a pull down menu listing all the selected object by entering or selecting from resource
Applications Pages of the Application, and objects display inspector 309. In one embodiment, resource inspector 309
307a2 includes a list of all objects in the Applications Page includes five tab selections: Setting Tab 309a, Events Tab
(that is, objects on canvas 305).                                 309b, Animation Tab 309c, Color Tab 309d which includes a
   In general, page/objects panel 307 a displays various asso 45 color palette for selecting object colors, and Bindings Tab
ciations with a UI object and permits various manipulations 309e.
including, but not limited to, operations for parent and child       Settings Tab 309a provides a dialog box for the basic
objects that are assigned to a page, and operations for object configuration of the selected object including, but not limited
styles, and permits navigating between page types and object to, name, size, location, navigation and visual settings.
styles, such as Switching between the master page and Appli 50 Depending upon the type of object, numerous other attributes
cation pages and deselecting object styles and alerts, opening could be settable. As an example, the Setting Tab for a Text
an Edit Styles Dialog Box and deselecting any master, Appli Field may include dialog boxes to define the text field string,
cation or alert page, or selecting an alert page and deselecting define the object style, set the font name, size and effects, set
any Master Page or Application Page. A parent or child object an object name, frame style, frame width, text attributes (text
can also be selected directly from the Canvas. In either case, 55 field, password field, numeric field, phone number, SMS
the Resource Inspector can then be used for modifying any number, URL request).
attribute of the selected object.                                    As an example of Setting Tab 309a, FIG.3B shows various
   Examples of operations provided by page/objects panel selections including, but not limited to, setting 309a 1 for the
307a on pages include, but are not limited to: importing from web page name, setting 309a2 for the page size, including
either a user's private page library or a public page library; 60 selections for specific devices 130, setting 309a3 indicating
deleting a page; inserting a new page, inheriting all the the width and height of the object, and setting 309a 4 to select
attributes of the Master Page, and placing the new page at any whether background audio is present and to select an audio
location in the Page List; editing the currently selected page, file.
by working with an Edit Page Dialog Box. While editing all           FIG.3C illustrates an embodiment of the Events Tab 309b,
the functions of the Resource Inspector 309 are available, as 65 which includes all end user interactions and time based opera
described Subsequently, but are not applied to the actual page tions. The embodiment of Events Tab 309b in FIG. 3C
until completing the editing process.                             includes, for example and without limitation, an Events and



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Services 309b1, Advanced Interactive Settings 309b2, Mouse     example, a UI object is selected from canvas 305, and a web
State 309b3, Object Selected Audio Setting 309b4, and Work     component may be selected and configured from the bindings
with Child Objects and Mouse Overs button 309b5.               tab. When the user's work is saved, binding information is
   Events and Services 309b1 lists events and services that    associated with the UI object that will appear on screen 137.
may be applied to the selected objects. These include, but are    FIG. 3E illustrates one embodiment of Bindings Tab and
not limited to, going to external web pages or other Applica includes, without limitation, the following portions: Web
tions pages, either as a new page or by launching a new Component and Web Services Operations 309e1, Attributes
window, executing an Application or JavaScript method, Exposed list 309e2, panel 309e3 which includes dynamic
pausing or exiting, placing a phone call or SMS message, with binding of server-side data base values to attributes for the
                                                               selected object, Default Attribute Value 309e4, Database
or without single or multiple Player download, show launch 10 Name
strip, or go back to previous page. Examples of events and nel Name   309.e5, Table Name 309.e6, Field Name 309e7, Chan
services include, but are not limited to those listed in Table II         309e8, Channel Feed 309e9, Operation 309e10,
                                                                                Select Link 309e11, and Link Set checkbox 309e12.
                               TABLE II
                                                                                  Web Component and Web Services Operations 309e1
                                                                           15 includes web components that may be added, edited or
                            Events and Services                               removed from a selected object. Since multiple web compo
                                                                              nents can be added to the same object, any combination of
Goto External Web Page replacing         ChoiceObject: Remove Icon            mash-ups of 3rd party web services is possible. When the
Current Frame                            from Launch Strip
Goto External Web Page Launched          Goto a specific Internal Web         “Add” button of Web Component and Web Services Opera
in a New Window                          Page with Alert.                     tions 309e1 is selected, a pop-up menu 319, as shown in FIG.
                                         “Backend Synchronization             3F, appears on publisher interface 300. Pop-up menu 319
Goto a specific Internal Web Page        Goto Widget Object                   includes, but is not limited to, the options of: Select a Web
Goto the next Internal Web Page          Generate Alert.
                                                                              Component 319a: Select Results Page 319b: Activation
                                         “With a Fire Event
Goto External Web Page replacing         Send SMS Message from                Options 319.c; Generate UI Objects 319d; and Share Web
the Top Frame                            Linked Text Field                 25 Component 319e.
Execute JavaScript Method                Toggle Alert. “Display OnFocus,          The Select a Web Component 319a portion presents a list
                                         Hide OffRocus’
Pause/Resume Page Timeout                Execute an Application with          of web components. As discussed herein, the web compo
                                         Alert. “With a Fire Event            nents are registered and are obtained from web component
Execute an Application                   Goto Logical First Page              registry 220.
Goto a specific Internal Web Page        Generate Alert with Backend       30     Select Results Page 319b is used to have the input and
with setting starting slide              Synchronization
Exit Application                         Send SMS Message with Share          output on different pages—that is, when the Results page is
                                         (Player Download)                    different from Input page. The default selected results page is
Exit Player                              Place PhoneCall from linked
                                         Text Field with Share
                                                                              either the current page, or, if there are both inputs and outputs,
                                         (Player Download)
                                                                              it will be set provisionally to the next page in the current page
Place PhoneCall from linked Text Field   Send IMAlert from linked Text     35   order, if one exists.
                                         Field or TextArea         Activation Options 319.c include, if there are no Input UI
Text Field/Area: Send String on FIRE Set and Goto Starting Page Objects, a choice to either “Preload the web component,
ChoiceObject: Add Icon to Launch Strip Populate Image           similar to how dynamic binding, or have the web component
Text Field/Area: Send String on FIRE Preferred Launch Strip
or Numeric Keys                                                 executed when the “Results' page is viewed by the consumer.
                                                             40    Generate UI Objects 319C, if selected, will automatically
                                                                generate the UI objects. If not selected, then the author will
   Advanced Interactive Settings 309b2 include Scroll Acti bind the Web Component Inputs and Results to previously
vation Enabled, Timeline Entry Suppressed, Enable Server created UI Objects.
Listener, Submit Form, Toggle Children on FIRE, and Hide           Share Web Component 319e is available and will become
Non-related Children, Mouse State 309.b3 selections are 45 selected under the following conditions: 1) Web Component
Selected or Fire. When Mouse State Selected is chosen,          is Selected which already has been used by the current Appli
Object Selected Audio Setting 309b4 of Inactive, Play Once, cation; or 2) the current Input page is also a “Result page for
Loop, and other responses are presented. When Mouse State that Web component. This permits the user of device 130,
Fire is chosen, Object Selected Audio Setting 309b4 is after viewing the results, to extend the Web Component
replaced with FIRE Audi Setting, with appropriate choices 50 allowing the user to make additional queries against the same
presented.                                                      Web Component. Examples of this include, but are not lim
   When Work with Child Objects and Mouse Overs button ited to, interactive panning and Zooming for a Mapping Appli
309b5 is selected, a Child Object Mode box pops up, allowing cation, or additional and or refined searches for a Search
a user to create a child object with shortcut to Menu bar 301 Application.
actions that may be used define child objects.               55    Dynamic Binding permits the binding of real time data,
   FIG. 3D illustrates one embodiment of an Animation Tab                       that could either reside in a 3" party server-side database, or
309c, which includes all animations and timelines. The Color     in the database maintained by Feed Collector 1010 for aggre
Tab includes all the possible color attributes, which may vary gating live RSS feeds, as described subsequently with refer
significantly by object type.                                    ence to FIG. 10.
   Animation Tab 309c includes settings involved in anima 60 Referring again to FIG. 3E, Attributes Exposed list 309e2
tion and timelines that may be associated with objects. One are the attributes available for the selected object that can be
embodiment of Animation Tab 309c is shown, without limi          defined in real time through dynamic binding.
tation, in FIG. 3D, and is described, in Rempell (“Rempell’).       Panel 309e3 exposes all the fields and tables associated
   A Color Tab 309d includes a color palette for selecting with registered server-side data bases. In one embodiment,
object colors.                                                65 the user would select an attribute from the "Attributes
   Bindings Tab 309e is where web component operations are Exposed List” and then select a database, table and field to
defined and dynamic binding settings are assigned. Thus, for define the real time binding process. The final step is to define



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the record. If the Feed Collector data base is selected, for          description is illustrative of some of the many types of expe
example, then the RSS “Channel Name” and the “Channel riences of using a device 130 as part of system 100 or 200.
Feed' drop down menus will be available for symbolically                 Device 130 may have a one or more of a very powerful and
selected the record. For other databases the RSS "Channel             broad set of extensible navigation objects, as well as object
Name” and the “Channel Feed' drop down menus are and pointer-navigation options to make it easy to provide a
replaced by a “Record ID' text field.                                 small mobile device screen 137 with content and to navigate
   Default Attribute Value 309.e4 indicates the currently easily             among page views, between Applications, or within
                                                                      objects in a single page view of an Application.
defined value for the selected attribute. It will be overridden in
real time based on the dynamic linkage setting.                          Navigation objects include various types of launch strips,
                                                                   10 various intelligent and user-friendly text fields and scrolling
   Database Name 309e5 indicates which server side data
base is currently selected. Table Name 309.e6 indicates which textboxes,
                                                                      top-level
                                                                                  powerful graphical complex lists, as well as Desk
                                                                                business  forms. In fact, every type of object can be
table of the server side database is currently selected.              used for navigation by assigning a navigation event to it. The
   Field Name 309e7, indicates which field form the selected          authoring tool offers a list of navigation object templates,
table of the server side database is currently selected.           15 which then can be modified in numerous ways.
   Channel Name 309e8 indicates a list of all the RSS feeds           Launch Strips and Graphical List Templates Launch Strips
currently supported by the Feed Collector. This may be                   Launch strips may be designed by the user of authoring
replaced by “Record ID' if a database other than the Feed platform 110 with almost no restrictions. They can be station
Collector 1010 is selected.                                           ary or appear on command from any edge of the device, their
   Channel Feed 309e9 indicates the particular RSS feed for size, style, audio feedback, and animations can be freely
the selected RSS Channel. Feed Collector 1010 may maintain defined to create highly compelling experiences.
multiple feeds for each RSS channel.                                     FIG. 5 shows a display 500 of launch strips which may be
   Operation 309e10, as a default operation, replaces the on displayed canvas 305 or on screen 137 of device 130
default attribute value with the real time value. In other            having the proper Player and Application. Display 501
embodiments this operation could be append, add, Subtract, 25 includes a portal-type Launch Strip 501 and a channel-type
multiply or divide.                                                   Launch Strip 502, either one of which may be included for
   Select Link309e11 a button that, when pressed, creates the navigating the Application.
dynamic binding. Touching the “Select Link' will cause the               Launch Strip 501 includes UI objects 501a, 501b, 501c,
current database selections to begin the blink is some manner, 501d, and 501e that that becomes visible from the left edge of
and the “Select Link' will change to “Create Link”. The user 30 the display, when requested. UI objects 501a, 501b, 501c,
could still change the database and attribute choices. Touch 501d, and 501e are each associated, through resource inspec
ing the “CreateLink' will set the “LinkSet' checkbox and the tor 309 with navigational instructions, including but not lim
“Create Link' will be replaced by “Delete Link” if the user ited to navigating to a different Applications Page, or request
wishes to subsequently remove the link. When the application ing web content. When the Applications Page, having been
is saved, the current active links are used to create the SPDL. 35 saved by authoring platform 110 and transferred to display
   Link Set checkbox 309e12 indicates that a link is currently 130, is executed on device 130, a user of the device may easily
active.                                                               navigate the Application.
   An example of the design of a display is shown in FIGS. 4A            Launch Strip 502 includes UI objects 502b, 502c, 502d,
and 4B according the system 100, where FIG. 4A shows and 503e that that becomes visible from the bottom of the
publisher interface 300 having a layout 410 on canvas 305, 40 display, when requested. UI objects 501a, 501b, 501c, 501d.
and FIG. 4B shows a device 130 having the resulting layout and 501e are each associated, through resource inspector 309
420 on screen 137. Thus, for example, authoring platform 110 with navigational instructions, including but not limited to
is used to design layout 410. Authoring platform 110 then navigating to a different Applications Page, or requesting web
generates an Application and a Player specific to device 130 content. Launch Strip 502 also includes UI objects 502a and
of FIG. 4B. The Application and Player are thus used by 45 503g, which include the graphic of arrows, and which provide
device 130 to produce layout 420 on screen 137.                       access to additional navigation objects (not shown) when
   As illustrated in FIG. 4A, a user has placed the following selected by a user of device 130. Launch strip 502 may also
on canvas 305 to generate layout 410; text and background include sound effects for each channel when being selected,
designs 411, a first text input box. 413, a second text input box as well as popup bubble help.
415, and a button 417. As an example which is not meant to 50 Additional navigational features are illustrated in FIG. 6A
limit the scope of the present invention, layout 410 is screen as a display of a Channel Selection List 601a, in FIG. 6B as a
prompts a user to entera user name in box 413 and a password display of a Widget Selection List 601b, and in FIG. 6C as
in box 415, and enter the information by clicking on button display of a Phone List 601c. Lists 601a, 601b, and 601c may
417.                                                                  be displayed on canvas 305 or on screen 137 of device 130
   In one embodiment, all UI objects are initially rendered as 55 having the proper Player and Application. As illustrated,
Java objects on canvas 305. When the Application is saved, graphical lists 601a, 601b, and 601c may contain items with
the UI objects are transformed into the PDL, as described many possible text and image elements. Each element can be
Subsequently.                                                         defined at authoring time and/or populated dynamically
   Thus, for example, layout 410 may be produced by the user through one or more Web Service 250 or API. Assignable
of authoring platform 110 selecting and placing a first Text 60 Navigation Events. All objects, and/or all elements within an
Field as box 413 then using the Resource Inspector 309 por object, can be assigned navigation events that can be extended
tion of interface 300 to define its attributes.                       to registered web services or APIs. For example, a Rolodex
Device User Experience                                                type of navigation event can dynamically set the starting slide
   Systems 100 and 200 provide the ability for a very large of the targeted page view (or the starting view of a targeted
number of different types of user experiences. Some of these 65 Application).
are a direct result of the ability of authoring platform 110 to          In the embodiment of FIGS. 6A, 6B, and 6C, each list
bind UI objects to components of web services. The following 601a, 601b, and 601c has several individual entries that are



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each linked to specific actions. Thus Channel Selection List       maintained as persistent storage on device 130 when appro
601 a shows three objects, each dynamically linked to a web        priate, or in a user profile which is maintained and updated in
service (ESPN, SF 49ers, and Netflix) each providing a link to     real-time in a server-side database.
purchase or obtain items from the Internet. Widget Selection       Push Capable Systems
List 601b includes several objects presenting different wid          In another embodiment system 100 or 200 is a push-ca
gets for selecting. Phone List 601c includes a list phone          pable system. As an example, of Such systems, short codes
number objects of names that, when selected by a user of           may be applied to cereal boxes and beverage containers, and
device 130 cause the number to be dialed Entries in Phone          SMS text fields can be applied to promotional websites. In
List 601c may be generated automatically from either the either case, a user of device 130 can text the short code or text
user's contact list that is resident on the device, or though a 10 field to an SMS server, which then serves the appropriate
dynamic link to any of user's chosen server-side facilities Application link back to device 130.
such as Microsoft Outlook, Google Mail, etc. In one embodi             FIG. 8 is a schematic of an embodiment of a push enabled
ment, Phone List 601c may be generated automatically using system 800. System 800 is generally similar to system 100 or
a web component assigned to the Application, which would 200. Device 130 is shown as part of a schematic of a push
automatically perform those functions.                           15 capable system 800 in FIG.8. System 800 includes a website
   In another embodiment, authoring platform 110 allows a system 801 hosting a website 801, a server 803 and a content
navigation selection of objects with a Joy Stick and/or Cursor server 805. System 801 is connected to servers 803 and/or 805
Keys in all 4 directions. When within a complex object the through the Internet. Server 803 is generally similar to server
navigation system automatically adopts to the navigation 120, servers 805 is generally similar to server 140.
needs for that object. For coordinate sensitive objects such as        In one embodiment, a user sets up a weekly SMS update
geographical information services (GIS) and location-based from website system 801. System 801 provides user informa
services (LBS) or virtual tours a soft cursor appears. For Lists, tion to server 803, which is an SMS server, when an update is
scrolling text areas and chats, Launch strips, and slide shows ready for delivery. Server 803 provides device 130 with an
the navigation process permits intuitive selection of elements SMS indication that the subscribed information is available
within the object. Scroll bars and elevators are optionally 25 and queries the user to see if they wish to receive the update.
available for feedback. If the device has a pointing mecha Website 801 also provides content server 805 with the content
nism then scroll bars are active and simulate the desktop of the update. When a user of device 130 responds to the SMS
experience.                                                         query, the response is provided to content server 805, which
Personalization and Temporal Adoption                               provides device 130 with updates including the subscribed
   System 100 and 200 permit for the personalization of 30 COntent.
device 130 by a variety of means. Specifically, what is dis            In an alternative embodiment of system 800, server 803
played on screen 137 may depend on either adoption or cus broadcasts alerts to one or more devices 130, such as a logical
tomization. Adoption refers to the selection of choices, navi group of devices. The user is notified in real-time of the
gation options, etc. are based on user usage patterns. pending alert, and can view and interact with the massage
Temporal adoption permits the skins, choices, layouts, con 35 without interrupting the current Application.
tent. widgets, etc. to be further influenced by location (for          FIG. 9 is a schematic of an alternative embodiment of a
example home, work or traveling) and time of day (including push enabled system 900. System 900 is generally similar to
season and day of week). Customization refers to user select system 100, 200, or 800. In system 900 a user requests infor
able skins, choices, layouts, dynamic content, widgets, etc. mation using an SMS code, which is delivered to device 130.
that are available either through a customization on the phone 40 System 900 includes a promotional code 901, a third-party
or one that is on the desktop but dynamically linked to the server 903, and content server 805. Server 803 is connected to
user's other internet connected devices.                            servers 803 and/or 805 through the Internet, and is generally
   To Support many personalization functions there must be a similar to server 120.
convenient method for maintaining, both within a user's ses            A promotional code 901 is provided to a user of device 130,
Sion, and between sessions, memory about various user 45 for example and without limitation, on print media, Such as on
choices and events. Both utilizing a persistent storage mecha a cereal box. The use of device 130 sends the code server 903.
nism on the device, or a database for user profiles on a server,    Server 903 then notifies server 805 to provide certain infor
may be employed.                                                    mation to device 130. Server 805 then provides device 130
   FIG. 7 shows a display 700 of a mash-up which may be on with the requested information.
displayed canvas 305 or on screen 137 of device 130 having 50 Device Routines
the proper Player and Application. Display 700 includes sev            Device routines 114 may include, but are not limited to: an
eral object 701 that have been dynamically bound, including authoring tool SDK for custom code development including
an indication of time 701a, an indication of unread text mes        full set of Java APIs to make it easy to add extensions and
sages 701b, an RSS news feed 701c (including 2 "ESPN Top functionality to mobile Applications and tie Applications to
Stories” 701c1 and 701 c2), components 701d from two Web 55 back-end databases through the content server 140; an
Services—a weather report (“The Weather Channel), and a expanding set of web services 250 available through the
traffic report 701e (“TRAFFIC.COM).                                 authoring tool SDK; a web services interface to SOAP/XML
   In assembling the information of display 700, device 130 is enabled web services; and an RSS/Atom and RDF feed col
aware of the time and location of the device in this example lector 1010 and content gateway 1130.
the display is for a workday when a user wakes. Device 130 60 Authoring Tool SDK for Custom Code Development Includ
has been customized so that on a work day morning the user ing Full Set of Java APIs
wishes to receive the displayed information. Thus in the               In one embodiment, authoring platform 110 SDK is com
morning, any messages received overnight would be flagged, patible for working with various integrated development
the user's favorite RSS sports feeds would be visible, today's environments (IDE) and popular plugins such as J2ME Pol
weather forecast would be available, and the current traffic 65 ish. In one embodiment the SDK would be another plug in to
conditions between the user's home and office would be              these IDEs. A large and powerful set of APIs and interfaces
graphically depicted. User personalization settings may be are thus available through the SDK to permit the seamless



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extension of any Application to back end business logic, web database listener 1133, transaction server 1134, custom code
services, etc. These interfaces and APIs may also support 1135 generated from the SDK, Java APIs, Web Services 1137,
listeners and player-side object operations.                        and PDL snippets compacted objects 1139. System 1100
   There is a large set of listeners that expose both player-side accepts input from Back End Java Code Developer 1120 and
events and dynamically linked server side database events.          SOAP XML from Web Services 1110, and provides dynamic
Some examples of player side events are: player-side time content to server 140 and Players to devices 130.
based event, a page entry event, player-side user interactions         In one embodiment authoring platform 110 produces a
and player-side object status. Examples of server-side data Server-side PDL (SPDL) at authoring time. The SPDL
base events are when a particular set of linked database field resides in server 120 and provides a logical link between the
values change, or some filed value exceeds a certain limit, etc. 10 Application’s UI attributes and dynamic content in database
   A superset of all authoring tool functionality is available 1022. When a user of device 130 requests dynamic informa
through APIs for layer-side object operations. These include, tion, server 120 uses the SPDL to determine the link required
but are not limited to: page view level APIs for inserting, to access the requested content.
replacing, and or modifying any page object; Object Level              In another embodiment Web Services 1137 interface
APIs for modifying any attribute of existing objects, adding 15 directly with 3rd party Web Services 1110, using SOAP.
definitions to attributes, and adding, hiding or replacing any REST JAVA, JavaScript, or any other interface for dynami
object.                                                             cally updating the attributes of the Application’s UI objects.
Authoring Tool SDK Available Web Services                           XSP Web Pages as a Web Service
   The APIs permit, without limit, respond, with or without            In one embodiment, a PDL for a page is embedded within
relying on back-end business logic, that is, logic that what an an HTML shell, forming one XSP page. The process of form
enterprise has developed for their business, to any player-side ing XSP includes compressing the description of the page and
event or server-side dynamically linked data-base, incorpo then embedding the page within an HTML shell.
rating any open 3rd party web service(s) into the response.            In another embodiment, a PDL, which contains many indi
RSS/ATOM and RDF Feed Conversion Web Service                        vidual page definitions, is split into separate library objects on
   FIG. 10 is a schematic of one embodiment a system 1000 25 the server, so that each page can to presented as a PDL as part
having a feed collector 1010. System 1000 is generally simi of a Web Service.
lar to system 100, 200, 800, or 900. Feed collector 1010 is a          Prior to compression the code has already been trans
server side component of system 100 that collects RSS, formed so that there are no dependencies on the original
ATOM and RDF format feeds from various sources 1001 and             programming language (Java), and The code and data have
aggregates them into a database 1022 for use by the Applica 30 been reduced by 4 to 10 times.
tions built using authoring platform 110.                              Compression has two distinct phases. The first takes advan
   Feed collector 1010 is a standard XML DOM data extrac            tage of how the primitive representations had been
tion process, and includes Atom Populator Rule 1012, RSS assembled, while the second utilizes standard LZ encoding.
Populator Rule 1013, RDF Populator Rule 1014, and Custom               The final result is an overall reduction of 40 to 100 times the
Populator Rule 1016, DOM XML Parsers 1011, 1015, and 35 original size as represented by Java serialized objects.
1017, Feed Processed Data Writer 1018, Custom Rule Based               One embodiment for compacting data that may be used is
Field Extraction 1019, Rule-based Field Extraction 1020,            described in Rempell. In that patent the compressed data is
Channel Data Controller 1021, and Database 1022.                    described as being a database. The terminology used here is a
   The feed collector is primarily driven by two sets of param PDL, that is the “internal database' of Rempell is equivalent
eters: one is the database schema (written as SQL DDL) 40 to the PDL of the present Application.
which defines the tables in the database, as well as parameters        In Rempell, a process for compacting a "database' (that is,
for each of the feeds to be examined. The other is the feed         generating a compact PDL) is described, wherein data
collection rules, written in XML, which can be used to cus          objects, including but not limited to, multimedia objects Such
tomize the information that is extracted from the feeds. Each       as colors, fonts, images, sound clips, URLs, threads, and
of the feeds is collected at intervals specified by the feed 45 Video, including multi level animation, transformation, and
parameter set in the SQL DDL.                                       time line are compacted. As an extension to Rempell in all
   Feed collector 1010 accepts information from ATOM, cases these objects are reduced and transformed to Boolean,
RDF or RSS feed sources 1001. Using a rules-based popula integer and string arrays.
tor, any of these feeds can be logically parsed, with any type         The compression technique involves storing data in the
of data extraction methodology, either by using Supplied 50 Smallest arrays necessary to compactly store web page infor
rules, or by the author defining their own custom extraction mation. The technique also includes an advanced form of
rule. The rules are used by the parser to parse from the feed delta compression that reduces integers so that they can be
Sources, and the custom rule base field extraction replaces the stored in a single byte, a as high water marks.
default rules and assembles the parsed information into the            Thus, for example, the high water mark for different types
database                                                         55 of data comprising specific web site settings are stored in a
   In particular, Atom Populator Rule 1012, RSS Populator header record as Boolean and integer variables and URL and
Rule 1013, RDF Populator Rule 1014, Custom Populator color objects. Data that defines web page, paragraph, text
Rule 1016, and DOMXML Parsers 1011, 1015, and 1017 are              button, and image style and text button, image and paragraph
parse information from the feeds 1001, and Feed Processed high watermark settings can be stored in one-dimensional
Data Writer 1018, Custom Rule Based Field Extraction 1019, 60 arrays as Boolean, integer and string variables and URL, font,
Rule-based Field Extraction 1020, and Channel Data Con              image or thread objects at. The URL, color, font, image and
troller1021, supply the content of the feeds in Database 1022, thread objects can also be created as required
which is accessible through content server 140.                        Data that defines text button, image, paragraph, or other
   FIG. 11 is a schematic of an embodiment of a system 1100 parent objects and paragraph line high watermark settings can
having a Mobile Content Gateway 1130. System 1100 is 65 be stored in two-dimensional arrays (by web page and by
generally similar to system 100, 200, 800, 900, or 1000. object number) as Boolean, integer, string, floating point
System 1100 includes an SDK 1131, feed collector 1010, variables and URLs. Again, the URL, color, font, image,



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audio clip, video clip, text area and thread objects can also be        The settings for all paragraph, text button and image styles
created as required. Data that defines a paragraph line and are then written as a style record based on their high water
paragraph line segment high watermarks can be stored in mark. This data includes Boolean and integer variables, and
three-dimensional arrays (by web page, by paragraph num font and color objects, written as a one-dimensional array,
ber, and by line number) as Boolean, integer or string Vari based on the high watermark values for the number of styles
ables. Again, the URL, color or font objects can be created as that exist.
required. Data that defines a paragraph line segment can be             The body of the PDL is then written. All Boolean values are
stored into four-dimensional arrays (by web page, by para written inside a four-dimensional loop. The outside loop con
graph number, by line number and by line number segment) tains the Boolean values used to define web pages (i.e. a
as Boolean, integer or string variables or URL, color and font 10 one-dimensional array definition) as well as the high water
objects.                                                             marks for the number of text button, image, paragraph or
   As a data field is added, changed or deleted, a determina other objects per web page, with the loop set at the high
tion is made at on whether a value for a given high watermark watermark which defines the number of existing web pages
needs to be changed. If so, it is updated. As a specific method for this web site structure. The second level consists of three
in the build engine is called, a determination is made on 15 or more two dimensional loops with the loops set to the high
whether a feature flag needs to be set. For example, if a watermarks defining the actual number of text button, image,
particular JAVA method is called, which requires an instance and paragraph or other objects that appear on any given web
of a certain JAVA Class to be executed by the run time engine, page and contains the values used to define web page objects
then that JAVA Class is flagged, as well as any supporting ((i.e. a two-dimensional array definition; web page number
methods, variables and/or object definitions.                        by object number). Included within the loop for paragraph
   In one implementation, the header record, the style record,       objects are the high watermarks for the number of lines for
the web page record, and the object records, are carefully each paragraph object. The third loop is set by the high water
defined in a specific order, written in that order, and explicitly mark defining the actual number of paragraph lines that for all
cast by object type when read by the run time engine. Excep paragraphs on any web page and contains the values used to
tion handling can be implemented to recover from any errors. 25 define paragraph lines (i.e. a three-dimensional array defini
This helps assure that data integrity is maintained throughout tion; web page number by object number by paragraph line.)
the build and run time processes.                                    Included within the loop for paragraph lines are the high
   Also described in Rempell is the “run generation process.” watermarks for the number of line segments for each para
This is equivalent generating a Player in the present applica graph line. The inner most loop is set by the high watermarks
tion. This process starts when the build process detects that 30 defining the number of line segments per paragraph line and
the user is finished defining the web site (user has saved the contains the values used to define paragraph line segments
web site and invokes the run generation process), and con (i.e. a four-dimensional array definition; web page number by
cludes with the actual uploading of all the necessary web site object number by paragraph line by paragraph line segment).
run time files to the user's server.                                    All integer values are written inside a four-dimensional
   In one embodiment, the PDL includes a first record, a 35 loop. Their four loops are controlled by the same high water
“Header record, which contains can include the following mark settings as used for the Boolean records, and they
information:                                                         describe the same logical entities.
   1: A file format version number, used for upgrading data             Multimedia objects are written inside a two-dimensional
base in future releases.                                             loop. They include URL, color, and font objects, and can
   2: The default screen resolution, in virtual pixels, for both 40 include other types of objects. A URL object is the encoded
the screen width and height. This is usually set to the web form of a URL Address, used by a web browser or a JAVA
designer's screen resolution, unless overwritten by the user.        method to access files and web addresses. All multimedia
   3: Whether the Application is a web site.                         objects must be serialized before they can be written. This
   4: Virtual web page size settings. A calculation is per means that the objects are converted into a common external
formed by the build engine method, in order to calculate what 45 definition format that can be understood by the appropriate
the maximum web page length is, after reformatting all para deserialization technique when they are read back in and cast
graphs on all internal web pages, based on the default Screen into their original object structure. The outside loop contains
resolution.                                                          web page related objects, and the inner loop contains image,
   5: Web page and styles high watermarks.                           text button, paragraph, etc. related URL, color, and font
   6: The Websitename.                                            50 objects. The outer loop is defined by the web page high
   As new web pages or new objects are created by the user, or watermark and the inner loops by the high watermarks for the
as text is added to or deleted from a paragraph, or as new actual number of text button, image, paragraph or other
styles are created or deleted, appropriate high watermarks are objects on a web page.
set, in order to show the current number of each of these               String records are written inside a four-dimensional loop.
entities. Thus, the values for the number of active web pages 55 The outer loop may be empty. The second loop can include
and the number of text button, image, paragraph or other the string values for text button objects, audio and video
styles are written as high watermarks in the header. The high filenames, and audio and video channel names. The third loop
watermarks for the number of text button, image, paragraph contains values for paragraph line related data, and the inner
or other objects that exist for each web page, the number of most loop contains the values for paragraph line segment
lines for each paragraph object, and the number of line seg 60 definitions. The string records are controlled by the same high
ments for each paragraph line are written within the body of watermarks as those used for Boolean and integer records.
the PDL, and used as settings for each of the loops in the String records are stored utilizing an appropriate field delim
four-dimensional data structure. Because no structural limits        iter technology. In one implementation, a UTF encoding tech
are set on the number of web pages, objects per web page, nology that is supported by JAVA is utilized.
styles, or paragraph size, these high watermarks greatly 65 Single and double floating-point, and long integer records
reduce the external database file size, and the time it takes for    are written inside a two-dimensional loop. The outer loop
the run time engine to process the data stored in its database. may be empty. The inner loop contains mathematical values



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required for certain animations and image processing algo               5: Convert the virtual screen resolution settings into appro
rithms. The single and double floating-point, and long integer       priate absolute screen width and height values.
records are controlled by the same high watermarks as those             Strings defining additional JavaScript code are generated
used for Boolean and integer records.                                that perform the following steps at the time the HSF is ini
   In one embodiment, a versionizing program analyzes the            tialized by the web browser:
feature flags, and only those variable definitions, defined in          1: Generate HTML compliant strings that set the run time
the “Main” object class, relating to the object classes and          engine's applet size to the appropriate values.
methods that will be executed at run time, are extracted. All           2: Generate an HTML complaint string that contains a
references to object classes that will be called at run time are “param' definition for linking the run time engine to the PDL.
extracted, creating the source code for the run engine “Main’ 10 3: Generate an HTML complaint string, dependent upon
object class that is ready for compilation.                          the type of web browser, which causes the current web
   All external image, video and audio files are resolved. The browser to load either the JAR or the CAB File(s).
external references can be copied to designated directories,            4: Generate JavaScript Code compliant strings that create
either on the user's local disk or file server. The file Path        and dynamically write the applet size defining HTML strings
names can be changed to reflect these new locations. During 15 utilizing the JavaScript “document.write” function. This
the installation of the build tools, the necessary class libraries dynamically created code causes the web browser to execute
are either installed on the local system or made available on the run time engine, in the correctly sized window, from the
the server where the build tools can be optionally located. The correct JAR or CAB file, and linked to the external database.
necessary environmental variables are set to permit normal              The writing out the above-generated HTML and JavaScript
access to the required class libraries.                              compliant strings creates the HSF. The necessary security
   The customized run engine and a library of the referenced policy permissions are asserted, and a “Websitename'.html
run time classes are compiled and converted into byte code. file is created.
Finally, the run time engine for the web site is created. The           In one embodiment, the processes for creating the CAB
required set of class objects required at run time is flagged for and JAR Files is as follows. The image objects, if any, which
inclusion into the CAB/JAR file.                                  25 were defined on the first internal web page are analyzed. If
   Next, an HTML Shell File (HSF) is constructed. The first they are set to draw immediately upon the loading of the first
step of this process is to determine whether the dynamic web web page, then they are flagged for compression and inclu
page and object resizing is desired by testing the Application sion in the CAB and JAR Files. The feature flags are analyzed
setting. If the Application was a web page, and thus requiring to determine which JAVA classes have been compiled. These
dynamic web page and object resizing, virtual screen resolu 30 class files are flagged for compression and inclusion in the
tion settings are placed in an appropriate HTML compliant library CAB and JAR Files. Strings that are BAT compliant
string. If the Application is a banner or other customized definitions are created that will, when executed in DOS, cre
Application, the absolute values for the run time object (ap ate compressed CAB and JAR Files. These CAB and JAR
plet size) height and width are placed in an appropriate Files contain the compressed versions of all necessary JAVA
HTML compliant string as absolute width and height values. 35 class files, image files, the “Websitename'.class, customized
   An analysis is made for the background definition for the run time engine file, and the “Websitename'.dta database file.
first internal web page. If a background pattern is defined, an In one implementation of the invention, two BAT files are
appropriate HTML compliant string for setting the HTML created. The first, when executed, will create a CAB/JAR file
“background to the same background image is generated. If with the “Websitename'.dta database file and the customized
the first web page definition is a color instead, then the RGB 40 “main run time engine, excluding all the image and button
values from those colors are converted to hexadecimal and an         object animation, transformation, and image processing
appropriate HTML compliant String is generated setting the code. The second BAT file, when executed, will create a
“bgcolor to the required hexadecimal value. This process CAB/JAR file with all the library of all the referenced image
synchronizes the web page background with the background and button object animation, transformation, and image pro
that will be drawn by the web browser when it first interprets 45 cessing code.
the HSF.                                                                The necessary security policy permissions for file creation
   Thereafter, a JAVA method generates HTML and JavaS are then asserted, and “Websitename'.bat and “Website
cript compliant strings, that when executed by a web browser,        namelib'.bat files are written. The “Websitename'.bat and
generate additional sets of HTML and JavaScript compliant “Websitename'.bat files are then executed under DOS, cre
strings that are again executed by the web browser. More 50 ating compressed “Websitename'.cab and “Website
specifically, if the Application required dynamic web page namelib'.cab files and compressed “Websitename'' jar and
and object resizing then JavaScript and HTML compliant “Websitenamelib'jar files. The HTML Shell File and the JAR
strings are generated so that, when interpreted by the web and CAB files are then, either as an automatic process, or
browser at the time the HTML Shell File is initialized, the          manually, uploaded to the user's web site. This completes the
screen resolution sensing JAVA applet (SRS) will be 55 production of an XSP page that may be accessed through a
executed. JavaScript code is generated in order to enable web browser.
JavaScript to SRS applet communication. In one implemen Displaying Content on a Device
tation, the code is generated by performing the following Decompression Management
functions:                                                              Authoring platform 110 uses compaction to transform the
    1: Determine the current web browser type.                    60 code and data in an intelligent way while preserving all of the
   2: Load the SRS from either a JAR or CAB File, based on           original classes, methods and attributes. This requires both an
web browser type.                                                    intelligent server engine and client (handset) Player, both of
   3: Enter a timing loop, interrogating when the SRS is which fully understand what the data means and how it will be
loaded.                                                             used.
  4: When the SRS returns an “available' status, interrogate 65        The compaction technology described above includes
the SRS, which will return the current screen and windows           transformation algorithms that deconstruct the logic and data
actual height and width.                                            into their most primitive representations, and then reas



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sembles them in a way that can be optimally digested by             For each file type, there is an attributes list (e.g., streaming
further compression processing. This reassembled set of             Video, embedded video, streaming audio, etc.) to provide
primitive representations defines the PDL of authoring plat         enough information to determine what to send to the handset.
form 110.                                                              Response director 210 generates or updates an html or jad
   Prior to compression the code has already been trans file populating this text file with the necessary device and
formed so that there are no dependencies on the original network dependent parameters, including the Application
programming language (Java). The data is then compressed dependent parameters, and then generate, for example, a
by first taking advantage of how the primitive representations CAB or JAD file which contains the necessary Player for that
had been assembled, and then by utilizing standard LZencod device. For example, the jad file could contain the operator or
ing. The final result is an overall reduction of 40 to 100 times 10 device type or extended device-specific functions that the
the original size as represented by Java serialized objects.        player would then become aware of.
   The Player, when preparing a page view for execution,               If there is an Application that has a data type that device 130
decompresses and then regenerate the original objects, but cannot support, for example, video, response director 210
this time in compliance with the programming APIs of device sends an alternative Application to the handset, for example
130. Specifically, device 130 operates on compacted image 15 one that has a slide show instead. If the device cannot Support
pages, one at a time. The cache manager retrieves, decom a slide show, an Application might have text and images and
presses, and reassembles the compacted page images into display a message that indicates it does not Support video.
device objects, which are then interpreted by device 130 for           Another powerful feature of response director 210 is its
display on screen 137.                                              exposed API from the decision tree that permits the overrid
Response Director                                                   ing of the default output of the decision tree by solution
   In one embodiment, system 100 includes a Response providers. These solution providers are often licensees who
Director, which determines a user's handset, fetches the cor        want to further refine the fulfillment of Applications and
rect Application from different databases, and delivers a Players to specific devices beyond what the default algo
respective highly compressed Application in a PDL format rithms provide. Solution providers may be given a choice of
over the air (OTA).                                              25 Applications and then can decide to use the defaults or force
   In one embodiment, the Response Director operates on a other Applications.
network connected computer to provide the correct Player to            Authoring platform 110 automatically scales Applications
a given device based on the information the device sent to it.      at publishing time to various form factors to reduce the
As an example, this may occur when a device user enters their amount of fragmentation among devices, and the Response
phone number into Some call-to-action web page. The 30 Director serves the appropriately scaled version to the device.
response director is called and sends an SMS message to the For example, a QVGAApplication will automatically scale to
device, which responds, beginning the recognition process.          the QCIF form factor. This is important because one of the
   FIG. 12 illustrates one embodiment of a system 1200 that most visible forms of fragmentation resides in the various
includes a response director 210, a user agent database 1201,       form factors of wireless, and particularly mobile, devices,
an IP address database 1203, and a file database 1205. System 35 which range from 128x128, 176x208, 240x260, 220x220,
1200 is generally similar to system 100, 200, 800,900, 1000,        and many other customized sizes in between.
or 1100.                                                               FIG. 13 is a schematic of an embodiment of a system 1300.
   Databases 1201, 1203, and 1205 may reside on server 120,         System 1300 is generally similar to system 1200. System
210, or any computer system in communication with 1300 is an overview of the entire Player fulfillment process,
response director 210. System 1200, any mobile device can 40 starting with the generation of players during the player build
be serviced, and the most appropriate Application for the process.
device will be delivered to the device, based on the charac            System 1300 includes response director 210, a device char
teristics of the device.                                            acteristics operator and local database 1301, a player profile
   User agent database 1201 includes user agent information database 1303 and a player build process 1305, which may be
regarding individual devices 130 that are used to identify the 45 authoring platform 110.
operating system on the device. IP address database 1203               As an example of system 1300, when response director 210
identifies the carrier/operator of each device 130. File data receives an SMS message from device 130, the response
base 1205 includes data files that may operate on each device director identifies the device characteristics operator and
130.                                                                locale from database 1301 and a Player URL from database
   The following is an illustrative example of the operation of 50 1303 and provides the appropriate Player to the device.
response director 210. First, a device 1300 generates an SMS           In another embodiment, Player P extend the power of
message, which automatically sends an http://stream that response director 210 by adapting the Application to the
includes handset information and its phone number to resources and limitations of any particular device. Some of
response director 210. Response director 210 then looks at a these areas of adaptation include the speed of the devices
field in the http header (which includes the user agent and IP 55 microprocessor, the presence of device resources such as
address) that identifies the web browser (i.e., the “User cameras and touch screens. Another area of adaptation is
Agent'). The User Agent prompts a database lookup in user directed to heap, record store and file system memory con
agent database 1201 which returns data including, but not straints. In one embodiment, the Player will automatically
limited to, make, model, attributes, MIDP 1.0 MIDP 2.0,              throttle down an animation to the frame rate that the device
WAP and distinguishes the same models from different coun 60 can handle so that the best possible user experience is pre
tries. A lookup of the IP address in IP address 1203 identifies served. Other extensions include device specific facilities
the carrier/operator.                                            Such as location awareness, advanced touch screen interac
   File database 1205 contains data types, which may include tions, push extensions, access to advanced phone facilities,
as jadl, jad2, html, Wml/wap2, or other data types, appropri and many others
ate for each device 130. A list of available Applications are 65 Memory Management
returned to a decision tree, which then returns, to device 130,    In one embodiment, Player Pincludes a logical page virtual
the Application that is appropriate for the respective device. memory manager. This architecture requires no supporting



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hardware and works efficiently with constrained devices. All netic storage device Such as a diskette or a hard disk, or an
page view images, which could span multiple Applications, optical storage device such as a CD-ROM.
are placed in a table as highly compacted and compressed         It will be understood that the steps of methods discussed
code. A typical page view will range from 500 bytes up to are performed in one embodiment by an appropriate proces
about 1,500 bytes. (See, for example, the Rempell patent) Sor (or processors) of a processing (i.e., computer) system
When rolled into the heap and instantiated this code increases executing instructions (code segments) stored in storage. It
to the more typical 50,000 up to 250,000 bytes. Additional will also be understood that the invention is not limited to any
alert pages may also be rolled into the heap and Superimposed particular implementation or programming technique and
on the current page view. Any changes to any page currently that the invention may be implemented using any appropriate
downloaded are placed in a highly compact change vector for 10 techniques for implementing the functionality described
each page, and rolled out when the page is discarded. Note herein. The invention is not limited to any particular program
that whenever an Application is visited that had previously ming language or operating system. It should thus be appre
been placed in virtual memory the Server is interrogated to ciated that although the coding for programming devices has
see if a more current version is available, and, if so, down 15 not be discussed in detail, the invention is not limited to a
loads it. This means that Application logic can be changed in       specific coding method. Furthermore, the invention is not
real-time and the results immediately available to mobile           limited to any one type of network architecture and method of
devices.                                                            encapsulation, and thus may be utilized in conjunction with
   To operate efficiently with the bandwidth constraints of         one or a combination of other network architectures/proto
mobile devices, authoring platform 110 may also utilize cols.
anticipatory streaming and multi-level caching. Anticipatory           Reference throughout this specification to “one embodi
streaming includes multiple asynchronous threads and IO             ment,” “an embodiment, or “certain embodiments' means
request queues. In this process, the current Application is that a particular feature, structure or characteristic described
scanned to determine if there is content that is likely to be in connection with the embodiment is included in at least one
required in as-yet untouched page views. Anticipatory 25 embodiment of the present invention. Thus, appearances of
streaming also looks for mapping Applications, where the the phrases “in one embodiment,” “in an embodiment,” or “in
user may Zoom or pan next so that map content is retrieved certain embodiments' in various places throughout this
prior to the user requesting it. For mapping applications,          specification are not necessarily all referring to the same
anticipatory streaming downloads a map whose size is greater embodiment. Furthermore, the particular features, structures
than the map portal size on the device and centered within the 30 or characteristics may be combined in any suitable manner, as
portal. Any pan operation will anticipatory stream a section of
the map to extend the view in the direction of the pan while, would        be apparent to one of ordinary skill in the art from this
as a lower priority, bring down the next and prior Zoom levels disclosure,      in one or more embodiments.
for this new geography. Zooming will always anticipatory beThroughout   synonymous
                                                                                    this specification, the term “comprising shall
                                                                                      with “including.” “containing,” or “charac
stream the next Zoom level up and down.                          35
   Multi-level caching determines the handsets heap through terized by, is inclusive or open-ended and does not exclude
an API, and also looks at the record store to see how much          additional, unrecited elements or method steps. “Compris
memory is resident. This content is placed in record store ing is a term of art which means that the named elements are
and/or the file system, and may, if there is available heap, also essential, but other elements may be added and still form a
place the content there as well. Multi-level caching permits 40 construct within the scope of the statement. “Comprising
the management of memory Such that mobile systems best leaves open for the inclusion of unspecified ingredients even
use limited memory resources. Multi-level caching is a in major amounts.
memory management system with results similar to embed                 Similarly, it should be appreciated that in the above
ding, without the overhead of instantiating the content. In description of exemplary embodiments, various features of
other words, with multi-level caching, handset users get an 45 the invention are sometimes grouped together in a single
“embedded performance without the embedded download. embodiment, figure, or description thereof for the purpose of
Note that when content is flagged as cacheable and is placed streamlining the disclosure and aiding in the understanding of
in persistent storage, a digital rights management (DRM) one or more of the various inventive aspects. This method of
solution will be used.                                              disclosure, however, is not to be interpreted as reflecting an
   One embodiment of each of the methods described herein 50 intention that the claimed invention requires more features
is in the form of a computer program that executes on a than are expressly recited in each claim. Rather, as the fol
processing system. Thus, as will be appreciated by those lowing claims reflect, inventive aspects lie in less than all
skilled in the art, embodiments of the present invention may features of a single foregoing disclosed embodiment, and the
be embodied as a method, an apparatus Such as a special invention may include any of the different combinations
purpose apparatus, an apparatus Such as a data processing 55 embodied herein. Thus, the following claims are hereby
system, or a carrier medium, e.g., a computer program prod expressly incorporated into this Mode(s) for Carrying Out the
uct. The carrier medium carries one or more computer read Invention, with each claim standing on its own as a separate
able code segments for controlling a processing system to embodiment of this invention.
implement a method. Accordingly, aspects of the present                Thus, while there has been described what is believed to be
invention may take the form of a method, an entirely hardware 60 the preferred embodiments of the invention, those skilled in
embodiment, an entirely software embodiment or an embodi the art will recognize that other and further modifications may
ment combining software and hardware aspects. Further be made thereto without departing from the spirit of the
more, the present invention may take the form of carrier invention, and it is intended to claim all such changes and
medium (e.g., a computer program product on a computer modifications as fall within the scope of the invention. For
readable storage medium) carrying computer-readable pro 65 example, any formulas given above are merely representative
gram code segments embodied in the medium. Any Suitable of procedures that may be used. Functionality may be added
computer readable medium may be used including a mag or deleted from the block diagrams and operations may be



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interchanged among functional blocks. Steps may be added                generate code that, when executed on the device, allows a
or deleted to methods described within the scope of the                    user to Supply a phone number to said phone field or list.
present invention.                                                      9. The system of claim 1, where said authoring tool is
  We claim:                                                          further configured to:
   1. A system for generating code to provide content on a 5 define a SMS field or list; and
display of a device, said system comprising:                          generate code that, when executed on the device, allows a
   computer memory storing a registry of                                 user to supply an SMS address to said SMS field or list.
      a) symbolic names required for evoking one or more              10. The system of claim 1,
         web components each related to a set of inputs and           where said code includes three or more codes, where one of
         outputs of a web service obtainable over a network, 10          said three or more codes is device specific, and where
         where the symbolic names are character strings that             two of said three or more codes is device independent.
         do not contain eitherapersistent address or pointer to       11. The system of claim 1, where said code is provided over
         an output value accessible to the web service, and        said network.
      b) the address of the web service;                              12. A method of displaying content on a display of a device
   an authoring tool configured to:                             15
   define a user interface (UI) object for presentation on the utilizing a registry of one or more web components related to
      display, where said UI object corresponds to the web inputs and outputs of a web service obtainable over a network,
      component included in said registry selected from the where each web component includes a plurality of symbolic
      group consisting of an input of the web service and an names of inputs and outputs associated with each web ser
      output of the web service,                                   vice, and where the registry includes: a) symbolic names
   access said computer memory to select the symbolic name required for evoking one or more web components each
      corresponding to the web component of the defined UI related to a set of inputs and outputs of a web service obtain
      object,                                                      able over a network, where the symbolic names are character
   associate the selected symbolic name with the defined UI strings that do not contain either a persistent address or
      object,                                                   25 pointer to an output value accessible to the web service, and
   produce an Application including the selected symbolic             b) the address of the web service, said method comprising:
      name of the defined UI object, where said Application is           defining a user interface (UI) object for presentation on
      a device-independent code, and                                        the display, where said UI object corresponds to a web
   produce a Player, where said Player is a device-dependent                component included in said registry selected from the
      code;                                                     30          group consisting of an input of the web service and an
   such that, when the Application and Player are provided to               output of the web service;
      the device and executed on the device, and when a user             selecting a symbolic name from said web component
      of the device provides one or more input values associ                corresponding to the defined UI object;
      ated with an input symbolic name to an input of defined            associating the selected symbolic name with the defined
      UI object,                                                35          UI object;
   1) the device provides the user provided one or more input            producing an Application including the selected Sym
      values and corresponding input symbolic name to the                   bolic name of the defined UI object, where said Appli
      web service,                                                          cation is a device-dependent code; and
   2) the web service utilizes the input symbolic name and the           producing a Player, where said Player is a device-depen
      user provided one or more input values for generating 40              dent code:
      one or more output values having an associated output              such that, when the Application and Player are provided
      symbolic name,                                                        to the device and executed on the device, and when a
   3) said Player receives the output symbolic name and cor                 user of the device provides one or more input values
      responding one or more output values and provides                     associated with an input symbolic name to an input of
      instructions for a display of the device to present an 45             defined UI object,
      output value in the defined UI object.                             1) the device provides the user provided one or more
   2. The system of claim 1, where said registry includes                   input values and corresponding input symbolic name
definitions of input and output related to said web service.                to the web service,
   3. The system of claim 1, where said web component is a               2) the web service utilizes the input symbolic name and
text chat, a video chat, an image, a slideshow, a video, or an 50           the user provided one or more input values for gener
RSS feed.                                                                   ating one or more output values having an associated
   4. The system of claim 1, where said UI object is an input               output symbolic name,
field for a chat.                                                        3) said Player receives the output symbolic name and
   5. The system of claim 1, where said UI object is an input               corresponding one or more output values and pro
field for a web service.                                        55          vides instructions for a display of the device to present
   6. The system of claim 1, where said UI object is an input               an output value in the defined UI object.
field usable to obtain said web component, where said input           13. The method of claim 12, where said registry includes
field includes a text field, a scrolling textbox, a check box, a definitions of input and output related to said web service.
drop down-menu, a list menu, or a Submit button.                      14. The method of claim 12, where said web component is
   7. The system of claim 1, where said web component is an 60 a text chat, a video chat, an image, a slideshow, a video, oran
output of a web service, is the text provided by one or more RSS feed.
simultaneous chat sessions, is the video of a video chat ses          15. The method of claim 12, where said UI object is an
Sion, is a video, an image, a slideshow, an RSS display, or an input field for a chat.
advertisement.                                                        16. The method of claim 12, where said UI object is an
   8. The system of claim 1, where said authoring tool is 65 input field for a web service.
further configured to:                                                17. The method of claim 12, where said UI object is an
   define a phone field or list; and                               input field usable to obtain said web component, where said



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                                                     US 9,063,755 B2
                               39                                                               40
input field includes a text field, a scrolling textbox, a check       where the web service requires both an input symbolic
box, a drop down-menu, a list menu, or a Submit button.                  name and one or more associated input values and
   18. The method of claim 12, where said web component is               returns one or more output values having an associated
an output of a web service, is the text provided by one or more          output symbolic name, and
simultaneous chat sessions, is the video of a video chat ses          where the registry includes
Sion, is a video, an image, a slideshow, an RSS display, or an        a) symbolic names required for evoking one or more web
advertisement.
                                                                         components each related to a set of inputs and outputs of
                                                                        a web service obtainable over a network, where the
  19. The method of claim 12, further comprising:                       symbolic names are character strings that do not contain
  defining a phone field or list; and                                   either a persistent address or pointer to an output value
  generating code that, when executed on the device, allows 10          accessible to the web service, and
    a user to Supply a phone number to said phone field or            b) the address of the web service;
     list.                                                            where said executing includes:
   20. The method of claim 12, further comprising:                       processing said symbolic names of the second code on
   defining a SMS field or list; and                             15
                                                                           the device,
   generating code that, when executed on the device, allows            transmitting processed instructions from the device to
      a user to supply an SMS address to said SMS field or list.           the web service, and
                                                                        accepting a third code on the device over the network,
   21. Previously Presented The method of claim 12, and such              where said third code is a device-independent third
that said Player interprets dynamically received, device-inde             code including the output of the web component pro
pendent values of the web component defined in the Appli                  vided by the web service over the network and in
cation.                                                                   response to the second code.
   22. The method of claim 12, further comprising:               24. The method of claim 23, where said third code is a text
   providing said Application and Player over said network.   chat, a video chat, an image, a slideshow, a video, or an RSS
   23. A method of providing information to a device having feed.
a display from a web component of a web service to a device 25 25. The method of claim 23, where said third code is an
on a network, said method comprising:                         output of a web service, is the text provided by one or more
   accepting, on the device, a first code over the network,   simultaneous chat sessions, is the video of a video chat ses
     where said first code is device-dependent;               Sion, is a video, an image, a slideshow, an RSS display, or an
   accepting, on the device, a second code over the network, advertisement.
                                                                 26. The method of claim 23, where said first code and said
     where said second code is device-independent and 30 second        code are generated using an authoring tool.
     includes a plurality of symbolic names of inputs and
     outputs associated with the web service; and                27. The method of claim 23, where said first code is a
   executing said first code on the device,                   Player.
                                                                 28. The method of claim 23, where said second code is an
   where the symbolic names are provided from a registry of Application
     one or more web components related to inputs and out 35                which includes one or more web components.
     puts of a web service obtainable over a network,                                 k   k   k   k  k




                                                          Appx383
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 9,063,755 B2                                                                                       Page 1 of 1
APPLICATIONNO.              : 12/936395
DATED                       : June 23, 2015
INVENTOR(S)                 : Rempellet al.
It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         Title page, item 73, Assignee: Express Mobile, inc., Novato, CA (US) - the “inc. should be -- Inc. --.
                                                        In the claims

         Column 39, line 18, Claim 21, delete the text reading “Previously Presented.




                                                                                   Signed and Sealed this
                                                                               Twentieth Day of October, 2015
                                                                          74-4-04- 2% 4            Michelle K. Lee
                                                                               Director of the United States Patent and Trademark Office




                                                            Appx384
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                                                                                                                US009471287B2


(12) United States Patent                                                           (10) Patent No.:                       US 9,471,287 B2
       Rempell et al.                                                               (45) Date of Patent:                            *Oct. 18, 2016
(54) SYSTEMS AND METHODS FOR                                                   (52) U.S. Cl.
       INTEGRATING WIDGETS ON MOBILE                                                        CPC ............... G06F 8/34 (2013.01); G06F 3/0482
       DEVICES                                                                               (2013.01); G06F 3/04842 (2013.01); G06F
                                                                                              9/4443 (2013.01); H04L 51/046 (2013.01);
(71) Applicant: Express Mobile, Inc., Novato, CA (US)                                    H04L 65/60 (2013.01); H04L 67/02 (2013.01)
(72) Inventors: Steven H. Rempell, Novato, CA (US);                            (58) Field of Classification Search                      f
                  David Chrobak, Clayton, CA (US);                                  CPC ..... ................................... G06F 3/048
                  Ken Brown, San Martin, CA (US)                                    See application file for complete search history.
(73) Assignee: Express Mobile, Inc., Novato, CA (US)                           (56)                              References Cited
(*) Notice:       Subject to any disclaimer, the term of this                                U.S. PATENT DOCUMENTS
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                  This patent is Subject to a terminal dis-                                                                                  TO9.220
                   laimer.
                  Ca1                                                                                              (Continued)
(21) Appl. No.: 14/708,074
                                                                                                             OTHER PUBLICATIONS
(22) Filed:       May 8, 2015
                                                                               Stina Nylander et al. “The Ubiquitous Interactor Device Indepen
(65)                 Prior Publication Data                                    dent Access to Mobile Services” (Computer-Aided Design for User
                                                                               Interfaces IV, Proceedings of the Fifth International Conference on
       US 2015/031713O A1        Nov. 5, 2015                                  Computer-Aided Design of User Interfaces CADUI 2004, Jan.
              Related U.S. Application Data                                    2004, pp. 271-282).*
(63) Continuation of application No. 12/936,395, filed as                                                          (Continued)
     application No. PCT/US2009/039695 on Apr. 6,
     2009, now Pat. No. 9,063,755.                                             Primary Examiner — Jennifer To
                                                                               Assistant Examiner — X                     Xi
(60) 7,Provisional application No. 61/123,438, filed on Apr.
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                                                                                't                   al              yong s
                                                                               (74) Attorney, Agent, or Firm — Steven R. Vosen
                                                                                                                                     R. V.
       on Nov. 11, 2008, provisional application No.
       61/166,651, filed on Apr. 3, 2009.                                      (57)                   ABSTRACT
                                                                               Embodiments of a system and method are described for
(51) Int. Cl.                                                                  generating and distributing programming to mobile devices
     G06F 3/048               (2013.01)                                        over a network. Devices are provided with Players specific
     G06F 9/44                (2006.01)                                        to each device and Applications that are device independent.
       H04L 29/08             (2006.01)                                        Embodiments include a full-featured WYSIWYG authoring
       G06F 3/0484            (2013.01)                                        environment, including the ability to bind web components
       G06F 3/0482            (2013.01)                                        to objects.
       H04L 29/06             (2006.01)
       H04L 2/58              (2006.01)                                                                    28 Claims, 18 Drawing Sheets

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                                             10 Authoring                              12       Sewer
                                                   Piatforr
                                                                  ----------------------121 Network
                                              11 Memory                                        interface
                                               12 Authoring                             123 Memory
                                                                                        12 Memory
                                                                                            25. Processor
                                               114 Device
                                                     Routies


                                                3 Processor
                                              is screen
                                             -
                                               17 liput
                                                       evice
                                             H



                                                     Content
                                             140      server
                                                4. Network
                                                      interface

                                               143 Memory
                                               145 processor




                                                                  Appx385
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                                                        US 9,471,287 B2
                                                                 Page 2

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dent Access to Mobile Services” (Computer-Aided Design for User       Rempell et al, co-pending U.S. Appl. No. 14,708, 108, filed May 8,
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Computer-Aided Design of User Interfaces CADUT2004, Jan.
2004, pp. 271-282).                                                   * cited by examiner




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       OO
               N
    11 O Authoring
             Platform
                                                                    Network
     1 11 Memory                                                    interface
       112 Authoring                                           123 Memory

                                                               125 Processor
       114 Device
               Routines


        3 Processor

         5     Screen




                                                               13   Network
                                                                    interface
      40
     - ful      Server                      ---                133 Memory
        4      Network             a                       s                    O
               Interface                                       135 Processor




                                       FG. A




                                         Appx387
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                       OO
                             N         O Authoring
                                         Platform




              Device


   C-1, R-1




                                       Appx388
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                      Players
                                              Authoring
                                              Patform


                                                           Load Registry
                           Applications

                                        120                         Registry          220
                                                 Server       3.                -     WebComponent
                                                                                             Registry

                                                                                     Deploy
                                  Applications                                      Registry
                                                                    Web
                                                                    Content
   2O R SSe             Player-           3                    s:
        p         N                              evice
      Director
                                                                    Content
                                                                    Recuest          Proxy
                                                                                HTTP/XM
                                                                                    Request
                                                                                      and
                                                                                 Response
                                                                                     23O
                                                                                         Web Service


                                     F.G. 2A




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                                      FG. 3D



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                                    FG.3E




                                    Appx395
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                                       FG. 7




                                    Appx399
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              3OO
                      N
                       8O1
                      Website System


                        O3
                        SMS Server




        Content Server




                                      FG. 9


                                    Appx400
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                        Appx402
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                        Appx403
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                                                   US 9,471,287 B2
                             1.                                                                     2
          SYSTEMIS AND METHODS FOR                                      In another embodiment, one of the codes is an Application
       INTEGRATING WIDGETS ON MOBILE                                 that is a device independent code that interpreted by the
                    DEVICES                                          Player.
                                                                        These features together with the various ancillary provi
                   TECHNICAL FIELD                                   sions and features which will become apparent to those
                                                                     skilled in the art from the following detailed description, are
  The present invention generally relates to providing soft          attained by the system and method of the present invention,
ware for mobile devices, and more particularly to a method           preferred embodiments thereof being shown with reference
and system for authoring Applications for devices.                   to the accompanying drawings, by way of example only,
                                                                10   wherein:
                  BACKGROUND ART
                                                                                BRIEF DESCRIPTION OF DRAWINGS
   Internet-connected mobile devices are becoming ever
more popular. While these devices provide portability to the   FIG. 1A is an illustrative schematic of one embodiment of
Internet, they generally do not have the capabilities of 15 a system including an authoring platform and a server for
non-mobile devices including computing, input and output providing programming instructions to a device over a
capabilities.                                                network;
   In addition, the mobility of the user while using such      FIG. 1B is schematic of an alternative embodiment sys
devices provides challenges and opportunities for the use of tem for providing programming instructions to device over
the Internet. Further, unlike non-mobile devices, there are a        a network;
large number of types of devices and they tend to have a            FIG. 2A is a schematic of an embodiment of system
shorter lifetime in the marketplace. The programming of the illustrating the communications between different system
myriad of mobile devices is a time-consuming and expen components;
sive proposition, thus limiting the ability of service provid       FIG. 2B is a schematic of one embodiment of a device
ers to update the capabilities of mobile devices.             25 illustrating an embodiment of the programming generated
   Thus there is a need in the art for a method and apparatus by authoring platform;
that permits for the efficient programming of mobile devices.       FIGS. 3A and 3B illustrate one embodiment of a publisher
Such a method and apparatus should be easy to use and interface as it appears, for example and without limitation,
provide output for a variety of devices.                         on a screen while executing an authoring tool;
                                                                30     FIG. 3C illustrates an embodiment of the Events Tab'
             DISCLOSURE OF INVENTION                                   FIG. 3D illustrates one embodiment of an Animation Tab:
                                                               FIG. 3E illustrates one embodiment of Bindings Tab:
   In certain embodiments, a system is provided to generate    FIG.3F illustrates one embodiment of a pop-up menu for
code to provide content on a display of a platform. The adding web components;
system includes a database of web services obtainable over 35 FIG. 4A shows a publisher interface having a layout on a
a network and an authoring tool. The authoring tool is canvas; and FIG. 4B shows a device having the resulting
configured to define an object for presentation on the dis layout on a device screen;
play, select a component of a web service included in said     FIG. 5 shows a display of launch strips;
database, associate said object with said selected compo       FIG. 6A is a display of a Channel Selection List;
nent, and produce code that, when executed on the platform, 40 FIG. 6B is a display of a Widget Selection List:
provides said selected component on the display of the         FIG. 6C is a display of a Phone List;
platform.                                                      FIG. 7 shows a display of a mash-up:
   In certain other embodiments, a method is provided for      FIG. 8 is a schematic of an embodiment of a push capable
providing information to platforms on a network. The system;
method includes accepting a first code over the network, 45 FIG. 9 is a schematic of an alternative embodiment of a
where said first code is platform-dependent; providing a push capable system;
second code over the network, where said second code is                FIG. 10 is a schematic of one embodiment of a feed
platform-independent; and executing said first code and said         collector;
second code on the platform to provide web components                  FIG. 11 is a schematic of an embodiment of a Mobile
obtained over the network.                                     Content Gateway;
                                                                50
   In certain embodiments, a method for displaying content        FIG. 12 is a schematic of one embodiment of a system that
on a platform utilizing a database of web services obtainable includes a response director, a user agent database, an IP
over a network is provided. The method includes: defining address database, and a file database; and
an object for presentation on the display; selecting a com        FIG. 13 is a schematic of another embodiment of a system
ponent of a web service included in said database; associ 55 that includes a response director, a user agent database, an IP
ating said object with said selected component; and produc address database, and a file database.
ing code that, when executed on the platform, provides said       Reference symbols are used in the Figures to indicate
selected component on the display of the platform.             certain components, aspects or features shown therein, with
   In one embodiment, one of the codes is a Player, which is reference symbols common to more than one Figure indi
a thin client architecture that operates in a language that 60 cating like components, aspects or features shown therein.
manages resources efficiently, is extensible, Supports a
robust application model, and has no device specific depen               MODE(S) FOR CARRYING OUT THE
dencies. In another embodiment, Player P is light weight and                           INVENTION
extends the operating system and/or virtual machine of the
device to: Manage all applications and application upgrades, 65 FIG. 1A is an illustrative schematic of one embodiment of
and resolve device, operating system, VM and language a system 100 including an authoring platform 110 and a
fragmentation.                                                 server 120 for providing programming instructions to a



                                                        Appx405
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                                                  US 9,471,287 B2
                             3                                                               4
device 130 over a network N. In one embodiment, device           devices using routines provided on a platform. Thus as an
130 is a wireless device, and network N includes wireless        example, routines 114 may include Java APIs and an
communication to the device. Alternatively, system 100 may       authoring tool System Development Kit (SDK) for specific
provide access over network N to other information, data, or     devices 130.
content, such as obtainable as a web service over the 5            Server 120 is a computer or computer system that
Internet. In general, a user of authoring platform 110 may      includes a network interface 121, a memory 123, and a
produce programming instructions or files that may be           processor 125. Is to be understood that network interface
transmitted over network N to operate device 130, including     121, memory 123, and processor 125 are configured such
instructions or files that are sent to device 130 and/or server that a program stored in the memory may be executed by the
120. The result of the authoring process is also referred to 10 processor to: accept input and/or provide output to authoring
herein, and without limitation, as publishing an Application. platform 110; accept input and/or provide output through
  Embodiments include one or more databases that store           network interface 121 over network N to network interface
information related to one or more devices 130 and/or the        131; or store information from authoring platform 110 or
content provided to the devices. It is understood that such from device 130 for transmission to another device or
databases may reside on any computer or computer system 15 system at a later time.
on network N, and that, in particular, the location is not          In one embodiment, authoring platform 110 permits a user
limited to any particular server, for example.                   to design desired displays for screen 137 and actions of
   Device 130 may be, for example and without limitation, device 130. In other words, authoring platform 110 is used
a cellular telephone or a portable digital assistant, includes to program the operation of device 130. In another embodi
a network interface 131, a memory 133, a processor 135, a ment, authoring platform 110 allows a user to provide input
screen 137, and an input device 139. Network interface 131 for the design of one or more device displays and may
is used by device 130 to communication over a wireless further allow the user to save the designs as device specific
network, such as a cellular telephone network, a WiFi Applications. The Applications may be stored in memory
network or a WiMax network, and then to other telephones         123 and may then be sent, when requested by device 130 or
through a public switched telephone network (PSTN) or to 25 when the device is otherwise accessible, over network N,
a satellite, or over the Internet. Memory 133 includes through network interface 130 for storage in memory 133.
programming required to operate device 130 (Such as an              In an alternative embodiment, analytics information from
operating system or virtual machine instructions), and may devices 130 may be returned from device 130, through
include portions that store information or programming network N and server 120, back to authoring platform 110.
instructions obtained over network interface 131, or that are 30 as indicated by line B, for later analysis. Analytics informa
input by the user (Such as telephone numbers or images from tion includes, but is not limited to, user demographics, time
a device camera (not shown). In one embodiment screen 137 of day, and location. The type of analytic content is only
is a touch screen, providing the functions of the screen and limited by which listeners have been activated for which
input device 139.                                                objects and for which pages. Analytic content may include,
   Authoring platform 110 includes a computer or computer 35 but is not limited to, player-side page view, player-side
system having a memory 111, a processor 113, a screen 115, forms-based content, player-side user interactions, and
and an input device 117. It is to be understood that memory player-side object status.
111, processor 113, screen 115, and input device 117 are            Content server 140 is a computer or computer system that
configured such a program stored in the memory may be includes a network interface 141, a memory 143, and a
executed by the processor to accept input from the input 40 processor 145. It is to be understood that network interface
device and display information on the screen. Further, the 141, memory 143, and processor 145 are configured such
program stored in memory 111 may also instruct authoring that a stored program in the memory may be executed by the
platform 110 to provide programming or information, as processor to accepts requests R from device 130 and provide
indicated by the line labeled “A” and to receive information, content C over a network, such as web server content the
as indicated by the line labeled “B.”                         45 Internet, to device 130.
   Memory 111 is shown schematically as including a stored          FIG. 1B is schematic of an alternative embodiment sys
program referred to herein, and without limitation, as an tem 100 for providing programming instructions to device
authoring tool 112. In one embodiment, authoring tool 112        130 over a network N that is generally similar to the system
is a graphical system for designing the layout of features as of FIG. 1A. The embodiment of FIG. 1B illustrates that
a display that is to appear on screen 137. One example of 50 system 100 may include multiple servers 120 and/or mul
authoring tool 112 is the CDERTM publishing platform tiple devices 130.
(Express Mobile, Inc., Novato, Calif.).                             In the embodiment of FIG. 1B, system 100 is shown as
   In another embodiment, which is not meant to limit the        including two or more servers 120, shown illustratively and
scope of the present invention, device 130 may include an without limitation as servers 120a and 120b. Thus some of
operating system having a platform that can interpret certain 55 the programming or information between authoring plat
routines. Memory 111 may optionally include programming form 110 and one or more devices 130 may be stored,
referred to herein, and without limitation, as routines 114      routed, updated, or controlled by more than one server 120.
that are executable on device 130.                               In particular, the systems and methods described herein may
   Routines 114 may include device-specific routines—that be executed on one or more server 120.
is, codes that are specific to the operating system, program 60 Also shown in FIG. 1B are a plurality of devices 130,
ming language, or platform of specific devices 130, and may shown illustratively and without limitation as device 130-1,
include, but are not limited to, Java, Windows Mobile, Brew,     130-1, . . . 130-N. System 100 may thus direct communi
Symbian OS, or Open Handset Alliance (OHA). Several cation between individual server(s) 120 and specific
examples and embodiments herein are described with ref device(s) 130.
erence to the use of Java. It is to be understood that the 65       As described subsequently, individual devices 130 may be
invention is not so limited, except as provided in the claims, provided with program instructions which may be stored in
and that one skilled in the art could provide Players for each device's memory 133 and where the instructions are



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executed by each device's processor 135. Thus, for example, tion on a specific device 130 according to the device
server(s) 120 may provide device(s) 130 with programming platform. The Application may in general include, without
in response to the input of the uses of the individual devices. limitation, instructions for generating a display on Screen
Further, different devices 130 may be operable using differ       137, instructions for accepting input from input device 139,
ent sets of instructions, that is having one of a variety of instructions for interacting with a user of device 130, and/or
different “device platforms. Differing device platforms may instructions for otherwise operating the device. Such as to
result, for example and without limitation, to different place a telephone call.
operating systems, different versions of an operating system,        The Application is preferably code in a device-indepen
or different versions of virtual machines on the same oper dent format, referred to herein and without limitation as a
ating system. In some embodiments, devices 130 are pro 10 Portable Description Language (PDL). The device's Player
vided with some programming from authoring system 100 interprets              or executes the Application to generate one or
that is particular to the device.                                 more   "pages”  (“Applications Pages') on a display as defined
   In one embodiment, system 100 provides permits a user
of authoring platform 110 to provide instructions to each of      by  the  PDL.  The  Player may include code that is device
the plurality of devices 130 in the form of a device- or 15 specific—that it, each device is provided with a Player that
device-platform specific instructions for processor 135 of is used in the interpretation and execution of Applications.
the device, referred to herein and without limitation as a        Authoring tool 112 may thus be used to design one or more
“Player,” and a device-independent program, referred to device-independent Applications and may also include
herein and without limitation as an “Application' Thus, for information on one or more different devices 130 that can be
example, authoring platform 110 may be used to generate used to generate a Player that specific devices may use to
programming for a plurality of devices 130 having one of generate displays from the Application.
several different device platforms. The programming is               In one embodiment, system 100 provides Players and
parsed into instructions used by different device platforms Applications to one server 120, as in FIG. 1A. In another
and instructions that are independent of device platform.         embodiment, system 100 provides Players to a first server
Thus in one embodiment, device 130 utilizes a Player and an 25 120a and Applications to a second server 120b, as in FIG.
Application to execute programming from authoring plat 1B.
form 110. A device having the correct Player is then able to         In one embodiment, authoring tool 112 may be used to
interpret and be programmed according to the Application. program a plurality of different devices 130, and routines
   In one alternative embodiment, the Player is executed the 114 may include device-specific routines. In another
first time by device 130 (“activated') through an Application 30 embodiment, the Player is of the type that is commonly
directory. In another alternative embodiment, the Player is
activated by a web browser or other software on device 130. referred        to as a “thin client' that is, software for running
                                                                  on the device as a client in client-server architecture with a
In yet another alternative embodiment, Player is activated device network which depends primarily on a central server
through a signal to device 130 by a special telephone
numbers, such as a short code.                                 35 for processing activities, and mainly focuses on conveying
   When the Application and the Player are provided to input and output between the user and the server.
memory 133, the functioning of device 130 may occur in               In one embodiment, authoring platform 110 allows user to
accordance with the desired programming. Thus in one arrange objects for display on screen. A graphical user
embodiment, the Application and Player includes program interface (“GUI,” or “UI”) is particularly well suited to
ming instructions which may be stored in memory 133 and 40 arranging objects, but is not necessary. The objects may
which, when executed by processor 135, generate the correspond to one or more of an input object, an output
designed displays on screen 137. The Application and Player object, an action object, or may be a decorative display, Such
may also include programming instructions which may be as a logo, or background color or pattern, such as a Solid or
stored in memory 133 and which provide instructions to gradient fill. In another embodiment, authoring platform 110
processor 135 to accept input from input device 139.           45 also permits a user to assign actions to one or more of an
   Authoring tool 112 may, for example, produce and store input object, an output object, or an action object. In yet
within memory 111 a plurality of Players (for different another embodiment, authoring platform 110 also permits a
devices 130) and a plurality of Applications for displaying user to bind one or more of an input object, an output object,
pages on all devices. The Players and Applications are then or an action object with web services or web components, or
stored on one or more servers 120 and then provided to 50 permits a user to provide instructions to processor 135 to
individual devices 130. In general, Applications are pro          store or modify information in memory 133, to navigate to
vided to device 130 for each page of display or a some another display or service, or to perform other actions, such
number of pages. A Player need be provided once or updated as dialing a telephone number.
as necessary, and thus may be used to display a large number         In certain embodiments, the applicant model used in
of Applications. This is advantageous for the authoring 55 developing and providing Applications is a PDL. The PDL
process, since all of the device-dependent programming is can be conceptually viewed as a device, operating system
provided to a device only once (or possibly for some Small and virtual machine agnostic representation of Java serial
number of upgrades), permitting a smaller Application,            ized objects. In certain embodiments, the PDL is the com
which is the same for each device 130.                            mon language for authoring tool 112, the Application, and
   Thus, for example and without limitation, in one embodi 60 Player. Thus while either designing the Application with the
ment, the Player transforms device-independent instructions authoring tool 112, or programming with the SDK, the
of the Application into device-specific instructions that are internal representation of the programming logic is in Java.
executable by device 130. Thus, by way of example and In one embodiment the SDK is used within a multi-language
without limitation, the Application may include Java pro Software development platform comprising an IDE and a
gramming for generating a display on Screen 137, and the 65 plug-in system to extend it. Such as the Eclipse Integrated
Player may interpret the Java and instruct processor 135 to       Development Environment (see, for example, http://www.e-
produce the display according to the Application for execu clipse.org/). At publish time the Java code is translated into



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a PDL. This translation may also occur in real-time during        display. Other information that may be provided by content
the execution of any Web Services or backend business logic       server 140 may include, but is not limited to, pages, Appli
that interacts with the user.                                     cations, multimedia, and audio.
   One embodiment for compacting data that may be used is             FIG. 2A is a schematic of a system 200 of an embodiment
described in co-pending U.S. Pat. No. 6,546,397 to Rempell of system 100 illustrating the communications between
(“Rempell”), the contents of which are incorporated herein different system components. System includes a response
by reference. In that patent the compressed data is described director 210, a web component registry 220, and a web
as being a database. The terminology used here is a PDL,           service 230. System 200 further includes authoring platform
that is the “internal database' of Rempell is equivalent to the 110, server 120, device 130 and content server 140 are which
PDL of the present Application.                                 10 are generally similar to those of the embodiments of FIGS.
   The use of a PDL, as described in Rempell, permits for 1A and 1B, except as explicitly noted.
efficient code and data compaction. Code, as well as vector,          Response director 210 is a computer or computer system
integer and Boolean data may be compacted and then that may be generally similar to server 120 including the
compressed resulting in a size reduction of 40 to 80 times ability to communicate with authoring platform 110 and one
that of the original Java serialized objects. This is important 15 or more devices 130. In particular, authoring platform 110
not only for performance over the network but for utilizing generates one or more Players (each usable by certain
the virtual memory manager of the Player more efficiently. devices 130) which are provided to response director 210.
As an example, the reassembled primitives of the Java Devices 130 may be operated to provide response director
objects may first undergo logical compression, followed by 210 with a request for a Player and to receive and install the
LZ encoding.                                                       Player. In one embodiment, device 130 provides response
   The use of a PDL also provides virtual machine and director 210 with device-specific information including but
operating system independence. Since the reassembled not limited to make, model, and/or software version of the
primitives of the Application no longer have any dependen device. Response director 210 then determines the appro
cies from the original programming language (Java) that priate Player for the device, and provides the device with the
they were defined in. The PDL architecture takes full advan 25 Player over the network.
tage of this by abstracting all the virtual machine and/or            Web service 230 is a plurality of services obtainable over
operating system interfaces from the code that processes the the Internet. Each web service is identified and/or defined as
PDL.                                                               an entry in web component registry 230, which is a database,
   In one embodiment, the PDL is defined by the means of XML file, or PDL that exists on a computer that may be a
nested arrays of primitives. Accordingly, the use of a PDL 30 server previously described or another server 120. Web
provides extensibility and compatibility, with a minimal component registry 230 is provided through server 120 to
amount of constraints in extending the Player seamlessly as authoring platform 110 so that a user of the authoring
market demands and device capabilities continue to grow. platform may bind web services 230 to elements to be
Compatibility with other languages is inherent based on the displayed on device 130, as described subsequently.
various Player abstraction implementations, which may be, 35 In one embodiment, authoring platform 110 is used in
for example and without limitation, Java CDC, J2SE or conjunction with a display that provides a WYSIWYG
MIDP2 implementations.                                             environment in which a user of the authoring platform can
   In one embodiment, the architecture of Player P includes produce an Application and Player that produces the same
an abstraction interface that separates all device, operating display and the desired programming on device 130. Thus,
system and virtual machine dependencies from the Player's 40 for example, authoring tool 112 provides a display on Screen
Application model business logic (that is, the logic of the 115 that corresponds to the finished page that will be
server-side facilities) that extend the Application on the displayed on screen 137 when an Application is intercepted,
Player so that it is efficiently integrated into a comprehensive via a Player, on processor 135 of device 130.
client/server Application. The use of an abstraction interface        Authoring platform 110 further permits a user of the
permits the more efficient porting to other operating systems 45 authoring platform to associate objects, such as objects for
and virtual machines and adding of extensions to the Appli presenting on screen 137, with components of one or more
cation model so that a PDL can be implemented once and web services 230 that are registered in web component
then seamlessly propagated across all platform implemen registry 220. In one embodiment, information is provided in
tations. The Application model includes all the currently an XML file to web component registry 220 for each
supported UI objects and their attributes and well as all of 50 registered components of each web service 230. Web com
the various events that are supported in the default Player.       ponent registry 220 may contain consumer inputs related to
Further, less robust platforms can be augmented by extend each web service 230, environmental data such as PIM, time
ing higher end capabilities inside that platforms abstraction or location values, persistent variable data, outputs related to
interface implementation.                                          the web service, and/or optional hinting for improving the
   In one embodiment, authoring platform 110 provides one 55 user's productivity.
or more pages, which may be provided in one Application,              A user of authoring platform 110 of system 200 may
or a plurality of Applications, which are stored in memory define associations with web services as WebComponent
123 and subsequently provided to memory 133. In certain Bindings. In one embodiment, authoring platform 110
embodiments, the Application includes instructions R to allows a user to associate certain objects for display that
request content or web services C from content server 140. 60 provide input or output to components of web service 230.
Thus, for example and without limitation, the request is for The associated bindings are saved as a PDL in server 120.
information over the network via a web service, and the               In one embodiment, an XML web component registry 220
request R is responded to with the appropriate information for each registered web service 230 is loaded into authoring
for display on device 130. Thus, for example, a user may platform 110. The user of system 200 can then assign
request a news report. The Application may include the 65 components of any web service 230 to an Application
layout of the display, including a space for the news, which without any need to write code. In one embodiment, a
is downloaded form content server 140 for inclusion on the         component of web service 230 is selected from authoring



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platform 110 which presents the user with WYSIWYG                   As an example of dynamic binding of real-time content,
dialog boxes that enable the binding of all the inputs and an RSS feeds and other forms of dynamic content may be
outputs of component of web service 230 to a GUI compo inserted into mobile Applications, such as device 130, using
nent of the Application as will be displayed on screen 137.      system 200. Authoring platform 110 may include a “RSS
In addition, multiple components of one or more web service 5 display” list which permits a user to select RSS channels and
230 can be assigned to any Object or Event in order to feeds from an extensible list of available dynamic content.
facilitate mashups. These Object and/or Event bindings, for Meta data, such as titles, abstracts and Images can be
each instance of a component of any web service 230, are revealed immediately by the user as they traverse this RSS
stored in the PDL. The content server 140 handles all            display list, bringing the PC experience completely and
communication between device 130 and the web service 230 10 conveniently to mobile devices 130. In addition, Authoring
and can be automatically deployed as a web application platform 110 may include a dialog box that dynamically
archive to any content server.                                   links objects to data and feeds determined by RSS and chat
   Device 130, upon detecting an event in which a compo databases. Any relevant attribute for a page view and/or
nent of a web service 230 has been defined, assembles and 15 object can be dynamically bound to a value in a server-side
sends all related inputs to content server 240, which proxies database. This includes elements within complex objects
the request to web service 230 and returns the requested Such as: any icon or text element within a graphical list; any
information to device 130. The Player on device 130 then icon within a launch strip; any feature within any geographi
takes the outputs of web service 230 and binds the data to the cal view of a GIS service object; and/or any virtual room
UI components in the Application, as displayed on Screen 20 within a virtual tour.
137.                                                                As an example of third-party web services 230 that may
   In one embodiment, the mechanism for binding the out be provided using system 200, a user of authoring platform
puts of the web service to the UI components is through 110 can place, for example, Yahoo maps into device 130 by
symbolic references that matches each output to the sym binding the required component of the Yahoo Maps Web
bolic name of the UI component. The outputs, in one 25 Service, such as Yahoo Map’s Inputs and/or Outputs to
embodiment, may include meta-data which could become appropriate Objects of authoring platform 110. System 200
part of the inputs for subsequent interactions with the web also provides binding to web services for text, image and
service.                                                         Video searching by binding to components of those web
   For example, if a user of authoring platform 110 wants to services.
present an ATOM feed on device 130, they would search 30 In one embodiment, an Application for displaying on
through a list of UI Components available in the authoring device 130 includes one or more Applications Pages, each
platform, select the feed they want to use, and bind the referred to herein as an “XSP.” that provides functionality
output of the feed summary to a textbox. The bindings would that extends beyond traditional web browsers. The XSP is
be saved into the PDL on server 120 and processed by device defined as a PDL, in a similar manner as any Application,
130 at runtime. If the ATOM feed does not exist a new one 35 although it defines a single page view, and is downloaded to
can be added to the web component registry that contains all the Player dynamically as required by the PDL definition of
the configuration data required, such as the actual feed URL, the Application. Thus, for example, while JSPs and ASPs,
the web component manager URL, and what output fields are restricted to the functionality supported by the web
are available for binding.                                       browser, the functionality of XSPs can be extended through
   In another embodiment, components of web services 230 40 authoring platform 110 having access to platform dependent
are available either to the user of authoring platform 110 or routines 114, such as Java APIs. Combined with dynamic
otherwise accessible through the SDK and Java APIs of binding functionality, an XSP, a page can be saved as a page
routines 114. System 200 permits an expanding set of object in an author’s “pages' library, and then can be
components of web services 230 including, but not limited dynamically populated with real-time content simultane
to: server pages from content server 120; third-party web 45 ously as the page is downloaded to a given handset Player
services including, but not limited to: Searching (Such based on a newly expanded API. XSP Server Pages can also
through Google or Yahoo), maps (such as through MapQuest be produced programmatically, but in most cases authoring
and Yahoo), storefronts (such as through ThumbPlay), SMS         platform 110 will be a much more efficient way to generate
share (such as through clickatel), Stock quotes, social net and maintain libraries of dynamically changing XSPs.
working (such as through FaceBook), Stock quotes, weather 50 With XSPs, Applications Pages that have dynamic content
(such as through Accuweather) and/or movie trailers. Other associated with them can be sent directly to device 130,
components include web services for communication and much like how a web browser downloads an HTML page
sharing through chats and forums and rich messaging alerts, through a external reference. Without XSPs, content authors
where message alerts are set-up that in turn could have would have to define each page in the Application. With
components of Web Services 230 defined within them, 55 XSPs, no pages need to be defined. Thus, for example, in a
including the capture of consumer generated and Web Ser World Cup Application, one page could represent real-time
Vice Supplied rich media and textual content.                    scores that change continuously on demand. With polling
   System 200 also permits dynamic binding of real-time (for example, a prompt to the users asking who they predict
content, where the inputs and outputs of XML web services will win a game), a back-end database would tabulate the
are bound to GUI components provided on screen 137. Thus, 60 information and then send the results dynamically to the
for example, a user of authoring platform 110 may bind handsets. With a bar chart, the Application would use
attributes of UI Objects to a particular data base field on a dynamic PDL with scaling on the fly. For example, the
Server. When running the Application, the current value in server would recalibrate the bar chart for every ten numbers.
the referenced database will be immediately applied. During         Other combinations of components of web services 230
the Application session, any other real time changes to these 65 include, but are not limited to, simultaneous video chat
values in the referenced database will again be immediately sessions, inside an integrated page view, with a video or
displayed.                                                       television station; multiple simultaneous chat sessions, each



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with a designated individual and/or group, with each of the which in turn defines all of the virtual machine compliant
chat threads visible inside an integrated page view.             Objects, some of which could have attributes that refer to
   Another extension of an XSP is a widget object. Widgets images, audio, and/or video stored in portions 133a3, 133a4,
can be developed from numerous sources including, but not 133a5, respectively.
limited to, authoring platform 110, a Consumer Publishing           The Virtual Machine in portion 133a3 processes the
Tool, and an XML to Widget Conversion Tool where the Player output, the Operating System in portion 133a3 pro
SDK Widget Libraries are automatically populated and cesses the Virtual Machine output which results in machine
managed, or Widget Selection Lists that are available and code that is processed by the Operating System in portion
can be populated with author defined Icons.                      133a4.
Applications, Players, and Processing in a Device             10    In another embodiment, the Player is a native program
   FIG. 2B is a schematic of one embodiment of a device 130      that interacts directly with the operating system.
illustrating an embodiment of the programming generated Embodiments of a Publishing Environment
by authoring platform 110. Memory 133 may include sev               In one embodiment, authoring platform 110 includes a
eral different logical portions, such as a heap 133a, a record full-featured authoring tool 112 that provides a what-you
store 133b and a filesystem (not shown).                      15 see-is-what-you-get (WYSIWYG) full featured editor. Thus,
   As shown in FIG. 2B, heap 133a and record store 133b for example, authoring tool 112 permits a user to design an
include programming and/or content. In general, heap 133a Application by placing objects on canvas 305 and optionally
is readily accessible by processor 135 and includes, but is assigning actions to the objects and save the Application.
not limited to portions that include the following program System 100 then provides the Application and Player to a
ming: a portion 133a1 for virtual machine compliant objects device 130. The Application as it runs on device 130 has the
representing a single Page View for screen 137; a portion same look and operation as designed on authoring platform
133a2 for a Player; a portion 133a3 for a virtual machine;       110. In certain embodiments, authoring platform 110 is, for
and a portion 133.a4 for an operating system.                    example and without limitation, a PC-compatible or a
   Record store 133b (or alternatively the filesystem) Macintosh computer.
includes, but is not limited to, portions 133b1 for Applica 25 Authoring platform 110 produces an Application having
tions and non-streaming content, which may include por one or more Applications Pages, which are similar to web
tions 133a2 for images, portions 133.a4 for audio, and/or pages. That is, each Applications Page, when executed on
portions 133a5 for video, and portions 133b2 for non device 130 may, according to its contents, modify what is
Application PDLs, such as a Master Page PDL for present displayed on Screen 137 or cause programming on the
ing repeating objects, and Alerts, which are overlayed on the 30 device to change in a manner similar to how web pages are
current page view. Other content, Such as streaming content displayed and navigated through on a website.
may be provided from network interface 131 directly to the          In one embodiment, authoring tool 112 allows a user to
Media Codec of device 130 with instructions from Player on place one or more objects on canvas 305 and associate the
how to present the audio or video.                               objects with an Applications Pages. Authoring platform 110
   In one embodiment, the Player includes a Threading 35 maintains a database of object data in memory 111, includ
Model and a Virtual Memory Manager. The Threading ing but not limited to type of object, location on which page,
Model first manages a queue of actions that can be populated and object attributes. The user may add settings, events,
based on Input/Output events, Server-side events, time animations or binding to the object, from authoring tool 112,
based events, or events initiated by user interactions. The which are also maintained in memory 111. Authoring tool
Threading Model further manages the simultaneous execu 40 112 also allows a user to define more than one Applications
tion of actions occurring at the same time. The Virtual Page.
Memory Manager includes a Logical Virtual Page controller           In another embodiment, authoring tool 112, provides Java
that provides instructions from the record store to the heap, programming functions of the Java API for specific devices
one page at time. Specifically, the Virtual Memory Manager 130 as pull-down menus, dialog boxes, or buttons. This
controls the transfer of one of the Application Pages and its 45 permits a user of authoring platform 110 to position objects
virtual machine compliant objects into portion 133a1 as that, after being provided as an Application to device 130,
instructions readable by the Player or Virtual Machine. activate Such Java functions on the device.
When the Player determines that a new set of instructions is        In certain embodiments, authoring platform 110, as part of
required, the information (Such as one Application Page is system 100, permits designers to include features of
retrieve from the Record store, converted into virtual 50 advanced web and web services Applications for access by
machine compliant objects (by processor 135 and according users of device 130. Some of the features of advanced web
to operation by the Player, Virtual Machine, etc), and stored and web services include, but are not limited to: slide shows,
in heap 133a. Alternatively, the Player may augment virtual images, video, audio, animated transitions, multiple chats,
machine compliant objects with its own libraries for man and mouse interaction; full 2-D vector graphics; GIS (ad
aging user interactions, events, memory, etc.                 55 vanced LBS), including multiple raster and vector layers,
   The connection of portions 133a1, 133a2, 133a3, 133.a4,       feature sensitive interactions, location awareness, streaming
record store 133b and processor 135 are illustrative of the and embedded audio/video, Virtual tours, image processing
logical connection between the different types of program and enhancement, and widgets. In other embodiments the
ming stored in Heap 133a and record store 133b, that is, how features are provided for selection in authoring platform 110
data is processed by processor 135.                           60 through interactive object libraries.
   The Player determines which of the plurality of Applica          In certain embodiments, authoring platform 110, as part of
tion Pages in portion 133b1 is required next. This may be system 100, allows the inclusion of child objects which may
determined by input actions from the Input Device 139, or eventually be activated on device 130 by the user of the
from instructions from the current Application Page. The device or by time. The uses of the child objects on device
Player instructs processor 135 to extract the PDF from that 65 130 include, but are not limited to: mouse over (object
Applications Page and store it in portion 133a1. The Player selection), hover and fire events and launching of object
then interprets the Application Page extracted from PDL          specific, rich-media experiences.



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   In certain other embodiments, authoring platform 110, as        authoring platform 110, save an Application having the
part of system 100, provides advanced interactive event            programming instructions, and save a Player for the device.
models on device 130, including but not limited to: user-,         The intended programming is carried out on device 130
time- and/or location-initiated events, which allow content        when the device, having the appropriate device platform
developers to base interactivity on specific user interactions     Player, receives and executes the device-independent Appli
and/or instances in time and space; timelines, which are cation.
critical for timing of multiple events and for animations memory      Thus, for example, authoring tool 112 maintains, in
when entering, on, or exiting pages of the Application;                       111, a list of every type of object and any proper
                                                                   ties, actions,
waypoints, which act similar to key frames, to allow Smooth object. As objects    events, or bindings that may be assigned to that
movement of objects within pages of the Application. Way 10 tool 112 further maintains, are selected for an Application, authoring
points define positions on a page objects animation trajec objects. As the user selects objects,  in memory 111, a listing of the
tory. When an object reaches a specific waypoint other provides the user with a choice of further          publisher interface 300
                                                                                                                   defining proper
object timelines can be initiated, creating location-sensitive ties, actions, events, or bindings that may be assigned to
multiple object interaction, and/or audio can be defined to each particular object, and continues to store the information
play until the object reaches the next waypoint.                15 in memory 111.
   Authoring platform 110 may also define a Master Page,              In one embodiment, publisher interface 300 is a graphical
which acts as a template for an Applications Page, and may interface that permits the placement and association of
also define Alert Pages, which provide user alerts to a user objects in a manner typical of for example, vector graphics
of device 130.                                                     editing programs (such as Adobe Illustrator). Objects
   In certain embodiments, authoring platform 110, as part of located on canvas 305 placed and manipulated by the
system 100, provides full style inheritance on device 130. various commands within publisher interface 300 or inputs
Thus, for example and without limitation, both master page such as an input device 117 which may be a keyboard or
inheritance (for structural layout inheritance and repeating mouse. As described herein, the contents of canvas 305 may
objects) and object styles (for both look and feel attribute be saved as an Application that, through system 100, provide
inheritance) are supported. After a style has been defined for 25 the same or a similar placement of objects on screen 137 and
an object, the object will inherit the style. Style attributes have actions defined within publisher interface 300. Objects
include both the look and the feel of an object, including placed on canvas 305 are intended for interaction with user
mouse interaction, animations, and timelines. Each page of device 130 and are referred to herein, without limitation,
may include objects that may be a parent object or a child as objects or UI (user interface) objects. In addition, the user
object. A child object is one that was created by first 30 of interface 300 may assign or associate actions or web
selecting a parent object, and then creating a child object. bindings to UI objects placed on canvas 305 with result in
Child objects are always part of the same drawing layer as the programming device 130 that cause it to respond accord
its parent object, but are drawn first, and are not directly ingly.
selectable when running the Application. A parent object is           Objects include, but are not limited to input UI objects,
any object that is not a child object, and can be selected 35 response UI objects. Input UI objects include but are not
when running the Application.                                      limited to: text fields (including but not limited to alpha,
   As an example, the user of authoring tool 112 may create numeric, phone number, or SMS number); text areas; choice
various text objects on canvas 305 using a style that sets the objects (including but not limited to returning the selected
font to red, the fonts of these objects will be red. Suppose visible string or returning a numeric hidden attribute); single
user of authoring tool 112 changes the font color of a specific 40 item selection lists (including but not limited to returning the
button to green. If later, the user of authoring tool 112          selected visible string or returning a numeric hidden attri
changes the style to blue; all other text objects that were bute); multi item selection lists (including but not limited to
created with that style will become blue except for the button returning all selected items (visible text string or hidden
that had been specifically set to green.                           attribute) or cluster item selection lists (returning the hidden
   In certain other embodiments, authoring platform 110 45 attributes for all items).
provides page view, style, object, widget and Application             Other input UI objects include but are not limited to:
template libraries. Authoring platform 110 may provide check boxes; slide show (including but not limited to
templates in private libraries (available to certain users of returning a numeric hidden attribute, returning a string
the authoring platform) and public libraries (available to all hidden attribute, or returning the hidden attributes for all
users of the authoring platform). Templates may be used to 50 slides); and Submit function (which can be assigned to any
within authoring platform 110 to define the look and feel of object including Submit buttons, vectors, etc.).
the entire Application, specific pages, or specific slide shows       Response UI Objects may include, but are not limited to:
and virtual tours a seen on device 130.                            single line text objects, which include: a text Field (includ
   FIGS. 3A and 3B illustrate one embodiment of a publisher ing but not limited to a URL, audio URL, or purchase URL),
interface 300 as it appears, for example and without limi 55 a text button, a submit button, or a clear button. Another
tation, on screen 115 while executing authoring tool 112. In response UI objects include: a multiple line text object,
one embodiment, publisher interface 300 includes a Menu which may include a text area or a paragraph; a check box;
bar 301, a Toolbar 303, a Canvas 305, a Layer Inspector 307 an image; a video; a slide show (with either video or image
having Subcomponents of a page/object panel 307a, an slides, or both); choice objects; list objects; or control lists,
object style panel 307b, and a page alert panel 307c, and a 60 which control all the subordinate output UI objects for that
Resource Inspector 309.                                            web component. Control list objects include, but are not
   In general, publisher interface 300 permits a user of limited to: list type or a choice type, each of which may
authoring platform 110 to place objects on canvas 305 and include a search response list or RSS display list.
then associate properties and/or actions to the object, which         As a further example of objects that may be used with
are stored in the Application. As described Subsequently, 65 authoring tool 112, Table I lists Data Types, Preferred Input,
publisher interface 300 permits a user to program a graphical Input Candidates, Preferred Output and Output Candidates
interface for the Screen 137 of device 130 on Screen 115 of        for one embodiment of an authoring tool.



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                                    15                                                                                  16
                                                            TABLE I
                                              One embodiment of supported objects
Data Types                 Preferred Input         Input Candidates       Preferred Output       Output Candidates

boolean                    Check Box               Check Box              Check Box              Check Box
Int                        Text Field (integer) Text Field (integer) Text Field (integer)        Text Field (integer)
                                                Text Field (Phone #)                             Text Field (Phone #)
                                                Text Field (SMS #)                               Text Field (SMS #)
                                                   Choice                                        Choice
                                                   List (single select)                          List (single select)
                                                                                                 Text Button
String                     Text Field (Alpha)      Any                    Text Field (Alpha)     Any
multilineString            TextArea                TextArea               TextArea               TextArea
                                                                                                 Paragraph
ImageORL                   NA                      NA                     Image                  Image
                                                                                                 Slide Show
VideoURL                   NA                      NA                     Video                  Video
                                                                                                 Slide Show
List                       Single Item List        Single Item List       Single Item List       Any List Type
                                                   Multi-Select List                             Any Choice Type
                                                   Complex List                                  (see Complex
                                                   Choice                                        List Specification)
                                                   Slide Show
ComplexList                Complex List            Single Item List       Single Item List       Any List Type
                                                   Multi-Select List                             (see Complex List
                                                   Complex List                                  Specification)
Slideshow                  Slide Show              Slide Show             Slide Show             Slide Show
SearchResponseList         NA                      NA                     Search Response List   Search Response List
                                                                                                 Control List
                                                                                                 Complex List
                                                                                                 Choice
RSSList                    NA                      NA                     RSS Display List       RSS Display List
                                                                                                 Control List
                                                                                                 Complex List
                                                                                                 Choice
SingleSelectionList        Choice                  Choice                 Choice                 Choice
                                                   Complex List                                  Complex List
MultiSelectionList         Multi-Selection List Multi-Selection List Multi-Selection List        Multi-Selection List
Service Activation         Submit Button        Any                  NA
ChannelImageURL            NA                   NA                   Image

ChannelDescription         NA                      NA                     TextArea




ChannelTitle               NA                      NA                     Text Field




URL                                                                       Text Field             Text Field
                                                                          (URL request)          (URL request)
Audio URL                                                                 Text Field             Text Field
                                                                          (Audio URL request)    (Audio URL request)
Purchase URL                                                              Text Field             Text Field
                                                                          (Purchase URL request) (Purchase URL request)
mage Data                                                                 Image                  Image
                                                                                                 Slide Show
mage List Data                                                            Slide Show             Slide Show
                                                                                                 Image
Persistent Variable        NA                      NA                     NA                     NA
Pipeline Multiple Select   Multi-select List       Multi-select List      NA                     NA
                                                   Complex List
                                                   Slide Show
Phone Number               Text Field              Text Field             Text Field             Text Field
                           (numeric type)          Text Button            (numeric type)         Text Button
Hidden Attribute           Complex List            Complex List           Complex List           Complex List
                                                   Slide Show                                    Slide Show
Collection List            NA                      NA                     Slide Show             Complex List
                                                                                                 Slide Show




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   In general, publisher interface 300 permits a user to define style template, import a page, alert, or widget, open library
an Application as one or more Applications Pages, select UI objects including but not limited to an image, video, slide
objects from Menu bar 301 or Toolbar 303 and arrange them show, vector or list, and copying an Application to a user or
on an Applications Page by placing the objects canvas 305. to Server 120.
An Application Page is a page that is available to be visited      Edit menu 3.01b may include, but is not limited to,
through any navigation event. Application Pages inherit all     selections for select, cut, copy, paste, and edit functions.
the attributes of the Master Page, unless that attribute is        View menu 301C may include, but is not limited to,
specifically changed during an editing session.                 selections for Zooming in and out, previewing, canvas 305
   Authoring platform 110 also stores information for each grid display, and various palette display selections.
UI object on each Application Page of an Application. Layer 10 Project menu 3.01d may include, but is not limited to,
Inspector 307 provides lists of Applications Pages, UI          selections related to the Application and Player, Such as
objects on each Applications Page, and Styles, including selections that require a log in, generate a universal Player,
templates. Objects may be selected from canvas 305 or generate server pages, activate server APIs and extend
Layer Inspector 307 causing Resource Inspector 309 to Player APIs. A Universal Player will include all the code
provide lists of various UI objects attributes which may be 15 libraries for the Player, including those that are not refer
selected from within the Resource Inspector. Publisher inter enced by the current Application. Server APIs and Player
face 300 also permits a user to save their work as an APIs logically extend the Player with Server-side or device
Application for layer transfer and operation of device 130.     side Application specific logic.
Publisher interface 300 thus provides an integrated platform       Objects menu 3.01e includes selections for placing various
for designing the look and operation of device 130.             objects on canvas 305 including, but not limited to: navi
   The information stored for each UI object depends, in gation UI objects, including but not limited to widget or
part, on actions which occur as the result of a user of device channel launch strips or selection lists; message-related UI
130 selecting the UI object from the device. UI objects objects, including but not limited to multiple chat, video
include, but are not limited to: navigational objects, such as chat, phone and/or SMS lists or fields, or a pop-up alert:
widget or channel launch strips or selection lists; message 25 shapes, which provides for drawing tools; forms-related
objects for communicating, such as a multiple chat, video objects, including but not limited to text fields; Scrolling text
chat, phone and/or SMS lists or fields or a pop-up alert; text box, check box, drop-down menu, list menu, Submit button
fields or areas; checkboxes; pull down menus; selection lists or clear button; media-related UI objects such as pictures,
and buttons; pictures; slide shows: video or LBS maps:          slide shows, video or LBS maps; text-related UI objects such
shapes or text defined by a variety of tools; a search 30 as buttons or paragraphs; and variables, including but not
response; or an RSS display.                                    limited to time, date and audio mute control.
   In certain embodiments, publisher interface 300 permits a       Events menu 301f includes selections for defining child
user to assign action to UI objects, including but not limited objects, mouse events, animations or timelines.
to, programming of the device 130 or a request for infor           Pages menu 3.01g includes selection for handling multi
mation over network N. In one embodiment, for example 35 page Applications, and may include selections to set a
and without limitation, publisher interface 300 has a selec master page, delete, copy, add or go to Applications Pages.
tion to bind a UI object to a web service—that is, associate       Styles menu 3.01h includes selections to handle styles,
the UI object or a manipulation or selection of UI object with which are the underlying set of default appearance attributes
web services. Publisher interface 300 may also include or behaviors that define any object that is attached to a style.
many drawing and text input functions for generating dis 40 Styles are a convenient way for quickly creating complex
plays that may be, in Some ways, similar to drawing and/or objects, and for changing a whole collection of objects by
word processing programs, as well as toolbars and for just modifying their common style. Selections of Styles
Zooming and Scrolling of a workspace.                           menu 3.01h include, but not limited to, define, import, or
   Each UI object has some form, color, and display location modify a style, or apply a template. Help menu 3.01i includes
associate with it. Further, for example and without limita 45 access a variety of help topics.
tion, UI objects may have navigational actions (such as            Tool bar 303 provides more direct access to some of the
return to home page), communications actions (such as to features of publisher interface 300 through a series of
call the number in a phone number field), or web services pull-down menus. Selections under tool bar 303 may include
(such as to provide and/or retrieve certain information from selections to:
a web service). Each of the these actions requires authoring 50 control the look of publisher interface 300, such as a Panel
platform 110 to store the appropriate information for each            Selection to control the for hiding or viewing various
action. In addition, UI objects may have associated patent or         panels on publisher interface 300:
child objects, default settings, attributes (such as being a       control the layout being designed, such as an Insert Page
password or a phone number), whether a field is editable,             Selection to permit a user to insert and name pages;
animation of the object, all of which may be stored by 55 control the functionality of publisher interface 300, such
authoring platform 110, as appropriate.                               as a Palettes selection to choose from a variety of
   Menu bar 301 provides access features of publisher                 specialized palettes, such as a View Palette for Zooming
interface 300 through a series of pull-down menus that may            and controlling the display of canvas 305, a Command
include, but are not limited to, the following pull-down              Palette of common commands, and Color and Shape
menus: a File menu 301a, an Edit menu 3.01b, a View menu 60           Palettes;
301c, a Project menu 3.01d, an Objects menu 3.01e, an              place objects on canvas 305, which may include selec
Events menu 3.01f a Pages menu 3.01g, a Styles menu 3.01 h,          tions such as: a Navigation selection to place naviga
and a Help menu 301 i.                                               tional objects, such as widget or channel launch strips
   File menu 3.01 a provides access to files on authoring            or selection lists), a Messages selection to place objects
platform 110 and may include, for example and without 65             for communicating, such as a multiple chat, video chat,
limitation, selections to open a new Application or master           phone and/or SMS lists or fields, or a pop-up alert, a
page, open a saved Application, Application template, or             Forms selection to place objects such as text fields or



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      areas, check boxes, pull down menus, selection lists, and object styles, such as Switching between the master page
      and buttons, a Media selection to place pictures, slide and Application pages and deselecting object styles and
      shows, video or LBS maps, and a Shapes selection alerts, opening an Edit Styles Dialog Box and deselecting
      having a variety of drawing tools, a Text selection for any master, Application or alert page, or selecting an alert
      placing text, a search response, or an RSS display, and 5 page and deselecting any Master Page or Application Page.
      Palettes.                                                      A parent or child object can also be selected directly from
   In one embodiment, Tool bar 303 includes a series of the Canvas. In either case, the Resource Inspector can then
pull-down menus that may include, but are not limited to, be used for modifying any attribute of the selected object.
items from Menu bar 301 organized in the following pull                 Examples of operations provided by page/objects panel
down menus: a Panel menu 3.03a, an Insert Page menu 3.03b, 10 307a on pages include, but are not limited to: importing
a Navigation menu 3.03c, a Messages menu 303d, a Forms from either a user's private page library or a public page
menu 3.03e, a Media menu 3.03f a Shapes menu 3.03.g., a Text library; deleting a page; inserting a new page, inheriting all
menu 3.03.h, and a Palettes menu 3.01.i.                             the attributes of the Master Page, and placing the new page
   Panel menu 3.03a permits a user of authoring platform 110 at any location in the Page List; editing the currently selected
to change the appearance of interface 300 by, controlling 15 page, by working with an Edit Page Dialog Box. While
which tools are on the interface or the size of canvas 305.          editing all the functions of the Resource Inspector 309 are
Insert Page menu 303b permits a user of authoring platform available, as described Subsequently, but are not applied to
110 to open a new Application Page. Navigation menu 3.03c the actual page until completing the editing process.
displays a drop down menu of navigational-related objects               Examples of operations provided by of page/objects panel
Such as a widget or channel launch strip or selection list. 307a on objects, which may be user interface (UI) objects,
Messages menu 303d displays a drop down menu of mes include but are not limited to: changing the drawing order
saging-related objects such as multiple chat, video chat, layer to: bring to the front, send to the back, bring to the front
phone or SMS lists or fields, and pop-up alerts. Forms menu one layer, or send to the back one layer, hiding (and then
303e displays a drop down menu of forms-related objects reshowing) selected objects to show UI objects obstructed
including, but not limited to, a text field, a text area, a check 25 by other UI Objects, delete a selected UI Page Object, and
box, a drop down menu, a selection list, a Submit button, and editing the currently selected page, by working with a Edit
a clear button. Media menu 3.03f displays a drop down menu Page Dialog Box.
of media-related objects including, but not limited to, a              Object styles panel 307b of layer inspector 307 displays
picture, slide show, video or LBS map. Shapes menu 3.03g all styles on the Applications Page and permits operations to
displays a drop down menu of draw tools, basic shapes, 30 be performed on objects, and is similar to panel 307a.
different types of lines and arrows and access to a shape Examples of operations provided by object style panel 307b
library. Text menu 3.03j displays a drop down menu of include, but are not limited to: importing from either a user's
text-related objects, including but not limited to a text private object library or a public object library; inserting a
button, paragraph, search response, RSS display and vari new object style, which can be inherited from a currently
ables such as time and date.                                      35 selected object, or from a previously defined style object;
   Palettes menu 3.01i includes a selection of different pal and editing a currently selected object style by working with
ettes that can be moved about publisher interface 300, where an Edit Style Dialog Box.
each palette has specialized commands for making adjust                 Style attributes can be assigned many attributes, including
ments or associations to objects easier. Palettes include, but the look, and behavior of any object that inherits these
are not limited to: a page view palette, to permit easy 40 objects. In addition, List Layout Styles can be created or
movement between Applications Pages; a view palette, to changed as required. A layout style can define a unbounded
execute an Application or Zoom or otherwise control the set of Complex List Layouts, including but not limited to:
viewing of an Application; a commands palette having the number of lines per item in a list, the number of text and
editing commands; a color palette for selection of object image elements and their location for each line for each item
colors; and a shapes palette to facilitate drawing objects. 45 in the last, the color and font for each text element, and the
   Layer inspector 307 permits a user of publisher interface vertical and horizontal offset for each image and text ele
300 to navigate, select and manipulate UI objects on Appli           ment.
cations Pages. Thus, for example, a Page/objects panel 307a            Alerts Panel 307c provides a way of providing alert pages,
of layer inspector 307 has a listing that may be selected to which can have many of the attributes of Application Pages,
choose an Applications Pages within and Application, and 50 but they are only activated through an Event such as a user
UI objects and styles within an Applications Page. An Object interaction, a network event, a timer event, or a system
styles panel 307b of layer inspector 307 displays all styles on variable setting, and will be Superimposed onto whatever is
the Applications Page and permits selection of UI objects for currently being displayed. Alert Pages all have transparent
operations to be performed on the objects.                           backgrounds, and they function as a template overlay, and
   Thus, for example, when objects from Menu bar 301 or 55 can also have dynamic binding to real time content.
Tool bar 303 are placed on canvas 305, the name of the                  Resource inspector 309 is the primary panel for interac
object appears in Page/objects panel 307a. Page/objects tively working with UI objects that have been placed on the
panel 307a includes a page display 307a 1 and an objects Canvas 305. When a UI object is selected on Canvas 305, a
display 307a2. Page display 307a 1 includes a pull down user of authoring platform 110 may associate properties of
menu listing all Applications Pages of the Application, and 60 the selected object by entering or selecting from resource
objects display 307a2 includes a list of all objects in the inspector 309. In one embodiment, resource inspector 309
Applications Page (that is, objects on canvas 305).                  includes five tab selections: Setting Tab 309a, Events Tab
   In general, page/objects panel 307 a displays various 309b, Animation Tab 309c, Color Tab 309d which includes
associations with a UI object and permits various manipu a color palette for selecting object colors, and Bindings Tab
lations including, but not limited to, operations for parent 65 309e.
and child objects that are assigned to a page, and operations           Settings Tab 309a provides a dialog box for the basic
for object styles, and permits navigating between page types configuration of the selected object including, but not lim



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ited to, name, size, location, navigation and visual settings. Object Selected Audio Setting 309b4 of Inactive, Play Once,
Depending upon the type of object, numerous other attri Loop, and other responses are presented. When Mouse State
butes could be settable. As an example, the Setting Tab for Fire is chosen, Object Selected Audio Setting 309b4 is
a Text Field may include dialog boxes to define the text field replaced with FIRE Audi Setting, with appropriate choices
string, define the object style, set the font name, size and 5 presented.
effects, set an object name, frame style, frame width, text         When Work with Child Objects and Mouse Overs button
attributes (text field, password field, numeric field, phone 309b5 is selected, a Child Object Mode box pops up,
number, SMS number, URL request).                                allowing a user to create a child object with shortcut to Menu
   As an example of Setting Tab 309a, FIG. 3B shows bar 301 actions that may be used define child objects.
various selections including, but not limited to, setting 10 FIG. 3D illustrates one embodiment of an Animation Tab
309a 1 for the web page name, setting 309a2 for the page 309c, which includes all animations and timelines. The
size, including selections for specific devices 130, setting Color Tab includes all the possible color attributes, which
309a3 indicating the width and height of the object, and may vary significantly by object type.
setting 309a4 to select whether background audio is present         Animation Tab 309c includes settings involved in anima
and to select an audio file.                                  15 tion and timelines that may be associated with objects. One
   FIG. 3C illustrates an embodiment of the Events Tab                          embodiment of Animation Tab 309c is shown, without
309b, which includes all end user interactions and time           limitation, in FIG. 3D, and is described, in Rempell (“Rem
based operations. The embodiment of Events Tab 309b in pell”).
FIG. 3C includes, for example and without limitation, an             A Color Tab 309d includes a color palette for selecting
Events and Services 309b1, Advanced Interactive Settings object colors.
309b2, Mouse State 309b3, Object Selected Audio Setting              Bindings Tab 309e is where web component operations
309b4, and Work with Child Objects and Mouse Overs are defined and dynamic binding settings are assigned. Thus,
button 309b5.                                                     for example, a UI object is selected from canvas 305, and a
   Events and Services 309b1 lists events and services that       web component may be selected and configured from the
may be applied to the selected objects. These include, but are 25 bindings tab. When the user's work is saved, binding infor
not limited to, going to external web pages or other Appli mation is associated with the UI object that will appear on
cations pages, either as a new page or by launching a new Screen 137.
window, executing an Application or JavaScript method,               FIG. 3E illustrates one embodiment of Bindings Tab and
pausing or exiting, placing a phone call or SMS message, includes, without limitation, the following portions: Web
with or without single or multiple Player download, show 30 Component and Web Services Operations 309e1, Attributes
launch strip, or go back to previous page. Examples of Exposed list 309e2, panel 309e3 which includes dynamic
events and services include, but are not limited to those binding of server-side database values to attributes for the
listed in Table II                                                selected object, Default Attribute Value 309e4, Database
                                                                                Name 309.e5, Table Name 309.e6, Field Name 309e7, Chan
                                   TABLE II                                35   nel Name 309e8, Channel Feed 309e9, Operation 309e10,
                            Events and Services
                                                                                Select Link 309e11, and Link Set checkbox 309e12.
                                                                                 Web Component and Web Services Operations 309e1
Goto External Web Page replacing ChoiceObject: Remove Icon from               includes web components that may be added, edited or
Current Frame                         Launch Strip                            removed from a selected object. Since multiple web com
Goto External Web Page Launched Goto a specific Internal Web               40 ponents can be added to the same object, any combination
in a New Window                       Page with Alert. “Backend
                                  Synchronization                             of mash-ups of 3rd party web services is possible. When the
Goto a specific Internal Web Page Goto Widget Object                          “Add button of Web Component and Web Services Opera
Goto the next Internal Web Page   Generate
                                      Event
                                           Alert. “With a Fire                tions 309e1 is selected, a pop-up menu 319, as shown in
Goto External Web Page replacing Send SMS Message from Linked
                                                                              FIG. 3F, appears on publisher interface 300. Pop-up menu
                                                                           45 319 includes, but is not limited to, the options of: Select a
the Top Frame                         Text Field
Execute JavaScript Method             Toggle Alert. “Display OnFocus,         Web Component 319a: Select Results Page 319b: Activation
                                      Hide OffRocus'                          Options 319.c; Generate UI Objects 319d; and Share Web
Pause/Resume Page TimeOut             Execute an Application with Alert.      Component 319e.
                                      “With a Fire Event
Execute an Application                Goto Logical First Page                    The Select a Web Component 319 a portion presents a list
Goto a specific Internal Web          Generate Alert with Backend          50 of web components. As discussed herein, the web compo
Page with setting starting slide      Synchronization                         nents are registered and are obtained from web component
Exit Application                      Send SMS Message with Share             registry 220.
                                      (Player Download)
Exit Player                           Place PhoneCall from linked Text           Select Results Page 319b is used to have the input and
                                      Field with Share (Player Download)      output on different pages—that is, when the Results page is
Place PhoneCall from linked           Send IMAlert from linked Text        55 different from Input page. The default selected results page
Text Field                            Field or TextArea                       is either the current page, or, if there are both inputs and
Text Field Area: Send String          Set and Goto Starting Page              outputs, it will be set provisionally to the next page in the
on FIRE
ChoiceObject: Add Icon to             Populate Image                          current page order, if one exists.
Launch Strip                                                                     Activation Options 319.c include, if there are no Input UI
Text Field Area: Send String          Preferred Launch Strip               60 Objects, a choice to either “Preload the web component,
on FIRE or Numeric Keys                                                       similar to how dynamic binding, or have the web component
                                                                              executed when the “Results' page is viewed by the con
   Advanced Interactive Settings 309b2 include Scroll Acti SUC.
vation Enabled, Timeline Entry Suppressed, Enable Server      Generate UI Objects 319C, if selected, will automatically
Listener, Submit Form, Toggle Children on FIRE, and Hide 65 generate the UI objects. If not selected, then the author will
Non-related Children, Mouse State 309.b3 selections are     bind the Web Component Inputs and Results to previously
Selected or Fire. When Mouse State Selected is chosen,      created UI Objects.



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   Share Web Component 319e is available and will become 110 is used to design layout 410. Authoring platform 110
selected under the following conditions: 1) Web Component then generates an Application and a Player specific to device
is Selected which already has been used by the current 130 of FIG. 4B. The Application and Player are thus used by
Application; or 2) the current Input page is also a “Result        device 130 to produce layout 420 on screen 137.
page for that Web component. This permits the user of 5 As illustrated in FIG. 4A, a user has placed the following
device 130, after viewing the results, to extend the Web on canvas 305 to generate layout 410; text and background
Component allowing the user to make additional queries designs 411, a first text input box 413, a second text input
against the same Web Component. Examples of this include, box. 415, and a button 417. As an example which is not
but are not limited to, interactive panning and Zooming for meant to limit the scope of the present invention, layout 410
a Mapping Application, or additional and or refined searches 10 is screen prompts a user to enter a user name in box 413 and
for a Search Application.                                          a password in box 415, and enter the information by clicking
   Dynamic Binding permits the binding of real time data, on button 417.
that could either reside in a 3rd party server-side database,         In one embodiment, all UI objects are initially rendered as
or in the database maintained by Feed Collector 1010 for Java objects on canvas 305. When the Application is saved,
aggregating live RSS feeds, as described Subsequently with 15 the UI objects are transformed into the PDL, as described
reference to FIG. 10.                                              Subsequently.
   Referring again to FIG.3E, Attributes Exposed list 309e2           Thus, for example, layout 410 may be produced by the
are the attributes available for the selected object that can be user of authoring platform 110 selecting and placing a first
defined in real time through dynamic binding.                      Text Field as box 413 then using the Resource Inspector 309
   Panel 309e3 exposes all the fields and tables associated portion of interface 300 to define its attributes.
with registered server-side data bases. In one embodiment,         Device User Experience
the user would select an attribute from the "Attributes               Systems 100 and 200 provide the ability for a very large
Exposed List” and then select a database, table and field to number of different types of user experiences. Some of these
define the real time binding process. The final step is to are a direct result of the ability of authoring platform 110 to
define the record. If the Feed Collector database is selected, 25 bind UI objects to components of web services. The follow
for example, then the RSS "Channel Name” and the “Chan ing description is illustrative of Some of the many types of
nel Feed” drop down menus will be available for symboli experiences of using a device 130 as part of system 100 or
cally selected the record. For other data bases the RSS 2OO.
“Channel Name” and the “Channel Feed” drop down menus                 Device 130 may have a one or more of a very powerful
are replaced by a “Record ID' text field.                       30 and broad set of extensible navigation objects, as well as
   Default Attribute Value 309e4 indicates the currently object- and pointer-navigation options to make it easy to
defined value for the selected attribute. It will be overridden    provide a small mobile device screen 137 with content and
in real time based on the dynamic linkage setting.                 to navigate easily among page views, between Applications,
   Database Name 309e5 indicates which server side data            or within objects in a single page view of an Application.
base is currently selected.                                     35    Navigation objects include various types of launch strips,
   Table Name 309e6 indicates which table of the server side       various intelligent and user-friendly text fields and scrolling
database is currently selected.                                    text boxes, powerful graphical complex lists, as well as
   Field Name 309e7, indicates which field form the selected       Desktop-level business forms. In fact, every type of object
table of the server side data base is currently selected.          can be used for navigation by assigning a navigation event
   Channel Name 309e8 indicates a list of all the RSS feeds 40 to it. The authoring tool offers a list of navigation object
currently supported by the Feed Collector. This may be templates, which then can be modified in numerous ways.
replaced by “Record ID' if a database other than the Feed Launch Strips and Graphical List Templates Launch Strips
Collector 1010 is selected.                                           Launch strips may be designed by the user of authoring
   Channel Feed 309e9 indicates the particular RSS feed for platform 110 with almost no restrictions. They can be
the selected RSS Channel. Feed Collector 1010 may main 45 stationary or appear on command from any edge of the
tain multiple feeds for each RSS channel.                          device, their size, style, audio feedback, and animations can
   Operation 309e10, as a default operation, replaces the be freely defined to create highly compelling experiences.
default attribute value with the real time value. In other            FIG. 5 shows a display 500 of launch strips which may be
embodiments this operation could be append, add, Subtract, on displayed canvas 305 or on screen 137 of device 130
multiply or divide.                                             50 having the proper Player and Application. Display 501
   Select Link 309e11 a button that, when pressed, creates includes a portal-type Launch Strip 501 and a channel-type
the dynamic binding. Touching the “Select Link' will cause Launch Strip 502, either one of which may be included for
the current data base selections to begin the blink is some navigating the Application.
manner, and the “Select Link' will change to “Create Link”.           Launch Strip 501 includes UI objects 501a, 501b, 501c,
The user could still change the data base and attribute 55 501d, and 501e that that becomes visible from the left edge
choices. Touching the “Create Link' will set the “Link Set         of the display, when requested. UI objects 501a, 501b, 501c,
checkbox and the “Create Link' will be replaced by “Delete 501d, and 501e are each associated, through resource
Link' if the user wishes to subsequently remove the link.          inspector 309 with navigational instructions, including but
When the application is saved, the current active links are not limited to navigating to a different Applications Page, or
used to create the SPDL.                                        60 requesting web content. When the Applications Page, having
   Link Set checkbox 309e12 indicates that a link is cur           been saved by authoring platform 110 and transferred to
rently active.                                                     display 130, is executed on device 130, a user of the device
   An example of the design of a display is shown in FIGS.         may easily navigate the Application.
4A and 4B according the system 100, where FIG. 4A shows               Launch Strip 502 includes UI objects 502b, 502c, 502d,
publisher interface 300 having a layout 410 on canvas 305, 65 and 503e that that becomes visible from the bottom of the
and FIG. 4B shows a device 130 having the resulting layout display, when requested. UI objects 501a, 501b, 501c, 501d.
420 on screen 137. Thus, for example, authoring platform and 501e are each associated, through resource inspector



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309 with navigational instructions, including but not limited phone or one that is on the desktop but dynamically linked
to navigating to a different Applications Page, or requesting to the user's other internet connected devices.
web content. Launch Strip 502 also includes UI objects 502a          To support many personalization functions there must be
and 503g, which include the graphic of arrows, and which a convenient method for maintaining, both within a user's
provide access to additional navigation objects (not shown) session, and between sessions, memory about various user
when selected by a user of device 130. Launch strip 502 may choices and events. Both utilizing a persistent storage
also include Sound effects for each channel when being mechanism               on the device, or a database for user profiles on
                                                                  a server, may be employed.
selected, as well as popup bubble help.
   Additional navigational features are illustrated in FIG. 6A 10 onFIG.  7 shows a display 700 of a mash-up which may be
                                                                      displayed canvas 305 or on screen 137 of device 130
as a display of a Channel Selection List 601a, in FIG. 6B as having
a display of a Widget Selection List 601b, and in FIG. 6C as includestheseveral proper Player and Application. Display 700
display of a Phone List 601c. Lists 601a, 601b, and 601c bound, including anobject           701 that have been dynamically
may be displayed on canvas 305 or on screen 137 of device unread text messages 701b, an of
                                                                                        indication   time 701a, an indication of
                                                                                                   RSS news feed 701c (includ
130 having the proper Player and Application. As illustrated, 15 ing 2 “ESPN Top Stories’ 701c1       and 701 c2), components
graphical lists 601a, 601b, and 601c may contain items with 701d from two Web Services a weather report (“The
many possible text and image elements. Each element can be Weather Channel'), and a traffic report 701e (“TRAFFIC
defined at authoring time and/or populated dynamically .COM).
through one or more Web Service 250 or API. Assignable               In assembling the information of display 700, device 130
Navigation Events. All objects, and/or all elements within an is aware of the time and location of the device in this
object, can be assigned navigation events that can be example the display is for a workday when a user wakes.
extended to registered web services or APIs. For example, a Device 130 has been customized so that on a work day
Rolodex-type of navigation event can dynamically set the morning the user wishes to receive the displayed informa
starting slide of the targeted page view (or the starting view tion. Thus in the morning, any messages received overnight
of a targeted Application).                                    25 would be flagged, the user's favorite RSS sports feeds would
   In the embodiment of FIGS. 6A, 6B, and 6C, each list           be visible, today's weather forecast would be available, and
601a, 601b, and 601c has several individual entries that are      the current traffic conditions between the user's home and
each linked to specific actions. Thus Channel Selection List office would be graphically depicted. User personalization
601 a shows three objects, each dynamically linked to a web settings may be maintained as persistent storage on device
service (ESPN, SF 49ers, and Netflix) each providing a link 30 130 when appropriate, or in a user profile which is main
to purchase or obtain items from the Internet. Widget tained and updated in real-time in a server-side data base.
Selection List 601b includes several objects presenting Push Capable Systems
different widgets for selecting. Phone List 601c includes a          In another embodiment system 100 or 200 is a push
list phone number objects of names that, when selected by capable system. As an example, of Such systems, short codes
a user of device 130 cause the number to be dialed Entries 35 may be applied to cereal boxes and beverage containers, and
in Phone List 601c may be generated automatically from SMS text fields can be applied to promotional websites. In
either the user's contact list that is resident on the device, or   either case, a user of device 130 can text the short code or
though a dynamic link to any of user's chosen server-side text field to an SMS server, which then serves the appro
facilities such as Microsoft Outlook, Google Mail, etc. In priate Application link back to device 130.
one embodiment, Phone List 601c may be generated auto 40 FIG. 8 is a schematic of an embodiment of a push enabled
matically using a web component assigned to the Applica          system 800. System 800 is generally similar to system 100
tion, which would automatically perform those functions.         or 200. Device 130 is shown as part of a schematic of a push
   In another embodiment, authoring platform 110 allows a capable system 800 in FIG.8. System 800 includes a website
navigation selection of objects with a Joy Stick and/or system 801 hosting a website 801, a server 803 and a content
Cursor Keys in all 4 directions. When within a complex 45 server 805. System 801 is connected to servers 803 and/or
object the navigation system automatically adopts to the 805 through the Internet. Server 803 is generally similar to
navigation needs for that object. For coordinate sensitive server 120, servers 805 is generally similar to server 140.
objects such as geographical information services (GIS) and         In one embodiment, a user sets up a weekly SMS update
location-based services (LBS) or virtual tours a soft cursor from website system 801. System 801 provides user infor
appears. For Lists, scrolling text areas and chats, Launch 50 mation to server 803, which is an SMS server, when an
strips, and slide shows the navigation process permits intui update is ready for delivery. Server 803 provides device 130
tive selection of elements within the object. Scroll bars and with an SMS indication that the subscribed information is
elevators are optionally available for feedback. If the device available and queries the user to see if they wish to receive
has a pointing mechanism then scroll bars are active and the update. Website 801 also provides content server 805
simulate the desktop experience.                              55 with the content of the update. When a user of device 130
Personalization and Temporal Adoption                            responds to the SMS query, the response is provided to
   System 100 and 200 permit for the personalization of content server 805, which provides device 130 with updates
device 130 by a variety of means. Specifically, what is including the Subscribed content.
displayed on screen 137 may depend on either adoption or            In an alternative embodiment of system 800, server 803
customization. Adoption refers to the selection of choices, 60 broadcasts alerts to one or more devices 130, such as a
navigation options, etc. are based on user usage patterns. logical group of devices. The user is notified in real-time of
Temporal adoption permits the skins, choices, layouts, con the pending alert, and can view and interact with the
tent, widgets, etc. to be further influenced by location (for massage without interrupting the current Application.
example home, work or traveling) and time of day (includ            FIG. 9 is a schematic of an alternative embodiment of a
ing season and day of week). Customization refers to user 65 push enabled system 900. System 900 is generally similar to
selectable skins, choices, layouts, dynamic content, widgets,    system 100, 200, or 800. In system 900 a user requests
etc. that are available either through a customization on the information using an SMS code, which is delivered to device



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130. System 900 includes a promotional code 901, a third             Based Field Extraction 1019, Rule-based Field Extraction
party server 903, and content server 805. Server 803 is              1020, Channel Data Controller 1021, and Database 1022.
connected to servers 803 and/or 805 through the Internet,              The feed collector is primarily driven by two sets of
and is generally similar to server 120.                              parameters: one is the database schema (written as SQL
   A promotional code 901 is provided to a user of device            DDL) which defines the tables in the database, as well as
130, for example and without limitation, on print media,             parameters for each of the feeds to be examined. The other
such as on a cereal box. The use of device 130 sends the code        is the feed collection rules, written in XML, which can be
server 903. Server 903 then notifies server 805 to provide used to customize the information that is extracted from the
certain information to device 130. Server 805 then provides 10 feeds. Each of the feeds is collected at intervals specified by
device 130 with the requested information.                      the feed parameter set in the SQL DDL.
Device Routines                                                   Feed collector 1010 accepts information from ATOM,
   Device routines 114 may include, but are not limited to:     RDF or RSS feed sources 1001. Using a rules-based popu
an authoring tool SDK for custom code development includ lator, any of these feeds can be logically parsed, with any
ing full set of Java APIs to make it easy to add extensions 15 type of data extraction methodology, either by using Sup
and functionality to mobile Applications and tie Applica plied rules, or by the author defining their own custom
tions to back-end databases through the content server 140; extraction rule. The rules are used by the parser to parse
an expanding set of web services 250 available through the from the feed sources, and the custom rule base field
authoring tool SDK; a web services interface to SOAP/XML extraction replaces the default rules and assembles the
enabled web services; and an RSS/Atom and RDF feed              parsed information into the database
collector 1010 and content gateway 1130.                          In particular, Atom Populator Rule 1012, RSS Populator
Authoring Tool SDK for Custom Code Development Includ Rule 1013, RDF Populator Rule 1014, Custom Populator
ing Full Set of Java APIs                                       Rule 1016, and DOM XML Parsers 1011, 1015, and 1017
   In one embodiment, authoring platform 110 SDK is are parse information from the feeds 1001, and Feed Pro
compatible for working with various integrated develop 25 cessed Data Writer 1018, Custom Rule Based Field Extrac
ment environments (IDE) and popular plug ins such as tion 1019, Rule-based Field Extraction 1020, and Channel
J2ME Polish. In one embodiment the SDK would be another         Data Controller 1021, supply the content of the feeds in
plug in to these IDEs. A large and powerful set of APIs and Database 1022, which is accessible through content server
interfaces are thus available through the SDK to permit the 140.
seamless extension of any Application to back end business 30 FIG. 11 is a schematic of an embodiment of a system 1100
logic, web services, etc. These interfaces and APIs may also having a Mobile Content Gateway 1130. System 1100 is
support listeners and player-side object operations.            generally similar to system 100, 200, 800, 900, or 1000.
   There is a large set of listeners that expose both player System 1100 includes an SDK 1131, feed collector 1010,
side events and dynamically linked server side data base database listener 1133, transaction server 1134, custom code
events. Some examples of player side events are: player-side 35 1135 generated from the SDK, Java APIs, Web Services
time based event, a page entry event, player-side user 1137, and PDL snippets compacted objects 1139. System
interactions and player-side object status. Examples of 1100 accepts input from Back End Java Code Developer
server-side data base events are when a particular set of 1120 and SOAP XML from Web Services 1110, and pro
linked data base field values change, or some filed value vides dynamic content to server 140 and Players to devices
exceeds a certain limit, etc.                                   40   130.
   A superset of all authoring tool functionality is available       In one embodiment authoring platform 110 produces a
through APIs for layer-side object operations. These include,      Server-side PDL (SPDL) at authoring time. The SPDL
but are not limited to: page view level APIs for inserting, resides in server 120 and provides a logical link between the
replacing, and or modifying any page object; Object Level Application’s UI attributes and dynamic content in database
APIs for modifying any attribute of existing objects, adding 45 1022. When a user of device 130 requests dynamic infor
definitions to attributes, and adding, hiding or replacing any mation, server 120 uses the SPDL to determine the link
object.                                                            required to access the requested content.
Authoring Tool SDK Available Web Services                            In another embodiment Web Services 1137 interface
   The APIs permit, without limit, respond, with or without directly with 3rd party Web Services 1110, using SOAP.
relying on back-end business logic, that is, logic that what an 50 REST JAVA, JavaScript, or any other interface for dynami
enterprise has developed for their business, to any player cally updating the attributes of the Application’s UI objects.
side event or server-side dynamically linked data-base, XSP Web Pages as a Web Service
incorporating any open 3rd party web service(s) into the             In one embodiment, a PDL for a page is embedded within
response.                                                          an HTML shell, forming one XSP page. The process of
RSS/Atom and RDF Feed Conversion Web Service                    55 forming XSP includes compressing the description of the
   FIG. 10 is a schematic of one embodiment a system 1000 page and then embedding the page within an HTML shell.
having a feed collector 1010. System 1000 is generally               In another embodiment, a PDL, which contains many
similar to system 100, 200, 800, or 900. Feed collector 1010 individual page definitions, is split into separate library
is a server side component of system 100 that collects RSS, objects on the server, so that each page can to presented as
ATOM and RDF format feeds from various sources 1001 60 a PDL as part of a Web Service.
and aggregates them into a database 1022 for use by the              Prior to compression the code has already been trans
Applications built using authoring platform 110.                   formed so that there are no dependencies on the original
   Feed collector 1010 is a standard XML DOM data extrac           programming language (Java), and The code and data have
tion process, and includes Atom Populator Rule 1012, RSS been reduced by 4 to 10 times.
Populator Rule 1013, RDF Populator Rule 1014, and Cus 65 Compression has two distinct phases. The first takes
tom Populator Rule 1016, DOM XML Parsers 1011, 1015,               advantage of how the primitive representations had been
and 1017, Feed Processed Data Writer 1018, Custom Rule             assembled, while the second utilizes standard LZ encoding.



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  The final result is an overall reduction of 40 to 100 times     process), and concludes with the actual uploading of all the
the original size as represented by Java serialized objects.      necessary web site run time files to the user's server.
   One embodiment for compacting data that may be used is           In one embodiment, the PDL includes a first record, a
described in Rempell. In that patent the compressed data is “Header record, which contains can include the following
described as being a database. The terminology used here is information:
a PDL, that is the “internal database' of Rempell is equiva         1: A file format version number, used for upgrading
lent to the PDL of the present Application.                             database in future releases.
   In Rempell, a process for compacting a “database' (that          2: The default screen resolution, in virtual pixels, for both
is, generating a compact PDL) is described, wherein data                the screen width and height. This is usually set to the
objects, including but not limited to, multi media objects 10           web designer's screen resolution, unless overwritten by
Such as colors, fonts, images, Sound clips, URLs, threads,              the user.
and video, including multi level animation, transformation,         3 : Whether the Application is a web site.
and time line are compacted. As an extension to Rempell in          4: Virtual web page size settings. A calculation is per
all cases these objects are reduced and transformed to                  formed by the build engine method, in order to calcu
Boolean, integer and string arrays.                           15        late what the maximum web page length is, after
   The compression technique involves storing data in the               reformatting all paragraphs on all internal web pages,
Smallest arrays necessary to compactly store web page                   based on the default screen resolution.
information. The technique also includes an advanced form           5: Web page and styles high watermarks.
of delta compression that reduces integers so that they can         6: The Websitename.
be stored in a single byte, a as high water marks.                  As new web pages or new objects are created by the user,
   Thus, for example, the high water mark for different types or as text is added to or deleted from a paragraph, or as new
of data comprising specific web site settings are stored in a styles are created or deleted, appropriate high watermarks
header record as Boolean and integer variables and URL and are set, in order to show the current number of each of these
color objects. Data that defines web page, paragraph, text entities. Thus, the values for the number of active web pages
button, and image style and text button, image and para 25 and the number of text button, image, paragraph or other
graph high watermark settings can be stored in one-dimen styles are written as high watermarks in the header. The high
sional arrays as Boolean, integer and string variables and watermarks for the number of text button, image, paragraph
URL, font, image or thread objects at. The URL, color, font, or other objects that exist for each web page, the number of
image and thread objects can also be created as required         lines for each paragraph object, and the number of line
   Data that defines text button, image, paragraph, or other 30 segments for each paragraph line are written within the body
parent objects and paragraph line high watermark settings of the PDL, and used as settings for each of the loops in the
can be stored in two-dimensional arrays (by web page and four-dimensional data structure. Because no structural limits
by object number) as Boolean, integer, string, floating point are set on the number of web pages, objects per web page,
variables and URLs. Again, the URL, color, font, image,          styles, or paragraph size, these high watermarks greatly
audio clip, video clip, text area and thread objects can also 35 reduce the external database file size, and the time it takes
be created as required. Data that defines a paragraph line and for the run time engine to process the data stored in its
paragraph line segment high watermarks can be stored in database.
three-dimensional arrays (by web page, by paragraph num             The settings for all paragraph, text button and image
ber, and by line number) as Boolean, integer or string styles are then written as a style record based on their high
variables. Again, the URL, color or font objects can be 40 watermark. This data includes Boolean and integer vari
created as required. Data that defines a paragraph line ables, and font and color objects, written as a one-dimen
segment can be stored into four-dimensional arrays (by web       sional array, based on the high watermark values for the
page, by paragraph number, by line number and by line number of styles that exist.
number segment) as Boolean, integer or string variables or          The body of the PDL is then written. All Boolean values
URL, color and font objects.                                  45 are written inside a four-dimensional loop. The outside loop
   As a data field is added, changed or deleted, a determi contains the Boolean values used to define web pages (i.e. a
nation is made at on whether a value for a given high one-dimensional array definition) as well as the high water
watermark needs to be changed. If so, it is updated. As a marks for the number of text button, image, paragraph or
specific method in the build engine is called, a determination other objects per web page, with the loop set at the high
is made on whether a feature flag needs to be set. For 50 watermark which defines the number of existing web pages
example, if a particular JAVA method is called, which for this web site structure. The second level consists of three
requires an instance of a certain JAVA Class to be executed or more two dimensional loops with the loops set to the high
by the run time engine, then that JAVA Class is flagged, as watermarks defining the actual number of text button,
well as any Supporting methods, variables and/or object image, and paragraph or other objects that appear on any
definitions.                                                  55 given web page and contains the values used to define web
   In one implementation, the header record, the style record, page objects (i.e. a two-dimensional array definition; web
the web page record, and the object records, are carefully page number by object number). Included within the loop
defined in a specific order, written in that order, and explic for paragraph objects are the high watermarks for the
itly cast by object type when read by the run time engine. number of lines for each paragraph object. The third loop is
Exception handling can be implemented to recover from any 60 set by the high watermark defining the actual number of
errors. This helps assure that data integrity is maintained paragraph lines that for all paragraphs on any web page and
throughout the build and run time processes.                     contains the values used to define paragraph lines (i.e. a
   Also described in Rempell is the “run generation pro three-dimensional array definition; web page number by
cess.” This is equivalent generating a Player in the present object number by paragraph line.) Included within the loop
application. This process starts when the build process 65 for paragraph lines are the high watermarks for the number
detects that the user is finished defining the web site (user of line segments for each paragraph line. The inner most
has saved the web site and invokes the run generation loop is set by the high watermarks defining the number of



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line segments per paragraph line and contains the values ing dynamic web page and object resizing, virtual screen
used to define paragraph line segments (i.e. a four-dimen resolution settings are placed in an appropriate HTML
sional array definition; web page number by object number compliant string. If the Application is a banner or other
by paragraph line by paragraph line segment).                    customized Application, the absolute values for the run time
   All integer values are written inside a four-dimensional object (applet size) height and width are placed in an
loop. Their four loops are controlled by the same high appropriate HTML compliant string as absolute width and
watermark settings as used for the Boolean records, and they height values.
describe the same logical entities.                                An analysis is made for the background definition for the
   Multimedia objects are written inside a two-dimensional first internal web page. If a background pattern is defined, an
loop. They include URL, color, and font objects, and can 10 appropriate HTML compliant string for setting the HTML
include other types of objects. A URL object is the encoded “background to the same background image is generated. If
form of a URL Address, used by a web browser or a JAVA the first web page definition is a color instead, then the RGB
method to access files and web addresses. All multimedia         values from those colors are converted to hexadecimal and
objects must be serialized before they can be written. This an appropriate HTML compliant String is generated setting
means that the objects are converted into a common external 15 the “bgcolor” to the required hexadecimal value. This pro
definition format that can be understood by the appropriate cess synchronizes the web page background with the back
deserialization technique when they are read back in and ground that will be drawn by the web browser when it first
cast into their original object structure. The outside loop interprets the HSF.
contains web page related objects, and the inner loop con          Thereafter, a JAVA method generates HTML and
tains image, text button, paragraph, etc. related URL, color, JavaScript compliant strings, that when executed by a web
and font objects. The outer loop is defined by the web page browser, generate additional sets of HTML and JavaScript
high watermark and the inner loops by the high watermarks compliant strings that are again executed by the web
for the actual number of text button, image, paragraph or browser. More specifically, if the Application required
other objects on a web page.                                     dynamic web page and object resizing then JavaScript and
   String records are written inside a four-dimensional loop. 25 HTML compliant Strings are generated so that, when inter
The outer loop may be empty. The second loop can include preted by the web browser at the time the HTML Shell File
the string values for text button objects, audio and video is initialized, the screen resolution sensing JAVA applet
filenames, and audio and video channel names. The third          (SRS) will be executed. JavaScript code is generated in
loop contains values for paragraph line related data, and the order to enable JavaScript to SRS applet communication. In
innermost loop contains the values for paragraph line seg 30 one implementation, the code is generated by performing the
ment definitions. The string records are controlled by the following functions:
same high watermarks as those used for Boolean and integer          1: Determine the current web browser type.
records. String records are stored utilizing an appropriate        2: Load the SRS from either a JAR or CAB File, based on
field delimiter technology. In one implementation, a UTF               web browser type.
encoding technology that is Supported by JAVA is utilized. 35 3: Enter a timing loop, interrogating when the SRS is
   Single and double floating-point, and long integer records          loaded.
are written inside a two-dimensional loop. The outer loop          4: When the SRS returns an “available' status, interrogate
may be empty. The inner loop contains mathematical values              the SRS, which will return the current screen and
required for certain animations and image processing algo              windows actual height and width.
rithms. The single and double floating-point, and long 40 5: Convert the virtual screen resolution settings into
integer records are controlled by the same high watermarks             appropriate absolute screen width and height values.
as those used for Boolean and integer records.                     Strings defining additional JavaScript code are generated
   In one embodiment, a versionizing program analyzes the that perform the following steps at the time the HSF is
feature flags, and only those variable definitions, defined in initialized by the web browser:
the “Main” object class, relating to the object classes and 45 1: Generate HTML compliant strings that set the run time
methods that will be executed at run time, are extracted. All          engine's applet size to the appropriate values.
references to object classes that will be called at run time are   2: Generate an HTML complaint string that contains a
extracted, creating the Source code for the run engine                 "param' definition for linking the run time engine to
“Main” object class that is ready for compilation.                     the PDL.
   All external image, video and audio files are resolved. The 50 3: Generate an HTML complaint string, dependent upon
external references can be copied to designated directories,           the type of web browser, which causes the current web
either on the user's local disk or file server. The file               browser to load either the JAR or the CAB File(s).
Pathnames can be changed to reflect these new locations.           4: Generate JavaScript Code compliant strings that create
During the installation of the build tools, the necessary class        and dynamically write the applet size defining HTML
libraries are either installed on the local system or made 55          strings utilizing the JavaScript “document.write func
available on the server where the build tools can be option            tion. This dynamically created code causes the web
ally located. The necessary environmental variables are set            browser to execute the run time engine, in the correctly
to permit normal access to the required class libraries.               sized window, from the correct JAR or CAB file, and
   The customized run engine and a library of the referenced           linked to the external database.
run time classes are compiled and converted into byte code. 60 The writing out the above-generated HTML and
Finally, the run time engine for the web site is created. The JavaScript compliant strings creates the HSF. The necessary
required set of class objects required at run time is flagged security policy permissions are asserted, and a “Website
for inclusion into the CAB/JAR file.                              name'.html file is created.
   Next, an HTML Shell File (HSF) is constructed. The first       In one embodiment, the processes for creating the CAB
step of this process is to determine whether the dynamic web 65 and JAR Files is as follows. The image objects, if any, which
page and object resizing is desired by testing the Application were defined on the first internal web page are analyzed. If
setting. If the Application was a web page, and thus requir they are set to draw immediately upon the loading of the first



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web page, then they are flagged for compression and inclu       In one embodiment, the Response Director operates on a
sion in the CAB and JAR Files. The feature flags are network connected computer to provide the correct Player to
analyzed to determine which JAVA classes have been com a given device based on the information the device sent to
piled. These class files are flagged for compression and it. As an example, this may occur when a device user enters
inclusion in the library CAB and JAR Files. Strings that are their phone number into some call-to-action web page. The
BAT compliant definitions are created that will, when response director is called and sends an SMS message to the
executed in DOS, create compressed CAB and JAR Files. device, which responds, beginning the recognition process.
These CAB and JAR Files contain the compressed versions         FIG. 12 illustrates one embodiment of a system 1200 that
of all necessary JAVA class files, image files, the “Website includes a response director 210, a user agent database 1201,
name.class, customized run time engine file, and the “Web 10 an IP address database 1203, and a file database 1205.
sitename'.dta database file. In one implementation of the System 1200 is generally similar to system 100, 200, 800,
invention, two BAT files are created. The first, when             900, 1000, or 1100.
executed, will create a CAB/JAR file with the “Website            Databases 1201, 1203, and 1205 may reside on server
name'.dta database file and the customized “main run time       120, 210, or any computer system in communication with
engine, excluding all the image and button object animation, 15 response director 210. System 1200, any mobile device can
transformation, and image processing code. The second be serviced, and the most appropriate Application for the
BAT file, when executed, will create a CAB/JAR file with all      device will be delivered to the device, based on the char
the library of all the referenced image and button object         acteristics of the device.
animation, transformation, and image processing code.               User agent database 1201 includes user agent information
  The necessary security policy permissions for file creation    regarding individual devices 130 that are used to identify the
are then asserted, and “Websitename'.bat and “Website            operating system on the device. IP address database 1203
namelib'.bat files are written. The “Websitename'.bat and        identifies the carrier/operator of each device 130. File data
“Websitename.bat files are then executed under DOS,              base 1205 includes data files that may operate on each
creating compressed “Websitename'.cab and “Website device 130.
namelib'.cab files and compressed “Websitename'' jar and 25 The following is an illustrative example of the operation
“Websitenamelib' jar files. The HTML Shell File and the of response director 210. First, a device 1300 generates an
JAR and CAB files are then, either as an automatic process,       SMS message, which automatically sends an http://stream
or manually, uploaded to the users web site. This completes that includes handset information and its phone number to
the production of an XSP page that may be accessed through response director 210. Response director 210 then looks at
a web browser.                                                 30 a field in the http header (which includes the user agent and
Displaying Content on a Device                                    IP address) that identifies the web browser (i.e., the “User
Decompression Management                                          Agent”). The User Agent prompts a database lookup in user
   Authoring platform 110 uses compaction to transform the agent database 1201 which returns data including, but not
code and data in an intelligent way while preserving all of limited to, make, model, attributes, MIDP 1.0 MIDP 2.0,
the original classes, methods and attributes. This requires 35 WAP and distinguishes the same models from different
both an intelligent server engine and client (handset) Player, countries. A lookup of the IP address in IP address 1203
both of which fully understand what the data means and how identifies the carrier/operator.
it will be used.                                                     File database 1205 contains data types, which may
   The compaction technology described above includes include as jadl, jad2, html, Wm.1/wap2, or other data types,
transformation algorithms that deconstruct the logic and data 40 appropriate for each device 130. A list of available Appli
into their most primitive representations, and then reas cations are returned to a decision tree, which then returns, to
sembles them in a way that can be optimally digested by device 130, the Application that is appropriate for the
further compression processing. This reassembled set of respective device. For each file type, there is an attributes list
primitive representations defines the PDL of authoring plat (e.g., streaming video, embedded video, streaming audio,
form 110.                                                      45 etc.) to provide enough information to determine what to
   Prior to compression the code has already been trans send to the handset.
formed so that there are no dependencies on the original             Response director 210 generates or updates an html or jad
programming language (Java). The data is then compressed file populating this text file with the necessary device and
by first taking advantage of how the primitive representa network dependent parameters, including the Application
tions had been assembled, and then by utilizing standard LZ 50 dependent parameters, and then generate, for example, a
encoding. The final result is an overall reduction of 40 to 100 CAB or JAD file which contains the necessary Player for
times the original size as represented by Java serialized that device. For example, the jad file could contain the
objects.                                                          operator or device type or extended device-specific func
   The Player, when preparing a page view for execution, tions that the player would then become aware of
decompresses and then regenerate the original objects, but 55 If there is an Application that has a data type that device
this time in compliance with the programming APIs of 130 cannot support, for example, video, response director
device 130. Specifically, device 130 operates on compacted 210 sends an alternative Application to the handset, for
image pages, one at a time. The cache manager retrieves, example one that has a slide show instead. If the device
decompresses, and reassembles the compacted page images cannot Support a slide show, an Application might have text
into device objects, which are then interpreted by device 130 60 and images and display a message that indicates it does not
for display on screen 137.                                        Support video.
Response Director                                                    Another powerful feature of response director 210 is its
   In one embodiment, system 100 includes a Response exposed API from the decision tree that permits the over
Director, which determines a user's handset, fetches the          riding of the default output of the decision tree by solution
correct Application from different databases, and delivers a 65 providers. These solution providers are often licensees who
respective highly compressed Application in a PDL format want to further refine the fulfillment of Applications and
over the air (OTA).                                               Players to specific devices beyond what the default algo



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rithms provide. Solution providers may be given a choice of scanned to determine if there is content that is likely to be
Applications and then can decide to use the defaults or force required in as-yet untouched page views. Anticipatory
other Applications.                                            streaming also looks for mapping Applications, where the
   Authoring platform 110 automatically scales Applications user may Zoom or pan next so that map content is retrieved
at publishing time to various form factors to reduce the prior to the user requesting it. For mapping applications,
amount of fragmentation among devices, and the Response anticipatory streaming downloads a map whose size is
Director serves the appropriately scaled version to the greater than the map portal size on the device and centered
device. For example, a QVGA Application will automati within the portal. Any pan operation will anticipatory stream
cally scale to the QCIF form factor. This is important a section of the map to extend the view in the direction of
because one of the most visible forms of fragmentation 10 the pan while, as a lower priority, bring down the next and
resides in the various form factors of wireless, and particu prior Zoom levels for this new geography. Zooming will
larly mobile, devices, which range from 128x128, 176x208, always anticipatory stream the next Zoom level up and
240x260, 220x220, and many other customized sizes in down.
between.                                                          Multi-level caching determines the handset's heap
   FIG. 13 is a schematic of an embodiment of a system 15 through an API, and also looks at the record store to see how
1300. System 1300 is generally similar to system 1200. much memory is resident. This content is placed in record
System 1300 is an overview of the entire Player fulfillment store and/or the file system, and may, if there is available
process, starting with the generation of players during the heap, also place the content there as well. Multi-level
player build process.                                          caching permits the management of memory Such that
   System 1300 includes response director 210, a device mobile systems best use limited memory resources. Multi
characteristics operator and local database 1301, a player level caching is a memory management system with results
profile database 1303 and a player build process 1305, which similar to embedding, without the overhead of instantiating
may be authoring platform 110.                                 the content. In other words, with multi-level caching, hand
   As an example of system 1300, when response director set users get an “embedded performance without the
210 receives an SMS message from device 130, the response 25 embedded download. Note that when content is flagged as
director identifies the device characteristics operator and cacheable and is placed in persistent storage, a digital rights
locale from database 1301 and a Player URL from database management (DRM) solution will be used.
1303 and provides the appropriate Player to the device.           One embodiment of each of the methods described herein
   In another embodiment, Player P extend the power of is in the form of a computer program that executes on a
response director 210 by adapting the Application to the 30 processing system. Thus, as will be appreciated by those
resources and limitations of any particular device. Some of skilled in the art, embodiments of the present invention may
these areas of adaptation include the speed of the devices be embodied as a method, an apparatus such as a special
microprocessor, the presence of device resources such as purpose apparatus, an apparatus Such as a data processing
cameras and touch screens. Another area of adaptation is System, or a carrier medium, e.g., a computer program
directed to heap, record store and file system memory 35 product. The carrier medium carries one or more computer
constraints. In one embodiment, the Player will automati readable code segments for controlling a processing system
cally throttle down an animation to the frame rate that the to implement a method. Accordingly, aspects of the present
device can handle so that the best possible user experience invention may take the form of a method, an entirely
is preserved. Other extensions include device specific facili hardware embodiment, an entirely software embodiment or
ties such as location awareness, advanced touch screen 40 an embodiment combining Software and hardware aspects.
interactions, push extensions, access to advanced phone Furthermore, the present invention may take the form of
facilities, and many others                                    carrier medium (e.g., a computer program product on a
Memory Management                                              computer-readable storage medium) carrying computer
   In one embodiment, Player P includes a logical page readable program code segments embodied in the medium.
virtual memory manager. This architecture requires no Sup 45 Any suitable computer readable medium may be used
porting hardware and works efficiently with constrained including a magnetic storage device Such as a diskette or a
devices. All page view images, which could span multiple hard disk, or an optical storage device such as a CD-ROM.
Applications, are placed in a table as highly compacted and       It will be understood that the steps of methods discussed
compressed code. A typical page view will range from 500 are performed in one embodiment by an appropriate pro
bytes up to about 1,500 bytes. (See, for example, the 50 cessor (or processors) of a processing (i.e., computer) sys
Rempell patent) When rolled into the heap and instantiated tem executing instructions (code segments) stored in Stor
this code increases to the more typical 50,000 up to 250,000 age. It will also be understood that the invention is not
bytes. Additional alert pages may also be rolled into the heap limited to any particular implementation or programming
and Superimposed on the current page view. Any changes to technique and that the invention may be implemented using
any page currently downloaded are placed in a highly 55 any appropriate techniques for implementing the function
compact change vector for each page, and rolled out when ality described herein. The invention is not limited to any
the page is discarded. Note that whenever an Application is particular programming language or operating System. It
visited that had previously been placed in virtual memory should thus be appreciated that although the coding for
the Server is interrogated to see if a more current version is programming devices has not be discussed in detail, the
available, and, if so, downloads it. This means that Appli 60 invention is not limited to a specific coding method. Fur
cation logic can be changed in real-time and the results thermore, the invention is not limited to any one type of
immediately available to mobile devices.                       network architecture and method of encapsulation, and thus
   To operate efficiently with the bandwidth constraints of may be utilized in conjunction with one or a combination of
mobile devices, authoring platform 110 may also utilize other network architectures/protocols.
anticipatory streaming and multi-level caching. Anticipatory 65 Reference throughout this specification to “one embodi
streaming includes multiple asynchronous threads and IO        ment,” “an embodiment,” or “certain embodiments' means
request queues. In this process, the current Application is that a particular feature, structure or characteristic described



                                                      Appx422
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in connection with the embodiment is included in at least                     and an output of the web service, where each
one embodiment of the present invention. Thus, appearances                    defined UI object is either: 1) selected by a user of
of the phrases “in one embodiment,” “in an embodiment,” or                   the authoring tool; or 2) automatically selected by
“in certain embodiments' in various places throughout this                   the system as the preferred UI object correspond
specification are not necessarily all referring to the same 5                 ing to the symbolic name of the web component
embodiment. Furthermore, the particular features, structures                  selected by the user of the authoring tool,
or characteristics may be combined in any suitable manner,                 access said computer memory to select the symbolic
as would be apparent to one of ordinary skill in the art from                 name corresponding to the web component of the
this disclosure, in one or more embodiments.                                  defined UI object,
   Throughout this specification, the term "comprising shall 10            associate the selected symbolic name with the
be synonymous with “including.” “containing,” or "charac                      defined UI object, where the selected symbolic
terized by, is inclusive or open-ended and does not exclude                   name is only available to UI objects that support
additional, unrecited elements or method steps. “Compris
ing is a term of art which means that the named elements                     the defined data format associated with that sym
are essential, but other elements may be added and still form 15             bolic name, and
a construct within the scope of the statement. "Comprising                 produce an Application including the selected Sym
leaves open for the inclusion of unspecified ingredients even                 bolic name of the defined UI object, where said
in major amounts.                                                             Application is a device-independent code; and
   Similarly, it should be appreciated that in the above                   a Player, where said Player is a device-dependent
description of exemplary embodiments, various features of                     code, wherein, when the Application and Player
the invention are sometimes grouped together in a single                      are provided to the device and executed on the
embodiment, figure, or description thereof for the purpose of                 device, and when the user of the device provides
streamlining the disclosure and aiding in the understanding                   one or more input values associated with an input
of one or more of the various inventive aspects. This method                  symbolic name to an input of the defined UI
of disclosure, however, is not to be interpreted as reflecting 25             object,
an intention that the claimed invention requires more fea                  1) the device provides the user provided one or more
tures than are expressly recited in each claim. Rather, as the                input values and corresponding input symbolic
following claims reflect, inventive aspects lie in less than all              name to the web service,
features of a single foregoing disclosed embodiment, and the               2) the web service utilizes the input symbolic name
invention may include any of the different combinations 30                    and the user provided one or more input values for
embodied herein. Thus, the following claims are hereby                        generating one or more output values having an
expressly incorporated into this Mode(s) for Carrying Out                     associated output symbolic name,
the Invention, with each claim standing on its own as a                    3) said Player receives the output symbolic name and
separate embodiment of this invention.                                        corresponding one or more output values and
   Thus, while there has been described what is believed to 35
be the preferred embodiments of the invention, those skilled                  provides instructions for the display of the device
in the art will recognize that other and further modifications                to present an output value in the defined UI object.
may be made thereto without departing from the spirit of the         2. The system of claim 1, where said registry includes
invention, and it is intended to claim all such changes and definitions of input and output related to said web service.
modifications as fall within the scope of the invention. For 40 3. The system of claim 1, where said web component is
example, any formulas given above are merely representa a text chat, a video chat, an image, a slideshow, a video, or
tive of procedures that may be used. Functionality may be an RSS feed.
added or deleted from the block diagrams and operations              4. The system of claim 1, where said UI object is an input
may be interchanged among functional blocks. Steps may be field for a chat.
added or deleted to methods described within the scope of 45 5. The system of claim 1, where said UI object is an input
the present invention.                                            field for a web service.
   We claim:                                                         6. The system of claim 1, where said UI object is an input
   1. A system for generating code to provide content on a field usable to obtain said web component, where said input
display of a device, said system comprising:                      field includes a text field, a scrolling text box, a check box,
   computer memory storing a registry of                       50 a drop down-menu, a list menu, or a Submit button.
      a) symbolic names required for evoking one or more             7. The system of claim 1, where said web component is
        web components each related to a set of inputs and an output of a web service, is the text provided by one or
         outputs of a web service obtainable over a network, more simultaneous chat sessions, is the video of a video chat
        where the symbolic names are character strings that session, is a video, an image, a slideshow, an RSS display,
         do not contain either a persistent address or pointer 55 or an advertisement.
        to an output value accessible to the web service,            8. The system of claim 1, where said authoring tool is
        where each symbolic name has an associated data further configured to:
         format class type corresponding to a subclass of User       define a phone field or list; and
         Interface (UI) objects that support the data format         generate code that, when executed on the device, allows
        type of the symbolic name, and has a preferred UI 60            a user to Supply a phone number to said phone field or
         object, and                                                    list.
      b) an address of the web service;                              9. The system of claim 1, where said authoring tool is
   an authoring tool configured to:                               further configured to:
      define a (UI) object for presentation on the display,          define a SMS field or list; and
        where said defined UI object corresponds to a web 65 generate code that, when executed on the device, allows
            component included in said registry selected from           a user to supply an SMS address to said SMS field or
            a group consisting of an input of the web service           list.




                                                         Appx423
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  10. The system of claim 1,                                     1) the device provides the user provided one or more input
  where said code includes three or more codes, where one           values and corresponding input symbolic name to the
    of said three or more codes is device specific, and             web service,
     where two of said three or more codes is device            2) the web service utilizes the input symbolic name and
     independent.                                                   the user provided one or more input values for gener
  11. The system of claim 1, where said code is provided            ating one or more output values having an associated
over said network.                                                  output symbolic name,
  12. The system of claim 1, wherein said defined UI object     3)   said Player receives the output symbolic name and
corresponds to a widget.                                            corresponding one or more output values and provides
  13. The system of claim 1, where said Player is activated 10      instructions for the display of the device to present an
and runs in a web browser.                                          output value in the defined UI object.
                                                                16. The method of claim 15, where said registry includes
  14. The system of claim 1, where said Player is a native definitions
program.                                                                   of input and output related to said web service.
  15. A method of displaying content on a display of a 15 is a17.textThechat,
                                                                           method of claim 15, where said web component
                                                                              a video chat, an image, a slideshow, a video,
device having a Player, where said Player is a device or an RSS feed.
dependent code, said method comprising:
                                                                18. The method of claim 15, where said UI object is an
  defining a user interface (UI) object for presentation on input
     the display, where said UI object corresponds to a web          field for a chat.
     component included in a registry of one or more web input  19. The method of claim 15, where said UI object is an
     components selected from a group consisting of an               field for a web service.
                                                                20. The method of claim 15, where said UI object is an
     input of a web service and an output of the web service, input
     where each web component includes a plurality of input field          usable to obtain said web component, where said
                                                                     field includes a text field, a scrolling text box, a check
     Symbolic names of inputs and outputs associated with
     each web service, and where the registry includes: a) 25 box,  a drop down-menu, a list menu, or a submit button.
                                                                21. The method of claim 15, where said web component
     Symbolic names required for evoking one or more web
     components each related to a set of inputs and outputs is an output of a web service, is the text provided by one or
                                                                  more simultaneous chat sessions, is the video of a video chat
     of the web service obtainable over a network, where the      session, is a video, an image, a slideshow, an RSS display,
     Symbolic names are character strings that do not con         or an advertisement.
     tain either a persistent address or pointer to an output
     value accessible to the web service, and b) an address 30 22.     The method of claim 15, further comprising:
                                                                  defining a phone field or list; and
     of the web service, and where each defined UI object is      generating code that, when executed on the device, allows
     either: 1) selected by a user of an authoring tool; or 2)       a user to supply a phone number to said phone field or
     automatically selected by a system as a preferred UI            list.
     object corresponding to a symbolic name of the web
                                                                  23. The method of claim 15, further comprising:
    component selected by the user of the authoring tool; 35 defining
  Selecting the symbolic name from said web component                       a SMS field or list; and
    corresponding to the defined UI object, where the             generating  code that, when executed on the device, allows
     Selected symbolic name has an associated data format            a user to supply an SMS address to said SMS field or
                                                                     list.
     class type corresponding to a subclass of UI objects that
                                                                  24. The method of claim 15, and such that said Player
     Support the data format type of the symbolic name, and 40 interprets
    has the preferred UI object:                                           dynamically received, device independent values
  associating the selected symbolic name with the defined of the web component defined in the Application.
    UI object; and                                                25. The method of claim 15, further comprising:
  producing an Application including the selected symbolic        providing said Application and Player over said network.
                                                                  26. The method of claim 15, wherein said UI object
    name of the defined UI object, where said Application 45 corresponds
     is a device-independent code, wherein, when the Appli                   to a widget.
    cation and Player are provided to the device and              27. The method of claim 15, where said Player is activated
                                                                 and runs in a web browser.
     executed on the device, and when the user of the device
                                                            28. The method of claim 15, where said Player is a native
     provides one or more input values associated with an program.
     input symbolic name to an input of the defined UI 50
     object,




                                                        Appx424
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                                                                   TOMMUNE TOTA UNUITA ON TUTTI  US009928044B2

(12) United States Patent                                               (10) Patent No.: US 9 ,928,044 B2
        Rempell et al.                                                  (45) Date of Patent: *Mar. 27 , 2018
(54 ) SYSTEMS AND METHODS FOR                                        (52 ) U .S. CI.
        PROGRAMMING MOBILE DEVICES                                           CPC ... ........... G06F 8 / 38 (2013 .01); G06F 3/ 0482
                                                                                       (2013 .01); G06F 3/ 04842 ( 2013 .01) ; G06F
(71) Applicant: Express Mobile, Inc., Novato , CA (US)                                      8 /34 (2013 .01); G06F 9/ 4443 (2013 .01) ;
                                                                                                H04L 51/046 (2013 .01) ; H04L 65/60
(72 ) Inventors: Steven H . Rempell , Novato , CA (US);                                               (2013 .01); H04L 67/02 (2013.01)
                   David Chrobak , Clayton , CA (US) ;               (58 ) Field of Classification Search
                   Ken Brown, San Martin , CA (US )                          ??? .. ..... .....                     .............. GO6F 3/048
                                                                             See application file for complete search history .
(73 ) Assignee : Express Mobile , Inc ., Novato , CA (US)
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( * ) Notice : Subject to any disclaimer , the term of this                             U . S . PATENT DOCUMENTS
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                 U .S . C . 154 (b ) by 0 days.                       2004 / 0055017 All           3 /2004 Delpuch et al.
                 This patent is subject to a terminal dis             2004 /0163020 A18 /2004 Sidman
                   claimer .                                                                         (Continued )
(21) Appl. No .: 15 /706 ,746                                                              OTHER PUBLICATIONS
(22 ) Filed : Sep . 17, 2017                                         Stina Nylander et al. “ The Ubiquitous Interactor-Device Indepen
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(65 )                Prior Publication Data                          Interfaces IV , Proceedings of the Fifth International Conference on
                                                                     Computer- Aided Design of User Interfaces CADUI’ 2004, Jan .
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               Related U .S . Application Data                       Primary Examiner — Xuyang Xia
(63 ) Continuation of application No. 15 /370 ,990 , filed on        (74 ) Attorney, Agent, or Firm — Steven R . Vosen
      Dec. 6 , 2016 , now Pat. No. 9 ,766 , 864, which is a
                         (Continued )                                (57)                   ABSTRACT
                                                                     Embodiments of a system and method are described for
(51) Int . Ci.                                                       generating and distributing programming to mobile devices
     G06F 3 /048               ( 2013.01)                            over a network . Devices are provided with Players specific
        G06F 9 /44             ( 2018 . 01)                          to each device and Applications that are device independent .
        H04L 29 / 08           ( 2006 .01)                           Embodiments include a full-featured WYSIWYG authoring
        G06F 3 /0484           ( 2013 .01 )                          environment, including the ability to bind web components
        G06F 3 /0482           ( 2013 . 01)                          to objects .
        H04L 12/58             (2006 .01)
        H04L 29 / 06           (2006 .01)                                              28 Claims, 18 Drawing Sheets
                                              100
                                          110 Authoring                        120 Server
                                                    Platform
                                                                                 121 Network
                                              111 Memory                            Interface
                                                112 Authoring                   123 Memory
                                                         Tool
                                                                                125 Processor
                                                       Device
                                                      Routines

                                              113 Processor

                                              115 Screen
                                              117      Input
                                                      Device
                                                                               130 Device
                                                                                131 Network
                                                                                     Interface
                                                      Content
                                              140 Server                        133 Memory
                                                141 Network
                                                    Interface                   135 Processor
                                               143 Memory                       137 Screen
                                               145 Processor                    139 Input
                                                                                     Device




                                                                 Appx425
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                                                         US 9 ,928 ,044 B2
                                                               Page 2

                 Related U .S . Application Data                          2005/0149935 A1           7 / 2005 Benedetti
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         May 8 , 2015 , now Pat. No . 9, 542 , 163 , which is a           2006 /0063518 A1 3/2006 Paddon et al.
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                                                                        29 , 2016 .
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                                                            709 / 220   * cited by examiner




                                                               Appx426
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            100 m

        110 Authoring                                                120 Server
             Platform
                                                                      121 Network
            111 Memory                                                    Interface
               112 Authoring
                      Tool
                                          w                           123 Memory

                114 Device                                            125 Processor
                     Routines             w
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            113 Processor
            115 Screen
            117      Input
                     Device                                          130 Device
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                                                                      131 Network
       ??
                                                                          Interface
                     Content
       ?
                      Server                                          133 Memory
               141 Network
                   Interface                                          135 Processor
              143 Memory                                              137 Screen

       ?       145 Processor                                          139 input
                                                                          Device


                                                 FIG . 1A




                                                  Appx427
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                                      110 Authong
                                                Platform
                                      A8




                               A, R …
                                                      LA, B
                             120a Server              120b Server




       A -1, B-1                                                AN
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                               A - 2 , B- 2 …

          130- 1 Device 1            302 service 2                 130- NDeviceN
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                                                24
                                    CR
                                                Content
                                                 Server


                                          FIG . TB



                                          Appx428
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             200




                    hon2
                    Players on
                                       110
                                             Authoring
                                              Platform


                                                          Load Registry
                         Applications



                          PS           120




                                 Applications
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                                                                 Access
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                                                                Web
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                                                                             Deploy
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                      Playeray                                  Content
     210 Response                      130                                        140
                                                                                         Content
         Director                            Device                                      Server      JU
                                                                Content
                                                                Request          Proxy
                                                                           HTTP / XML
                                                                            Request
                                                                                 and
                                                                            Response
                                                                                 230
                                                                             n         Web Service

                                    FIG . 2A




                                          Appx429
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     309b




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                                         Goto ExternalWeb Page Launched in a New Window




                                     W
                                         Goto a specific Page View                                                                                                                                                                                                                                                                                 :1826
                                         Goto ExternalWeb Page replacing the Top Frame
                                         Goto the next Page View
                                         Execute JavaScriptMethod
                                         Pause Resume Page Timeout
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                                                                                                                                                     FIG . 30



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    Case: 23-2265                                                                                                         Document: 14                                                                                                                   Page: 513                                                                                                Filed: 11/13/2023




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     Case: 23-2265                             Document: 14                                                                                                                              Page: 516                                                                             Filed: 11/13/2023




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                                       FIG. 8

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                                       FIG. 9

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                                                    US 9,928,044 B2
              SYSTEMS AND METHODS FOR                                  In another embodiment, one of the codes is an Application
         PROGRAMMING MOBILE DEVICES                                 that is a device independent code that interpreted by the
                                                                    Player.
                    TECHNICAL FIELD                              These features together with the various ancillary provi
                                                            5 sions and features which will become apparent to those
   The present invention generally relates to providing soft skilled in the art from the following detailed description , are
ware for mobile devices, and more particularly to a method attained by the system and method of the present invention ,
and system for authoring Applications for devices.            preferred embodiments thereof being shown with reference
                                                                to the accompanying drawings , by way of example only ,
                   BACKGROUND ART                            10 wherein :
   Internet-connected mobile devices are becoming ever                    BRIEF DESCRIPTION OF DRAWINGS
more popular. While these devices provide portability to the
Internet, they generally do not have the capabilities of a system  FIG . 1A is an illustrative schematic of one embodiment of
non -mobile devices including computing, input and output 15 providing     including an authoring platform and a server for
                                                                            programming instructions to a device over a
capabilities .
   In addition , the mobility of the user while using such         network ;
devices provides challenges and opportunities for the use of          FIG . 1B is schematic of an alternative embodiment sys
                                                                   tem for providing programming instructions to device over
the Internet . Further, unlike non -mobile devices, there are a 20 a network .
large number of types of devices and they tend to have a              FIG . 2A is a schematic of an embodiment of system
shorter lifetime in the marketplace . The programming of the illustrating the communications between different system
myriad of mobile devices is a time-consuming and expen
sive proposition, thus limiting the ability of service provid -       FIG . 2B is a schematic of one embodiment of a device
ers to update the capabilities ofmobile devices.                25 illustrating an embodiment of the programming generated
   Thus there is a need in the art for a method and apparatus by authoring platform ;
that permits for the efficient programming ofmobile devices .         FIGS. 3A and 3B illustrate one embodiment of a publisher
Such a method and apparatus should be easy to use and              interface as it appears , for example and without limitation ,
provide output for a variety of devices.                           on a screen while executing an authoring tool;
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                                                               FIG . 3C illustrates an embodiment of the Events Tab ,
                 DISCLOSURE OF INVENTION                       FIG . 3D illustrates one embodiment of an Animation Tab ;
                                                               FIG . 3E illustrates one embodiment of Bindings Tab ;
   In certain embodiments , a system is provided to generate   FIG . 3F illustrates one embodiment of a pop - up menu for
code to provide content on a display of a platform . The adding web components ;
system includes a database of web services obtainable over 35 FIG . 4A shows a publisher interface having a layout on a
a network and an authoring tool. The authoring tool is       canvas ; and FIG . 4B shows a device having the resulting
configured to define an object for presentation on the dis          layout on a device screen ;
play, select a component of a web service included in said            FIG . 5 shows a display of launch strips;
database , associate said object with said selected compo -           FIG . 6A is a display of a Channel Selection List;
nent, and produce code that, when executed on the platform , 40       FIG . 6B is a display of a Widget Selection List;
provides said selected component on the display of the                FIG . 6C is a display of a Phone List;
platform .                                                            FIG . 7 shows a display of a mash -up ;
   In certain other embodiments, a method is provided for             FIG . 8 is a schematic of an embodiment of a push capable
providing information to platforms on a network . The               system ;
method includes accepting a first code over the network , 45 FIG . 9 is a schematic of an alternative embodiment of a
where said first code is platform -dependent; providing a push capable system ;
second code over the network , where said second code is            FIG . 10 is a schematic of one embodiment of a feed
platform - independent; and executing said first code and said collector;
second code on the platform to provide web components               FIG . 11 is a schematic of an embodiment of a Mobile
obtained over the network .                                   50 Content Gateway ;
   In certain embodiments , a method for displaying content         FIG . 12 is a schematic of one embodiment of a system that
on a platform utilizing a database ofweb services obtainable includes a response director, a user agent database, an IP
ove                 provided . The method includes : defining    address database , and a file database ; and
an object for presentation on the display ; selecting a com -       FIG . 13 is a schematic of another embodiment of a system
ponent of a web service included in said database ; associ- 55 that includes a response director, a user agent database , an IP
ating said object with said selected component; and produc       address database , and a file database .
ing code that , when executed on the platform , provides said       Reference symbols are used in the Figures to indicate
selected component on the display of the platform .              certain components, aspects or features shown therein , with
   In one embodiment, one of the codes is a Player, which is   reference symbols common to more than one Figure indi
a thin client architecture that operates in a language that 60 cating like components, aspects or features shown therein .
manages resources efficiently , is extensible, supports a
robust application model, and has no device specific depen              MODE (S ) FOR CARRYING OUT THE
dencies . In another embodiment, Player P is lightweight and                               INVENTION
extends the operating system and/ or virtual machine of the
device to : Manage all applications and application upgrades, 65 FIG . 1A is an illustrative schematic of one embodiment of
and resolve device , operating system , VM and language a system 100 including an authoring platform 110 and a
fragmentation.                                                  server 120 for providing programming instructions to a


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device 130 over a network N . In one embodiment, device                devices using routines provided on a platform . Thus as an
130 is a wireless device, and network N includes wireless              example , routines 114 may include Java API's and an
communication to the device . Alternatively, system 100 may            authoring tool System Development Kit (SDK ) for specific
provide access over network N to other information , data, or         d evices 130 .
content, such as obtainable as a web service over the 5                   Server 120 is a computer or computer system that
Internet. In general, a user of authoring platform 110 may             includes a network interface 121, a memory 123 . and a
produce programming instructions or files that may be                  processor 125 . Is to be understood that network interface
transmitted over network N to operate device 130 , including      121 , memory 123 , and processor 125 are configured such
instructions or files that are sent to device 130 and/or server that a program stored in the memory may be executed by the
120. The result of the authoring process is also referred to 10 processor to : accept input and /or provide output to authoring
herein , and without limitation , as publishing an Application . platform 110 ; accept input and/ or provide output through
   Embodiments include one or more databases that store                network interface 121 over network N to network interface
information related to one or more devices 130 and / or the            131 ; or store information from authoring platform 110 or
content provided to the devices . It is understood that such           from device 130 for transmission to another device or
databases may reside on any computer or computer system 15 system at a later time.
on network N , and that, in particular, the location is not               In one embodiment, authoring platform 110 permits a user
limited to any particular server, for example .                        to design desired displays for screen 137 and actions of
  Device 130 may be, for example and without limitation ,              device 130 . In other words, authoring platform 110 is used
a cellular telephone or a portable digital assistant, includes         to program the operation of device 130 . In another embodi
a network interface 131, a memory 133, a processor 135 , a 20 ment, authoring platform 110 allows a user to provide input
screen 137 , and an input device 139 . Network interface 131  for the design of one or more device displays and may
is used by device 130 to communication over a wireless                 further allow the user to save the designs as device specific
network , such as a cellular telephone network , a WiFi Applications. The Applications may be stored in memory
network or a WiMax network , and then to other telephones     123 and may then be sent, when requested by device 130 or
through a public switched telephone network ( PSTN ) or to 25 when the device is otherwise accessible , over network N ,
a satellite , or over the Internet. Memory 133 includes                through network interface 130 for storage in memory 133 .
programming required to operate device 130 (such as an                    In an alternative embodiment, analytics information from
operating system or virtual machine instructions), and may             devices 130 may be returned from device 130 , through
include portions that store information or programming                 network N and server 120 , back to authoring platform 110 ,
instructions obtained over network interface 131, or that are 30 as indicated by line B , for later analysis . Analytics informa
inputby the user ( such as telephone numbers or images from      tion includes, but is not limited to , user demographics, time
a device camera (not shown ). In one embodiment screen 137   of day, and location . The type of analytic content is only
is a touch screen , providing the functions of the screen andlimited by which listeners have been activated for which
input device 139 .                                           objects and for which pages. Analytic content may include ,
   Authoring platform 110 includes a computer or computer 35 but is not limited to , player - side page view , player-side
system having a memory 111 , a processor 113 , a screen 115 ,          forms-based content, player -side user interactions, and
and an input device 117 . It is to be understood that memory           player- side object status .
111 , processor 113 , screen 115 , and input device 117 are               Content server 140 is a computer or computer system that
configured such a program stored in the memory may be                  includes a network interface 141, a memory 143 . and a
executed by the processor to accept input from the input 40 processor 145 . It is to be understood that network interface
device and display information on the screen . Further, the      141, memory 143, and processor 145 are configured such
program stored in memory 111 may also instruct authoring that a stored program in the memory may be executed by the
platform 110 to provide programming or information , as processor to accepts requests R from device 130 and provide
indicated by the line labeled “ A ” and to receive information , content C over a network , such as web server content the
as indicated by the line labeled “ B .”                             45 Internet, to device 130 .
  Memory 111 is shown schematically as including a stored                 FIG . 1B is schematic of an alternative embodiment sys
program referred to herein , and without limitation , as an            tem 100 for providing programming instructions to device
authoring tool 112 . In one embodiment, authoring tool 112              130 over a network N that is generally similar to the system
is a graphical system for designing the layout of features as          of FIG . 1A . The embodiment of FIG . 1B illustrates that
a display that is to appear on screen 137. One example of 50 system 100 may include multiple servers 120 and / or mul
authoring tool 112 is the CDERTM publishing platform                   tiple devices 130 .
(Express Mobile , Inc., Novato , Calif.) .                               In the embodiment of FIG . 1B , system 100 is shown as
  In another embodiment, which is not meant to limit the               including two or more servers 120 , shown illustratively and
scope of the present invention , device 130 may include an             without limitation as servers 120a and 120b . Thus some of
operating system having a platform that can interpret certain 55 the programming or information between authoring plat
routines . Memory 111 may optionally include programming          form 110 and one or more devices 130 may be stored ,
referred to herein , and without limitation , as routines 114     routed , updated , or controlled by more than one server 120 .
that are executable on device 130 .                               In particular, the systems and methods described herein may
   Routines 114 may include device - specific routines — that be executed on one or more server 120 .
is, codes that are specific to the operating system , program - 60 Also shown in FIG . 1B are a plurality of devices 130 ,
ming language , or platform of specific devices 130 , and may          shown illustratively and without limitation as device 130 - 1 ,
include , but are not limited to , Java , Windows Mobile , Brew ,       130 - 1 , . . . 130 - N . System 100 may thus direct communi
Symbian OS, or Open Handset Alliance (OHA ). Several                   cation between individual server(s ) 120 and specific
examples and embodiments herein are described with ref-                device ( s ) 130 .
erence to the use of Java. It is to be understood that the 65 As described subsequently, individual devices 130 may be
invention is not so limited , except as provided in the claims, provided with program instructions which may be stored in
and that one skilled in the art could provide Players for each device 's memory 133 and where the instructions are



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executed by each device ' s processor 135 . Thus, for example,       tion on a specific device 130 according to the device
server (s ) 120 may provide device ( s) 130 with programming         platform . The Application may in general include , without
in response to the input of the uses of the individual devices.      limitation , instructions for generating a display on screen
Further , different devices 130 may be operable using differ - 137 , instructions for accepting input from input device 139 ,
ent sets of instructions, that is having one of a variety of 5 instructions for interacting with a user of device 130 , and /or
different “ device platforms.” Differing device platformsmay   instructions for otherwise operating the device , such as to
result, for example and without limitation , to different place a telephone call.
operating systems, different versions of an operating system ,   The Application is preferably code in a device -indepen
or different versions of virtual machines on the same oper    dent  format, referred to herein and without limitation as a
ating system . In some embodiments , devices 130 are pro - 10 Portable  Description Language (PDL ). The device 's Player
vided with some programming from authoring system 100         interprets or executes the Application to generate one or
that is particular to the device .                            more " pages” (“ Applications Pages” ) on a display as defined
   In one embodiment, system 100 provides permits a user
of authoring platform 110 to provide instructions to each of by the PDL    . The Player may include code that is device
the plurality of devices 130 in the form of a device- or 1515 specific
                                                              specific — that
                                                                         that itit,, each
                                                                                     each device
                                                                                          device isis provided
                                                                                                      provided with
                                                                                                               with aa Player
                                                                                                                       Player that
                                                                                                                              that
device -platform specific instructions for processor 135 of is used in the interpretation and execution of Applications.
the device , referred to herein and without limitation as a Authoring tool 112 may thus be used to design one or more
“ Player,” and a device - independent program , referred to          device -independent Applications and may also include
herein and without limitation as an “ Application ” Thus, for        information on one or more different devices 130 that can be
example , authoring platform 110 may be used to generate 20 used to generate a Player that specific devices may use to
programming for a plurality of devices 130 having one of generate displays from the Application .
several different device platforms. The programming is         In one embodiment, system 100 provides Players and
parsed into instructions used by different device platforms Applications to one server 120 , as in FIG . 1A . In another
and instructions that are independent of device platform . embodiment, system 100 provides Players to a first server
Thus in one embodiment, device 130 utilizes a Player and an 25 120a and Applications to a second server 120b , as in FIG .
Application to execute programming from authoring plat -       1B .
form 110 . A device having the correct Player is then able to          In one embodiment, authoring tool 112 may be used to
interpret and be programmed according to the Application . program a plurality of different devices 130 , and routines
   In one alternative embodiment, the Player is executed the        114 may include device- specific routines . In another
first time by device 130 (“ activated ” ) through an Application 30 embodiment, the Player is of the type that is commonly
directory . In another alternative embodiment, the Player is referred to as a “ thin client” — that is , software for running
activated by a web browser or other software on device 130 . on         the device as a client in client- server architecture with a
In yet another alternative embodiment, Player is activated
through a signal to device 130 by a special telephone device        for
                                                                            network which depends primarily on a central server
                                                                        processing  activities, and mainly focuses on conveying
numbers , such as a short code.                                  35
   When the Application and the Player are provided to input               and output between the user and the server.
                                                                      In one embodiment, authoring platform 110 allows user to
memory 133 , the functioning of device 130 may occur in
accordance with the desired programming Thus in one                  arrange objects for display on screen . A graphical user
embodiment, the Application and Player includes program    interface (“ GUI,” or “ UI” ) is particularly well suited to
ming instructions which may be stored in memory 133 and 40 arranging objects , but is not necessary. The objects may
which , when executed by processor 135, generate the                 correspond to one or more of an input object, an output
designed displays on screen 137 . The Application and Player         object, an action object, or may be a decorative display, such
may also include programming instructions which may be               as a logo , or background color or pattern , such as a solid or
stored in memory 133 and which provide instructions to               gradient fill. In another embodiment, authoring platform 110
processor 135 to accept input from input device 139.              45 also permits a user to assign actions to one or more of an
   Authoring tool 112 may , for example , produce and store          input object, an output object, or an action object. In yet
within memory 111 a plurality of Players ( for different             another embodiment, authoring platform 110 also permits a
devices 130 ) and a plurality of Applications for displaying         user to bind one or more of an input object, an output object,
pages on all devices. The Players and Applications are then          or an action object with web services or web components, or
stored on one or more servers 120 and then provided to 50 permits a user to provide instructions to processor 135 to
individual devices 130 . In general, Applications are pro -          store or modify information in memory 133 , to navigate to
vided to device 130 for each page of display or a some               another display or service , or to perform other actions, such
number of pages. A Player need be provided once or updated           as dialing a telephone number.
as necessary, and thus may be used to display a large number   In certain embodiments , the applicant model used in
of Applications. This is advantageous for the authoring 55 developing and providing Applications is a PDL . The PDL
process, since all of the device -dependent programming is can be conceptually viewed as a device , operating system
provided to a device only once ( or possibly for some small and virtual machine agnostic representation of Java serial
number of upgrades ), permitting a smaller Application , ized objects . In certain embodiments , the PDL is the com
which is the same for each device 130 .                      mon language for authoring tool 112 , the Application , and
   Thus, for example and without limitation , in one embodi - 60 Player. Thus while either designing the Application with the
ment, the Player transformsdevice - independent instructions authoring tool 112 , or programming with the SDK , the
of the Application into device -specific instructions that are internal representation of the programming logic is in Java .
executable by device 130 . Thus, by way of example and In one embodiment the SDK is used within a multi-language
without limitation , the Application may include Java pro -    software development platform comprising an IDE and a
 gramming for generating a display on screen 137, and the 65 plug - in system to extend it , such as the Eclipse Integrated
Player may interpret the Java and instruct processor 135 to          Development Environment ( see , for example , http ://www .e
produce the display according to the Application for execu           clipse.org /). At publish time the Java code is translated into


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a PDL . This translation may also occur in real-time during         display . Other information that may be provided by content
the execution ofany Web Services or backend business logic          server 140 may include , but is not limited to, pages, Appli
that interacts with the user.                                       cations, multimedia , and audio .
    One embodiment for compacting data that may be used is             FIG . 2A is a schematic of a system 200 of an embodiment
described in co -pending U . S . Pat. No . 6 ,546 , 397 to Rempell 5 of system 100 illustrating the communications between
(“ Rempell” ), the contents of which are incorporated herein         different system components . System includes a response
by reference . In that patent the compressed data is described       director 210 , a web component registry 220 , and a web
as being a database . The terminology used here is a PDL ,          service 230 . System 200 further includes authoring platform
that is the internal database" of Rempell is equivalent to the      110 , server 120 , device 130 and content server 140 are which
PDL of the present Application .                                 10 are generally similar to those of the embodiments of FIGS .
  The use of a PDL , as described in Rempell, permits for           1A and 1B , except as explicitly noted .
efficient code and data compaction . Code, as well as vector,         Response director 210 is a computer or computer system
integer and Boolean data may be compacted and then                  that may be generally similar to server 120 including the
compressed resulting in a size reduction of 40 to 80 times          ability to communicate with authoring platform 110 and one
that of the original Java serialized objects . This is important 15 or more devices 130 . In particular, authoring platform 110
not only for performance over the network but for utilizing         generates one or more Players (each usable by certain
the virtual memory manager of the Player more efficiently.          devices 130 ) which are provided to response director 210 .
As an example , the reassembled primitives of the Java              Devices 130 may be operated to provide response director
objects may first undergo logical compression , followed by         210 with a request for a Player and to receive and install the
LZ encoding.                                                     20 Player. In one embodiment, device 130 provides response
   The use of a PDL also provides virtual machine and               director 210 with device - specific information including but
operating system independence . Since the reassembled               not limited to make, model, and/or software version of the
primitives of the Application no longer have any dependen           device . Response director 210 then determines the appro
cies from the original programming language (Java ) that            priate Player for the device , and provides the device with the
they were defined in . The PDL architecture takes full advan - 25 Player over the network .
tage of this by abstracting all the virtual machine and/or            Web service 230 is a plurality of services obtainable over
operating system interfaces from the code that processes the        the Internet. Each web service is identified and/or defined as
PDL.                                                                an entry in web component registry 230 , which is a database ,
   In one embodiment, the PDL is defined by the means of            XML file , or PDL that exists on a computer thatmay be a
nested arrays of primitives . Accordingly, the use of a PDL 30 server previously described or another server 120 . Web
provides extensibility and compatibility, with a minimal       component registry 230 is provided through server 120 to
amount of constraints in extending the Player seamlessly as authoring platform 110 so that a user of the authoring
market demands and device capabilities continue to grow .           platform may bind web services 230 to elements to be
Compatibility with other languages is inherent based on the         displayed on device 130 , as described subsequently .
various Player abstraction implementations, which may be, 35          In one embodiment, authoring platform 110 is used in
for example and without limitation , Java CDC , J2SE or             conjunction with a display that provides a WYSIWYG
MIDP2 implementations.                                              environment in which a user of the authoring platform can
   In one embodiment, the architecture of Player P includes         produce an Application and Player that produces the same
an abstraction interface that separates all device , operating      display and the desired programming on device 130 . Thus,
system and virtual machine dependencies from the Player ' s 40 for example , authoring tool 112 provides a display on screen
Application model business logic (that is , the logic of the     115 that corresponds to the finished page that will be
server -side facilities ) that extend the Application on the displayed on screen 137 when an Application is intercepted ,
Player so that it is efficiently integrated into a comprehensive via a Player, on processor 135 of device 130 .
client/ server Application . The use of an abstraction interface    Authoring platform 110 further permits a user of the
permits themore efficient porting to other operating systems 45 authoring platform to associate objects , such as objects for
and virtual machines and adding of extensions to the Appli -       presenting on screen 137 , with components of one or more
cation model so that a PDL can be implemented once and             web services 230 that are registered in web component
then seamlessly propagated across all platform implemen - registry 220 . In one embodiment, information is provided in
tations. The Application model includes all the currently       an XML file to web component registry 220 for each
supported UI objects and their attributes and well as all of 50 registered components of each web service 230 . Web com
the various events that are supported in the default Player.       ponent registry 220 may contain consumer inputs related to
Further, less robust platforms can be augmented by extend -        each web service 230 , environmental data such as PIM , time
ing higher end capabilities inside that platform 's abstraction or location values, persistent variable data, outputs related to
interface implementation .                                      the web service , and /or optional hinting for improving the
   In one embodiment, authoring platform 110 provides one 55 user' s productivity.
or more pages, which may be provided in one Application ,          A user of authoring platform 110 of system 200 may
or a plurality of Applications, which are stored in memory define associations with web services as WebComponent
123 and subsequently provided to memory 133. In certain         Bindings . In one embodiment, authoring platform 110
embodiments, the Application includes instructions R to allows a user to associate certain objects for display that
request content or web services C from content server 140 . 60 provide input or output to components of web service 230 .
Thus , for example and without limitation , the request is for      The associated bindings are saved as a PDL in server 120 .
information over the network via a web service, and the                In one embodiment, an XML web component registry 220
request R is responded to with the appropriate information          for each registered web service 230 is loaded into authoring
for display on device 130 . Thus, for example , a user may platform 110 . The user of system 200 can then assign
request a news report . The Application may include the 65 components of any web service 230 to an Application
layout of the display , including a space for the news, which without any need to write code. In one embodiment, a
is downloaded form content server 140 for inclusion on the    component of web service 230 is selected from authoring



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                                                                                           10
platform 110 which presents the user with WYSIWYG              As an example of dynamic binding of real-time content,
dialog boxes that enable the binding of all the inputs and an RSS feeds and other forms of dynamic contentmay be
outputs of component ofweb service 230 to a GUI compo inserted into mobile Applications, such as device 130 , using
nent of the Application as will be displayed on screen 137 . system 200 . Authoring platform 110 may include a " RSS
In addition ,multiple components of oneormore web service 5 display ” list which permits a user to select RSS channels and
230 can be assigned to any Object or Event in order to feeds from an extensible list of available dynamic content.
facilitate mashups. These Object and /or Event bindings, for Meta data , such as titles, abstracts and Images can be
each instance of a component of any web service 230 , are         revealed immediately by the user as they traverse this RSS
stored in the PDL . The content server 140 handles all            display list, bringing the PC experience completely and
communication between device 130 and the web service 230 " conveniently to mobile devices 130 . In addition , Authoring
and can be automatically deployed as a web application         platform 110 may include a dialog box that dynamically
archive to any content server.                                 links objects to data and feeds determined by RSS and chat
  Device 130 , upon detecting an event in which a compo -      databases . Any relevant attribute for a page view and /or
nent of a web service 230 has been defined , assembles and 15 object can be dynamically bound to a value in a server- side
sends all related inputs to content server 240 , which proxies database . This includes elements within complex objects
the request to web service 230 and returns the requested          such as : any icon or text element within a graphical list; any
information to device 130 . The Player on device 130 then         icon within a launch strip ; any feature within any geographi
takes the outputs ofweb service 230 and binds the data to the     cal view of a GIS service object; and/ or any virtual room
UI components in the Application , as displayed on screen 20 within a virtual tour.
137 .                                                           As an example of third -party web services 230 that may
  In one embodiment, the mechanism for binding the out- be provided using system 200 , a user of authoring platform
puts of the web service to the UI components is through           110 can place , for example, Yahoo maps into device 130 by
symbolic references that matches each output to the sym -         binding the required component of the Yahoo Maps Web
bolic name of the UI component. The outputs , in one 25 Service , such as Yahoo Map ' s Inputs and / or Outputs to
embodiment, may include meta - data which could become            appropriate Objects of authoring platform 110 . System 200
part of the inputs for subsequent interactions with the web       also provides binding to web services for text, image and
service .                                                         video searching by binding to components of those web
  For example , if a user of authoring platform 110 wants to      services.
present an ATOM feed on device 130 , they would search 30           In one embodiment, an Application for displaying on
through a list of UI Components available in the authoring        device 130 includes one or more Applications Pages, each
platform , select the feed they want to use , and bind the        referred to herein as an “ XSP,” that provides functionality
output of the feed summary to a textbox . The bindings would      that extends beyond traditional web browsers . The XSP is
be saved into the PDL on server 120 and processed by device       defined as a PDL , in a similar manner as any Application ,
130 at runtime. If the ATOM feed does not exist a new one 35 although it defines a single page view , and is downloaded to
can be added to the web component registry that contains all the Player dynamically as required by the PDL definition of
the configuration data required , such as the actual feed URL , the Application . Thus, for example, while JSPs and ASPs,
the web component manager URL , and what output fields are restricted to the functionality supported by the web
are available for binding.                                      browser, the functionality of XSPs can be extended through
   In another embodiment, components ofweb services 230 40 authoring platform 110 having access to platform dependent
are available either to the user of authoring platform 110 or routines 114 , such as Java APIs. Combined with dynamic
otherwise accessible through the SDK and Java APIs of binding functionality , an XSP, a page can be saved as a page
routines 114 . System 200 permits an expanding set of object in an author's " pages " library, and then can be
components of web services 230 including, but not limited dynamically populated with real-time content simultane
to : server pages from content server 120 ; third -party web 45 ously as the page is downloaded to a given handset Player
services including , but not limited to : searching ( such      based on a newly expanded API. XSP Server Pages can also
through Google or Yahoo ),maps ( such as through MapQuest         be produced programmatically , but in most cases authoring
and Yahoo ), storefronts ( such as through ThumbPlay ), SMS       platform 110 will be a much more efficient way to generate
share (such as through clickatel), stock quotes , social net -    and maintain libraries of dynamically changing XSPs.
working ( such as through FaceBook ), stock quotes , weather 50     With XSPs, Applications Pages thathave dynamic content
( such as through Accuweather ) and/ or movie trailers . Other    associated with them can be sent directly to device 130 ,
components include web services for communication and             much like how a web browser downloads an HTML page
sharing through chats and forums and rich messaging alerts ,      through a external reference . Without XSPs, content authors
where message alerts are set -up that in turn could have          would have to define each page in the Application . With
components of Web Services 230 defined within them , 55 XSPs, no pages need to be defined . Thus, for example , in a
including the capture of consumer generated and Web Ser - World Cup Application, one page could represent real-time
vice supplied rich media and textual content.                     scores that change continuously on demand . With polling
  System 200 also permits dynamic binding of real- time           ( for example, a prompt to the users asking who they predict
content, where the inputs and outputs of XML web services         will win a game), a back -end database would tabulate the
are bound to GUI components provided on screen 137 . Thus , 60 information and then send the results dynamically to the
for example, a user of authoring platform 110 may bind            handsets . With a bar chart, the Application would use
attributes of UI Objects to a particular data base field on a     dynamic PDL with scaling on the fly . For example , the
Server. When running the Application , the current value in       server would recalibrate the bar chart for every ten numbers.
the referenced data base will be immediately applied . During       Other combinations of components of web services 230
the Application session , any other real time changes to these 65 include , but are not limited to , simultaneous video chat
values in the referenced data base will again be immediately      sessions, inside an integrated page view , with a video or
displayed.                                                        television station ; multiple simultaneous chat sessions, each



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with a designated individual and /or group , with each of the         which in turn defines all of the virtual machine compliant
chat threads visible inside an integrated page view .                 Objects, some of which could have attributes that refer to
   Another extension of an XSP is a widget object. Widgets   images , audio , and / or video stored in portions 133a3, 133a4 ,
can be developed from numerous sources including, but not     133a5 , respectively .
limited to , authoring platform 110 , a Consumer Publishing 5 The Virtual Machine in portion 133a3 processes the
Tool, and an XML to Widget Conversion Tool where the                  Player output, the Operating System in portion 133a3 pro
SDK Widget Libraries are automatically populated and                  cesses the Virtual Machine output which results in machine
managed , or Widget Selection Lists that are available and            code that is processed by the Operating System in portion
can be populated with author defined Icons.                           133a4 .
Applications, Players , and Processing in a Device               10     In another embodiment, the Player is a native program
   FIG . 2B is a schematic of one embodiment of a device 130          that interacts directly with the operating system .
 illustrating an embodiment of the programming generated              Embodiments of a Publishing Environment
by authoring platform 110. Memory 133 may include sev                   In one embodiment, authoring platform 110 includes a
eral different logical portions , such as a heap 133a , a record    full-featured authoring tool 112 that provides a what- you
store 133b and a filesystem (not shown ).                        15 see -is -what- you - get (WYSIWYG ) full featured editor. Thus ,
   As shown in FIG . 2B , heap 133a and record store 133b      for example, authoring tool 112 permits a user to design an
include programming and /or content. In general, heap 133a     Application by placing objects on canvas 305 and optionally
is readily accessible by processor 135 and includes, but is assigning actions to the objects and save the Application .
not limited to portions that include the following program - System 100 then provides the Application and Player to a
ming : a portion 133al for virtualmachine compliant objects 20 device 130. The Application as it runs on device 130 has the
representing a single Page View for screen 137 ; a portion        same look and operation as designed on authoring platform
133a2 for a Player; a portion 133a3 for a virtual machine ;       110 . In certain embodiments , authoring platform 110 is , for
and a portion 133a4 for an operating system .                     example and without limitation , a PC - compatible or a
  Record store 133b ( or alternatively the filesystem ) Macintosh computer.
includes , but is not limited to , portions 133b1 for Applica - 25 Authoring platform 110 produces an Application having
tions and non - streaming content, which may include por-             one or more Applications Pages , which are similar to web
tions 133a2 for images, portions 133a4 for audio , and/ or            pages . That is , each Applications Page , when executed on
portions 133a5 for video . and portions 133b2 for non                 device 130 may, according to its contents , modify what is
Application PDLs, such as a Master Page PDL for present               displayed on screen 137 or cause programming on the
ing repeating objects , and Alerts , which are overlayed on the 30 device to change in a manner similar to how web pages are
current page view . Other content, such as streaming content          displayed and navigated through on a website.
may be provided from network interface 131 directly to the    In one embodiment, authoring tool 112 allows a user to
Media Codec of device 130 with instructions from Player on  place one or more objects on canvas 305 and associate the
how to present the audio or video .                         objects with an Applications Pages. Authoring platform 110
   In one embodiment, the Player includes a Threading 35 maintains a database of object data in memory 111 , includ
Model and a Virtual Memory Manager. The Threading ing but not limited to type of object, location on which page ,
Model firstmanages a queue of actions that can be populated and object attributes . The user may add settings , events ,
based on Input/Output events , Server -side events , time-  animations or binding to the object, from authoring tool 112 ,
based events , or events initiated by user interactions . The         which are also maintained in memory 111 . Authoring tool
 Threading Model further manages the simultaneous execu - 40 112 also allows a user to define more than one Applications
tion of actions occurring at the same time. The Virtual Page .
Memory Manager includes a Logical Virtual Page controller               In another embodiment, authoring tool 112 , provides Java
that provides instructions from the record store to the heap ,        programming functions of the Java API for specific devices
one page at time. Specifically , the VirtualMemory Manager            130 as pull- down menus, dialog boxes, or buttons. This
controls the transfer of one of the Application Pages and its 45 permits a user of authoring platform 110 to position objects
virtual machine compliant objects into portion 133al as               that, after being provided as an Application to device 130 ,
instructions readable by the Player or Virtual Machine .              activate such Java functions on the device .
When the Player determines that a new set of instructions is             In certain embodiments, authoring platform 110 , as part of
required , the information (such as one Application Page is           system 100 , permits designers to include features of
retrieve from the Record store , converted into virtual 50 advanced web and web services Applications for access by
machine compliant objects (by processor 135 and according             users of device 130 . Some of the features of advanced web
to operation by the Player, VirtualMachine , etc ). and stored        and web services include ,but are not limited to : slide shows,
in heap 133a . Alternatively, the Player may augment virtual          images, video , audio , animated transitions, multiple chats ,
machine compliant objects with its own libraries for man -            and mouse interaction ; full 2 - D vector graphics ; GIS ( ad
aging user interactions, events , memory , etc .                 55 vanced LBS ), including multiple raster and vector layers ,
   The connection of portions 133al , 133a2 , 133a3, 133a4 ,          feature sensitive interactions, location awareness , streaming
record store 133b and processor 135 are illustrative of the           and embedded audio /video , virtual tours , image processing
logical connection between the different types of program -           and enhancement, and widgets . In other embodiments the
ming stored in Heap 133a and record store 133b , that is , how    features are provided for selection in authoring platform 110
data is processed by processor 135 .                           60 through interactive object libraries .
   The Player determines which of the plurality of Applica -             In certain embodiments, authoring platform 110 , as part of
tion Pages in portion 133b1 is required next. This may be             system 100 , allows the inclusion of child objects which may
determined by input actions from the Input Device 139 , or            eventually be activated on device 130 by the user of the
from instructions from the current Application Page . The             device or by time. The uses of the child objects on device
Player instructs processor 135 to extract the PDF from that 65 130 include , but are not limited to : mouse over ( object
Applications Page and store it in portion 133al. The Player    selection ), hover and fire events and launching of object
then interprets the Application Page extracted from PDL               specific, rich -media experiences.


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   In certain other embodiments , authoring platform 110 , as          authoring platform 110 , save an Application having the
part of system 100 , provides advanced interactive event               programming instructions, and save a Player for the device .
models on device 130 , including but not limited to : user-,     The intended programming is carried out on device 130
time- and / or location -initiated events, which allow content when the device , having the appropriate device platform
developers to base interactivity on specific user interactions 5 Player, receives and executes the device - independent Appli
and/ or instances in time and space ; timelines , which are      cation .
critical for timing of multiple events and for animations                Thus, for example , authoring tool 112 maintains, in
when entering, on , or exiting pages of the Application ;              memory 111 , a list of every type of object and any proper
waypoints , which act similar to key frames , to allow smooth  ties, actions, events, or bindings that may be assigned to that
movement of objects within pages of the Application . Way - 10 object . As objects are selected for an Application , authoring
points define positions on a page object' s animation trajec           tool 112 further maintains, in memory 111, a listing of the
tory . When an object reaches a specific waypoint other                objects. As the user selects objects, publisher interface 300
object timelines can be initiated , creating location - sensitive      provides the user with a choice of further defining proper
multiple object interaction , and /or audio can be defined to          ties , actions, events , or bindings that may be assigned to
play until the object reaches the next waypoint .                   15 each particular object, and continues to store the information
   Authoring platform 110 may also define a Master Page ,              in memory 111.
which acts as a template for an Applications Page, and may                In one embodiment, publisher interface 300 is a graphical
also define Alert Pages, which provide user alerts to a user interface that permits the placement and association of
of device 130 .
   In certain embodiments, authoring platform 110 , as part of 20 objects in a manner typical of, for example , vector graphics
                                                                  editing programs (such as Adobe Illustrator ). Objects
system 100 , provides full style inheritance on device 130 . located on canvas 305 placed and manipulated by the
Thus, for example and without limitation , both master page
inheritance ( for structural layout inheritance and repeating various     commands within publisher interface 300 or inputs
                                                                  such as an input device 117 which may be a keyboard or
objects ) and object styles ( for both look and feel attribute
inheritance ) are supported . After a style has been defined for 25 mouse . As described herein , the contents of canvas 305 may
                                                                    be saved as an Application that, through system 100, provide
an object, the object will inherit the style. Style attributes
                                                           the same or a similar placement of objects on screen 137 and
include both the look and the feel of an object, including have
mouse interaction , animations, and timelines. Each page placedactions
                                                                   on
                                                                         defined within publisher interface 300 . Objects
                                                                      canvas   305 are intended for interaction with user
may include objects that may be a parent object or a child
object. A child object is one that was created by first 30 of device 130 and are referred to herein , without limitation ,
                                                           as objects or UI ( user interface ) objects. In addition , the user
selecting a parent object, and then creating a child object.           of interface 300 may assign or associate actions or web
Child objects are always part of the same drawing layer as             bindings to UI objects placed on canvas 305 with result in
its parent object, but are drawn first, and are not directly           the programming device 130 that cause it to respond accord
selectable when running the Application . A parent object is           ingly .
any object that is not a child object , and can be selected 35            Objects include, but are not limited to input UI objects,
when running the Application .                                         response UI objects. Input UI objects include but are not
   As an example, the user of authoring tool 112 may create            limited to : text fields ( including but not limited to alpha ,
various text objects on canvas 305 using a style that sets the         numeric , phone number, or SMS number ); text areas ; choice
font to red , the fonts of these objects will be red . Suppose
user of authoring tool 112 changes the font color of a specific 40 objects  ( including but not limited to returning the selected
                                                                   visible string or returning a numeric hidden attribute ); single
button to green . If later, the user of authoring tool 112             item selection lists ( including but not limited to returning the
changes the style to blue; all other text objects that were   selected visible string or returning a numeric hidden attri
created with that style will becomeblue except for the button bute ) ; multi item selection lists (including but not limited to
that had been specifically set to green .
   In certain other embodiments, authoring platform 110 45 returning       all selected items ( visible text string or hidden
                                                              attribute ) or cluster item selection lists (returning the hidden
provides page view , style , object, widget and Application    attributes for all items).
template libraries. Authoring platform 110 may provide                   Other input UI objects include but are not limited to :
templates in private libraries (available to certain users of    check boxes ; slide show (including but not limited to
the authoring platform ) and public libraries ( available to all returning a numeric hidden attribute , returning a string
users of the authoring platform ). Templates may be used to 50 hidden attribute , or returning the hidden attributes for all
within authoring platform 110 to define the look and feel of slides ); and submit function (which can be assigned to any
the entire Application , specific pages, or specific slide shows       object including submit buttons, vectors , etc .).
and virtual tours a seen on device 130 .                         Response UI Objects may include, but are not limited to :
   FIGS. 3A and 3B illustrate one embodiment of a publisher single line text objects, which include : a text Field (includ
interface 300 as it appears, for example and without limi- 55 ing but not limited to a URL , audio URL , or purchase URL ),
tation , on screen 115 while executing authoring tool 112 . In a text button , a submit button, or a clear button. Another
one embodiment, publisher interface 300 includes a Menu response UI objects include : a multiple line text object,
bar 301, a Toolbar 303 , a Canvas 305 , a Layer Inspector 307 which   may include a text area or a paragraph ; a check box ;
                                                                an image; a video ; a slide show (with either video or image
having subcomponents of a page/object panel 307a , an slides
object style panel 307b , and a page alert panel 307c, and a 60 which, orcontrol
                                                                            both ); choice objects ; list objects ; or control lists ,
                                                                                 all the subordinate output UI objects for that
Resource Inspector 309 .                                      web component. Control list objects include , but are not
   In general, publisher interface 300 permits a user of      limited to : list type or a choice type, each of which may
authoring platform 110 to place objects on canvas 305 and     include a search response list or RSS display list.
then associate properties and/ or actions to the object, which   As a further example of objects that may be used with
are stored in the Application. As described subsequently, 65 authoring tool 112 , Table I lists Data Types , Preferred Input,
publisher interface 300 permits a user to program a graphical Input Candidates , Preferred Output and Output Candidates
interface for the screen 137 of device 130 on screen 115 of   for one embodiment of an authoring tool.



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                                                           TABLE I
                                             One embodiment of supported obiects

Data Types               Preferred Input          Input Candidates       Preferred Output        Output Candidates
boolean                  Check Box            Check Box                  Check Box               Check Box
Int                      Text Field (integer) Text Field ( integer) Text Field (integer)         Text Field (integer)
                                              Text Field (Phone # )                              Text Field (Phone # )
                                              Text Field (SMS # )                                 Text Field ( SMS # )
                                                  Choice                                         Choice
                                                  List (single select)                           List (single select)
                                                                                                 Text Button
String                    Text Field (Alpha )     Any                    Text Field (Alpha )     Any
multilineString           Text Area               Text Area              Text Area               Text Area
                                                                                                 Paragraph
ImageURL                 N /A                     N /A                   Image                   Image
                                                                                                 Slide Show
VideoURL                  N/A                     N /A                   Video                   Video
                                                                                                 Slide Show
List                        ngle Item List        Single Item List       Single Item List        Any List Type
                                                 Multi- Select List                              Any Choice Type
                                                  Complex List                                   (see Complex
                                                  Choice                                         List Specification )
                                                  Slide Show
ComplexList               Complex List            Single Item List       Single Item List        Any List Type
                                                 Multi - Select List                             ( see Complex List
                                                 Complex List                                    Specification )
Slideshow                 Slide Show             Slide Show              Slide Show              Slide Show
SearchResponse List       N /A                    N /A                   Search Response List    Search Response List
                                                                                                 Control List
                                                                                                 Complex List
                                                                                                 Choice
RSSList                  NA                       N /A                   RSS Display List        RSS Display List
                                                                                                 Control List
                                                                                                 Complex List




                                              isbel es
                                                                                                 Choice
SingleSelection List      Choice              Choice               Choice                        Choice
                                              Complex List                                      Complex List
MultiSelection List      Multi-Selection List Multi-Selection List Multi-Selection List         Multi-Selection List
Service Activation       Submit Button            Any                    N /A                    N /A
ChannelImageURL           N /A                    N /A                   Image                   Image
                                                                                                 Video
                                                                                                 Slide Show
ChannelDescription        N /A                    N /A                   Text Area               Text Area
                                                                                                 Paragraph
                                                                                                 Text Field
                                                                                                 Text Button
                                                                                                 List
                                                                                                 Choice
ChannelTitle             NA
                         N /A                     N /A                   Text Field              Text Field
                                                                                                 Text Button
                                                                                                 Paragraph
                                                                                                 Text Area
                                                                                                 List
                                                                                                 Choice
URL                                                                      Text Field              Text Field
                                                                         (URL request )          (URL request)
Audio URL                                                                Text Field              Text Field
                                                                         (Audio URL request)     (Audio URL request)
Purchase URL                                                             Text Field              Text Field
                                                                         (Purchase URL request) ( Purchase URL request)
Image Data                                                               Image                   Image
                                                                                                 Slide Show
Image List Data                                                          Slide Show              Slide Show
                                                                                                 Image
Persistent Variable      N /A                     N /A                   N /A                    N /A
Pipeline Multiple Select Multi-select List       Multi- select List      N /A                    N /A
                                                  Complex List
                                                  Slide Show
Phone Number             Text Field               Text Field             Text Field              Text Field
                         (numeric type )          Text Button            ( numeric type)         Text Button
Hidden Attribute         Complex List             Complex List           Complex List            Complex List
                                                  Slide Show                                     Slide Show
Collection List           N/A                     N /A                   Slide Show              Complex List
                                                                                                 Slide Show




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                              17                                                                    18
   In general, publisher interface 300 permits a user to define style template , import a page, alert, or widget, open library
an Application as one or more Applications Pages , select UI objects including but not limited to an image , video , slide
objects from Menu bar 301 or Tool bar 303 and arrange them      show , vector or list, and copying an Application to a user or
on an Applications Page by placing the objects canvas 305 . to Server 120.
An Application Page is a page that is available to be visited 5 Edit menu 301b may include, but is not limited to ,
through any navigation event. Application Pages inherit all           selections for select, cut , copy , paste , and edit functions .
the attributes of the Master Page , unless that attribute is             View menu 3010 may include , but is not limited to ,
specifically changed during an editing session .                      selections for zooming in and out, previewing , canvas 305
  Authoring platform 110 also stores information for each             grid display , and various palette display selections.
UI object on each Application Page of an Application . Layer 10 Project menu 301d may include , but is not limited to ,
Inspector 307 provides lists of Applications Pages , UI selections related to the Application and Player, such as
objects on each Applications Page , and Styles, including selections that require a log in , generate a universal Player,
templates . Objects may be selected from canvas 305 or                generate server pages, activate server APIs and extend
Layer Inspector 307 causing Resource Inspector 309 to          Player APIs . A Universal Player will include all the code
provide lists of various UI objects attributes which may be 15 libraries for the Player, including those that are not refer
selected from within the Resource Inspector. Publisher inter          enced by the current Application. Server APIs and Player
face 300 also permits a user to save their work as an                 APIs logically extend the Player with Server- side or device
Application for layer transfer and operation of device 130 .          side Application specific logic .
Publisher interface 300 thus provides an integrated platform            Objects menu 301e includes selections for placing various
for designing the look and operation of device 130 .               20 objects on canvas 305 including, but not limited to : navi
   The information stored for each UI object depends, in              gation UI objects, including but not limited to widget or
part, on actions which occur as the result of a user of device        channel launch strips or selection lists ; message -related UI
130 selecting the UI object from the device . UI objects              objects , including but not limited to multiple chat, video
include , but are not limited to : navigational objects, such as      chat, phone and /or SMS lists or fields, or a pop - up alert;
widget or channel launch strips or selection lists; message 25 shapes , which provides for drawing tools; forms-related
objects for communicating, such as a multiple chat, video         objects, including but not limited to text fields ; scrolling text
chat, phone and/ or SMS lists or fields or a pop - up alert; text box , check box , drop - down menu , list menu , submit button
fields or areas ; check boxes ; pull down menus; selection lists      or clear button ; media -related UI objects such as pictures,
and buttons; pictures; slide shows; video or LBS maps;                slide shows, video or LBS maps; text- related UI objects such
shapes or text defined by a variety of tools ; a search 30 as buttons or paragraphs; and variables , including but not
response ; or an RSS display.                              limited to time, date and audio mute control.
  In certain embodiments , publisher interface 300 permits a            Events menu 301f includes selections for defining child
user to assign action to UI objects , including but not limited       objects , mouse events , animations or timelines.
to , programming of the device 130 or a request for infor -             Pages menu 3019 includes selection for handling multi
mation over network N . In one embodiment, for example 35 page Applications , and may include selections to set a
and without limitation , publisher interface 300 has a selec - master page , delete , copy, add or go to Applications Pages .
tion to bind a UI object to a web service that is , associate           Styles menu 301h includes selections to handle styles ,
the UI object or a manipulation or selection ofUI objectwith          which are the underlying set of default appearance attributes
web services . Publisher interface 300 may also include       or behaviors that define any object that is attached to a style .
many drawing and text input functions for generating dis - 40 Styles are a convenient way for quickly creating complex
plays that may be, in someways , similar to drawing and /or objects , and for changing a whole collection of objects by
word processing programs, as well as toolbars and for                 just modifying their common style . Selections of Styles
zooming and scrolling of a workspace .                                menu 301h include , but not limited to , define, import , or
   Each UIobject has some form , color, and display location         modify a style , or apply a template . Help menu 301i includes
associate with it . Further, for example and without limita - 45 access a variety of help topics .
tion , UI objects may have navigational actions (such as            Tool bar 303 provides more direct access to some of the
return to home page ), communications actions (such as to             features of publisher interface 300 through a series of
call the number in a phone number field ), or web services            pull - down menus. Selections under tool bar 303 may include
( such as to provide and / or retrieve certain information from       selections to :
a web service ). Each of the these actions requires authoring 50        control the look ofpublisher interface 300 , such as a Panel
platform 110 to store the appropriate information for each                 selection to control the for hiding or viewing various
action . In addition , UI objects may have associated patent or            panels on publisher interface 300;
child objects , default settings , attributes (such as being a           control the layout being designed , such as an Insert Page
password or a phone number ), whether a field is editable ,                selection to permit a user to insert and name pages ;
animation of the object , all of which may be stored by 55              control the functionality of publisher interface 300, such
authoring platform 110, as appropriate .                                   as a Palettes selection to choose from a variety of
  Menu bar 301 provides access features of publisher                       specialized palettes , such as a View Palette for zooming
interface 300 through a series of pull- down menus that may                and controlling the display of canvas 305 , a Command
include, but are not limited to , the following pull-down                  Palette of common commands, and Color and Shape
menus: a File menu 301a , an Editmenu 301b , a View menu 60                Palettes;
301c , a Project menu 301d , an Objects menu 301e , an      place objects on canvas 305 , which may include selec
Events menu 301f, a Pagesmenu 301g , a Styles menu 301h ,      tions such as : a Navigation selection to place naviga
and a Help menu 301i.                                          tional objects, such as widget or channel launch strips
   File menu 301a provides access to files on authoring       or selection lists ), a Messages selection to place objects
platform 110 and may include, for example and without 65       for communicating , such as a multiple chat, video chat,
limitation , selections to open a new Application or master    phone and/ or SMS lists or fields, or a pop - up alert, a
page, open a saved Application , Application template , or    Forms selection to place objects such as text fields or


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     areas, check boxes, pull down menus , selection lists ,         and object styles, such as switching between the master page
     and buttons, a Media selection to place pictures, slide         and Application pages and deselecting object styles and
     shows, video or LBS maps, and a Shapes selection                alerts, opening an Edit Styles Dialog Box and deselecting
     having a variety of drawing tools, a Text selection for         any master, Application or alert page , or selecting an alert
     placing text, a search response , or an RSS display , and 5 page and deselecting any Master Page or Application Page .
     Palettes .                                                   A parent or child object can also be selected directly from
  In one embodiment, Tool bar 303 includes a series of               the Canvas. In either case, the Resource Inspector can then
pull-down menus that may include , but are not limited to            be used for modifying any attribute of the selected object .
items from Menu bar 301 organized in the following pull -               Examples of operations provided by page /objects panel
downmenus : a Panelmenu 303a , an Insert Page menu 303b , 10 307a on pages include, but are not limited to : importing
a Navigation menu 303c , a Messages menu 303d , a Forms from either a user 's private page library or a public page
menu 303e , a Media menu 303f, a Shapesmenu 303g, a Text library ; deleting a page; inserting a new page , inheriting all
menu 303h , and a Palettes menu 301i.                        the attributes of the Master Page , and placing the new page
   Panelmenu 303a permits a user of authoringplatform 110 at any location in the Page List; editing the currently selected
to change the appearance of interface 300 by, controlling 15 page, by working with an Edit Page Dialog Box . While
which tools are on the interface or the size of canvas 305 . editing all the functions of the Resource Inspector 309 are
Insert Page menu 303b permits a user of authoring platform   available, as described subsequently , but are not applied to
 110 to open a new Application Page . Navigation menu 3030 the actual page until completing the editing process.
displays a drop down menu of navigational-related objects      Examples ofoperations provided by of page /objects panel
such as a widget or channel launch strip or selection list . 20 307a on objects , which may be user interface (UI) objects ,
Messages menu 303d displays a drop down menu of mes                  include but are not limited to : changing the drawing order
saging -related objects such as multiple chat, video chat,           layer to : bring to the front, send to the back , bring to the front
phone or SMS lists or fields, and pop -up alerts . Formsmenu one layer, or send to the back one layer; hiding (and then
303e displays a drop down menu of forms-related objects                 reshowing ) selected objects to show UI objects obstructed
including, but not limited to , a text field , a text area , a check 25 by other UI Objects , delete a selected UI Page Object, and
box, a drop downmenu , a selection list , a submit button , and      editing the currently selected page , by working with a Edit
a clear button .Media menu 303f displays a drop down menu            Page Dialog Box .
of media-related objects including, but not limited toa ,             O bject styles panel 307b of layer inspector 307 displays
picture , slide show , video or LBS map . Shapes menu 303g           all styles on the Applications Page and permits operations to
displays a drop down menu of draw tools , basic shapes , 30 be performed on objects , and is similar to panel 307a .
different types of lines and arrows and access to a shape            Examples of operations provided by object style panel 3076
library . Text menu 303; displays a drop down menu of                include , butare not limited to : importing from either a user's
text- related objects , including but not limited to a text          private object library or a public object library ; inserting a
button , paragraph , search response, RSS display and vari           new object style , which can be inherited from a currently
ables such as time and date .                                     35 selected object, or from a previously defined style object ;
   Palettes menu 301i includes a selection of different pal-         and editing a currently selected object style by working with
ettes that can be moved about publisher interface 300, where         an Edit Style Dialog Box .
each palette has specialized commands for making adjust -              Style attributes can be assigned many attributes , including
ments or associations to objects easier. Palettes include , but      the look , and behavior of any object that inherits these
are not limited to : a page view palette , to permit easy 40 objects . In addition , List Layout Styles can be created or
movement between Applications Pages ; a view palette , to            changed as required . A layout style can define a unbounded
execute an Application or zoom or otherwise control the              set of Complex List Layouts , including but not limited to :
viewing of an Application ; a commands palette having                the number of lines per item in a list, the number of text and
editing commands ; a color palette for selection of object           image elements and their location for each line for each item
colors , and a shapes palette to facilitate drawing objects .     45 in the last, the color and font for each text element, and the
  Layer inspector 307 permits a user of publisher interface          vertical and horizontal offset for each image and text ele
300 to navigate , select and manipulate UI objects on Appli          ment.
cations Pages . Thus, for example , a Page/ objects panel 307a         Alerts Panel 307c provides a way of providing alert pages ,
of layer inspector 307 has a listing that may be selected to         which can have many of the attributes of Application Pages ,
choose an Applications Pages within and Application , and 50 but they are only activated through an Event such as a user
UI objects and styles within an Applications Page . An Object        interaction , a network event, a timer event, or a system
styles panel 307b of layer inspector 307 displays all styles on      variable setting, and will be superimposed onto whatever is
the Applications Page and permits selection ofUI objects for         currently being displayed . Alert Pages all have transparent
operations to be performed on the objects .                          backgrounds, and they function as a template overlay, and
   Thus, for example , when objects from Menu bar 301 or 55 can also have dynamic binding to real time content.
Tool bar 303 are placed on canvas 305 , the name of the                 Resource inspector 309 is the primary panel for interac
object appears in Page/objects panel 307a . Pagelobjects             tively working with UI objects that have been placed on the
panel 307a includes a page display 307al and an objects              Canvas 305 . When a UI object is selected on Canvas 305 , a
display 307a2 . Page display 307al includes a pull down              user of authoring platform 110 may associate properties of
menu listing all Applications Pages of the Application , and 60 the selected object by entering or selecting from resource
objects display 307a2 includes a list of all objects in the inspector 309. In one embodiment, resource inspector 309
 Applications Page (that is , objects on canvas 305 ) .         includes five tab selections : Setting Tab 309a , Events Tab
    In general, page /objects panel 307a displays various 309b , Animation Tab 309c , Color Tab 309d which includes
associations with a UI object and permits various manipu - a color palette for selecting object colors, and Bindings Tab
lations including , but not limited to , operations for parent 65 309e .
and child objects that are assigned to a page, and operations       Settings Tab 309a provides a dialog box for the basic
for object styles, and permits navigating between page types         configuration of the selected object including, but not lim


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ited to , name, size, location , navigation and visual settings . Object Selected Audio Setting 309b4 of Inactive , Play Once ,
Depending upon the type of object , numerous other attri-         Loop , and other responses are presented . When Mouse State
butes could be settable . As an example, the Setting Tab for Fire is chosen , Object Selected Audio Setting 309b4 is
a Text Field may include dialog boxes to define the text field replaced with FIRE Audi Setting , with appropriate choices
string, define the object style , set the font name, size and 5 presented .
effects. set an obiect name frame style . frame width . text                 W hen Work with Child Objects and Mouse Overs button
                                                                309b5 is selected , a Child Object Mode box pops up ,
attributes (text field , password field , numeric field , phone allowing
number, SMS number, URL request ).                                         a user to create a child object with shortcut to Menu
   As an example of Setting Tab 309a , FIG . 3B shows           bar  301  actions  thatmay be used define child objects .
various selections including, but not limited to , setting 10 309c FIG . 3D illustrates one embodiment of an Animation Tab
                                                                     , which includes all animations and timelines . The
309al for the web page name, setting 309a2 for the page         Color  Tab includes all the possible color attributes , which
size , including selections for specific devices 130 , setting may vary      significantly by object type.
309a3 indicating the width and height of the object, and          Animation Tab 309c includes settings involved in anima
setting 309a4 to select whether background audio is present 15 tion and timelines that may be associated with objects . One
and to select an audio file .                                  embodiment     of Animation Tab 309c is shown, without
   FIG . 3C illustrates an embodiment of the Events Tab        limitation in FIG . 3D and is described in Rempell ( Rem
309b , which includes all end user interactions and time pell” ).
based operations . The embodiment of Events Tab 309b in           A Color Tab 309d includes a color palette for selecting
FIG . 3C includes , for example and without limitation , an 20 obiect colors.
Events and Services 309b1, Advanced Interactive Settings          Bindings Tab 309e is where web component operations
309b2 , Mouse State 309b3, Object Selected Audio Setting are defined and dynamic binding settings are assigned . Thus ,
309b4 , and Work with Child Objects and Mouse Overs                         for example , a UI object is selected from canvas 305 , and a
button 309b5 .                                                  web component may be selected and configured from the
   Events and Services 309b1 lists events and services that 25 bindings tab . When the user ' s work is saved , binding infor
may be applied to the selected objects . These include, but
                                                        but are mation is associated with the UI object that will appear on
not limited to , going to external web pages or other Appli scree
                                                                screen 137.
cations pages , either as a new page or by launching a new         FIG . 3E illustrates one embodiment of Bindings Tab and
window , executing an Application or JavaScript method ,                    includes, without limitation , the following portions: Web
pausing or exiting, placing a phone call or SMS message , 30 Component and Web Services Operations 309e1 , Attributes
with or without single or multiple Player download , show                   Exposed list 309e2 , panel 309e3 which includes dynamic
launch strip , or go back to previous page. Examples of                     binding of server -side data base values to attributes for the
events and services include , but are not limited to those                  selected obiect. Default Attribute Value 309e4 . Database
listed in Table II                                                          Name 309e5 , Table Name 309e6 , Field Name 309e7 , Chan
                                                                         35 nel Name 309e8 , Channel Feed 309e9 , Operation 309e10 ,
                                   TABLE II                                 Select Link 309e11 , and Link Set checkbox 309e12 .
                             Events and Services                              Web Component and Web Services Operations 309e1
                                                                            includes web components that may be added , edited or
Goto External Web Page                ChoiceObject: Remove Icon from        removed from a selected object. Since multiple web com
replacing Current Frame              Launch Strip                        40 ponents can be added to the same object, any combination
Goto External Web Page               Goto a specific Internal Web Page      of mash -ups of 3rd party web services is possible . When the
Launched in a New Window             with Alert. “ Backend
                                  Synchronization”                          “ Add ” button of Web Component and Web Services Opera
Goto a specific Internal Web Page Goto Widget Object
Goto the next Internal Web Page Generate Alert . “ With a Fire Event"
                                                                            tions 309el is selected , a pop -up menu 319 , as shown in
Goto External Web Page            Send SMS Message from Linked              FIG . 3F , appears on publisher interface 300 . Pop - up menu
replacing the Top Frame            Text Field                            45 319 includes, but is not limited to , the options of: Select a
Execute JavaScript Method           Toggle Alert. “ Display OnFocus,        Web Component 319a ; Select Results Page 319b ; Activation
                                  Hide OffFocus"                            Options 319c ; Generate UI Objects 319d ; and Share Web
Pause /Resume Page Timeout        Execute an Application with Alert .       Component 319e .
                                  “ With a Fire Event”                         The Select a Web Component 319a portion presents a list
Execute an Application            Goto Logical First Page
Goto a specific Internal Web      Generate Alert with Backend            50 of web components . As discussed herein , the web compo
Page with setting starting slide
Exit Application
                                  Synchronization                           nents are registered and are obtained from web component
                                  Send SMS Message with Share               registry 220 .
                                   (Player Download )
Exit Player                       Place PhoneCall from linked Text             Select Results Page 319b is used to have the input and
                                  Field with Share (Player Download )       output on different pages — that is , when the Results page is
Place PhoneCall from linked        Send IM Alert from linked Text        55 different from Input page . The default selected results page
 Text Field                       Field or Text Area                        is either the current page, or, if there are both inputs and
 Text Field /Area : Send String   Set and Goto Starting Page                outputs, it will be set provisionally to the next page in the
on FIRE
ChoiceObject : Add Icon to            Populate Image                        current page order , if one exists .
Launch Strip                                                                   Activation Options 319c include , if there are no Input UI
Text Field/ Area: Send String on      Preferred Launch Strip             60 Objects, a choice to either “ Preload " the web component,
FIRE or Numeric Keys                                                        similar to how dynamic binding, or have the web component
                                                                            executed when the “ Results ” page is viewed by the con
   Advanced Interactive Settings 30962 include Scroll Acti sumer.
vation Enabled , Timeline Entry Suppressed , Enable Server      Generate UI Objects 319c, if selected , will automatically
Listener, Submit Form , Toggle Children on FIRE , and Hide 65 generate the UI objects. If not selected , then the author will
Non -related Children , Mouse State 309b3 selections are bind the Web Component Inputs and Results to previously
Selected or Fire . When Mouse State Selected is chosen ,                    created UI Objects .



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   Share Web Component 319e is available and will become            110 is used to design layout 410. Authoring platform 110
selected under the following conditions: 1 ) Web Component          then generates an Application and a Player specific to device
is Selected which already has been used by the current              130 of FIG . 4B . The Application and Player are thus used by
Application ; or 2 ) the current Input page is also a “ Result”     device 130 to produce layout 420 on screen 137 .
page for that Web component. This permits the user of 5 As illustrated in FIG . 4A , a user has placed the following
device 130 , after viewing the results, to extend the Web on canvas 305 to generate layout 410 : text and background
Component allowing the user to make additional queries              designs 411 , a first text input box 413 , a second text input
against the same Web Component. Examples of this include, box 415 , and a button 417 . As an example which is not
but are not limited to , interactive panning and zooming for meant to limit the scope of the present invention , layout 410
a Mapping Application , or additional and or refined searches 10 is screen prompts a user to enter a user name in box 413 and
for a Search Application .                                          a password in box 415 , and enter the information by clicking
  Dynamic Binding permits the binding of real time data ,           on button 417 .
that could either reside in a 3rd party server-side data base ,        In one embodiment, all UI objects are initially rendered as
or in the database maintained by Feed Collector 1010 for Java objects on canvas 305 . When the Application is saved ,
aggregating live RSS feeds, as described subsequently with 15 the UI objects are transformed into the PDL , as described
reference to FIG . 10 .                                       subsequently.
  Referring again to FIG . 3E , Attributes Exposed list 309e2          Thus , for example , layout 410 may be produced by the
are the attributes available for the selected object that can be    user of authoring platform 110 selecting and placing a first
defined in real time through dynamic binding.                   Text Field as box 413 then using the Resource Inspector 309
   Panel 309e3 exposes all the fields and tables associated 20 portion of interface 300 to define its attributes .
with registered server -side data bases . In one embodiment, Device User Experience
the user would select an attribute from the " Attributes          Systems 100 and 200 provide the ability for a very large
Exposed List” and then select a data base , table and field to number of different types ofuser experiences . Some of these
define the real time binding process. The final step is to           are a direct result of the ability of authoring platform 110 to
define the record . If the Feed Collector data base is selected , 25 bind UI objects to components ofweb services . The follow
for example , then the RSS “ Channel Name” and the “ Chan - ing description is illustrative of some of the many types of
nel Feed” drop down menus will be available for symboli              experiences of using a device 130 as part of system 100 or
cally selected the record . For other data bases the RSS 200 .
“ Channel Name” and the “ Channel Feed ” drop down menus               Device 130 may have a one or more of a very powerful
are replaced by a “ Record ID ” text field .                      30 and broad set of extensible navigation objects , as well as
  Default Attribute Value 309e4 indicates the currently             object- and pointer- navigation options to make it easy to
defined value for the selected attribute . It will be overridden    provide a small mobile device screen 137 with content and
in real time based on the dynamic linkage setting .                 to navigate easily among page views, between Applications,
   Database Name 309e5 indicates which server side data or within objects in a single page view of an Application .
base is currently selected.                                  35 Navigation objects include various types of launch strips,
   Table Name 309e6 indicates which table of the server side various intelligent and user- friendly text fields and scrolling
data base is currently selected .                              text boxes, powerful graphical complex lists, as well as
   Field Name 309e7 , indicates which field form the selected Desktop - level business forms. In fact, every type of object
table of the server side data base is currently selected .     can be used for navigation by assigning a navigation event
   Channel Name 309e8 indicates a list of all the RSS feeds 40 to it. The authoring tool offers a list of navigation object
currently supported by the Feed Collector. This may be              templates , which then can be modified in numerous ways .
replaced by “ Record ID ” if a data base other than the Feed        Launch Strips and Graphical List Templates Launch Strips
Collector 1010 is selected .                                     Launch strips may be designed by the user of authoring
   Channel Feed 309e9 indicates the particular RSS feed for platform 110 with almost no restrictions. They can be
the selected RSS Channel. Feed Collector 1010 may main - 45 stationary or appear on command from any edge of the
tain multiple feeds for each RSS channel.                      device , their size , style , audio feedback , and animations can
   Operation 309e10 , as a default operation , replaces the be freely defined to create highly compelling experiences .
default attribute value with the real time value . In other      FIG . 5 shows a display 500 of launch strips which may be
embodiments this operation could be append, add , subtract,    on displayed canvas 305 or on screen 137 of device 130
multiply or divide.                                         50 having the proper Player and Application . Display 501
   Select Link 309e11 a button that, when pressed , creates      includes a portal-type Launch Strip 501 and a channel- type
the dynamic binding. Touching the “ Select Link " will cause     Launch Strip 502, either one of which may be included for
the current data base selections to begin the blink is some navigating the Application .
manner, and the “ Select Link ” will change to “ Create Link ” .   Launch Strip 501 includes UI objects 501a , 501b , 501c ,
 The user could still change the data base and attribute 55 501d , and 50le that that becomes visible from the left edge
choices . Touching the “ Create Link ” will set the “ Link Set”     of the display , when requested . UIobjects 501a , 501b , 501c ,
checkbox and the “ Create Link ” will be replaced by “ Delete       501d , and 501e are each associated , through resource
Link ” if the user wishes to subsequently remove the link .         inspector 309 with navigational instructions , including but
When the application is saved , the current active links are        not limited to navigating to a different Applications Page, or
used to create the SPDL .                                 60 requesting web content. When the Applications Page, having
   Link Set checkbox 309e12 indicates that a link is cur- been saved by authoring platform 110 and transferred to
rently active .                                              display 130 , is executed on device 130 , a user of the device
   An example of the design of a display is shown in FIGS. may easily navigate the Application .
4A and 4B according the system 100 , where FIG . 4A shows              Launch Strip 502 includes UI objects 502b , 502c, 502d ,
publisher interface 300 having a layout 410 on canvas 305 , 65 and 503e that that becomes visible from the bottom of the
and FIG . 4B shows a device 130 having the resulting layout         display , when requested . UI objects 501a, 501b , 501c , 501d ,
420 on screen 137 . Thus, for example , authoring platform          and 501e are each associated , through resource inspector


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309 with navigational instructions, including butnot limited phone or one that is on the desktop but dynamically linked
to navigating to a different Applications Page , or requesting to the user's other internet connected devices.
web content. Launch Strip 502 also includes UI objects 502a              To support many personalization functions there must be
and 503g, which include the graphic of arrows, and which a convenient method for maintaining, both within a user 's
provide access to additional navigation objects ( not shown) 5 session , and between sessions , memory about various user
when selected by a user of device 130 . Launch strip 502 may mechanismchoices and events. Both utilizing a persistent storage
also include sound effects for each channel when being a server, mayon betheemployed      device , or a database for user profiles on
                                                                                                    .
selected , as well as popup bubble help .
   Additional navigational features are illustrated in FIG . 6A 10 on displayed canvas 305 or onofscreen
                                                                        FIG  . 7 shows  a display  700     a mash - up which may be
                                                                                                                 137 of device 130
as a display of a Channel Selection List 601a , in FIG . 6B as having the proper Player and Application                . Display 700
a display of a Widget Selection List 601b , and in FIG . 6C as        includes several object 701 that have been dynamically
display of a Phone List 601c. Lists 601a , 6016 , and 6010
may be displayed on canvas 305 or on screen 137 of device bound             , including an indication of time 701a , an indication of
                                                                      unread textmessages 701b , an RSS news feed 701c (includ
 130 having the proper Player and Application. As lustrated
                                                    illustrated ,, 15 ing 2 “ ESPN Top Stories ” 701c1 and 70102 ), components
graphical lists 601a , 601b , and 601c may contain itemswith
many possible textand image elements. Each element can be Weatherfrom Channel
                                                                      701d         two Web Services a weather report (“ The
                                                                                           ”), and a traffic report 701e
defined at authoring time and/or populated dynamically
                noring time and / or populated aynamically           (“ TRAFFIC .COM ” ) .
through one or more Web Service 250 or API. Assignable                  In assembling the information of display 700 , device 130
Navigation Events. All objects, and /or all elements within an 20 is aware of the time and location of the device in this
object, can be assigned navigation events that can be example the display is for a workday when a user wakes .
extended to registered web services or APIs . For example , a     Device 130 has been customized so that on a work day
Rolodex -type of navigation event can dynamically set the morning the user wishes to receive the displayed informa
starting slide of the targeted page view (or the starting view    tion . Thus in the morning, any messages received overnight
of a targeted Application ).                                   25 would be flagged , the user 's favorite RSS sports feeds would
   In the embodiment of FIGS . 6A , 6B , and 6C , each list be visible, today 's weather forecast would be available , and
601a, 601b , and 601c has several individual entries that are     the current traffic conditions between the user 's home and
each linked to specific actions . Thus Channel Selection List office would be graphically depicted . User personalization
601a shows three objects, each dynamically linked to a web       settings may be maintained as persistent storage on device
service (ESPN , SF 49ers, and Netflix ) each providing a link 30 130 when appropriate , or in a user profile which is main
to purchase or obtain items from the Internet. Widget               t ained and updated in real -time in a server -side data base .
Selection List 601b includes several objects presenting              Push Capable Systems
different widgets for selecting. Phone List 601c includes a            In another embodiment system 100 or 200 is a push
list phone number objects of names that, when selected by            capable system . As an example , of such systems, short codes
a user of device 130 cause the number to be dialed Entries 35 may be applied to cereal boxes and beverage containers, and
in Phone List 601c may be generated automatically from              SMS text fields can be applied to promotional websites . In
either the user 's contact list that is resident on the device , or either case , a user of device 130 can text the short code or
though a dynamic link to any of user' s chosen server -side          text field to an SMS server , which then serves the appro
facilities such as Microsoft Outlook , Google Mail, etc . In         priate Application link back to device 130 .
one embodiment, Phone List 601c may be generated auto - 40              FIG . 8 is a schematic of an embodiment of a push enabled
matically using a web component assigned to the Applica -            system 800 . System 800 is generally similar to system 100
tion , which would automatically perform those functions .           or 200 . Device 130 is shown as part of a schematic of a push
   In another embodiment, authoring platform 110 allows a            capable system 800 in FIG . 8 . System 800 includes a website
navigation selection of objects with a Joy Stick and /or             system 801 hosting a website 801, a server 803 and a content
Cursor Keys in all 4 directions. When within a complex 45 server 805 . System 801 is connected to servers 803 and / or
object the navigation system automatically adopts to the     805 through the Internet. Server 803 is generally similar to
navigation needs for that object. For coordinate sensitive   server 120 , servers 805 is generally similar to server 140 .
objects such as geographical information services (GIS ) and    In one embodiment, a user sets up a weekly SMS update
location - based services (LBS ) or virtual tours a soft cursor      from website system 801. System 801 provides user infor
appears. For Lists , scrolling text areas and chats , Launch 50 mation to server 803, which is an SMS server, when an
strips , and slide shows the navigation process permits intui-       update is ready for delivery . Server 803 provides device 130
tive selection of elements within the object. Scroll bars and        with an SMS indication that the subscribed information is
elevators are optionally available for feedback . If the device      available and queries the user to see if they wish to receive
has a pointing mechanism then scroll bars are active and             the update . Website 801 also provides content server 805
simulate the desktop experience .                                 55 with the content of the update . When a user of device 130
Personalization and Temporal Adoption                                responds to the SMS query , the response is provided to
   System 100 and 200 permit for the personalization of              content server 805 , which provides device 130 with updates
device 130 by a variety of means. Specifically , what is             including the subscribed content.
displayed on screen 137 may depend on either adoption or                In an alternative embodiment of system 800 , server 803
customization . Adoption refers to the selection of choices, 60 broadcasts alerts to one or more devices 130 , such as a
navigation options, etc . are based on user usage patterns.          logical group of devices . The user is notified in real-time of
 Temporal adoption permits the skins, choices, layouts , con -       the pending alert, and can view and interact with the
tent. widgets , etc . to be further influenced by location (for      massage without interrupting the current Application .
example home, work or traveling) and time of day (includ -             FIG . 9 is a schematic of an alternative embodiment of a
ing season and day of week ). Customization refers to user 65 push enabled system 900 . System 900 is generally similar to
selectable skins, choices, layouts, dynamic content, widgets,        system 100, 200 , or 800 . In system 900 a user requests
etc . that are available either through a customization on the       information using an SMS code , which is delivered to device



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130. System 900 includes a promotional code 901 , a third -       Based Field Extraction 1019, Rule- based Field Extraction
party server 903 , and content server 805. Server 803 is          1020 , Channel Data Controller 1021, and Database 1022 .
connected to servers 803 and /or 805 through the Internet,     The feed collector is primarily driven by two sets of
and is generally similar to server 120 .                    parameters : one is the database schema (written as SQL
   A promotional code 901 is provided to a user of device 5 DDL ) which defines the tables in the database , as well as
130, for example and without limitation , on print media ,        parameters for each of the feeds to be examined . The other
such as on a cereal box . The use of device 130 sends the code    is the feed collection rules, written in XML, which can be
server 903 . Server 903 then notifies server 805 to provide       used to customize the information that is extracted from the
certain information to device 130 . Server 805 then provides      feeds . Each of the feeds is collected at intervals specified by
device 130 with the requested information .                       the feed parameter set in the SQL DDL .
Device Routines                                                     Feed collector 1010 accepts information from ATOM ,
  Device routines 114 may include , but are not limited to :      RDF or RSS feed sources 1001. Using a rules -based popu
an authoring tool SDK for custom code development includ - lator, any of these feeds can be logically parsed , with any
ing full set of Java APIs to make it easy to add extensions 15 type of data extraction methodology , either by using sup
and functionality to mobile Applications and tie Applica - plied rules, or by the author defining their own custom
tions to back -end databases through the content server 140 ;     extraction rule . The rules are used by the parser to parse
an expanding set of web services 250 available through the        from the feed sources, and the custom rule base field
authoring tool SDK ; a web services interface to SOAP /XML        extraction replaces the default rules and assembles the
enabled web services ; and an RSS/Atom and RDF feed 20 parsed information into the database
collector 1010 and content gateway 1130 .                     In particular, Atom Populator Rule 1012 , RSS Populator
Authoring Tool SDK for Custom Code Development Includ -    Rule 1013 , RDF Populator Rule 1014 , Custom Populator
ing Full Set of Java APIs                                  Rule 1016 , and DOM XML Parsers 1011 , 1015 , and 1017
   In one embodiment, authoring platform 110 SDK is        are parse information from the feeds 1001, and Feed Pro
compatible for working with various integrated develop- 25 cessed Data Writer 1018 , Custom Rule Based Field Extrac
ment environments (IDE ) and popular plug ins such as             tion 1019 , Rule - based Field Extraction 1020, and Channel
 J2ME Polish . In one embodiment the SDK would be another         Data Controller 1021 , supply the content of the feeds in
plug in to these IDEs. A large and powerful set of APIs and       Database 1022 , which is accessible through content server
interfaces are thus available through the SDK to permit the       140.
seamless extension of any Application to back end business 30        FIG . 11 is a schematic of an embodiment of a system 1100
logic , web services, etc . These interfaces and APIs may also    having a Mobile Content Gateway 1130 . System 1100 is
support listeners and player-side object operations.              generally similar to system 100 , 200 , 800 , 900 , or 1000 .
   There is a large set of listeners that expose both player      System 1100 includes an SDK 1131, feed collector 1010 ,
side events and dynamically linked server side data base          database listener 1133 , transaction server 1134 , custom code
events . Someexamples of player side events are : player- side 35 1135 generated from the SDK , Java APIs , Web Services
time based event, a page entry event, player -side user           1137, and PDL snippets compacted objects 1139 . System
interactions and player-side object status . Examples of          1100 accepts input from Back End Java Code Developer
server -side data base events are when a particular set of        1120 and SOAP XML from Web Services 1110 , and pro
linked data base field values change , or some filed value vides dynamic content to server 140 and Players to devices
exceeds a certain limit, etc .                            40 130 .
   A superset of all authoring tool functionality is available       In one embodiment authoring platform 110 produces a
through APIs for layer -side object operations. These include ,   Server- side PDL (SPDL ) at authoring time. The SPDL
but are not limited to : page view level APIs for inserting,      resides in server 120 and provides a logical link between the
replacing, and or modifying any page object ; Object Level        Application 's UI attributes and dynamic content in database
APIs for modifying any attribute of existing objects, adding 45 1022 . When a user of device 130 requests dynamic infor
definitions to attributes, and adding , hiding or replacing any   mation , server 120 uses the SPDL to determine the link
object .                                                          required to access the requested content .
Authoring Tool SDK Available Web Services                               In another embodiment Web Services 1137 interface
   The APIs permit, without limit, respond , with or without         directly with 3rd party Web Services 1110 , using SOAP,
relying on back -end business logic , that is, logic that what an 50 REST, JAVA , JavaScript , or any other interface for dynami
enterprise has developed for their business , to any player       cally updating the attributes of the Application ' s UI objects .
side event or server- side dynamically linked data -base ,        XSP Web Pages as a Web Service
incorporating any open 3rd party web service (s) into the           In one embodiment, a PDL for a page is embedded within
response .                                                        an HTML shell, forming one XSP page . The process of
RSS/ATOM and RDF Feed Conversion Web Service                   55 forming XSP includes compressing the description of the
   FIG . 10 is a schematic of one embodiment a system 1000 page and then embedding the page within an HTML shell.
having a feed collector 1010 . System 1000 is generally              In another embodiment, a PDL , which contains many
similar to system 100 , 200, 800 , or 900 . Feed collector 1010 individual page definitions, is split into separate library
is a server side component of system 100 that collects RSS , objects on the server, so that each page can to presented as
ATOM and RDF format feeds from various sources 1001 60 a PDL as part of a Web Service .
and aggregates them into a database 1022 for use by the      Prior to compression the code has already been trans
Applications built using authoring platform 110 .          formed so that there are no dependencies on the original
   Feed collector 1010 is a standard XML DOM data extrac   programming language ( Java ), and The code and data have
tion process , and includes Atom Populator Rule 1012 , RSS been reduced by 4 to 10 times.
Populator Rule 1013 , RDF Populator Rule 1014 , and Cus- 65 Compression has two distinct phases. The first takes
tom Populator Rule 1016 , DOM XML Parsers 1011 , 1015 , advantage of how the primitive representations had been
and 1017 , Feed Processed Data Writer 1018 , Custom Rule          assembled , while the second utilizes standard LZ encoding.



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   The final result is an overall reduction of 40 to 100 times      process ), and concludes with the actual uploading of all the
the original size as represented by Java serialized objects .       necessary web site run time files to the user's server.
  One embodiment for compacting data that may be used is.             In one embodiment, the PDL includes a first record , a
described in Rempell. In that patent the compressed data is         “Header ” record , which contains can include the following
described as being a database . The terminology used here is 5 information :
a PDL , that is the “ internal database ” of Rempell is equiva -       1: A file format version number, used for upgrading
lent to the PDL of the present Application .                        database in future releases.
    In Rempell , a process for compacting a “ database ” (that     2 : The default screen resolution , in virtual pixels, for both
is, generating a compact PDL ) is described , wherein data      the screen width and height. This is usually set to the web
objects , including but not limited to , multi media objects 10 designer 's screen resolution , unless overwritten by the user.
such as colors, fonts , images , sound clips, URLs, threads,       3 : Whether the Application is a web site .
and video , including multi level animation , transformation ,     4 : Virtual web page size settings. A calculation is per
and time line are compacted . As an extension to Rempell in        f ormed by the build engine method , in order to calculate
all cases these objects are reduced and transformed to what the maximum web page length is, after reformatting all
Boolean , integer and string arrays.                  15 paragraphs on all internal web pages, based on the default
   The compression technique involves storing data in the           screen resolution .
smallest arrays necessary to compactly store web page                  5 : Web page and styles high watermarks.
information . The technique also includes an advanced form             6 : The Websitename.
of delta compression that reduces integers so that they can       As new web pages or new objects are created by the user,
be stored in a single byte , a as high water marks.         20 or as text is added to or deleted from a paragraph , or as new
   Thus, for example , the high water mark for different types      styles are created or deleted , appropriate high watermarks
of data comprising specific web site settings are stored in a       are set, in order to show the current number of each of these
header record as Boolean and integer variables and URL and          entities . Thus, the values for the number of active web pages
color objects . Data that defines web page , paragraph , text       and the number of text button , image , paragraph or other
button , and image style and text button , image and para - 25 styles are written as high watermarks in the header. The high
graph high watermark settings can be stored in one -dimen - watermarks for the number of text button , image, paragraph
sional arrays as Boolean , integer and string variables and       or other objects that exist for each web page , the number of
URL , font, image or thread objects at. The URL , color, font, lines for each paragraph object, and the number of line
image and thread objects can also be created as required          segments for each paragraph line are written within the body
  Data that defines text button , image , paragraph , or other 30 of the PDL , and used as settings for each of the loops in the
parent objects and paragraph line high watermark settings            four-dimensionaldata structure . Because no structural limits
can be stored in two - dimensional arrays (by web page and          are set on the number of web pages , objects per web page ,
by object number ) as Boolean , integer, string, floating point     styles , or paragraph size , these high watermarks greatly
variables and URLs. Again , the URL , color, font, image ,          reduce the external database file size , and the time it takes
audio clip , video clip , text area and thread objects can also 35 for the run time engine to process the data stored in its
be created as required . Data that defines a paragraph line and     database .
paragraph line segment high watermarks can be stored in                The settings for all paragraph, text button and image
three -dimensional arrays (by web page , by paragraph num -          styles are then written as a style record based on their high
ber, and by line number) as Boolean , integer or string             watermark . This data includes Boolean and integer vari
variables. Again , the URL , color or font objects can be 40 ables , and font and color objects , written as a one- dimen
created as required . Data that defines a paragraph line     sional array , based on the high watermark values for the
segment can be stored into four -dimensional arrays (by web         number of styles that exist .
page, by paragraph number, by line number and by line                  The body of the PDL is then written . All Boolean values
number segment) as Boolean , integer or string variables or         are written inside a four -dimensional loop . The outside loop
URL , color and font objects .                               45 contains the Boolean values used to define web pages (i.e . a
  As a data field is added , changed or deleted , a determi-    one -dimensional array definition ) as well as the high water
nation is made at on whether a value for a given high               marks for the number of text button , image, paragraph or
watermark needs to be changed . If so , it is updated . As a        other objects per web page , with the loop set at the high
specific method in the build engine is called , a determination     watermark which defines the number of existing web pages
is made on whether a feature flag needs to be set. For 50 for this web site structure. The second level consists of three
example , if a particular JAVA method is called, which              or more two dimensional loops with the loops set to the high
requires an instance of a certain JAVA Class to be executed         watermarks defining the actual number of text button ,
by the run time engine , then that JAVA Class is flagged , as       image, and paragraph or other objects that appear on any
well as any supporting methods, variables and /or object given web page and contains the values used to define web
definitions .                                                     55 page objects ( i.e . a two - dimensional array definition ; web
    In one implementation , the header record , the style record , page number by object number). Included within the loop
 the web page record , and the object records, are carefully for paragraph objects are the high watermarks for the
defined in a specific order, written in that order, and explic       number of lines for each paragraph object. The third loop is
itly cast by object type when read by the run time engine . set by the high watermark defining the actual number of
Exception handling can be implemented to recover from any 60 paragraph lines that for all paragraphs on any web page and
errors . This helps assure that data integrity is maintained        contains the values used to define paragraph lines (i. e . a
throughout the build and run time processes .                       three - dimensional array definition ; web page number by
   Also described in Rempell is the “ run generation pro      object number by paragraph line .) Included within the loop
cess .” This is equivalent generating a Player in the present for paragraph lines are the high watermarks for the number
application. This process starts when the build process 65 of line segments for each paragraph line . The inner most
detects that the user is finished defining the web site (user loop is set by the high watermarks defining the number of
has saved the web site and invokes the run generation line segments per paragraph line and contains the values


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used to define paragraph line segments (i.e . a four- dimen -       resolution settings are placed in an appropriate HTML
sional array definition ; web page number by object number          compliant string . If the Application is a banner or other
by paragraph line by paragraph line segment).                       customized Application , the absolute values for the run time
   All integer values are written inside a four-dimensional         object (applet size ) height and width are placed in an
loop . Their four loops are controlled by the same high 5 appropriate HTML compliant string as absolute width and
watermark settings as used for the Boolean records, and they        height values .
describe the same logical entities.                                    An analysis is made for the background definition for the
  Multimedia objects are written inside a two -dimensional          first internal web page. If a background pattern is defined , an
loop . They include URL , color, and font objects , and can     appropriate HTML compliant string for setting the HTML
include other types of objects . A URL object is the encoded 10 “ background " to the samebackground image is generated . If
form of a URL Address , used by a web browser or a JAVA             the first web page definition is a color instead , then the RGB
method to access files and web addresses. All multimedia       values from those colors are converted to hexadecimal and
objects must be serialized before they can be written . This   an appropriate HTML compliant String is generated setting
means that the objects are converted into a common external the “ bgcolor ” to the required hexadecimal value . This pro
definition format that can be understood by the appropriate 15 cess synchronizes the web page background with the back
deserialization technique when they are read back in and            ground that will be drawn by the web browser when it first
cast into their original object structure . The outside loop        interprets the HSF .
contains web page related objects, and the inner loop con              Thereafter, a JAVA method generates HTML and
tains image , text button, paragraph , etc . related URL , color, JavaScript compliant strings, that when executed by a web
and font objects. The outer loop is defined by the web page 20 browser, generate additional sets of HTML and JavaScript
high watermark and the inner loops by the high watermarks compliant strings that are again executed by the web
for the actual number of text button , image, paragraph or browser. More specifically, if the Application required
other objects on a web page .                                     dynamic web page and object resizing then JavaScript and
  String records are written inside a four- dimensional loop . HTML compliant strings are generated so that, when inter
The outer loop may be empty . The second loop can include 25 preted by the web browser at the time the HTML Shell File
the string values for text button objects , audio and video         is initialized , the screen resolution sensing JAVA applet
filenames, and audio and video channel names. The third             (SRS ) will be executed . JavaScript code is generated in
loop contains values for paragraph line related data, and the       order to enable JavaScript to SRS applet communication . In
innermost loop contains the values for paragraph line seg -   one implementation , the code is generated by performing the
ment definitions. The string records are controlled by the 30 following functions :
samehigh watermarks as those used for Boolean and integer              1 : Determine the current web browser type .
records. String records are stored utilizing an appropriate            2 : Load the SRS from either a JAR or CAB File , based on
field delimiter technology. In one implementation , a UTF                web browser type.
encoding technology that is supported by JAVA is utilized .           3 : Enter a timing loop, interrogating when the SRS is
   Single and double floating -point, and long integer records 35        loaded .
are written inside a two -dimensional loop . The outer loop           4 : When the SRS returns an “available ” status, interrogate
may be empty . The inner loop containsmathematical values                 the SRS , which will return the current screen and
required for certain animations and image processing algo                window 's actual height and width .
rithms. The single and double floating- point, and long               5 : Convert the virtual screen resolution settings into
integer records are controlled by the same high watermarks 40            appropriate absolute screen width and height values.
as those used for Boolean and integer records.                        Strings defining additional JavaScript code are generated
   In one embodiment , a versionizing program analyzes the          that perform the following steps at the time the HSF is
feature flags , and only those variable definitions , defined in    initialized by the web browser:
the “ Main ” object class, relating to the object classes and          1: Generate HTML compliant strings that set the run time
methods that will be executed at run time, are extracted . All 45        engine' s applet size to the appropriate values .
references to object classes that will be called at run time are      2 : Generate an HTML complaint string that contains a
extracted , creating the source code for the run engine                  " param ” definition for linking the run time engine to
"Main " object class that is ready for compilation .                     the PDL .
   All external image, video and audio files are resolved . The       3 : Generate an HTML complaint string , dependent upon
external references can be copied to designated directories , 50          the type of web browser, which causes the current web
either on the user' s local disk or file server. The file                 browser to load either the JAR or the CAB File ( s ).
Pathnames can be changed to reflect these new locations.              4 : Generate JavaScript Code compliant strings that create
During the installation of the build tools, the necessary class           and dynamically write the applet size defining HTML
 libraries are either installed on the local system or made               strings utilizing the JavaScript " document.write ” func
available on the server where the build tools can be option - 55          tion . This dynamically created code causes the web
ally located . The necessary environmental variables are set              browser to execute the run time engine, in the correctly
to permit normal access to the required class libraries .                sized window , from the correct JAR or CAB file, and
    The customized run engine and a library of the referenced            linked to the external database .
run time classes are compiled and converted into byte code .           The writing out the above - generated HTML and
 Finally , the run time engine for the web site is created . The 60 JavaScript compliant strings creates the HSF . The necessary
required set of class objects required at run time is flagged       security policy permissions are asserted , and a “ Website
for inclusion into the CAB / JAR file .                           name” .html file is created .
   Next, an HTML Shell File (HSF ) is constructed . The first       In one embodiment, the processes for creating the CAB
step of this process is to determine whether the dynamic web      and JAR Files is as follows. The image objects , if any, which
page and object resizing is desired by testing the Application 65 were defined on the first internal web page are analyzed . If
setting. If the Application was a web page , and thus requir - they are set to draw immediately upon the loading of the first
ing dynamic web page and object resizing, virtual screen            web page , then they are flagged for compression and inclu


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sion in the CAB and JAR Files . The feature flags are                    In one embodiment, the Response Director operates on a
analyzed to determine which JAVA classes have been com -              network connected computer to provide the correct Player to
piled . These class files are flagged for compression and             a given device based on the information the device sent to
inclusion in the library CAB and JAR Files . Strings that are  it . As an example , this may occur when a device user enters
BAT compliant definitions are created that will, when 5 their phone number into some call-to - action web page . The
executed in DOS, create compressed CAB and JAR Files . device  response director is called and sends an SMS message to the
These CAB and JAR Files contain the compressed versions                 , which responds , beginning the recognition process .
                                                                    FIG . 12 illustrates one embodiment of a system 1200 that
of all necessary JAVA class files , image files, the “ Website includes
name” .class , customized run time engine file , and the “ Web             a response director 210 , a user agent database 1201,
sitename” .dta database file . In one implementation of the 10 an  IP address database 1203 , and a file database 1205 .
                                                               System 1200 is generally similar to system 100, 200 , 800 ,
invention , two BAT files are created . The first , when              900 , 1000, or 1100 .
executed , will create a CAB / JAR file with the “ Website            Databases 1201, 1203 , and 1205 may reside on server
name” .dta database file and the customized "main " run time
engine , excluding all the image and button object animation1 ,; 15 120 , 210 , or any computer system in communication with
                                                                    response  director 210 . System 1200 , any mobile device can
transformation , and image processing code . The second be serviced              , and the most appropriate Application for the
BAT file, when executed , will create a CAB / JAR file with all device will be delivered to the device, based on the char
the library of allll the
                     the reverenced
                         referenced image  and button
                                    image and   button object
                                                        object acteristics of the device .
animation , transformation , and image processing code .              User agent database 1201 includes user agent information
   The necessary security policy permissions for file creation 20 regarding individual devices 130 that are used to identify the
are then asserted , and “ Websitename” .bat and “ Website         operating system on the device. IP address database 1203
namelib ” .bat files are written . The “ Websitename” .bat and identifies the carrier/ operator of each device 130 . File data
“ Websitename” .bat files are then executed under DOS,                base 1205 includes data files that may operate on each
creating compressed “ Websitename” . cab and “ Website - device 130 .
namelib ” .cab files and compressed “ Websitename” jar and 25 The following is an illustrative example of the operation
“ Websitenamelib ” jar files. The HTML Shell File and the             of response director 210 . First, a device 1300 generates an
JAR and CAB files are then , either as an automatic process,          SMS message , which automatically sends an http :// stream
or manually, uploaded to the user 's web site . This completes        that includes handset information and its phone number to
the production of an XSP page thatmay be accessed through             response director 210 . Response director 210 then looks at
a web browser.                                                     30 a field in the http header (which includes the user agent and
Displaying Content on a Device                                   IP address ) that identifies the web browser (i.e., the “ User
Decompression Management                                         Agent” ). The User Agent prompts a database lookup in user
     Authoring platform 110 uses compaction to transform the agent database 1201 which returns data including , but not
code and data in an intelligent way while preserving all of limited to , make , model, attributes, MIDP 1.0 MIDP 2 .0 ,
the original classes , methods and attributes . This requires 35 WAP and distinguishes the same models from different
both an intelligentserver engine and client (handset) Player, countries. A lookup of the IP address in IP address 1203
both of which fully understand what the data means and how       identifies the carrier /operator.
 it will be used .                                                  File database 1205 contains data types, which may
     The compaction technology described above includes include as jadi, jad2, html, wm1/wap2 , or other data types,
transformation algorithms that deconstruct the logic and data 40 appropriate for each device 130 . A list of available Appli
into their most primitive representations, and then reas -            cations are returned to a decision tree , which then returns, to
sembles them in a way that can be optimally digested by               device 130 , the Application that is appropriate for the
further compression processing. This reassembled set of               respective device . For each file type , there is an attributes list
primitive representations defines the PDL of authoring plat           (e.g., streaming video , embedded video , streaming audio ,
form 110 .                                                   45 etc .) to provide enough information to determine what to
   Prior to compression the code has already been trans-        send to the handset.
formed so that there are no dependencies on the original           Response director 210 generates or updates an html or jad
programming language (Java ). The data is then compressed       file populating this text file with the necessary device and
by first taking advantage of how the primitive representa - network dependent parameters , including the Application
tions had been assembled , and then by utilizing standard LZ 50 dependent parameters , and then generate , for example , a
encoding . The final result is an overall reduction of 40 to 100      CAB or JAD file which contains the necessary Player for
times the original size as represented by Java serialized             that device. For example , the jad file could contain the
objects.                                                              operator or device type or extended device -specific func
   The Player , when preparing a page view for execution ,            tions that the player would then become aware of
decompresses and then regenerate the original objects, but 55 If there is an Application that has a data type that device
this time in compliance with the programming APIs of          130 cannot support, for example , video , response director
device 130 . Specifically, device 130 operates on compacted       210 sends an alternative Application to the handset, for
 image pages, one at a time. The cache manager retrieves,         example one that has a slide show instead . If the device
decompresses, and reassembles the compacted page images           cannot support a slide show , an Application might have text
into device objects , which are then interpreted by device 130 60 and images and display a message that indicates it does not
for display on screen 137 .                                       support video .
Response Director                                                   Another powerful feature of response director 210 is its
   In one embodiment, system 100 includes a Response exposed API from the decision tree that permits the over
Director, which determines a user 's handset, fetches the riding of the default output of the decision tree by solution
correct Application from different databases, and delivers a 65 providers . These solution providers are often licensees who
respective highly compressed Application in a PDL format              want to further refine the fulfillment of Applications and
over the air (OTA ) .                                                 Players to specific devices beyond what the default algo



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rithms provide. Solution providers may be given a choice of       scanned to determine if there is content that is likely to be
Applications and then can decide to use the defaults or force     required in as- yet untouched page views. Anticipatory
other Applications.                                               streaming also looks for mapping Applications , where the
  Authoring platform 110 automatically scales Applications        user may zoom or pan next so that map content is retrieved
at publishing time to various form factors to reduce the 5 prior to the user requesting it. For mapping applications,
amount of fragmentation among devices, and the Response           anticipatory streaming downloads a map whose size is
Director serves the appropriately scaled version to the           greater than the map portal size on the device and centered
device . For example , a QVGA Application will automati - within the portal. Any pan operation will anticipatory stream
cally scale to the QCIF form factor. This is important    a section of the map to extend the view in the direction of
because one of the most visible forms of fragmentation 10 the pan while , as a lower priority , bring down the next and
resides in the various form factors of wireless, and particu      prior zoom levels for this new geography . Zooming will
larly mobile , devices, which range from 128x128 , 176x208 ,      always anticipatory stream the next zoom level up and
240x260, 220x220 , and many other customized sizes in             down .
between .                                                    Multi-level caching determines the handset's heap
   FIG . 13 is a schematic of an embodiment of a system 15 through an API, and also looks at the record store to see how
1300 . System 1300 is generally similar to system 1200. much memory is resident. This content is placed in record
System 1300 is an overview of the entire Player fulfillment store and /or the file system , and may , if there is available
process, starting with the generation of players during the   heap , also place the content there as well . Multi -level
player build process .                                        caching permits the management of memory such that
   System 1300 includes response director 210 , a device 20 mobile systems best use limited memory resources. Multi
characteristics operator and local database 1301, a player level caching is a memory management system with results
profile database 1303 and a player build process 1305 , which similar to embedding , without the overhead of instantiating
may be authoring platform 110 .                               the content. In other words, with multi - level caching , hand
   As an example of system 1300 , when response director set users get an " embedded ” performance without the
210 receives an SMS message from device 130 , the response 25 embedded download . Note that when content is flagged as
director identifies the device characteristics operator and   cacheable and is placed in persistent storage , a digital rights
locale from database 1301 and a Player URL from database management (DRM ) solution will be used .
1303 and provides the appropriate Player to the device .            One embodiment of each of the methods described herein
   In another embodiment, Player P extend the power of            is in the form of a computer program that executes on a
response director 210 by adapting the Application to the 30 processing system . Thus, as will be appreciated by those
resources and limitations of any particular device . Some of skilled in the art, embodiments of the present invention may
these areas of adaptation include the speed of the device 's      be embodied as a method, an apparatus such as a special
microprocessor, the presence of device resources such as          purpose apparatus, an apparatus such as a data processing
cameras and touch screens. Another area of adaptation is          system , or a carrier medium , e .g ., a computer program
directed to heap , record store and file system memory 35 product. The carrier medium carries one or more computer
constraints. In one embodiment, the Player will automati-         readable code segments for controlling a processing system
cally throttle down an animation to the frame rate that the       to implement a method . Accordingly , aspects of the present
device can handle so that the best possible user experience       invention may take the form of a method , an entirely
is preserved . Other extensions include device specific facili-   hardware embodiment, an entirely software embodiment or
ties such as location awareness , advanced touch screen 40 an embodiment combining software and hardware aspects .
interactions, push extensions, access to advanced phone           Furthermore , the present invention may take the form of
facilities, and many others                                       carrier medium ( e . g ., a computer program product on a
Memory Management                                                 computer -readable storage medium ) carrying computer
   In one embodiment, Player P includes a logical page            readable program code segments embodied in themedium .
virtual memory manager. This architecture requires no sup - 45 Any suitable computer readable medium may be used
porting hardware and works efficiently with constrained           including a magnetic storage device such as a diskette or a
devices. All page view images, which could span multiple          hard disk , or an optical storage device such as a CD -ROM .
Applications, are placed in a table as highly compacted and       It will be understood that the steps of methods discussed
compressed code . A typical page view will range from 500      are performed in one embodiment by an appropriate pro
bytes up to about 1, 500 bytes . (See , for example, the 50 cessor ( or processors ) of a processing (i.e ., computer ) sys
Rempell patent ) When rolled into the heap and instantiated    tem executing instructions ( code segments ) stored in stor
this code increases to the more typical 50 ,000 up to 250 ,000 age. It will also be understood that the invention is not
bytes. Additional alert pages may also be rolled into the heap limited to any particular implementation or programming
and superimposed on the current page view . Any changes to        technique and that the invention may be implemented using
any page currently downloaded are placed in a highly 55 any appropriate techniques for implementing the function
compact change vector for each page , and rolled out when         ality described herein . The invention is not limited to any
the page is discarded . Note thatwhenever an Application is       particular programming language or operating system . It
visited that had previously been placed in virtual memory         should thus be appreciated that although the coding for
the Server is interrogated to see if a more current version is    programming devices has not be discussed in detail, the
available , and , if so , downloads it . This means that Appli- 60 invention is not limited to a specific coding method . Fur
cation logic can be changed in real-time and the results          thermore , the invention is not limited to any one type of
immediately available to mobile devices.                          network architecture and method of encapsulation , and thus
   To operate efficiently with the bandwidth constraints of       may be utilized in conjunction with one or a combination of
mobile devices , authoring platform 110 may also utilize          other network architectures /protocols.
anticipatory streaming and multi -level caching. Anticipatory 65 Reference throughout this specification to " one embodi
streaming includes multiple asynchronous threads and I            ment," " an embodiment," or " certain embodiments” means
request queues. In this process, the current Application is       that a particular feature, structure or characteristic described



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in connection with the embodiment is included in at least                     web service and an output of the web service , where
one embodimentof the present invention . Thus, appearances                    each defined UI object is either:
of the phrases in one embodiment,” “ in an embodiment,” or                    1 ) selected by a user of the authoring tool; or
" in certain embodiments ” in various places throughout this                  2 ) automatically selected by the system as the pre
specification are not necessarily all referring to the same 5                   ferred UI object corresponding to the symbolic
embodiment. Furthermore , the particular features, structures                   name of the web component selected by the user
or characteristics may be combined in any suitable manner,                      of the authoring tool,
as would be apparent to one of ordinary skill in the art from              access said computer memory to select the symbolic
this disclosure, in one or more embodiments .                                 name corresponding to the web component of the
   Throughout this specification , the term " comprising” shall 10            defined UI object,
be synonymous with “ including," " containing," or " charac                associate the selected symbolic name with the defined
terized by,” is inclusive or open - ended and does not exclude               UI object, where the selected symbolic name is only
additional, unrecited elements or method steps. “ Compris                    available to UI objects that support the defined data
ing ” is a term of art which means that the named elements                    format associated with that symbolic name,
are essential, but other elements may be added and still form 15           store information representative of said defined UI
a construct within the scope of the statement. “ Comprising ”                 object and related settings in a database ;
leaves open for the inclusion of unspecified ingredients even              retrieve said information representative of said one or
in major amounts.                                                            more said UI object settings stored in said database;
   Similarly , it should be appreciated that in the above                     and
description of exemplary embodiments , various features of 20              build an application consisting of one or more web
the invention are sometimes grouped together in a single                      page views from at least a portion of said database
embodiment, figure , or description thereof for the purpose of                utilizing at least one player, where said player uti
streamlining the disclosure and aiding in the understanding                   lizes information stored in said database to generate
of one or more of the various inventive aspects. This method                  for the display of at least a portion of said one or
of disclosure , however , is not to be interpreted as reflecting 25          more web pages ,
an intention that the claimed invention requires more fea                  wherein when the application and player are provided
tures than are expressly recited in each claim . Rather, as the               to the device and executed on the device, and
following claims reflect, inventive aspects lie in less than all           when the user of the device provides one or more input
features of a single foregoing disclosed embodiment, and the                 values associated with an input symbolic name to an
invention may include any of the different combinations 30                   input of the defined UI object, the device provides
embodied herein . Thus, the following claims are hereby                      the user provided one or more input values and
expressly incorporated into this Mode(s ) for Carrying Out                   corresponding input symbolic name to the web ser
the Invention , with each claim standing on its own as a                     vice , the web service utilizes the input symbolic
separate embodiment of this invention .                                      name and the user provided one or more input values
   Thus, while there has been described what is believed to 35               for generating one or more output values having an
be the preferred embodiments of the invention , those skilled                associated output symbolic name,
in the art will recognize that other and further modifications             and the player receives the output symbolic name and
may be made thereto without departing from the spirit of the                 corresponding one or more output values and pro
invention , and it is intended to claim all such changes and                  vides instructions for the display of the device to
modifications as fall within the scope of the invention . For 40              present an output value in the defined UI object.
example , any formulas given above are merely representa                 2 . The system of claim 1, where said system stores
tive of procedures that may be used . Functionality may be            information in a registry , and wherein the registry includes
added or deleted from the block diagrams and operations               definitions of input and output related to said web service.
may be interchanged among functional blocks. Steps may be                3. The system of claim 1, where said web component is
added or deleted to methods described within the scope of 45 a text chat, a video chat, an image , a slideshow , a video , or
the present invention .                                      an RSS feed .
  We claim :                                                             4 . The system of claim 1, where said UIobject is an input
  1 . A system for generating code to provide content on a            field for a chat.
display of a device, said system comprising:                             5 . The system of claim 1 , where said UIobject is an input
   computer memory storing :                                       50 field for a web service .
     a ) symbolic names required for evoking one or more                 6 . The system of claim 1, where said UI object is an input
       web components each related to a set of inputs and              field usable to obtain said web component, where said input
       outputs of a web service obtainable over a network ,           field includes a text field , a scrolling text box , a check box ,
       where the symbolic names are character strings that a drop down -menu , a list menu, or a submit button .
       do not contain either a persistent address or pointer 55 7 . The system of claim 1 , where said web component is
        to an output value accessible to the web service,             an output of a web service, is the text provided by one or
       where each symbolic name has an associated data                more simultaneous chat sessions, is the video of a video chat
        format class type corresponding to a subclass ofUser          session , is a video , an image , a slideshow , an RSS display,
        Interface (UI) objects that support the data format           or an advertisement.
       type of the symbolic name, and where each symbolic 60             8 . The system of claim 1 , where said authoring tool is
         name has a preferred UI object, and                 further configured to :
      b ) an address of the web service ;                      define a phone field or list ; and
   an authoring tool configured to :                            generate code that, when executed on the device , allows
     define a UI object for presentation on the display,           a user to supply a phone number to said phone field or
     where said defined UI object corresponds to a web 65          list .
          component included in said computer memory            9 . The system of claim 1 , where said authoring tool is
         selected from a group consisting of an input of the further configured to :


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  define a SMS field or list; and                                    wherein , when the application and player are provided to
  generate code that, when executed on the device, allows               the device and executed on the device , and when the
     a user to supply an SMS address to said SMS field or               user of the device provides one or more input values
                                                                        associated with an input symbolic name to an input of
     list .                                                             the defined UI object, 1 ) the device provides the user
  10 . The system of claim 1 ,
  where said code includes three or more codes, where one               provided one or more input values and corresponding
     of said three or more codes is device specific , and               input symbolic name to the web service , 2 ) the web
    where two of said three or more codes is device                     service utilizes the input symbolic name and the user
    independent.                                                        provided one ormore input values for generating one or
   11. The system of claim 1, where said code is provided 10            more output values having an associated output sym
over said network .                                                     bolic name, and 3 ) the player receives the output
   12 . The system of claim 1 , wherein said defined UI object           symbolic name and corresponding one or more output
corresponds to a widget.                                                 values and provides instructions for the display of the
   13. The system of claim 1, where said player is activated 15          device to present an output value in the defined UI
and runs in a web browser.                                               object.
   14 . The system of claim 1 , where said player is a native         16 . The method of claim 15 , where said method stores
program .                                                          information in a registry , and wherein the registry includes
   15 . A method of displaying content on a display of a           definitions of input and /or output related to said web service .
device having a player and non - volatile computer memory          17 . The method of claim 15 , where said web component
                                                          20 is a text chat, a video chat, an image , a slideshow , a video ,
storing symbolic names required for evoking one or more 2015
web components each related to a set of inputs and outputs or an RSS feed .
of a web service obtainable over a network , where the             18 . The method of claim 15 , where said UI object is an
symbolic names are character strings that do not contain        input field for a chat.
either a persistent address or pointer to an output value          19 . The method of claim 15 , where said UI object is an
                                                     name 2525 "input field for a web service .
accessible to the web service , where each symbolic name
has an associated data format class type corresponding to a      20 . The method of claim 15 , where said UI object is an
subclass of User Interface (UI) objects that support the data  input field usable to obtain said web component, where said
format type of the symbolic name, and where each symbolic box  input field includes a text field , a scrolling text box, a check
name has a preferred UI object , and an address of the web         , a drop down-menu , a list menu , or a submit button .
service, said method comprising :                          30.    21 . The method of claim 15 , where said web component
  defining a UI object for presentation on the display, where     is an output of a web service , is the text provided by one or
     said UI object corresponds to a web component                more simultaneous chat sessions, is the video of a video chat
     included in the computer memory , where said web             session , is a video , an image , a slideshow , an RSS display ,
     component is selected from a group consisting of an          or an advertisement.
     input of a web service and an output of the web service, 3535 22 . The method of claim 15 , further comprising :
                                                                      defining a phone field or list ; and
     where each defined UI object is either: 1 ) selected by a        generating code that, when executed on the device , allows
     user of the authoring tool; or 2) automatically selected           a user to supply a phone number to said phone field or
    by the system as the preferred UI object corresponding
     to a symbolic name of the web component selected by 4040           list.
     the user of the authoring tool;                                  23 . The method of claim 15 , further comprising:
  selecting the symbolic name corresponding to the web                defining a SMS field or list; and
     component of the defined UI object;                              generating code that, when executed on the device, allows
  associating the selected symbolic name with the defined             a user to supply an SMS address to said SMS field or
    UI object, where the selected symbolic name is only              list.
     available to UI objects that support the defined data 4545 24 . The method of claim 15 , and such that said player
     format associated with that symbolic name ;                interprets dynamically received , device independent values
  storing information representative of said defined UI of 25the. web   The
                                                                             component defined in the application .
                                                                            method   of claim 15 , further comprising:
    object and related settings in a database ;                   providing said application and player over said network .
  retrieving said information representative of said one or
    more said UI object settings stored in said databasee ; 5050 26 . The method of claim 15 , wherein said UI object
                                                                   corresponds to a widget.
     and
  building an application consisting of one or more web               27. The method of claim 15 , where said player is activated
     page views from at least a portion of said database and28runs         in a web browser.
                                                                      . The method of claim 15 , where said player is a native
     utilizing the player, where said player utilizes informa
     tion stored in said database to generate for the display 55 program .
     of at least a portion of said one or more web pages ,                                *   *   *    *     *




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      I hereby certify that, on the 13th day of November, 2023, I electronically filed

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